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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF NEW YORK

                                                          x
In re Terrorist Attacks on September 11, 2001                             03 MDL 1570
                                                          x

This filing applies to the Estate of John P. O’Neill, Sr., et al. v. Al Baraka Investment and
Development Corporation, et. al., 04 CV 01923 (GBD)(SN)

IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF NEW YORK
                                                                   X
                                                                   :
                                                                   :      AMENDED
Estate of John P. O'Neill, Sr., on Behalf of John P. O'Neill, Sr., :      CONSOLIDATED
deceased, and on Behalf of Decedent’s Heirs-at-Law,                :      COMPLAINT
                                                                   :
J. P. O'Neill, Jr.,                                                :
                                                                   :      CASE NO.:
C.I. O'Neill,
                                                                   :      04-cv-1923(GBD)(SN)
C. O'Neill,                                                        :
                                                                   :
Estate of D. A. O'Neill,                                           :      JURY TRIAL
                                                                   :      DEMANDED
Erik K. Aamoth, individually, as surviving sibling of Gordon       :
McCannel Aamoth, Jr.                                               :
                                                                   :
Gordon Aamoth, Sr., individually, as surviving parent of Gordon :
McCannel Aamoth, Jr.                                               :
                                                                   :
Mary Aamoth, individually, as surviving parent of Gordon           :
McCannel Aamoth, Jr.                                               :
                                                                   :
Gordon Aamoth, Sr., as the Personal Representative of the Estate :
of Gordon McCannell Aamoth, Jr., deceased, and on behalf of all :
survivors and all legally entitled beneficiaries and family        :
members of Gordon McCannel Aamoth, Jr.                             :
                                                                   :
Peter Aamoth, individually, as surviving sibling of Gordon         :
McCannel Aamoth, Jr.                                               :
                                                                   :
Lloyd A. Abel Jr., individually, as surviving sibling of Laurence :
C. Abel                                                            :
                                                                   :
                                                                   :

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Lloyd A. Abel Sr., individually, as surviving parent of Laurence :
C. Abel                                                            :
                                                                   :
Lloyd A. Abel Sr., as the Personal Representative of the Estate of :
Laurence C. Abel, deceased, and on behalf of all survivors and :
all legally entitled beneficiaries and family members of Laurence :
C. Abel                                                            :
                                                                   :
Roberta Agyeman, individually, as surviving child of Sophia        :
Addo                                                               :
                                                                   :
Joseph Ameyaw, individually, as surviving spouse of Sophia         :
Addo                                                               :
                                                                   :
BNY Mellon, as the Personal Representative of the Estate of        :
                                                                   :
Sophia Addo, deceased, and on behalf of all survivors and all
                                                                   :
legally entitled beneficiaries and family members of Sophia        :
Addo                                                               :
                                                                   :
Angeli Ylanan Agarwala, individually, as surviving child of        :
Mukul Kumar Agarwala                                               :
                                                                   :
Robert Langdon as Personal Representative of the Estate of         :
Edward Ahearn, deceased, the late parent of Lt. Brian G. Ahearn :
                                                                   :
Elizabeth A. Ahearn, individually, as surviving sibling of Lt.     :
Brian G. Ahearn                                                    :
                                                                   :
Debra Ahearn, as the Personal Representative of the Estate of      :
Brian G. Ahearn, deceased, and on behalf of all survivors and all :
legally entitled beneficiaries and family members of Lt. Brian G. :
Ahearn                                                             :
                                                                   :
June Ahearn, individually, as surviving parent of Lt. Brian G.     :
Ahearn                                                             :
                                                                   :
Jeba Ahmed, individually, as surviving spouse of Shabbir           :
Ahmed                                                              :
                                                                   :
Nadia Ahmed, individually, as surviving child of Shabbir Ahmed :
                                                                   :
Thanbir Ahmed, individually, as surviving child of Shabbir         :
Ahmed                                                              :
                                                                   :
                                                                   :
                                                                   :

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Salma Ahmed-Green, individually, as surviving child of Shabbir :
Ahmed                                                              :
                                                                   :
Abdul Mosobbir, individually, as surviving sibling of Shabbir      :
Ahmed                                                              :
                                                                   :
Jeba Ahmed, as the Personal Representative of the Estate of        :
Shabbir Ahmed, deceased, and on behalf of all survivors and all :
legally entitled beneficiaries and family members of Shabbir       :
Ahmed                                                              :
                                                                   :
Andrew Albero, individually, as surviving sibling of Gary          :
Albero                                                             :
                                                                   :
Aracelis Albero, individually, as surviving spouse of Gary         :
                                                                   :
Albero
                                                                   :
                                                                   :
Aracelis Albero, as the Personal Representative of the Estate of
                                                                   :
Gary Albero, deceased, and on behalf of all survivors and all
                                                                   :
legally entitled beneficiaries and family members of Gary Albero :
                                                                   :
Kevin Albero, individually, as surviving sibling of Gary Albero :
                                                                   :
Michael A. Albero, individually, as surviving child of Gary        :
Albero                                                             :
                                                                   :
Kevin Albero and Andrew Albero as co-Personal                      :
Representatives of the Estate of Andrew P. Albero, deceased, the :
late parent of Gary Albero                                         :
                                                                   :
Fred Corrado, as Personal Representative of the Estate of Patricia :
Albero, deceased, the late parent of Gary Albero                   :
                                                                   :
Willie Aldridge Jr., individually, as surviving sibling of         :
Jacquelyn D. Aldridge                                              :
                                                                   :
Delores Aldridge a/k/a Delores Aldridge Essuon, individually, as :
surviving sibling of Jacquelyn D. Aldridge                         :
                                                                   :
Marjorie Aldridge-Holder, individually, as surviving sibling of :
Jacquelyn D. Aldridge                                              :
                                                                   :
Lafayette Frederick, individually, as surviving spouse of          :
Jacquelyn D. Aldridge                                              :
                                                                   :
                                                                   :

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Lafayette Frederick, as the Personal Representative of the Estate :
of Jacquelyn D. Aldridge, deceased, and on behalf of all           :
survivors and all legally entitled beneficiaries and family        :
members of Jacquelyn D. Aldridge                                   :
                                                                   :
Barry Allen, individually, as surviving sibling of Eric Allen      :
                                                                   :
Marian Allen, individually, as surviving sibling of Eric Allen     :
                                                                   :
Barry Allen as Personal Representative of the Estate of Edward :
Allen, deceased, the late sibling of Eric Allen                    :
                                                                   :
Barry Allen as Personal Representative of the Estate of Laetita :
"Letty" Allen, deceased, the late parent of Eric Allen             :
                                                                   :
Denise Allen, individually, as surviving parent of Richard L.      :
Allen                                                              :
                                                                   :
Denise Allen, as the Personal Representative of the Estate of      :
Richard L. Allen, deceased, and on behalf of all survivors and all :
                                                                   :
legally entitled beneficiaries and family members of Richard L.
                                                                   :
Allen                                                              :
                                                                   :
Richard Allen, individually, as surviving parent of Richard L.     :
Allen                                                              :
                                                                   :
Robert C. Alonso, individually, as surviving spouse of Janet       :
Alonso                                                             :
                                                                   :
Robert C. Alonso, as the Personal Representative of the Estate of :
Janet Alonso, deceased, and on behalf of all survivors and all     :
legally entitled beneficiaries and family members of Janet         :
Alonso                                                             :
                                                                   :
Victoria Alonso, individually, as surviving child of Janet Alonso :
                                                                   :
Robert C. Alonso Jr., individually, as surviving child of Janet    :
Alonso                                                             :
                                                                   :
Karen Banyo, individually, as surviving sibling of Janet Alonso :
                                                                   :
Cheryl A. Russo, individually, as surviving sibling of Janet       :
Alonso                                                             :
                                                                   :
                                                                   :
                                                                   :

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Filiberta Barragan, individually, as surviving spouse of Antonio :
J. Alvarez                                                       :
                                                                 :
Giovanni Javier, individually, as surviving child of Antonio J. :
Alvarez                                                          :
                                                                 :
BNY Mellon, as the Personal Representative of the Estate of      :
Antonio J. Alvarez, deceased, and on behalf of all survivors and :
all legally entitled beneficiaries and family members of Antonio :
J. Alvarez                                                       :
                                                                 :
Anthony Amatuccio, individually, as surviving sibling of Joseph :
Amatuccio                                                        :
                                                                 :
Antoinette Amatuccio a/k/a Antoinette R. Callori, individually, :
                                                                 :
as surviving sibling of Joseph Amatuccio
                                                                 :
                                                                 :
Debra Amatuccio, individually, as surviving spouse of Joseph
                                                                 :
Amatuccio
                                                                 :
                                                                 :
Debra Amatuccio, as the Personal Representative of the Estate of
                                                                 :
Joseph Amatuccio, deceased, and on behalf of all survivors and :
all legally entitled beneficiaries and family members of Joseph :
Amatuccio                                                        :
                                                                 :
Dina Amatuccio, individually, as surviving child of Joseph       :
Amatuccio                                                        :
                                                                 :
Joseph Amatuccio, individually, as surviving child of Joseph     :
Amatuccio                                                        :
                                                                 :
Karen Amundson, individually, as surviving parent of Spc. Craig :
Amundson                                                         :
                                                                 :
Orland Amundson, individually, as surviving parent of Spc.       :
Craig Amundson                                                   :
                                                                 :
Ryan Amundson, individually, as surviving sibling of Spc. Craig :
Amundson                                                         :
                                                                 :
Amber A. Amundson, as the Personal Representative of the         :
Estate of Craig Amundson, deceased, and on behalf of all         :
survivors and all legally entitled beneficiaries and family      :
members of Spc. Craig Amundson                                   :
                                                                 :
Rachel Dana Aron Weiner, individually, as surviving spouse of :

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Joshua Aron                                                       :
                                                                  :
Rachel Dana Aron Weiner, as the Personal Representative of the :
Estate of Joshua Aron, deceased, and on behalf of all survivors :
and all legally entitled beneficiaries and family members of      :
Joshua Aron                                                       :
                                                                  :
Carl Asaro, individually, as surviving child of Carl Asaro        :
                                                                  :
Heloiza Asaro, individually, as surviving spouse of Carl Asaro :
                                                                  :
Heloiza Asaro, as the Personal Representative of the Estate of :
Carl Asaro, deceased, and on behalf of all survivors and all      :
legally entitled beneficiaries and family members of Carl Asaro :
                                                                  :
Marc Asaro, individually, as surviving child of Carl Asaro        :
                                                                  :
Matthew Asaro, individually, as surviving child of Carl Asaro :
                                                                  :
Phillip Asaro, individually, as surviving child of Carl Asaro     :
                                                                  :
Rebecca Asaro, individually, as surviving child of Carl Asaro     :
                                                                  :
Jason Audiffred, individually, as surviving child of James        :
Audiffred                                                         :
                                                                  :
Robin Audiffred, individually, as surviving spouse of James       :
Audiffred                                                         :
                                                                  :
Robin Audiffred, as the Personal Representative of the Estate of :
James Audiffred, deceased, and on behalf of all survivors and all :
                                                                  :
legally entitled beneficiaries and family members of James
                                                                  :
Audiffred                                                         :
                                                                :
Antonio Aversano, individually, as surviving child of Louis F.  :
Aversano Jr.                                                    :
                                                                :
Doris Aversano, individually, as surviving spouse of Louis F.   :
Aversano, Jr.                                                   :
                                                                :
Doris Aversano, as the Personal Representative of the Estate of :
Louis F. Aversano Jr., deceased, and on behalf of all survivors :
and all legally entitled beneficiaries and family members of    :
Louis F. Aversano, Jr.                                          :
                                                                :
Rosemary Aversano, individually, as surviving child of Louis F. :

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Aversano, Jr.                                                      :
                                                                   :
Lisa R. Procaccio, individually, as surviving child of Louis F.    :
Aversano, Jr.                                                      :
                                                                   :
Leyda Colon-Ayala, individually, as surviving spouse of Samuel :
(Sandy) Ayala                                                      :
                                                                   :
Leyda Colon-Ayala, as the Personal Representative of the Estate :
of Samuel (Sandy) Ayala, deceased, and on behalf of all            :
survivors and all legally entitled beneficiaries and family        :
members of Samuel (Sandy) Ayala                                    :
                                                                   :
Samantha Ayala, individually, as surviving child of Samuel         :
(Sandy) Ayala                                                      :
                                                                   :
Vincent Babakitis, individually, as surviving child of Arlene T. :
                                                                   :
Babakitis
                                                                   :
James Babakitis, as the Personal Representative of the Estate of :
                                                                   :
Arlene T. Babakitis, deceased, and on behalf of all survivors and
                                                                   :
all legally entitled beneficiaries and family members of Arlene T. :
Babakitis                                                          :
                                                                   :
Evelyn Pettignano, individually, as surviving sibling of Arlene T. :
Babakitis                                                          :
                                                                   :
Evelyn Pettignano and Karen Reoch, as co-Personal                  :
Representatives of the Estate of Sadie Reoch, deceased, the late :
parent of Arlene T. Babakitis                                      :
                                                                   :
Karen Ann Reoch, individually, as surviving sibling of Arlene T. :
Babakitis                                                          :
                                                                   :
Laura Baierwalter, individually, as surviving spouse of Robert J. :
Baierwalter                                                        :
                                                                   :
Laura Baierwalter, as the Personal Representative of the Estate :
of Robert J. Baierwalter, deceased, and on behalf of all survivors :
and all legally entitled beneficiaries and family members of       :
Robert J. Baierwalter                                              :
                                                                   :
Raymond Baierwalter, individually, as surviving child of Robert :
J. Baierwalter                                                     :
                                                                   :
Richard Baierwalter, individually, as surviving child of Robert J. :

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Baierwalter                                                        :
                                                                   :
Veronica Baierwalter, individually, as surviving child of Robert :
J. Baierwalter                                                     :
                                                                   :
Maureen Schlowinski, individually, as surviving sibling of         :
Robert J. Baierwalter                                              :
                                                                   :
Daniel Barnes, individually, as surviving sibling of Matthew       :
Barnes                                                             :
                                                                   :
Denise Barnes, individually, as surviving sibling of Matthew       :
Barnes                                                             :
                                                                   :
Jesse Barnes, individually, as surviving child of Matthew Barnes :
                                                                   :
Matthew Barnes Jr., individually, as surviving child of Matthew :
Barnes                                                             :
                                                                   :
Russell Barnes, individually, as surviving sibling of Matthew      :
Barnes                                                             :
                                                                   :
Suzanne Barnes, individually, as surviving sibling of Matthew :
Barnes                                                             :
                                                                   :
Thomas Barnes, individually, as surviving child of Matthew         :
                                                                   :
Barnes
                                                                   :
Susan Barnes-Ford, individually, as surviving spouse of Matthew :
                                                                   :
Barnes
                                                                   :
                                                                   :
Susan Barnes-Ford, as the Personal Representative of the Estate
                                                                   :
of Matthew Barnes, deceased, and on behalf of all survivors and :
all legally entitled beneficiaries and family members of Matthew :
Barnes                                                             :
                                                                   :
Daniel Barnes and Russell Barnes as Co-Personal                    :
Representatives of the Estate of Yvette Mell, deceased, the late :
parent of Matthew Barnes                                           :
                                                                   :
Ricardo Barnes, individually, as surviving spouse of Sheila P.     :
Barnes                                                             :
                                                                   :
Ricardo Barnes, as the Personal Representative of the Estate of :
Sheila P. Barnes, deceased, and on behalf of all survivors and all :
legally entitled beneficiaries and family members of Sheila P.

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Barnes

Christine Barnes-Murrell, individually, as surviving child of
Sheila P. Barnes

Zulema Barnes-Robinson, individually, as surviving child of
Sheila P. Barnes

Elizabeth a/k/a Betty Bennett, individually, as surviving parent
of Eric L. Bennett

Elizabeth a/k/a Betty Bennett, as the Personal Representative of
the Estate of Eric L. Bennett, deceased, and on behalf of all
survivors and all legally entitled beneficiaries and family
members of Eric L. Bennett

Kimberly Ann Bennett, individually, as surviving sibling of Eric
L. Bennett

Terry Bennett, individually, as surviving parent of Eric L.
Bennett

William J. Biggart, individually, as surviving child of William G.
Biggart

Elizabeth Linker, individually, as surviving sibling of William G.
Biggart

Margaret Burke a/k/a Margaret Burke, individually, as surviving
sibling of William G. Biggart

William Bishop, individually, as surviving child of George
Bishop

John Doe 4, being intended to designate the Personal
Representative of the Estate of George Bishop, deceased, said
name being fictitious, her/his true name is not presently known,
confirmed, and/or has not been duly appointed by a court of
competent jurisdiction (or having been so appointed, his or her
appointment has expired, and/or he or she has ceased to serve,
and his or her successor has not yet been appointed) and on
behalf of all survivors and all legally entitled beneficiaries and
family members of George Bishop

John Doe 5, being intended to designate the Personal
Representative of the Estate of Carrie R. Blagburn, deceased,

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said name being fictitious, her/his true name is not presently
known, confirmed, and/or has not been duly appointed by a court
of competent jurisdiction (or having been so appointed, his or her
appointment has expired, and/or he or she has ceased to serve,
and his or her successor has not yet been appointed) and on
behalf of all survivors and all legally entitled beneficiaries and
family members of Carrie R. Blagburn

Kevin Smith, individually, as surviving child of Carrie R.
Blagburn

Kim Williams, individually, as surviving child of Carrie R.
Blagburn

Esther Jackson-Blanding, as the Personal Representative of the
Estate of Alexander Blanding, deceased, the late sibling of Harry
Blanding, Jr.

Dorothy Blanding, individually, as surviving parent of Harry
Blanding, Jr.

Carol Boccardi, individually, as surviving parent of Michael A.
Boccardi

Carol Boccardi, as Personal Representative of the Estate of
Michael A. Boccardi, deceased, and on behalf of all survivors
and all legally entitled beneficiaries and family members of
Michael A. Boccardi

Michelle Bronson as Personal Representative of the Estate of
Michael R. Boccardi, deceased, the late parent of Michael A.
Boccardi

Roya Bolourchi Touran, individually, as surviving child of
Touran (Touri) Bolourchi

John Doe 67, being intended to designate the Personal
Representative of the Estate of Touran (Touri) Bolourchik,
deceased, said name being fictitious, her/his true name is not
presently known, confirmed, and/or has not been duly appointed
by a court of competent jurisdiction (or having been so
appointed, his or her appointment has expired, and/or he or she
has ceased to serve, and his or her successor has not yet been
appointed) and on behalf of all survivors and all legally entitled


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beneficiaries and family members of Touran (Touri) Bolourchi

Kathryn B. Agugliaro, individually, as surviving parent of Frank
J. Bonomo

Joseph Anthony Bonomo, individually, as surviving child of
Frank J. Bonomo

Juliana Rose Bonomo, individually, as surviving child of Frank
J. Bonomo

Margarite Bonomo, individually, as surviving spouse of Frank J.
Bonomo

Margarite Bonomo, as the Personal Representative of the Estate
of Frank J. Bonomo, deceased, and on behalf of all survivors and
all legally entitled beneficiaries and family members of Frank J.
Bonomo

Lenore B. Williams, individually, as surviving sibling of Frank J.
Bonomo

Alexandra Bowen, individually, as surviving child of Donna
Bowen

AnastasiaSiberon, individually, as surviving child of Donna
Bowen

Eugene Bowen, individually, as surviving spouse of Donna
Bowen

Eugene Bowen, as the Personal Representative of the Estate of
Donna Bowen, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Donna
Bowen

Eugene Bowen Jr., individually, as surviving child of Donna
Bowen

Dior P. Gordon, individually, as surviving child of Veronique N.
Bowers

 Dior P. Gordon, as the Personal Representative of the Estate of
Veronique N. Bowers, deceased, and on behalf of all survivors
and all legally entitled beneficiaries and family members of


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Veronique N. Bowers

Jeffery M. Bright, individually, as surviving sibling of Gary L.
Bright

Jeffery M. Bright, as the Personal Representative of the Estate of
Gary L. Bright, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Gary L.
Bright

Jennifer Love, as Personal Representative of the Estate of
William Bright, deceased, the late parent of Gary L. Bright

Michael Hornback II, as Personal Representative of the Estate of
Michelle L. Hornback, deceased, the late sibling of Gary L.
Bright

Andrea Caballero Valadez, individually, as surviving sibling of
Daniel M. Caballero

Andres Caballero, individually, as surviving parent of Daniel M.
Caballero

Claudia Caballero, individually, as surviving sibling of Daniel
M. Caballero

Maria Caballero, individually, as surviving parent of Daniel M.
Caballero

Maria Caballero, as the Personal Representative of the Estate of
Daniel M. Caballero, deceased, and on behalf of all survivors and
all legally entitled beneficiaries and family members of Daniel
M. Caballero

Jamie Cachia, individually, as surviving sibling of Brian Cachia

Sabrina C. Spencer, individually, as surviving parent of Brian
Cachia

Joseph Cachia, individually, as surviving parent of Brian Cachia

Joseph Cachia, as the Personal Representative of the Estate of
Brian Cachia, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Brian
Cachia


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Alexander Calabro, individually, as surviving child of Salvatore
B. Calabro

Daniel Calabro, individually, as surviving child of Salvatore B.
Calabro

Francine Calabro, individually, as surviving spouse of Salvatore
B. Calabro

Francine Calabro, as the Personal Representative of the Estate of
Salvatore B. Calabro, deceased, and on behalf of all survivors
and all legally entitled beneficiaries and family members of
Salvatore B. Calabro

Carl Calabro, individually, as surviving sibling of Salvatore B.
Calabro

Martin Armstrong, individually, as surviving sibling of Felix
Calixte

Rhonda Branch, individually, as surviving sibling of Felix
Calixte

Peter Anderson Calixte, individually, as surviving sibling of
Felix Calixte

Marguerite Calixte-Williams, individually, as surviving parent of
Felix Calixte

Marguerite Calixte-Williams, as the Co-Personal Representative
of the Estate of Felix Calixte, deceased, and on behalf of all
survivors and all legally entitled beneficiaries and family
members of Felix Calixte

Nina DeSouza, individually, as surviving sibling of Felix Calixte

Keream Williams, individually, as surviving sibling of Felix
Calixte

Kizzy Williams, individually, as surviving sibling of Felix
Calixte

Remy Williams, individually, as surviving sibling of Felix
Calixte

Terra Williams, individually, as surviving sibling of Felix

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Calixte

Angela Callahan, individually, as surviving spouse of Francis J.
Callahan

Angela Callahan, as the Personal Representative of the Estate of
Francis J. Callahan, deceased, and on behalf of all survivors and
all legally entitled beneficiaries and family members of Francis J.
Callahan

Harry Callahan, individually, as surviving child of Francis J.
Callahan

Nora M. Callahan, individually, as surviving child of Francis J.
Callahan

Peter Callahan, individually, as surviving child of Francis J.
Callahan

Rose (Callahan) Verno, individually, as surviving child of
Francis J. Callahan

Tereza Antonios, individually, as surviving child of Roko Camaj

Angelina Camaj, individually, as surviving child of Roko Camaj

Katrina Camaj, individually, as surviving spouse of Roko Camaj

Katrina Camaj, as the Personal Representative of the Estate of
Roko Camaj, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Roko Camaj

Vincent Camaj, individually, as surviving child of Roko Camaj

Darrick Carlone, individually, as surviving child of David G.
Carlone

Matthew Carlone, individually, as surviving child of David G.
Carlone

Nicholas A. Carlone, individually, as surviving child of David G.
Carlone

Daniel R. Carlson, individually, as surviving child of Rosemarie
C. Carlson


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James D. Carlson, individually, as surviving child of Rosemarie
C. Carlson

Kimberly R. Carlson, individually, as surviving child of
Rosemarie C. Carlson

Stephen J. Carlson, individually, as surviving child of Rosemarie
C. Carlson

Crystal Ortiz, individually, as surviving child of Rosemarie C.
Carlson

Evita Ortiz, individually, as surviving child of Rosemarie C.
Carlson

Debra Carson, individually, as surviving spouse of James Carson
Jr.

Debra Carson, as the Personal Representative of the Estate of
James Carson Jr., deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of James
Carson Jr.

James M. Carson, individually, as surviving child of James
Carson Jr.

Angenette Cash, individually, as surviving child of Angelene C.
Carter

Freddye Jean Carter-Perry a/k/a Freddye Carter-Perry,
individually, as surviving child of Angelene C. Carter

Freddye Jean Carter-Perry a/k/a Freddye Carter-Perry, as the
Personal Representative of the Estate of Angelene C. Carter,
deceased, and on behalf of all survivors and all legally entitled
beneficiaries and family members of Angelene C. Carter

Angilic Casalduc, individually, as surviving child of Vivian
Casalduc

Paul Casalduc, individually, as surviving child of Vivian
Casalduc

Yon-Paul Casalduc, as the Personal Representative of the Estate
of Vivian Casalduc, deceased, and on behalf of all survivors and
all legally entitled beneficiaries and family members of Vivian

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Casalduc

Jeanette Kirby, individually, as surviving sibling of Vivian
Casalduc

Maria Poliard, individually, as surviving parent of Vivian
Casalduc

Evan Cascio, individually, as surviving sibling of Paul R. Cascio

Evan Cascio, as the Personal Representative of the Estate of Paul
R. Cascio, deceased, and on behalf of all survivors and all legally
entitled beneficiaries and family members of Paul R. Cascio

Janet Cascio, individually, as surviving parent of Paul R. Cascio

Paul Cascio, individually, as surviving parent of Paul R. Cascio

Diana P. Castano, individually, as surviving spouse of Alejandro
Castano

Diana P. Castano, as the Personal Representative of the Estate of
Alejandro Castano, deceased, and on behalf of all survivors and
all legally entitled beneficiaries and family members of
Alejandro Castano

Francisco Castano, individually, as surviving parent of Alejandro
Castano

Steven Castano, individually, as surviving child of Alejandro
Castano

Yolanda Castano, individually, as surviving parent of Alejandro
Castano

Claudia Rodriguez, individually, as surviving sibling of
Alejandro Castano

John Doe 7, being intended to designate the Personal
Representative of the Estate of Arcelia Castillo, deceased, said
name being fictitious, her/his true name is not presently known,
confirmed, and/or has not been duly appointed by a court of
competent jurisdiction (or having been so appointed, his or her
appointment has expired, and/or he or she has ceased to serve,
and his or her successor has not yet been appointed) and on
behalf of all survivors and all legally entitled beneficiaries and

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family members of Arcelia Castillo

Rodrigo Gomez Castillo, individually, as surviving sibling of
Arcelia Castillo

Anthony Roman, individually, as surviving child of Arcelia
Castillo

Silvio Roman, individually, as surviving child of Arcelia Castillo

Ana L. Centeno, individually, as surviving sibling of Ana M.
Centeno

Jesus Centeno, individually, as surviving sibling of Ana M.
Centeno

John Doe 100, as Personal Representative of the Estate of Julio
Masa Lebron, deceased, the late parent of Ana M. Centeno

Harry Massa, individually, as surviving sibling of Ana M.
Centeno

Havier Massa, individually, as surviving sibling of Ana M.
Centeno

Margarita Perez, individually, as surviving sibling of Ana M.
Centeno

Angeles Rivera, individually, as surviving sibling of Ana M.
Centeno

Angeles Rivera, as the Personal Representative of the Estate of
Ana M. Centeno, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Ana M.
Centeno

Antonia Torres Ayala, individually, as surviving parent of Ana
M. Centeno

Maria Zayas, individually, as surviving sibling of Ana M.
Centeno

Tammy Marie Merritt a/k/a Tammy Marie Chada Merritt,
individually, as surviving child of John Chada



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Virginia Chada, individually, as surviving spouse of John Chada

Virginia Chada, as the Personal Representative of the Estate of
John Chada, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of John Chada

Darien P. Cherry, individually, as surviving child of Vernon P.
Cherry

John Doe 109, as Personal Representative of the Estate of
JoAnne Cherry, deceased, the late spouse of Vernon P. Cherry

Selena Cherry-Daniel, individually, as surviving child of Vernon
P. Cherry

Selena Cherry-Daniel, as the Personal Representative of the
Estate of Vernon P. Cherry, deceased, and on behalf of all
survivors and all legally entitled beneficiaries and family
members of Vernon P. Cherry

Scott Donovan, Esq. as Personal Representative of the Estate of
Ryan Cherry, deceased, the late child of Vernon P. Cherry

Ana Soria, individually, as surviving spouse of Luis A. Chimbo

BNY Mellon, as the Personal Representative of the Estate of
Luis A. Chimbo, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Luis A.
Chimbo

Luis Chimbo, individually, as surviving child of Luis A. Chimbo

Fahina Chowdhury, individually, as surviving child of
Mohammed S. Chowdhury

Farqad Chowdhury, individually, as surviving child of
Mohammed S. Chowdhury

Baraheen Ashrafi, individually, as surviving spouse of
Mohammed S. Chowdhury

Baraheen Ashrafi, as the Personal Representative of the Estate of
Mohammed S. Chowdhury, deceased, and on behalf of all
survivors and all legally entitled beneficiaries and family
members of Mohammed S. Chowdhury


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Stephen P. Heuston, Esq., as the Personal Representative of the
Estate of Edna Cintron, deceased, and on behalf of all survivors
and all legally entitled beneficiaries and family members of Edna
Cintron

Stephen P. Heuston, Esq., as the Personal Representative of the
Estate of William Cintron-Lugos a/k/a William Cintron,
deceased, the late spouse of Edna Cintron

Anthony Clark, individually, as surviving sibling of Benjamin K.
Clark

Courtland Jerome Clark, individually, as surviving sibling of
Benjamin K. Clark

Elsie Clark, individually, as surviving parent of Benjamin K.
Clark

Gabriel Clark, individually, as surviving child of Benjamin K.
Clark

LaShawn Clark, individually, as surviving spouse of Benjamin
K. Clark

LaShawn Clark, as the Personal Representative of the Estate of
Benjamin K. Clark, deceased, and on behalf of all survivors and
all legally entitled beneficiaries and family members of
Benjamin K. Clark

Randy Clark, individually, as surviving sibling of Benjamin K.
Clark

Sean Clark, individually, as surviving child of Benjamin K.
Clark

Taj-Pierre Clark, individually, as surviving child of Benjamin K.
Clark

Elsie Clark as Personal Representative of the Estate of Benjamin
Clark Sr., deceased, the late parent of Benjamin K. Clark

Brittany Hantz, individually, as surviving child of Benjamin K.
Clark

Sharon McAvinue, individually, as surviving sibling of Donna


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Clarke

Thomas G. McAvinue, individually, as surviving sibling of
Donna Clarke

Stephanie Marie Sampson (Clarke), individually, as surviving
child of Donna Clarke

Stephanie Marie Sampson (Clarke), as the Personal
Representative of the Estate of Donna Clarke, deceased, and on
behalf of all survivors and all legally entitled beneficiaries and
family members of Donna Clarke

Patricia McAvinue McCarthy, individually, as surviving sibling
of Donna Clarke

Cathleen Mary Cleary, individually, as surviving sibling of
Kevin F. Cleary

Christopher James Cleary, individually, as surviving sibling of
Kevin F. Cleary

Christopher James Cleary, as the co-Personal Representative of
the Estate of Kevin F. Cleary, deceased, and on behalf of all
survivors and all legally entitled beneficiaries and family
members of Kevin F. Cleary

Christopher James Cleary and Patricia Mary Cleary as Co-
Personal Representative of the Estate of Elizabeth Cleary,
deceased, the late parent of Kevin F. Cleary

Michael G. Cleary, individually, as surviving sibling of Kevin F.
Cleary

Patricia Mary Cleary, individually, as surviving sibling of Kevin
F. Cleary

Patricia Mary Cleary, as the co-Personal Representative of the
Estate of Kevin F. Cleary, deceased, and on behalf of all
survivors and all legally entitled beneficiaries and family
members of Kevin F. Cleary

Thomas J. Cleary, individually, as surviving sibling of Kevin F.
Cleary

Maureen Cleary Colligan, individually, as surviving sibling of

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Kevin F. Cleary

Mio Cloud, individually, as surviving spouse of Geoffrey Cloud

Mio Cloud, as the Personal Representative of the Estate of
Geoffrey Cloud, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Geoffrey
Cloud

Beth Schutte, as the Personal Representative of the Estate of
Patricia A. Cody, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Patricia A.
Cody

Beth Schutte, individually, as surviving child of Patricia A. Cody

Joyce Cohen-Day, individually, as surviving child of Florence
Cohen

Joyce Cohen-Day, as the Personal Representative of the Estate of
Florence Cohen, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Florence
Cohen

John Doe 9 as Personal Representative of the Estate of Mildred
Gordonson, deceased, the late parent of Florence Cohen

Juana Colon, individually, as surviving spouse of Jaime
Concepcion

Juana Colon, as the Personal Representative of the Estate of
Jaime Concepcion, deceased, and on behalf of all survivors and
all legally entitled beneficiaries and family members of Jaime
Concepcion

Orquidia Colon, individually, as surviving child of Jaime
Concepcion

Reginald Colon, individually, as surviving child of Jaime
Concepcion

Rosa Colon, individually, as surviving child of Jaime
Concepcion

Mercedes Concepcion, individually, as surviving child of Jaime


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Concepcion

Jaime Concepcion Jr., individually, as surviving child of Jaime
Concepcion

Virginia Concepcion Desoto, individually, as surviving child of
Jaime Concepcion

Kirsy Concepcion Salazar, individually, as surviving child of
Jaime Concepcion

April Alexander, individually, as surviving sibling of Brenda E.
Conway

Stanley Alexander, individually, as surviving sibling of Brenda
E. Conway

Mandell Conway, individually, as surviving child of Brenda E.
Conway

Russell Conway, individually, as surviving spouse of Brenda E.
Conway

Russell Conway, as the Personal Representative of the Estate of
Brenda E. Conway, deceased, and on behalf of all survivors and
all legally entitled beneficiaries and family members of Brenda
E. Conway

Linda McGee, individually, as surviving sibling of Brenda E.
Conway

Shelly Ray Watford as Personal Representative of the Estate of
Edith Watford, deceased, the late parent of Brenda E. Conway

Danielle Alexander, individually, as surviving child of Brenda E.
Conway

Jermaine Cook, as the Personal Representative of the Estate of
Helen Cook, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Helen Cook

Blanca M. Garcia, individually, as surviving sibling of Helen
Cook

Edson Garcia, individually, as surviving sibling of Helen Cook


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Keidy Garcia, individually, as surviving sibling of Helen Cook

Teoflia Garcia, individually, as surviving parent of Helen Cook

Moises Cordero, individually, as surviving parent of Alejandro
Cordero

Moises Cordero, as the Personal Representative of the Estate of
Alejandro Cordero, deceased, and on behalf of all survivors and
all legally entitled beneficiaries and family members of
Alejandro Cordero

Teresa Cordero, individually, as surviving parent of Alejandro
Cordero

Wellington Cordero, individually, as surviving sibling of
Alejandro Cordero

Moises Cordero Jr., individually, as surviving sibling of
Alejandro Cordero

Marina Correa, individually, as surviving parent of Danny
Correa-Gutierrez

Jessica Correa, individually, as surviving sibling of Danny
Correa-Gutierrez

John Doe 11, being intended to designate the Personal
Representative of the Estate of Danny Correa-Gutierrez,
deceased, said name being fictitious, her/his true name is not
presently known, confirmed, and/or has not been duly appointed
by a court of competent jurisdiction (or having been so
appointed, his or her appointment has expired, and/or he or she
has ceased to serve, and his or her successor has not yet been
appointed) and on behalf of all survivors and all legally entitled
beneficiaries and family members of Danny Correa-Gutierrez

Robert E. Marisay Jr., individually, as surviving sibling of
Georgine R. Corrigan

Laura Buck, individually, as surviving child of Georgine R.
Corrigan

Laura Buck, as the Personal Representative of the Estate of
Georgine R. Corrigan, deceased, and on behalf of all survivors
and all legally entitled beneficiaries and family members of

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Georgine R. Corrigan

Albertina Rivera, individually, as surviving parent of Digna
Costanza

Ingrid Rivera, individually, as surviving sibling of Digna
Costanza

Uriel Rivera Jr., individually, as surviving sibling of Digna
Costanza

Uriel Rivera Sr., individually, as surviving parent of Digna
Costanza

John Costanza, individually, as surviving spouse of Digna
Costanza

John Costanza, as the Personal Representative of the Estate of
Digna Costanza, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Digna
Costanza

Kathleen Birch, individually, as surviving sibling of Charles
Costello, Jr.

Charles Costello, individually, as surviving child of Charles
Costello, Jr.

Mary Costello, individually, as surviving spouse of Charles
Costello, Jr.

Mary Costello, as the Personal Representative of the Estate of
Charles Costello, Jr., deceased, and on behalf of all survivors and
all legally entitled beneficiaries and family members of Charles
Costello, Jr.

Patricia Costello, individually, as surviving sibling of Charles
Costello, Jr.

Raymond Costello, individually, as surviving sibling of Charles
Costello, Jr.

Patricia Costello as Personal Representative of the Estate of
Charles Costello, Sr., deceased, the late parent of Charles
Costello, Jr.


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MaryKate Naples, individually, as surviving child of Charles
Costello, Jr.

Amanda Taylor, individually, as surviving child of Charles
Costello, Jr.

James Coyle, individually, as surviving parent of James R. Coyle

James Coyle, as the Personal Representative of the Estate of
James R. Coyle, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of James R.
Coyle

Katherine Coyle, individually, as surviving sibling of James R.
Coyle

Regina Coyle, individually, as surviving parent of James R.
Coyle

Joseph Coyle, individually, as surviving sibling of James R.
Coyle

Charles Cross, individually, as surviving sibling of Dennis Cross

Virginia Fredriksen, individually, as surviving sibling of Dennis
Cross

Carol Cubas, individually, as surviving spouse of Kenneth J.
Cubas

Carol Cubas, as the Personal Representative of the Estate of
Kenneth J. Cubas, deceased, and on behalf of all survivors and
all legally entitled beneficiaries and family members of Kenneth
J. Cubas

Helga Curtin, individually, as surviving spouse of Michael
Curtin

Helga Curtin, as the Personal Representative of the Estate of
Michael Curtin, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Michael
Curtin

Erika C. Sufilka, individually, as surviving child of Michael
Curtin


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Anand A. Dataram, individually, as surviving sibling of Annette
A. Dataram

Mahadai Dataram, individually, as surviving parent of Annette
A. Dataram

Mahadai Dataram, as the Personal Representative of the Estate of
Annette A. Dataram, deceased, and on behalf of all survivors and
all legally entitled beneficiaries and family members of Annette
A. Dataram

Ronald Dataram, individually, as surviving sibling of Annette A.
Dataram

Adam Davidson, individually, as surviving child of Lawrence
Davidson

Adam Davidson, as the co-Personal Representative of the Estate
of Lawrence Davidson, deceased, and on behalf of all survivors
and all legally entitled beneficiaries and family members of
Lawrence Davidson

Daniel Davidson, as the co-Personal Representative of the Estate
of Lawrence Davidson, deceased, and on behalf of all survivors
and all legally entitled beneficiaries and family members of
Lawrence Davidson

Marc Davidson, individually, as surviving child of Lawrence
Davidson

Delores Akinshara a/k/a Monica Akinshara, individually, as
surviving sibling of Titus Davidson

Tanya Dale, individually, as surviving child of Titus Davidson

Tanya Dale, as the Personal Representative of the Estate of Titus
Davidson, deceased, and on behalf of all survivors and all legally
entitled beneficiaries and family members of Titus Davidson

Denzil Davidson, individually, as surviving sibling of Titus
Davidson

Janet Davidson, individually, as surviving sibling of Titus
Davidson

Merna Davidson, individually, as surviving sibling of Titus

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Davidson

Michelle Davidson, individually, as surviving sibling of Titus
Davidson

Noel Davidson, individually, as surviving sibling of Titus
Davidson

Phillip Davidson, individually, as surviving sibling of Titus
Davidson

Rose Davidson, individually, as surviving sibling of Titus
Davidson

Sam Davidson, individually, as surviving sibling of Titus
Davidson

Trevor Davidson, individually, as surviving sibling of Titus
Davidson

William Davidson, individually, as surviving sibling of Titus
Davidson

Phillip Davidson as Personal Representative of the Estate of
Ragland Davidson, deceased, the late parent of Titus Davidson

Carol Davidson-Simpson, individually, as surviving sibling of
Titus Davidson

Evis Jones, individually, as surviving sibling of Titus Davidson

Amy M. Knight, individually, as surviving sibling of Titus
Davidson

Shirley White, individually, as surviving sibling of Titus
Davidson

Paige Debek, individually, as surviving child of Tara Debek

Dariusz Debek, as the Personal Representative of the Estate of
Tara Debek, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Tara Debek

Maureen Moore, individually, as surviving parent of Tara Debek



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Robert Moore, individually, as surviving sibling of Tara Debek

Lisa Reahl, individually, as surviving sibling of Tara Debek

Dale Choate, individually, as surviving sibling of Gerald F.
DeConto

David DeConto, individually, as surviving sibling of Gerald F.
DeConto

G. Don Westfall, as the Personal Representative of the Estate of
Gerald F. DeConto, deceased, and on behalf of all survivors and
all legally entitled beneficiaries and family members of Gerald F.
DeConto

Patricia DeConto, individually, as surviving parent of Gerald F.
DeConto

Raymond DeConto, individually, as surviving sibling of Gerald
F. DeConto

Marie DeConto LeBlanc, individually, as surviving sibling of
Gerald F. DeConto

Alfred DeMartini, individually, as surviving sibling of Francis
DeMartini

Dominic DeMartini, individually, as surviving child of Francis
DeMartini

Nicole DeMartini a/k/a Nicole Fasnacht-DeMartini, individually,
as surviving spouse of Francis DeMartini

Nicole DeMartini a/k/a Nicole Fasnacht-DeMartini, as the
Personal Representative of the Estate of Francis DeMartini,
deceased, and on behalf of all survivors and all legally entitled
beneficiaries and family members of Francis DeMartini

Paul DeMartini, individually, as surviving sibling of Francis
DeMartini

Rosemary DeMartini, individually, as surviving sibling of
Francis DeMartini

Sabrina DeMartini, individually, as surviving child of Francis


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DeMartini

Nina DeMartini Day, individually, as surviving sibling of Francis
DeMartini

Alfred DeMartini, as Personal Representative of the Estate of
Alberta DeMartini, deceased, the late parent of Francis
DeMartini

Paul DeMartini, as Personal Representative of the Estate of
Alfred DeMartini, deceased, the late parent of Francis DeMartini

Juan De Jesus Rodriguez, individually, as surviving sibling of
Jose Depena

Anny De Jesus De Pena Rodriguez, individually, as surviving
sibling of Jose Depena

Edwin N. Depena, individually, as surviving child of Jose
Depena

Marlin Nicole Depena, individually, as surviving child of Jose
Depena

Victor T. Depena, individually, as surviving sibling of Jose
Depena

Virgilio N. Depena, individually, as surviving parent of Jose
Depena

Daniel N. Depena Mora, individually, as surviving child of Jose
Depena

Belkis A. Depena Rodriguez, individually, as surviving sibling of
Jose Depena

Jorge A. Depena Rodriguez, individually, as surviving sibling of
Jose Depena

BNY Mellon, as the Personal Representative of the Estate of Jose
Depena, deceased, and on behalf of all survivors and all legally
entitled beneficiaries and family members of Jose Depena

Yanet Del Carmen Rodriguez De La Cruz, as Personal
Representative of the Estate of Miguel Angel Rodriguez,


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deceased, the late sibling of Jose Depena

Pura A. Rodriguez, individually, as surviving parent of Jose
Depena

Veronica Altagracia Sanchez Depena, individually, as surviving
sibling of Jose Depena

Clara Depena, individually, as surviving sibling of Jose Depena

Maxima Depena, individually, as surviving spouse of Jose
Depena

Quilcio Depena, individually, as surviving sibling of Jose
Depena

William Depena, individually, as surviving sibling of Jose
Depena

Angela DeRubbio, individually, as surviving sibling of David P.
DeRubbio

Anthony J. DeRubbio, individually, as surviving sibling of David
P. DeRubbio

Dominick A. DeRubbio, individually, as surviving sibling of
David P. DeRubbio

Jessica DeRubbio, individually, as surviving child of David P.
DeRubbio

Lorraine D. DeRubbio, individually, as surviving spouse of
David P. DeRubbio

Lorraine D. DeRubbio, as the Personal Representative of the
Estate of David P. DeRubbio, deceased, and on behalf of all
survivors and all legally entitled beneficiaries and family
members of David P. DeRubbio

Marion DeRubbio, individually, as surviving parent of David P.
DeRubbio

Robert Anthony DeRubbio, individually, as surviving sibling of
David P. DeRubbio

Mary Lee Ianno, individually, as surviving sibling of David P.

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DeRubbio

Mary Lee Ianno as Personal Representative of the Estate of
Albert DeRubbio, Sr., deceased, the late parent of David P.
DeRubbio

Anthony Desperito, individually, as surviving child of Andrew
Desperito

David Desperito, individually, as surviving child of Andrew
Desperito

Laura Desperito-Filiberto, individually, as surviving spouse of
Andrew Desperito

Laura Desperito-Filiberto, as the Personal Representative of the
Estate of Andrew Desperito, deceased, and on behalf of all
survivors and all legally entitled beneficiaries and family
members of Andrew Desperito

Joseph A. Deuel, individually, as surviving sibling of Cindy Ann
Deuel

Joseph P. Deuel, individually, as surviving parent of Cindy Ann
Deuel

Richard A. Deuel, individually, as surviving sibling of Cindy
Ann Deuel

John Doe 15, being intended to designate the Personal
Representative of the Estate of Cindy Ann Deuel, deceased, said
name being fictitious, her/his true name is not presently known,
confirmed, and/or has not been duly appointed by a court of
competent jurisdiction (or having been so appointed, his or her
appointment has expired, and/or he or she has ceased to serve,
and his or her successor has not yet been appointed) and on
behalf of all survivors and all legally entitled beneficiaries and
family members of Cindy Ann Deuel

Patricia Kocian, individually, as surviving parent of Cindy Ann
Deuel

Casey Devlin, individually, as surviving child of Dennis L.
Devlin

Dennis Devlin, individually, as surviving child of Dennis L.

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Devlin

Kathleen A. Devlin, individually, as surviving spouse of Dennis
L. Devlin

Kathleen A. Devlin, as the Personal Representative of the Estate
of Dennis L. Devlin, deceased, and on behalf of all survivors and
all legally entitled beneficiaries and family members of Dennis
L. Devlin

Kathleen E. Devlin, individually, as surviving child of Dennis L.
Devlin

Kerry Sharkey, individually, as surviving child of Dennis L.
Devlin

Sandra Ahern as Personal Representative of the Estate of
Christopher Diaz, deceased, the late sibling of Matthew Diaz

Christopher J. Diaz, individually, as surviving child of Matthew
Diaz

Michael C. Diaz, individually, as surviving sibling of Matthew
Diaz

Christopher J. Diaz as Personal Representative of the Estate of
Michael Diaz, deceased, the late child of Matthew Diaz

Florence Kneff, as the Personal Representative of the Estate of
Matthew Diaz, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Matthew
Diaz

Florence Kneff as Personal Representative of the Estate of Karen
Diaz, deceased, the late spouse of Matthew Diaz

James E. DiCharo as Personal Representative of the Estate of
Joseph L. DiChiaro, deceased, the late spouse of Patricia F.
DiChiaro

James E. DiChiaro, individually, as surviving child of Patricia F.
DiChiaro

James E. DiChiaro, as the Personal Representative of the Estate
of Patricia F. DiChiaro, deceased, and on behalf of all survivors
and all legally entitled beneficiaries and family members of

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Patricia F. DiChiaro

Thomas L. DiChiaro, individually, as surviving child of Patricia
F. DiChiaro

Camille Doany, individually, as surviving sibling of Ramzi A.
Doany

Samia Doany, individually, as surviving parent of Ramzi A.
Doany

Dina Doany-Azzam, individually, as surviving sibling of Ramzi
A. Doany

Dina Doany-Azzam, as the Personal Representative of the Estate
of Ramzi A. Doany, deceased, and on behalf of all survivors and
all legally entitled beneficiaries and family members of Ramzi A.
Doany

Ibrahim Doany, individually, as surviving sibling of Ramzi A.
Doany

Daryl Gabriel, individually, as surviving child of Benilda
Domingo

Benjamin Dominguez, Jr., individually, as surviving sibling of
Carlos Dominguez

Benjamin Dominguez, Jr. as Personal Representative of the
Estate of Benjamin Dominguez, Sr., deceased, the late parent of
Carlos Dominguez

Benjamin Dominguez, Jr. as Personal Representative of the
Estate of Eugenia Dominguez, deceased, the late parent of Carlos
Dominguez

Chang Don Kim, individually, as surviving parent of Lawrence
Don Kim

Chang Don Kim, as the Personal Representative of the Estate of
Lawrence Don Kim, deceased, and on behalf of all survivors and
all legally entitled beneficiaries and family members of
Lawrence Don Kim

Catherine Fleming as Personal Representative of the Estate of


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Soh Ryang Kim, deceased, the late parent of Lawrence Don Kim

Catherine Fleming, individually, as surviving sibling of
Lawrence Don Kim

John Doe 106, as the Personal Representative of the Estate of
George A. Cuellar, deceased, the late life partner of Luke Dudek

John Doe 107, being intended to designate the Personal
Representative of the Estate of Luke Dudek, deceased, said name
being fictitious, her/his true name is not presently known,
confirmed, and/or has not been duly appointed by a court of
competent jurisdiction (or having been so appointed, his or her
appointment has expired, and/or he or she has ceased to serve,
and his or her successor has not yet been appointed) and on
behalf of all survivors and all legally entitled beneficiaries and
family members of Luke Dudek

April Horton, individually, as surviving sibling of Edward T.
Earhart

Andrea Stauter, individually, as surviving sibling of Edward T.
Earhart

Andrea Stauter, as the Personal Representative of the Estate of
Edward T. Earhart, deceased, and on behalf of all survivors and
all legally entitled beneficiaries and family members of Edward
T. Earhart

Andrea Stauter as Personal Representative of the Estate of
Charlotte Earhart, deceased, the late parent of Edward T. Earhart

Andrea Stauter as Personal Representative of the Estate of
Thomas Earhart, deceased, the late parent of Edward T. Earhart

Christopher Aiello as Personal Representative of the Estate of
Joan Aiello, deceased, the late sibling of John E. Eichler

John Churchill as Personal Representative of the Estate of Lois
Churchill, deceased, the late sibling of John E. Eichler

John R. Eichler, individually, as surviving child of John E.
Eichler

John R. Eichler, as the Personal Representative of the Estate of
John E. Eichler, deceased, and on behalf of all survivors and all

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legally entitled beneficiaries and family members of John E.
Eichler

John R. Eichler as Personal Representative of the Estate of
Margaret L. Eichler, deceased, the late spouse of John E. Eichler

Catherine Ericson, individually, as surviving child of Ulf Ramm
Ericson

Catherine Ericson, as Personal Representative of the Estate of
Helen Carole Ericson, deceased, the late spouse of Ulf Ramm
Ericson

Catherine Ericson, as the Personal Representative of the Estate of
Ulf Ramm Ericson, deceased, and on behalf of all survivors and
all legally entitled beneficiaries and family members of Ulf
Ramm Ericson

Itauma Ette, individually, as surviving sibling of Sadie Ette

Benjamin Edokpayi, as the Personal Representative of the Estate
of Sadie Ette, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Sadie Ette

Sarah DeSimone, individually, as surviving child of Catherine
Fagan

Sarah DeSimone, as the Personal Representative of the Estate of
Catherine Fagan, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Catherine
Fagan

Jane M. Cristiano, individually, as surviving child of Thomas
Farino

Daniel Farino, individually, as surviving sibling of Thomas
Farino

Frank Farino, individually, as surviving sibling of Thomas
Farino

James Farino, individually, as surviving child of Thomas Farino

Patrick Farino, individually, as surviving sibling of Thomas
Farino


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Mary A. Farino-Thomas, individually, as surviving spouse of
Thomas Farino

Mary A. Farino-Thomas, as the Personal Representative of the
Estate of Thomas Farino, deceased, and on behalf of all survivors
and all legally entitled beneficiaries and family members of
Thomas Farino

Kathryn Nesbit, individually, as surviving child of Elizabeth A.
Farmer

Kathryn Nesbit, as the Personal Representative of the Estate of
Elizabeth A. Farmer, deceased, and on behalf of all survivors and
all legally entitled beneficiaries and family members of Elizabeth
A. Farmer

Jennifer Artola, individually, as surviving child of Francis J.
Feely

Caitlin Feely, individually, as surviving child of Francis J. Feely

Lori Feely, individually, as surviving spouse of Francis J. Feely

Jennifer Artola, as the Personal Representative of the Estate of
Francis J. Feely, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Francis J.
Feely

Alice Feely as Personal Representative of the Estate of Patricia
Feely, deceased, the late parent of Francis J. Feely

Stephanie Feely, individually, as surviving child of Francis J.
Feely

Lauren Ludvigsen, individually, as surviving child of Francis J.
Feely

Catherine Curley, individually, as surviving sibling of Sean B.
Fegan

Peter Fegan Jr., individually, as surviving sibling of Sean B.
Fegan

Peter Fegan, individually, as surviving parent of Sean B. Fegan

Peter Fegan, as the Personal Representative of the Estate of Sean

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B. Fegan, deceased, and on behalf of all survivors and all legally
entitled beneficiaries and family members of Sean B. Fegan

Anne Marie Hartney, individually, as surviving sibling of Sean
B. Fegan

Peter Fegan as Personal Representative of the Estate of Margaret
Colette Fegan, deceased, the late parent of Sean B. Fegan

Alexis Feliciano, individually, as surviving child of Rosa Maria
Feliciano

Amanda Feliciano, individually, as surviving child of Rosa
Maria Feliciano

Isaac Feliciano, individually, as surviving spouse of Rosa Maria
Feliciano

Isaac Feliciano, as the Personal Representative of the Estate of
Rosa Maria Feliciano, deceased, and on behalf of all survivors
and all legally entitled beneficiaries and family members of Rosa
Maria Feliciano

Angela Fields, individually, as surviving spouse of Samuel
Fields Sr.

Angela Fields, as the Personal Representative of the Estate of
Samuel Fields Sr., deceased, and on behalf of all survivors and
all legally entitled beneficiaries and family members of Samuel
Fields Sr.

Demetrius Fields, individually, as surviving child of Samuel
Fields Sr.

Samuel Fields Jr., individually, as surviving child of Samuel
Fields Sr.

Stefan Fields, individually, as surviving child of Samuel Fields
Sr.

Sharif Fields, individually, as surviving child of Samuel Fields
Sr.

Sharaia Fields, individually, as surviving child of Samuel Fields
Sr.


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Christina D. Fisher, individually, as surviving sibling of Andrew
Fisher

John Fisher, individually, as surviving sibling of Andrew Fisher

Maria R. Fisher, individually, as surviving sibling of Andrew
Fisher

Marie E. Fisher, individually, as surviving parent of Andrew
Fisher

Nina A. Fisher, individually, as surviving sibling of Andrew
Fisher

Peter Fisher, individually, as surviving sibling of Andrew Fisher

Nina Fisher and John Fisher as co-Personal Representatives of
the Estate of John F. Fisher, deceased, the late parent of Andrew
Fisher

Stephanie E. Lang, individually, as surviving spouse of Andrew
Fisher

Stephanie E. Lang, as the Personal Representative of the Estate
of Andrew Fisher, deceased, and on behalf of all survivors and
all legally entitled beneficiaries and family members of Andrew
Fisher

Catherine A. Chiola, individually, as surviving sibling of John
Roger Fisher

Catherine A. Chiola, as the Personal Representative of the Estate
of John Roger Fisher, deceased, and on behalf of all survivors
and all legally entitled beneficiaries and family members of John
Roger Fisher

Bridget E. Fisher, individually, as surviving child of John Roger
Fisher

Evan H. Fisher, individually, as surviving child of John Roger
Fisher

Kyle Fisher, individually, as surviving child of John Roger
Fisher

Ryan P. Fisher, individually, as surviving child of John Roger

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Fisher

Tina M. Fisher, individually, as surviving sibling of John Roger
Fisher

Erin N. Siegel, individually, as surviving child of John Roger
Fisher

Kylie Eve Florio, individually, as surviving child of John J.
Florio

Michael J. Florio, individually, as surviving child of John J.
Florio

Shari Florio, individually, as surviving spouse of John J. Florio

Shari Florio, as the Personal Representative of the Estate of John
J. Florio, deceased, and on behalf of all survivors and all legally
entitled beneficiaries and family members of John J. Florio

Brittany Fogel, individually, as surviving child of Stephen M.
Fogel

David Fogel, individually, as surviving sibling of Stephen M.
Fogel

Joseph Fogel, individually, as surviving child of Stephen M.
Fogel

David Fogel as Personal Representative of the Estate of Beth
Fogel, deceased, the late parent of Stephen M. Fogel

Karen Hamorsky, individually, as surviving sibling of Stephen
M. Fogel

Laurie Pater, individually, as surviving spouse of Stephen M.
Fogel

Laurie Pater, as the Personal Representative of the Estate of
Stephen M. Fogel, deceased, and on behalf of all survivors and
all legally entitled beneficiaries and family members of Stephen
M. Fogel

Elaine Cunnea, individually, as surviving sibling of Godwin
Forde


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Charlene Carmen Forde, individually, as surviving child of
Godwin Forde

Charlene Carmen Forde, as the co-Personal Representative of the
Estate of Godwin Forde, deceased, and on behalf of all survivors
and all legally entitled beneficiaries and family members of
Godwin Forde

Dorepha Forde, individually, as surviving parent of Godwin
Forde

Dorna Forde, individually, as surviving sibling of Godwin Forde

Dorolyne Forde, individually, as surviving sibling of Godwin
Forde

Raymond Forde, individually, as surviving sibling of Godwin
Forde

Romel DaCosta Forde, individually, as surviving child of
Godwin Forde

Godwin Marlon Junior Forde, individually, as surviving child of
Godwin Forde

Myrna Thomas, individually, as surviving sibling of Godwin
Forde

Angela Alleyne, as the co-Personal Representative of the Estate
of Godwin Forde, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Godwin
Forde

David Foreman, individually, as surviving sibling of Donald A.
Foreman

Marcus Foreman, individually, as surviving child of Donald A.
Foreman

Shirley Foreman, individually, as surviving parent of Donald A.
Foreman

Shirley Foreman, as the Personal Representative of the Estate of
Donald A. Foreman, deceased, and on behalf of all survivors and
all legally entitled beneficiaries and family members of Donald


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A. Foreman

John Doe 117, as the Personal Representative of the Estate of
Barbara E. Hill, deceased. the late parent of Sandra N. Foster

Lawrence Hill, as the Personal Representative of the Estate of
Sandra N. Foster, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Sandra N.
Foster

Lawrence Hill, individually, as surviving sibling of Sandra N.
Foster

Allison Fox-Breland, individually, as surviving child of Virginia
E. Fox

Allison Fox-Breland, as the Personal Representative of the Estate
of Virgina E. Fox, deceased, and on behalf of all survivors and
all legally entitled beneficiaries and family members of Virginia
E. Fox

Patrick T. Wynn, individually, as surviving child of Virginia E.
Fox

Raymond Durant, individually, as surviving child of Virgin
(Lucy) Francis

Joseph Francis, individually, as surviving child of Virgin (Lucy)
Francis

Joseph Francis, as the Personal Representative of the Estate of
Virgin (Lucy) Francis, deceased, and on behalf of all survivors
and all legally entitled beneficiaries and family members of
Virgin (Lucy) Francis

Peter Francis, individually, as surviving child of Virgin (Lucy)
Francis

Troy Francis, individually, as surviving child of Virgin (Lucy)
Francis

Felicia Cappo, individually, as surviving sibling of Gary J. Frank

Felicia Cappo and Laurie Vigeant, as co-Personal
Representatives of the Estate of Ellen Vigeant, deceased, the late


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parent of Gary J. Frank

John Doe 111, being intended to designate, as the Personal
Representative of the Estate of Gary J. Frank, deceased, said
name being fictitious, her/his true name is not presently known,
confirmed, and/or has not been duly appointed by a court of
competent jurisdiction (or having been so appointed, his or her
appointment has expired, and/or he or she has ceased to serve,
and his or her successor has not yet been appointed) and on
behalf of all survivors and all legally entitled beneficiaries and
family members of Gary J. Frank

Laurie Vigeant, individually, as surviving sibling of Gary J.
Frank

Daniel Frawley, individually, as surviving sibling of Kevin
Frawley

Theresa Frawley, individually, as surviving sibling of Kevin
Frawley

Theresa Frawley as Personal Representative of the Estate of
Theresa M. Conklin, deceased, the late parent of Kevin Frawley

Margaret Frawley-Gardini, individually, as surviving sibling of
Kevin Frawley

Frances McCarthy, individually, as surviving sibling of Kevin
Frawley

Martin Fredericks, individually, as surviving sibling of Andrew
Fredericks

Allen Freeman, individually, as surviving parent of Tamitha
Freeman

Allen Freeman, as the co-Personal Representative of the Estate
of Tamitha Freeman, deceased, and on behalf of all survivors and
all legally entitled beneficiaries and family members of Tamitha
Freeman

Carla Freeman, individually, as surviving sibling of Tamitha
Freeman

Juanita Freeman, individually, as surviving parent of Tamitha


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Freeman

Xavier White, individually, as surviving child of Tamitha
Freeman

Michael Freiman, individually, as surviving sibling of Brett O.
Freiman

John Doe 145, as Personal Representative of the Estate of Bonnie
Freiman a/k/a Bonnie Freiman-Magnes, deceased, the late parent
of Brett O. Freiman,

Pamela J. Freiman, individually, as surviving sibling of Brett O.
Freiman

Pamela J. Freiman, as the Personal Representative of the Estate
of Brett O. Freiman, deceased, and on behalf of all survivors and
all legally entitled beneficiaries and family members of Brett O.
Freiman

Burt A. Lewis as Personal Representative of the Estate of
Herbert Freiman, deceased, the late parent of Brett O. Freiman

Audrey Ades, individually, as surviving spouse of Paul Friedman

Audrey Ades, as the Personal Representative of the Estate of
Paul Friedman, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Paul
Friedman

Richard Hyun-Soo Friedman Fox, individually, as surviving
child of Paul Friedman

Selma M. Friedman, individually, as surviving parent of Paul
Friedman

Amy Radin, individually, as surviving sibling of Paul Friedman

John Doe 18, being intended to designate the Personal
Representative of the Estate of Lisa Frost, deceased, said name
being fictitious, her/his true name is not presently known,
confirmed, and/or has not been duly appointed by a court of
competent jurisdiction (or having been so appointed, his or her
appointment has expired, and/or he or she has ceased to serve,
and his or her successor has not yet been appointed) and on
behalf of all survivors and all legally entitled beneficiaries and

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family members of Lisa Frost

Daniel Frost, individually, as surviving sibling of Lisa Frost

Suzanne G. Adams, individually, as surviving sibling of Anthony
E. Gallagher

Carolyn Belford, individually, as surviving sibling of Anthony E.
Gallagher

Rose Costello, individually, as surviving parent of Anthony E.
Gallagher

John Doe 19 as Personal Representative of the Estate of Carrie
A. Gallagher, deceased, the late spouse of Anthony E. Gallagher

John Doe 68, being intended to designate the Personal
Representative of the Estate of Anthony E. Gallagher, deceased,
said name being fictitious, her/his true name is not presently
known, confirmed, and/or has not been duly appointed by a court
of competent jurisdiction (or having been so appointed, his or her
appointment has expired, and/or he or she has ceased to serve,
and his or her successor has not yet been appointed) and on
behalf of all survivors and all legally entitled beneficiaries and
family members of Anthony E. Gallagher

Joseph Gallagher, individually, as surviving sibling of Anthony
E. Gallagher

Donna Struzzieri, individually, as surviving sibling of Bruce
Gary

Donna Struzzieri as Personal Representative of the Estate of
Alice Gary, deceased, the late parent of Bruce Gary

Christopher Geis, individually, as surviving sibling of Julie M.
Geis

James P. Geis, individually, as surviving sibling of Julie M. Geis

Rebecca Loethen, individually, as surviving life partner of Julie
M. Geis

Rebecca Loethen, as the Personal Representative of the Estate of
Julie M. Geis, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Julie M.

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Geis

Carol Varland, individually, as surviving sibling of Julie M. Geis

Michael Geis, individually, as surviving sibling of Julie M. Geis

Janet Baronian, individually, as surviving sibling of Edward F.
Geraghty

Lynn Cannata, individually, as surviving sibling of Edward F.
Geraghty

Colin Geraghty, individually, as surviving child of Edward F.
Geraghty

Colleen Geraghty, individually, as surviving sibling of Edward F.
Geraghty

Connor Geraghty, individually, as surviving child of Edward F.
Geraghty

James Geraghty, individually, as surviving child of Edward F.
Geraghty

Mary Geraghty, individually, as surviving spouse of Edward F.
Geraghty

Mary Geraghty, as the Personal Representative of the Estate of
Edward F. Geraghty, deceased, and on behalf of all survivors and
all legally entitled beneficiaries and family members of Edward
F. Geraghty

Maureen Geraghty, individually, as surviving sibling of Edward
F. Geraghty

Norma Geraghty, individually, as surviving parent of Edward F.
Geraghty

John Doe 146 as Personal Representative of the Estate of
Stephen Geraghty, deceased, the late sibling of Edward F.
Geraghty

Norma Geraghty as Personal Representative of the Estate of
James F. Geraghty, deceased, the late parent of Edward F.
Geraghty


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Debra Giordano, individually, as surviving sibling of Jeffrey J.
Giordano

Edward Goldstein, as the Personal Representative of the Estate
of Michelle H. Goldstein, deceased, and on behalf of all
survivors and all legally entitled beneficiaries and family
members of Michelle H. Goldstein

Annete Herman, individually, as surviving sibling of Michelle H.
Goldstein

Ingrid Jaffe, individually, as surviving parent of Michelle H.
Goldstein

Rafael Herman, individually, as surviving parent of Michelle H.
Goldstein

Tatiana R. Gomez, individually, as surviving spouse of Wilder
A. Gomez

BNY Mellon, as the Personal Representative of the Estate of
Wilder A. Gomez, deceased, and on behalf of all survivors and
all legally entitled beneficiaries and family members of Wilder
A. Gomez

Tatiana S. Gomez, individually, as surviving child of Wilder A.
Gomez

Dawn Gonzalez, individually, as surviving sibling of Jenine
Gonzalez

Dawn Gonzalez, as the co-Personal Representative of the Estate
of Jenine Gonzalez, deceased, and on behalf of all survivors and
all legally entitled beneficiaries and family members of Jenine
Gonzalez

Corina Murillo, individually, as surviving parent of Mauricio
Gonzalez

Dora Murillo, individually, as surviving sibling of Mauricio
Gonzalez

Evan V. Vandommelen-Gonzalez, as the Personal Representative
of the Estate of Mauricio Gonzalez, deceased, and on behalf of
all survivors and all legally entitled beneficiaries and family


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members of Mauricio Gonzalez

Brenda S. Goody, individually, as surviving spouse of Harry
Goody

Brenda S. Goody, as the Personal Representative of the Estate of
Harry Goody, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Harry
Goody

Jonathan Goody, individually, as surviving child of Harry Goody

Alexis Goody-Harding, individually, as surviving child of Harry
Goody

Adilakshumma Gopu, individually, as surviving parent of Kiran
Kumar Reddy Gopu

Deepa R. Gopu, individually, as surviving sibling of Kiran
Kumar Reddy Gopu

Deepa R. Gopu, as the Personal Representative of the Estate of
Kiran Kumar Reddy Gopu, deceased, and on behalf of all
survivors and all legally entitled beneficiaries and family
members of Kiran Kumar Reddy Gopu

Venkata Subba Reddy Gopu, individually, as surviving parent of
Kiran Kumar Reddy Gopu

Carly Gordenstein, individually, as surviving child of Lisa F.
Gordenstein

David Gordenstein, individually, as surviving spouse of Lisa F.
Gordenstein

David Gordenstein, as the Personal Representative of the Estate
of Lisa F. Gordenstein, deceased, and on behalf of all survivors
and all legally entitled beneficiaries and family members of Lisa
F. Gordenstein

SamanthaStevens, individually, as surviving child of Lisa F.
Gordenstein

Dorothy Fenn Grodberg, individually, as surviving parent of Lisa
F. Gordenstein


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Deborah Fenn, individually, as surviving sibling of Lisa F.
Gordenstein

Erika Lutzner, individually, as surviving spouse of Jon R.
Grabowski

Erika Lutzner, as the Personal Representative of the Estate of Jon
R. Grabowski, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Jon R.
Grabowski

Kristen C. Graf, individually, as surviving child of Edwin J. Graf
III

Karen A. Parker as Personal Representative of the Estate of Tyler
W. Graf, deceased, the late child of Edwin J. Graf, III

Maureen Granados, individually, as surviving child of Gilbert
Granados

Teresa Granados, individually, as surviving spouse of Gilbert
Granados

Teresa Granados, as the Personal Representative of the Estate of
Gilbert Granados, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Gilbert
Granados

Lawrence Gray, individually, as surviving spouse of Tara
McCloud Gray

Lawrence Gray, as the Personal Representative of the Estate of
Tara McCloud Gray, deceased, and on behalf of all survivors and
all legally entitled beneficiaries and family members of Tara
McCloud Gray

John Doe 22, being intended to designate the Personal
Representative of the Estate of Andrew Peter Charles Curry
Green, deceased, said name being fictitious, her/his true name is
not presently known, confirmed, and/or has not been duly
appointed by a court of competent jurisdiction (or having been so
appointed, his or her appointment has expired, and/or he or she
has ceased to serve, and his or her successor has not yet been
appointed) and on behalf of all survivors and all legally entitled
beneficiaries and family members of Andrew Peter Charles

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Curry Green

Matthew Green, individually, as surviving sibling of Andrew
Peter Charles Curry Green

Peter E. Green, individually, as surviving parent of Andrew Peter
Charles Curry Green

Kevin Anthony Green as Personal Representative of the Estate of
Razelda Bailey-Green, deceased, the late parent of Derrick A.
Green

Melrose Morrison Green, individually, as surviving spouse of
Derrick A. Green

Melrose Morrison Green, as the Personal Representative of the
Estate of Derrick A. Green, deceased, and on behalf of all
survivors and all legally entitled beneficiaries and family
members of Derrick A. Green

Delroy Llewellyn, individually, as surviving sibling of Derrick
A. Green

Jennifer Green, individually, as surviving child of Wanda Green

Jennifer Green, as the Personal Representative of the Estate of
Wanda Green, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Wanda
Green

Joe Green, individually, as surviving child of Wanda Green

Sandra Jamerson, individually, as surviving sibling of Wanda
Green

Aserene Smith, individually, as surviving parent of Wanda Green

Tommy Smith, individually, as surviving sibling of Wanda
Green

John Doe 23, being intended to designate the Personal
Representative of the Estate of Denise Gregory, deceased, said
name being fictitious, her/his true name is not presently known,
confirmed, and/or has not been duly appointed by a court of
competent jurisdiction (or having been so appointed, his or her
appointment has expired, and/or he or she has ceased to serve,

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and his or her successor has not yet been appointed) and on
behalf of all survivors and all legally entitled beneficiaries and
family members of Denise Gregory

Lenworth Sewell, individually, as surviving sibling of Denise
Gregory

Evelyn Griffin, individually, as surviving parent of John M.
Griffin

John Griffin, individually, as surviving parent of John M. Griffin

Julie Griffin, individually, as surviving child of John M. Griffin

June Griffin, individually, as surviving spouse of John M. Griffin

June Griffin, as the Personal Representative of the Estate of John
M. Griffin, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of John M.
Griffin

Michael T. Griffin, individually, as surviving sibling of John M.
Griffin

Jenna Griffin, individually, as surviving child of John M. Griffin

Nenita Grijalvo, individually, as surviving spouse of Ramon
Grijalvo

Nenita Grijalvo, as the Personal Representative of the Estate of
Ramon Grijalvo, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Ramon
Grijalvo

Rachel Grijalvo, individually, as surviving child of Ramon
Grijalvo

Raymond Grijalvo, individually, as surviving child of Ramon
Grijalvo

Frances Grouzalis, individually, as surviving spouse of Kenneth
Grouzalis

Frances Grouzalis, as the Personal Representative of the Estate
of Kenneth Grouzalis, deceased, and on behalf of all survivors
and all legally entitled beneficiaries and family members of

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Kenneth Grouzalis

Lisa Grouzalis, individually, as surviving child of Kenneth
Grouzalis

Myrta Gschaar, individually, as surviving spouse of Robert
Gschaar

Myrta Gschaar, as the Personal Representative of the Estate of
Robert Gschaar, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Robert
Gschaar

Genevieve Gyulavary, individually, as surviving child of Peter
Gyulavary

Jane Gyulavary, individually, as surviving spouse of Peter
Gyulavary

Jane Gyulavary, as the Personal Representative of the Estate of
Peter Gyulavary, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Peter
Gyulavary

Paul Gyulavary, individually, as surviving sibling of Peter
Gyulavary

Bebe Hafiz, individually, as surviving parent of Nezam Hafiz

Sharon Hafiz, individually, as surviving sibling of Nezam Hafiz

Bebe Hafiz as Personal Representative of the Estate of Cecil
Mohammed Ishmael Hafiz, deceased, the late parent of Nezam
Hafiz

Deborah Khublall, individually, as surviving sibling of Nezam
Hafiz

Deborah Khublall, as the Personal Representative of the Estate of
Nezam Hafiz, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Nezam
Hafiz

Gary McKinzy, individually, as surviving spouse of Diane Hale-
McKinzy


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Gary McKinzy, as the Personal Representative of the Estate of
Diane Hale-McKinzy, deceased, and on behalf of all survivors
and all legally entitled beneficiaries and family members of
Diane Hale-McKinzy

Douglas W. Hall, individually, as surviving sibling of Richard
Hall

Shawn C. Hall, individually, as surviving child of Richard Hall

Douglas Hall as Personal Representative of the Estate of Herman
W. Hall, deceased, the late parent of Richard Hall

Douglas Hall as Personal Representative of the Estate of Ruth
Hall, deceased, the late parent of Richard Hall

Alisha Halmon, individually, as surviving child of Carolyn
Halmon

Herman Halmon, individually, as surviving spouse of Carolyn
Halmon

Herman Halmon, as the Personal Representative of the Estate of
Carolyn Halmon, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Carolyn
Halmon

Standish Halmon, individually, as surviving child of Carolyn
Halmon

Talat Hamdani, individually, as surviving parent of Mohammad
S. Hamdani

Zeshan Hamdani, individually, as surviving sibling of
Mohammad S. Hamdani

Talat Hamdani, as the Personal Representative of the Estate of
Mohammad S. Hamdani, deceased, and on behalf of all survivors
and all legally entitled beneficiaries and family members of
Mohammad S. Hamdani

Talat Hamdani as Personal Representative of the Estate of
Mohammad Saleem Hamdani, deceased, the late parent of
Mohammad S. Hamdani

Mohammad Hamdani, individually, as surviving sibling of

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Mohammad S. Hamdani

John Doe 24, being intended to designate the Personal
Representative of the Estate of Melissa M. Harrington-Hughes,
deceased, said name being fictitious, her/his true name is not
presently known, confirmed, and/or has not been duly appointed
by a court of competent jurisdiction (or having been so
appointed, his or her appointment has expired, and/or he or she
has ceased to serve, and his or her successor has not yet been
appointed) and on behalf of all survivors and all legally entitled
beneficiaries and family members of Melissa M. Harrington-
Hughes

Beverly Harrington, individually, as surviving parent of Melissa
M. Harrington-Hughes

Robert J. Harrington, individually, as surviving parent of Melissa
M. Harrington-Hughes

Dawn Haskell Carbone, individually, as surviving sibling of
Thomas Haskell

John Doe 25 as Personal Representative of the Estate of Timothy
Haskell, deceased, the late sibling of Thomas Haskell

Barbara Haskell, individually, as surviving spouse of Thomas
Haskell

Barbara Haskell, as the Personal Representative of the Estate of
Thomas Haskell, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Thomas
Haskell

Erin Haskell, individually, as surviving child of Thomas Haskell

Maureen Haskell, individually, as surviving parent of Thomas
Haskell

Meaghan Haskell, individually, as surviving child of Thomas
Haskell

Tara Haskell, individually, as surviving child of Thomas Haskell

Kevin Haskell, individually, as surviving sibling of Thomas
Haskell


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Dawn H. Carbone, individually, as surviving sibling of Timothy
Haskell

John Doe 26, being intended to designate the Personal
Representative of the Estate of Timothy Haskell, deceased, said
name being fictitious, her/his true name is not presently known,
confirmed, and/or has not been duly appointed by a court of
competent jurisdiction (or having been so appointed, his or her
appointment has expired, and/or he or she has ceased to serve,
and his or her successor has not yet been appointed) and on
behalf of all survivors and all legally entitled beneficiaries and
family members of Timothy Haskell

Kevin Haskell, individually, as surviving sibling of Timothy
Haskell

Maureen Haskell, individually, as surviving parent of Timothy
Haskell

Barbara Haskell as Personal Representative of the Estate of
Thomas Haskell, deceased, the late sibling of Timothy Haskell

Melissa J. Bernstein, individually, as surviving child of Roberta
B. Heber

Stuart Bernstein, individually, as surviving child of Roberta B.
Heber

Robyn Bernstein Donati, individually, as surviving child of
Roberta B. Heber

Jacob Heber, individually, as surviving spouse of Roberta B.
Heber

Melissa J. Bernstein, as the Co-Personal Representative of the
Estate of Roberta B. Heber, deceased, and on behalf of all
survivors and all legally entitled beneficiaries and family
members of Roberta B. Heber

Marinella Hemenway, as the Personal Representative of the
Estate of Ronald J. Hemenway, deceased, and on behalf of all
survivors and all legally entitled beneficiaries and family
members of Ronald J. Hemenway

Desiree Hemenway, individually, as surviving child of Ronald J.


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Hemenway

Marinella Hemenway, individually, as surviving spouse of
Ronald J. Hemenway

Robert B. Hemenway Jr., individually, as surviving sibling of
Ronald J. Hemenway

Robert B. Hemenway Sr., individually, as surviving parent of
Ronald J. Hemenway

Shirley Hemenway, individually, as surviving parent of Ronald J.
Hemenway

Stefan Hemenway, individually, as surviving child of Ronald J.
Hemenway

Kathleen Novich, individually, as surviving sibling of Ronald J.
Hemenway

Bernice Dawn Dillard, individually, as surviving sibling of
Ronnie Henderson

Valestine Henderson, individually, as surviving sibling of Ronnie
Henderson

Tara Butzbaugh, individually, as surviving sibling of John
Christopher Henwood

Catherine M. Eklund, individually, as surviving sibling of John
Christopher Henwood

David D. Henwood III, individually, as surviving sibling of John
Christopher Henwood

David Henwood III as the Personal Representative of the Estate
of David D. Henwood Jr., deceased, the late parent of John
Christopher Henwood

Mary C. Henwood, individually, as surviving parent of John
Christopher Henwood

Mary L. Henwood, individually, as surviving sibling of John
Christopher Henwood

Pamela Dixon, individually, as surviving parent of DaJuan

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Hodges

Sherard Dixon, individually, as surviving sibling of DaJuan
Hodges

Jamielah Persol, as the Personal Representative of the Estate of
DaJuan Hodges, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of DaJuan
Hodges

Jatair Persol, individually, as surviving child of DaJuan Hodges

Kenneth Alan Davidson as Personal Representative of the Estate
of David Cannella, deceased, the late child of Judith Hofmiller

Robert Hofmiller, individually, as surviving sibling of Judith
Hofmiller

Robert Hofmiller as Personal Representative of the Estate of
Emma Graves, deceased, the late parent of Judith Hofmiller

Kelly Marchese as Personal Representative of the Estate of
William J. Houston, deceased, the late sibling of Charles J.
Houston

Francis X. Houston, individually, as surviving sibling of Charles
J. Houston

Joan M. Houston, individually, as surviving sibling of Charles J.
Houston

Linda Houston, individually, as surviving spouse of Charles J.
Houston

Linda Houston, as the Personal Representative of the Estate of
Charles J. Houston, deceased, and on behalf of all survivors and
all legally entitled beneficiaries and family members of Charles
J. Houston

Joan M. Houston as Personal Representative of the Estate of Joan
McQuillen, deceased, the late parent of Charles J. Houston

Brian Howley, individually, as surviving spouse of Jennifer L.
Howley

Brian Howley, as the Personal Representative of the Estate of

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Jennifer L. Howley, deceased, and on behalf of all survivors and
all legally entitled beneficiaries and family members of Jennifer
L. Howley

Gerald Hrycak, individually, as surviving sibling of Marian R.
Hrycak

Gregory Hrycak as Personal Representative of the Estate of
Joanne Hrycak, deceased, the late spouse of Marian R. Hrycak

Gregory Hrycak, as the Personal Representative of the Estate of
Marian R. Hrycak, deceased, and on behalf of all survivors and
all legally entitled beneficiaries and family members of Marian
R. Hrycak

Christine Buividas, individually, as surviving child of Marian R.
Hrycak

Gregory Hrycak, individually, as surviving child of Marian R.
Hrycak

John Doe 147 as Personal Representative of the Estate of Trina
Sabb, deceased, the late sibling of Lamar D. Hulse

Harold Singleton, individually, as surviving sibling of Lamar D.
Hulse

Linda Hulse, individually, as surviving parent of Lamar D. Hulse

Linda Hulse, as the Personal Representative of the Estate of
Lamar D. Hulse, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Lamar D.
Hulse

Brenda Garrett as Personal Representative of the Estate of
Dorothy Lee Coles, deceased, the late parent of Peggie Hurt

Arthur Harris, individually, as surviving parent of Peggie Hurt

Arthur Harris, as the Personal Representative of the Estate of
Peggie Hurt, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Peggie Hurt

Edith Otelia Harris, individually, as surviving close, immediate
family member of Peggie Hurt


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Margaret Ann Williams, individually, as surviving close,
immediate family member of Peggie Hurt

Christine Sandra Wilson, individually, as surviving close,
immediate family member of Peggie Hurt

Carlene Wynn as Personal Representative of the Estate of Lelia
Mae Wynn, deceased, the late close, immediate family member
of Peggie Hurt

Katherine Wynn, individually, as surviving close, immediate
family member of Peggie Hurt

Patricia Catherine Hardy, individually, as surviving sibling of
Stephen N. Hyland

Charles Hyland, individually, as surviving sibling of Stephen N.
Hyland

Stephen Hyland, individually, as surviving parent of Stephen N.
Hyland

Stephen Hyland, as the Personal Representative of the Estate of
Stephen N. Hyland, deceased, and on behalf of all survivors and
all legally entitled beneficiaries and family members of Stephen
N. Hyland

Cheryl Hyland, individually, as surviving sibling of Stephen N.
Hyland

Rachel James, individually, as surviving sibling of Ernest James

Rachel James, as the Personal Representative of the Estate of
Ernest James, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Ernest
James

Rachel James as Personal Representative of the Estate of Esther
James, deceased, the late parent of Ernest James

Michael James Beckford, individually, as surviving spouse of
Gricelda E. James

Michael James Beckford, as the Personal Representative of the
Estate of Gricelda E. James, deceased, and on behalf of all
survivors and all legally entitled beneficiaries and family

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members of Gricelda E. James

Madlene Brown, individually, as surviving sibling of Gricelda E.
James

Jacobo Castro, individually, as surviving child of Gricelda E.
James

Darril Garo, individually, as surviving sibling of Gricelda E.
James

Obed Garo, individually, as surviving sibling of Gricelda E.
James

Jairo Castro, individually, as surviving child of Gricelda E.
James

Michael Zinkofsky, individually, as surviving spouse of Maxima
Jean-Pierre

Michael Zinkofsky, as the Personal Representative of the Estate
of Maxima Jean-Pierre, deceased, and on behalf of all survivors
and all legally entitled beneficiaries and family members of
Maxima Jean-Pierre

Natalie Jeffries, individually, as surviving sibling of Alva
Jeffries-Sanchez

Ryan Rogers, individually, as surviving child of Alva Jeffries-
Sanchez

Ryan Rogers, as the Personal Representative of the Estate of
Alva Cynthia Jeffries-Sanchez, deceased, and on behalf of all
survivors and all legally entitled beneficiaries and family
members of Alva Jeffries-Sanchez

John Doe 29, being intended to designate the Personal
Representative of the Estate of John C. Jenkins, deceased, said
name being fictitious, her/his true name is not presently known,
confirmed, and/or has not been duly appointed by a court of
competent jurisdiction (or having been so appointed, his or her
appointment has expired, and/or he or she has ceased to serve,
and his or her successor has not yet been appointed) and on
behalf of all survivors and all legally entitled beneficiaries and
family members of John C. Jenkins


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John Doe 30 as Personal Representative of the Estate of Florence
Detherage, deceased, the late parent of John C. Jenkins

Jeffrey Jenkins, individually, as surviving sibling of John C.
Jenkins

Alexander Jimenez, individually, as surviving sibling of Eliezer
Jimenez Jr.

John Doe 123, as Personal Representative of the Estate of Eliezer
S. Jimenez Sr., deceased, the late parent of Eliezer Jimenez Jr.

Elizabeth Jimenez, individually, as surviving sibling of Eliezer
Jimenez Jr.

Erick Jimenez, individually, as surviving sibling of Eliezer
Jimenez Jr.

Genesis Belinda Jimenez, individually, as surviving child of
Eliezer Jimenez Jr.

Jonathan Jimenez, individually, as surviving child of Eliezer
Jimenez Jr.

Melissa Jimenez, individually, as surviving child of Eliezer
Jimenez Jr.

Rosa Jimenez, individually, as surviving spouse of Eliezer
Jimenez Jr.

Rosa Jimenez, as the Personal Representative of the Estate of
Eliezer Jimenez Jr., deceased, and on behalf of all survivors and
all legally entitled beneficiaries and family members of Eliezer
Jimenez, Jr.

Anthony Salas, individually, as surviving child of Eliezer
Jimenez Jr.

Zamani Davis, individually, as surviving sibling of Charles G.
John

Peggy H. Taylor, as the Personal Representative of the Estate of
Charles G. John, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Charles G.
John


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Cleveland B. John, individually, as surviving sibling of Charles
G. John

Orwyn John, individually, as surviving sibling of Charles G.
John

Veronica John, individually, as surviving parent of Charles G.
John

Royston Roach, individually, as surviving sibling of Charles G.
John

Charlene Cumberbatch, individually, as surviving sibling of
Charles G. John

Gary Jones, individually, as surviving sibling of Brian L. Jones

Leander Jones, individually, as surviving parent of Brian L.
Jones

Leander Jones, as the Personal Representative of the Estate of
Brian L. Jones, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Brian L.
Jones

Patricia Jones, individually, as surviving parent of Brian L. Jones

Teri Marshall, individually, as surviving sibling of Brian L.
Jones

June Jurgens a/k/a June Drescher, individually, as surviving child
of Paul W. Jurgens

Lindsay Jurgens, individually, as surviving child of Paul W.
Jurgens

Maria Jurgens, individually, as surviving spouse of Paul W.
Jurgens

Maria Jurgens, as the Personal Representative of the Estate of
Paul W. Jurgens, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Paul W.
Jurgens

Paul Jurgens, individually, as surviving child of Paul W. Jurgens


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Bakhtiyar Kamardinov, individually, as surviving sibling of
Gavkharoy Kamardinova

Farida Kamardinova, individually, as surviving parent of
Gavkharoy Kamardinova

Fotima Kamardinova, individually, as surviving sibling of
Gavkharoy Kamardinova

Mukhamet Kamardinov, individually, as surviving parent of
Gavkharoy Kamardinova

Zahro Kamardinova a/k/a Zakhro Kamardinova, individually, as
surviving sibling of Gavkharoy Kamardinova

Zahro Kamardinova a/k/a Zakhro Kamardinova, as the Personal
Representative of the Estate of Gavkharoy Kamardinova,
deceased, and on behalf of all survivors and all legally entitled
beneficiaries and family members of Gavkharoy Kamardinova

Zukhra Koragoz, individually, as surviving sibling of Gavkharoy
Kamardinova

Faye Kane, individually, as surviving parent of Jennifer L. Kane

George Kane, individually, as surviving parent of Jennifer L.
Kane

George Kane, as the Personal Representative of the Estate of
Jennifer L. Kane, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Jennifer L.
Kane

Timothy Kane, individually, as surviving sibling of Jennifer L.
Kane

Matthew Kane, individually, as surviving sibling of Jennifer L.
Kane

Craig Griffin, individually, as surviving spouse of Lisa Kearney-
Griffin

Craig Griffin, as the Personal Representative of the Estate of Lisa
Kearney-Griffin, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Lisa


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Kearney-Griffin

Lorraine Griffin, individually, as surviving child of Lisa
Kearney-Griffin

Maurice Corbett Kearney, individually, as surviving sibling of
Lisa Kearney-Griffin

McKinley Kearney, individually, as surviving parent of Lisa
Kearney-Griffin

Brityne Sprauve, individually, as surviving child of Lisa
Kearney-Griffin

Christine Keating, individually, as surviving sibling of Paul
Hanlon Keating

Cornelius H. Keating, individually, as surviving sibling of Paul
Hanlon Keating

Cornelius J. Keating, individually, as surviving parent of Paul
Hanlon Keating

Cornelius J. Keating, as the Personal Representative of the Estate
of Paul Hanlon Keating, deceased, and on behalf of all survivors
and all legally entitled beneficiaries and family members of Paul
Hanlon Keating

Jeanne Keating, individually, as surviving sibling of Paul Hanlon
Keating

Jeffrey Keating, individually, as surviving sibling of Paul Hanlon
Keating

Cornelius J. Keating as Personal Representative of the Estate of
Muriel Keating, deceased, the late parent of Paul Hanlon Keating

Kathleen A. Matthews, individually, as surviving sibling of Paul
Hanlon Keating

Belinda Bennett a/k/a Belinda Carter, individually, as surviving
child of Brenda Kegler

Andre Hunter, individually, as surviving sibling of Brenda
Kegler


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Robert Lee Hunter, individually, as surviving sibling of Brenda
Kegler

Simara Warren, individually, as surviving child of Brenda Kegler

Simara Warren, as the Personal Representative of the Estate of
Brenda Kegler, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Brenda
Kegler

Bing Kegler, individually, as surviving spouse of Brenda Kegler

David Royal, individually, as surviving sibling of Brenda Kegler

Anne K. Blauvelt, individually, as surviving spouse of Thomas
Michael Kelly

Anne K. Blauvelt, as the Personal Representative of the Estate of
Thomas Michael Kelly, deceased, and on behalf of all survivors
and all legally entitled beneficiaries and family members of
Thomas Michael Kelly

Kathleen Kelly, individually, as surviving spouse of Thomas
William Kelly

Kathleen Kelly, as the Personal Representative of the Estate of
Thomas William Kelly, deceased, and on behalf of all survivors
and all legally entitled beneficiaries and family members of
Thomas William Kelly

Thomas Kelly, individually, as surviving child of Thomas
William Kelly

Francis Kelly, individually, as surviving child of Thomas
William Kelly

Allison Garger, individually, as surviving spouse of Thomas
Kennedy

Allison Garger, as the Personal Representative of the Estate of
Thomas Kennedy, deceased, and on behalf of all survivors and
all legally entitled beneficiaries and family members of Thomas
Kennedy

Brian Kennedy, individually, as surviving sibling of Thomas


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Kennedy

Brian Kennedy, as Personal Representative of the Estate of
Eileen Kennedy, deceased, the late parent of Thomas Kennedy

James Kennedy, individually, as surviving child of Thomas
Kennedy

Michael Kennedy, individually, as surviving child of Thomas
Kennedy

Robert Kennedy, individually, as surviving sibling of Thomas
Kennedy

Brian Kennedy, as Personal Representative of the Estate of
William Kennedy, deceased, the late parent of Thomas Kennedy

Elizabeth Khalif, individually, as surviving parent of Boris
Khalif

Lev Khalif, individually, as surviving parent of Boris Khalif

Dara Berliner, individually, as surviving sibling of Mary Jo
Kimelman

Michael G. Kimelman, individually, as surviving parent of Mary
Jo Kimelman

Michael G. Kimelman, as the co-Personal Representative of the
Estate of Mary Jo Kimelman, deceased, and on behalf of all
survivors and all legally entitled beneficiaries and family
members of Mary Jo Kimelman

Michael P. Kimelman, individually, as surviving sibling of Mary
Jo Kimelman

Scott Kimelman, individually, as surviving sibling of Mary Jo
Kimelman

Terre Susan Wallach, individually, as surviving parent of Mary
Jo Kimelman

Terre Susan Wallach, as the co-Personal Representative of the
Estate of Mary Jo Kimelman, deceased, and on behalf of all
survivors and all legally entitled beneficiaries and family


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members of Mary Jo Kimelman

Kathryn "Kay" D'Amico, individually, as surviving sibling of
Karen Kincaid

John Doe 33, being intended to designate the Personal
Representative of the Estate of Karen Kincaid, deceased, said
name being fictitious, her/his true name is not presently known,
confirmed, and/or has not been duly appointed by a court of
competent jurisdiction (or having been so appointed, his or her
appointment has expired, and/or he or she has ceased to serve,
and his or her successor has not yet been appointed) and on
behalf of all survivors and all legally entitled beneficiaries and
family members of Karen Kincaid

Kristian G. Kincaid, individually, as surviving sibling of Karen
Kincaid

Karyl Kincaid-Noel, individually, as surviving sibling of Karen
Kincaid

Kellie Work, individually, as surviving sibling of Amy R. King

Susan M. King, individually, as surviving parent of Amy R. King

Raymond Murray, as Personal Representative of the Estate of
Richard King, deceased, the late spouse of Lucille T. King

Robert Murray, as the co-Personal Representative of the Estate
of Lucille T. King, deceased, and on behalf of all survivors and
all legally entitled beneficiaries and family members of Lucille
T. King

Raymond Murray, as the co-Personal Representative of the
Estate of Lucille T. King, deceased, and on behalf of all
survivors and all legally entitled beneficiaries and family
members of Lucille T. King

Karen Barrett, as the co-Personal Representative of the Estate of
Lucille T. King, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Lucille T.
King

Hans A. Klein, individually, as surviving parent of Peter A.
Klein


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Dawn Kloepfer, as the Personal Representative of the Estate of
Ronald Philip Kloepfer, deceased, and on behalf of all survivors
and all legally entitled beneficiaries and family members of
Ronald Philip Kloepfer

Jill Graziano, individually, as surviving sibling of Ronald
Kloepfer

Christopher Kloepfer, individually, as surviving sibling of
Ronald Kloepfer

Janet C. Kloepfer, individually, as surviving parent of Ronald
Kloepfer

Michael Kloepfer, individually, as surviving sibling of Ronald
Kloepfer

Robert Kloepfer Jr., individually, as surviving sibling of Ronald
Kloepfer

Kim McKenna, individually, as surviving sibling of Ronald
Kloepfer

John Koecheler, individually, as surviving child of Gary E.
Koecheler

Mary Jo Koecheler, individually, as surviving sibling of Gary E.
Koecheler

Maureen Koecheler, individually, as surviving spouse of Gary E.
Koecheler

Maureen Koecheler, as the Personal Representative of the Estate
of Gary E. Koecheler, deceased, and on behalf of all survivors
and all legally entitled beneficiaries and family members of Gary
E. Koecheler

Paul Koecheler, individually, as surviving child of Gary E.
Koecheler

Judy Schneider, individually, as surviving sibling of Gary E.
Koecheler

Gene Koecheler, individually, as surviving sibling of Gary E.
Koecheler


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Thomas Kuras, individually, as surviving sibling of Patricia A.
Kuras

Thomas Kuras, as the Personal Representative of the Estate of
Patricia A. Kuras, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Patricia A.
Kuras

Thomas Kuras, as the Personal Representative of the Estate of
Michael B. Kuras, deceased, the late sibling of Patricia A. Kuras

Thomas Kuras as Personal Representative of the Estate of
Frances Kuras, deceased, the late parent of Patricia A. Kuras

Morgan Kyte, individually, as surviving child of Angela R. Kyte

Roger Kyte, individually, as surviving spouse of Angela R. Kyte

Roger Kyte, as the Personal Representative of the Estate of
Angela R. Kyte, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Angela R.
Kyte

Jem A. Howard, individually, as surviving child of Alan
LaFrance

Jody C. Howard, individually, as surviving child of Alan
LaFrance

Andre LaFrance, individually, as surviving sibling of Alan
LaFrance

Carolyn LaFrance, individually, as surviving sibling of Alan
LaFrance

Steven LaFrance, individually, as surviving sibling of Alan
LaFrance

Annmarie Williams, individually, as surviving sibling of Alan
LaFrance

John Doe 35, being intended to designate the Personal
Representative of the Estate of William D. Lake, deceased, said
name being fictitious, her/his true name is not presently known,
confirmed, and/or has not been duly appointed by a court of
competent jurisdiction (or having been so appointed, his or her

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appointment has expired, and/or he or she has ceased to serve,
and his or her successor has not yet been appointed) and on
behalf of all survivors and all legally entitled beneficiaries and
family members of William D. Lake

Kyler Lake, individually, as surviving child of William D. Lake

Jeanne Kavinski, individually, as surviving sibling of Carol A.
LaPlante

Jeanne Kavinski, as the Personal Representative of the Estate of
Carol A. LaPlante, deceased, and on behalf of all survivors and
all legally entitled beneficiaries and family members of Carol A.
LaPlante

Marilyn Matthews, individually, as surviving sibling of Carol A.
LaPlante

Catherine Lauria, individually, as surviving sibling of Stephen J.
Lauria

Catherine Lauria as Personal Representative of the Estate of
Antoinette Lauria, deceased, the late parent of Stephen J. Lauria

Catherine Lauria as Personal Representative of the Estate of
Stephen J. Lauria, deceased, and on behalf of all survivors and
all legally entitled beneficiaries and family members of Stephen
J. Lauria

Pamela Lawson Dixon, individually, as surviving child of
Nathaniel Lawson

Pamela Lawson Dixon, as the Personal Representative of the
Estate of Nathaniel Lawson, deceased, and on behalf of all
survivors and all legally entitled beneficiaries and family
members of Nathaniel Lawson

Betty Moore-Gooding, individually, as surviving sibling of
Nathaniel Lawson

Evelyn Robinson, individually, as surviving sibling of Nathaniel
Lawson

Mary Ann Ledee, as the Personal Representative of the Estate of
Kenneth Charles Ledee, deceased, and on behalf of all survivors
and all legally entitled beneficiaries and family members of

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Kenneth Charles Ledee

Anna Ledee, individually, as surviving parent of Kenneth
Charles Ledee

Olivia Ledee Lindsey, individually, as surviving child of
Kenneth Charles Ledee

Alexica Leduc, individually, as surviving child of Alexis Leduc

Alexis John Leduc, individually, as surviving child of Alexis
Leduc

Elvis Leduc, individually, as surviving child of Alexis Leduc

Jessica Leduc, individually, as surviving child of Alexis Leduc

Cindy Leduc-Sanchez, individually, as surviving child of Alexis
Leduc

Katherine Lenoir, individually, as surviving sibling of John R.
Lenoir

Patricia Lenoir, individually, as surviving parent of John R.
Lenoir

Patrick Lenoir, individually, as surviving sibling of John R.
Lenoir

Patrick Lenoir as Personal Representative of the Estate of John
A. Lenoir, deceased, the late parent of John R. Lenoir

Elaine Farrally-Plourde, individually, as surviving child of
Charles A. Lesperance

Elaine Farrally-Plourde, as the co-Personal Representative of the
Estate of Charles A. Lesperance, deceased, and on behalf of all
survivors and all legally entitled beneficiaries and family
members of Charles A. Lesperance

Leslie K. Lesperance, individually, as surviving child of Charles
A. Lesperance

Leslie K. Lesperance, as the co-Personal Representative of the
Estate of Charles A. Lesperance, deceased, and on behalf of all
survivors and all legally entitled beneficiaries and family

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members of Charles A. Lesperance

Nilaja A. Shealy-Loveless, individually, as surviving child of
Charles A. Lesperance

Audrey Levin, individually, as surviving parent of Alisha C.
Levin

Marvin Levin, individually, as surviving parent of Alisha C.
Levin

Mindy Gottenberg, individually, as surviving sibling of Alisha C.
Levin

Mindy Gottenberg, as the Personal Representative of the Estate
of Alisha C. Levin, deceased, and on behalf of all survivors and
all legally entitled beneficiaries and family members of Alisha C.
Levin

John E. Allen Jr., individually, as surviving child of Samantha
Lightbourn-Allen

Rennea Butler, individually, as surviving sibling of Samantha
Lightbourn-Allen

Raymond Lightbourn, individually, as surviving sibling of
Samantha Lightbourn-Allen

Rebecca Lightbourn, individually, as surviving parent of
Samantha Lightbourn-Allen

Rebecca Lightbourn, as the Personal Representative of the Estate
of Samantha Lightbourn-Allen, deceased, and on behalf of all
survivors and all legally entitled beneficiaries and family
members of Samantha Lightbourn-Allen

Rebecca Lightbourn as Personal Representative of the Estate of
Raymond Lightbourn, Sr., deceased, the late parent of Samantha
Lightbourn-Allen

Olga Colon, individually, as surviving sibling of Carlos R. Lillo

Iliana E. Flores, individually, as surviving sibling of Carlos R.
Lillo

Julio C. Lillo, individually, as surviving sibling of Carlos R.

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Lillo

Alexander Lopez, individually, as surviving sibling of Carlos R.
Lillo

Ilia E. Rodriguez, individually, as surviving parent of Carlos R.
Lillo

Ilia E. Rodriguez as Personal Representative of the Estate of
Julio Cesar Lillo Torres, deceased, the late parent of Carlos R.
Lillo

Nahid Mashayekhi Lin, individually, as surviving parent of
Darya Lin

Berdie Hicks, individually, as surviving parent of Nickie Lindo

Walter Hicks, individually, as surviving sibling of Nickie Lindo

Vincent Linnane, individually, as surviving sibling of Robert T.
Linnane

Vincent Linnane, as the Personal Representative of the Estate of
Robert T. Linnane, deceased, and on behalf of all survivors and
all legally entitled beneficiaries and family members of Robert T.
Linnane

Matthew J. Liz-Ramirez, as the Personal Representative of the
Estate of Nancy Liz, deceased, and on behalf of all survivors and
all legally entitled beneficiaries and family members of Nancy
Liz

Jose Liz, individually, as surviving sibling of Nancy Liz

Jose Domingo Liz as Personal Representative of the Estate of
Jose Liz, Sr., deceased, the late parent of Nancy Liz

Matthew J. Liz-Ramirez, individually, as surviving child of
Nancy Liz

Elisa P. Malani, as the Personal Representative of the Estate of
Michael Lomax, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Michael
Lomax

Elisa P. Malani as Personal Representative of the Estate of Erica

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Partosoedarso, deceased, the late spouse of Michael Lomax

Alexandra Lopes, individually, as surviving child of Salvatore
Lopes

Bernard Lopes, individually, as surviving sibling of Salvatore
Lopes

Lorraine Lopes, individually, as surviving spouse of Salvatore
Lopes

Lorraine Lopes, as the Personal Representative of the Estate of
Salvatore Lopes, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Salvatore
Lopes

Nicole Lopes, individually, as surviving child of Salvatore Lopes

Antoinette Solowsky, individually, as surviving sibling of
Salvatore Lopes

Michael Lopez Feliciano, individually, as surviving child of
George Lopez

Sophia W. M. Feliciano, individually, as surviving spouse of
George Lopez

Sophia W. M. Feliciano, as the Personal Representative of the
Estate of George Lopez, deceased, and on behalf of all survivors
and all legally entitled beneficiaries and family members of
George Lopez

Carolyn DeRosier, individually, as surviving sibling of James T.
Lynch

Judith M. Hesse, individually, as surviving sibling of James T.
Lynch

Judith M. Hesse as Personal Representative of the Estate of
Michael B. Lynch, deceased, the late sibling of James T. Lynch

Brenda Lynch, individually, as surviving spouse of James T.
Lynch

Brenda Lynch, as the Personal Representative of the Estate of
James T. Lynch, deceased, and on behalf of all survivors and all

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legally entitled beneficiaries and family members of James T.
Lynch

Paul Thomas Lynch, individually, as surviving child of James T.
Lynch

Maureen MacDonald, individually, as surviving sibling of James
T. Lynch

Kathleen E. Zetscher, individually, as surviving sibling of James
T. Lynch

Rodney Bush, individually, as surviving sibling of Nehamon
Lyons

Corey Hawkins, individually, as surviving sibling of Nehamon
Lyons

Christian Lyons, individually, as surviving sibling of Nehamon
Lyons

John Doe 108, being intended to designate as Personal
Representative of the Estate of Jewel Lyons, deceased, said name
being fictitious, her/his true name is not presently known,
confirmed, and/or has not been duly appointed by a court of
competent jurisdiction (or having been so appointed, his or her
appointment has expired, and/or he or she has ceased to serve,
and his or her successor has not yet been appointed) the late
parent of Nehamon Lyons

John Doe 102, being intended to designate the Estate of
Nehamon Lyons, deceased, said name being fictitious, her/his
true name is not presently known, confirmed, and/or has not been
duly appointed by a court of competent jurisdiction (or having
been so appointed, his or her appointment has expired, and/or he
or she has ceased to serve, and his or her successor has not yet
been appointed) and on behalf of all survivors and all legally
entitled beneficiaries and family members of Nehamon Lyons

Marquis Lyons, individually, as surviving sibling of Nehamon
Lyons

Andrew Magazine, individually, as surviving child of Jay R.
Magazine



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Michele Magazine, individually, as surviving sibling of Jay R.
Magazine

Susan Lori Magazine, individually, as surviving spouse of Jay R.
Magazine

Susan Lori Magazine, as the Personal Representative of the
Estate of Jay R. Magazine, deceased, and on behalf of all
survivors and all legally entitled beneficiaries and family
members of Jay R. Magazine

Janet Wexler Magee, individually, as surviving spouse of
Charles W. Magee

Janet Wexler Magee, as the Personal Representative of the Estate
of Charles W. Magee, deceased, and on behalf of all survivors
and all legally entitled beneficiaries and family members of
Charles W. Magee

Ali Mohamed Malahi, individually, as surviving parent of Abdu
Ali Malahi

Ali Mohamed Malahi, as the Personal Representative of the
Estate of Abdu Ali Malahi, deceased, and on behalf of all
survivors and all legally entitled beneficiaries and family
members of Abdu Ali Malahi

Malek Malahi, individually, as surviving child of Abdu Ali
Malahi

Nabeela Malahi, individually, as surviving spouse of Abdu Ali
Malahi

Fares Malahi, individually, as surviving child of Abdu Ali
Malahi

Miriam R. Carrasquillo, individually, as surviving sibling of
Debora I. Maldonado

Elvia Diaz, individually, as surviving parent of Debora I.
Maldonado

Leslie Edwards, individually, as surviving sibling of Debora I.
Maldonado

Jarid Maldonado, individually, as surviving child of Myrna

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Maldonado-Agosto

Jordan Maldonado, individually, as surviving child of Myrna
Maldonado-Agosto

Frances Mercado, individually, as surviving sibling of Myrna
Maldonado-Agosto

April Fitzgerald as Personal Representative of the Estate of
Merlyn Maloy, deceased, the late parent of Gene Maloy

Gene Maloy, individually, as surviving parent of Gene Maloy

April Fitzgerald, individually, as surviving sibling of Gene
Maloy

Margaret Randazzo-Maloy, as Personal Representative of the
Estate of Gene Maloy, deceased, and on behalf of all survivors
and all legally entitled beneficiaries and family members of Gene
Maloy

Anthony Mancini, individually, as surviving sibling of Francisco
M. Mancini a/k/a Frank Mancini

Anastasia Mancini a/k/a Anastasia Zouvelos, individually, as
surviving spouse of Francisco M. Mancini a/k/a Frank Mancini

Anastasia Mancini a/k/a Anastasia Zouvelos, as the Personal
Representative of the Estate of Francisco Mancini (a/k/a Frank
Mancini), deceased, and on behalf of all survivors and all legally
entitled beneficiaries and family members of Francisco M.
Mancini a/k/a Frank Mancini

Sophia Mancini, individually, as surviving child of Francisco M.
Mancini a/k/a Frank Mancini

Anthony Mancini as the Personal Representative of the Estate of
Lea Sola (a/k/a Lea Mancini), deceased, the late parent of
Francisco M. Mancini a/k/a Frank Mancini

Laura aka Laura E. Mardovich Balemian, individually, as
surviving spouse of Edward J. Mardovich

Victoria Catanese, individually, as surviving child of Edward J.
Mardovich


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Edward J. Mardovich III, individually, as surviving child of
Edward J. Mardovich

Joseph Mardovich, individually, as surviving child of Edward J.
Mardovich

Leigh Massi, individually, as surviving child of Edward J.
Mardovich

Laura Mardovich a/k/a Laura E. Balemian, as the Personal
Representative of the Estate of Edward J. Mardovich, deceased,
and on behalf of all survivors and all legally entitled
beneficiaries and family members of Edward J. Mardovich

Lauren Peters, as the Personal Representative of the Estate of
Louis N. Mariani, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Louis N.
Mariani

Christine Mariani, individually, as surviving sibling of Louis N.
Mariani

Christina Martinez, individually, as surviving child of Betsy
Martinez

Gabriel Martinez, as the Co-Personal Representative of the
Estate of Robert G Martinez, deceased, and on behalf of all
survivors and all legally entitled beneficiaries and family
members of Robert G. Martinez

Gabriel Martinez, individually, as surviving parent of Robert G.
Martinez

Marie Martinez, individually, as surviving parent of Robert G.
Martinez

Francis Firth, individually, as surviving sibling of Robert G.
Martinez

Arnold F. Mascali Jr., individually, as surviving sibling of Joseph
A. Mascali

Catherine Mascali, individually, as surviving parent of Joseph A.
Mascali

John Mascali, individually, as surviving sibling of Joseph A.

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Mascali

Catherine Mascali as Personal Representative of the Estate of
Arnold Mascali, Sr., deceased, the late parent of Joseph A.
Mascali

Donna Mascali Russo, individually, as surviving sibling of
Joseph A. Mascali

Cathyanne Mascali Sprenger, individually, as surviving sibling
of Joseph A. Mascali

Sherman Acker, individually, as surviving spouse of Ada L.
Mason

Annie Harris, individually, as surviving sibling of Ada L. Mason

JoAnn Wilson-Johnson, individually, as surviving sibling of Ada
L. Mason

Nelson Johnson, as the Personal Representative of the Estate of
Ada L. Mason, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Ada L.
Mason

JoAnn Wilson-Johnson as Personal Representative of the Estate
of Searetha E. Wilson, deceased, the late parent of Ada L. Mason

Shaun Mason, individually, as surviving child of Ada L. Mason

Jimmie L. Willson, individually, as surviving sibling of Ada L.
Mason

Shannon Mason, individually, as surviving child of Ada L.
Mason

Kathleen Mathesen, as the Personal Representative of the Estate
of William A. Mathesen, deceased, and on behalf of all survivors
and all legally entitled beneficiaries and family members of
William A. Mathesen

Tara Moloney as Personal Representative of the Estate of
Deborah Moloney, deceased, the late sibling of William A.
Mathesen

Joanne Mathesen, as Personal Representative of the Estate of

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Stephen Mathesen, deceased, the late sibling of William A.
Mathesen

Karen Schubert, individually, as surviving sibling of William A.
Mathesen

Patricia Sarrantonio, individually, as surviving sibling of William
A. Mathesen

Vivian Mattic, individually, as surviving sibling of Margaret E.
Mattic

Jean Neal a/k/a Elvin Jean Neal, individually, as surviving
sibling of Margaret E. Mattic

Jean Neal a/k/a Elvin Jean Neal, as the Personal Representative
of the Estate of Margaret E. Mattic, deceased, and on behalf of
all survivors and all legally entitled beneficiaries and family
members of Margaret E. Mattic

Jean Neal a/k/a Elvin Jean Neal, as Personal Representative of
the Estate of Katie I. Mattic, deceased, the late parent of
Margaret E. Mattic

Frances Douglas, individually, as surviving sibling of Margaret
E. Mattic

William Eugene Clark a/k/a Eugene W. Clark, as the Personal
Representative of the Estate of Dean E. Mattson, deceased, and
on behalf of all survivors and all legally entitled beneficiaries
and family members of Dean E. Mattson

Dale Mattson, individually, as surviving sibling of Dean E.
Mattson

Dale Mattson as Personal Representative of the Estate of Bernice
Mattson, deceased, the late parent of Dean E. Mattson

Mary Mattson as Personal Representative of the Estate of Glenn
Mattson, deceased, the late sibling of Dean E. Mattson

Theresa M. Mattson the Personal Representative of the Estate of
Dwain Mattson, deceased, the late sibling of Dean E. Mattson

Donald Mauro, individually, as surviving spouse of Nancy


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Mauro

Donald Mauro, as the Personal Representative of the Estate of
Nancy Mauro, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Nancy
Mauro

Anne McCloskey, individually, as surviving parent of Katie M.
McCloskey

Noah R. McCloskey, as the Personal Representative of the Estate
of Katie M. McCloskey, deceased, and on behalf of all survivors
and all legally entitled beneficiaries and family members of Katie
M. McCloskey

Noah R. McCloskey, individually, as surviving sibling of Katie
M. McCloskey

Linda D. May, individually, as surviving sibling of Thomas
McHale

Elizabeth ("Beth") McCarthy (nee McHale), individually, as
surviving sibling of Thomas McHale

Elizabeth ("Beth") McCarthy (nee McHale) and Joseph McHale
as co-Personal Representatives of the Estate of John F. McHale,
deceased, the late parent of Thomas McHale

Joseph M. McHale, individually, as surviving sibling of Thomas
McHale

Kevin J. McHale, individually, as surviving sibling of Thomas
McHale

John F. McHale Jr. a/k/a Jack McHale, individually, as surviving
sibling of Thomas McHale

John Doe 40, being intended to designate the Personal
Representative of the Estate of Robert G. McIlvaine, deceased,
said name being fictitious, her/his true name is not presently
known, confirmed, and/or has not been duly appointed by a court
of competent jurisdiction (or having been so appointed, his or her
appointment has expired, and/or he or she has ceased to serve,
and his or her successor has not yet been appointed) and on
behalf of all survivors and all legally entitled beneficiaries and


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family members of Robert G. McIlvaine

Jeffrey A. McIlvaine, individually, as surviving sibling of Robert
G. McIlvaine

Julie E. McMahon, individually, as surviving spouse of Robert
D. McMahon

Julie E. McMahon, as the Personal Representative of the Estate
of Robert D. McMahon, deceased, and on behalf of all survivors
and all legally entitled beneficiaries and family members of
Robert D. McMahon

Matthew McMahon, individually, as surviving child of Robert D.
McMahon

Peter McMahon, individually, as surviving sibling of Robert D.
McMahon

Nancy McMahon as Personal Representative of the Estate of
Robert Martin McMahon, deceased, the late parent of Robert D.
McMahon

Patrick McMahon, individually, as surviving child of Robert D.
McMahon

Andrew McMahon, individually, as surviving sibling of Robert
D. McMahon

Damon McMahon, individually, as surviving sibling of Robert
D. McMahon

Michael McMahon, individually, as surviving sibling of Robert
D. McMahon

Kim McNeil-Hightower, individually, as surviving child of
Walter A. McNeil

Kim McNeil-Hightower, as the Personal Representative of the
Estate of Walter A. McNeil, deceased, and on behalf of all
survivors and all legally entitled beneficiaries and family
members of Walter A. McNeil

Walter A. McNeil II, individually, as surviving child of Walter
A. McNeil


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Kim McNeil-Hightower as Personal Representative of the Estate
of Judith McNeil, deceased, the late sibling of Walter A. McNeil

Dolores Lara, individually, as surviving parent of Manuel E.
Mejia

Scarlyn Mejia, individually, as surviving child of Manuel E.
Mejia

Scarlyn Mejia, as the Personal Representative of the Estate of
Manuel E. Mejia, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Manuel E.
Mejia

Jacqueline Mejia Peguero, individually, as surviving child of
Manuel E. Mejia

Jose Miguel Mejia Peguero, individually, as surviving child of
Manuel E. Mejia

Manuel E. Mejia Peguero, individually, as surviving child of
Manuel E. Mejia

Yaritza Franco Estudillo, individually, as surviving child of
Antonio Melendez

Daisy N. Melendez, individually, as surviving child of Antonio
Melendez

Marco A. Melendez, individually, as surviving child of Antonio
Melendez

Saul Melendez-Hernandez, individually, as surviving child of
Antonio Melendez

Bronx Public Administrator, as the Personal Representative of
the Estate of Antonio Melendez, deceased, and on behalf of all
survivors and all legally entitled beneficiaries and family
members of Antonio Melendez

Douglas Mello, individually, as surviving parent of Christopher
D. Mello

Ellen Mello, individually, as surviving parent of Christopher D.
Mello


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Ellen Mello, as the Personal Representative of the Estate of
Christopher D. Mello, deceased, and on behalf of all survivors
and all legally entitled beneficiaries and family members of
Christopher D. Mello

John Mello, individually, as surviving sibling of Christopher D.
Mello

Aleksandr Melnichenko, individually, as surviving spouse of
Yelena Melnichenko

Aleksandr Melnichenko, as the Personal Representative of the
Estate of Yelena Melnichenko, deceased, and on behalf of all
survivors and all legally entitled beneficiaries and family
members of Yelena Melnichenko

Erik F. Melnichenko, individually, as surviving child of Yelena
Melnichenko

Mary Cooper, individually, as surviving sibling of Wesley
Mercer

Mary Cooper as Personal Representative of the Estate of
Elizabeth M. Parker, deceased, the late sibling of Wesley Mercer

Linda Loran, individually, as surviving child of Wesley Mercer

Jackie J. Mercer, individually, as surviving sibling of Wesley
Mercer

Kimberly Lee King Anderson as Personal Representative of the
Estate of Queen Mercer, deceased, the late spouse of Wesley
Mercer

Kimberly Lee King Anderson as the Personal Representative of
the Estate of Wesley Mercer, deceased, and on behalf of all
survivors and all legally entitled beneficiaries and family
members of Wesley Mercer

Sharif Chowdhury and Showkatara Sharif as co-Personal
Representatives of the Estate of Shakila Yasmin, deceased, the
late spouse of Nurul Miah

Rokshana Miah, as the co-Personal Representative of the Estate
of Nurul Miah, deceased, and on behalf of all survivors and all


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legally entitled beneficiaries and family members of Nurul Miah

Bakul Miah, individually, as surviving sibling of Nurul Miah

Maria Revilla, individually, as surviving spouse of Luis
Clodoaldo Revilla Mier

Maria Revilla, as the Personal Representative of the Estate of
Luis Clodoaldo Revilla Mier, deceased, and on behalf of all
survivors and all legally entitled beneficiaries and family
members of Luis Clodoaldo Revilla Mier

Jacqueline Milam, individually, as surviving spouse of Ronald D.
Milam

Jacqueline Milam, as the Personal Representative of the Estate of
Major Ronald D. Milam, deceased, and on behalf of all survivors
and all legally entitled beneficiaries and family members of
Ronald D. Milam

Ronald D. Milam Jr., individually, as surviving child of Ronald
D. Milam

MyeJoi Milam, individually, as surviving child of Ronald D.
Milam

Laurie Miller, individually, as surviving spouse of Douglas C.
Miller

Laurie Miller, as the Personal Representative of the Estate of
Douglas C. Miller, deceased, and on behalf of all survivors and
all legally entitled beneficiaries and family members of Douglas
C. Miller

Rachel Miller, individually, as surviving child of Douglas C.
Miller

Katherine Miller, individually, as surviving child of Douglas C.
Miller

Sheryl Miller Bechor, individually, as surviving child of Philip
D. Miller

Arlene Miller, as the co-Personal Representative of the Estate of
Philip D. Miller, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Philip D.

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Miller

Arlene Miller, individually, as surviving spouse of Philip D.
Miller

Frank Moccia, Jr. as Personal Representative of the Estate of
Elaine Moccia, deceased, the late spouse of Frank V. Moccia

Frank Moccia, Jr., as the co-Personal Representative of the
Estate of Frank V. Moccia, deceased, and on behalf of all
survivors and all legally entitled beneficiaries and family
members of Frank V. Moccia

Donna Velazquez, individually, as surviving child of Frank V.
Moccia

Frank Moccia, individually, as surviving child of Frank V.
Moccia

Patricia Codispoti, individually, as surviving sibling of Louis J.
Modafferi

Anthony Modafferi, individually, as surviving sibling of Louis J.
Modafferi

John Doe 148 as Personal Representative of the Estate of
Raffaela Modafferi, deceased, the late parent of Louis J.
Modafferi

Mercedes Hernandez Molina, individually, as surviving spouse
of Manuel De Jesus Molina

Mercedes Hernandez Molina, as the Personal Representative of
the Estate of Manuel De Jesus Molina, deceased, and on behalf
of all survivors and all legally entitled beneficiaries and family
members of Manuel De Jesus Molina

Amanda Castrillon, individually, as surviving spouse of Antonio
Montoya

Amanda Castrillon, as the Co-Personal Representative of the
Estate of Antonio Montoya, deceased, and on behalf of all
survivors and all legally entitled beneficiaries and family
members of Antonio Montoya

Cindy Montoya, individually, as surviving child of Antonio

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Montoya

Jorge Montoya, individually, as surviving child of Antonio
Montoya

Kelly Montoya, individually, as surviving child of Antonio
Montoya

Margarita Londono de Montoya, individually, as surviving
parent of Carlos A. Montoya

Gilberto Montoya-Londono, individually, as surviving sibling of
Carlos A. Montoya

Jaime Montoya-Londono, individually, as surviving sibling of
Carlos A. Montoya

Luis F. Montoya-Londono, individually, as surviving sibling of
Carlos A. Montoya

Stacey Montoya, individually, as surviving spouse of Carlos A.
Montoya

Stacey Montoya, as the Personal Representative of the Estate of
Carlos A. Montoya, deceased, and on behalf of all survivors and
all legally entitled beneficiaries and family members of Carlos A.
Montoya

Deirdre Moody, individually, as surviving child of Capt. Thomas
Moody

Jessica Moody, individually, as surviving child of Capt. Thomas
Moody

Sean Moody, individually, as surviving child of Capt. Thomas
Moody

Maureen Moody-Theinert, individually, as surviving spouse of
Capt. Thomas Moody

Maureen Moody-Theinert, as the Personal Representative of the
Estate of Thomas Capt. Moody, deceased, and on behalf of all
survivors and all legally entitled beneficiaries and family
members of Capt. Thomas Moody

Erin Moody Brennan, individually, as surviving child of Capt.

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Thomas Moody

Portia Morales, individually, as surviving child of Paula E.
Morales

Sherwin Morales, individually, as surviving child of Paula E.
Morales

Stephanie Morales-Guerrero, individually, as surviving child of
Paula E. Morales

Stephanie Morales-Guerrero, as the Personal Representative of
the Estate of Paula E. Morales, deceased, and on behalf of all
survivors and all legally entitled beneficiaries and family
members of Paula E. Morales

Petal S. Stanford-Sylvert, individually, as surviving child of
Paula E. Morales

Kevin Moran, individually, as surviving sibling of Gerard Moran

Shannon Moran, individually, as surviving child of Gerard
Moran

Shannon Moran, as the Personal Representative of the Estate of
Gerard Moran, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Gerard
Moran

Ellen Moran, individually, as surviving sibling of John Moran

Dylan Moran, individually, as surviving child of John Moran

Michael Moran, individually, as surviving sibling of John Moran

Ryan Moran, individually, as surviving child of John Moran

Ellen Moran a/k/a Ellen Brennan, as Personal Representative of
the Estate of Margaret Murphy Moran, deceased, the late parent
of John Moran

Mona O’Connor, individually, as surviving sibling of John
Moran

Kim Racklin, individually, as surviving spouse of John Moran


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Kim Racklin, as the Personal Representative of the Estate of
John Moran, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of John Moran

Alfia L. Gilligan (nee Morello), individually, as surviving child
of Steven Morello

Eileen M. Morello, individually, as surviving spouse of Steven
Morello

Eileen M. Morello, as the Personal Representative of the Estate
of Steven Morello, deceased, and on behalf of all survivors and
all legally entitled beneficiaries and family members of Steven
Morello

Steven Morello, individually, as surviving child of Steven
Morello

Jessica Spiers, individually, as surviving child of Steven Morello

Winford F. Lamb, individually, as surviving sibling of Odessa V.
Morris

Dahlia Morris, individually, as surviving child of Odessa V.
Morris

Horace Morris, individually, as surviving spouse of Odessa V.
Morris

Horace Morris, as the Personal Representative of the Estate of
Odessa V. Morris, deceased, and on behalf of all survivors and
all legally entitled beneficiaries and family members of Odessa
V. Morris

Jan-Sheri Morris, individually, as surviving child of Odessa V.
Morris

Keith Morris, individually, as surviving child of Odessa V.
Morris

Ferdinand Morrone, individually, as surviving child of Ferdinand
Morrone

Gregory Morrone, individually, as surviving child of Ferdinand
Morrone


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Linda Morrone, individually, as surviving spouse of Ferdinand
Morrone

Linda Morrone, as the Personal Representative of the Estate of
Ferdinand Morrone, deceased, and on behalf of all survivors and
all legally entitled beneficiaries and family members of
Ferdinand Morrone

Alyssa Morrone, individually, as surviving child of Ferdinand
Morrone

George Jebrine, as the co-Personal Representative of the Estate
of Jude Moussa, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Jude
Moussa

Joseph Moussa, individually, as surviving parent of Jude Moussa

Mazen Moussa, individually, as surviving sibling of Jude
Moussa

Michael Moussa, individually, as surviving sibling of Jude
Moussa

Yvette Moussa, individually, as surviving parent of Jude Moussa

Andre Mowatt, individually, as surviving sibling of Damion
Mowatt

Andrea Mowatt, individually, as surviving parent of Damion
Mowatt

Andrea Mowatt, as the Personal Representative of the Estate of
Damion Mowatt, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Damion
Mowatt

Deval Mowatt, individually, as surviving sibling of Damion
Mowatt

Devon Mowatt, individually, as surviving parent of Damion
Mowatt

Mary Muldowney as Personal Representative of the Estate of
Anne Muldowney, deceased, the late parent of Richard


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Muldowney Jr.

Brian Muldowney, individually, as surviving sibling of Richard
Muldowney Jr.

Kevin Muldowney, individually, as surviving sibling of Richard
Muldowney Jr.

Mary Muldowney, individually, as surviving sibling of Richard
Muldowney Jr.

Timothy Muldowney, individually, as surviving sibling of
Richard Muldowney Jr.

Colleen Andello, individually, as surviving sibling of Richard
Muldowney Jr.

Constance Muldowney, individually, as surviving spouse of
Richard Muldowney Jr.

Constance Muldowney, as the Personal Representative of the
Estate of Richard Muldowney, Jr., deceased, and on behalf of all
survivors and all legally entitled beneficiaries and family
members of Richard Muldowney Jr.

John Proodian, individually, as surviving child of Richard
Muldowney Jr.

Constance Muldowney, as Personal Representative of the Estate
of Kathryn Proodian, deceased, the late child of Richard
Muldowney Jr.

Kevin Mulligan, individually, as surviving sibling of Dennis M.
Mulligan

Michael Mulligan, individually, as surviving sibling of Dennis
M. Mulligan

Patricia Mulligan, individually, as surviving sibling of Dennis M.
Mulligan

Patricia Mulligan, as the Personal Representative of the Estate of
Dennis M. Mulligan, deceased, and on behalf of all survivors and
all legally entitled beneficiaries and family members of Dennis
M. Mulligan


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Patricia Mulligan, as Personal Representative of the Estate of
Edward Mulligan, deceased, the late parent of Dennis M.
Mulligan

Patricia Mulligan, as Personal Representative of the Estate of
Mary Frigo a/k/a Mary Catherine Brady, deceased, the late
parent of Dennis M. Mulligan

Brian Mulligan, individually, as surviving sibling of Dennis M.
Mulligan

Masako Murphy, individually, as surviving spouse of Patrick J.
Murphy

Masako Murphy, as the Personal Representative of the Estate of
Patrick J. Murphy, deceased, and on behalf of all survivors and
all legally entitled beneficiaries and family members of Patrick J.
Murphy

Mitchell Murphy, individually, as surviving child of Patrick J.
Murphy

Michael Murray, individually, as surviving child of Valerie V.
Murray

Michael Murray, as the Personal Representative of the Estate of
Valerie V. Murray, deceased, and on behalf of all survivors and
all legally entitled beneficiaries and family members of Valerie
V. Murray

Michael Murray as Personal Representative of the Estate of
Kenneth Murray, deceased, the late child of Valerie V. Murray

Veronica Stinga, individually, as surviving child of Valerie V.
Murray

Valerie J. Murray, individually, as surviving child of Valerie V.
Murray

Timothy Murray, individually, as surviving child of Valerie V.
Murray

John Capodanno, as the Personal Representative of the Estate of
Mario Nardone Jr., deceased, and on behalf of all survivors and
all legally entitled beneficiaries and family members of Mario


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Nardone Jr.

Christopher Nardone, individually, as surviving sibling of Mario
Nardone Jr.

Jeanine Rao, individually, as surviving sibling of Mario Nardone
Jr.

Jeanine Rao as Personal Representative of the Estate of Linda
Nardone, deceased, the late parent of Mario Nardone Jr.

Jerrell Nedd, individually, as surviving child of Jerome O. Nedd

Roxanne Nedd, individually, as surviving spouse of Jerome O.
Nedd

Roxanne Nedd, as the Personal Representative of the Estate of
Jerome O. Nedd, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Jerome O.
Nedd

Jerome Nedd, individually, as surviving child of Jerome O. Nedd

Lyndsi Nelson, as the Personal Representative of the Estate of
Peter A. Nelson, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Peter A.
Nelson

Ryan Nelson, individually, as surviving child of Peter A. Nelson

Earlrick Nesbitt, individually, as surviving sibling of Oscar F.
Nesbitt

John Nesbitt, individually, as surviving sibling of Oscar F.
Nesbitt

Leslie Nesbitt, individually, as surviving sibling of Oscar F.
Nesbitt

Leslie Nesbitt, as the Personal Representative of the Estate of
Oscar F. Nesbitt, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Oscar F.
Nesbitt

Joycelyn Nesbitt-Arneaud, individually, as surviving sibling of


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Oscar F. Nesbitt

Rosia Nesbitt as Personal Representative of the Estate of Rawlins
Anthony Nesbitt, deceased, the late sibling of Oscar F. Nesbitt

Daniel Nevins, individually, as surviving child of Gerard T.
Nevins

Marie Nevins, individually, as surviving spouse of Gerard T.
Nevins

Marie Nevins, as the Personal Representative of the Estate of
Gerard T. Nevins, deceased, and on behalf of all survivors and
all legally entitled beneficiaries and family members of Gerard
T. Nevins

Andrew Nevins, individually, as surviving child of Gerard T.
Nevins

Robin Loconto, individually, as surviving sibling of Nancy Yuen
Ngo

Ashley Ngo, individually, as surviving child of Nancy Yuen Ngo

Lindsay Ngo, individually, as surviving child of Nancy Yuen
Ngo

Man Ngo, individually, as surviving spouse of Nancy Yuen Ngo

Man Ngo, as the Personal Representative of the Estate of Nancy
Yuen Ngo, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Nancy Yuen
Ngo

Ho Ying Yee, individually, as surviving parent of Nancy Yuen
Ngo

Dorothy Ogren, individually, as surviving parent of Joseph J.
Ogren

Lance Edward Ogren, individually, as surviving sibling of
Joseph J. Ogren

James Davies, as Personal Representative of the Estate of Robert
T. Ogren, deceased, the late parent of Joseph J. Ogren


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Lance Ogren, as the Personal Representative of the Estate of
Joseph J. Ogren, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Joseph J.
Ogren

Jessica Marrero, individually, as surviving child of Samuel
Oitice

Jean Oitice, individually, as surviving spouse of Samuel Oitice

Jean Oitice, as the Personal Representative of the Estate of
Samuel Oitice, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Samuel
Oitice

John Oitice, individually, as surviving child of Samuel Oitice

Duane Orloske, individually, as surviving spouse of Margaret
Orloske

Duane Orloske, as the Personal Representative of the Estate of
Margaret Orloske, deceased, and on behalf of all survivors and
all legally entitled beneficiaries and family members of Margaret
Orloske

Stephen Orloske, individually, as surviving child of Margaret
Orloske

Duane Orloske as Personal Representative of the Estate of Sylvia
Quinn, deceased, the late parent of Margaret Orloske

Elizabeth O. Kenworthy, individually, as surviving child of
Virginia Ormiston

James H. Kenworthy, individually, as surviving spouse of
Virginia Ormiston

James H. Kenworthy, as the Personal Representative of the
Estate of Virginia Ormiston, deceased, and on behalf of all
survivors and all legally entitled beneficiaries and family
members of Virginia Ormiston

William O. Kenworthy, individually, as surviving child of
Virginia Ormiston



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Jonathan Ortiz, individually, as surviving sibling of Paul Ortiz Jr.

Pablo Ortiz Sr., individually, as surviving parent of Paul Ortiz Jr.

Estrellita a/k/a Estrellita Sanchez Ortiz, individually, as surviving
spouse of Paul Ortiz Jr.

Estrellita a/k/a Estrellita Sanchez Ortiz, as the Personal
Representative of the Estate of Paul Ortiz Jr., deceased, and on
behalf of all survivors and all legally entitled beneficiaries and
family members of Paul Ortiz Jr.

Rebecca Brianne Ortiz, individually, as surviving child of Paul
Ortiz Jr.

Sophie Ortiz, individually, as surviving parent of Paul Ortiz Jr.

Crystal Marie Ortiz, individually, as surviving child of David
Ortiz

Ilianette Ortiz, individually, as surviving spouse of David Ortiz

Ilianette Ortiz, as the Personal Representative of the Estate of
David Ortiz, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of David Ortiz

Richard Ortiz, individually, as surviving child of David Ortiz

Paola Cepeda, individually, as surviving child of Isidro D.
Ottenwalder

Maria Delgado, individually, as surviving sibling of Isidro D.
Ottenwalder

Ana Silvia Diaz, individually, as surviving sibling of Isidro D.
Ottenwalder

Maria Fernandez, individually, as surviving spouse of Isidro D.
Ottenwalder

Maria Fernandez, as the co-Personal Representative of the Estate
of Isidro D. Ottenwalder, deceased, and on behalf of all survivors
and all legally entitled beneficiaries and family members of
Isidro D. Ottenwalder

Altagracia Ottenwalder, individually, as surviving sibling of

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Isidro D. Ottenwalder

Homero Ottenwalder, individually, as surviving sibling of Isidro
D. Ottenwalder

Jose Ottenwalder, individually, as surviving sibling of Isidro D.
Ottenwalder

Jose Ottenwalder, as the co-Personal Representative of the Estate
of Isidro D. Ottenwalder, deceased, and on behalf of all survivors
and all legally entitled beneficiaries and family members of
Isidro D. Ottenwalder

Maria Ottenwalder, individually, as surviving sibling of Isidro D.
Ottenwalder

Pedro Ottenwalder, individually, as surviving sibling of Isidro D.
Ottenwalder

Rafael Ottenwalder, individually, as surviving sibling of Isidro
D. Ottenwalder

William Ottenwalder, individually, as surviving sibling of Isidro
D. Ottenwalder

Rafael Ottenwalder, as Personal Representative for the Estate of
Ana Pena di Ottenwalder, deceased, the late parent of Isidro D.
Ottenwalder

Maria Cruz Rodriguez, individually, as surviving sibling of
Isidro D. Ottenwalder

Josefina Tolentino, individually, as surviving sibling of Isidro D.
Ottenwalder

John Owens, individually, as surviving sibling of Peter Owens

Kevin Owens, individually, as surviving sibling of Peter Owens

Terence Owens, individually, as surviving sibling of Peter
Owens

Thomas F. Owens, individually, as surviving sibling of Peter
Owens



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Felipe Oyola, individually, as surviving spouse of Adianes Oyola

Felipe Oyola, as the Personal Representative of the Estate of
Adianes Oyola, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Adianes
Oyola

Hannah Pabon, individually, as surviving child of Israel Pabon

Karen Pabon, individually, as surviving spouse of Israel Pabon

Karen Pabon, as Personal Representative of the Estate of Israel
Pabon, deceased, and on behalf of all survivors and all legally
entitled beneficiaries and family members of Israel Pabon

Sara Pabon, individually, as surviving child of Israel Pabon

Alyssa Palmer, individually, as surviving child of Orio J. Palmer

Dana M. Runfola and Keith Palmer, as Co-Personal
Representatives for the Estate of Deborah Palmer, deceased, the
late spouse of Orio J. Palmer

Dana M. Runfola, as the Co-Personal Representative of the
Estate of Orio J. Palmer, deceased, and on behalf of all survivors
and all legally entitled beneficiaries and family members of Orio
J. Palmer

Keith Palmer, as the Co-Personal Representative of the Estate of
Orio J. Palmer, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Orio J.
Palmer

Keith Palmer, individually, as surviving child of Orio J. Palmer

Dana M. Runfola, individually, as surviving child of Orio J.
Palmer

John Doe 44, being intended to designate the Personal
Representative of the Estate of James W. Parham, deceased, said
name being fictitious, her/his true name is not presently known,
confirmed, and/or has not been duly appointed by a court of
competent jurisdiction (or having been so appointed, his or her
appointment has expired, and/or he or she has ceased to serve,
and his or her successor has not yet been appointed) and on
behalf of all survivors and all legally entitled beneficiaries and

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family members of James W. Parham

Leno Parham Jr., individually, as surviving sibling of James W.
Parham

Kevin Parham, individually, as surviving sibling of James W.
Parham

Sonia Lowe, individually, as surviving parent of Michael Parkes

Sonia Lowe, as the Personal Representative of the Estate of
Michael Parkes, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Michael
Parkes

Anya Monique Parkes, individually, as surviving sibling of
Michael Parkes

Ralph Parkes, individually, as surviving parent of Michael
Parkes

Mirna Huerta Aguirre, individually, as surviving spouse of
Leobardo L. Pascual

John Doe 45, being intended to designate the Personal
Representative of the Estate of Leobardo L. Pascual, deceased,
said name being fictitious, her/his true name is not presently
known, confirmed, and/or has not been duly appointed by a court
of competent jurisdiction (or having been so appointed, his or her
appointment has expired, and/or he or she has ceased to serve,
and his or her successor has not yet been appointed) and on
behalf of all survivors and all legally entitled beneficiaries and
family members of Leobardo L. Pascual

Carmen Yosef Lopez, individually, as surviving sibling of
Leobardo L. Pascual

Cristobal Lopez, individually, as surviving sibling of Leobardo
L. Pascual

Lizeth Lopez Huerta, individually, as surviving child of
Leobardo L. Pascual

Mariela Lopez Huerta, individually, as surviving child of
Leobardo L. Pascual


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Ana Luisa Lopez Pascual, individually, as surviving sibling of
Leobardo L. Pascual

Elena De La Cruz Lopez Pascual, individually, as surviving
sibling of Leobardo L. Pascual

Flor Lopez Pascual, individually, as surviving sibling of
Leobardo L. Pascual

Graciela LopezPapetti, individually, as surviving sibling of
Leobardo L. Pascual

Janet Lopez Pascual, individually, as surviving sibling of
Leobardo L. Pascual

Manuela Lopez Pascual, individually, as surviving sibling of
Leobardo L. Pascual

Maria Elvia Lopez Pascual, individually, as surviving sibling of
Leobardo L. Pascual

Rafael Lopez Pascual, individually, as surviving sibling of
Leobardo L. Pascual

Raquel Lopez Pascual, individually, as surviving sibling of
Leobardo L. Pascual

Diego Lopez Reyes, individually, as surviving child of Leobardo
L. Pascual

Juan Lopez Reyes, individually, as surviving child of Leobardo
L. Pascual

Ana Pascual Ortiz, individually, as surviving parent of Leobardo
L. Pascual

Terilyn Patrick Esse a/k/a Terilyn Patrick, individually, as
surviving spouse of James Patrick

Terilyn Patrick Esse a/k/a Terilyn Patrick, as the Personal
Representative of the Estate of James Patrick, deceased, and on
behalf of all survivors and all legally entitled beneficiaries and
family members of James Patrick

Jack James Patrick Esse a/k/a Jack James Patrick, individually,


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as surviving child of James Patrick

Alex M. Patrocino, individually, as surviving child of Manuel D.
Patrocino

Keyla Patrocino, individually, as surviving child of Manuel D.
Patrocino

Sandra Patrocino, individually, as surviving spouse of Manuel D.
Patrocino

Sandra Patrocino, as the Personal Representative of the Estate of
Manuel D. Patrocino, deceased, and on behalf of all survivors
and all legally entitled beneficiaries and family members of
Manuel D. Patrocino

Barry Pearlman, individually, as surviving parent of Richard A.
Pearlman

Dorie Pearlman, individually, as surviving parent of Richard A.
Pearlman

Dorie Pearlman, as the Personal Representative of the Estate of
Richard A. Pearlman, deceased, and on behalf of all survivors
and all legally entitled beneficiaries and family members of
Richard A. Pearlman

Lisa Pearlman-Mason, individually, as surviving sibling of
Richard A. Pearlman

Patrizia Davis, individually, as surviving sibling of Salvatore F.
Pepe

Anna Faustini as Personal Representative of the Estate of Anna
Maria Allen, deceased, the late sibling of Salvatore F. Pepe

Catherine Ng-Pepe, individually, as surviving spouse of
Salvatore F. Pepe

Catherine Ng-Pepe, as the Personal Representative of the Estate
of Salvatore F. Pepe, deceased, and on behalf of all survivors and
all legally entitled beneficiaries and family members of Salvatore
F. Pepe

Rosa Occhicone, individually, as surviving sibling of Salvatore


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F. Pepe

Genoveffa Palmieri, individually, as surviving sibling of
Salvatore F. Pepe

Leonida R. Pepe, individually, as surviving sibling of Salvatore
F. Pepe

Salvatore L. Pepe, individually, as surviving child of Salvatore F.
Pepe

Rosemary Pepe as Personal Representative of the Estate of
Antonio Pepe, deceased, the late sibling of Salvatore F. Pepe

Marina Z. Perez, individually, as surviving spouse of Alejo Perez

Marina Z. Perez, as the Personal Representative of the Estate of
Alejo Perez, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Alejo Perez

Antonio Perez, individually, as surviving parent of Anthony
Perez

Brian Perez, individually, as surviving sibling of Anthony Perez

Maria Perez, individually, as surviving parent of Anthony Perez

Scott Perez, individually, as surviving sibling of Anthony Perez

Olivia Vilardi-Perez, individually, as surviving child of Anthony
Perez

Yolanda Knepper, individually, as surviving sibling of Nancy E.
Perez

Berta Perez, individually, as surviving parent of Nancy E. Perez

Mario Perez, individually, as surviving parent of Nancy E. Perez

Mario Perez, as the Personal Representative of the Estate of
Nancy E. Perez, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Nancy E.
Perez

Minerva Conti, individually, as surviving sibling of Nancy E.


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Perez

Melissa Perry, individually, as surviving child of Emelda Perry

Melissa Perry, as the Personal Representative of the Estate of
Emelda Perry, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Emelda
Perry

William Perry, individually, as surviving child of Emelda Perry

Caitlin Bender (Perry), individually, as surviving child of Glenn
Perry Sr.

Glenn Perry Jr., individually, as surviving child of Glenn Perry
Sr.

Peggy Perry, individually, as surviving spouse of Glenn Perry Sr.

Peggy Perry, as the Personal Representative of the Estate of
Glenn Perry Sr., deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Glenn Perry
Sr.

Meaghan Wilt, individually, as surviving child of Glenn Perry
Sr.

Dianne Lynn Hudder, individually, as surviving sibling of
William R. Peterson

Robert M. Peterson, individually, as surviving sibling of William
R. Peterson

Robin Peterson, individually, as surviving spouse of William R.
Peterson

Robin Peterson, as the Personal Representative of the Estate of
William R. Peterson, deceased, and on behalf of all survivors and
all legally entitled beneficiaries and family members of William
R. Peterson

Robert M. Peterson as Personal Representative of the Estate of
Robert Benjamin Peterson, deceased, the late parent of William
R. Peterson



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Deirdre Kroupa, individually, as surviving sibling of Glen Pettit

Neil Pettit, individually, as surviving sibling of Glen Pettit

Jane Wixted, individually, as surviving parent of Glen Pettit

Tara Felice, individually, as surviving sibling of Glen Pettit

Jane Wixted, as the Personal Representative of the Estate of Glen
Pettit, deceased, and on behalf of all survivors and all legally
entitled beneficiaries and family members of Glen Pettit

Thomas Knobel, individually, as surviving spouse of Tu-Anh
Pham

Thomas Knobel, as the Personal Representative of the Estate of
Tu-Anh Pham, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Tu-Anh
Pham

Vivienne Hoang-Anh Knobel, individualyl, as surviving child of
Tu-Anh Pham

Daniel T. Phelan, individually, as surviving child of Kenneth
Phelan

Erin Phelan, individually, as surviving child of Kenneth Phelan

Kenneth J. Phelan Jr., individually, as surviving child of Kenneth
Phelan

Kimberly Phelan, individually, as surviving child of Kenneth
Phelan

Patricia Phelan-Byrnes, individually, as surviving spouse of
Kenneth Phelan

Patricia Phelan-Byrnes, as the Personal Representative of the
Estate of Kenneth Phelan, deceased, and on behalf of all
survivors and all legally entitled beneficiaries and family
members of Kenneth Phelan

Mary Phelan-Cox, individually, as surviving sibling of Kenneth
Phelan

Erin Cherubin, individually, as surviving child of Zandra Marie

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Cooper Ploger (nee Flores)

Gerald Thomas Flores, individually, as surviving sibling of
Zandra Marie Cooper Ploger (nee Flores)

Gilbert Norman Flores, individually, as surviving sibling of
Zandra Marie Cooper Ploger (nee Flores)

Zaneta Frances Flores, individually, as surviving sibling of
Zandra Marie Cooper Ploger (nee Flores)

Zenda F. Gutierrez-Klingberg, as Personal Representative of the
Estate of Zenaida Frances Flores, deceased, the late parent of
Zandra Marie Cooper Ploger (nee Flores)

Zenda Flores Gutierrez-Klingenberg, individually, as surviving
sibling of Zandra Marie Cooper Ploger (nee Flores)

Zenda Flores Gutierrez-Klingenberg, as the Personal
Representative of the Estate of Zandra Marie Cooper Ploger (nee
Flores), deceased, and on behalf of all survivors and all legally
entitled beneficiaries and family members of Zandra Marie
Cooper Ploger (nee Flores)

Wendy L. Ploger, as Personal Representative of the Estate of
Robert R. Ploger, III, deceased, the late spouse of Zandra Marie
Cooper Ploger (nee Flores)

Zena T. Wilderman, individually, as surviving child of Zandra
Marie Cooper Ploger (nee Flores)

Zenda Gutierrez-Klingenberg, as Personal Representative of the
Estate of Zandra Marie Ploger (nee Flores), deceased, the late
spouse of Robert R. Ploger III

Marianne Ploger Hill, individually, as surviving sibling of Robert
R. Ploger III

Daniel B. Ploger, individually, as surviving sibling of Robert R.
Ploger III

Gregory Fiehrer Ploger, individually, as surviving sibling of
Robert R. Ploger III

Marguerite Ploger, individually, as surviving sibling of Robert R.


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Ploger III

Wayne D. Ploger, individually, as surviving sibling of Robert R.
Ploger III

Wendy Lynn Ploger, individually, as surviving child of Robert
R. Ploger III

Wendy Lynn Ploger, as the Personal Representative of the Estate
of Robert R. Ploger III, deceased, and on behalf of all survivors
and all legally entitled beneficiaries and family members of
Robert R. Ploger III

Wayne D. Ploger as Personal Representative of the Estate of
Maj. General Robert R. Ploger, II, deceased, the late parent of
Robert R. Ploger III

Craig Pohlmann, individually, as surviving child of William H.
Pohlmann

Roxana Olivieri, individually, as surviving sibling of Giovanna
Porras

Adela Romero, as the Personal Representative of the Estate of
Giovanna Porras, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Giovanna
Porras

Adela Romero, individually, as surviving parent of Giovanna
Porras

John Doe 46, being intended to designate the Personal
Representative of the Estate of Anthony Portillo, deceased, said
name being fictitious, her/his true name is not presently known,
confirmed, and/or has not been duly appointed by a court of
competent jurisdiction (or having been so appointed, his or her
appointment has expired, and/or he or she has ceased to serve,
and his or her successor has not yet been appointed) and on
behalf of all survivors and all legally entitled beneficiaries and
family members of Anthony Portillo

Zachary Portillo, individually, as surviving sibling of Anthony
Portillo

David Potorti, individually, as surviving sibling of James E.


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Potorti

Monique Powell, individually, as surviving sibling of Shawn E.
Powell

Maureen Pugliese as Personal Representative of the Estate of
Josephine Pugliese, deceased, the late parent of Robert D.
Pugliese

Lisa Marie Hand a/k/a Lisa Pugliese, individually, as surviving
child of Robert D. Pugliese

Maureen Pugliese, individually, as surviving spouse of Robert D.
Pugliese

Maureen Pugliese, as the Personal Representative of the Estate of
Robert D. Pugliese, deceased, and on behalf of all survivors and
all legally entitled beneficiaries and family members of Robert
D. Pugliese

Michael Pugliese, individually, as surviving child of Robert D.
Pugliese

Dennis Pugliese, individually, as surviving child of Robert D.
Pugliese

Robert Pycior, individually, as surviving child of Joseph J.
Pycior

Teresa J. Pycior, individually, as surviving spouse of Joseph J.
Pycior

Teresa J. Pycior, as the Personal Representative of the Estate of
Joseph J. Pycior, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Joseph J.
Pycior

Joseph Pycior, individually, as surviving child of Joseph J.
Pycior

Tara O’Connell, individually, as surviving sibling of Lincoln
Quappe

Charles Quappe, individually, as surviving parent of Lincoln
Quappe


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Clint Quappe, individually, as surviving child of Lincoln Quappe

Jane Quappe, individually, as surviving spouse of Lincoln
Quappe

Jane Quappe, as the Personal Representative of the Estate of
Lincoln Quappe, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Lincoln
Quappe

Natalie Quappe, individually, as surviving child of Lincoln
Quappe

Bruce Tooker as Personal Representative of the Estate of Doris
Tooker, deceased, the late parent of Lincoln Quappe

Samantha Blake a/k/a Samantha Bianca Herring, individually, as
surviving child of Carol Rabalais a/k/a Carol South-Rabalais

Selvyn Neil Patrick Blake, individually, as surviving child of
Carol Rabalais a/k/a Carol South-Rabalais

Kerene Reeves aka Kerene Sherica Clarke, individually, as
surviving child of Carol Rabalais a/k/a Carol South-Rabalais

Kerene Reeves aka Kerene Sherica Clarke, as the Personal
Representative of the Estate of Carol Rabalais a/k/a Carol South-
Rabalais, deceased, and on behalf of all survivors and all legally
entitled beneficiaries and family members of Carol Rabalais
a/k/a Carol South-Rabalais

Mary Agatha South, individually, as surviving parent of Carol
Rabalais a/k/a Carol South-Rabalais

James Buro, individually, as surviving child of Laura Ragonese-
Snik

John J. Buro, as the Personal Representative of the Estate of
Laura Ragonese-Snik, deceased, and on behalf of all survivors
and all legally entitled beneficiaries and family members of
Laura Ragonese-Snik

JoAnn Boutureira, individually, as surviving sibling of Harry
Raines



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Joseph Raines, individually, as surviving sibling of Harry Raines

Mark S. Raines, individually, as surviving sibling of Harry
Raines

Gloria Reinholtz, individually, as surviving sibling of Harry
Raines

Ida Riese, individually, as surviving sibling of Harry Raines

Ida Riese as Personal Representative of the Estate of Gloria
Raines, deceased, the late parent of Harry Raines

Ann Ramsaur, individually, as surviving child of Deborah
Ramsaur

Brian Ramsaur, individually, as surviving child of Deborah
Ramsaur

John Ramsaur, individually, as surviving spouse of Deborah
Ramsaur

John Ramsaur, as the Personal Representative of the Estate of
Deborah Ramsaur, deceased, and on behalf of all survivors and
all legally entitled beneficiaries and family members of Deborah
Ramsaur

Kimberly J. Rescorla, individually, as surviving child of Richard
C. Rescorla

Susan G. Rescorla, individually, as surviving spouse of Richard
C. Rescorla

Susan G. Rescorla, as the Co-Personal Representative of the
Estate of Richard C. Rescorla, deceased, and on behalf of all
survivors and all legally entitled beneficiaries and family
members of Richard C. Rescorla

Trevor S. Rescorla, individually, as surviving child of Richard C.
Rescorla

Mark Anthony Jonas, individually, as surviving child of Martha
M. Reszke

Mark A. Jonas as Personal Representative of the Estate of
Martha Magdalena Brunson, deceased, the late parent of Martha

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M. Reszke

James Reszke, individually, as surviving spouse of Martha M.
Reszke

James Reszke, as the Personal Representative of the Estate of
Martha M. Reszke, deceased, and on behalf of all survivors and
all legally entitled beneficiaries and family members of Martha
M. Reszke

Lina Dicola, individually, as surviving child of Martha M.
Reszke

Aaron Andre Scott as Personal Representative of the Estate of
J.A. Reynolds, deceased, the late parent of Bruce A. Reynolds

Linda Rhodes, as the Personal Representative of the Estate of
John Rhodes, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of John
Rhodes

John Frederick Rhodes IV, individually, as surviving child of
John Rhodes

Christiana Riccardelli, individually, as surviving child of Francis
Riccardelli

Genevieve Riccardelli, individually, as surviving child of Francis
Riccardelli

Marielle Riccardelli, individually, as surviving child of Francis
Riccardelli

Meghan Riccardelli, individually, as surviving child of Francis
Riccardelli

Theresa Riccardelli, individually, as surviving spouse of Francis
Riccardelli

Theresa Riccardelli, as the Personal Representative of the Estate
of Francis Riccardelli, deceased, and on behalf of all survivors
and all legally entitled beneficiaries and family members of
Francis Riccardelli

Zachary Riccardelli, individually, as surviving child of Francis


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Riccardelli

Brian Keegan, individually, as surviving child of Eileen M. Rice

Brian Keegan, as the co-Personal Representative of the Estate of
Eileen M. Rice, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Eileen M.
Rice

Francis Keegan, individually, as surviving sibling of Eileen M.
Rice

Lesli Rice, individually, as surviving child of Eileen M. Rice

Lesli Rice, as the co-Personal Representative of the Estate of
Eileen M. Rice, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Eileen M.
Rice

Robert Lawson, as Personal Representative of the Estate of
Renee Baldwin, deceased, the late sibling of Cecelia E. Richard

Cynthia Lawson, individually, as surviving sibling of Cecelia E.
Richard

Valerie Walls as the Personal Representative for the Estate of
Mazie Lawson, deceased, the late parent of Cecelia E. Richard

Monica L. Lawson, individually, as surviving sibling of Cecelia
E. Richard

Michael Richard, individually, as surviving spouse of Cecelia E.
Richard

Michael Richard, as the Personal Representative of the Estate of
Cecelia E. Richard, deceased, and on behalf of all survivors and
all legally entitled beneficiaries and family members of Cecelia
E. Richard

Valerie Walls, individually, as surviving sibling of Cecelia E.
Richard

Vernon A. Richard II, as the co-Personal Representative of the
Estate of Vernon A. Richard, deceased, and on behalf of all
survivors and all legally entitled beneficiaries and family


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members of Vernon A. Richard

Vernessa Richard, as the co-Personal Representative of the
Estate of Vernon A. Richard, deceased, and on behalf of all
survivors and all legally entitled beneficiaries and family
members of Vernon A. Richard

Vernon A. Richard II, individually, as surviving child of Vernon
A. Richard

Vernessa Richard and Vernon A. Richard II as Personal
Representatives of the Estate of Dorothy Richard, deceased, the
late spouse of Vernon A. Richard

Vernessa Richard, individually, as surviving child of Vernon A.
Richard

Lelith Bergen, individually, as surviving parent of Venesha
Richards

Naquan Bergen, individually, as surviving sibling of Venesha
Richards

Queena Bergen, individually, as surviving sibling of Venesha
Richards

Hopeton Richards, individually, as surviving spouse of Venesha
Richards

Hopeton Richards, as the Personal Representative of the Estate
of Venesha Richards, deceased, and on behalf of all survivors
and all legally entitled beneficiaries and family members of
Venesha Richards

Kayla Richards, individually, as surviving child of Venesha
Richards

Omar Rodgers, individually, as surviving sibling of Venesha
Richards

Cheryl Rivelli, individually, as surviving spouse of Joseph
Rivelli Jr.

Cheryl Rivelli, as the Personal Representative of the Estate of
Joseph Rivelli Jr., deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Joseph

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Rivelli Jr.

Michael Rivelli, individually, as surviving sibling of Joseph
Rivelli Jr.

Donna Ambrosino, individually, as surviving sibling of Joseph
Rivelli Jr.

Joseph Rivelli Sr., individually, as surviving parent of Joseph
Rivelli Jr.

James G. Wall as Personal Representative of the Estate of Lynda
M. Wall, deceased, the late sibling of Joseph Rivelli Jr.

Britney Rivera, individually, as surviving child of Carmen A.
Rivera

Luis E. Rivera Sr., individually, as surviving spouse of Carmen
A. Rivera

Luis E. Rivera Sr., as the Personal Representative of the Estate of
Carmen A. Rivera, deceased, and on behalf of all survivors and
all legally entitled beneficiaries and family members of Carmen
A. Rivera

Luis Rivera Jr., individually, as surviving child of Carmen A.
Rivera

Racine Concepcion, individually, as surviving child of Carmen
A. Rivera

Carmen Alvarado Rivera, individually, as surviving parent of
Linda I. Rivera

Rafael J. Rivera, individually, as surviving sibling of Linda I.
Rivera

Jose R. Rivera a/k/a Jose Rivera Ramos, individually, as
surviving parent of Linda I. Rivera

Jose R. Rivera a/k/a Jose Rivera Ramos, as the Personal
Representative of the Estate of Linda I. Rivera, deceased, and on
behalf of all survivors and all legally entitled beneficiaries and
family members of Linda I. Rivera

Rafael A. Rivera, individually, as surviving sibling of Linda I.

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Rivera

Daniel Henry, individually, as surviving sibling of Catherina
Robinson

Daniel Henry, as the Personal Representative of the Estate of
Catherina Robinson, deceased, and on behalf of all survivors and
all legally entitled beneficiaries and family members of
Catherina Robinson

Jennifer Renee McKenzie, individually, as surviving child of
Marsha A Rodriguez

Vanessa Phillips, individually, as surviving sibling of Marsha A
Rodriguez

Daniel Rodriguez, individually, as surviving spouse of Marsha A
Rodriguez

Daniel Rodriguez, as the Personal Representative of the Estate of
Marsha A. Rodriguez, deceased, and on behalf of all survivors
and all legally entitled beneficiaries and family members of
Marsha A. Rodriguez

Flossie J. Foster, individually, as surviving parent of Marsha A.
Rodriguez

Shavonne Cobb, individually, as surviving child of Marsha A.
Rodriguez

Elias Rodriguez, as Personal Representative of the Estate of
Arnulfo Rodriguez, deceased, the late spouse of Mayra V.
Rodriguez

Elias Rodriguez, as the Personal Representative of the Estate of
Mayra V. Rodriguez, deceased, and on behalf of all survivors
and all legally entitled beneficiaries and family members of
Mayra V. Rodriguez

Anibal Valdez, individually, as surviving sibling of Mayra V.
Rodriguez

Jose Valdez, individually, as surviving sibling of Mayra V.
Rodriguez

Anibal Valdez and Chris Valdez as the Co-Personal

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Representative of the Estate of Lydia Valdez deceased, the late
parent of Mayra V. Rodriguez

Elias Rodriguez, individually, as surviving child of Mayra V.
Rodriguez

Michele Flannery, individually, as surviving sibling of Joseph M.
Romagnolo

Alexis Romagnolo, individually, as surviving child of Joseph M.
Romagnolo

Anthony Romagnolo, individually, as surviving child of Joseph
M. Romagnolo

Joseph Romagnolo, individually, as surviving child of Joseph M.
Romagnolo

Maria Romagnolo, individually, as surviving parent of Joseph M.
Romagnolo

Maria Romagnolo, as Personal Representative of the Estate of
Salvatore Romagnolo, deceased, the late parent of Joseph M.
Romagnolo

Sandra Romagnolo, individually, as surviving spouse of Joseph
M. Romagnolo

Sandra Romagnolo, as the Personal Representative of the Estate
of Joseph M. Romagnolo, deceased, and on behalf of all
survivors and all legally entitled beneficiaries and family
members of Joseph M. Romagnolo

Christofer Romagnolo, individually, as surviving child of Joseph
M. Romagnolo

Josephine Romito, as the Personal Representative of the Estate of
James Romito, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of James
Romito

Laura Fasulo, individually, as surviving sibling of James Romito

Laura Fasulo as Personal Representative of the Estate of
Anthony Romito Sr., deceased, the late parent of James Romito


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Laura Fasulo as Personal Representative of the Estate of
Catherine Romito, deceased, the late parent of James Romito

Anthony Romito Jr., individually, as surviving sibling of James
Romito

Jennifer Horwitz, individually, as surviving spouse of Mark L.
Rosenberg

Jennifer Horwitz, as the Personal Representative of the Estate of
Mark L Rosenberg, deceased, and on behalf of all survivors and
all legally entitled beneficiaries and family members of Mark L.
Rosenberg

Janet Rosenberg, individually, as surviving parent of Mark L.
Rosenberg

Sheldon Rosenberg, individually, as surviving parent of Mark L.
Rosenberg

Sara L. Rosenberg Sharvit, individually, as surviving sibling of
Mark L. Rosenberg

Harvey Rosenberg, individually, as surviving sibling of Mark L.
Rosenberg

Tracy Rowenhorst, as the Personal Representative of the Estate
of Edward Rowenhorst, deceased, and on behalf of all survivors
and all legally entitled beneficiaries and family members of
Edward Rowenhorst

Matthew Rowenhorst, individually, as surviving sibling of
Edward Rowenhorst

Sicely N. McCants, individually, as surviving child of Judy
Rowlett

Sicely N. McCants, as the Personal Representative of the Estate
of Judy Rowlett, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Judy
Rowlett

Caitlyn Roy, individually, as surviving child of Timothy A. Roy

Timothy Roy Jr., individually, as surviving child of Timothy A.


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Roy

Stacey Roy-Christ, individually, as surviving spouse of Timothy
A. Roy

Stacey Roy-Christ, as the Personal Representative of the Estate
of Timothy A. Roy, deceased, and on behalf of all survivors and
all legally entitled beneficiaries and family members of Timothy
A. Roy

Brittney Roy, individually, as surviving child of Timothy A. Roy

David Ruback, individually, as surviving child of Paul G.
Ruback

Rita L. Ruback, individually, as surviving spouse of Paul G.
Ruback

Rita L. Ruback, as the Personal Representative of the Estate of
Paul G. Ruback, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Paul G.
Ruback

Shannon Ruback, individually, as surviving child of Paul G.
Ruback

Gina Ruback, individually, as surviving child of Paul G. Ruback

Hillary Hans, individually, as surviving sibling of Ronald J.
Ruben

Hillary Hans, as the co-Personal Representative of the Estate of
Ronald J. Ruben, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Ronald J.
Ruben

Leslie C. Ruben, individually, as surviving sibling of Ronald J.
Ruben

Leslie C. Ruben, as the co-Personal Representative of the Estate
of Ronald J. Ruben, deceased, and on behalf of all survivors and
all legally entitled beneficiaries and family members of Ronald J.
Ruben

Anthony Rubino, individually, as surviving sibling of Joanne


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Rubino

Anthony Rubino as Personal Represntative of the Estate of
Antoinette Rubino, deceased, the late parent of Joanne Rubino

Anthony Rubino, as the Personal Representative of the Estate of
Joanne Rubino, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Joanne
Rubino

Margaret Grigonis, individually, as surviving parent of Susan A.
Ruggiero

Paul Grigonis, individually, as surviving parent of Susan A.
Ruggiero

Peggy Ann Asciutto, individually, as surviving sibling of Susan
A. Ruggiero

Frank Ruggiero, individually, as surviving spouse of Susan A.
Ruggiero

Frank Ruggiero, as the Personal Representative of the Estate of
Susan A. Ruggiero, deceased, and on behalf of all survivors and
all legally entitled beneficiaries and family members of Susan A.
Ruggiero

Theresa Russo-Kempf, as the Personal Representative of the
Estate of Michael Russo, deceased, and on behalf of all survivors
and all legally entitled beneficiaries and family members of
Michael Russo

Anthony F. Russo, individually, as surviving sibling of Michael
Russo

Dolores Russo, individually, as surviving parent of Michael
Russo

Cyrina Morrison, individually, as surviving sibling of Brock J.
Safronoff

Aaron Safronoff, individually, as surviving sibling of Brock J.
Safronoff

Debra M. Safronoff, individually, as surviving parent of Brock J.


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Safronoff

Joel Safronoff, individually, as surviving parent of Brock J.
Safronoff

Tara Safronoff, individually, as surviving spouse of Brock J.
Safronoff

Tara Safronoff, as the Personal Representative of the Estate of
Brock J. Safronoff, deceased, and on behalf of all survivors and
all legally entitled beneficiaries and family members of Brock J.
Safronoff

Ruthellen Saiya, as Personal Representative of the Estate of
Frank Saiya, deceased, the late sibling of Edward Saiya

Shawn Saiya, individually, as surviving child of Edward Saiya

Shawn Saiya, as the co-Personal Representative of the Estate of
Edward Saiya, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Edward
Saiya

Katherine R. Schlosser, individually, as surviving child of
Edward Saiya

Katherine R. Schlosser, as the co-Personal Representative of the
Estate of Edward Saiya, deceased, and on behalf of all survivors
and all legally entitled beneficiaries and family members of
Edward Saiya

Madeline Reed, individually, as surviving parent of John P.
Salamone

Sharon Salamone as Personal Representative of the Estate of
Benedict Salamone, deceased, the late parent of John P.
Salamone

Mary E. Salamone, individually, as surviving spouse of John P.
Salamone

Mary E. Salamone, as the Personal Representative of the Estate
of John P. Salamone, deceased, and on behalf of all survivors
and all legally entitled beneficiaries and family members of John
P. Salamone


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Michael Salamone, individually, as surviving sibling of John P.
Salamone

Catherine Mary Sauer, individually, as surviving sibling of John
P. Salamone

Michelle Cataline, individually, as surviving sibling of John P.
Salamone

Carlos Salas, individually, as surviving child of Hernando R.
Salas

Carlos Salas, as the Personal Representative of the Estate of
Hernando R. Salas, deceased, and on behalf of all survivors and
all legally entitled beneficiaries and family members of
Hernando R. Salas

Carlos Salas, as the Personal Representative of the Estate of
Carolina Salas, deceased, the late spouse of Hernando R. Salas

Nelcy Salas, individually, as surviving child of Hernando R.
Salas

Afkham Salie, individually, as surviving sibling of Rahma Salie

Haleema Salie, individually, as surviving parent of Rahma Salie

Haleema Salie, as the Personal Representative of the Estate of
Rahma Salie, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Rahma Salie

Ysuff Salie, individually, as surviving parent of Rahma Salie

Jordanis Theodoridis, as Personal Representative of the Estate of
Michael Theodoridis, deceased, the late spouse of Rahma Salie

Edison Salomon, as Personal Representative of the Estate of
Nolbert Salomon, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Nolbert
Salomon

Antoine Salomon, individually, as surviving parent of Nolbert
Salomon

Edison Salomon, individually, as surviving sibling of Nolbert


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Salomon

James Salomon, individually, as surviving sibling of Nolbert
Salomon

Francesca Pierre, as the Personal Representative of the Estate of
Dania Salomon a/k/a Dania Salomon Macharie, deceased, the
late sibling of Nolbert Salomon

Deborah Rooney, individually, as surviving spouse of John
Sammartino

Deborah Rooney, as the Personal Representative of the Estate of
John Sammartino, deceased, and on behalf of all survivors and
all legally entitled beneficiaries and family members of John
Sammartino

Nicole Sammartino, individually, as surviving child of John
Sammartino

Clara Sanay, individually, as surviving spouse of Hugo Sanay

Clara Sanay, as the Personal Representative of the Estate of
Hugo Sanay, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Hugo Sanay

Hugo Sanay Jr., individually, as surviving child of Hugo Sanay

Michelle Sanay, individually, as surviving child of Hugo Sanay

Steven Sanay, individually, as surviving child of Hugo Sanay

Sonia Hernandez, individually, as surviving sibling of Ayleen J.
Santiago

Jose A. Medina, individually, as surviving sibling of Ayleen J.
Santiago

Julio Medina, individually, as surviving parent of Ayleen J.
Santiago

Cassandra Nash, individually, as surviving child of Anthony
Savas

John Savas, individually, as surviving child of Anthony Savas


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Phaedra Savas, individually, as surviving spouse of Anthony
Savas

Phaedra Savas, as the Personal Representative of the Estate of
Anthony Savas, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Anthony
Savas

Karen Scheffold Onorio, individually, as surviving child of
Frederick C. Scheffold

Claudette Scheffold, individually, as surviving child of Frederick
C. Scheffold

Joan Scheffold, individually, as surviving spouse of Frederick C.
Scheffold

Joan Scheffold, as the Personal Representative of the Estate of
Frederick C. Scheffold, deceased, and on behalf of all survivors
and all legally entitled beneficiaries and family members of
Frederick C. Scheffold

Kim Scheffold Stiefel, individually, as surviving child of
Frederick C. Scheffold

Dawn Schlegel, individually, as surviving spouse of Robert A.
Schlegel

Dawn Schlegel, as the Personal Representative of the Estate of
Robert A. Schlegel, deceased, and on behalf of all survivors and
all legally entitled beneficiaries and family members of Robert
A. Schlegel

Laurence Schlissel, individually, as surviving sibling of Jon S.
Schlissel

Laurence Schlissel, as the Personal Representative of the Estate
of Jon S. Schlissel, deceased, and on behalf of all survivors and
all legally entitled beneficiaries and family members of Jon S.
Schlissel

Laurence Schlissel as Personal Representative of the Estate of
Ruth Schlissel, deceased, the late parent of Jon S. Schlissel

Jaclyn McManus, individually, as surviving child of Gerard P.


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Schrang

Denise Schrang, individually, as surviving spouse of Gerard P.
Schrang

Denise Schrang, as the Personal Representative of the Estate of
Gerald P. Schrang, deceased, and on behalf of all survivors and
all legally entitled beneficiaries and family members of Gerard P.
Schrang

Katherine R. Krieger, individually, as surviving sibling of Susan
Lee Schuler

Jude Laspa, individually, as surviving sibling of Susan Lee
Schuler

Jude Laspa, as the Personal Representative of the Estate of Susan
Lee Schuler, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Susan Lee
Schuler

Tevis Laspa, individually, as surviving sibling of Susan Lee
Schuler

Ted Slanker, individually, as surviving child of Susan Lee
Schuler

Sandra Slanker, individually, as surviving child of Susan Lee
Schuler

Elizabeth Schlehr, individually, as surviving sibling of Margaret
Seeliger

Bruce Seeliger, individually, as surviving spouse of Margaret
Seeliger

Bruce Seeliger, as the Personal Representative of the Estate of
Margaret Seeliger, deceased, and on behalf of all survivors and
all legally entitled beneficiaries and family members of Margaret
Seeliger

Andrew T. Walier, individually, as surviving sibling of Margaret
Seeliger

Arthur A. Walier, individually, as surviving parent of Margaret


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Seeliger

James M. Walier, individually, as surviving sibling of Margaret
Seeliger

John P. Walier, individually, as surviving sibling of Margaret
Seeliger

Joseph Walier, individually, as surviving sibling of Margaret
Seeliger

Paul Walier, individually, as surviving sibling of Margaret
Seeliger

Peter Joseph Walier, individually, as surviving sibling of
Margaret Seeliger

Arthur Walier as Personal Representative of the Estate of
Kathryn Ann Walier, deceased, the late parent of Margaret
Seeliger

Matthew Walier, individually, as surviving sibling of Margaret
Seeliger

Jahnan Shajahan, individually, as surviving child of Mohammed
Shajahan

Layla Shajahan, individually, as surviving child of Mohammed
Shajahan

Mansura Shajahan, individually, as surviving spouse of
Mohammed Shajahan

Mansura Shajahan, as the Personal Representative of the Estate
of Mohammed Shajahan, deceased, and on behalf of all survivors
and all legally entitled beneficiaries and family members of
Mohammed Shajahan

Shirin Shajahan, individually, as surviving child of Mohammed
Shajahan

Yusuf Shajahan, individually, as surviving child of Mohammed
Shajahan

Christopher Davidson, individually, as surviving sibling of


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Kathryn A. Shatzoff

Francis Shea, individually, as surviving sibling of Daniel Shea

Kathleen Shea, individually, as surviving sibling of Daniel Shea

Thomas J. Shea, individually, as surviving sibling of Daniel Shea

Francis Shea, individually, as surviving sibling of Joseph Shea

Kathleen Shea, individually, as surviving sibling of Joseph Shea

Thomas J. Shea, individually, as surviving sibling of Joseph Shea

Charles Clarke, individually, as surviving parent of Antionette
Sherman

Eloise Clarke, individually, as surviving parent of Antionette
Sherman

Eloise Clarke, as the Personal Representative of the Estate of
Antionette Sherman, deceased, and on behalf of all survivors and
all legally entitled beneficiaries and family members of
Antionette Sherman

John Doe 122 as the Personal Representative of the Estate of
John Sigmund Sr., deceased, the late parent of Johanna Sigmund

John Sigmund, individually, as surviving sibling of Johanna
Sigmund

Ruth Sigmund, individually, as surviving parent of Johanna
Sigmund

Ruth Sigmund, as the Personal Representative of the Estate of
Johanna Sigmund, deceased, and on behalf of all survivors and
all legally entitled beneficiaries and family members of Johanna
Sigmund

John T. Signer and James M. Signer as co-Personal
Representatives of the Estate of John F. Signer, deceased, the late
sibling of Dianne Signer

Kenneth Signer, individually, as surviving sibling of Dianne
Signer


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Patricia Signer, individually, as surviving parent of Dianne
Signer

Patricia Signer, as the Personal Representative of the Estate of
Dianne Signer, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Dianne
Signer

Marie Sikorsky, as the Personal Representative of the Estate of
Gregory Sikorsky, deceased, and on behalf of all survivors and
all legally entitled beneficiaries and family members of Gregory
Sikorsky

George Sikorsky, individually, as surviving sibling of Gregory
Sikorsky

Kenneth Sikorsky, individually, as surviving sibling of Gregory
Sikorsky

Perry V. Sikorsky, individually, as surviving sibling of Gregory
Sikorsky

Jennifer Simon Berardi, individually, as surviving child of
Arthur Simon

Jennifer Simon Berardi, as the Personal Representative of the
Estate of Arthur Simon, deceased, and on behalf of all survivors
and all legally entitled beneficiaries and family members of
Arthur Simon

Mandy Exantus, individually, as surviving child of Arthur Simon

Stanley Simon, individually, as surviving sibling of Arthur
Simon

Susan Simon, individually, as surviving spouse of Arthur Simon

Todd Simon, individually, as surviving child of Arthur Simon

Jennifer Simon Berardi, individually, as surviving sibling of
Kenneth Simon

Karen Simon, as Personal Representative of the Estate of
Kenneth Simon, deceased, the late child of Arthur Simon

Karen Simon, as the Personal Representative of the Estate of

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Kenneth Simon, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Kenneth
Simon

Jennifer Simon Berardi, as Personal Representative of the Estate
of Arthur Simon, deceased, the late parent of Kenneth Simon

Mandy Exantus, individually, as surviving sibling of Kenneth
Simon

Susan Simon, individually, as surviving parent of Kenneth
Simon

Todd Simon, individually, as surviving sibling of Kenneth Simon

Jill S. Polansky, individually, as surviving sibling of Thomas E.
Sinton III

Sally Sinton, individually, as surviving sibling of Thomas E.
Sinton III

Susan M. Sinton, individually, as surviving parent of Thomas E.
Sinton III

Marilyn Smith Pusey, individually, as surviving spouse of Leon
Smith

Marilyn Smith Pusey, as the Personal Representative of the
Estate of Leon Smith, deceased, and on behalf of all survivors
and all legally entitled beneficiaries and family members of Leon
Smith

Irene Smith, individually, as surviving parent of Leon Smith

Jasmine Michele Smith, individually, as surviving child of Leon
Smith

Nakia Smith, individually, as surviving child of Leon Smith

Tiffany Smith, individually, as surviving child of Leon Smith

Yolanda Smith-Purdy, individually, as surviving child of Leon
Smith

Mary Elizabeth Reddy, individually, as surviving sibling of


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Moira A. Smith

James Smith, individually, as surviving spouse of Moira A.
Smith

James Smith, as the Personal Representative of the Estate of
Moira A. Smith, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Moira A.
Smith

Patricia Mary Smith, individually, as surviving child of Moira A.
Smith

Patricia S. Rafter, as the Personal Representative of the Estate of
Bonnie Smithwick, deceased, and on behalf of all survivors and
all legally entitled beneficiaries and family members of Bonnie
Smithwick

Patricia S. Rafter as Personal Representative of the Estate of
Thomas J. Smithwick, deceased, the late spouse of Bonnie
Smithwick

Peter Shihadeh, individually, as surviving sibling of Bonnie
Smithwick

Peter Shihadeh as Personal Representative of the Estate of
Jeanne Santamarie Shihadeh, deceased, the late parent of Bonnie
Smithwick

Peter Shihadeh as Personal Representative of the Estate of
Theodore D. Shihadeh, deceased, the late parent of Bonnie
Smithwick

James W. Smithwick, individually, as surviving child of Bonnie
Smithwick

Katharine E. Smithwick, individually, as surviving child of
Bonnie Smithwick

Joanne Messina, individually, as surviving sibling of Michael C.
Sorresse

Catherine Ricciardelli, individually, as surviving spouse of
Michael C. Sorresse

Catherine Ricciardelli, as the Personal Representative of the

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Estate of Michael C. Sorresse, deceased, and on behalf of all
survivors and all legally entitled beneficiaries and family
members of Michael C. Sorresse

Leonard M. Sorresse Jr., individually, as surviving sibling of
Michael C. Sorresse

Leonard M. Sorresse Sr., individually, as surviving parent of
Michael C. Sorresse

Maria Sorresse, individually, as surviving parent of Michael C.
Sorresse

Nicholas Sorresse, individually, as surviving sibling of Michael
C. Sorresse

Linda E. Spampinato a/k/a Linda E. Melville, individually, as
surviving sibling of Donald F. Spampinato

Michael Spampinato, individually, as surviving sibling of Donald
F. Spampinato

Michael Spampinato as Personal Representative of the Estate of
Mary Spampinato, deceased, the late parent of Donald F.
Spampinato

Barbara Carroll Spence, individually, as surviving spouse of
Maynard S. Spence

Barbara Carroll Spence, as the Personal Representative of the
Estate of Maynard S. Spence, deceased, and on behalf of all
survivors and all legally entitled beneficiaries and family
members of Maynard S. Spence

Kristina Spence, individually, as surviving child of Maynard S.
Spence

Shannon Spence, individually, as surviving child of Maynard S.
Spence

Dorothy Spence Evans, individually, as surviving sibling of
Maynard S. Spence

Susan Spitz, individually, as surviving spouse of William Spitz

Susan Spitz, as the Personal Representative of the Estate of

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William Spitz, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of William
Spitz

Kathy Buell, individually, as surviving sibling of Timothy
Stackpole

Tara Stackpole, as the Personal Representative of the Estate of
Timothy Stackpole, deceased, and on behalf of all survivors and
all legally entitled beneficiaries and family members of Timothy
Stackpole

Patricia Murphy, individually, as surviving sibling of Timothy
Stackpole

Edward Stackpole, individually, as surviving sibling of Timothy
Stackpole

Michael Stackpole, individually, as surviving sibling of Timothy
Stackpole

Daniel Carroll, individually, as surviving child of Patricia J. Statz

David Carroll, individually, as surviving spouse of Patricia J.
Statz

David Carroll, as the Personal Representative of the Estate of
Patricia J. Statz, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Patricia J.
Statz

Erick Carroll, individually, as surviving child of Patricia J. Statz

Pamela Statz, individually, as surviving sibling of Patricia J.
Statz

Vincent A. Statz, individually, as surviving parent of Patricia J.
Statz

Phil Statz, individually, as surviving sibling of Patricia J. Statz

Gloria Darrisaw, individually, as surviving sibling of Edna L.
Stephens

Eunice W. Stephens, individually, as surviving sibling of Edna L.


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Stephens

Betty Jo Hill, individually, as surviving sibling of Edna L.
Stephens

Brenda Stephens Pyant, individually, as surviving sibling of
Edna L. Stephens

Eddie Stephens, individually, as surviving sibling of Edna L.
Stephens

Marvin Stephens, individually, as surviving sibling of Edna L.
Stephens

Mary L. Stephens, individually, as surviving sibling of Edna L.
Stephens

Barbara Stephens-Cobb, individually, as surviving sibling of
Edna L. Stephens

Torrass Allen-Stephens, individually, as surviving child of Edna
L. Stephens

Torrass Allen-Stephens, as the Personal Representative of the
Estate of Edna L. Stephens, deceased, and on behalf of all
survivors and all legally entitled beneficiaries and family
members of Edna L. Stephens

Eric Stoller, individually, as surviving child of Sanford M.
Stoller

Glen Stoller, individually, as surviving child of Sanford M.
Stoller

Trudy Stoller, individually, as surviving spouse of Sanford M.
Stoller

Trudy Stoller, as the Personal Representative of the Estate of
Sanford M. Stoller, deceased, and on behalf of all survivors and
all legally entitled beneficiaries and family members of Sanford
M. Stoller

Leslie A. Intindoli, individually, as surviving sibling of Steven
Strauss

Leslie A. Intindoli as Personal Representative of the Estate of

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Albert Strauss, deceased, the late parent of Steven Strauss

Leslie A. Intindoli as Personal Representative of the Estate of
Theresa Strauss, deceased, the late parent of Steven Strauss

Derek Strauss, individually, as surviving child of Steven Strauss

Melanie Strauss, individually, as surviving child of Steven
Strauss

Jean Strauss a/k/a Jeannie Strauss, individually, as surviving
spouse of Steven Strauss

Jean Strauss a/k/a Jeannie Strauss, as the Personal Representative
of the Estate of Steven Strauss, deceased, and on behalf of all
survivors and all legally entitled beneficiaries and family
members of Steven Strauss

Brian Sullivan, individually, as surviving child of Christopher P.
Sullivan

Dolores Sullivan, individually, as surviving spouse of
Christopher P. Sullivan

Dolores Sullivan, as the Personal Representative of the Estate of
Christopher P. Sullivan, deceased, and on behalf of all survivors
and all legally entitled beneficiaries and family members of
Christopher P. Sullivan

Robert J. Sullivan as Personal Representative of the Estate of
James R. Sullivan, deceased, the late parent of Christopher P.
Sullivan

Joan R. Sullivan, individually, as surviving parent of Christopher
P. Sullivan

Kevin M. Sullivan, individually, as surviving sibling of
Christopher P. Sullivan

Matthew J. Sullivan, individually, as surviving sibling of
Christopher P. Sullivan

Peter Q. Sullivan, individually, as surviving sibling of
Christopher P. Sullivan

Robert J. Sullivan, individually, as surviving sibling of

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Christopher P. Sullivan

Sean Sullivan, individually, as surviving child of Christopher P.
Sullivan

Joan Wolffer, individually, as surviving sibling of Christopher P.
Sullivan

Jill Marsella, individually, as surviving spouse of Thomas F.
Swift

Jill Marsella, as the Personal Representative of the Estate of
Thomas F. Swift, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Thomas F.
Swift

Kathleen F. Deloughery, as Personal Representative of the Estate
of Frances Swift, deceased, the late parent of Thomas F. Swift

Elisabeth L. Swift, as Personal Representative of the Estate of
James S. Swift., deceased, the late sibling of Thomas F. Swift

Patrick T. Swift, individually, as surviving sibling of Thomas F.
Swift

Peter T. Swift Jr., individually, as surviving sibling of Thomas F.
Swift

John Doe 114 as Personal Representative of the Estate of Peter
T. Swift, Sr., deceased, the late parent of Thomas F. Swift

Octavia Bangura, individually, as surviving child of Hilda E.
Taylor

Yvette Jones, individually, as surviving sibling of Hilda E.
Taylor

Edna Mbayo, individually, as surviving sibling of Hilda E.
Taylor

Dennis Stafford, individually, as surviving child of Hilda E.
Taylor

George O. Taylor, individually, as surviving sibling of Hilda E.
Taylor


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George O. Taylor, as the Personal Representative of the Estate of
Hilda E. Taylor, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Hilda E.
Taylor

Pallavi Shirolkar, individually, as surviving spouse of Harshad S.
Thatte

Pallavi Shirolkar, as the Personal Representative of the Estate of
Harshad S. Thatte, deceased, and on behalf of all survivors and
all legally entitled beneficiaries and family members of Harshad
S. Thatte

Elina Shirolkar, individually, as surviving child of Harshad S.
Thatte

Haleema Salie, as Personal Representative of the Estate of
Rahma Salie, deceased, the late spouse of Michael Theodoridis

Jordanis Theodoridis, individually, as surviving sibling of
Michael Theodoridis

Jordanis Theodoridis, as the Personal Representative of the
Estate of Michael Theodoridis, deceased, and on behalf of all
survivors and all legally entitled beneficiaries and family
members of Michael Theodoridis

Margarita Theodoridis, individually, as surviving parent of
Michael Theodoridis

Jordanis Theodoridis, as Personal Representative of the Estate of
Constantinos Theodoridis, deceased, the late parent of Michael
Theodoridis

Sarah Kashetta, individually, as surviving child of Brian T.
Thompson

Kathleen Thompson, individually, as surviving spouse of Brian
T. Thompson

Kathleen Thompson, as the Personal Representative of the Estate
of Brian T. Thompson, deceased, and on behalf of all survivors
and all legally entitled beneficiaries and family members of
Brian T. Thompson

Daniel Thompson, individually, as surviving child of Brian T.

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Thompson

Tsahai S. Santiago, individually, as surviving sibling of Vanavah
Thompson

Doreen Thompson, individually, as surviving parent of Vanavah
Thompson

Doreen Thompson, as the Personal Representative of the Estate
of Vanavah Thompson, deceased, and on behalf of all survivors
and all legally entitled beneficiaries and family members of
Vanavah Thompson

Nia Jah-Selah Thompson, individually, as surviving child of
Vanavah Thompson

Giovanni McKenzie, individually, as surviving sibling of
Vanavah Thompson

Michael K. Thompson, individually, as surviving child of
William Harry Thompson

Michael K. Thompson, as the Personal Representative of the
Estate of William Harry Thompson, deceased, and on behalf of
all survivors and all legally entitled beneficiaries and family
members of William Harry Thompson

Rahsaan Thompson, individually, as surviving child of William
Harry Thompson

Beatrice Woolen, individually, as surviving sibling of Tamara
Thurman

Saundra Faye Woolen, individually, as surviving parent of
Tamara Thurman

Emory E. Hackman, Jr., as the Personal Representative of the
Estate of Tamara Thurman, deceased, and on behalf of all
survivors and all legally entitled beneficiaries and family
members of Tamara Thurman

Jennifer Dolan, individually, as surviving child of John Tobin

Barbara Tobin, individually, as surviving spouse of John Tobin

Barbara Tobin, as the Personal Representative of the Estate of

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John Tobin, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of John Tobin

Margaret M. Tobin, individually, as surviving sibling of John
Tobin

Michael Tobin, individually, as surviving sibling of John Tobin

Sean Tobin, individually, as surviving child of John Tobin

Teresa Traina, individually, as surviving parent of Christopher M
Traina

Teresa Traina, as the Personal Representative of the Estate of
Christopher M Traina, deceased, and on behalf of all survivors
and all legally entitled beneficiaries and family members of
Christopher M. Traina

Salvatore M. Traina Jr., individually, as surviving sibling of
Christopher M. Traina

Salvatore Traina, individually, as surviving parent of Christopher
M. Traina

Theresa Corio, individually, as surviving sibling of Diane M.
Urban

Theresa Corio, as the Personal Representative of the Estate of
Diane M. Urban, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Diane M.
Urban

Ann Van Hine, individually, as surviving spouse of Richard B.
Van Hine

Ann Van Hine, as the Personal Representative of the Estate of
Richard B. Van Hine, deceased, and on behalf of all survivors
and all legally entitled beneficiaries and family members of
Richard B. Van Hine

Meghan Sensenig, individually, as surviving child of Richard B.
Van Hine

Emily Small, individually, as surviving child of Richard B. Van
Hine


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Vasanta Velamuri, individually, as surviving spouse of Sankara
Velamuri

Vasanta Velamuri, as the Personal Representative of the Estate
of Sankara Velamuri, deceased, and on behalf of all survivors
and all legally entitled beneficiaries and family members of
Sankara Velamuri

Ramon Velazquez, individually, as surviving child of Jorge L.
Velazquez

Migdalia Lopez, as Personal Representative of the Estate of
Carmen Guzman, deceased, the late parent of David Vera

Javier Guzman, individually, as surviving sibling of David Vera

Migdalia Lopez, individually, as surviving sibling of David Vera

Jennica Perez a/k/a Jennica Vera, individually, as surviving child
of David Vera

Jennica Perez a/k/a Jennica Vera, as the Personal Representative
of the Estate of David Vera, deceased, and on behalf of all
survivors and all legally entitled beneficiaries and family
members of David Vera

Anthony Vola, individually, as surviving sibling of Maria P.
Vola

Anthony Vola and Brittney Vola, as Co-Personal Representatives
of the Estate of Clotilda Vola, deceased, the late sibling of Maria
P. Vola

Anthony Vola, as the Personal Representative of the Estate of
Maria P. Vola, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Maria P.
Vola

Anthony Vola as Personal Representative of the Estate of John
Vola, deceased, the late parent of Maria P. Vola

Anthony Vola as Personal Representative of the Estate of Rita
Vola, deceased, the late parent of Maria P. Vola

Kim Wagner, individually, as surviving sibling of Karen J.


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Wagner

Kim Wagner, as the Personal Representative of the Estate of
Karen J. Wagner, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Karen J.
Wagner

Warren Wagner, individually, as surviving sibling of Karen J.
Wagner

Kim Wagner as Personal Representative of the Estate of Mattie
B. Wagner, deceased, the late parent of Karen J. Wagner

Karl Wagner, individually, as surviving sibling of Karen J.
Wagner

Andrea Treble, individually, as surviving sibling of Gabriela
Waisman

Andrea Treble, as the Personal Representative of the Estate of
Gabriela Waisman, deceased, and on behalf of all survivors and
all legally entitled beneficiaries and family members of Gabriela
Waisman

Armando Waisman, individually, as surviving parent of Gabriela
Waisman

Marta Waisman, individually, as surviving parent of Gabriela
Waisman

Rebecca Clemento, individually, as surviving spouse of Victor
Wald

Rebecca Clemento, as the Personal Representative of the Estate
of Victor Wald, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Victor Wald

Clarissa B. Kirschenbaum, individually, as surviving sibling of
Victor Wald

Daniella Wald Spielman, individually, as surviving child of
Victor Wald

Alexandra Wald Bortz, individually, as surviving child of Victor
Wald


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Reagan Koniuch, individually, as surviving child of Peter G.
Wallace

Alison W. Smith, individually, as surviving child of Peter G.
Wallace

Charlotte Wallace, individually, as surviving spouse of Peter G.
Wallace

Charlotte Wallace, as the Personal Representative of the Estate
of Peter G. Wallace, deceased, and on behalf of all survivors and
all legally entitled beneficiaries and family members of Peter G.
Wallace

Nancy Wallace, as the Personal Representative of the Estate of
Robert F. Wallace, deceased, and on behalf of all survivors and
all legally entitled beneficiaries and family members of Robert F.
Wallace

Robert Wallace, individually, as surviving child of Robert F.
Wallace

Angela Watson Cucciniello, individually, as surviving child of
Kenneth Watson

Glenn Watson, as the Personal Representative of the Estate of
Andrew Watson, deceased, the late parent of Kenneth Watson

Carmella Watson, individually, as surviving parent of Kenneth
Watson

Christopher Watson, individually, as surviving child of Kenneth
Watson

Gary Watson, individually, as surviving child of Kenneth
Watson

Glenn Watson, individually, as surviving sibling of Kenneth
Watson

James Watson, individually, as surviving sibling of Kenneth
Watson

Kenneth Watson, Jr., individually, as surviving child of Kenneth
Watson


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Susan Watson, individually, as surviving spouse of Kenneth
Watson

Susan Watson, as the Personal Representative of the Estate of
Kenneth Watson, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Kenneth
Watson

Tina Watson-Tirabassi, individually, as surviving sibling of
Kenneth Watson

Chin Sok Wells, individually, as surviving sibling of Chin Sun
Pak Wells

Kum Son Wells, individually, as surviving parent of Chin Sun
Pak Wells

Chin Yong Wells, as the Personal Representative of the Estate of
Norman Wells, deceased, the late parent of Chin Sun Pak Wells

Kum Son Wells, as the Personal Representative of the Estate of
Chin Sun Pak Wells, deceased, and on behalf of all survivors and
all legally entitled beneficiaries and family members of Chin Sun
Pak Wells

Enid White, individually, as surviving spouse of John White

Enid White, as the Personal Representative of the Estate of John
White, deceased, and on behalf of all survivors and all legally
entitled beneficiaries and family members of John White

Maxine White, individually, as surviving child of John White

Shirley Nottingham, individually, as surviving sibling of Leonard
A. White

Shirley Nottingham, as the Personal Representative of the Estate
of Leonard A. White, deceased, and on behalf of all survivors
and all legally entitled beneficiaries and family members of
Leonard A. White

Shirley Nottingham as Personal Representative of the Estate of
Thelma White, deceased, the late parent of Leonard A. White

Sylvia Ball, individually, as surviving sibling of Malissa White


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Wakeland Higgins, individually, as surviving spouse of Malissa
White

Wakeland Higgins, as the Personal Representative of the Estate
of Malissa White, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Malissa
White

Marc C. White, individually, as surviving sibling of Malissa
White

Phillip White, individually, as surviving sibling of Malissa White

John Doe 64, being intended to designate the Personal
Representative of the Estate of Sandra L. White, deceased, said
name being fictitious, her/his true name is not presently known,
confirmed, and/or has not been duly appointed by a court of
competent jurisdiction (or having been so appointed, his or her
appointment has expired, and/or he or she has ceased to serve,
and his or her successor has not yet been appointed) and on
behalf of all survivors and all legally entitled beneficiaries and
family members of Sandra L. White

Connie Murray, individually, as surviving sibling of Sandra L.
White

John Doe 65, being intended to designate the Personal
Representative of the Estate of Wayne White, deceased, said
name being fictitious, her/his true name is not presently known,
confirmed, and/or has not been duly appointed by a court of
competent jurisdiction (or having been so appointed, his or her
appointment has expired, and/or he or she has ceased to serve,
and his or her successor has not yet been appointed) and on
behalf of all survivors and all legally entitled beneficiaries and
family members of Wayne White

Hilda Ventura, individually, as surviving sibling of Wayne White

Daren White, individually, as surviving sibling of Wayne White

Kathleen Wik, individually, as surviving sibling of William Wik

Thomas C. Wik, individually, as surviving sibling of William
Wik



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Raphael Wik, individually, as surviving sibling of William Wik

Christopher Wong, individually, as surviving child of Yuk Ping
Wong

Eddie Wong, individually, as surviving child of Yuk Ping Wong

Eddie Wong, as the Personal Representative of the Estate of Yuk
Ping Wong, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Yuk Ping
Wong

Fahim Chowdhury, individually, as surviving sibling of Shakila
Yasmin

Sharif Chowdhury, individually, as surviving parent of Shakila
Yasmin

Sharif Chowdhury, as the co-Personal Representative of the
Estate of Shakila Yasmin, deceased, and on behalf of all
survivors and all legally entitled beneficiaries and family
members of Shakila Yasmin

Nur M. Miah, as Personal Representative of the Estate of Nurul
Miah, deceased, the late spouse of Shakila Yasmin

Showkatara Sharif, individually, as surviving parent of Shakila
Yasmin

Showkatara Sharif, as the co-Personal Representative of the
Estate of Shakila Yasmin, deceased, and on behalf of all
survivors and all legally entitled beneficiaries and family
members of Shakila Yasmin

Mary Kessler, individually, as surviving sibling of Suzanne
Youmans

Mary Kessler, as the co-Personal Representative of the Estate of
Suzanne Youmans, deceased, and on behalf of all survivors and
all legally entitled beneficiaries and family members of Suzanne
Youmans

William Youmans, individually, as surviving sibling of Suzanne
Youmans

Joan Youmans as Personal Representative of the Estate of John

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Youmans, deceased, the late sibling of Suzanne Youmans

Edmond Young Sr., individually, as surviving parent of Edmond
G. Young Jr.

Margaret Young, individually, as surviving parent of Edmond G.
Young Jr.

Markia Young, individually, as surviving sibling of Edmond G.
Young Jr.

Marvene Young, individually, as surviving sibling of Edmond G.
Young Jr.

Marvene Young, as the Personal Representative of the Estate of
Edmond G. Young Jr., deceased, and on behalf of all survivors
and all legally entitled beneficiaries and family members of
Edmond G. Young Jr.

Stephan Young, individually, as surviving child of Edmond G.
Young Jr.

Chaquita Young, individually, as surviving child of Lisa L.
Young

Chaquita Young, as the Personal Representative of the Estate of
Lisa L. Young, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Lisa L.
Young

Desiree Zambrana, individually, as surviving sibling of Edwin J.
Zambrana

Lillian Zambrana, individually, as surviving parent of Edwin J.
Zambrana

Lillian Zambrana, as the Personal Representative of the Estate of
Edwin J. Zambrana, deceased, and on behalf of all survivors and
all legally entitled beneficiaries and family members of Edwin J.
Zambrana

Michael Zampieri, individually, as surviving sibling of Robert A.
Zampieri

Jeannie Schlesinger, individually, as surviving sibling of Robert


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A. Zampieri

Evelyn Zelmanowitz, as the Personal Representative of the
Estate of Jack Zelmanowitz, deceased, the late sibling of
Abraham Zelmanowitz

Evelyn Zelmanowitz, as the Personal Representative of the
Estate of Abraham Zelmanowitz, deceased, and on behalf of all
survivors and all legally entitled beneficiaries and family
members of Abraham Zelmanowitz

Gonzalo Morales, individually, as surviving sibling of Martin
Morales Zempoaltecatl

Benjamin Morales Zempoaltecatl, individually, as surviving
sibling of Martin Morales Zempoaltecatl

Delfino Morales Zempoaltecatl, individually, as surviving sibling
of Martin Morales Zempoaltecatl

Eusebio Morales Zempoaltecatl, individually, as surviving
sibling of Martin Morales Zempoaltecatl

Glafira Morales Zempoaltecatl, individually, as surviving sibling
of Martin Morales Zempoaltecatl

Jose Morales Zempoaltecatl, individually, as surviving sibling of
Martin Morales Zempoaltecatl

Julia Morales Zempoaltecatl, individually, as surviving sibling of
Martin Morales Zempoaltecatl

Maria P.M. Zempoaltecatl Cortez, individually, as surviving
parent of Martin Morales Zempoaltecatl

BNY Mellon, as the Personal Representative of the Estate of
Martin Morales Zempoaltecatl, deceased, and on behalf of all
survivors and all legally entitled beneficiaries and family
members of Martin Morales Zempoaltecatl

Debra Zeplin, as the Personal Representative of the Estate of
Marc Scott Zeplin, deceased, and on behalf of all survivors and
all legally entitled beneficiaries and family members of Marc
Scott Zeplin

Debra Zeplin, individually, as surviving spouse of Marc Scott

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Zeplin

Ethan Gabriel Zeplin, individually, as surviving child of Marc
Scott Zeplin

Ryan Harris Zeplin, individually, as surviving child of Marc
Scott Zeplin

Elizabeth Ann Kiel, individually, as surviving sibling of John
Joseph Florio

John Florio, individually, as surviving parent of John Joseph
Florio

Timothy Geraghty, individually, as surviving sibling of Edward
F. Geraghty

Maureen Bernadette Paglia, individually, as surviving sibling of
Thomas William Kelly

William J. Kelly, individually, as surviving sibling of Thomas
William Kelly

Dennis T. Kelly, individually, as surviving sibling of Thomas
William Kelly

Wendy Santimays, individually, as surviving sibling of Ronald
Kloepfer

Jaime Reali, individually, as surviving child of Ronald Kloepfer

Taylor Kloepfer, individually, as surviving child of Ronald
Kloepfer

Dawn Kloepfer, individually, as surviving spouse of Ronald
Kloepfer

Casey Kloepfer, individually, as surviving child of Ronald
Kloepfer

Anthony B. McMahon, individually, as surviving sibling of
Robert Dismas McMahon

Irene McMahon, individually, as surviving sibling of Robert
Dismas McMahon


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Marie Sikorsky, individually, as surviving spouse of Gregory
Sikorsky

Steven Sikorsky, individually, as surviving child of Gregory
Sikorsky

Christine O'Neill, as Personal Representative of the Estate of
John F. O'Neill, deceased, the late parent of John P. O'Neill, Sr.

Yon-Paul Casalduc, individually, as surviving sibling of Vivian
Casalduc

Frank Camaj, individually, as surviving sibling of Roko Camaj

Kole Camaj, individually, as surviving sibling of Roko Camaj

Preta Berisha, individually, as surviving sibling of Roko Camaj

BNY Mellon, as the Personal Representative of the Estate of
Humberto Ailinger, deceased, and on behalf of all survivors and
all legally entitled beneficiaries and family members of
Humberto Ailinger

Frank Aversano as Personal Representative of the Estate of
Francis L. Aversano, deceased, the late sibling of Louis F.
Aversano, Jr.

Frank Aversano as Personal Representative of the Estate of
Philip Aversano, deceased, the late sibling of Louis F. Aversano,
Jr.

BNY Mellon, as the Personal Representative of the Estate of
Ivhan Bautista, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Ivhan
Bautista

Anthony Chiofalo, individually, as surviving sibling of Nicholas
Chiofalo

Donna Chiofalo, individually, as surviving sibling of Nicholas
Chiofalo

Annette Melillo, individually, as surviving sibling of Nicholas
Chiofalo

Rosemarie Maggiore, individually, as surviving parent of

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Nicholas Chiofalo

George Coughlin, individually, as surviving sibling of John G.
Coughlin

Carol L. D'Allara, as the Personal Representative of the Estate of
John D'Allara, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of John
D'Allara

Daniel D'Allara as Personal Representative of the Estate of John
D'Allara, Sr., deceased, the late parent of John D'Allara

Daniel D'Allara as Personal Representative of the Estate of
Helen D'Allara, deceased, the late parent of John D'Allara

John Joseph D'Allara, individually, as surviving child of John
D'Allara

Nicholas Michael D'Allara, individually, as surviving child of
John D'Allara

Carol L. D'Allara, individually, as surviving spouse of John
D'Allara

Dariusz Debek, individually, as surviving spouse of Tara Debek

Albert DeRubbio, Jr., individually, as surviving sibling of David
DeRubbio

RoseEllen Dowdell, individually, as surviving spouse of Kevin
Christopher Dowdell

RoseEllen Dowdell, as the Personal Representative of the Estate
of Kevin Christopher Dowdell, deceased, and on behalf of all
survivors and all legally entitled beneficiaries and family
members of Kevin Christopher Dowdell

Patrick Kevin Dowdell, individually, as surviving child of Kevin
Christopher Dowdell

James Michael Dowdell, individually, as surviving child of
Kevin Christopher Dowdell

Catherine Chiola as Personal Representative of the Estate of


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Anne T. Fisher, deceased, the late parent of John Roger Fisher

Laurie Gambino, individually, as surviving sibling of Thomas
Gambino, Jr.

Marilyn Hess, individually, as surviving parent of Thomas
Gambino, Jr.

Thomas Gambino, Sr., individually, as surviving parent of
Thomas Gambino, Jr.

Keith Gambino, individually, as surviving sibling of Thomas
Gambino, Jr.

Valerie Gambino, individually, as surviving sibling of Thomas
Gambino, Jr.

Thomas Gambino, III, individually, as surviving child of Thomas
Gambino, Jr.

Brian Gambino, individually, as surviving child of Thomas
Gambino, Jr.

Janet Gambino, individually, as surviving spouse of Thomas
Gambino, Jr.

Janet Gambino, as the Personal Representative of the Estate of
Thomas Gambino, Jr., deceased, and on behalf of all survivors
and all legally entitled beneficiaries and family members of
Thomas Gambino, Jr.

John T. Genovese, individually, as surviving sibling of Steven
Genovese

John T. Genovese as Personal Representative of the Estate of
Veronica Genovese, deceased, the late parent of Steven
Genovese

John T. Genovese as Personal Representative of the Estate of
John G. Genovese, deceased, the late parent of Steven Genovese

Patti Ann Valerio, individually, as surviving sibling of Matthew
J. Grzymalski

Paul Joseph Grzymalski, individually, as surviving sibling of


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Matthew J. Grzymalski

Peter John Grzymalski, individually, as surviving sibling of
Matthew J. Grzymalski

Joseph Walter Grzymalski, individually, as surviving sibling of
Matthew J. Grzymalski

Jo Ann McManus, individually, as surviving sibling of Matthew
J. Grzymalski

Patricia Byrne, individually, as surviving sibling of Joseph
Gullickson

Ralph Gullickson and Patricia Byrne as Co-Personal
Representatives of the Estate of Robert Gullickson, Sr.,
deceased, the late parent of Joseph Gullickson

Thomas Gullickson, individually, as surviving sibling of Joseph
Gullickson

Patricia Gullickson, individually, as surviving parent of Joseph
Gullickson

Ralph Gullickson, individually, as surviving sibling of Joseph
Gullickson

Robert Gullickson, Jr., individually, as surviving sibling of
Joseph Gullickson

Jake Halloran, individually, as surviving child of Vincent G.
Halloran

Kieran Halloran, individually, as surviving child of Vincent G.
Halloran

Phelan Halloran, individually, as surviving child of Vincent G.
Halloran

Declan Halloran, individually, as surviving child of Vincent G.
Halloran

Marie Halloran, individually, as surviving spouse of Vincent G.
Halloran

Marie Halloran, as the Personal Representative of the Estate of

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Vincent Gerard Halloran, deceased, and on behalf of all
survivors and all legally entitled beneficiaries and family
members of Vincent G. Halloran

Iris Marie Holohan, individually, as surviving parent of Thomas
P. Holohan

Mary Alice Holohan, individually, as surviving sibling of
Thomas P. Holohan

Megan Holohan, individually, as surviving sibling of Thomas P.
Holohan

Sean Holohan, individually, as surviving sibling of Thomas P.
Holohan

Harold Hughes, individually, as surviving sibling of Thomas F.
Hughes, Jr.

Tara Leonardi, individually, as surviving sibling of Thomas F.
Hughes, Jr.

Kathleen Creran as Personal Representative of the Estate of
Kevin T. Hughes, deceased, the late sibling of Thomas F.
Hughes, Jr.

Mark F. Hughes, individually, as surviving sibling of Thomas F.
Hughes, Jr.

Deborah Bodner as Personal Representative of the Estate of
Frances S. Hughes, deceased, the late parent of Thomas F.
Hughes, Jr.

Martin S. Hughes, individually, as surviving sibling of Thomas
F. Hughes, Jr.

Deborah Bodner, individually, as surviving sibling of Thomas F.
Hughes, Jr.

Matthew Jordan, individually, as surviving child of Andrew
Jordan

Kelsey Jordan, individually, as surviving child of Andrew Jordan

Sean Jordan, individually, as surviving child of Andrew Jordan


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Lisa Jordan, individually, as surviving spouse of Andrew Jordan

Lisa Jordan, as the Personal Representative of the Estate of
Andrew Jordan, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Andrew
Jordan

Philomena Ann Karczewski, individually, as surviving spouse of
Charles Henry Karczewski

Philomena Ann Karczewski, as the Personal Representative of
the Estate of Charles Henry Karczewski, deceased, and on behalf
of all survivors and all legally entitled beneficiaries and family
members of Charles Henry Karczewski

Mary Kelly as Personal Representative of the Estate of Robert J.
Kelly, deceased, the late sibling of Thomas William Kelly

Daniel T. Kirwin, individually, as surviving sibling of Glenn
Kirwin

Jon D. Kirwin, individually, as surviving sibling of Glenn Kirwin

Peter M. Kirwin, individually, as surviving sibling of Glenn
Kirwin

Andrew Kirwin, individually, as surviving sibling of Glenn
Kirwin

Jennifer Kirwin Masse, individually, as surviving sibling of
Glenn Kirwin

Virginia Krukowski, individually, as surviving sibling of
William Krukowski

Barbara Rastelli, individually, as surviving parent of William
Krukowski

Corey LaFrance, individually, as surviving sibling of Alan
LaFrance

Aubrey LaFrance, individually, as surviving sibling of Alan
LaFrance

JoAnn Langone, individually, as surviving spouse of Thomas


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Langone

JoAnn Langone, as the Personal Representative of the Estate of
Thomas Langone, deceased, and on behalf of all survivors and
all legally entitled beneficiaries and family members of Thomas
Langone

JoAnn Langone as Personal Representative of the Estate of
Thomas Langone, deceased, the late sibling of Peter Langone

Caitlin Langone-Brewer, individually, as surviving child of
Thomas Langone

Brian Langone, individually, as surviving child of Thomas
Langone

Joanne Langone, individually, as surviving sibling of Thomas
Langone

Rosemarie Langone, individually, as surviving sibling of Thomas
Langone

Rosemarie Langone as Personal Representative of the Estate of
Sheila Langone, deceased, the late parent of Thomas Langone

Joanne Langone, individually, as surviving sibling of Peter
Langone

Rosemarie Langone, individually, as surviving sibling of Peter
Langone

Terri Langone, individually, as surviving spouse of Peter
Langone

Terri Langone, as the Personal Representative of the Estate of
Peter Langone, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Peter
Langone

Terri Langone as Personal Representative of the Estate of Peter
Langone, deceased, the late sibling of Thomas Langone

Nikki Langone, individually, as surviving child of Peter Langone

Karli Langone, individually, as surviving child of Peter Langone


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Rosemarie Langone as Personal Representative of the Estate of
Sheila Langone, deceased, the late parent of Peter Langone

Jose Domingo Liz, individually, as surviving sibling of Nancy
Liz

Jose Domingo Liz as Personal Representative of the Estate of
Elena Liz, deceased, the late parent of Nancy Liz

William Stone Luckett, individually, as surviving child of
Edward H. Luckett

Jennifer Grace Luckett, individually, as surviving child of
Edward H. Luckett

Lisa Luckett, individually, as surviving spouse of Edward H.
Luckett

Timothy Wyatt Luckett, individually, as surviving child of
Edward H. Luckett

Lisa Luckett, as the Personal Representative of the Estate of
Edward H. Luckett, deceased, and on behalf of all survivors and
all legally entitled beneficiaries and family members of Edward
H. Luckett

Kathryn Crawford Luckett, individually, as surviving sibling of
Edward H. Luckett

Alexandra Ward Luckett, individually, as surviving sibling of
Edward H. Luckett

James Taylor Luckett, individually, as surviving sibling of
Edward H. Luckett

Alexandra Ward Luckett as Personal Representative of the Estate
of Diana Ward Luckett, deceased, the late parent of Edward H.
Luckett

Caterina Tavolacci, individually, as surviving sibling of Anthony
Luparello

Domenica Anna Lopez, individually, as surviving sibling of
Anthony Luparello

Lauren Peters, individually, as surviving child of Louis N.

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Mariani

Donna Mercurio as Personal Representative of the Estate of Edna
May Massa, deceased, the late spouse of Nicholas G. Massa

Donna Mercurio, individually, as surviving child of Nicholas G.
Massa

Nicholas T. Massa, individually, as surviving child of Nicholas
G. Massa

Josephine R. Redd as Personal Representative of the Estate of
Virgie Mattic Binford, deceased, the late sibling of Margaret E.
Mattic

Denise McDonnell, individually, as surviving sibling of Michael
Patrick McDonnell

Vincenza McDonnell, individually, as surviving parent of
Michael Patrick McDonnell

Patrick A. McDonnell, individually, as surviving parent of
Michael Patrick McDonnell

Kathleen Murphy, individually, as surviving sibling of Patrick
McGuire

Thomas McGuire, individually, as surviving sibling of Patrick
McGuire

John McGuire, individually, as surviving sibling of Patrick
McGuire

Deborah Lynn Temple, individually, as surviving spouse of
Vincent S. Morello

Justin John Morello, individually, as surviving child of Vincent
S. Morello

Paige Celine Morello, individually, as surviving child of Vincent
S. Morello

Patricia Morello as Personal Representative of the Estate of John
Morello, deceased, the late parent of Vincent S. Morello

Patricia Morello, individually, as surviving parent of Vincent S.

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Morello

Deborah Lynn Temple, as the Personal Representative of the
Estate of Vincent S. Morello, deceased, and on behalf of all
survivors and all legally entitled beneficiaries and family
members of Vincent S. Morello

Colleen Golden, individually, as surviving child of Richard
Morgan

John Michael Nee, individually, as surviving sibling of Luke
Gerard Nee

Dolores Laguerre, individually, as surviving sibling of Diana
O'Connor

Jimmy Vega, individually, as surviving sibling of Diana
O'Connor

Minerva Galarza, individually, as surviving sibling of Diana
O'Connor

Sonia Vega, individually, as surviving sibling of Diana O'Connor

Peter Roman, as the Personal Representative of the Estate of
Miriam Roman, deceased, the late sibling of Diana O'Connor

Aida Cintron, individually, as surviving sibling of Diana
O'Connor

Johnny Vega, individually, as surviving sibling of Diana
O'Connor

Johnny Vega as Personal Representatives of the Estate of Maria
Vega, deceased, the late parent of Diana O'Connor

Maria Vega as Personal Representative of the Estate of Robert
Vega, deceased, the late sibling of Diana O'Connor

Eddie Ottenwalder, individually, as surviving sibling of Isidro D.
Ottenwalder

Nilda Ottenwalder, individually, as surviving sibling of Isidro D.
Ottenwalder

Olga Ottenwalder, individually, as surviving sibling of Isidro D.

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Ottenwalder

John Owens as Personal Representative of the Estate of Dolores
Owens, deceased, the late parent of Peter Owens

Pamela Rancke Schroeder, individually, as surviving sibling of
Alfred Todd Rancke

Elizabeth Rivas, as the Personal Representative of the Estate of
Moises Norberto Rivas, deceased, and on behalf of all survivors
and all legally entitled beneficiaries and family members of
Moises Norberto Rivas

Elizabeth Rivas, individually, as surviving spouse of Moises
Norberto Rivas

Moesha Rivas, individually, as surviving child of Moises
Norberto Rivas

Moises Norberto Rivas, Jr., individually, as surviving child of
Moises Norberto Rivas

Lorene Rosenberg, individually, as surviving sibling of Lloyd
Rosenberg

Lawrence Rosenberg, individually, as surviving parent of Lloyd
Rosenberg

Lorene Rosenberg as Personal Representative for the Estate of
Michele Rosenberg, deceased, the late parent of Lloyd
Rosenberg

Linda Amato, individually, as surviving sibling of Timothy A.
Roy

James Roy, individually, as surviving sibling of Timothy A. Roy

John Roy, individually, as surviving sibling of Timothy A. Roy

John Roy as Personal Representative of the Estate of Ida Mae
Roy, deceased, the late parent of Timothy A. Roy

Gary Roy, individually, as surviving sibling of Timothy A. Roy

Kenneth Roy, individually, as surviving sibling of Timothy A.


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Roy

Brendan Ryan, individually, as surviving sibling of Matthew
Ryan

Kathleen Sanchez, individually, as surviving child of Raymond
Sanchez

Christian Santos, individually, as surviving child of Rafael
Humberto Santos

Jonnathan Santos, individually, as surviving child of Rafael
Humberto Santos

Yubelly Santos, as the Personal Representative of the Estate of
Rafael Humberto Santos, deceased, and on behalf of all survivors
and all legally entitled beneficiaries and family members of
Rafael Humberto Santos

Yubelly Santos, individually, as surviving spouse of Rafael
Humberto Santos

Christopher John Saucedo, individually, as surviving sibling of
Gregory Saucedo

Elizabeth Isacowitz as Personal Representative of the Estate of
Helen Seaman, deceased, the late parent of Michael H. Seaman

Elizabeth Isacowitz, individually, as surviving sibling of Michael
H. Seaman

Maryellen Michalenko, individually, as surviving sibling of
Michael H. Seaman

Paul Simon and Stu Simon, as Personal Representatives of the
Estate of Philip Simon, deceased, the late sibling of Arthur
Simon

Brian Stackpole, individually, as surviving child of Timothy
Stackpole

Brendan Stackpole, individually, as surviving child of Timothy
Stackpole

Kaitlyn Welsh, individually, as surviving child of Timothy


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Stackpole

Kevin Carlton, individually, as surviving child of Timothy
Stackpole

Tara A. Stackpole, individually, as surviving spouse of Timothy
Stackpole

Terence Stackpole, individually, as surviving child of Timothy
Stackpole

Barbara Strobert, individually, as surviving parent of Steven
Frank Strobert

Frank Steven Strobert, individually, as surviving child of Steven
Frank Strobert

Tara Strobert-Nolan, individually, as surviving spouse of Steven
Frank Strobert

Kathleen Deloughery, individually, as surviving sibling of
Thomas F. Swift

Alexander John Wallace, individually, as surviving child of
Robert F. Wallace

Jeanine L. Fusco, individually, as surviving child of Robert F.
Wallace

Nancy T. Wallace, individually, as surviving spouse of Robert F.
Wallace

Nancy T. Wallace as Personal Representative of the Estate of
Daniel Wallace, deceased, the late child of Robert F. Wallace

Karin Giansanti, individually, as surviving spouse of Kenneth
Zelman

Karin Giansanti, as the Personal Representative of the Estate of
Kenneth Zelman, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Kenneth
Zelman

Olivia Zelman Charles, individually, as surviving child of
Kenneth Zelman


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Ethan Zelman Charles, individually, as surviving child of
Kenneth Zelman

Justin Johnson, individually, as surviving child of Janice Brown

George Coughlin, as Personal Representative of the Estate of
Mary Elizabeth Coughlin, deceased, the late parent of John G.
Coughlin

Beverly Epps, individually, as surviving sibling of Christopher
Samuel Epps

Debra Epps, individually, as surviving sibling of Christopher
Samuel Epps

Valerie Epps Kendall, individually, as surviving sibling of
Christopher Samuel Epps

Chundera Epps, individually, as surviving sibling of Christopher
Samuel Epps

Robert Epps, individually, as surviving sibling of Christopher
Samuel Epps

Anne Ielpi, individually, as surviving parent of Jonathan Ielpi

AnneMarie Holleran, individually, as surviving sibling of
Jonathan Ielpi

Donna A. Cavanaugh, as Personal Representative of the Estate of
Rose C. Karczewski, deceased, the late parent of Charles Henry
Karczewski

Donna Cavanaugh, individually, as surviving sibling of Charles
Henry Karczewski

Donna A. Cavanaugh as Personal Representative of the Estate of
Henry Karczewski, deceased, the late parent of Charles Henry
Karczewski

Maurice Corbett Kearney, as Personal Representative of the
Estate of Lorraine Kearney, deceased, the late parent of Lisa
Kearney-Griffin

Virginia Krukowski, as Personal Representative of the Estate of
Walter Krukowski, deceased, the late parent of William

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Krukowski

Maureen Simpson, individually, as surviving sibling of Patrick
McGuire

James McGuire, individually, as surviving sibling of Patrick
McGuire

Jody Myers, as Personal Representative of the Estate of Terrence
McGuire, deceased, the late sibling of Patrick McGuire

John Owens, as Personal Representative of the Estate of Peter J.
Owens, Sr., deceased, the late parent of Peter Owens

John Owens, as Personal Representative of the Estate of
Kathleen Owens, deceased, the late sibling of Peter Owens

Douglas Roy, individually, as surviving sibling of Timothy A.
Roy

Barbara Strobert, as Personal Representative of the Estate of
Frank Strobert, deceased, the late parent of Steven Frank Strobert

Joan Ruth Puwalski, individually, as surviving spouse of Steven
J. Bates

Jeffrey A. Bloom, Esq., as Personal Representative of the Estate
of Hazel Lillian Mariani, deceased, the late parent of Louis N.
Mariani

Bruce Mariani, individually, as surviving sibling of Louis N.
Mariani

Elizabeth Miller, individually, as surviving child of Douglas
Miller

Laura Nogaj, individually, as surviving spouse of Stephen Philip
Morris

Jude Monteserrato a/k/a Judith Monteserrato, individually, as
surviving spouse of John Michael Sbarbaro

Tara Strobert-Nolan, as the Personal Representative of the Estate
of Steven Frank Strobert, deceased, and on behalf of all survivors
and all legally entitled beneficiaries and family members of


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Steven Frank Strobert

John Doe 70, being intended to designate the Personal
Representative of the Estate of Steven J. Bates, deceased, said
name being fictitious, her/his true name is not presently known,
confirmed, and/or has not been duly appointed by a court of
competent jurisdiction (or having been so appointed, his or her
appointment has expired, and/or he or she has ceased to serve,
and his or her successor has not yet been appointed) and on
behalf of all survivors and all legally entitled beneficiaries and
family members of Steven J. Bates

Katherine Collier, as the co-Personal Representative of the Estate
of Stephen Philip Morris, deceased, and on behalf of all
survivors and all legally entitled beneficiaries and family
members of Stephen Philip Morris

John Doe 72, being intended to designate the Personal
Representative of the Estate of John Michael Sbarbaro, deceased,
said name being fictitious, her/his true name is not presently
known, confirmed, and/or has not been duly appointed by a court
of competent jurisdiction (or having been so appointed, his or her
appointment has expired, and/or he or she has ceased to serve,
and his or her successor has not yet been appointed) and on
behalf of all survivors and all legally entitled beneficiaries and
family members of John Michael Sbarbaro

Chundera Epps, as Personal Representative of the Estate of
Geneva Epps, deceased, the late parent of Christopher Samuel
Epps

Chundera Epps, as Personal Representative of the Estate of
Christopher Samuel Epps, deceased, and on behalf of all
survivors and all legally entitled beneficiaries and family
members of Christopher Samuel Epps

Nicole Mayer, individually, as surviving child of Peter J. Carroll

Pete Carroll, individually, as surviving child of Peter J. Carroll

Christopher Carroll, individually, as surviving child of Peter J.
Carroll

Michael Carroll, individually, as surviving child of Peter J.


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Carroll

Kevin Carroll, individually, as surviving sibling of Peter J.
Carroll

Patricia D'Agata, individually, as surviving sibling of Peter J.
Carroll

Thomas Gonzalez, Jr., as the Personal Representative of the
Estate of Jenine Gonzalez, deceased, and on behalf of all
survivors and all legally entitled beneficiaries and family
members of Jenine Gonzalez

Thomas Gonzalez, Jr., individually, as surviving sibling of
Jenine Gonzalez

Laura Israilov, as Personal Representative of the Estate of
Malkisadikh Ilkanayev, deceased, the late parent of Daniel
Ilkanayev

Laura Israilov, individually, as surviving sibling of Daniel
Ilkanayev

Brendan Ryan, as Personal Representative of the Estate of Teresa
Ryan, deceased, the late parent of Matthew Ryan

Michael Stackpole, as Personal Representative of the Estate of
Edward Stackpole, Sr., deceased, the late parent of Timothy
Stackpole

Janice Dukes, individually, as surviving spouse of Donnie Taylor

Janice Dukes, as the Personal Representative of the Estate of
Donnie Taylor, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Donnie
Taylor

Kristina Nicole York, individually, as surviving child of
Raymond York

Joan York, as the Personal Representative of the Estate of
Raymond York, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Raymond
York



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Joan York, individually, as surviving spouse of Raymond York

Jesse Kemp, individually, as surviving child of Timothy
Haviland

Barbara Keane, as the Personal Representative of the Estate of
Timothy Haviland, deceased, and on behalf of all survivors and
all legally entitled beneficiaries and family members of Timothy
Haviland

Barbara Keane, as Personal Representative of the Estate of Amy
Haviland, deceased, the late spouse of Timothy Haviland

Sean McShane, individually, as surviving child of Terence
McShane

Aidan McShane, individually, as surviving child of Terence
McShane

Colin McShane, individually, as surviving child of Terence
McShane

Catherine McShane, individually, as surviving spouse of Terence
McShane

Catherine McShane, as the Personal Representative of the Estate
of Terence McShane, deceased, and on behalf of all survivors
and all legally entitled beneficiaries and family members of
Terence McShane

Phylicia Ruggieri, individually, as surviving child of Joseph
Rivelli, Jr.

Matthew Casey, individually, as surviving child of Kathleen
Hunt-Casey

Kevin Casey, individually, as surviving spouse of Kathleen
Hunt-Casey

Kevin Casey, as the Personal Representative of the Estate of
Kathleen Hunt-Casey, deceased, and on behalf of all survivors
and all legally entitled beneficiaries and family members of
Kathleen Hunt-Casey

Theresa Fiorelli, individually, as surviving spouse of Stephen J.


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Fiorelli

Theresa Fiorelli, as the Personal Representative of the Estate of
Stephen J. Fiorelli, deceased, and on behalf of all survivors and
all legally entitled beneficiaries and family members of Stephen
J. Fiorelli

Stephen J. Fiorelli, Jr., individually, as surviving child of
Stephen J. Fiorelli

Christine Epstein, individually, as surviving child of Stephen J.
Fiorelli

William Fiorelli, individually, as surviving sibling of Stephen J.
Fiorelli

Kenneth Fiorelli, individually, as surviving sibling of Stephen J.
Fiorelli

Karen Fiorelli, individually, as surviving sibling of Stephen J.
Fiorelli

Kaitlyn Fisher, individually, as surviving child of John Roger
Fisher

Margaret Fisher, individually, as surviving child of John Roger
Fisher

Brian Wilkes, individually, as surviving spouse of Lorraine
Antigua

John Doe 76, being intended to designate the Personal
Representative of the Estate of Lorraine Antigua, deceased, said
name being fictitious, her/his true name is not presently known,
confirmed, and/or has not been duly appointed by a court of
competent jurisdiction (or having been so appointed, his or her
appointment has expired, and/or he or she has ceased to serve,
and his or her successor has not yet been appointed) and on
behalf of all survivors and all legally entitled beneficiaries and
family members of Lorraine Antigua

Mildred Calderon, individually, as surviving sibling of Vivian
Casalduc

Wendell Acevedo, individually, as surviving sibling of Vivian


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Casalduc

Eugene A. Harris, individually, as surviving sibling of Peggie
Hurt

Cynthia M. Harris, individually, as surviving sibling of Peggie
Hurt

Anthony D. Harris, individually, as surviving sibling of Peggie
Hurt

Shawn Patrick, individually, as surviving sibling of James
Matthew Patrick

Christopher Ruggieri, individually, as surviving child of Joseph
Rivelli, Jr.

Aidan Salamone, individually, as surviving child of John Patrick
Salamone

Alexander Salamone, individually, as surviving child of John
Patrick Salamone

Anna Salamone, individually, as surviving child of John Patrick
Salamone

James Babakitis, as Personal Representative of the Estate of
Kevin Babakitis, deceased, the late child of Arlene T. Babakitis

Brieann Centro, individually, as surviving child of Alexander
Centro, Jr.

Alexander Centro, individually, as surviving child of Alexander
Centro, Jr.

Alexander Centro, as the Personal Representative of the Estate of
Alexander Centro, deceased, and on behalf of all survivors and
all legally entitled beneficiaries and family members of
Alexander Centro, Jr.

Craig Centro, individually, as surviving child of Alexander
Centro, Jr.

Craig Centro, as Personal Representative of the Estate of Italia
Centro, deceased, the late parent of Alexander Centro, Jr.


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Amy Eberling, individually, as surviving spouse of Dean P.
Eberling

Amy Eberling, as the Personal Representative of the Estate of
Dean P. Eberling, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Dean P.
Eberling

Corinne Ardente, individually, as surviving child of Dean P.
Eberling

Lauren Eberling, individually, as surviving child of Dean P.
Eberling

Christopher Ahearn, individually, as surviving child of Brian
Ahearn

Lauren Sosa, individually, as surviving child of Brian Ahearn

Debra Ahearn, individually, as surviving spouse of Brian Ahearn

Marian Owens, individually, as surviving sibling of Kenneth
Phelan

Sami Nassar, as the Personal Representative of the Estate of Jude
Moussa, deceased, and on behalf of all survivors and all legally
entitled beneficiaries and family members of Jude Moussa

John Morris III, individually, as surviving sibling of Seth Morris

Emily Cournoyer, as Personal Representative of the Estate of
Alice Beaton, deceased, the late sibling of John Cahill

Eric Johnson, as the Personal Representative of the Estate of
Janice Brown, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Janice
Brown

Aidan Halloran, individually, as surviving child of Vincent G.
Halloran

Conor Halloran, individually, as surviving child of Vincent G.
Halloran

Eileen Lunder Baynes, individually, as surviving sibling of


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Christopher Lunder

Hector Mejia, individually, as surviving sibling of Manuel E.
Mejia

Diane Brierley, individually, as surviving sibling of Mary
Catherine Boffa

Margaret Trudeau, individually, as surviving sibling of Mary
Catherine Boffa

John Boffa, individually, as surviving spouse of Mary Catherine
Boffa

John Boffa, as the Co-Personal Representative of the Estate of
Mary Catherine Boffa, deceased, and on behalf of all survivors
and all legally entitled beneficiaries and family members of Mary
Catherine Boffa

John T. Genovese, as the Personal Representative of the Estate of
Steven Genovese, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Steven
Genovese

August Bernaerts, individually, as surviving sibling of Donna
Bernaerts-Kearns

Ellen Macri, individually, as surviving sibling of Katherine
McGarry Noack

Patrick McGarry, individually, as surviving sibling of Katherine
McGarry Noack

Marianne Burke, individually, as surviving sibling of Katherine
McGarry Noack

Deborah M. Brink, individually, as surviving sibling of
Katherine McGarry Noack

Francis J. Moody as Personal Representative of the Estate of
Angelina Moody, deceased, the late parent of Thomas Moody

Francis J. Moody, individually, as surviving sibling of Thomas
Moody

Lorraine Antoniello, individually, as surviving sibling of Thomas

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Moody

Michael L. Moody, individually, as surviving sibling of Thomas
Moody

Patrick Nee, individually, as surviving child of Luke Gerard Nee

Irene Lavelle, as the Personal Representative of the Estate of
Luke G. Nee, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Luke Gerard
Nee

Irene Lavelle, individually, as surviving spouse of Luke Gerard
Nee

Jean Diaz, individually, as surviving sibling of Kenneth John
Phelan

Lourdes Mireya Mejia De La Cruz, individually, as surviving
sibling of Manuel E. Mejia

Rafael Mejia, individually, as surviving sibling of Manuel E.
Mejia

James Morris as Personal Representative of the Estate of Barbara
Morris, deceased, the late parent of Seth Morris

James Morris as Personal Representative of John R. Morris, Jr.,
deceased, the late parent of Seth Morris

James Morris, individually, as surviving sibling of Seth Morris

Raymond Sanchez, Jr., as the Personal Representative of the
Estate of Raymond Sanchez, deceased, and on behalf of all
survivors and all legally entitled beneficiaries and family
members of Raymond Sanchez

Jennifer Holohan, individually, as surviving sibling of Thomas P.
Holohan

John Doe 82 as Personal Representative of the Estate of
Guiseppe Luparello, deceased, the late sibling of Anthony
Luparello

John Doe 103, as the Personal Representative of the Estate of


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Rosa Campisi, deceased, the late sibling of Anthony Luparello

Patrice A. Regan, as the Personal Representative of the Estate of
Nicholas G. Massa, deceased, and on behalf of all survivors and
all legally entitled beneficiaries and family members of Nicholas
G. Massa

Gloria Eleanor Moran, individually, as surviving sibling of
Nicholas G. Massa

Colleen Golden, as the Personal Representative of the Estate of
Richard Morgan, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Richard
Morgan

Colleen Golden as Personal Representative of the Estate of
Patricia Morgan, deceased, the late spouse of Richard Morgan

Brendan Ielpi, individually, as surviving sibling of Jonathan Ielpi

Melissa Brengel, individually, as surviving sibling of Jonathan
Ielpi

Freddye Jean Carter-Perry, as Personal Representative of the
Estate of Fred A. Carter, deceased, the late spouse of Angelene
C. Carter

Rachel Uchitel, individually, as surviving spouse of Andrew
O’Grady

John Doe 80, being intended to designate the Personal
Representative of the Estate of Andrew O'Grady, deceased, said
name being fictitious, her/his true name is not presently known,
confirmed, and/or has not been duly appointed by a court of
competent jurisdiction (or having been so appointed, his or her
appointment has expired, and/or he or she has ceased to serve,
and his or her successor has not yet been appointed) and on
behalf of all survivors and all legally entitled beneficiaries and
family members of Andrew O’Grady

Maureen Sullivan, individually, as surviving spouse of Derek O.
Sword

Josephine Fink, as the Personal Representative of the Estate of
Derek O. Sword, deceased, and on behalf of all survivors and all


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legally entitled beneficiaries and family members of Derek O.
Sword

Jose D. Liz as Guardian of Maria Liz, individually, as surviving
sibling of Nancy Liz

Maya Simon, individually, as surviving child of Kenneth Simon

Karen Simon, individually, as surviving spouse of Kenneth
Simon

Stanley Frank, individually, as surviving parent of Gary J. Frank

Thomas Shea as Personal Representative of the Estate of Joan
Shea, deceased, the late parent of Joseph Shea

Thomas Shea as Personal Representative of the Estate of Joan
Shea, deceased, the late parent of Daniel Shea

Mindy Gabler, individually, as surviving spouse of Fredric
Gabler

Mindy Gabler, as the Personal Representative of the Estate of
Fredric Gabler, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Fredric
Gabler

Alexis Gabler, individually, as surviving child of Fredric Gabler

Howard Gabler, individually, as surviving parent of Fredric
Gabler

Leslie Gabler, individually, as surviving parent of Fredric Gabler

Jolie Gabler, individually, as surviving sibling of Fredric Gabler

Steven Romagnolo, individually, as surviving sibling of Joseph
M. Romagnolo

Jonathan Martinez, individually, as surviving child of Robert G.
Martinez

Barbara Keane as Personal Representative of the Estate of Amy
Haviland, deceased, the late sibling of Robert Spear

Nicholas Kemp, individually, as surviving child of Timothy

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Haviland

John Doe 84, being intended to designate the Personal
Representative of the Estate of Donna Bernaerts-Kearns,
deceased, said name being fictitious, her/his true name is not
presently known, confirmed, and/or has not been duly appointed
by a court of competent jurisdiction (or having been so
appointed, his or her appointment has expired, and/or he or she
has ceased to serve, and his or her successor has not yet been
appointed) and on behalf of all survivors and all legally entitled
beneficiaries and family members of Donna Bernaerts-Kearns

Bradley D. Noack, as the Personal Representative of the Estate
of Katherine McGarry Noack, deceased, and on behalf of all
survivors and all legally entitled beneficiaries and family
members of Katherine McGarry Noack

Patricia Kavanagh Edwards, individually, as surviving spouse of
Dennis Edwards

Patricia Kavanagh Edwards, as the Personal Representative of
the Estate of Dennis Edwards, deceased, and on behalf of all
survivors and all legally entitled beneficiaries and family
members of Dennis Edwards

Alexa Marie Edwards, individually, as surviving child of Dennis
Edwards

Sheila Edwards Doyle as Personal Representative of the Estate of
Julia Edwards, deceased, the late parent of Dennis Edwards

Morgan Edwards, individually, as surviving sibling of Dennis
Edwards

Sheila Doyle, individually, as surviving sibling of Dennis
Edwards

Elizabeth Cortese, individually, as surviving sibling of Dennis
Edwards

Eileen O'Brien, individually, as surviving sibling of Dennis
Edwards

Gale DiFrancisco, individually, as surviving sibling of Donald A.
Foreman


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Eric Ogren, individually, as surviving sibling of Joseph J. Ogren

Patricia Golden, individually, as surviving sibling of Joseph J.
Ogren

Shaun Rodgers, individually, as surviving sibling of Venesha
Richards

Robert R. Ploger, IV, individually, as surviving child of Robert
R. Ploger III

Edward Goldstein, individually, as surviving spouse of Michelle
H. Goldstein

Patricia Singh, individually, as surviving child of James T.
Lynch

Ber Barry Aron, individually, as surviving parent of Joshua Aron

Dana Aron Weiner, individually, as surviving sibling of Joshua
Aron

Barbara Ann Sullivan, individually, as surviving sibling of James
W. Barbella

Dorothy Blanding as Personal Representative of the Estate of
Harry Blanding, Sr., deceased, the late parent of Harry Blanding,
Jr.

Anthony Bocchi, individually, as surviving sibling of John
Bocchi

Elena Bocchi, individually, as surviving parent of John Bocchi

Matthew Bocchi, individually, as surviving child of John Bocchi

Michael Bocchi, individually, as surviving child of John Bocchi

Michele Bocchi-Sandello, individually, as surviving spouse of
John Bocchi

Nicholas Bocchi, individually, as surviving child of John Bocchi

Paul Bocchi, individually, as surviving child of John Bocchi

Ann Bocchi-Schwimmer, individually, as surviving sibling of

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John Bocchi

Diane Bocchi Esola, individually, as surviving sibling of John
Bocchi

Ann Bocchi-Schwimmer as Personal Representative of the Estate
of Camillo Bocchi, deceased, the late parent of John Bocchi

Lucy Bocchi Kraus, individually, as surviving sibling of John
Bocchi

Michele Bocchi-Sandello, as the Personal Representative of the
Estate of John Bocchi, deceased, and on behalf of all survivors
and all legally entitled beneficiaries and family members of John
Bocchi

Elizabeth Murphy, individually, as surviving sibling of Mary
Catherine Boffa

Elizabeth Murphy, as the Co-Personal Representative of the
Estate of Mary Catherine Boffa, deceased, and on behalf of all
survivors and all legally entitled beneficiaries and family
members of Mary Catherine Boffa

Daphne Bowers, individually, as surviving parent of Veronique
Bowers

Andrew Broderick, individually, as surviving child of Mark
Broderick

Carolina Broderick, individually, as surviving spouse of Mark
Broderick

James Broderick, individually, as surviving child of Mark
Broderick

Matthew Broderick, individually, as surviving child of Mark
Broderick

Carolina Broderick, as the Personal Representative of the Estate
of Mark Broderick, deceased, and on behalf of all survivors and
all legally entitled beneficiaries and family members of Mark
Broderick

Angus Jacques, as the co-Personal Representative of the Estate
of Felix Calixte, deceased, and on behalf of all survivors and all

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legally entitled beneficiaries and family members of Felix
Calixte

Angus Jacques, individually, as surviving parent of Felix Calixte

Christine Brozon, individually, as surviving spouse of Luigi
Calvi

Christine Brozon, as the Personal Representative of the Estate of
Luigi Calvi, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Luigi Calvi

James Cherry, individually, as surviving sibling of Vernon
Cherry

Cynthia Taylor, individually, as surviving sibling of Vernon
Cherry

Germaine Alexander, individually, as surviving sibling of Brenda
Conway

Tammi Alexander, individually, as surviving sibling of Brenda
Conway

Dennis Coughlin, individually, as surviving sibling of Timothy
Coughlin

Francis Coughlin, Jr., individually, as surviving sibling of
Timothy Coughlin

Robert Coughlin, individually, as surviving sibling of Timothy
Coughlin

Maura Coughlin-Roberti, individually, as surviving spouse of
Timothy Coughlin

Riley Coughlin-Roberti, individually, as surviving child of
Timothy Coughlin

Ryann Coughlin-Roberti, individually, as surviving child of
Timothy Coughlin

Sean Coughlin-Roberti, individually, as surviving child of
Timothy Coughlin

Francis Coughlin, Jr., Dennis Coughlin, and Robert Coughlin as

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co-Personal Representatives of the Estate of Alice Coughlin,
deceased, the late parent of Timothy Coughlin

Robert Coughlin and Francis Coughlin as co-Personal
Representatives of the Estate of Francis Coughlin, Sr., deceased,
the late parent of Timothy Coughlin

Francis Coughlin, Jr., as the Co-Personal Representative of the
Estate of Timothy Coughlin, deceased, and on behalf of all
survivors and all legally entitled beneficiaries and family
members of Timothy Coughlin

Maura Coughlin-Roberti, as the Co-Personal Representative of
the Estate of Timothy Coughlin, deceased, and on behalf of all
survivors and all legally entitled beneficiaries and family
members of Timothy Coughlin

Regina Martin as Personal Representative of the Estate of
Francis Cove, deceased, the late sibling of James Cove

Regina Martin as Personal Representative of the Estate of
Margaret Cove, deceased, the late parent of James Cove

Regina Martin, individually, as surviving sibling of James Cove

Vancena Dawson Donovan, individually, as surviving sibling of
Calvin Dawson

Vanita Aviles, individually, as surviving sibling of Calvin
Dawson

Janita Clyne, individually, as surviving sibling of Calvin Dawson

Alvin Dawson, individually, as surviving sibling of Calvin
Dawson

Annette Simon, individually, as surviving sibling of Calvin
Dawson

Charles Dawson, individually, as surviving sibling of Calvin
Dawson

Janet Dawson, individually, as surviving sibling of Calvin
Dawson

Lena Dawson, individually, as surviving spouse of Calvin

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Dawson

Tatiana Dawson, individually, as surviving child of Calvin
Dawson

Victorine Dawson, individually, as surviving sibling of Calvin
Dawson

Doris Hetherington, individually, as surviving sibling of Calvin
Dawson

Lena Dawson, as the Personal Representative of the Estate of
Calvin Dawson, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Calvin
Dawson

Daniella De La Pena, individually, as surviving child of Emerita
De la Pena

Gabriel De La Pena, individually, as surviving spouse of Emerita
De La Pena

Gabriel De La Pena, as the Personal Representative of the Estate
of Emerita De La Pena, deceased, and on behalf of all survivors
and all legally entitled beneficiaries and family members of
Emerita De La Pena

Ronald Sierra, individually, as surviving spouse of Judith
Berquis Diaz-Sierra

Ronald Sierra, as the Personal Representative of the Estate of
Judith Berquis Diaz-Sierra, deceased, and on behalf of all
survivors and all legally entitled beneficiaries and family
members of Judith Berquis Diaz-Sierra

Marlyse Salome Bosley, individually, as surviving sibling of
Jose Espinal

Saul Espinal Ramos, individually, as surviving sibling of Jose
Espinal

Eileen Esquilin, individually, as surviving sibling of Ruben
Esquilin

Marybelle Vargas, individually, as surviving sibling of Ruben


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Esquilin

Lynn Faulkner, as the Personal Representative of the Estate of
Wendy R. Faulkner, deceased, and on behalf of all survivors and
all legally entitled beneficiaries and family members of Wendy
Faulkner

Stephen Morris, individually, as surviving sibling of Wendy
Faulkner

Annette Fields, individually, as surviving sibling of Samuel
Fields, Sr.

Felicia Fields, individually, as surviving sibling of Samuel
Fields, Sr.

Michael Fields, individually, as surviving sibling of Samuel
Fields, Sr.

Kevin Finnerty, individually, as surviving sibling of Timothy
Finnerty

Peter Finnerty, individually, as surviving parent of Timothy
Finnerty

Theresa Roberts, individually, as surviving spouse of Timothy
Finnerty

Theresa Roberts, as the Personal Representative of the Estate of
Timothy Finnerty, deceased, and on behalf of all survivors and
all legally entitled beneficiaries and family members of Timothy
Finnerty

Lisa Madden as Personal Representative of the Estate of Carl J.
Flickinger, deceased, the late parent of Carl M. Flickinger

Alana Flickinger, individually, as surviving child of Carl M.
Flickinger

Carl J. Flickinger, individually, as surviving child of Carl M.
Flickinger

Craig T. Flickinger, individually, as surviving child of Carl M.
Flickinger

Edmund Flickinger, individually, as surviving sibling of Carl M.

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Flickinger

Kathleen Flickinger, individually, as surviving spouse of Carl M.
Flickinger

Lisa Madden as Personal Representative of the Estate of Louise
Flickinger, deceased, the late parent of Carl M. Flickinger

Robert Flickinger, individually, as surviving sibling of Carl M.
Flickinger

Lisa Madden, individually, as surviving sibling of Carl M.
Flickinger

Kathleen Flickinger, as the Personal Representative of the Estate
of Carl M. Flickinger, deceased, and on behalf of all survivors
and all legally entitled beneficiaries and family members of Carl
M. Flickinger

Sylvia Aleman, individually, as surviving sibling of Claudia
Foster

Blanca Martinez, individually, as surviving parent of Claudia
Foster

Carlos Martinez, individually, as surviving parent of Claudia
Foster

Karen Carlucci, individually, as surviving spouse of Peter Frank

Constance Frank, individually, as surviving parent of Peter Frank

Michelle Frank, individually, as surviving sibling of Peter Frank

Peter Frank, individually, as surviving parent of Peter Frank

Peter Frank, as the Personal Representative of the Estate of Peter
Frank, deceased, and on behalf of all survivors and all legally
entitled beneficiaries and family members of Peter Frank

Edward Gnazzo, individually, as surviving sibling of John
Gnazzo

Nicholas Gnazzo, individually, as surviving sibling of John
Gnazzo


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Song Jeng, individually, as surviving parent of John Gnazzo

Luz America Piedrahita Ayala, individually, as surviving parent
of Wilder Gomez

Jairo Gomez, individually, as surviving sibling of Wilder Gomez

Omar Gomez, individually, as surviving sibling of Wilder
Gomez

Walter Gomez, individually, as surviving sibling of Wilder
Gomez

Kathleen Griffin, individually, as surviving sibling of John
Griffin

Kathryn M. Quinn, as Personal Representative of the Estate of
Kathryn Hargrave, deceased, the late parent of Timothy J.
Hargrave

Jeanmarie Hargrave, individually, as surviving sibling of
Timothy J. Hargrave

James Hargrave, Jr., individually, as surviving sibling of
Timothy J. Hargrave

Carolyn Marie Kelly, individually, as surviving sibling of
Timothy J. Hargrave

Patricia Mansfield, individually, as surviving sibling of Timothy
J. Hargrave

Maureen Murphy, individually, as surviving sibling of Timothy
J. Hargrave

Kathryn M. Quinn, individually, as surviving sibling of Timothy
J. Hargrave

Mary Ann Struble, individually, as surviving sibling of Timothy
J. Hargrave

Kenneth Haskell, individually, as surviving sibling of Thomas
Haskell

Kenneth Haskell, individually, as surviving sibling of Timothy


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Haskell

Belinda Barino Dillard, individually, as surviving sibling of
Ronnie Henderson

Sharon Henderson, individually, as surviving sibling of Ronnie
Henderson

Lucy Aita, individually, as surviving spouse of Paul Innella

Maria Rich, as the Personal Representative of the Estate of Paul
Innella, deceased, and on behalf of all survivors and all legally
entitled beneficiaries and family members of Paul Innella

James Jenkins, Jr., individually, as surviving sibling of John
Jenkins

Joan Kirwin, individually, as surviving spouse of Glenn Kirwin

Joan Kirwin, as the Personal Representative of the Estate of
Glenn Kirwin, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Glenn
Kirwin

Miles Kirwin, individually, as surviving child of Glenn Kirwin

Troy Kirwin, individually, as surviving child of Glenn Kirwin

Russ F. Jellinek, Esq., as the Personal Representative of the
Estate of Vanessa Lang Langer, deceased, and on behalf of all
survivors and all legally entitled beneficiaries and family
members of Vanessa Lang Langer

Jackson S. O’Connor, individually, as surviving sibling of
Vanessa Lang Langer

James T. O’Connor, individually, as surviving sibling of Vanessa
Lang Langer

Berdie Hicks as Personal Representative of the Estate of Walter
W. Hicks, deceased, the late parent of Nickie Lindo

Lauren Baker, individually, as surviving child of Joseph R
Marchbanks Jr.

Ryan Marchbanks, individually, as surviving child of Joseph R

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Marchbanks Jr.

Teresa Marchbanks, individually, as surviving spouse of Joseph
R Marchbanks Jr.

Teresa Marchbanks, as the Personal Representative of the Estate
of Joseph R. Marchbanks, Jr., deceased, and on behalf of all
survivors and all legally entitled beneficiaries and family
members of Joseph R Marchbanks Jr.

Chasity DeLeon, as the co-Personal Representative of the Estate
of Robert Gabriel Martinez, deceased, and on behalf of all
survivors and all legally entitled beneficiaries and family
members of Robert G. Martinez

Kathleen A. Koehler, individually, as surviving child of Timothy
Maude

Karen E. Maude, individually, as surviving child of Timothy
Maude

Teresa Maude, individually, as surviving spouse of Timothy
Maude

Teresa Maude, as the Personal Representative of the Estate of
Timothy Maude, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Timothy
Maude

Christopher Delosh, individually, as surviving spouse of Kathy
N. Mazza

John Mazza, individually, as surviving sibling of Kathy N.
Mazza

Ronald Mazza, individually, as surviving sibling of Kathy N.
Mazza

Rose Mazza, individually, as surviving parent of Kathy N.
Mazza

Victor Mazza, individually, as surviving sibling of Kathy N.
Mazza

Christopher Delosh, as the Personal Representative of the Estate
of Kathy N. Mazza, deceased, and on behalf of all survivors and

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all legally entitled beneficiaries and family members of Kathy N.
Mazza

Andrea Madonna and Joanne Los Kamp, as co-Personal
Representatives of the Estate of Joan Micciulli, deceased, the late
parent of William Micciulli

Andrea Madonna, as Personal Representative of the Estate of
William Edward Micciulli, deceased, the late parent of William
Micciulli

Joanne Los Kamp, individually, as surviving sibling of William
Micciulli

Andrea Madonna, individually, as surviving sibling of William
Micciulli

Emily Micciulli, individually, as surviving child of William
Micciulli

Sara Micciulli, individually, as surviving child of William
Micciulli

Colleen Micciulli-Foley, individually, as surviving spouse of
William Micciulli

Colleen Micciulli-Foley, as the Personal Representative of the
Estate of William Micciulli, deceased, and on behalf of all
survivors and all legally entitled beneficiaries and family
members of William Micciulli

Daniel Lamb, individually, as surviving sibling of Odessa Morris

Ethel Scott, individually, as surviving sibling of Odessa Morris

Joseph Lamb, Sr., individually, as surviving sibling of Odessa
Morris

Rachel Quinnie, individually, as surviving sibling of Odessa
Morris

Jeanine Murphy, individually, as surviving spouse of James
Murphy, IV

Jeanine Murphy, as the Personal Representative of the Estate of
James Murphy, IV, deceased, and on behalf of all survivors and

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all legally entitled beneficiaries and family members of James
Murphy, IV

Jessica A. Navas, individually, as surviving child of Joseph M.
Navas

Joseph M. Navas, Jr., individually, as surviving child of Joseph
M. Navas

Justin C. Navas, individually, as surviving child of Joseph M.
Navas

Karen A. Navas, individually, as surviving spouse of Joseph M.
Navas

Karen A. Navas, as the Personal Representative of the Estate of
Joseph M. Navas, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Joseph M.
Navas

Stephen Nevins as the Personal Representative of the Estate of
Lorraine B Foley, deceased, the late parent of Gerard Nevins

Stephen Nevins, individually, as surviving sibling of Gerard
Nevins

Iris Vega, individually, as surviving sibling of Diana O'Connor

Maria Vega, individually, as surviving sibling of Diana
O'Connor

Virginia Parro, individually, as surviving parent of Robert Parro

John Doe 149 as Personal Representative of the Estate of
Barbara Dunleavy, deceased, the late sibling of Glenn C. Perry

Frank Perry A/K/A Francis Perry, individually, as surviving
sibling of Glenn C. Perry

Catherine Perry, individually, as surviving parent of Glenn C.
Perry

Patrick Perry, individually, as surviving sibling of Glenn C.
Perry

Jennifer Bruno, individually, as surviving sibling of Maria

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Ramirez

Miriam Carter, individually, as surviving sibling of Maria
Ramirez

Elsie Cintron-Rosado, individually, as surviving parent of Maria
Ramirez

Elsie Cintron-Rosado, as the Personal Representative of the
Estate of Maria Ramirez, deceased, and on behalf of all survivors
and all legally entitled beneficiaries and family members of
Maria Ramirez

Jessica Darden, individually, as surviving sibling of Maria
Ramirez

Maureen Regan, individually, as surviving sibling of Donald
Regan

William Regan, individually, as surviving sibling of Donald
Regan

Joan Reilly and Regina Madigan as Legal Guardians of Edward
Reilly, individually, as surviving sibling of Kevin Reilly

John McManus, as the Personal Representative of the Estate of
Richard Rescorla, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Richard C.
Rescorla

Susan Brand a/k/a Siegel a/k/a Retik, individually, as surviving
sibling of David Retik

Mark Retik as Personal Representative of the Estate of Lynne
Retik, deceased, the late parent of David Retik

John Doe 125 as Personal Representative of the Estate of Alan
Retik, deceased, the late parent of David Retik

Benjamin Retik, individually, as surviving child of David Retik

Dina Retik, individually, as surviving child of David Retik

Molly Retik, individually, as surviving child of David Retik

Susan Zalesne Retik, individually, as surviving spouse of David

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Retik

Susan Zalesne Retik, as Personal Representative of the Estate of
David Retik, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of David Retik

Stanley Rodgers, individually, as surviving parent of Venesha
Richards

Cristal Barragan, individually, as surviving child of Moises
Rivas

Katherin Dalmasi fka Katherin Pleitez, individually, as surviving
child of Moises Rivas

Karen Robertson-Jurczak, as the Personal Representative of the
Estate of Donald Robertson, Jr., deceased, and on behalf of all
survivors and all legally entitled beneficiaries and family
members of Donald Robertson, Jr.

Karen Robertson-Jurczak, individually, as surviving spouse of
Donald Robertson, Jr.

Denyse Betcher, individually, as surviving child of Paul Ruback

Danny J. Marino, individually, as surviving child of Paul Ruback

Raysa Rodriguez, individually, as surviving sibling of Esmerlin
Salcedo

Amarcimeve Jimenez Salcedo, individually, as surviving parent
of Esmerlin Salcedo

Amber Salcedo, individually, as surviving child of Esmerlin
Salcedo

Francisco Salcedo, individually, as surviving sibling of Esmerlin
Salcedo

Joel Salcedo, individually, as surviving sibling of Esmerlin
Salcedo

Kayla Salcedo, individually, as surviving child of Esmerlin
Salcedo

Markos Salcedo, individually, as surviving child of Esmerlin

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Salcedo

Matilde Salcedo, individually, as surviving spouse of Esmerlin
Salcedo

Melody Salcedo, individually, as surviving child of Esmerlin
Salcedo

Miriam Salcedo, individually, as surviving parent of Esmerlin
Salcedo

Orson Salcedo, individually, as surviving sibling of Esmerlin
Salcedo

Oscar Salcedo, individually, as surviving sibling of Esmerlin
Salcedo

Matilde Salcedo, as the Personal Representative of the Estate of
Esmerlin Salcedo, deceased, and on behalf of all survivors and
all legally entitled beneficiaries and family members of Esmerlin
Salcedo

Melissa Magazine, individually, as surviving child of Jay R.
Magazine

Paul Asaro, individually, as surviving sibling of Carl Asaro

Peter Asaro, individually, as surviving sibling of Carl Asaro

Dolores Audiffred, individually, as surviving sibling of James
Audiffred

Mark Anthony Barrett, Sr., individually, as surviving sibling of
Renee Barrett-Arjune

Mark Anthony Barrett, Sr., as the Personal Representative of the
Estate of Renee Barrett-Arjune, deceased, and on behalf of all
survivors and all legally entitled beneficiaries and family
members of Renee Barrett-Arjune

Edward Arjune, individually, as surviving child of Renee
Barrett-Arjune

John Joseph Curtin, individually, as surviving sibling of Michael
Curtin


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Kathleen Wojslaw, individually, as surviving sibling of Michael
Curtin

Jeanne Osterndorf, individually, as surviving sibling of Michael
Curtin

James Devlin, individually, as surviving sibling of Dennis Devlin

John Duffy, individually, as surviving sibling of Michael Duffy

Barbara Duffy, individually, as surviving parent of Michael
Duffy

Barbara Duffy, as the Personal Representative of the Estate of
Michael Duffy, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Michael
Duffy

Marykay Kemper, individually, as surviving sibling of Michael
Duffy

Jane Gollan, individually, as surviving sibling of Barbara G.
Edwards

Douglas Evans, individually, as surviving sibling of Eric Evans

Iris J. Friedman, individually, as surviving sibling of Paul
Friedman

Meryl Friedman Price, individually, as surviving sibling of Paul
Friedman

James Friedman, individually, as surviving sibling of Paul
Friedman

Thomas Gary, individually, as surviving child of Bruce Gary

Josefina Gonzalez, individually, as surviving parent of Rosa
Gonzalez

Eneida Ramos, individually, as surviving sibling of Rosa
Gonzalez

Lydia E. Ramos-Gonzalez, individually, as surviving sibling of
Rosa Gonzalez


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Esterlina Rivera, individually, as surviving sibling of Rosa
Gonzalez

Reinaldo Ramos-Gonzalez, individually, as surviving sibling of
Rosa Gonzalez

Maria Gonzalez, individually, as surviving sibling of Rosa
Gonzalez

Nelida Gonzalez, individually, as surviving sibling of Rosa
Gonzalez

Jose Gonzalez, individually, as surviving sibling of Rosa
Gonzalez

Wesley Graf, individually, as surviving child of Edwin Graf

Mary Hasson, as the Personal Representative of the Estate of
Joseph John Hasson, III, deceased, and on behalf of all survivors
and all legally entitled beneficiaries and family members of
Joseph John Hasson, III

Mary Hasson, individually, as surviving spouse of Joseph John
Hasson, III

Joseph John Hasson, IV, individually, as surviving child of
Joseph John Hasson, III

Joseph John Hasson, Jr, individually, as surviving parent of
Joseph John Hasson, III

Paulette Hasson, individually, as surviving parent of Joseph John
Hasson, III

Victoria Zanotto, individually, as surviving sibling of Joseph
John Hasson, III

Christopher Hasson, individually, as surviving sibling of Joseph
John Hasson, III

Maria Rich, individually, as surviving sibling of Paul Innella

Maria Rich, as Personal Representative of the Estate of Shirley
Innella, deceased, the late parent of Paul Innella

Lisa Iraci as Personal Representative of the Estate of Francis

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Kelly, deceased, the late sibling of Thomas William Kelly

Nancy Kelly, individually, as surviving sibling of Thomas
Michael Kelly

Nancy Kelly as Personal Representative of the Estate of Sylvia
Kelly, deceased, the late parent of Thomas Michael Kelly

Yolanda Cerda, individually, as surviving spouse of Matthew
Leonard

Yolanda Cerda, as the Personal Representative of the Estate of
Matthew Leonard, deceased, and on behalf of all survivors and
all legally entitled beneficiaries and family members of Matthew
Leonard

Christina Leonard, individually, as surviving child of Matthew
Leonard

Samantha Allen, individually, as surviving child of Samantha
Lightbourn-Allen

Michael Magee, individually, as surviving sibling of Charles
Magee

Margaret Randazzo-Maloy, individually, as surviving spouse of
Gene Maloy

Rosalie Marti, individually, as surviving parent of Michael Marti

Mario Truglio as Personal Representative of the Estate of Rodger
Marti, deceased, the late parent of Michael Marti

Rosalie Marti, as the Personal Representative of the Estate of
Michael Marti, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Michael
Marti

Nixia Mena-Alexis, individually, as surviving sibling of Diarelia
Mena

Diana Mena, individually, as surviving parent of Diarelia Mena

Nixia Mena-Alexis as Personal Representative of the Estate of
Aurelio Mena, deceased, the late parent of Diarelia Mena


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Sandra O'Connor Carey, individually, as surviving spouse of
Keith O'Connor

Sandra O'Connor Carey, as the Personal Representative of the
Estate of Keith O'Connor, deceased, and on behalf of all
survivors and all legally entitled beneficiaries and family
members of Keith O'Connor

Susan O'Connor, individually, as surviving parent of Keith
O'Connor

Susan O'Connor, as Personal Representative of the Estate of
Francis O'Connor, deceased, the late parent of Keith O'Connor

Neil Peraza, individually, as surviving sibling of Robert Peraza

Neil Peraza, as the Personal Representative of the Estate of
Robert Peraza, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Robert
Peraza

Neil Peraza, as Personal Representative of the Estate of Robert
D. Peraza, deceased, the late parent of Robert Peraza

Lee Gargano, individually, as surviving sibling of Karen Renda

Minerva Rosario, as the Personal Representative of the Estate of
Aida Rosario, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Aida
Rosario

Minerva Rosario as Personal Representative of the Estate of
Rodolfo Rosario, deceased, the late sibling of Aida Rosario

Amy Vazquez, individually, as surviving child of Aida Rosario

Jasmine DeJesus, individually, as surviving child of Aida
Rosario

Farah Frenkel, individually, as surviving sibling of Rahma Salie

Christina Savas, individually, as surviving child of Anthony
Savas

David Schlegel, individually, as surviving sibling of Robert


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Schlegel

Richard Schlegel, individually, as surviving sibling of Robert
Schlegel

John Doe 150 as Personal Representative of the Estate of Elvin
Schlegel, deceased, the late parent of Robert Schlegel

Robert Davenport, individually, as surviving sibling of
Antionette Sherman

Christopher Charles Clarke, individually, as surviving sibling of
Antionette Sherman

Jamal Green, individually, as surviving child of Antionette
Sherman

Perry Sikorsky as Personal Representative of the Estate of
George K. Sikorsky, deceased, the late parent of Gregory
Sikorsky

Perry Sikorsky as Personal Representative of the Estate of Luzia
Sikorsky, deceased, the late parent of Gregory Sikorsky

Toolsiedai Seepersaud a/k/a Ruby Awan, individually, as
surviving parent of Khamladai Khami Singh

Toolsiedai Seepersaud a/k/a Ruby Awan, as the Personal
Representative of the Estate of Khamladai Khami Singh,
deceased, and on behalf of all survivors and all legally entitled
beneficiaries and family members of Khamladai Khami Singh

Toolsiedai Seepersaud a/k/a Ruby Awan, as Personal
Representative of the Estate of Roshan Ramesh Singh, deceased,
the late sibling of Khamladai Khami Singh

Toolsiedai Seepersaud a/k/a Ruby Awan, individually, as
surviving parent of Roshan Ramesh Singh

Toolsiedai Seepersaud a/k/a Ruby Awan, as the Personal
Representative of the Estate of Roshan Ramesh Singh, deceased,
and on behalf of all survivors and all legally entitled
beneficiaries and family members of Roshan Ramesh Singh

Toolsiedai Seepersaud a/k/a Ruby Awan, as Personal
Representative of the Estate of Khamladai Khami Singh,

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deceased, the late sibling of Roshan Ramesh Singh

Leandra Hart, individually, as surviving child of Leon Smith

Alex Stone, individually, as surviving child of Lonny Jay Stone

Stacey Stone, individually, as surviving spouse of Lonny Jay
Stone

Stacey Stone, as the Co-Personal Representative of the Estate of
Lonny Stone, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Lonny Jay
Stone

Joshua Stone, individually, as surviving child of Lonny Jay Stone

Graeme Sword, individually, as surviving sibling of Derek O.
Sword

John Doe 105, as the Personal Representative of the Estate of
Allan Sword, deceased, the late sibling of Derek O. Sword

Irene Sword, individually, as surviving parent of Derek O. Sword

David Sword, individually, as surviving parent of Derek O.
Sword

Luz Vale, individually, as surviving spouse of Ivan Vale

Luz Vale, as the Personal Representative of the Estate of Ivan
Vale, deceased, and on behalf of all survivors and all legally
entitled beneficiaries and family members of Ivan Vale

Clarissa Kirschenbaum, as Personal Representative of the Estate
of Adolph Wald, deceased, the late parent of Victor Wald

Clarissa Kirschenbaum, as Personal Representative of the Estate
of Fanni Wald, deceased, the late parent of Victor Wald

Robert Weingard, individually, as surviving sibling of Scott
Weingard

Marc Weingard as Personal Representative of the Estate of
Bonnie Weingard, deceased, the late parent of Scott Weingard

Marc Weingard, individually, as surviving sibling of Scott

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Weingard

Marc Weingard, as the Personal Representative of the Estate of
Scott Weingard, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Scott
Weingard

Denise White, individually, as surviving child of John White

Lillian Zambrana as Personal Representative of the Estate of
Edwin Zambrana, Sr., deceased, the late parent of Edwin
Zambrana

Michael Bianco, individually, as surviving child of Joseph
Agnello

Charlotte Amundson, individually, as surviving child of Spc.
Craig Amundson

Elliot Amundson, individually, as surviving child of Spc. Craig
Amundson

Amber Ann Amundson, individually, as surviving spouse of Spc.
Craig Amundson

Natalie Pollack, individually, as surviving child of Louis F.
Aversano, Jr.

Ronda Boyle, individually, as surviving spouse of Allen Boyle

Ronda Boyle, as the Personal Representative of the Estate of
Allen Boyle, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Allen Boyle

Allen Richard Boyle, individually, as surviving child of Allen
Boyle

Dylan Boyle, individually, as surviving child of Allen Boyle

Nathan Boyle, individually, as surviving child of Allen Boyle

Patrick Cartier, individually, as surviving parent of James Cartier

John Doe 96, being intended to designate the Personal
Representative of the Estate of James Cartier, deceased, said
name being fictitious, her/his true name is not presently known,

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confirmed, and/or has not been duly appointed by a court of
competent jurisdiction (or having been so appointed, his or her
appointment has expired, and/or he or she has ceased to serve,
and his or her successor has not yet been appointed) and on
behalf of all survivors and all legally entitled beneficiaries and
family members of James Cartier

John Doe 151 as Personal Representative of the Estate of
Douglas Caufield, deceased, the late sibling of Robert Caufield

John Doe 93, being intended to designate the Personal
Representative of the Estate of Robert Caufield, deceased, said
name being fictitious, her/his true name is not presently known,
confirmed, and/or has not been duly appointed by a court of
competent jurisdiction (or having been so appointed, his or her
appointment has expired, and/or he or she has ceased to serve,
and his or her successor has not yet been appointed) and on
behalf of all survivors and all legally entitled beneficiaries and
family members of Robert Caufield

Jermaine Cook, individually, as surviving spouse of Helen Cook

Mary Doherty, as the Personal Representative of the Estate of
John Doherty, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of John
Doherty

Mary Doherty, individually, as surviving spouse of John Doherty

Barbara Doherty, individually, as surviving child of John
Doherty

Maureen Reed, individually, as surviving child of John Doherty

Sarah Dwyer, individually, as surviving child of Patrick Dwyer

Jo Ann Dwyer, individually, as surviving spouse of Patrick
Dwyer

Jo Ann Dwyer, as the Personal Representative of the Estate of
Patrick Dwyer, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Patrick
Dwyer

Brendan Dwyer, individually, as surviving child of Patrick


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Dwyer

Barbara Echtermann, individually, as surviving parent of
Margaret Echtermann

Johanna Kmetz, as the Personal Representative of the Estate of
Margaret Echtermann, deceased, and on behalf of all survivors
and all legally entitled beneficiaries and family members of
Margaret Echtermann

Annette Elseth, individually, as surviving spouse of Robert
Elseth

Annette Elseth, as the Personal Representative of the Estate of
Robert Elseth, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Robert
Elseth

Faith Elseth, individually, as surviving child of Robert Elseth

Berta Elseth, individually, as surviving parent of Robert Elseth

James Elseth as Personal Representative for the Estate of Curtis
Elseth, deceased, the late parent of Robert Elseth

James Elseth, individually, as surviving sibling of Robert Elseth

Harlan Elseth, individually, as surviving sibling of Robert Elseth

Nancy Bolger, individually, as surviving sibling of Robert Elseth

Alfredo Samuel Espinal, individually, as surviving sibling of
Jose Espinal

Dorothy Swick, individually, as surviving sibling of Catherine
Fagan

Veronica Morris, as the Personal Representative of the Estate of
Eileen Flecha, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Eileen
Flecha

Veronica Morris, individually, as surviving parent of Eileen
Flecha

Jane Thompson, individually, as surviving parent of Jon

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Grabowski

Desmond Green, individually, as surviving sibling of Derrick
Green

Ester Yevdayeva, individually, as surviving parent of Daniel
Ilkanayev

Alfred Jeffries, Sr., individually, as surviving parent of Alva
Jeffries Sanchez

Malikah Jeffries, individually, as surviving sibling of Alva
Jeffries Sanchez

Alexandra Mück individually, as surviving child of George
Lopez

Doris McCloud, individually, as surviving parent of Tara
McCloud Gray

Tommie Milam, individually, as surviving parent of Ronald
Milam

Effie Milam, individually, as surviving parent of Ronald Milam

Steven Wayne Milam, individually, as surviving sibling of
Ronald Milam

Winsome Nelson-Reid, individually, as surviving parent of
Michele Ann Nelson

Winsome Nelson-Reid, as the Personal Representative of the
Estate of Michele Nelson, deceased, and on behalf of all
survivors and all legally entitled beneficiaries and family
members of Michele Ann Nelson

Monique Riviere, individually, as surviving sibling of Michele
Ann Nelson

Sheila O'Shea, as the Personal Representative of the Estate of
Patrick O'Shea, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Patrick
O'Shea

Sheila O'Shea, individually, as surviving spouse of Patrick


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O'Shea

Patrick O'Shea, Jr., individually, as surviving child of Patrick
O'Shea

Megan O'Shea, individually, as surviving child of Patrick O'Shea

Edwin Ovalles, individually, as surviving child of Jesus Ovalles

John Doe 90, being intended to designate the Personal
Representative of the Estate of Jesus Ovalles, deceased, said
name being fictitious, her/his true name is not presently known,
confirmed, and/or has not been duly appointed by a court of
competent jurisdiction (or having been so appointed, his or her
appointment has expired, and/or he or she has ceased to serve,
and his or her successor has not yet been appointed) and on
behalf of all survivors and all legally entitled beneficiaries and
family members of Jesus Ovalles

Pamela Pabon, individually, as surviving child of Israel Pabon

Terry Paul, individually, as surviving sibling of James Paul

Patricia A. Paul, as the Personal Representative of the Estate of
James Paul, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of James Paul

Carey Pierce, individually, as surviving sibling of Dennis Pierce

Barbara Timpone, individually, as surviving sibling of Dennis
Pierce

John Doe 97, being intended to designate the Personal
Representative of the Estate of Dennis Pierce, deceased, said
name being fictitious, her/his true name is not presently known,
confirmed, and/or has not been duly appointed by a court of
competent jurisdiction (or having been so appointed, his or her
appointment has expired, and/or he or she has ceased to serve,
and his or her successor has not yet been appointed) and on
behalf of all survivors and all legally entitled beneficiaries and
family members of Dennis Pierce

Cynthia Lesemann, individually, as surviving sibling of James
Sands, Jr.

Geraldine Sands, individually, as surviving parent of James

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Sands, Jr.

Loreen Fremaint, individually, as surviving sibling of James
Sands, Jr.

Dinnette Medina, individually, as surviving sibling of Ayleen
Santiago

Otis Tolbert, individually, as surviving parent of Otis Tolbert

Nancy Tolbert, individually, as surviving parent of Otis Tolbert

Shari Tolbert, as Personal Representative of the Estate of Otis
Tolbert, deceased, and on behalf of all survivors and all legally
entitled beneficiaries and family members of Otis Tolbert

Alda Walcott, as the Personal Representative of the Estate of
Courtney Walcott, deceased, and on behalf of all survivors and
all legally entitled beneficiaries and family members of Courtney
Walcott

Alda Walcott, individually, as surviving parent of Courtney
Walcott

Hector L. Walcott, individually, as surviving parent of Courtney
Walcott

Andrew Walcott, individually, as surviving sibling of Courtney
Walcott

Delano Walcott, individually, as surviving sibling of Courtney
Walcott

John Doe 89, being intended to designate the Personal
Representative of the Estate of Edward White, deceased, said
name being fictitious, her/his true name is not presently known,
confirmed, and/or has not been duly appointed by a court of
competent jurisdiction (or having been so appointed, his or her
appointment has expired, and/or he or she has ceased to serve,
and his or her successor has not yet been appointed) and on
behalf of all survivors and all legally entitled beneficiaries and
family members of Edward White

Christopher White, individually, as surviving sibling of Edward
White


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Regina White, individually, as surviving parent of Edward White

Regina White, as Personal Represntative of the Estate of Edward
James White, Jr., deceased, the late parent of Edward White

William White, individually, as surviving sibling of Edward
White

Suzanne Antoniou, individually, as surviving sibling of Edward
White

James White, individually, as surviving sibling of Edward White

Wanda Rose, individually, as surviving sibling of Lisa Young

Barry Amundson, individually, as surviving sibling of Spc. Craig
Amundson

Ramona Schroeder, individually, as surviving parent of Lorraine
Antigua

Charles Schroeder, individually, as surviving parent of Lorraine
Antigua

Sasha Cardona, individually, as surviving child of Jose Cardona

Daniel Acevedo, individually, as surviving sibling of Vivian
Casalduc

Jennifer Sullivan, individually, as surviving child of Michael
Curtin

Barbara Echtermann as Personal Representative of the Estate of
Helmut Echtermann, deceased, the late parent of Margaret
Echtermann

Dietrich Echtermann, individually, as surviving sibling of
Margaret Echtermann

Heidemarie Echtermann-Toribio, individually, as surviving
sibling of Margaret Echtermann

Christopher Fagan, individually, as surviving child of Catherine
Fagan

Brenda Fallon, as the Personal Representative of the Estate of

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William Fallon, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of William
Fallon

Brenda Fallon, individually, as surviving spouse of William
Fallon

Christopher Fallon, individually, as surviving child of William
Fallon

Patricia Quinlan, individually, as surviving sibling of William
Fallon

Stephen Fallon, individually, as surviving sibling of William
Fallon

Donald Fallon, individually, as surviving sibling of William
Fallon

Peter Fallon, individually, as surviving sibling of William Fallon

Reehan Syed a/k/a Syed Reehan, individually, as surviving child
of Syed Abdul Fatha

Banu Khursheed a/k/a Khursheed Banu, individually, as
surviving child of Syed Abdul Fatha

Yaseen Syed a/k/a Syed Yaseen, individually, as surviving child
of Syed Abdul Fatha

Syed Zeeshan a/k/a Zeeshan Syed, individually, as surviving
child of Syed Abdul Fatha

Farhan Syed a/k/a Syed Farhan, individually, as surviving child
of Syed Abdul Fatha

Loren Smith, individually, as surviving child of Wendy Faulkner

Ashley Faulkner, individually, as surviving child of Wendy
Faulkner

Lynn Faulkner, individually, as surviving spouse of Wendy
Faulkner

Stephen Feely, individually, as surviving sibling of Francis Feely


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Alice Feely, individually, as surviving sibling of Francis Feely

Michael Feely, individually, as surviving sibling of Francis Feely

Jessica Geier, individually, as surviving child of Paul Hamilton
Geier

Jessica Geier, as the Personal Representative of the Estate of
Paul Hamilton Geier, deceased, and on behalf of all survivors
and all legally entitled beneficiaries and family members of Paul
Hamilton Geier

Nicole Rasanen as Personal Representative of the Estate of
Eleanor Geier, deceased, the late spouse of Paul Hamilton Geier

Claudie Nash, individually, as surviving sibling of Diane Hale-
McKinzy

Craig Hannan, individually, as surviving sibling of Michael
Hannan

Andrea Hannan, as the Personal Representative of the Estate of
Michael Hannan, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Michael
Hannan

Andrea Hannan, individually, as surviving spouse of Michael
Hannan

RachelRoberts, individually, as surviving child of Michael
Hannan

Alexandra Hannan, individually, as surviving child of Michael
Hannan

Jennifer Muller as Personal Representative of the Estate of
Barbara Hannan, deceased, the late parent of Michael Hannan

Jennifer Muller, individually, as surviving sibling of Michael
Hannan

Peter Hannan, individually, as surviving sibling of Michael
Hannan

Sheri Lynn Berger, individually, as surviving sibling of Ronald J.


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Hemenway

Susan Hermer, as the Personal Representative of the Estate of
Harvey Hermer, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Harvey
Hermer

Kyra Houston, individually, as surviving sibling of Uhuru
Houston

Anane Crandon, individually, as surviving sibling of Uhuru
Houston

Efia Crandon, individually, as surviving sibling of Uhuru
Houston

Efia Crandon as Personal Representative of the Estate of Estella
Crandon, deceased, the late parent of Uhuru Houston

Matthew Dorsey, individually, as surviving sibling of Jennifer L.
Howley

Victoria Jones, individually, as surviving child of Paul Innella

Andy Jean-Pierre, individually, as surviving child of Maxima
Jean-Pierre

Rachel Jean-Pierre, individually, as surviving child of Maxima
Jean-Pierre

Anjunelly Jean-Pierre, individually, as surviving child of
Maxima Jean-Pierre

Ajax Jean-Pierre Jr. individually, as surviving child of Maxima
Jean-Pierre

Emmet Clyde Jeffries, individually, as surviving sibling of Alva
Jeffries Sanchez

Kieran Lyons, individually, as surviving sibling of Michael
Lyons

Mary Lyons, individually, as surviving child of Michael Lyons

Elaine Lyons, individually, as surviving spouse of Michael


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Lyons

Elaine Lyons, as the Personal Representative of the Estate of
Michael Lyons, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Michael
Lyons

Caitlyn Lyons, individually, as surviving child of Michael Lyons

Mirella Matricciano, individually, as surviving parent of
Marcellus Matricciano

Umberto Matricciano, individually, as surviving parent of
Marcellus Matricciano

Bruno Matricciano, individually, as surviving sibling of
Marcellus Matricciano

Rosie Matricciano-Vetere, as the Personal Representative of the
Estate of Marcellus Matricciano, deceased, and on behalf of all
survivors and all legally entitled beneficiaries and family
members of Marcellus Matricciano

Leslie Faulstich, individually, as surviving sibling of Katie
McCloskey

Julie Gardner, individually, as surviving sibling of Katie
McCloskey

Garland Mercer, individually, as surviving sibling of Wesley
Mercer

Shannon Moran as Personal Representative of the Estate of Joyce
Moran, deceased, the late spouse of Gerard Moran

Shannon Moran as Personal Representative of the Estate of Dane
Moran, deceased, the late child of Gerard Moran

Masako Murphy as Personal Representative of the Estate of
Casey Murphy, deceased, the late child of Patrick J. Murphy

Jamie Nelson, individually, as surviving child of Peter A. Nelson

Chin Yong Wells, individually, as surviving sibling of Chin Sun
Pak Wells


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John Doe 153 as Personal Representative of the Estate of
Suzanne Peraza, deceased, the late parent of Robert Peraza

Peter Snik as Personal Representative of the Estate of John W.
Snik, deceased, the late spouse of Laura Ragonese-Snik

Nadia Ramsaroop, individually, as surviving child of Vishnoo
Ramsaroop

Shelly Ann Ramkhelawan, individually, as surviving child of
Vishnoo Ramsaroop

Michelle Ramsaroop, individually, as surviving child of Vishnoo
Ramsaroop

Ernest LaRoche, individually, as surviving sibling of Deborah
Ramsaur

Wesley Gargano, individually, as surviving sibling of Karen
Renda

Deborah Malek, individually, as surviving child of John
Frederick Rhodes

Linda Rhodes, individually, as surviving spouse of John
Frederick Rhodes

Matthew Robertson, individually, as surviving child of Donald
Robertson, Jr.

Michael Robertson, individually, as surviving child of Donald
Robertson, Jr.

Madison Robertson, individually, as surviving child of Donald
Robertson, Jr.

Kevin Robertson, individually, as surviving child of Donald
Robertson, Jr.

Neanta McCants as the Personal Representative of the Estate of
Trisha McCants, deceased, the late child of Judy Rowlett

William Grigonis, individually, as surviving sibling of Susan
Ruggiero

Kim Coleman, individually, as surviving parent of Jacquelyn

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Sanchez

Cedric Pitt Sr., as the Personal Representatives of the Estate of
Jacquelyn Sanchez, deceased, and on behalf of all survivors and
all legally entitled beneficiaries and family members of
Jacquelyn Sanchez

Michael Coleman, individually, as surviving sibling of Jacquelyn
Sanchez

Ericka Brown, individually, as surviving sibling of Jacquelyn
Sanchez

Cedric Pitt, Jr., individually, as surviving child of Jacquelyn
Sanchez

James Signer, individually, as surviving sibling of Dianne Signer

JoAnne Romano, individually, as surviving sibling of William
Spitz

Jacqueline Statz, individually, as surviving sibling of Patricia
Statz

Justin Strauss, individually, as surviving child of Edward Strauss

Yolanda Calderon, individually, as surviving sibling of Jorge
Velazquez

Nelson White, Jr., individually, as surviving sibling of Leonard
White

Robert Rawlston White, individually, as surviving sibling of
Leonard White

John Robertson, individually, as surviving sibling of Donald
Robertson, Jr.

Abdo Hashem, individually, as surviving sibling of Peter
Hashem

Chaz Clark, individually, as surviving child of Benjamin K.
Clark

Salvatore DiFazio, individually, as surviving sibling of Vincent


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DiFazio

Teresa Kestenbaum, individually, as surviving sibling of Vincent
DiFazio

Grace Brennan, individually, as surviving sibling of Vincent
DiFazio

Ringo Fernandez, individually, as surviving child of Julio
Fernandez

Edu Umana, individually, as surviving sibling of Sadie Ette

Itauma Ette and Edu Umana as co-Personal Representatives of
the Estate of Sunday Itauma Ette, deceased, the late parent of
Sadie Ette

Edu Umana as Personal Representative of the Estate of Ekaette
Ette, deceased, the late parent of Sadie Ette

Nolton Davis, Jr., individually, as surviving spouse of Ada Davis

Nolton Davis, Jr., as the Personal Representative of the Estate of
Ada Davis, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Ada Davis

Najwah Miceli, individually, as surviving sibling of Peter
Hashem

John Doe 99, being intended to designate the Personal
Representative of the Estate of Peter Hashem, deceased, said
name being fictitious, her/his true name is not presently known,
confirmed, and/or has not been duly appointed by a court of
competent jurisdiction (or having been so appointed, his or her
appointment has expired, and/or he or she has ceased to serve,
and his or her successor has not yet been appointed) and on
behalf of all survivors and all legally entitled beneficiaries and
family members of Peter Hashem

Sabah Hashem-Daher, individually, as surviving sibling of Peter
Hashem

Najat Arsenault, individually, as surviving sibling of Peter
Hashem

Najat Arsenault as Personal Representative of the Estate of Rose

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Sue Hashem, deceased, the late sibling of Peter Hashem

Ryan John Cove, individually, as surviving child of James Cove

Ann Smith, individually, as surviving spouse of Gary Smith

Ann Smith, as the Personal Representative of the Estate of Gary
Smith, deceased, and on behalf of all survivors and all legally
entitled beneficiaries and family members of Gary Smith

Natalie Smith, individually, as surviving child of Gary Smith

Nicole Amato, individually, as surviving child of Gary Smith

Teresa Cheezum, individually, as surviving child of Gary Smith

Kristina Smith, individually, as surviving child of Gary Smith

AnnetteMashburn, individually, as surviving sibling of Gary
Smith

Christine McKee, individually, as surviving sibling of Gary
Smith

Donald Smith, individually, as surviving sibling of Gary Smith

Mark Smith, individually, as surviving sibling of Gary Smith

Annette Mashburn and Mark Smith as Personal Representatives
of the Estate of Dorothy Smith, deceased, the late parent of Gary
Smith

Stephan Smith, individually, as surviving sibling of Gary Smith

Mason Smith, individually, as surviving sibling of Gary Smith

Brian Schrang, individually, as surviving child of Gerard P.
Schrang

Amanda Trerotola, as the Personal Representative of the Estate
of Lisa Trerotola, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Lisa
Trerotola

Elizabeth Trerotola as Personal Representative of the Estate of



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Michael Trerotola, deceased, the late spouse of Lisa Trerotola

Amanda Trerotola, individually, as surviving child of Lisa
Trerotola

Michael L. Trerotola, individually, as surviving child of Lisa
Trerotola

Jacqueline Fanning, individually, as surviving child of John
Fanning

Ryan Fanning, individually, as surviving child of John Fanning

Jeremy Fanning, individually, as surviving child of John Fanning

Tracy Zorpette as Personal Representative of the Estate of
Dorothy Burke, deceased, the late parent of Brooke Rosenbaum

Evan V. Vandommelen-Gonzalez, individually, as surviving
spouse of Mauricio Gonzalez

Sheryl Miller Bechor, as the co-Personal Representative of the
Estate of Philip D. Miller, deceased, and on behalf of all
survivors and all legally entitled beneficiaries and family
members of Philip D. Miller

Robin Davis, individually, as surviving sibling of Edward
Rowenhorst

Jacob Heber, as the Co-Personal Representative of the Estate of
Roberta B. Heber, deceased, and on behalf of all survivors and
all legally entitled beneficiaries and family members of Roberta
B. Heber

William Youmans, as the co-Personal Representative of the
Estate of Suzanne Youmans, deceased, and on behalf of all
survivors and all legally entitled beneficiaries and family
members of Suzanne Youmans

Donna Velazquez, as the co-Personal Representative of the
Estate of Frank V. Moccia, deceased, and on behalf of all
survivors and all legally entitled beneficiaries and family
members of Frank V. Moccia

Andrew Strobert, individually, as surviving sibling of Steven


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Frank Strobert

Helman Correa, individually, as surviving parent of Danny
Correa-Gutierrez

Justin Cook, individually, as surviving child of Helen Cook

Mary Ann Ledee, individually, as surviving spouse of Kenneth
Charles Ledee

Anna Ledee as Personal Representative of the Estate of Carlos
Ledee, deceased, the late parent of Kenneth Charles Ledee

Jamielah Persol, individually, as surviving spouse of DaJuan
Hodges

Diane L. Fredericks, individually, as surviving sibling of Andrew
Fredericks

Nancy Jean Fredericks, individually, as surviving sibling of
Andrew Fredericks

Timothy Kuveikis, individually, as surviving sibling of Thomas
Kuveikis

Christine Peschel, individually, as surviving sibling of Thomas
Kuveikis

Heather Curtin, individually, as surviving child of Michael
Curtin

Lyndsi Nelson, individually, as surviving child of Peter A.
Nelson

Josephine Romito, individually, as surviving spouse of James
Romito

Ellen Romito, individually, as surviving child of James Romito

Emily Mathesen, individually, as surviving child of William
Mathesen

Kathleen Mathesen, individually, as surviving spouse of William
Mathesen

Tracy Rowenhorst, individually, as surviving spouse of Edward

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Rowenhorst

Ashley Brandt, individually, as surviving child of Edward
Rowenhorst

Kaitlyn Rowenhorst, individually, as surviving child of Edward
Rowenhorst

Valerie Caufield, individually, as surviving spouse of Robert
Caufield

Alfred Jeffries, Jr., individually, as surviving sibling of Alva
Jeffries Sanchez

Anne McCloskey as Personal Representative of the Estate of
Richard McCloskey, deceased, the late parent of Katie
McCloskey

Rosie Matricciano-Vetere, individually, as surviving spouse of
Marcellus Matricciano

Nicholas Matricciano, individually, as surviving child of
Marcellus Matricciano

Kathleen Gelman, individually, as surviving sibling of Thomas
Kuveikis

Mary Buss, individually, as surviving sibling of Julie Geis

Mary Buss as Personal Representative of the Estate of Betty
Geis, deceased, the late parent of Julie Geis

Eric Johnson, individually, as surviving spouse of Janice Brown

Lyndsi Nelson as Personal Representative of the Estate of Iris
Nelson, deceased, the late spouse of Peter A. Nelson

Jamie Brito, as the Personal Representative of the Estate of
Victoria Alvarez-Brito, deceased, and on behalf of all survivors
and all legally entitled beneficiaries and family members of
Victoria Alvarez-Brito

Jamie Brito, individually, as surviving child of Victoria Alvarez-
Brito

Jamie Brito as Personal Representative of the Estate of Mario

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Brito, deceased, the late spouse of Victoria Alvarez-Brito

Raul Brito, individually, as surviving child of Victoria Alvarez-
Brito

Lauren Paula Mayer-Beug,, as the Personal Representative of the
Estate of Carolyn Beug, deceased, and on behalf of all survivors
and all legally entitled beneficiaries and family members of
Carolyn Beug

John Doe 152 as Personal Representative of the Estate of John
Beug, deceased, the late spouse of Carolyn Beug

Lindsey Mayer Beug-Wood, individually, as surviving child of
Carolyn Beug

Lauren Paula Mayer-Beug, individually, as surviving child of
Carolyn Beug

Nicholas Mayer, individually, as surviving child of Carolyn
Beug

Beverly Carlone, individually, as surviving spouse of David
Carlone

Beverly Carlone, as the Personal Representative of the Estate of
David Carlone, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of David
Carlone

Jeffrey Fagan, individually, as surviving child of Catherine
Fagan

James Fagan, individually, as surviving child of Catherine Fagan

Susan M. King, as the Personal Representative of the Estate of
Amy King, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Amy King

Susan M. King as Personal Representative of the Estate of
Stewart King, deceased, the late parent of Amy King

Barbara Chucknick, as the Personal Representative of the Estate
of Steven Chucknick, deceased, and on behalf of all survivors
and all legally entitled beneficiaries and family members of


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Steven Chucknick

Barbara Chucknick, individually, as surviving spouse of Steven
Chucknick

Steven Chucknick, individually, as surviving child of Steven
Chucknick

Shweta Khandelwal, as the Personal Representative of the Estate
of Rajesh Khandelwal, deceased, and on behalf of all survivors
and all legally entitled beneficiaries and family members of
Rajesh Khandelwal

Shweta Khandelwal, individually, as surviving spouse of Rajesh
Khandelwal

Shivam Khandelwal, individually, as surviving child of Rajesh
Khandelwal

Joyce Infante, as the Personal Representative of the Estate of
Anthony P. Infante, Jr., deceased, and on behalf of all survivors
and all legally entitled beneficiaries and family members of
Anthony P. Infante, Jr.

Joyce Infante, individually, as surviving spouse of Anthony P.
Infante, Jr.

Marie Costa, individually, as surviving child of Anthony P.
Infante, Jr.

John Infante, individually, as surviving child of Anthony P.
Infante, Jr.

Andrew Infante, individually, as surviving sibling of Anthony P.
Infante, Jr.

Fred Infante, individually, as surviving sibling of Anthony P.
Infante, Jr.

Fred Infante as Personal Representative of the Estate of Elizabeth
Infante, deceased, the late parent of Anthony P. Infante, Jr.

Fred Infante as Personal Representative of the Estate of Anthony
P. Infante, Sr., deceased, the late parent of Anthony P. Infante, Jr.



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Rokshana Miah, individually, as surviving sibling of Nurul Miah

Nur M. Miah, individually, as surviving sibling of Nurul Miah

Shewely Miah, individually, as surviving sibling of Nurul Miah

Nurunnahar Miah, individually, as surviving parent of Nurul
Miah

Lorraine Nedell, as the Personal Representative of the Estate of
Laurence Nedell, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Laurence
Nedell

Lorraine Nedell, individually, as surviving spouse of Laurence
Nedell

Jennie Nedell, individually, as surviving child of Laurence
Nedell

Laura Nedell, individually, as surviving child of Laurence Nedell

Rhea Shome, individually, as surviving spouse of Mukul Kumar
Agarwala

Loubertha Williams, as the Personal Representative of the Estate
of Jacqueline Young, deceased, and on behalf of all survivors
and all legally entitled beneficiaries and family members of
Jacqueline Young

Loubertha Williams, individually, as surviving parent of
Jacqueline Young

Terrance Young, individually, as surviving sibling of Jacqueline
Young

James McKenly, individually, as surviving sibling of Jacqueline
Young

Derrick McKenly, individually, as surviving sibling of
Jacqueline Young

Theresa Russo-Kempf, individually, as surviving spouse of
Michael Russo

Michael Thomas Russo Jr., individually, as surviving child of

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Michael Russo

Dolores Jane Russo as Personal Representative of the Estate of
Anthony S. Russo, deceased, the late parent of Michael Russo

Nur M. Miah, as the co-Personal Representative of the Estate of
Nurul Miah, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Nurul Miah

Patricia McCarthy as Personal Representative of the Estate of
Thomas P. McAvinue, deceased, the late parent of Donna Clarke

Aaron Antigua, individually, as surviving child of Lorraine
Antigua

Caitlin Antigua, individually, as surviving child of Lorraine
Antigua

Josephine Tabick, individually, as surviving sibling of Debra
DiMartino

Sol Newman, individually, as surviving sibling of Debra
DiMartino

Angelo Puma, individually, as surviving sibling of Debra
DiMartino

John Puma, Jr., individually, as surviving sibling of Debra
DiMartino

Rosemary Puma, individually, as surviving sibling of Debra
DiMartino

Joseph Dixon, individually, as surviving parent of DaJuan
Hodges

Tonya Young, individually, as surviving sibling of Lisa Young

April Young, individually, as surviving sibling of Lisa Young

John McLoughlin, individually, as injured person

Manu Dhingra, individually, as injured person

William Jimeno, individually, as injured person


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David LaRoche, individually, as surviving sibling of Deborah
Ramsaur

William Innella, individually, as surviving sibling of Paul Innella

Judith Knight, individually, as surviving sibling of Frank
Wisniewski

Judith Knight as Personal Representative of the Estate of Mary
Wisniewski, deceased, the late parent of Frank Wisniewski

Judith Knight as Personal Representative of the Estate of Vincent
Wisniewski, deceased, the late parent of Frank Wisniewski

Vincent Wisniewski, individually, as surviving sibling of Frank
Wisniewski

Walter William Sezna, individually, as surviving sibling of Davis
Grier Sezna, Jr.

Gail Ingersoll Sezna, as the Personal Representative of the Estate
of Davis Sezna, Jr., deceased, and on behalf of all survivors and
all legally entitled beneficiaries and family members of Davis
Grier Sezna, Jr.

Davis Grier Sezna, individually, as surviving parent of Davis
Grier Sezna, Jr.

Gail Ingersoll Sezna, individually, as surviving parent of Davis
Grier Sezna, Jr.

Suzanne Ledee Garcia, individually, as surviving sibling of
Kenneth Charles Ledee

Masia Shurla Riley, as the Personal Representative of the Estate
of Scott Powell, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Scott Powell

Sydney Ayesha Powell, individually, as surviving child of Scott
Powell

ScottWatkins, individually, as surviving child of Scott Powell

Casey Brent, individually, as surviving child of Scott Powell

Catherine Powell, individually, as surviving parent of Scott

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Powell

Art Powell, individually, as surviving parent of Scott Powell

Kevin Powell, individually, as surviving sibling of Scott Powell

Art Edward Powell, individually, as surviving sibling of Scott
Powell

Shaun Powell, individually, as surviving sibling of Scott Powell

Lisa Powell, individually, as surviving sibling of Scott Powell

Paul Hemenway, individually, as surviving sibling of Ronald J.
Hemenway

Wilton White and Artricia McClure as co-Personal
Representatives of the Estate of William Woolen, deceased, the
late parent of Tamara Thurman

Amanda Ruddle, individually, as surviving child of David
Ruddle

John Doe 116, being intended to designate the Personal
Representative of the Estate of David Ruddle, deceased, said
name being fictitious, her/his true name is not presently known,
confirmed, and/or has not been duly appointed by a court of
competent jurisdiction (or having been so appointed, his or her
appointment has expired, and/or he or she has ceased to serve,
and his or her successor has not yet been appointed) and on
behalf of all survivors and all legally entitled beneficiaries and
family members of David Ruddle

Jessica Mathesen, individually, as surviving child of William
Mathesen

Marcus Fields, individually, as surviving sibling of Samuel
Fields

Angela Eacobacci, individually, as surviving parent of Joseph
Eacobacci

Thomas Eacobacci,as Personal Representative of the Estate of
Joseph Eacobacci, deceased, and on behalf of all survivors and
all legally entitled beneficiaries and family members of Joseph


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Eacobacci

Lidia Alvarez, as the Personal Representative of the Estate of
Juan Pablo Alvarez Cisneros, deceased, and on behalf of all
survivors and all legally entitled beneficiaries and family
members of Juan Pablo Alvarez Cisneros

Alfonso Cisneros, individually, as surviving parent of Juan Pablo
Alvarez Cisneros

Lidia Alvarez, individually, as surviving parent of Juan Pablo
Alvarez Cisneros

Gillian Gransaull-Joseph, as the Personal Representative of the
Estate of Stephen Joseph, deceased, and on behalf of all
survivors and all legally entitled beneficiaries and family
members of Stephen Joseph

Gillian Gransaull-Joseph, individually, as surviving spouse of
Stephen Joseph

Tristan Joseph, individually, as surviving child of Stephen
Joseph

Jorge Montoya, as the Co-Personal Representative of the Estate
of Antonio Montoya, deceased, and on behalf of all survivors
and all legally entitled beneficiaries and family members of
Antonio Montoya

Thomas Fehling, individually, as surviving sibling of Lee
Fehling

Joan Bischoff, individually, as surviving parent of Lee Fehling

James Fehling, individually, as surviving sibling of Lee Fehling

Danielle Fehling-Wasnieski, as the Personal Representative of
the Estate of Lee Fehling, deceased, and on behalf of all
survivors and all legally entitled beneficiaries and family
members of Lee Fehling

Danielle Fehling-Wasnieski, individually, as surviving spouse of
Lee Fehling

Kaitlin Fehling, individually, as surviving child of Lee Fehling


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Megan Fehling, individually, as surviving child of Lee Fehling

Gayle Regan, as the Personal Representative of the Estate of
Thomas Regan, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Thomas
Regan

Gayle Regan, individually, as surviving spouse of Thomas Regan

Allaistar Regan, individually, as surviving child of Thomas
Regan

Connor Regan, individually, as surviving child of Thomas Regan

Page Dantzler Dickerson, as the Personal Representative of the
Estate of Jerry Dickerson, deceased, and on behalf of all
survivors and all legally entitled beneficiaries and family
members of Jerry Dickerson

Page Dantzler Dickerson, individually, as surviving spouse of
Jerry Dickerson

Elizabeth Bailey Dickerson, individually, as surviving child of
Jerry Dickerson

William Dickerson, individually, as surviving child of Jerry
Dickerson

Lisa A. Schunk, as the Co-Personal Representative of the Estate
of Edward W. Schunk, deceased, and on behalf of all survivors
and all legally entitled beneficiaries and family members of
Edward W. Schunk

Ana Cisneros, individually, as surviving sibling of Juan Pablo
Alvarez Cisneros

Anne Lynn Hayashi, as the Personal Representative of the Estate
of Stuart (Soo-Jin) Lee, deceased, and on behalf of all survivors
and all legally entitled beneficiaries and family members of
Stuart (Soo-Jin) Lee

Anne Lynn Hayashi, individually, as surviving spouse of Stuart
(Soo-Jin) Lee

Bradley D. Noack, individually, as surviving spouse of Katherine


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McGarry Noack

Joseph E. Jurgens, individually, as surviving parent of Thomas
Edward Jurgens

Jessica Lynn Jurgens, individually, as surviving sibling of
Thomas Edward Jurgens

Joseph B. Jurgens, individually, as surviving sibling of Thomas
Edward Jurgens

Mitchell Eacobacci, individually, as surviving parent of Joseph
Eacobacci

Lynda T. Scarcella, as the Personal Representative of the Estate
of Paul Fiori, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Paul Fiori

Lynda T. Scarcella, individually, as surviving spouse of Paul
Fiori

Brittley Wise, as the Personal Representative of the Estate of
Richard Salinardi, Jr., deceased, and on behalf of all survivors
and all legally entitled beneficiaries and family members of
Richard Salinardi, Jr.

Brittley Wise, individually, as surviving spouse of Richard
Salinardi, Jr.

Edith Skrzypek, as the Personal Representative of the Estate of
Paul Skrzypek, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of
Paul Skrzypek

Albert Skrzypek, individually, as surviving parent of
Paul Skrzypek

Edith Skrzypek, individually, as surviving parent of
Paul Skrzypek

Laura Kingsbury, individually, as surviving sibling of
Paul Skrzypek

Nicole Brathwaite-Dingle, as the Personal Representative of the
Estate of Jeffrey Dingle, deceased, and on behalf of all survivors
and all legally entitled beneficiaries and family members of

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Jeffrey Dingle

Nicole Brathwaite-Dingle, individually, as surviving spouse of
Jeffrey Dingle

Jassiem Dingle, individually, as surviving child of Jeffrey Dingle

Nia Dingle, individually, as surviving child of Jeffrey Dingle

John Doe 126, being intended to designate the Personal
Representative of the Estate of Thomas E. Jurgens, deceased,
said name being fictitious, her/his true name is not presently
known, confirmed, and/or has not been duly appointed by a court
of competent jurisdiction (or having been so appointed, his or her
appointment has expired, and/or he or she has ceased to serve,
and his or her successor has not yet been appointed) and on
behalf of all survivors and all legally entitled beneficiaries and
family members of Thomas E. Jurgens

Cynthia Gomes, as Personal Representative of the Estate of
Dennis J. Gomes, deceased, on behalf of the Estate and on behalf
of all survivors and all legally entitled beneficiaries and family
members of Dennis J. Gomes
Lorna D. Lamana, as Personal Representative of the Estate of
Michael S. Lamana, deceased, on behalf of the Estate and on
behalf of all survivors and all legally entitled beneficiaries and
family members of Michael S. Lamana
John Doe 129 being intended to designate the Personal
Representative of the Estate of John G. Scharf, deceased, said
name being fictitious, her/his true name is not presently known,
confirmed, and/or has not been duly appointed by a court of
competent jurisdiction (or having been so appointed, his or her
appointment has expired, and/or he or she has ceased to serve,
and his or her successor has not yet been appointed), on behalf of
the Estate and on behalf of all survivors and all legally entitled
beneficiaries and family members of John G. Scharf

Ariel Martinez, individually, as surviving child of Betsy
Martinez

Carlos G. Albert, individually, as surviving sibling of Ayleen J.
Santiago

John Doe 130 being intended to designate the Personal

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Representative of the Estate of Rosemarie Carlson, deceased,
said name being fictitious, her/his true name is not presently
known, confirmed, and/or has not been duly appointed by a court
of competent jurisdiction (or having been so appointed, his or her
appointment has expired, and/or he or she has ceased to serve,
and his or her successor has not yet been appointed) and on
behalf of all survivors and all legally entitled beneficiaries and
family members of Rosemarie C. Carlson

John Doe 131 being intended to designate the Personal
Representative of the Estate of Ayleen Santiago, deceased, said
name being fictitious, her/his true name is not presently known,
confirmed, and/or has not been duly appointed by a court of
competent jurisdiction (or having been so appointed, his or her
appointment has expired, and/or he or she has ceased to serve,
and his or her successor has not yet been appointed) and on
behalf of all survivors and all legally entitled beneficiaries and
family members of Ayleen J. Santiago

Stefanie Oliva, as the Personal Representative of the Estate of
Alex Ciccone, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Alex F.
Ciccone

Stefanie Oliva, individually, as surviving spouse of Alex F.
Ciccone

John G. Duffy as the Personal Representative of the Estate of
Christopher Duffy, deceased, and on behalf of all survivors and
all legally entitled beneficiaries and family members of
Christopher Duffy

John G. Duffy, individually, as surviving parent of Christopher
Duffy

Kathleen Langan, individually, as surviving parent of
Christopher Duffy

Kevin Duffy, individually, as surviving sibling of Christopher
Duffy

Dennis Ketcham as the Personal Representative of the Estate of
Douglas Ketcham, deceased, and on behalf of all survivors and
all legally entitled beneficiaries and family members of Douglas


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D. Ketcham

Dennis Ketcham, individually, as surviving parent of Douglas D.
Ketcham

Denyse D. Kruse, as Personal Representative of the Estate of
Raenell Ketcham deceased, the late parent of Douglas D.
Ketcham

Denyse D. Kruse, individually, as surviving sibling of Douglas
D. Ketcham

Michael R. Kuo, individually, as surviving child of Frederick
Kuo, Jr.

Dean Taylor, individually, as surviving sibling of    Kip P.
Taylor

John Luke Taylor, individually, as surviving child of Kip P.
Taylor

Dean Ross Taylor, individually, as surviving child of Kip P.
Taylor

Kay Ann Taylor, individually, as surviving parent of Kip P.
Taylor

Ann Marie Taylor individually, as surviving sibling of Kip P.
Taylor

Vera Schleeter as the Personal Representative of the Estate of
Kip P. Taylor, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Kip P.
Taylor

Vera Schleeter as Personal Representative of the Estate of Nancy
Taylor deceased, the late spouse of Kip P. Taylor

John Doe 132 being intended to designate the Personal
Representative of the Estate of Myrna T. Maldonado-Agosto,
deceased, said name being fictitious, her/his true name is not
presently known, confirmed, and/or has not been duly appointed
by a court of competent jurisdiction (or having been so
appointed, his or her appointment has expired, and/or he or she
has ceased to serve, and his or her successor has not yet been
appointed) and on behalf of all survivors and all legally entitled

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beneficiaries and family members of Myrna T. Maldonado-
Agosto

Michael Kuo as the Personal Representative of the Estate of
Frederick Kuo, Jr., deceased, on behalf of the Estate and on
behalf of all survivors and all legally entitled beneficiaries and
family members of Frederick Kuo, Jr

Linda Pohlmann, as Personal Representative of the Estate of
William Howard Pohlmann, deceased, and on behalf of all
survivors and all legally entitled beneficiaries and family
members of William Howard Pohlmann

Valada B. Penny as the Personal Representative of the Estate of
Richard Penny, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Richard
Penny

Valada B. Penny, individually, as surviving spouse of Richard
Penny

Richard Penny, individually, as surviving child of Richard Penny

Eve Bucca as the Personal Representative of the Estate of Ronald
P. Bucca, deceased, and on behalf of all survivors and all legally
entitled beneficiaries and family members of Ronald P. Bucca

Eve Bucca, individually, as surviving spouse of Ronald P. Bucca

Ronald Bucca, individually, as surviving child of Ronald P.
Bucca

Thomas Kelleher as the Personal Representative of the Estate of
Stephen Roach, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Stephen
Roach

Caitlin Duffy Meloy, individually, as surviving sibling of
Christopher Duffy

Angelina Jimenez as the Personal Representative of the Estate of
Elena Ledesma, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Elena
Ledesma

Angelina Jimenez, individually, as surviving child of Elena

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Ledesma

Shanhellen Jimenez, individually, as surviving child of Elena
Ledesma

Elizabeth Rick as the Personal Representative of the Estate of
Scott Bart, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Scott Bart

Elizabeth Rick, individually, as surviving spouse of Scott Bart

Jessica Bucca-Hughes, individually, as surviving child of Ronald
P. Bucca

Alfred R. Bucca, individually, as surviving sibling of Ronald P.
Bucca

Robert Bucca, individually, as surviving sibling of Ronald P.
Bucca

Astrid Bucca, individually, as surviving sibling of   Ronald P.
Bucca

Astrid Bucca as Personal Representative of the Estate of Joseph
Bucca deceased, the late parent of Ronald P. Bucca

Brian Duffy, individually, as surviving sibling of Christopher
Duffy

Kara Mylod, individually, as surviving sibling of Christopher
Duffy

Adriana Fiori, individually, as surviving child of Paul Fiori

Debbi Fiori, individually, as surviving child of Paul Fiori

Cynthia M. Gomes, individually, as surviving spouse of Dennis
James Gomes

Mackenzie Gomes, individually, as surviving child of Dennis
James Gomes

Isabel Roach, individually, as surviving spouse of Stephen Roach

Mackenzie Roach, individually, as surviving child of Stephen


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Roach

Eileen Roach, individually, as surviving child of Stephen Roach

Stephen Roach, Jr., individually, as surviving child of Stephen
Roach

Amy Mulderry as the Co-Personal Representative of the Estate
of Stephen Mulderry, deceased, and on behalf of all survivors
and all legally entitled beneficiaries and family members of
Stephen Mulderry

Anne M. Mulderry, individually, as surviving parent of Stephen
Mulderry

Darra Mulderry, individually, as surviving sibling of Stephen
Mulderry

Daniel Mulderry, individually, as surviving sibling of Stephen
Mulderry

Andrew Mulderry, individually, as surviving sibling of Stephen
Mulderry

Peter Mulderry, individually, as surviving sibling of Stephen
Mulderry

Amy Mulderry, individually, as surviving sibling of Stephen
Mulderry

Amy Mulderry as Personal Representative of the Estate of
William Mulderry deceased, the late parent of Stephen Mulderry

Anne C. Mulderry, individually, as surviving sibling of Stephen
Mulderry

William J. Mulderry, individually, as surviving sibling of
Stephen Mulderry

Anthony J. Alvarado, individually, as surviving child of Anthony
Alvarado

Jeannette Ramos, as the Personal Representative of the Estate of
Anthony Alvarado, deceased, and on behalf of all survivors and
all legally entitled beneficiaries and family members of Anthony


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Alvarado

June Pietruszkiewicz as the Personal Representative of the Estate
of James Suozzo, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of James
Suozzo

June Pietruszkiewicz, individually, as surviving spouse of James
Suozzo

Timothy Suozzo, individually, as surviving child of James
Suozzo

Alexander Suozzo, individually, as surviving child of James
Suozzo

Andrew Morris, as the co-Personal Representative of the Estate
of Stephen Philip Morris, deceased, and on behalf of all
survivors and all legally entitled beneficiaries and family
members of Stephen Philip Morris

Katherine Collier and Andrew Morris, as the co-Personal
Representatives of the Estate of Philip L. Morris, deceased, the
late parent of Stephen Philip Morris

Katherine Collier, individually, as surviving sibling of Stephen
Philip Morris

Andrew Morris, individually, as surviving sibling of Stephen
Philip Morris

Maribeth Eccleston, individually, as surviving sibling of Terence
McShane

Linda Pohlmann, individually, as surviving spouse of William H.
Pohlmann

Peter Mulderry, as the co-Personal Representative of the Estate
of Stephen Mulderry, deceased, and on behalf of all survivors
and all legally entitled beneficiaries and family members of
Stephen Mulderry

Patricia Paul, individually, as surviving spouse of James Paul

Monique Kerman, individually, as surviving child of James Paul


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Danielle Ridley, individually, as surviving child of James Paul

Brian Weaver and Michael Weaver as Co-Personal
Representatives of the Estate of Joan Weaver, deceased, the late
parent of Walter Weaver

Brian Weaver as the Personal Representative of the Estate of
Walter Weaver, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Walter
Weaver

Marisa John, individually, as surviving child of Charles Gregory
John

Greffery John, individually, as surviving child of Charles
Gregory John

Gregory John, individually, as surviving child of Charles
Gregory John

Luis Revilla, Jr., individually, as surviving child of Luis
Clodoaldo Revilla Mier

Michael Revilla, individually, as surviving child of Luis
Clodoaldo Revilla Mier

Wilton White, individually, as surviving sibling of Tamara
Thurman

Artricia McClure, individually, as surviving sibling of Tamara
Thurman

Michael Weaver, individually, the surviving sibling of Walter
Weaver

Brian Weaver and Michael Weaver, as Co-Personal
Representatives of the Estate of William Weaver, deceased, the
late parent of Walter Weaver

Simone Taylor, individually, as surviving child of Donnie Taylor

Tameeka Taylor as Personal Representative of Estate of Donnie
Taylor, Jr. individually, deceased, the late child of Donnie Taylor

Paul Britton as the Personal Representative of the Estate of
Marion Britton, deceased, and on behalf of all survivors and all

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legally entitled beneficiaries and family members of Marion
Britton

Paul Britton, individually, as surviving sibling of Marion Britton

Stephen Ciccone, individually, as surviving child of Alex
Ciccone

Julia Ciccone, individually, as surviving child of Alex Ciccone

Shari Tolbert, individually, as surviving spouse of Otis Tolbert

Brittany Tolbert, individually, as surviving child of Otis Tolbert

Amanda Tolbert, individually, as surviving child of Otis Tolbert

Anthony Tolbert, individually, as surviving child of Otis
TolbertRaymond Pena, individually, as surviving child of
Raymond York

Paulina Cardona, as the Personal Representative of the Estate of
Jose Cardona, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Jose
Cardona

Paulina Cardona, individually, as surviving spouse of Jose
Cardona

Joshua Cardona, individually, as surviving child of Jose Cardona

Kelly Weightman Diaz-Piedra, as the Personal Representative of
the Estate of Michael Diaz-Piedra, deceased, and on behalf of all
survivors and all legally entitled beneficiaries and family
members of Michael Diaz-Piedra

Kelly Weightman Diaz-Piedra, individually, as surviving spouse
of Michael Diaz-Piedra

Michael Diaz-Piedra, individually, as surviving child of Michael
Diaz-Piedra

Thomas Diaz-Piedra, individually, as surviving child of Michael
Diaz-Piedra

Petrolina Sencion, individually, as surviving parent of Maxima


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Jean-Pierre

Monique Somervell, individually, as surviving child of Michael
Diaz-Piedra

John Doe 133, being intended to designate the Personal
Representative of the Estate of Edward Strauss, deceased, said
name being fictitious, her/his true name is not presently known,
confirmed, and/or has not been duly appointed by a court of
competent jurisdiction (or having been so appointed, his or her
appointment has expired, and/or he or she has ceased to serve,
and his or her successor has not yet been appointed), on behalf of
the Estate and on behalf of all survivors and all legally entitled
beneficiaries and family members of Edward Strauss

John Doe 134, being intended to designate the Personal
Representative of the Estate of Mukul Kumar Agarwala,
deceased, said name being fictitious, her/his true name is not
presently known, confirmed, and/or has not been duly appointed
by a court of competent jurisdiction (or having been so
appointed, his or her appointment has expired, and/or he or she
has ceased to serve, and his or her successor has not yet been
appointed), on behalf of the Estate and on behalf of all survivors
and all legally entitled beneficiaries and family members of
Mukul Kumar Agarwala

Kristen Graf, as the Personal Representative of the Estate of
Edwin J. Graf, III, deceased, and on behalf of all survivors and
all legally entitled beneficiaries and family members of Edwin J.
Graf, III

Nicky Santiago, individually, as surviving spouse of Giovanna
Porras

Rafael Espinal, individually, as surviving sibling of Jose Espinal

Maria Elena Santana, individually, as surviving sibling of Jose
Espinal

Maria Altagracia Espinal, individually, as surviving sibling of
Jose Espinal

Josefina Blanchard, individually, as surviving sibling of Jose
Espinal


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Flordaliza Espinal, individually, as surviving sibling of Jose
Espinal

Moises Espinal, individually, as surviving sibling of Jose Espinal

Jasmine Espinal, individually, as surviving child of Jose Espinal

Maria Alayo Aguilar, as the Personal Representative of the
Estate of Jose Espinal, deceased, and on behalf of all survivors
and all legally entitled beneficiaries and family members of Jose
Espinal

Lisa DeRienzo, as the Personal Representative of the Estate of
Michael DeRienzo, deceased, and on behalf of all survivors and
all legally entitled beneficiaries and family members of Michael
DeRienzo

Lisa DeRienzo, individually, as surviving sibling of Michael
DeRienzo

Juanita Freeman, as the co-Personal Representative of the Estate
of Tamitha Freeman, deceased, and on behalf of all survivors and
all legally entitled beneficiaries and family members of Tamitha
Freeman

Ayleen Arroyo, individually, as surviving child of Ayleen
Santiago

George J. Santiago, individually, as surviving child of Ayleen
Santiago

Ayleen Arroyo and George J. Santiago, as Co-Personal
Representatives of George Santiago, deceased, the late spouse of
Ayleen Santiago

Alana McKenzie, as the Personal Representative of the Estate of
Molly McKenzie, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Molly
McKenzie

Alana McKenzie, individually, as surviving child of Molly
McKenzie

Rebecca Shum, as the Personal Representative of the Estate of
See Wong Shum, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of See Wong

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Shum

Rebecca Shum, individually, as surviving spouse of See Wong
Shum

Leon Shum, individually, as surviving child of See Wong Shum

Chanel Shum, individually, as surviving child of See Wong
Shum

Celestine Kone, as the Personal Representative of the Estate of
Abdoulaye Kone, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Abdoulaye
Kone

Celestine Kone, individually, as surviving spouse of Abdoulaye
Kone

Lacina Kone, individually, as surviving child of Abdoulaye
Kone

Mama Kone, individually, as surviving child of Abdoulaye Kone

John Doe 140, being intended to designate the Personal
Representative of the Estate of Darya Lin, deceased, said name
being fictitious, her/his true name is not presently known,
confirmed, and/or has not been duly appointed by a court of
competent jurisdiction (or having been so appointed, his or her
appointment has expired, and/or he or she has ceased to serve,
and his or her successor has not yet been appointed) and on
behalf of all survivors and all legally entitled beneficiaries and
family members of Darya Lin

Lea McKenzie, individually, as surviving child of Molly
McKenzie

Joyce Grant, as the Personal Representative of the Estate of
Winston Grant, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Winston
Grant

Joyce Grant, individually, as surviving spouse of Winston Grant

Winston Grant II, individually, as surviving child of Winston
Grant


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John Doe 144, as Personal Representative of the Estate of Joya
Grant, deceased, the late child of Winston Grant

Georgette Conroy, as the Personal Representative of the Estate of
Kevin Conroy, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Kevin
Conroy

Georgette Conroy, individually, as surviving spouse of Kevin
Conroy

Matthew Conroy, individually, as surviving child of Kevin
Conroy

Jamie Conroy, individually, as surviving child of Kevin Conroy

Christine Kelly, individually, as surviving child of Kevin Conroy

Jill Conroy, individually, as surviving child of Kevin Conroy

Ursula Andrus, as the Personal Representative of the Estate of
Norbert Szurkowski, deceased, and on behalf of all survivors and
all legally entitled beneficiaries and family members of Norbert
Szurkowski

Ursula Andrus, individually, as surviving spouse of Norbert
Szurkowski

Alexandra Szurkowski, individually, as surviving child of
Norbert Szurkowski

Claudia Szurkowski, individually, as surviving child of Norbert
Szurkowski

Casey (Clarke) DeBaecke, as the Personal Representative of the
Estate of Christopher Clarke, deceased, and on behalf of all
survivors and all legally entitled beneficiaries and family
members of Christopher Clarke

Casey (Clarke) DeBaecke, individually, as surviving spouse of
Christopher Clarke

Diane Inghilterra, as the Personal Representative of the Estate of
Louis Inghilterra, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Louis


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Inghilterra

Diane Inghilterra individually, as surviving spouse of Louis
Inghilterra

Louis Sam Inghilterra, individually, as surviving child of Louis
Inghilterra

John Doe 143, being intended to designate the Personal
Representative of the Estate of Stanley McCaskill, deceased, said
name being fictitious, her/his true name is not presently known,
confirmed, and/or has not been duly appointed by a court of
competent jurisdiction (or having been so appointed, his or her
appointment has expired, and/or he or she has ceased to serve,
and his or her successor has not yet been appointed) and on
behalf of all survivors and all legally entitled beneficiaries and
family members of Stanley McCaskill

Kevin Joseph Collin, individually, as surviving sibling of Jean
Marie Collin

Kathleen Raney, individually, as surviving sibling of Jean Marie
Collin

John Doe 141, being intended to designate the Personal
Representative of the Estate of Jean Marie Collin, deceased, said
name being fictitious, her/his true name is not presently known,
confirmed, and/or has not been duly appointed by a court of
competent jurisdiction (or having been so appointed, his or her
appointment has expired, and/or he or she has ceased to serve,
and his or her successor has not yet been appointed) and on
behalf of all survivors and all legally entitled beneficiaries and
family members of Jean Marie Collin

John Doe 142, being intended to designate the Personal
Representative of the Estate of Charlotte Griebel, deceased, said
name being fictitious, her/his true name is not presently known,
confirmed, and/or has not been duly appointed by a court of
competent jurisdiction (or having been so appointed, his or her
appointment has expired, and/or he or she has ceased to serve,
and his or her successor has not yet been appointed) the late
parent of Jean Marie Collin

Sarah Sopher, individually, as surviving child of Edwin J. Graf,


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Tamatha Patterson as the Personal Representative of the Estate of
Clifford Patterson, Jr., deceased, and on behalf of all survivors
and all legally entitled beneficiaries and family members of
Clifford L. Patterson, Jr.

Tamatha Patterson individually, as surviving spouse of Clifford
L. Patterson, Jr.

Clifford L. Patterson III individually, as surviving child of
Clifford L. Patterson, Jr.

Benjamin Cody Patterson individually, as surviving child of
Clifford L. Patterson, Jr.

Clifford Patterson individually, as surviving parent of Clifford L.
Patterson, Jr.

Sandra Wheeler Patterson individually, as surviving parent of
Clifford L. Patterson, Jr. and,
Edwardo Mendoza as the Personal Representative of the Estate
of Lizette Mendoza, deceased, and on behalf of all survivors and
all legally entitled beneficiaries and family members of Lizette
Mendoza
Wil-Justin Ojeda individually, as surviving child of Lizette
Mendoza
Deborah Ivory, as the Personal Representative of the Estate of
Lacey B. Ivory, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Lacey B.
Ivory
Deborah Ivory, individually, as surviving spouse of Lacey B.
Ivory
Rashida Ivory, individually, as surviving child of Lacey B. Ivory
Quawana Rodriguez, individually, as surviving child of Lacey B.
Ivory
Raymond Sanchez, Jr., individually, as surviving child of
Raymond Sanchez
Russ F. Jellinek, Esq., as the Personal Representative of the
Estate of Timothy Langer, deceased, the late spouse of Vanessa
Lang Langer
Lorna Moringiello, individually, as surviving spouse of Michael
S. Lamana


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Kimmy Chedel, as the Personal Representative of the Estate of
Frank Doyle, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Frank Doyle

Kimmy Chedel, individually, as surviving spouse of Frank Doyle

Zoe Doyle, individually, as surviving child of Frank Doyle

Garrett Doyle, individually, as surviving child of Frank Doyle

Leo Andreacchio, individually, as surviving sibling of John
Andreacchio

John Doe 137, being intended to designate the Personal
Representative of the Estate of John Andreacchio, deceased, said
name being fictitious, her/his true name is not presently known,
confirmed, and/or has not been duly appointed by a court of
competent jurisdiction (or having been so appointed, his or her
appointment has expired, and/or he or she has ceased to serve,
and his or her successor has not yet been appointed) and on
behalf of all survivors and all legally entitled beneficiaries and
family members of John Andreacchio

John Doe 138, being intended to designate the Personal
Representative of the Estate of Elaine Greenberg, deceased, said
name being fictitious, her/his true name is not presently known,
confirmed, and/or has not been duly appointed by a court of
competent jurisdiction (or having been so appointed, his or her
appointment has expired, and/or he or she has ceased to serve,
and his or her successor has not yet been appointed) and on
behalf of all survivors and all legally entitled beneficiaries and
family members of Elaine Greenberg

Estelle Pershep, as the Personal Representative of the Estate of
Franklin Pershep, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Franklin
Pershep

Estelle Pershep, individually, as surviving spouse of Franklin
Pershep

Stacy Paolozzi, individually, as surviving child of Franklin
Pershep

John Doe 145, as Personal Representative of the Estate of Sharyn

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Fine, deceased, the late child of Franklin Pershep

Betty Woods as the Personal Representative of the Estate of
Marvin Woods, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Marvin
Woods

Betty Woods, individually, as surviving spouse of Marvin
Woods

James Woods, individually, as surviving child of Marvin Woods

Jennifer Nicosia, individually, as surviving child of Marvin
Woods

John Doe 139, being intended to designate the Personal
Representative of the Estate of Yamel Merino, deceased, said
name being fictitious, her/his true name is not presently known,
confirmed, and/or has not been duly appointed by a court of
competent jurisdiction (or having been so appointed, his or her
appointment has expired, and/or he or she has ceased to serve,
and his or her successor has not yet been appointed) and on
behalf of all survivors and all legally entitled beneficiaries and
family members of Yamel Merino

Kevin Merino, individually, as surviving child of Yamel Merino

Rolando Mendoza, Sr., individually, as surviving spouse of
Lizette Mendoza

Rolando Mendoza, Jr., individually, as surviving child of Lizette
Mendoza

Wilfredo Agosto, individually, as surviving spouse of Myrna
Maldonado-Agosto

Momo Scharf, individually, as surviving child of John Scharf

Andrew C. Kelly, as the Personal Representative of the Estate of
Maurice Kelly, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Maurice
Kelly

Danielle Kelly, individually, as surviving child of Maurice Kelly



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Thomas Kelly, individually, as surviving child of Maurice Kelly

Danielle Kelly as the Personal Representative of the Estate of
Sean Kelly, deceased, the late child of Maurice Kelly

Sarah Cherry as the Personal Representative of the Estate of
Douglas Cherry, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Douglas
Cherry

Sarah Cherry, individually, as surviving spouse of Douglas
Cherry

Emma Cherry, individually, as surviving child of Douglas
Cherry

Isabel Cherry, individually, as surviving child of Douglas Cherry

John Cherry, individually, as surviving child of Douglas Cherry

Gladys Lopez as the Personal Representative of the Estate of
Luis Manuel, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Luis Lopez

Gladys Lopez, individually, as surviving spouse of Luis Lopez

Lester Fortuna, individually, as surviving child of Luis Lopez

Heily Fortuna, individually, as surviving child of Luis Lopez

Patricia Fennelly, individually, as surviving sibling of Robert
Caufield

Justin Rodriguez, individually, as surviving child of Anthony
Rodriguez

Michael Reynolds, individually, as surviving child of Anthony
Rodriguez

Catherine Allen, individually, as surviving child of John Hartz
John Hartz, Jr., individually, as surviving child of John Hartz
Jaimenys Taveras, individually, as surviving child of Manuel De
Jesus Molina
Jaimercedes Taveras, individually, as surviving child of Manuel


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De Jesus Molina
Jaimelin Taveras, individually, as surviving child of Manuel De
Jesus Molina

Alfredo Bordenabe as the Personal Representative of the Estate
of Krystine Bordenabe, deceased, and on behalf of all survivors
and all legally entitled beneficiaries and family members of
Krystine Bordenabe

Alfredo Bordenabe, individually, as surviving spouse of Krystine
Bordenabe

Andrew Godsil, individually, as surviving child of Krystine
Bordenabe

William Carson, individually, as surviving sibling of James
Carson, Jr.

Stephen Carson, individually, as surviving sibling of James
Carson, Jr.

John Doe 154 as the Personal Representative of the Estate of
Thomas Galvin, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Thomas
Galvin

Diverra M. Galvin, individually, as surviving parent of Thomas
Galvin

John M. Galvin, individually, as surviving parent of Thomas
Galvin

Lynn M. Galvin, individually, as surviving sibling of Thomas
Galvin

Kathy G. Callahan, individually, as surviving sibling of Thomas
Galvin

John M. Galvin Jr., individually, as surviving sibling of Thomas
Galvin

Deborah Forde, as the co-Personal Representative of the Estate
of Godwin Forde, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Godwin


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Forde

Deborah Forde, individually, as surviving spouse of Godwin
Forde

Kai Thompson Hernandez, individually, as surviving spouse of
Glenn Thompson

Kai Thompson Hernandez, as the Personal Representative of the
Estate of Glenn Thompson, deceased, and on behalf of all
survivors and all legally entitled beneficiaries and family
members of Glenn Thompson

Grace Salinardi, individually, as surviving parent of Richard
Salinardi, Jr.

Grace Salinardi and Jason Salinardi as Co- Personal
Representatives of the Estate of Richard Salinardi, deceased, the
late parent of Richard Salinardi, Jr.

Jason Salinardi, individually, as surviving sibling of Richard
Salinardi, Jr.

Jayme Salinardi, individually, as surviving sibling of Richard
Salinardi, Jr.

Debra Roberts, as the Personal Representative of the Estate of
Leo Roberts, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Leo Roberts

Debra Roberts, individually, as surviving spouse of Leo Roberts

Michael Roberts, individually, as surviving child of Leo Roberts

Jeffrey Roberts, individually, as surviving child of Leo Roberts

Daniel Roberts, individually, as surviving child of Leo Roberts

Taylor Roberts, individually, as surviving child of Leo Roberts

KREINDLER

Colleen Amato, individually, as surviving Sibling of Thomas
Ashton

John Ashton, individually, as surviving Parent of Thomas Ashton

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Kathleen Ashton, as the Personal Representative of the Estate of
Thomas Ashton, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Thomas
Ashton

Kathleen Ashton, individually, as surviving Parent of Thomas
Ashton

Mary Buckley, individually, as surviving Sibling of Thomas
Ashton

Ascension Abad, individually, as surviving Parent of Edelmiro
Abad

Jennifer Abad, individually, as surviving Child of Edelmiro
Abad

Lorraine Abad, as the Personal Representative of the Estate of
Edelmiro Abad, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Edelmiro
Abad

Lorraine Abad, individually, as surviving Spouse of Edelmiro
Abad

Rebecca Abad, individually, as surviving Child of Edelmiro
Abad

Serena Abad, individually, as surviving Child of Edelmiro Abad

Michael J. Adams, individually, as surviving Sibling of Shannon
L. Adams

Kylie Adams-Floyd, individually, as surviving Sibling of
Shannon L. Adams

Gwynetta Hurst Rossi, as the Personal Representative of the
Estate of Shannon L. Adams, deceased, and on behalf of all
survivors and all legally entitled beneficiaries and family
members of Shannon L. Adams

Gwynetta Hurst Rossi, individually, as surviving Parent of
Shannon L. Adams

Mary Elizabeth Adderley, as the Personal Representative of the
Estate of Terence Adderley, Jr., deceased, and on behalf of all
survivors and all legally entitled beneficiaries and family
members of Terence Adderley, Jr.



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Mary Elizabeth Adderley, individually, as surviving Parent of
Terence Adderley, Jr.

Andrew H. Curoe and David M. Hempstead, as the Personal
Representatives of the Estate of Terence Adderley, deceased, the
late Parent of Terence Adderley, Jr.

Carmen Agnes, as the Personal Representative of the Estate of
David Agnes, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of David
Agnes

Carmen Agnes, individually, as surviving Parent of David Agnes

Leslie Werdann, as the Personal Representative of the Estate of
Frank Agnes, deceased, the late Parent of David Agnes

Adrienne Pearl, individually, as surviving Child of David Agnes

Leslie Werdann, individually, as surviving Sibling of David
Agnes

Miltiadis Ahladiotis, as the Personal Representative of the Estate
of Joanne Ahladiotis, deceased, and on behalf of all survivors
and all legally entitled beneficiaries and family members of
Joanne Ahladiotis

Miltiadis Ahladiotis, individually, as surviving Parent of Joanne
Ahladiotis

Effie Ahladiotis-Salloum, individually, as surviving Sibling of
Joanne Ahladiotis

Andre Aiken, individually, as surviving Child of Terrance Aiken

Cassandra Aiken, individually, as surviving Sibling of Terrance
Aiken

Kanian Aiken, individually, as surviving Child of Terrance
Aiken

Michael Aiken, individually, as surviving Sibling of Terrance
Aiken

Terrease Aiken, individually, as surviving Child of Terrance
Aiken

Kecia Aiken-Dorismond, individually, as surviving Sibling of
Terrance Aiken


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Georgia Burgess, individually, as surviving Sibling of Terrance
Aiken

Kimberly Trimingham-Aiken, as the Personal Representative of
the Estate of Terrance Aiken, deceased, and on behalf of all
survivors and all legally entitled beneficiaries and family
members of Terrance Aiken

Kimberly Trimingham-Aiken, individually, as surviving Spouse
of Terrance Aiken

David L. Albert, individually, as surviving Child of Jon L. Albert

Donna L. Albert, as the Personal Representative of the Estate of
Jon L. Albert, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Jon L.
Albert

Donna L. Albert, individually, as surviving Spouse of Jon L.
Albert

Stephen L. Albert, individually, as surviving Child of Jon L.
Albert

Frederick Alger, III and Josephine Alger, as the Personal
Representatives of the Estate of David D. Alger, deceased, and
on behalf of all survivors and all legally entitled beneficiaries
and family members of David D. Alger

Josephine Alger, individually, as surviving Spouse of David D.
Alger

Roxana Alger Geffen, individually, as surviving Child of David
D. Alger

Cristina Alger Wang, individually, as surviving Child of David
D. Alger

Angelica Allen, as the Personal Representative of the Estate of
Eric Allen, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Eric Allen

Angelica Allen, individually, as surviving Spouse of Eric Allen

Kathleen Allen, individually, as surviving Child of Eric Allen

Emily Yarembinsky, individually, as surviving Child of Angelo
Amaranto



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Emily Yarembinsky, as the Personal Representative of the Estate
of Angelo Amaranto, deceased, and on behalf of all survivors
and all legally entitled beneficiaries and family members of
Angelo Amaranto

Ashley Amato, individually, as surviving Child of James M.
Amato

Deborah Amato, as the Personal Representative of the Estate of
James M. Amato, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of James M.
Amato

Deborah Amato, individually, as surviving Spouse of James M.
Amato

Katherine Amato, individually, as surviving Child of James M.
Amato

Sean Amato, individually, as surviving Child of James M. Amato

Tara Amato, individually, as surviving Child of James M. Amato

Laura and Judith Andrucki, as the Personal Representatives of
the Estate of George Andrucki, deceased, the late Parent of Jean
Andrucki

Mary Andrucki, as the Personal Representative of the Estate of
Jean Andrucki, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Jean
Andrucki

Laura Andrucki Izzo, as the Personal Representative of the
Estate of Mary Andrucki, deceased, the late Parent of Jean
Andrucki

Laura Andrucki Izzo, individually, as surviving Sibling of Jean
Andrucki

Anne Angelini, as the Personal Representative of the Estate of
Joseph J. Angelini, Sr., deceased, and on behalf of all survivors
and all legally entitled beneficiaries and family members of
Joseph J. Angelini, Sr.

Michael Angelini, as the Personal Representative of the Estate of
Anne N. Angelini, deceased, the late Spouse of Joseph J.
Angelini, Sr.

Annmarie Angelini, individually, as surviving Child of Joseph J.
Angelini, Sr.

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Mary M. Angelini, individually, as surviving Child of Joseph J.
Angelini, Sr.

Michael P. Angelini, individually, as surviving Child of Joseph J.
Angelini, Sr.

Perry Oretzky, as the Personal Representative of the Estate of
David L. Angell, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of David L.
Angell

Christopher Apostol, individually, as surviving Child of Faustino
Apostol, Jr.

Justin Apostol, individually, as surviving Child of Faustino
Apostol, Jr.

Kathleen Apostol, as the Personal Representative of the Estate of
Faustino Apostol, Jr., deceased, and on behalf of all survivors
and all legally entitled beneficiaries and family members of
Faustino Apostol, Jr.

Kathleen Apostol, individually, as surviving Spouse of Faustino
Apostol, Jr.

Alexander Aranyos, individually, as surviving Parent of Patrick
Aranyos

Stephanie L. Aranyos, individually, as surviving Sibling of
Patrick Aranyos

Winifred Aranyos, individually, as surviving Parent of Patrick
Aranyos

Winifred and Alexander Aranyos, as the Personal
Representatives of the Estate of Patrick Aranyos, deceased, and
on behalf of all survivors and all legally entitled beneficiaries
and family members of Patrick Aranyos

Alexander Paul Aranyos, Jr., individually, as surviving Sibling of
Patrick Aranyos

Margaret Arce, as the Personal Representative of the Estate of
David Arce, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of David Arce

Margaret Arce, individually, as surviving Parent of David Arce

Lori Ann Arczynski, as the Personal Representative of the Estate
of Michael G. Arczynski, deceased, and on behalf of all

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survivors and all legally entitled beneficiaries and family
members of Michael G. Arczynski

Lori Ann Arczynski, individually, as surviving Spouse of
Michael G. Arczynski

Kristen Arestegui, individually, as surviving Sibling of Barbara
Arestegui

Nancy Arestegui, individually, as surviving Sibling of Barbara
Arestegui

Rosie Arestegui, individually, as surviving Parent of Barbara
Arestegui

Sharon Arestegui, individually, as surviving Sibling of Barbara
Arestegui

Vickie Arestegui, as the Personal Representative of the Estate of
Barbara Arestegui, deceased, and on behalf of all survivors and
all legally entitled beneficiaries and family members of Barbara
Arestegui

Vickie Arestegui, individually, as surviving Sibling of Barbara
Arestegui

Vittorio Arestegui, individually, as surviving Parent of Barbara
Arestegui

Margit Arias, as the Personal Representative of the Estate of
Adam P. Arias, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Adam P.
Arias

Valerie Michaels, as the Personal Representative of the Estate of
Margit Mills Arias, deceased, the late Spouse of Adam P. Arias

Evelyn Aron, as the Personal Representative of the Estate of Jack
C. Aron, deceased, and on behalf of all survivors and all legally
entitled beneficiaries and family members of Jack C. Aron

Evelyn Aron, individually, as surviving Spouse of Jack C. Aron

Timothy Aron, individually, as surviving Child of Jack C. Aron

Gregg Atlas, individually, as surviving Child of Gregg A. Atlas

JoAnn Atlas, as the Personal Representative of the Estate of
Gregg A. Atlas, deceased, and on behalf of all survivors and all



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legally entitled beneficiaries and family members of Gregg A.
Atlas

JoAnn Atlas, individually, as surviving Spouse of Gregg A. Atlas

Sarah Atlas, individually, as surviving Child of Gregg A. Atlas

Gerald Atwood, individually, as surviving Child of Gerald T.
Atwood

Margaret Atwood, individually, as surviving Child of Gerald T.
Atwood

Robert Atwood, individually, as surviving Child of Gerald T.
Atwood

Barbara Ann Swat, as the Personal Representative of the Estate
of Gerald T. Atwood, deceased, and on behalf of all survivors
and all legally entitled beneficiaries and family members of
Gerald T. Atwood

Barbara Ann Swat, individually, as surviving Spouse of Gerald
T. Atwood

John Badagliacca, individually, as surviving Child of John
Badagliacca

Nancy Badagliacca, as the Personal Representative of the Estate
of John Badagliacca, deceased, and on behalf of all survivors and
all legally entitled beneficiaries and family members of John
Badagliacca

Nancy Badagliacca, individually, as surviving Spouse of John
Badagliacca

Nikki Badagliacca, individually, as surviving Child of John
Badagliacca

Ava Baksh, individually, as surviving Child of Michael Baksh

Christina Baksh, as the Personal Representative of the Estate of
Michael Baksh, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Michael
Baksh

Christina Baksh, individually, as surviving Spouse of Michael
Baksh

James Baksh, individually, as surviving Child of Michael Baksh



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Joanne Barbara, as the Personal Representative of the Estate of
Gerard Barbara, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Gerard
Barbara

Joanne Barbara, individually, as surviving Spouse of Gerard
Barbara

Paul Barbara, individually, as surviving Child of Gerard Barbara

Caren Villarreal, individually, as surviving Child of Gerard
Barbara

Frank J. Barbella, individually, as surviving Parent of James W.
Barbella

Frank Barbella, individually, as surviving Sibling of James W.
Barbella

James Barbella, individually, as surviving Child of James W.
Barbella

Louis Barbella, individually, as surviving Sibling of James W.
Barbella

Michael Barbella, individually, as surviving Sibling of James W.
Barbella

Monica Barbella, as the Personal Representative of the Estate of
James W. Barbella, deceased, and on behalf of all survivors and
all legally entitled beneficiaries and family members of James
W. Barbella

Monica Barbella, individually, as surviving Spouse of James W.
Barbella

Ruth Barbella, individually, as surviving Parent of James W.
Barbella

Ruth A. Barbella, individually, as surviving Sibling of James W.
Barbella

Sarah Barbella, individually, as surviving Child of James W.
Barbella

Thomas Barbella, individually, as surviving Sibling of James W.
Barbella

Joann Castronovo, individually, as surviving Child of James W.
Barbella

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Dianne Walsh, as the Personal Representative of the Estate of
John Barbuto, deceased, the late Parent of Christine Barbuto

Jeannine Daly, individually, as surviving Sibling of Christine
Barbuto

Dianne M. Walsh, as the Personal Representative of the Estate of
Christine Barbuto, deceased, and on behalf of all survivors and
all legally entitled beneficiaries and family members of Christine
Barbuto

Dianne M. Walsh, individually, as surviving Sibling of Christine
Barbuto

Crystal Barkow, individually, as surviving Stepchild of Colleen
Barkow

Daniel F. Barkow, as the Personal Representative of the Estate of
Colleen Barkow, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Colleen
Barkow

Daniel F. Barkow, individually, as surviving Spouse of Colleen
Barkow

Kayla Barkow, individually, as surviving Stepchild of Colleen
Barkow

Ethan Baron, individually, as surviving Child of Evan J. Baron

Jeannine P. Baron, as the Personal Representative of the Estate
of Evan J. Baron, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Evan J.
Baron

Jeannine P. Baron, individually, as surviving Spouse of Evan J.
Baron

Julia Baron, individually, as surviving Child of Evan J. Baron

Eva Bartels, individually, as surviving Child of Carlton Bartels

Jane Bartels, as the Personal Representative of the Estate of
Carlton Bartels, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Carlton
Bartels

Jane Bartels, individually, as surviving Spouse of Carlton Bartels



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Melina Bartels, individually, as surviving Child of Carlton
Bartels

Boris Basin, individually, as surviving Child of Inna Basina

Vladimir Aleksandrovich Basin, as the Personal Representative
of the Estate of Inna Basina, deceased, and on behalf of all
survivors and all legally entitled beneficiaries and family
members of Inna Basina

Vladimir Aleksandrovich Basin, individually, as surviving
Spouse of Inna Basina

Yefim Kogan, individually, as surviving Sibling of Inna Basina

Elaine Leinung, as the Personal Representative of the Estate of
Paul Battaglia, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Paul
Battaglia

Elaine Leinung, individually, as surviving Parent of Paul
Battaglia

Eric J. Leinung, individually, as surviving Sibling of Paul
Battaglia

John M. Leinung, individually, as surviving Stepparent of Paul
Battaglia

Kristen M. Leinung, individually, as surviving Sibling of Paul
Battaglia

Christopher Beaven, individually, as surviving Child of Alan
Beaven

Dahlia Beaven, individually, as surviving Child of Alan Beaven

John Beaven, individually, as surviving Child of Alan Beaven

Kimberly K. Beaven, as the Personal Representative of the Estate
of Alan Beaven, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Alan
Beaven

Kimberly K. Beaven, individually, as surviving Spouse of Alan
Beaven

Margaret Budde, individually, as surviving Sibling of Alan
Beaven


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Michele Iavarone, as the Personal Representative of the Estate of
Carl Bedigian, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Carl
Bedigian

Michele Iavarone, individually, as surviving Spouse of Carl
Bedigian

Lowell F. Bell, individually, as surviving Sibling of Nina P. Bell

Patricia Bell, as the Personal Representative of the Estate of
Lowell L. Bell, deceased, the late Parent of Nina P. Bell

Patricia Bell, as the Personal Representative of the Estate of Nina
P. Bell, deceased, and on behalf of all survivors and all legally
entitled beneficiaries and family members of Nina P. Bell

Patricia Bell, individually, as surviving Parent of Nina P. Bell

Deborah Harrison, individually, as surviving Sibling of Nina P.
Bell

Joseph Berardi, as the Personal Representative of the Estate of
Dominick J. Berardi, deceased, and on behalf of all survivors and
all legally entitled beneficiaries and family members of
Dominick J. Berardi

Joseph Berardi, individually, as surviving Parent of Dominick J.
Berardi

Maria V. Berardi, individually, as surviving Parent of Dominick
J. Berardi

Nicholas A. Berardi, individually, as surviving Sibling of
Dominick J. Berardi

Tina M. Berardi, individually, as surviving Sibling of Dominick
J. Berardi

Gary Berger, as the Personal Representative of the Estate of
Joseph Berger, deceased, the late Parent of Steven H. Berger

Gary Berger, as the Personal Representative of the Estate of
Phyllis Berger, deceased, the late Parent of Steven H. Berger

Susan Berger, as the Personal Representative of the Estate of
Steven H. Berger, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Steven H.
Berger


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Susan Berger, individually, as surviving Spouse of Steven H.
Berger

Melissa Berger Fried , individually, as surviving Child of Steven
H. Berger

John Bergin, individually, as surviving Child of John Bergin

Katie Bergin, individually, as surviving Child of John Bergin

Madeline Bergin, as the Personal Representative of the Estate of
John Bergin, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of John Bergin

Madeline Bergin, individually, as surviving Spouse of John
Bergin

Shannon Bergin, individually, as surviving Child of John Bergin

Charles Berkeley, individually, as surviving Parent of Graham A.
Berkeley

Charles and Pauline Ann Berkeley, as the Personal
Representatives of the Estate of Graham A. Berkeley, deceased,
and on behalf of all survivors and all legally entitled
beneficiaries and family members of Graham A. Berkeley

Christopher Lawrence Berkeley, individually, as surviving
Sibling of Graham A. Berkeley

Pauline Berkeley, individually, as surviving Parent of Graham A.
Berkeley

Roger Berkeley, individually, as surviving Sibling of Graham A.
Berkeley

Eric M. Berkeley, individually, as surviving Child of Michael J.
Berkeley

Jason A. Berkeley, individually, as surviving Child of Michael J.
Berkeley

Lourdes Perez-Berkeley, as the Personal Representative of the
Estate of Michael J. Berkeley, deceased, and on behalf of all
survivors and all legally entitled beneficiaries and family
members of Michael J. Berkeley

Lourdes Perez-Berkeley, individually, as surviving Spouse of
Michael J. Berkeley


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Alexander Ashton Berry, individually, as surviving Child of
David S. Berry

Nile Philip Berry, individually, as surviving Child of David S.
Berry

Paula Berry, as the Personal Representative of the Estate of
David S. Berry, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of David S.
Berry

Paula Berry, individually, as surviving Spouse of David S. Berry

Reed Nicholas Berry, individually, as surviving Child of David
S. Berry

Valerie Bethke, as the Personal Representative of the Estate of
William R. Bethke, deceased, and on behalf of all survivors and
all legally entitled beneficiaries and family members of William
R. Bethke

Valerie Bethke, individually, as surviving Spouse of William R.
Bethke

Aron Betru, individually, as surviving Sibling of Yeneneh Betru

Ruth Betru, individually, as surviving Sibling of Yeneneh Betru

Sirak Betru, as the Personal Representative of the Estate of
Yeneneh Betru, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Yeneneh
Betru

Sirak Betru, individually, as surviving Sibling of Yeneneh Betru

Sirak Betru, as the Personal Representative of the Estate of Betru
Tensay, deceased, the late Parent of Yeneneh Betru

Sara Teshebru, individually, as surviving Parent of Yeneneh
Betru

Arlene Beyer, as the Personal Representative of the Estate of
Paul M. Beyer, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Paul M.
Beyer

Arlene Beyer, individually, as surviving Spouse of Paul M.
Beyer

Jane Beyer, individually, as surviving Sibling of Paul M. Beyer

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Mark Beyer, individually, as surviving Sibling of Paul M. Beyer

Michael Beyer, individually, as surviving Child of Paul M. Beyer

Shawn Beyer, individually, as surviving Child of Paul M. Beyer

Rochelle Berger, individually, as surviving Sibling of Shimmy
D. Biegeleisen

Alan Biegeleisen, individually, as surviving Sibling of Shimmy
D. Biegeleisen

Israel J. Biegeleisen, individually, as surviving Child of Shimmy
D. Biegeleisen

Regina Biegeleisen, as the Personal Representative of the Estate
of Jacob S. Biegeleisen, deceased, the late Parent of Shimmy D.
Biegeleisen

Miriam Biegeleisen, as the Personal Representative of the Estate
of Shimmy D. Biegeleisen, deceased, and on behalf of all
survivors and all legally entitled beneficiaries and family
members of Shimmy D. Biegeleisen

Miriam Biegeleisen, individually, as surviving Spouse of
Shimmy D. Biegeleisen

Mordechai Biegeleisen, individually, as surviving Child of
Shimmy D. Biegeleisen

Moshe J. Biegeleisen, individually, as surviving Child of
Shimmy D. Biegeleisen

Regina Biegeleisen, individually, as surviving Parent of Shimmy
D. Biegeleisen

Adina Gewirezman, individually, as surviving Child of Shimmy
D. Biegeleisen

Dvora Rotberg, individually, as surviving Child of Shimmy D.
Biegeleisen

Brittany Bielfeld, individually, as surviving Child of Peter
Bielfeld

Theresa Clarner, individually, as surviving Partner of Peter
Bielfeld

Bronx Public Administrator, as the Personal Representative of
the Estate of Peter Bielfeld, deceased, and on behalf of all

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survivors and all legally entitled beneficiaries and family
members of Peter Bielfeld

Christine Bini, as the Personal Representative of the Estate of
Carl Bini, deceased, and on behalf of all survivors and all legally
entitled beneficiaries and family members of Carl Bini

Christine Bini, individually, as surviving Spouse of Carl Bini

Desiree DiDonna, individually, as surviving Child of Carl Bini

Stefanie Parish, individually, as surviving Child of Carl Bini

Marcel Birnbaum, as the Personal Representative of the Estate of
Joshua Birnbaum, deceased, and on behalf of all survivors and
all legally entitled beneficiaries and family members of Joshua
Birnbaum

Marcel Birnbaum, individually, as surviving Parent of Joshua
Birnbaum

Samuel Birnbaum, individually, as surviving Parent of Joshua
Birnbaum

Jillian Eisman, individually, as surviving Sibling of Joshua
Birnbaum

Benjamin Blanding, individually, as surviving Child of Harry J.
Blanding, Jr.

Deborah Blanding, as the Personal Representative of the Estate
of Harry J. Blanding, Jr., deceased, and on behalf of all survivors
and all legally entitled beneficiaries and family members of
Harry J. Blanding, Jr.

Deborah Blanding, individually, as surviving Spouse of Harry J.
Blanding, Jr.

Hayley Blanding, individually, as surviving Child of Harry J.
Blanding, Jr.

Jeremy Blanding, individually, as surviving Child of Harry J.
Blanding, Jr.

Constance Blood, individually, as surviving Parent of Richard M.
Blood, Jr.

Kris Ann Blood, as the Personal Representative of the Estate of
Richard M. Blood, Jr., deceased, and on behalf of all survivors



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and all legally entitled beneficiaries and family members of
Richard M. Blood, Jr.

Kris Ann Blood, individually, as surviving Spouse of Richard M.
Blood, Jr.

Madeline Blood, individually, as surviving Child of Richard M.
Blood, Jr.

Michael Blood, individually, as surviving Child of Richard M.
Blood, Jr.

Stephen Blood, individually, as surviving Sibling of Richard M.
Blood, Jr.

William Blood, individually, as surviving Sibling of Richard M.
Blood, Jr.

Rebecca Taylor Wynne, as the Personal Representative of the
Estate of Richard Blood, Sr., deceased, the late Parent of Richard
M. Blood, Jr.

Rebecca Taylor Wynne, individually, as surviving Sibling of
Richard M. Blood, Jr.

Dorothy A. Bogdan, as the Personal Representative of the Estate
of Nicholas Bogdan, deceased, and on behalf of all survivors and
all legally entitled beneficiaries and family members of Nicholas
Bogdan

Dorothy A. Bogdan, individually, as surviving Spouse of
Nicholas Bogdan

Emily Bogdan, individually, as surviving Child of Nicholas
Bogdan

Nicholas Bogdan, individually, as surviving Child of Nicholas
Bogdan

Maria Boisseau, as the Personal Representative of the Estate of
Lawrence Boisseau, deceased, and on behalf of all survivors and
all legally entitled beneficiaries and family members of
Lawrence Boisseau

Maria Boisseau, individually, as surviving Spouse of Lawrence
Boisseau

Alan Bordeaux, individually, as surviving Sibling of Sherry Ann
Bordeaux



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Cynthia Lewis, as the Personal Representative of the Estate of
Sherry Ann Bordeaux, deceased, and on behalf of all survivors
and all legally entitled beneficiaries and family members of
Sherry Ann Bordeaux

Cynthia Lewis, individually, as surviving Sibling of Sherry Ann
Bordeaux

Cynthia Lewis, as the Personal Representative of the Estate of
Jerline Lewis, deceased, the late Parent of Sherry Ann Bordeaux

Cynthia Lewis, as the Personal Representative of the Estate of
Steve Lewis, deceased, the late Sibling of Sherry Ann Bordeaux

Abigail R. Bosco, individually, as surviving Child of Richard
Edward Bosco

Michael Bosco, individually, as surviving Sibling of Richard
Edward Bosco

William J. Bosco, III., individually, as surviving Sibling of
Richard Edward Bosco

Richard E. Bosco, Jr., individually, as surviving Child of Richard
Edward Bosco

Traci Bosco-Myhal, as the Personal Representative of the Estate
of Richard Edward Bosco, deceased, and on behalf of all
survivors and all legally entitled beneficiaries and family
members of Richard Edward Bosco

Traci Bosco-Myhal, individually, as surviving Spouse of Richard
Edward Bosco

Kelly Manzi, individually, as surviving Sibling of Richard
Edward Bosco

Frederick Bowers, Jr., as the Personal Representative of the
Estate of Kimberly S. Bowers, deceased, and on behalf of all
survivors and all legally entitled beneficiaries and family
members of Kimberly S. Bowers

Frederick Bowers, Jr., individually, as surviving Parent of
Kimberly S. Bowers

Linda Bowman, as the Personal Representative of the Estate of
Larry Bowman, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Larry
Bowman


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Linda Bowman, individually, as surviving Spouse of Larry
Bowman

Brigette Box, individually, as surviving Child of Gary Box

Brigette Box, as the Personal Representative of the Estate of
Gary Box, deceased, and on behalf of all survivors and all legally
entitled beneficiaries and family members of Gary Box

Dalton Box, individually, as surviving Child of Gary Box

Jeannine Hein, as the Personal Representative of the Estate of
Kathleen Box, deceased, the late Spouse of Gary Box

Beata Boyarsky, individually, as surviving Sibling of Gennady
Boyarsky

Jolanta Boyarsky, as the Personal Representative of the Estate of
Gennady Boyarsky, deceased, and on behalf of all survivors and
all legally entitled beneficiaries and family members of Gennady
Boyarsky

Jolanta Boyarsky, individually, as surviving Spouse of Gennady
Boyarsky

Michael Boyarsky, individually, as surviving Child of Gennady
Boyarsky

Jeanne Arnold, individually, as surviving Sibling of Michael
Boyle

Barbara J. Boyle, as the Personal Representative of the Estate of
Michael Boyle, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Michael
Boyle

Barbara J. Boyle, individually, as surviving Parent of Michael
Boyle

James P. Boyle, individually, as surviving Sibling of Michael
Boyle

Barbara Boyle, as the Personal Representative of the Estate of
James J. Boyle, deceased, the late Parent of Michael Boyle

Peter Boyle, individually, as surviving Sibling of Michael Boyle

Mary Lynch, individually, as surviving Sibling of Michael Boyle



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David Braca, as the Personal Representative of the Estate of
Alfred Braca, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Alfred
Braca

David Braca, as the Personal Representative of the Estate of Jean
Braca, deceased, the late Spouse of Alfred Braca

Alexandria N. Bradshaw, individually, as surviving Child of
Sandra W. Bradshaw

Nathan G. Bradshaw, individually, as surviving Child of Sandra
W. Bradshaw

Philip G. Bradshaw, as the Personal Representative of the Estate
of Sandra W. Bradshaw, deceased, and on behalf of all survivors
and all legally entitled beneficiaries and family members of
Sandra W. Bradshaw

Philip G. Bradshaw, individually, as surviving Spouse of Sandra
W. Bradshaw

Shenan M. Bradshaw, individually, as surviving Stepchild of
Sandra W. Bradshaw

Alice Brady, individually, as surviving Parent of David B. Brady

Erin K. Brady, individually, as surviving Child of David B.
Brady

Grace A. Brady, individually, as surviving Child of David B.
Brady

Mark R. Brady, individually, as surviving Child of David B.
Brady

Matthew D. Brady, individually, as surviving Child of David B.
Brady

Michael J. Brady, individually, as surviving Sibling of David B.
Brady

Richard Brady, individually, as surviving Parent of David B.
Brady

Scott T. Brady, individually, as surviving Sibling of David B.
Brady

Jennifer E. Brady Cieszko, as the Personal Representative of the
Estate of David B. Brady, deceased, and on behalf of all

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survivors and all legally entitled beneficiaries and family
members of David B. Brady

Jennifer E. Brady Cieszko, individually, as surviving Spouse of
David B. Brady

Tatum Vitale, as the Personal Representative of the Estate of
Richard W. Brady, Jr., deceased, the late Sibling of David B.
Brady

Mary Christine Zaremba, individually, as surviving Sibling of
David B. Brady

Albert Bravo, individually, as surviving Sibling of Lydia E.
Bravo

Norma Bravo, individually, as surviving Sibling of Lydia E.
Bravo

Mia Gonzalez, individually, as surviving Child of Lydia E.
Bravo

Mia Gonzalez, as the Personal Representative of the Estate of
Lydia E. Bravo, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Lydia E.
Bravo

Leticia Muszel, individually, as surviving Sibling of Lydia E.
Bravo

Edward Brennan, individually, as surviving Parent of Edward A.
Brennan III

Edward Brennan, as the Personal Representative of the Estate of
Gail Brennan, deceased, the late Parent of Edward A. Brennan III

Ellen Brennan-Krebs, individually, as surviving Sibling of
Edward A. Brennan III

Sheila Capparis, as the Personal Representative of the Estate of
Edward A. Brennan III, deceased, and on behalf of all survivors
and all legally entitled beneficiaries and family members of
Edward A. Brennan III

Sheila Capparis, individually, as surviving Sibling of Edward A.
Brennan III

Elizabeth Murphy, individually, as surviving Sibling of Edward
A. Brennan III



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Alexander Briley, individually, as surviving Sibling of Jonathan
E. Briley

Hillary A. Briley, as the Personal Representative of the Estate of
Jonathan E. Briley, deceased, and on behalf of all survivors and
all legally entitled beneficiaries and family members of Jonathan
E. Briley

Hillary A. Briley, individually, as surviving Spouse of Jonathan
E. Briley

Joanne Briley, individually, as surviving Sibling of Jonathan E.
Briley

Timothy Briley, individually, as surviving Sibling of Jonathan E.
Briley

Gwendolyn Briley-Strand, individually, as surviving Sibling of
Jonathan E. Briley

John C. Broghammer, individually, as surviving Child of
Herman C. Broghammer

Ursula Broghammer, as the Personal Representative of the Estate
of Herman C. Broghammer, deceased, and on behalf of all
survivors and all legally entitled beneficiaries and family
members of Herman C. Broghammer

Ursula Broghammer, individually, as surviving Spouse of
Herman C. Broghammer

Amy B. Stabile, individually, as surviving Child of Herman C.
Broghammer

Edward Radburn, as the Personal Representative of the Estate of
Bettina Browne-Radburn, deceased, and on behalf of all
survivors and all legally entitled beneficiaries and family
members of Bettina Browne-Radburn

Edward Radburn, individually, as surviving Spouse of Bettina
Browne-Radburn

David Bruce, individually, as surviving Sibling of Mark Bruce

David Bruce, as the Personal Representative of the Estate of
Diane Bruce, deceased, the late Parent of Mark Bruce

David Bruce, as the Personal Representative of the Estate of
Harold Truman Bruce, deceased, the late Parent of Mark Bruce


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Stephen Bruce, individually, as surviving Sibling of Mark Bruce

Dawn Bryfogle, as the Personal Representative of the Estate of
Mark Bruce, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Mark Bruce

Dawn Bryfogle, individually, as surviving Spouse of Mark Bruce

Danielle Bruehert, individually, as surviving Child of Richard
Bruehert

JoAnne Bruehert, as the Personal Representative of the Estate of
Richard Bruehert, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Richard
Bruehert

JoAnne Bruehert, individually, as surviving Spouse of Richard
Bruehert

John Bruehert, individually, as surviving Sibling of Richard
Bruehert

Christina Williams, individually, as surviving Child of Richard
Bruehert

Michael Buhse, individually, as surviving Sibling of Patrick
Buhse

Sloan Buhse, individually, as surviving Child of Patrick Buhse

Thomas Buhse, individually, as surviving Sibling of Patrick
Buhse

William F. Buhse, individually, as surviving Child of Patrick
Buhse

William Buhse, individually, as surviving Sibling of Patrick
Buhse

Susan E. Buhse Whelan, as the Personal Representative of the
Estate of Patrick Buhse, deceased, and on behalf of all survivors
and all legally entitled beneficiaries and family members of
Patrick Buhse

Susan E. Buhse Whelan, individually, as surviving Spouse of
Patrick Buhse

Suanne Kazanecki, individually, as surviving Sibling of Patrick
Buhse


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David Burford, as the Personal Representative of the Estate of
Christopher Burford, deceased, and on behalf of all survivors and
all legally entitled beneficiaries and family members of
Christopher Burford

David Burford, individually, as surviving Parent of Christopher
Burford

Vicki L. Burford, individually, as surviving Stepparent of
Christopher Burford

Ashley R. Calabro, individually, as surviving Sibling of
Christopher Burford

Jeremy M. Krist, individually, as surviving Stepsibling of
Christopher Burford

Pamela J. Thornton, individually, as surviving Parent of
Christopher Burford

Alexander Burke, individually, as surviving Sibling of Thomas
Daniel Burke

James Burke, as the Personal Representative of the Estate of
Alexander Burke, deceased, the late Parent of Thomas Daniel
Burke

Brian Burke, individually, as surviving Child of Thomas Daniel
Burke

Brian Burke, individually, as surviving Sibling of Thomas Daniel
Burke

Christopher Burke, individually, as surviving Sibling of Thomas
Daniel Burke

George Burke, individually, as surviving Child of Thomas
Daniel Burke

James Burke, individually, as surviving Sibling of Thomas
Daniel Burke

John Burke, individually, as surviving Child of Thomas Daniel
Burke

Julia Burke, as the Personal Representative of the Estate of
Thomas Daniel Burke, deceased, and on behalf of all survivors
and all legally entitled beneficiaries and family members of
Thomas Daniel Burke


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Julia Burke, individually, as surviving Spouse of Thomas Daniel
Burke

Matthew Burke, individually, as surviving Sibling of Thomas
Daniel Burke

Suzanne Burke, individually, as surviving Parent of Thomas
Daniel Burke

Thomas Burke, individually, as surviving Child of Thomas
Daniel Burke

Nancy Burke Salter, individually, as surviving Sibling of
Thomas Daniel Burke

Timothy Burns, as the Personal Representative of the Estate of
Charles Patrick Burns, deceased, the late Sibling of Donald J.
Burns

Elizabeth Burns, as the Personal Representative of the Estate of
Donald J. Burns, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Donald J.
Burns

Elizabeth Burns, individually, as surviving Spouse of Donald J.
Burns

Michael Burns, as the Personal Representative of the Estate of
Julia Burns, deceased, the late Parent of Donald J. Burns

Michael C. Burns, individually, as surviving Child of Donald J.
Burns

Michael F. Burns, individually, as surviving Sibling of Donald J.
Burns

Patrick M. Burns, individually, as surviving Child of Donald J.
Burns

Kathleen Burns Reed, individually, as surviving Sibling of
Donald J. Burns

Sandra Burnside Sturiano, as the Personal Representative of the
Estate of John P. Burnside, deceased, and on behalf of all
survivors and all legally entitled beneficiaries and family
members of John P. Burnside

Sandra Burnside Sturiano, individually, as surviving Spouse of
John P. Burnside


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Ngoran Dje, as the Personal Representative of the Estate of Irina
Buslo, deceased, and on behalf of all survivors and all legally
entitled beneficiaries and family members of Irina Buslo

Ngoran Dje, individually, as surviving Spouse of Irina Buslo

Kelly A. Butler, individually, as surviving Child of Thomas M.
Butler

Margaret Butler, individually, as surviving Parent of Thomas M.
Butler

Patrick T. Butler, individually, as surviving Child of Thomas M.
Butler

Sean W. Butler, individually, as surviving Child of Thomas M.
Butler

Stephen Butler, individually, as surviving Sibling of Thomas M.
Butler

William Butler, individually, as surviving Sibling of Thomas M.
Butler

Margaret Butler, as the Personal Representative of the Estate of
William E. Butler, deceased, the late Parent of Thomas M. Butler

Eileen Cristiano, individually, as surviving Sibling of Thomas M.
Butler

Martha O'Brien, as the Personal Representative of the Estate of
Thomas M. Butler, deceased, and on behalf of all survivors and
all legally entitled beneficiaries and family members of Thomas
M. Butler

Martha O'Brien, individually, as surviving Spouse of Thomas M.
Butler

Brett Cahill, individually, as surviving Child of John Cahill

Sean Cahill, individually, as surviving Child of John Cahill

James C. Cahill, as the Personal Representative of the Estate of
Scott W. Cahill, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Scott W.
Cahill

James C. Cahill, individually, as surviving Parent of Scott W.
Cahill


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Linda Cahill, individually, as surviving Parent of Scott W. Cahill

Patrick Cahill, individually, as surviving Sibling of Scott W.
Cahill

Christopher Cahill, individually, as surviving Sibling of Thomas
J. Cahill

James W. Cahill, as the Personal Representative of the Estate of
Thomas J. Cahill, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Thomas J.
Cahill

James W. Cahill, individually, as surviving Parent of Thomas J.
Cahill

Kathleen Cahill, individually, as surviving Parent of Thomas J.
Cahill

James Cahill, Jr, individually, as surviving Sibling of Thomas J.
Cahill

Kerry Kerin, individually, as surviving Sibling of Thomas J.
Cahill

Kathleen Psirogianes, individually, as surviving Sibling of
Thomas J. Cahill

Susan Calcagno, as the Personal Representative of the Estate of
Philip V. Calcagno, deceased, and on behalf of all survivors and
all legally entitled beneficiaries and family members of Philip V.
Calcagno

Susan Calcagno, individually, as surviving Spouse of Philip V.
Calcagno

Caroline Otero, as the Personal Representative of the Estate of
Ida Bruno, deceased, the late Parent of Edward Calderon

Anthony Calderon, individually, as surviving Sibling of Edward
Calderon

Cathy Calderon, individually, as surviving Sibling of Edward
Calderon

Deborah Calderon, as the Personal Representative of the Estate
of Edward Calderon, deceased, and on behalf of all survivors and
all legally entitled beneficiaries and family members of Edward
Calderon


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Deborah Calderon, individually, as surviving Spouse of Edward
Calderon

Ilene Calderon, individually, as surviving Child of Edward
Calderon

Jeremy Calderon, individually, as surviving Child of Edward
Calderon

Mariza Calderon, individually, as surviving Sibling of Edward
Calderon

Mariza Calderon, as the Personal Representative of the Estate of
Vicente Calderon, deceased, the late Parent of Edward Calderon

Vincent Calderon, Jr., individually, as surviving Sibling of
Edward Calderon

Caroline Otero, individually, as surviving Sibling of Edward
Calderon

Dominick R. Calia, individually, as surviving Child of Dominick
E. Calia

Jaclyn N. Calia, individually, as surviving Child of Dominick E.
Calia

John R. Calia, individually, as surviving Sibling of Dominick E.
Calia

Joseph P. Calia, individually, as surviving Sibling of Dominick
E. Calia

John Calia, as the Personal Representative of the Estate of
Mildred Calia, deceased, the late Parent of Dominick E. Calia

Richard V. Calia, individually, as surviving Sibling of Dominick
E. Calia

Christine Calia-Costa, individually, as surviving Sibling of
Dominick E. Calia

Janet Calia-Donahue, as the Personal Representative of the
Estate of Dominick E. Calia, deceased, and on behalf of all
survivors and all legally entitled beneficiaries and family
members of Dominick E. Calia

Janet Calia-Donahue, individually, as surviving Spouse of
Dominick E. Calia


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Jeanann Calia-Kuhn, individually, as surviving Sibling of
Dominick E. Calia

Jeanna Calia-Micallef, individually, as surviving Child of
Dominick E. Calia

Michelle Cangelosi, individually, as surviving Parent of Vincent
A. Cangelosi

Vincent Cangelosi, individually, as surviving Parent of Vincent
A. Cangelosi

Vincent and Michelle Cangelosi, as the Personal Representatives
of the Estate of Vincent A. Cangelosi, deceased, and on behalf of
all survivors and all legally entitled beneficiaries and family
members of Vincent A. Cangelosi

Christopher Cannizzaro, individually, as surviving Child of Brian
Cannizzaro

Jacqueline Cannizzaro, as the Personal Representative of the
Estate of Brian Cannizzaro, deceased, and on behalf of all
survivors and all legally entitled beneficiaries and family
members of Brian Cannizzaro

Jacqueline Cannizzaro, individually, as surviving Spouse of
Brian Cannizzaro

Christina Caporicci, individually, as surviving Child of Louis
Caporicci

Lauren Caporicci, individually, as surviving Child of Louis
Caporicci

Lori Caporicci, as the Personal Representative of the Estate of
Louis Caporicci, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Louis
Caporicci

Lori Caporicci, individually, as surviving Spouse of Louis
Caporicci

Richard Peter Carney, as the Personal Representative of the
Estate of Mark Stephen Carney, deceased, and on behalf of all
survivors and all legally entitled beneficiaries and family
members of Mark Stephen Carney

Richard Peter Carney, individually, as surviving Sibling of Mark
Stephen Carney


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Patricia Carrington, as the Personal Representative of the Estate
of Jeremy Carrington, deceased, and on behalf of all survivors
and all legally entitled beneficiaries and family members of
Jeremy Carrington

Patricia Carrington, individually, as surviving Spouse of Jeremy
Carrington

Nancy Amigron, individually, as surviving Sibling of Michael T.
Carroll

Brendan Carroll, individually, as surviving Child of Michael T.
Carroll

Eileen Carroll, individually, as surviving Sibling of Michael T.
Carroll

Eleanor Carroll, individually, as surviving Parent of Michael T.
Carroll

Nancy Carroll, as the Personal Representative of the Estate of
Michael T. Carroll, deceased, and on behalf of all survivors and
all legally entitled beneficiaries and family members of Michael
T. Carroll

Nancy Carroll, individually, as surviving Spouse of Michael T.
Carroll

Olivia Carroll, individually, as surviving Child of Michael T.
Carroll

William Carroll, individually, as surviving Sibling of Michael T.
Carroll

Eleanor Carroll, as the Personal Representative of the Estate of
William Carroll, deceased, the late Parent of Michael T. Carroll

ToniAnn Carroll, as the Personal Representative of the Estate of
Peter J. Carroll, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Peter J.
Carroll

ToniAnn Carroll, individually, as surviving Spouse of Peter J.
Carroll

Dana Ann DeNiro, individually, as surviving Stepchild of Peter
J. Carroll

Anthony D. DeNiro Graffino, individually, as surviving
Stepchild of Peter J. Carroll

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Carlo A. Casoria, individually, as surviving Parent of Thomas
Casoria

Carlo V. Casoria, individually, as surviving Sibling of Thomas
Casoria

Carlo and Judith A. Casoria, as the Personal Representatives of
the Estate of Thomas Casoria, deceased, and on behalf of all
survivors and all legally entitled beneficiaries and family
members of Thomas Casoria

Judith Casoria, individually, as surviving Parent of Thomas
Casoria

Leigh Macadlo, as the Personal Representative of the Estate of
Leonard A. Castrianno, Sr., deceased, the late Parent of Leonard
M. Castrianno, Jr.

Leigh Macadlo, as the Personal Representative of the Estate of
Leonard M. Castrianno, Jr., deceased, and on behalf of all
survivors and all legally entitled beneficiaries and family
members of Leonard M. Castrianno, Jr.

Leigh A. Macadlo, individually, as surviving Sibling of Leonard
M. Castrianno, Jr.

Patricia Noah, individually, as surviving Parent of Leonard M.
Castrianno, Jr.

Anamarie Catarelli, individually, as surviving Child of Richard
G. Catarelli

Santa Catarelli, as the Personal Representative of the Estate of
Richard G. Catarelli, deceased, and on behalf of all survivors and
all legally entitled beneficiaries and family members of Richard
G. Catarelli

Santa Catarelli, individually, as surviving Spouse of Richard G.
Catarelli

Gina Cayne, as the Personal Representative of the Estate of Jason
Cayne, deceased, and on behalf of all survivors and all legally
entitled beneficiaries and family members of Jason Cayne

Gina Cayne, individually, as surviving Spouse of Jason Cayne

Raquel Cayne, individually, as surviving Child of Jason Cayne

Suzann Cayne, individually, as surviving Child of Jason Cayne


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Marissa Cayne Frankel, individually, as surviving Child of Jason
Cayne

Claude Cefalu, individually, as surviving Parent of Jason Cefalu

Darren Cefalu, individually, as surviving Sibling of Jason Cefalu

Geraldine Cefalu, as the Personal Representative of the Estate of
Jason Cefalu, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Jason
Cefalu

Geraldine Cefalu, individually, as surviving Parent of Jason
Cefalu

Claudia Pancella, individually, as surviving Sibling of Jason
Cefalu

Arthur Cheatham, as the Personal Representative of the Estate of
Delrose Forbes Cheatham, deceased, and on behalf of all
survivors and all legally entitled beneficiaries and family
members of Delrose Forbes Cheatham

Arthur Cheatham, as the Personal Representative of the Estate of
Bobby Cheatham, deceased, the late Spouse of Delrose Forbes
Cheatham

Pak Ho Chin, individually, as surviving Parent of Robert Chin

Suk Tan Chin, as the Personal Representative of the Estate of
Robert Chin, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Robert Chin

Suk Tan Chin, individually, as surviving Sibling of Robert Chin

Yuet Ling Chin, individually, as surviving Parent of Robert Chin

Dominic Ciafardini, individually, as surviving Sibling of
Christopher Ciafardini

Edward P. Ciafardini, as the Personal Representative of the
Estate of Christopher Ciafardini, deceased, and on behalf of all
survivors and all legally entitled beneficiaries and family
members of Christopher Ciafardini

Edward P. Ciafardini, individually, as surviving Parent of
Christopher Ciafardini

Maggie Ciafardini, individually, as surviving Parent of
Christopher Ciafardini

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Barbara Clark Hawkins, as the Personal Representative of the
Estate of Robert Clark, deceased, the late Sibling of Eugene
Clark

Garry Delano Clark, Sr., individually, as surviving Sibling of
Eugene Clark

Patrick Courtney, as the Personal Representative of the Estate of
Larry Courtney, deceased, the late Partner of Eugene Clark

Regina Gans, as the Personal Representative of the Estate of
Eugene Clark, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Eugene
Clark

Regina Gans, individually, as surviving Sibling of Eugene Clark

Sarah Clark, individually, as surviving Child of Gregory A.
Clark

Yuko Clark, as the Personal Representative of the Estate of
Gregory A. Clark, deceased, and on behalf of all survivors and
all legally entitled beneficiaries and family members of Gregory
A. Clark

Yuko Clark, individually, as surviving Spouse of Gregory A.
Clark

Tanya Kim Davis, individually, as surviving Child of Mannie L.
Clark

Tanya Kim Davis, as the Personal Representative of the Estate of
Mannie L. Clark, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Mannie L.
Clark

Lisa Dilallo Clark, as the Personal Representative of the Estate of
Thomas R. Clark, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Thomas R.
Clark

Lisa Dilallo Clark, individually, as surviving Spouse of Thomas
R. Clark

Matthew J. Clark, individually, as surviving Child of Thomas R.
Clark

Patricia D. Clark, individually, as surviving Parent of Thomas R.
Clark


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Richard J. Clark, individually, as surviving Parent of Thomas R.
Clark

Whitney C. Clark, individually, as surviving Child of Thomas R.
Clark

Kelly Anne Clarke, individually, as surviving Sibling of
Christopher R. Clarke

Timothy Clarke, individually, as surviving Sibling of Christopher
R. Clarke

Kathleen L. Clarke Head, individually, as surviving Sibling of
Christopher R. Clarke

Patricia Clarke Scudder, individually, as surviving Sibling of
Christopher R. Clarke

Tracey Osborne, individually, as surviving Sibling of
Christopher R. Clarke

Charles Clyne, as the Personal Representative of the Estate of
Susan M. Clyne, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Susan M.
Clyne

Charles Clyne, individually, as surviving Spouse of Susan M.
Clyne

Kevin P. Clyne, individually, as surviving Child of Susan M.
Clyne

Marie S. Clyne, individually, as surviving Child of Susan M.
Clyne

Michael Clyne, individually, as surviving Child of Susan M.
Clyne

Timothy D. Clyne, individually, as surviving Child of Susan M.
Clyne

Linda G. Creamer, individually, as surviving Sibling of Susan M.
Clyne

Grace Dietrich, individually, as surviving Parent of Susan M.
Clyne

Grace Dietrich, as the Personal Representative of the Estate of
Henry K. Dietrich, deceased, the late Parent of Susan M. Clyne


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Kurt H. Dietrich, individually, as surviving Sibling of Susan M.
Clyne

Kara Walker, as the Personal Representative of the Estate of
Caroline Coakley, deceased, the late Parent of Steven Coakley

Kara Walker, as the Personal Representative of the Estate of
Vincent Coakley, deceased, the late Parent of Steven Coakley

Kara Walker, as the Personal Representative of the Estate of
Steven Coakley, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Steven
Coakley

Kara Walker, individually, as surviving Sibling of Steven
Coakley

Alexander Carroll, individually, as surviving Sibling of Kevin
Colbert

Matthew Carroll, individually, as surviving Sibling of Kevin
Colbert

Andrew Colbert, individually, as surviving Sibling of Kevin
Colbert

Susan Hutchins, as the Personal Representative of the Estate of
Kevin Colbert, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Kevin
Colbert

Susan Hutchins, individually, as surviving Parent of Kevin
Colbert

Maryann Colin, as the Personal Representative of the Estate of
Robert D. Colin, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Robert D.
Colin

Maryann Colin, individually, as surviving Spouse of Robert D.
Colin

Julia Collins, as the Personal Representative of the Estate of
Thomas J. Collins, deceased, and on behalf of all survivors and
all legally entitled beneficiaries and family members of Thomas
J. Collins

Julia Collins, individually, as surviving Spouse of Thomas J.
Collins


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Warren Colodner, as the Personal Representative of the Estate of
Patricia Colodner, deceased, and on behalf of all survivors and
all legally entitled beneficiaries and family members of Patricia
Colodner

Warren Colodner, individually, as surviving Spouse of Patricia
Colodner

Alexis Colon, individually, as surviving Child of Sol E. Colon

Benito Colon, as the Personal Representative of the Estate of Sol
E. Colon, deceased, and on behalf of all survivors and all legally
entitled beneficiaries and family members of Sol E. Colon

Benito Colon, individually, as surviving Spouse of Sol E. Colon

Shayla Colon, individually, as surviving Child of Sol E. Colon

Elda Palma, individually, as surviving Parent of Sol E. Colon

Eileen Valiente, individually, as surviving Sibling of Sol E.
Colon

David E. Brace, as the Personal Representative of the Estate of
Sandra J. Conaty-Brace, deceased, and on behalf of all survivors
and all legally entitled beneficiaries and family members of
Sandra J. Conaty-Brace

David E. Brace, individually, as surviving Spouse of Sandra J.
Conaty-Brace

Mary Anderson, individually, as surviving Sibling of Joseph J.
Coppo, Jr.

John Coppo, individually, as surviving Child of Joseph J. Coppo,
Jr.

John Brennan and Patricia Coppo, as the Personal
Representatives of the Estate of Joseph J. Coppo, Jr., deceased,
and on behalf of all survivors and all legally entitled
beneficiaries and family members of Joseph J. Coppo, Jr.

Matthew Coppo, individually, as surviving Child of Joseph J.
Coppo, Jr.

Patricia Coppo, individually, as surviving Spouse of Joseph J.
Coppo, Jr.

Joseph Coppo, III, individually, as surviving Child of Joseph J.
Coppo, Jr.

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Kathleen N. Zapata, individually, as surviving Child of Joseph J.
Coppo, Jr.

Jean Corbett, individually, as surviving Parent of Joseph Corbett

Joseph Corbett, individually, as surviving Parent of Joseph
Corbett

Kathy Corbett, individually, as surviving Sibling of Joseph
Corbett

Felicia Corbett Jones, as the Personal Representative of the
Estate of Joseph Corbett, deceased, and on behalf of all survivors
and all legally entitled beneficiaries and family members of
Joseph Corbett

Felicia Corbett Jones, individually, as surviving Spouse of
Joseph Corbett

Jean Marie Rall, individually, as surviving Sibling of Joseph
Corbett

Sharon Jean Thomas, individually, as surviving Sibling of Joseph
Corbett

Susan Correa, as the Personal Representative of the Estate of
Ruben D. Correa, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Ruben D.
Correa

Susan Correa, individually, as surviving Spouse of Ruben D.
Correa

Louis Francisco Cortes-Lauterbach, individually, as surviving
Child of Carlos Cortes-Rodriguez

Alicia Cortés-Rodríguez, individually, as surviving Sibling of
Carlos Cortes-Rodriguez

Julio Cortés-Rodríguez, individually, as surviving Sibling of
Carlos Cortes-Rodriguez

María Elvira Cortés-Rodríguez, individually, as surviving
Sibling of Carlos Cortes-Rodriguez

María Claudia Cortés-Rodríguez, individually, as surviving
Sibling of Carlos Cortes-Rodriguez

Martha Helena Cortés-Rodríguez, individually, as surviving
Sibling of Carlos Cortes-Rodriguez

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Mercedes Cortés-Rodríguez, individually, as surviving Sibling of
Carlos Cortes-Rodriguez

Ricardo Cortés-Rodríguez , individually, as surviving Sibling of
Carlos Cortes-Rodriguez

Laurie S. Lauterbach, as the Personal Representative of the
Estate of Carlos Cortes-Rodriguez, deceased, and on behalf of all
survivors and all legally entitled beneficiaries and family
members of Carlos Cortes-Rodriguez

Laurie S. Lauterbach, individually, as surviving Spouse of Carlos
Cortes-Rodriguez

Julia Sears, individually, as surviving Sibling of Carlos Cortes-
Rodriguez

María Victoria Somogyi, individually, as surviving Sibling of
Carlos Cortes-Rodriguez

Corey Cottoy , individually, as surviving Child of Conrod
Cottoy, Sr.

Kojo Cottoy , individually, as surviving Child of Conrod Cottoy,
Sr.

Paula Hayes Cottoy, as the Personal Representative of the Estate
of Conrod Cottoy, Jr., deceased, the late Child of Conrod Cottoy,
Sr.

Paula Hayes Cottoy, as the Personal Representative of the Estate
of Conrod Cottoy, Sr., deceased, and on behalf of all survivors
and all legally entitled beneficiaries and family members of
Conrod Cottoy, Sr.

Paula Hayes Cottoy, individually, as surviving Spouse of Conrod
Cottoy, Sr.

Erin Coughlin, individually, as surviving Child of John G.
Coughlin

Kayla Coughlin, individually, as surviving Child of John G.
Coughlin

Patricia Coughlin, as the Personal Representative of the Estate of
John G. Coughlin, deceased, and on behalf of all survivors and
all legally entitled beneficiaries and family members of John G.
Coughlin



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Patricia Coughlin, individually, as surviving Spouse of John G.
Coughlin

Tara Coughlin, individually, as surviving Child of John G.
Coughlin

Dennis Eulau, as the Personal Representative of the Estate of
Michele Coyle-Eulau, deceased, and on behalf of all survivors
and all legally entitled beneficiaries and family members of
Michele Coyle-Eulau

Dennis Eulau, individually, as surviving Spouse of Michele
Coyle-Eulau

Eric Eulau, individually, as surviving Child of Michele Coyle-
Eulau

Mark Eulau, individually, as surviving Child of Michele Coyle-
Eulau

Matthew Eulau, individually, as surviving Child of Michele
Coyle-Eulau

Shelly Crant-Baggot and John Crant, as the Personal
Representatives of the Estate of Ellis W. Crant, deceased, the late
Parent of Denise Elizabeth Crant

Shelly Crant-Baggot and John Crant, as the Personal
Representatives of the Estate of Hilda E. Crant, deceased, the late
Parent of Denise Elizabeth Crant

John T. Crant, as the Personal Representative of the Estate of
Denise Elizabeth Crant, deceased, and on behalf of all survivors
and all legally entitled beneficiaries and family members of
Denise Elizabeth Crant

John T. Crant, individually, as surviving Sibling of Denise
Elizabeth Crant

Ellis W. Crant, Jr., individually, as surviving Sibling of Denise
Elizabeth Crant

Shelley Crant-Baggot, individually, as surviving Sibling of
Denise Elizabeth Crant

Leslie Dunlevy, as the Personal Representative of the Estate of
Elizabeth B. Crawford, deceased, the late Parent of James L.
Crawford, Jr.



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Isabelle Crawford, individually, as surviving Child of James L.
Crawford, Jr.

Elizabeth Van Duyne, as the Personal Representative of the
Estate of James Leslie Crawford, deceased, the late Parent of
James L. Crawford, Jr.

Lisa B. Crawford, as the Personal Representative of the Estate of
James L. Crawford, Jr., deceased, and on behalf of all survivors
and all legally entitled beneficiaries and family members of
James L. Crawford, Jr.

Lisa B. Crawford, individually, as surviving Spouse of James L.
Crawford, Jr.

Leslie Crawford Dunlevy, individually, as surviving Sibling of
James L. Crawford, Jr.

Elizabeth Van Duyne, individually, as surviving Sibling of James
L. Crawford, Jr.

Mary Cregan, as the Personal Representative of the Estate of
Joanne Cregan, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Joanne
Cregan

Brian D. Cross, individually, as surviving Child of Dennis A.
Cross

JoAnn Cross, as the Personal Representative of the Estate of
Dennis A. Cross, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Dennis A.
Cross

JoAnn Cross, individually, as surviving Spouse of Dennis A.
Cross

Laura A. Cross, individually, as surviving Child of Dennis A.
Cross

Denise J. Cross-Feldman, individually, as surviving Child of
Dennis A. Cross

Lisa Ann Wylie, individually, as surviving Child of Dennis A.
Cross

Douglas Cruikshank, as the Personal Representative of the Estate
of Christina Cruikshank, deceased, the late Child of Robert
Cruikshank


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Douglas A. Cruikshank, individually, as surviving Child of
Robert Cruikshank

Douglas A Cruikshank, as the Personal Representative of the
Estate of Robert Cruikshank, deceased, and on behalf of all
survivors and all legally entitled beneficiaries and family
members of Robert Cruikshank

Douglas Cruikshank, as the Personal Representative of the Estate
of Marianne Cruikshank, deceased, the late Spouse of Robert
Cruikshank

Ildefonso A. Cua, as the Personal Representative of the Estate of
Grace Cua, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Grace Cua

Ildefonso A. Cua, individually, as surviving Spouse of Grace
Cua

Nicole Cua, individually, as surviving Child of Grace Cua

Patrick Cua, individually, as surviving Child of Grace Cua

Linda Curia, as the Personal Representative of the Estate of
Laurence Curia, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Laurence
Curia

Linda Curia, individually, as surviving Spouse of Laurence Curia

Cherilyn McMullen, individually, as surviving Child of Laurence
Curia

Frederick Curry, as the Personal Representative of the Estate of
Beverly Curry, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Beverly
Curry

Frederick Curry, individually, as surviving Spouse of Beverly
Curry

Alicia Cohen, individually, as surviving Child of Patricia
Cushing

David E. Cushing, individually, as surviving Child of Patricia
Cushing

David E. Cushing, as the Personal Representative of the Estate of
Patricia Cushing, deceased, and on behalf of all survivors and all


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legally entitled beneficiaries and family members of Patricia
Cushing

John Cushing, individually, as surviving Child of Patricia
Cushing

Pegeen Cushing, individually, as surviving Child of Patricia
Cushing

Thomas F. Cushing, individually, as surviving Child of Patricia
Cushing

Louanne Baily, as the Personal Representative of the Estate of
Brian P. Dale, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Brian P.
Dale

Louanne Baily, individually, as surviving Spouse of Brian P.
Dale

Jacob E. Dale, individually, as surviving Child of Brian P. Dale

Rachel T. Dale, individually, as surviving Child of Brian P. Dale

Russell B. Dale, individually, as surviving Child of Brian P. Dale

Antonio D'Antonio, individually, as surviving Spouse of Mary
D'Antonio

Elizabeth D'Antonio, individually, as surviving Child of Mary
D'Antonio

Louisa J. Natale, individually, as surviving Child of Mary
D'Antonio

Louisa J. Natale, as the Personal Representative of the Estate of
Mary D'Antonio, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Mary
D'Antonio

Abigail Danz, individually, as surviving Child of Vincent Danz

Emily Danz, individually, as surviving Child of Vincent Danz

Winifred Danz, individually, as surviving Child of Vincent Danz

Angela Danz-Donohue, as the Personal Representative of the
Estate of Vincent Danz, deceased, and on behalf of all survivors
and all legally entitled beneficiaries and family members of
Vincent Danz


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Angela Danz-Donohue, individually, as surviving Spouse of
Vincent Danz

Beverly Cryne, individually, as surviving Sibling of William
Dean

Claire Anne Dean, individually, as surviving Child of William
Dean

Donna Ellen Dean, individually, as surviving Sibling of William
Dean

Malcolm Dean, Sr., as the Personal Representative of the Estate
of Eleanor Dean, deceased, the late Parent of William Dean

Daniel Dean, as the Personal Representative of the Estate of
Mark Dean, deceased, the late Sibling of William Dean

Matthew Dean, individually, as surviving Child of William Dean

Patricia Dean, as the Personal Representative of the Estate of
William Dean, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of William
Dean

Patricia Dean, individually, as surviving Spouse of William Dean

Timothy Dean, individually, as surviving Sibling of William
Dean

Malcolm Dean, Jr., individually, as surviving Sibling of William
Dean

Malcolm Dean, Sr., individually, as surviving Parent of William
Dean

Nicole DeAngelis, individually, as surviving Child of Thomas P.
Deangelis

Patricia J. DeAngelis, as the Personal Representative of the
Estate of Thomas P. Deangelis, deceased, and on behalf of all
survivors and all legally entitled beneficiaries and family
members of Thomas P. Deangelis

Patricia J. DeAngelis, individually, as surviving Spouse of
Thomas P. Deangelis

Donna Smollen, individually, as surviving Sibling of Thomas P.
Deangelis


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Ernesto Barrera, as the Personal Representative of the Estate of
Ana Debarrera, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Ana
Debarrera

Ernesto Barrera, individually, as surviving Spouse of Ana
Debarrera

Lombardo Ernesto Barrera, individually, as surviving Child of
Ana Debarrera

Geisel Dagne Barrera Pocasangre, individually, as surviving
Child of Ana Debarrera

Karen Lisbeth Barrera Pocasangre, individually, as surviving
Child of Ana Debarrera

Linda Morena Barrera Pocasangre, individually, as surviving
Child of Ana Debarrera

Mauricio Ernesto Barrera Pocasangre, individually, as surviving
Child of Ana Debarrera

James DeBlase, individually, as surviving Child of James V.
DeBlase, Jr.

Joseph DeBlase, individually, as surviving Child of James V.
DeBlase, Jr.

Marion DeBlase, as the Personal Representative of the Estate of
James V. DeBlase, Jr., deceased, and on behalf of all survivors
and all legally entitled beneficiaries and family members of
James V. DeBlase, Jr.

Marion DeBlase, individually, as surviving Spouse of James V.
DeBlase, Jr.

Nicholas DeBlase, individually, as surviving Child of James V.
DeBlase, Jr.

Sofie Cirinelli, as the Personal Representative of the Estate of
David Defeo, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of David
Defeo

Sofie Cirinelli, individually, as surviving Spouse of David Defeo

Wanda Hernandez, as the Personal Representative of the Estate
of Monique E. DeJesus, deceased, and on behalf of all survivors


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and all legally entitled beneficiaries and family members of
Monique E. DeJesus

Wanda Hernandez, individually, as surviving Parent of Monique
E. DeJesus

James Della Bella, as the Personal Representative of the Estate of
Andrea Della Bella, deceased, and on behalf of all survivors and
all legally entitled beneficiaries and family members of Andrea
Della Bella

James Della Bella, individually, as surviving Stepchild of Andrea
Della Bella

James Della Bella, as the Personal Representative of the Estate of
Vincent Della Bella, deceased, the late Spouse of Andrea Della
Bella

David Lun, individually, as surviving Sibling of Andrea Della
Bella

Christopher Della Pietra, as the Personal Representative of the
Estate of Joseph Della Pietra, deceased, and on behalf of all
survivors and all legally entitled beneficiaries and family
members of Joseph Della Pietra

Christopher Della Pietra, individually, as surviving Sibling of
Joseph Della Pietra

Lisa Della Pietra, individually, as surviving Sibling of Joseph
Della Pietra

Sandra Della Pietra, individually, as surviving Parent of Joseph
Della Pietra

Amanda Deloughery, individually, as surviving Child of Colleen
Ann Deloughery

Michael D Deloughery, individually, as surviving Child of
Colleen Ann Deloughery

Michael J Deloughery, as the Personal Representative of the
Estate of Colleen Ann Deloughery, deceased, and on behalf of all
survivors and all legally entitled beneficiaries and family
members of Colleen Ann Deloughery

Michael J Deloughery, individually, as surviving Spouse of
Colleen Ann Deloughery




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Patricia Marrese, individually, as surviving Sibling of Colleen
Ann Deloughery

Joseph McNulty, individually, as surviving Sibling of Colleen
Ann Deloughery

Michael McNulty, individually, as surviving Sibling of Colleen
Ann Deloughery

Violetta Demas, as the Personal Representative of the Estate of
Anthony Demas, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Anthony
Demas

Violetta Demas, individually, as surviving Spouse of Anthony
Demas

Brooke Deming, as the Personal Representative of the Estate of
Francis X. Deming, deceased, and on behalf of all survivors and
all legally entitled beneficiaries and family members of Francis
X. Deming

Brooke Deming, individually, as surviving Spouse of Francis X.
Deming

Anne K. Brewer, individually, as surviving Child of Carol K.
Demitz

Curtis F. Brewer, as the Personal Representative of the Estate of
Carol K. Demitz, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Carol K.
Demitz

Curtis F. Brewer, individually, as surviving Spouse of Carol K.
Demitz

Charles Demitz , individually, as surviving Sibling of Carol K.
Demitz

Michael Demitz , individually, as surviving Sibling of Carol K.
Demitz

Susan Demitz , individually, as surviving Sibling of Carol K.
Demitz

Woody Demitz , individually, as surviving Sibling of Carol K.
Demitz

Christel DeSimone, as the Personal Representative of the Estate
of Christian Desimone, deceased, and on behalf of all survivors

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and all legally entitled beneficiaries and family members of
Christian Desimone

Christel DeSimone, individually, as surviving Parent of Christian
Desimone

Martina DeSimone-Caliso, individually, as surviving Sibling of
Christian Desimone

Todd Devito, individually, as surviving Child of Jerry Devito

Todd Devito, as the Personal Representative of the Estate of
Jerry Devito, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Jerry Devito

Robyn Goldstein , individually, as surviving Child of Jerry
Devito

Joyce Devitt, as the Personal Representative of the Estate of
Robert Devitt, Jr., deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Robert
Devitt, Jr.

Joyce Devitt, individually, as surviving Parent of Robert Devitt,
Jr.

Joyce Devitt, as the Personal Representative of the Estate of
Robert Devitt, Sr., deceased, the late Parent of Robert Devitt, Jr.

Carl DiAgostino, individually, as surviving Sibling of Michael
DiAgostino

Frank DiAgostino, as the Personal Representative of the Estate
of Carlo DiAgostino, deceased, the late Parent of Michael
DiAgostino

Christina DiAgostino, individually, as surviving Child of
Michael DiAgostino

Clara DiAgostino, individually, as surviving Parent of Michael
DiAgostino

Donna DiAgostino, as the Personal Representative of the Estate
of Michael DiAgostino, deceased, and on behalf of all survivors
and all legally entitled beneficiaries and family members of
Michael DiAgostino

Donna DiAgostino, individually, as surviving Spouse of Michael
DiAgostino



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Frank DiAgostino, individually, as surviving Sibling of Michael
DiAgostino

Paul DiAgostino, individually, as surviving Sibling of Michael
DiAgostino

Pauline DiAgostino, individually, as surviving Child of Michael
DiAgostino

Julie Magliulo, individually, as surviving Sibling of Michael
DiAgostino

Belkys Diaz, individually, as surviving Sibling of Nancy Diaz

Carmen Diaz, individually, as surviving Parent of Nancy Diaz

Leocadio Diaz, individually, as surviving Parent of Nancy Diaz

Leocadio and Carmen Diaz, as the Personal Representatives of
the Estate of Nancy Diaz, deceased, and on behalf of all
survivors and all legally entitled beneficiaries and family
members of Nancy Diaz

Leonel Diaz, individually, as surviving Sibling of Nancy Diaz

Amanda Martinez Diaz, individually, as surviving Child of
Nancy Diaz

Jeffrey Schorpp, as the Personal Representative of the Estate of
Marisa Dinardo Schorpp, deceased, and on behalf of all survivors
and all legally entitled beneficiaries and family members of
Marisa Dinardo Schorpp

Jeffrey Schorpp, individually, as surviving Spouse of Marisa
Dinardo Schorpp

Amy Dincuff, individually, as surviving Sibling of Christopher
Dincuff

Beth Dincuff, individually, as surviving Sibling of Christopher
Dincuff

Frank Dincuff, individually, as surviving Parent of Christopher
Dincuff

Ian Dincuff, individually, as surviving Sibling of Christopher
Dincuff

Joan Dincuff, individually, as surviving Parent of Christopher
Dincuff

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Joan and Frank Dincuff, as the Personal Representatives of the
Estate of Christopher Dincuff, deceased, and on behalf of all
survivors and all legally entitled beneficiaries and family
members of Christopher Dincuff

Andy Dinnoo, as the Personal Representative of the Estate of
Rena Dinnoo, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Rena
Dinnoo

Andy Dinnoo, individually, as surviving Spouse of Rena Dinnoo

Clarence Sam, individually, as surviving Parent of Rena Dinnoo

Dhanmatee Sam, individually, as surviving Parent of Rena
Dinnoo

Gina Sam, individually, as surviving Sibling of Rena Dinnoo

Lisa Sam, individually, as surviving Sibling of Rena Dinnoo

Joseph DiPilato, individually, as surviving Child of Joseph
DiPilato

Leo DiPilato, individually, as surviving Child of Joseph DiPilato

Maria DiPilato, as the Personal Representative of the Estate of
Joseph DiPilato, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Joseph
DiPilato

Maria DiPilato, individually, as surviving Spouse of Joseph
DiPilato

Ann Distefano, individually, as surviving Sibling of Douglas
Distefano

David Distefano, individually, as surviving Sibling of Douglas
Distefano

Frank Distefano, as the Personal Representative of the Estate of
Douglas Distefano, deceased, and on behalf of all survivors and
all legally entitled beneficiaries and family members of Douglas
Distefano

Frank Distefano, individually, as surviving Parent of Douglas
Distefano

Sharon Distefano, individually, as surviving Parent of Douglas
Distefano

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Brian Dolan, individually, as surviving Sibling of Brendan Dolan

Charles Dolan, individually, as surviving Sibling of Brendan
Dolan

Mary Dolan, individually, as surviving Parent of Brendan Dolan

Samantha Dolan, individually, as surviving Child of Brendan
Dolan

Sarah Dolan, individually, as surviving Child of Brendan Dolan

Stacey Fran Dolan, as the Personal Representative of the Estate
of Brendan Dolan, deceased, and on behalf of all survivors and
all legally entitled beneficiaries and family members of Brendan
Dolan

Stacey Fran Dolan, individually, as surviving Spouse of Brendan
Dolan

Thomas V. Dolan, individually, as surviving Sibling of Brendan
Dolan

Ann McMahon, individually, as surviving Sibling of Brendan
Dolan

Charles R. Downey, individually, as surviving Child of Raymond
M. Downey

Joseph R. Downey, individually, as surviving Child of Raymond
M. Downey

Joseph R. Downey, as the Personal Representative of the Estate
of Raymond M. Downey, deceased, and on behalf of all
survivors and all legally entitled beneficiaries and family
members of Raymond M. Downey

Raymond M. Downey, individually, as surviving Child of
Raymond M. Downey

Rosalie B. Downey, individually, as surviving Spouse of
Raymond M. Downey

Marie Ann Tortorici , individually, as surviving Child of
Raymond M. Downey

Kathy A. Ugalde, individually, as surviving Child of Raymond
M. Downey



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Marvin Duarte, individually, as surviving Sibling of Mirna A.
Duarte

Lidia Hernandez Melendez, as the Personal Representative of the
Estate of Mirna A. Duarte, deceased, and on behalf of all
survivors and all legally entitled beneficiaries and family
members of Mirna A. Duarte

Lidia Hernandez Melendez, individually, as surviving Parent of
Mirna A. Duarte

Charles Dunne, individually, as surviving Sibling of Christopher
J. Dunne

Charles Dunne, as the Personal Representative of the Estate of
Jay Dunne, deceased, the late Parent of Christopher J. Dunne

Mary Dunne, as the Personal Representative of the Estate of
Christopher J. Dunne, deceased, and on behalf of all survivors
and all legally entitled beneficiaries and family members of
Christopher J. Dunne

Mary Dunne, individually, as surviving Parent of Christopher J.
Dunne

Courtney Dunne-Keenan, individually, as surviving Sibling of
Christopher J. Dunne

Cynthia Dunne-Welch, individually, as surviving Sibling of
Christopher J. Dunne

Brett Eagleson, individually, as surviving Child of John B.
Eagleson

Gail Eagleson, as the Personal Representative of the Estate of
John B. Eagleson, deceased, and on behalf of all survivors and
all legally entitled beneficiaries and family members of John B.
Eagleson

Gail Eagleson, individually, as surviving Spouse of John B.
Eagleson

Kyle Eagleson, individually, as surviving Child of John B.
Eagleson

Timothy Eagleson, individually, as surviving Child of John B.
Eagleson

William Eagleson, individually, as surviving Sibling of John B.
Eagleson

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Carol Eckna, individually, as surviving Parent of Paul Eckna

Richard Eckna, individually, as surviving Sibling of Paul Eckna

Stanley Eckna, as the Personal Representative of the Estate of
Paul Eckna, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Paul Eckna

Stanley Eckna, individually, as surviving Parent of Paul Eckna

Steven Eckna, individually, as surviving Sibling of Paul Eckna

Thomas Edwards, III, as the Personal Representative of the
Estate of Marilyn Edwards, deceased, the late Parent of Mary
Lynn Edwards Angell

Thomas H. Edwards, III, individually, as surviving Sibling of
Mary Lynn Edwards Angell

Perry Oretzky, as the Personal Representative of the Estate of
Mary Lynn Edwards Angell, deceased, and on behalf of all
survivors and all legally entitled beneficiaries and family
members of Mary Lynn Edwards Angell

Brendan Egan, individually, as surviving Sibling of Lisa E. Egan

David Egan, as the Personal Representative of the Estate of Lisa
E. Egan, deceased, and on behalf of all survivors and all legally
entitled beneficiaries and family members of Lisa E. Egan

David Egan, individually, as surviving Parent of Lisa E. Egan

Elizabeth Egan, individually, as surviving Parent of Lisa E. Egan

Thomas Emperor, individually, as surviving Sibling of Lisa E.
Egan

Brendan Egan, individually, as surviving Sibling of Samantha M.
Egan

David Egan, as the Personal Representative of the Estate of
Samantha M. Egan, deceased, and on behalf of all survivors and
all legally entitled beneficiaries and family members of
Samantha M. Egan

David Egan, individually, as surviving Parent of Samantha M.
Egan

Elizabeth Egan, individually, as surviving Parent of Samantha M.
Egan

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Thomas Emperor, individually, as surviving Sibling of Samantha
M. Egan

Sam Ellis, as the Personal Representative of the Estate of Valerie
S. Ellis, deceased, and on behalf of all survivors and all legally
entitled beneficiaries and family members of Valerie S. Ellis

Sam Ellis, individually, as surviving Spouse of Valerie S. Ellis

Brendan Erwin, individually, as surviving Child of William
Erwin

Eileen Erwin-Michael, as the Personal Representative of the
Estate of William Erwin, deceased, and on behalf of all survivors
and all legally entitled beneficiaries and family members of
William Erwin

Eileen Erwin-Michael, individually, as surviving Spouse of
William Erwin

Rafael Antonio Garcia, individually, as surviving Parent of
Fanny Espinoza

Christian Espinoza, individually, as surviving Child of Fanny
Espinoza

Luis Espinoza, as the Personal Representative of the Estate of
Fanny Espinoza, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Fanny
Espinoza

Luis Espinoza, individually, as surviving Spouse of Fanny
Espinoza

Stephanie Espinoza, individually, as surviving Child of Fanny
Espinoza

Pedro Garcia, individually, as surviving Sibling of Fanny
Espinoza

Wanda Garcia, individually, as surviving Sibling of Fanny
Espinoza

Monica Garcia Lantigua, individually, as surviving Parent of
Fanny Espinoza

Andrew Esposito, individually, as surviving Child of Michael
Esposito



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Denise Esposito, as the Personal Representative of the Estate of
Michael Esposito, deceased, and on behalf of all survivors and
all legally entitled beneficiaries and family members of Michael
Esposito

Denise Esposito, individually, as surviving Spouse of Michael
Esposito

Michael Esposito, individually, as surviving Child of Michael
Esposito

Jeanne M. Evans, as the Personal Representative of the Estate of
Robert Evans, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Robert
Evans

Jeanne M. Evans, individually, as surviving Sibling of Robert
Evans

Elizabeth Fallon, individually, as surviving Sibling of William L.
Fallon, Jr.

Elizabeth Fallon, as the Personal Representative of the Estate of
Elizabeth Fallon, deceased, the late Parent of William L. Fallon,
Jr.

Kathleen Fallon, individually, as surviving Child of William L.
Fallon, Jr.

Kenneth Fallon, individually, as surviving Sibling of William L.
Fallon, Jr.

Laura Fallon, as the Personal Representative of the Estate of
William L. Fallon, Jr., deceased, and on behalf of all survivors
and all legally entitled beneficiaries and family members of
William L. Fallon, Jr.

Laura Fallon, individually, as surviving Spouse of William L.
Fallon, Jr.

Elizabeth Fallon, as the Personal Representative of the Estate of
William Fallon, deceased, the late Parent of William L. Fallon,
Jr.

Kayla Fallon Arestivo, individually, as surviving Child of
William L. Fallon, Jr.

Alexandra Fallone, individually, as surviving Child of Anthony
Fallone


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Katherine Fallone, individually, as surviving Child of Anthony
Fallone

Patricia Fallone, as the Personal Representative of the Estate of
Anthony Fallone, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Anthony
Fallone

Patricia Fallone, individually, as surviving Spouse of Anthony
Fallone

Patrick Fallone, individually, as surviving Child of Anthony
Fallone

Anthony Fallone, III, individually, as surviving Child of Anthony
Fallone

Maureen Fanning, as the Personal Representative of the Estate of
John Fanning, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of John
Fanning

Maureen Fanning, individually, as surviving Spouse of John
Fanning

Patrick Fanning, individually, as surviving Child of John
Fanning

Sean Fanning, individually, as surviving Child of John Fanning

Amy Polmar, as the Personal Representative of the Estate of
Douglas Farnum, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Douglas
Farnum

Amy Polmar, individually, as surviving Spouse of Douglas
Farnum

Colin Farrell, individually, as surviving Child of John Farrell

Maryanne Farrell, as the Personal Representative of the Estate of
John Farrell, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of John Farrell

Maryanne Farrell, individually, as surviving Spouse of John
Farrell

Molly Farrell, individually, as surviving Child of John Farrell

Patrick Farrell, individually, as surviving Child of John Farrell

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Kaitlin Farrell Mullen, individually, as surviving Child of John
Farrell

Syed Abdul Rahman, individually, as surviving Sibling of Syed
Abdul Fatha

Melissa Ann Van Ness Fatha, as the Personal Representative of
the Estate of Syed Abdul Fatha, deceased, and on behalf of all
survivors and all legally entitled beneficiaries and family
members of Syed Abdul Fatha

Melissa Ann Van Ness Fatha, individually, as surviving Spouse
of Syed Abdul Fatha

Steven Feidelberg, as the Personal Representative of the Estate
of Peter Feidelberg, deceased, and on behalf of all survivors and
all legally entitled beneficiaries and family members of Peter
Feidelberg

Steven Feidelberg, individually, as surviving Sibling of Peter
Feidelberg

Michael Feinberg, individually, as surviving Child of Alan David
Feinberg

Wendy S. Feinberg, as the Personal Representative of the Estate
of Alan David Feinberg, deceased, and on behalf of all survivors
and all legally entitled beneficiaries and family members of Alan
David Feinberg

Wendy S. Feinberg, individually, as surviving Spouse of Alan
David Feinberg

Tara Feinberg Edgette, individually, as surviving Child of Alan
David Feinberg

Mary L. Ferguson, as the Personal Representative of the Estate
of George J. Ferguson III, deceased, and on behalf of all
survivors and all legally entitled beneficiaries and family
members of George J. Ferguson III

Mary L. Ferguson, individually, as surviving Spouse of George J.
Ferguson III

Matthew Ferguson, individually, as surviving Child of George J.
Ferguson III

Julio C. Fernandez, individually, as surviving Child of Julio
Fernandez


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Julio C. Fernandez, as the Personal Representative of the Estate
of Julio Fernandez, deceased, and on behalf of all survivors and
all legally entitled beneficiaries and family members of Julio
Fernandez

Charlene Fiore, as the Personal Representative of the Estate of
Michael Fiore, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Michael
Fiore

Charlene Fiore, individually, as surviving Spouse of Michael
Fiore

Michael Fiore, individually, as surviving Child of Michael Fiore

Jessica Fiore Lacasse, individually, as surviving Child of
Michael Fiore

Cristen Fiore Staiano, individually, as surviving Child of
Michael Fiore

Catherine Donovan, individually, as surviving Parent of
Christina Flannery

William Donovan, individually, as surviving Parent of Christina
Flannery

Brian Flannery, as the Personal Representative of the Estate of
Christina Flannery, deceased, and on behalf of all survivors and
all legally entitled beneficiaries and family members of Christina
Flannery

Brian Flannery, individually, as surviving Spouse of Christina
Flannery

Lori Fletcher, as the Personal Representative of the Estate of
Andre Fletcher, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Andre
Fletcher

Lori Fletcher, individually, as surviving Spouse of Andre
Fletcher

Janet Flyzik, as the Personal Representative of the Estate of
Charles A. Flyzik, deceased, the late Parent of Carol Flyzik

Claudia Flyzik, individually, as surviving Sibling of Carol Flyzik

Janet Flyzik, individually, as surviving Parent of Carol Flyzik


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Catherine Flyzik, as the Personal Representative of the Estate of
Mark Flyzik, deceased, the late Sibling of Carol Flyzik

Linda Pritchard, individually, as surviving Sibling of Carol
Flyzik

Claudia Flyzik and Nancy Walsh, as the Personal
Representatives of the Estate of Carol Flyzik, deceased, and on
behalf of all survivors and all legally entitled beneficiaries and
family members of Carol Flyzik

Joseph Walsh, individually, as surviving Stepchild of Carol
Flyzik

Kevin Walsh, individually, as surviving Stepchild of Carol
Flyzik

Kristin Walsh, individually, as surviving Stepchild of Carol
Flyzik

Nancy Walsh, individually, as surviving Partner of Carol Flyzik

Carrie Foley, as the Personal Representative of the Estate of
Daniel Foley, deceased, the late Sibling of Thomas Foley

Joanne Foley, as the Personal Representative of the Estate of
Thomas Foley, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Thomas
Foley

Joanne Foley, individually, as surviving Sibling of Thomas Foley

Joanne Foley, as the Personal Representative of the Estate of
Patricia Ann Foley, deceased, the late Parent of Thomas Foley

Joanne Foley, as the Personal Representative of the Estate of
Thomas Joseph Foley, deceased, the late Parent of Thomas Foley

Michael Folger, individually, as surviving Child of Jane Folger

Robert T. Folger, individually, as surviving Child of Jane Folger

Robert T. Folger, as the Personal Representative of the Estate of
Jane Folger, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Jane Folger

Thomas Folger, individually, as surviving Child of Jane Folger

Kathleen Kulik, individually, as surviving Child of Jane Folger


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Aidan Fontana, individually, as surviving Child of David J.
Fontana

Marian Fontana, as the Personal Representative of the Estate of
David J. Fontana, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of David J.
Fontana

Marian Fontana, individually, as surviving Spouse of David J.
Fontana

Kurt Foster, as the Personal Representative of the Estate of
Claudia Foster, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Claudia
Foster

Kurt Foster, individually, as surviving Spouse of Claudia Foster

Tierney Tramontozzi, as the Personal Representative of the
Estate of Kevin Frawley, deceased, and on behalf of all survivors
and all legally entitled beneficiaries and family members of
Kevin Frawley

Tierney Tramontozzi, individually, as surviving Spouse of Kevin
Frawley

Jeanine L. Frazier, as the Personal Representative of the Estate of
Clyde Frazier, Jr., deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Clyde
Frazier, Jr.

Jeanine L. Frazier, individually, as surviving Spouse of Clyde
Frazier, Jr.

Andrew J. Fredericks, individually, as surviving Child of
Andrew Fredericks

Hayley Fredericks, individually, as surviving Child of Andrew
Fredericks

Michelle Fredericks, as the Personal Representative of the Estate
of Andrew Fredericks, deceased, and on behalf of all survivors
and all legally entitled beneficiaries and family members of
Andrew Fredericks

Michelle Fredericks, individually, as surviving Spouse of
Andrew Fredericks

Dori E. Freund, individually, as surviving Child of Peter L.
Freund

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Peter C. Freund, individually, as surviving Child of Peter L.
Freund

Robin A. Freund, as the Personal Representative of the Estate of
Peter L. Freund, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Peter L.
Freund

Robin A. Freund, individually, as surviving Spouse of Peter L.
Freund

Julie A. Henneberry, individually, as surviving Child of Peter L.
Freund

Kenneth Fried, as the Personal Representative of the Estate of
Arlene E. Fried, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Arlene E.
Fried

Kenneth Fried, individually, as surviving Spouse of Arlene E.
Fried

Steven A. Friedlander, individually, as surviving Child of Alan
W. Friedlander

Helen Friedlander Del Sindaco, as the Personal Representative of
the Estate of Alan W. Friedlander, deceased, and on behalf of all
survivors and all legally entitled beneficiaries and family
members of Alan W. Friedlander

Helen Friedlander Del Sindaco, individually, as surviving Spouse
of Alan W. Friedlander

Daniel Friedman, individually, as surviving Child of Andrew
Friedman

Wendi Gabrieli, as the Personal Representative of the Estate of
Elaine Friedman, deceased, the late Parent of Andrew Friedman

Wendi Gabrieli, as the Personal Representative of the Estate of
Melvin Friedman, deceased, the late Parent of Andrew Friedman

Michael Friedman, individually, as surviving Child of Andrew
Friedman

Lisa Friedman-Clark, as the Personal Representative of the
Estate of Andrew Friedman, deceased, and on behalf of all
survivors and all legally entitled beneficiaries and family
members of Andrew Friedman


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Lisa Friedman-Clark, individually, as surviving Spouse of
Andrew Friedman

Wendi Gabrieli, individually, as surviving Sibling of Andrew
Friedman

Caley Loomis Fry, individually, as surviving Child of Peter Fry

Charles Gordon Fry, individually, as surviving Parent of Peter
Fry

Lance Fry, individually, as surviving Sibling of Peter Fry

Meredith Fry, as the Personal Representative of the Estate of
Peter Fry, deceased, and on behalf of all survivors and all legally
entitled beneficiaries and family members of Peter Fry

Meredith Fry, individually, as surviving Spouse of Peter Fry

Michael Fry, individually, as surviving Sibling of Peter Fry

Taylor McClintock Fry, individually, as surviving Child of Peter
Fry

Robert Callanan, individually, as surviving Stepchild of Richard
P. Gabriel

Anne Gabriel, as the Personal Representative of the Estate of
Richard P. Gabriel, deceased, and on behalf of all survivors and
all legally entitled beneficiaries and family members of Richard
P. Gabriel

Anne Gabriel, individually, as surviving Spouse of Richard P.
Gabriel

Christopher Gabriel, individually, as surviving Child of Richard
P. Gabriel

James Gabriel, individually, as surviving Child of Richard P.
Gabriel

Patricia Gabriel, individually, as surviving Child of Richard P.
Gabriel

George Gabriel , individually, as surviving Sibling of Richard P.
Gabriel

Richard Gabriel , individually, as surviving Child of Richard P.
Gabriel


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Monica Gabrielle, as the Personal Representative of the Estate of
Richard S. Gabrielle, deceased, and on behalf of all survivors and
all legally entitled beneficiaries and family members of Richard
S. Gabrielle

Monica Gabrielle, individually, as surviving Spouse of Richard
S. Gabrielle

Nicole Gabrielle, individually, as surviving Child of Richard S.
Gabrielle

Therese Campbell, individually, as surviving Sibling of John P.
Gallagher

Celine Gallagher, individually, as surviving Parent of John P.
Gallagher

Francine Gallagher, as the Personal Representative of the Estate
of John P. Gallagher, deceased, and on behalf of all survivors
and all legally entitled beneficiaries and family members of John
P. Gallagher

Francine Gallagher, individually, as surviving Spouse of John P.
Gallagher

James Gallagher, individually, as surviving Child of John P.
Gallagher

Peter Jordan, individually, as surviving Sibling of John P.
Gallagher

Vincent Jordan, individually, as surviving Sibling of John P.
Gallagher

Kathleen Jordan-Hart, individually, as surviving Sibling of John
P. Gallagher

Anne Marie Sorge, individually, as surviving Sibling of John P.
Gallagher

John J. Diaz, individually, as surviving Sibling of Lourdes Janet
Galletti

Milagros Diaz, as the Personal Representative of the Estate of
Lourdes Janet Galletti, deceased, and on behalf of all survivors
and all legally entitled beneficiaries and family members of
Lourdes Janet Galletti

Milagros Diaz, individually, as surviving Parent of Lourdes Janet
Galletti

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Karine Henriquez, individually, as surviving Sibling of Lourdes
Janet Galletti

Eric J. Joglar, individually, as surviving Sibling of Lourdes Janet
Galletti

Emilio Gallo, individually, as surviving Parent of Cono Gallo

John Gallo, individually, as surviving Sibling of Cono Gallo

Lisa Gallo, individually, as surviving Sibling of Cono Gallo

Raffaela Gallo, individually, as surviving Parent of Cono Gallo

Manuela Nita-Vazquez, as the Personal Representative of the
Estate of Cono Gallo, deceased, and on behalf of all survivors
and all legally entitled beneficiaries and family members of Cono
Gallo

Manuela Nita-Vazquez, individually, as surviving Spouse of
Cono Gallo

Christopher M. Ganci, individually, as surviving Child of Peter J.
Ganci

Kathleen Ganci, as the Personal Representative of the Estate of
Peter J. Ganci, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Peter J.
Ganci

Kathleen Ganci, individually, as surviving Spouse of Peter J.
Ganci

Danielle Ganci Cowan, individually, as surviving Child of Peter
J. Ganci

Peter J. Ganci, III, individually, as surviving Child of Peter J.
Ganci

Hector Garcia, individually, as surviving Parent of Marlyn C.
Garcia

Hector and Carmen Garcia, as the Personal Representatives of
the Estate of Marlyn C. Garcia, deceased, and on behalf of all
survivors and all legally entitled beneficiaries and family
members of Marlyn C. Garcia

Ingrid Garcia, individually, as surviving Sibling of Marlyn C.
Garcia


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Karmen Garcia, individually, as surviving Parent of Marlyn C.
Garcia

Tania M. Garcia, individually, as surviving Sibling of Marlyn C.
Garcia

Julian Perez, individually, as surviving Nephew of Marlyn C.
Garcia

Kelly G. Arrillaga, individually, as surviving Child of Andrew
Garcia, Jr.

Carolyn McAllister and Kenneth Garcia , as the Personal
Representatives of the Estate of Isabela Garcia, deceased, the late
Parent of Andrew Garcia, Jr.

Kenneth Garcia, individually, as surviving Sibling of Andrew
Garcia, Jr.

Dorothy Garcia-Bachler, as the Personal Representative of the
Estate of Andrew Garcia, Jr., deceased, and on behalf of all
survivors and all legally entitled beneficiaries and family
members of Andrew Garcia, Jr.

Dorothy Garcia-Bachler, individually, as surviving Spouse of
Andrew Garcia, Jr.

Carolyn McAllister, individually, as surviving Sibling of Andrew
Garcia, Jr.

Audrey M. Olive, individually, as surviving Child of Andrew
Garcia, Jr.

Amy Gardner, individually, as surviving Child of Thomas
Gardner

Elizabeth Gardner, as the Personal Representative of the Estate
of Thomas Gardner, deceased, and on behalf of all survivors and
all legally entitled beneficiaries and family members of Thomas
Gardner

Elizabeth Gardner, individually, as surviving Spouse of Thomas
Gardner

Joseph Gardner, individually, as surviving Sibling of Thomas
Gardner

Margaret Gardner, individually, as surviving Parent of Thomas
Gardner


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Gregory Ardison-Gardner, individually, as surviving Child of
William A. Gardner

Andrew A. Gardner, individually, as surviving Child of William
A. Gardner

Elisabet Gardner, as the Personal Representative of the Estate of
William A. Gardner, deceased, and on behalf of all survivors and
all legally entitled beneficiaries and family members of William
A. Gardner

Elisabet Gardner, individually, as surviving Spouse of William
A. Gardner

Caterina Gargano D'Alessandro, individually, as surviving
Sibling of Rocco N. Gargano

Mariano D'Alessandro, individually, as surviving Nephew of
Rocco N. Gargano

Antonia Gargano, as the Personal Representative of the Estate of
Rocco N. Gargano, deceased, and on behalf of all survivors and
all legally entitled beneficiaries and family members of Rocco N.
Gargano

Antonia Gargano, individually, as surviving Parent of Rocco N.
Gargano

Jamie Michelle Gartenberg Pila, individually, as surviving Child
of James Gartenberg

Jill A. Gartenberg Pila, as the Personal Representative of the
Estate of James Gartenberg, deceased, and on behalf of all
survivors and all legally entitled beneficiaries and family
members of James Gartenberg

Jill A. Gartenberg Pila, individually, as surviving Spouse of
James Gartenberg

Nicole Holly Gartenberg Pila, individually, as surviving Child of
James Gartenberg

Griffin C. Gelinas, individually, as surviving Child of Peter
Gelinas

Jack G. Gelinas, individually, as surviving Child of Peter Gelinas

Michelle Gelinas, as the Personal Representative of the Estate of
Peter Gelinas, deceased, and on behalf of all survivors and all


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legally entitled beneficiaries and family members of Peter
Gelinas

Michelle Gelinas, individually, as surviving Spouse of Peter
Gelinas

Debra Geller, as the Personal Representative of the Estate of
Steven Geller, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Steven
Geller

Debra Geller, individually, as surviving Spouse of Steven Geller

Hali Geller, individually, as surviving Child of Steven Geller

Annalisa Marie Genco, individually, as surviving Child of Peter
V. Genco, Jr.

Diane Genco, as the Personal Representative of the Estate of
Peter V. Genco, Jr., deceased, and on behalf of all survivors and
all legally entitled beneficiaries and family members of Peter V.
Genco, Jr.

Diane Genco, individually, as surviving Spouse of Peter V.
Genco, Jr.

Victoria Rose Genco, individually, as surviving Child of Peter V.
Genco, Jr.

Erin Durkin, as the Personal Representative of the Estate of
Suzanne Geraty, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Suzanne
Geraty

Erin Durkin, individually, as surviving Sibling of Suzanne
Geraty

Erin Durkin, as the Personal Representative of the Estate of
Eileen Geraty, deceased, the late Parent of Suzanne Geraty

Kelly Geraty, as the Personal Representative of the Estate of
Sean Geraty, deceased, the late Sibling of Suzanne Geraty

Peggy Dobrinski, individually, as surviving Sibling of Denis
Germain

Brian Germain, individually, as surviving Sibling of Denis
Germain




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Michael Germain, individually, as surviving Sibling of Denis
Germain

Philip Germain, as the Personal Representative of the Estate of
Denis Germain, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Denis
Germain

Philip Germain, individually, as surviving Parent of Denis
Germain

Theresa Ruther, individually, as surviving Sibling of Denis
Germain

Elisabeth Feldon, individually, as surviving Sibling of Joseph
Giaccone

Alexandra Giaccone, individually, as surviving Child of Joseph
Giaccone

James Giaccone, as the Personal Representative of the Estate of
Elizabeth Giaccone, deceased, the late Parent of Joseph Giaccone

James Giaccone, individually, as surviving Sibling of Joseph
Giaccone

Max Giaccone, individually, as surviving Child of Joseph
Giaccone

Michael Giaccone, individually, as surviving Sibling of Joseph
Giaccone

Sondra Giaccone, as the Personal Representative of the Estate of
Joseph Giaccone, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Joseph
Giaccone

Sondra Giaccone, individually, as surviving Spouse of Joseph
Giaccone

James Giaccone, as the Personal Representative of the Estate of
Vincent Giaccone, deceased, the late Parent of Joseph Giaccone

Carol L. Gies, as the Personal Representative of the Estate of
Ronnie E. Gies, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Ronnie E.
Gies

Carol L. Gies, individually, as surviving Spouse of Ronnie E.
Gies

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Robert E. Gies, individually, as surviving Child of Ronnie E.
Gies

Ronnie J. Gies, individually, as surviving Child of Ronnie E.
Gies

Thomas W. Gies, individually, as surviving Child of Ronnie E.
Gies

Anthony Marchese, individually, as surviving Parent of Laura A.
Giglio

Lorraine Marchese, as the Personal Representative of the Estate
of Laura A. Giglio, deceased, and on behalf of all survivors and
all legally entitled beneficiaries and family members of Laura A.
Giglio

Lorraine Marchese, individually, as surviving Parent of Laura A.
Giglio

Cathy Marchese-Collins, individually, as surviving Sibling of
Laura A. Giglio

Marie Thomas, individually, as surviving Sibling of Laura A.
Giglio

Mariann Coyle, as the Personal Representative of the Estate of
Andrew Gilbert, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Andrew
Gilbert

Mariann Coyle, individually, as surviving Spouse of Andrew
Gilbert

Lorraine M. Betancourt, individually, as surviving Parent of Paul
J. Gill

Aaron Gill, individually, as surviving Child of Paul J. Gill

Joshua Gill, individually, as surviving Child of Paul J. Gill

Georgette Gill, as the Personal Representative of the Estate of
John J. Gill, Jr., deceased, the late Parent of Paul J. Gill

Michelle J. Gill-Martinez, individually, as surviving Sibling of
Paul J. Gill

Tina Lampart, as the Personal Representative of the Estate of
Paul J. Gill, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Paul J. Gill

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Tina Lampart, individually, as surviving Spouse of Paul J. Gill

Aleesia C. Capoziello, individually, as surviving Child of
Rodney C. Gillis

Jonique C. Gillis, individually, as surviving Child of Rodney C.
Gillis

Serina Gillis, as the Personal Representative of the Estate of
Rodney C. Gillis, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Rodney C.
Gillis

Rodney C. Gillis, II, individually, as surviving Child of Rodney
C. Gillis

Jessica Giordano, individually, as surviving Child of John
Giordano

Jonathan Giordano, individually, as surviving Child of John
Giordano

Jordan Giordano, individually, as surviving Child of John
Giordano

Roxann Giordano, as the Personal Representative of the Estate of
John Giordano, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of John
Giordano

Roxann Giordano, individually, as surviving Spouse of John
Giordano

Alexa Giorgetti, individually, as surviving Child of Steven A.
Giorgetti

Armine Giorgetti, as the Personal Representative of the Estate of
Steven A. Giorgetti, deceased, and on behalf of all survivors and
all legally entitled beneficiaries and family members of Steven
A. Giorgetti

Armine Giorgetti, individually, as surviving Spouse of Steven A.
Giorgetti

Paul Giorgetti, individually, as surviving Child of Steven A.
Giorgetti

Susanne Deverson, individually, as surviving Sibling of
Salvatore Gitto


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Angela Gitto, as the Personal Representative of the Estate of
Salvatore Gitto, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Salvatore
Gitto

Angela Gitto, individually, as surviving Spouse of Salvatore
Gitto

Gregory Gitto, individually, as surviving Child of Salvatore Gitto

Suzanne Deverson, as the Personal Representative of the Estate
of Mary Gitto, deceased, the late Parent of Salvatore Gitto

Stephen Gitto, individually, as surviving Child of Salvatore Gitto

Thomas Gitto, individually, as surviving Sibling of Salvatore
Gitto

Lawrence Giugliano, as the Personal Representative of the Estate
of Cynthia Giugliano, deceased, and on behalf of all survivors
and all legally entitled beneficiaries and family members of
Cynthia Giugliano

Lawrence Giugliano, individually, as surviving Spouse of
Cynthia Giugliano

Meg Bloom, as the Personal Representative of the Estate of
Thomas Glasser, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Thomas
Glasser

Meg Bloom, individually, as surviving Spouse of Thomas
Glasser

Candy Glazer, as the Personal Representative of the Estate of
Edmund Glazer, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Edmund
Glazer

Candy Glazer, individually, as surviving Spouse of Edmund
Glazer

Nathan Glazer, individually, as surviving Child of Edmund
Glazer

Sharon Cobb-Glenn, as the Personal Representative of the Estate
of Harry Glenn, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Harry Glenn



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Sharon Cobb-Glenn, individually, as surviving Spouse of Harry
Glenn

Birdie Mae Glenn, individually, as surviving Parent of Harry
Glenn

Donald O. Glenn, individually, as surviving Sibling of Harry
Glenn

Jalen L. Glenn, individually, as surviving Child of Harry Glenn

James Glenn, individually, as surviving Sibling of Harry Glenn

Roosevelt Glenn, Jr., individually, as surviving Sibling of Harry
Glenn

Roosevelt Glenn, Sr., individually, as surviving Parent of Harry
Glenn

Tawania Loyd, as the Personal Representative of the Estate of
Franklin Murray, deceased, the late Sibling of Harry Glenn

Helene Gnazzo, as the Personal Representative of the Estate of
John T. Gnazzo, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of John T.
Gnazzo

Helene Gnazzo, individually, as surviving Spouse of John T.
Gnazzo

John Gnazzo, individually, as surviving Child of John T. Gnazzo

Jule Gnazzo, individually, as surviving Child of John T. Gnazzo

Misha Yoshida Gnazzo, individually, as surviving Sibling of
John T. Gnazzo

Shari M. Goldberg, individually, as surviving Sibling of Brian
Goldberg

Jodie Goldberg Sherer, as the Personal Representative of the
Estate of Brian Goldberg, deceased, and on behalf of all
survivors and all legally entitled beneficiaries and family
members of Brian Goldberg

Jodie Goldberg Sherer, individually, as surviving Spouse of
Brian Goldberg

Celia Rose Gooding, individually, as surviving Child of Calvin J.
Gooding

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Zaya Lachanze Gooding, individually, as surviving Child of
Calvin J. Gooding

Lachanze Sapp-Gooding, as the Personal Representative of the
Estate of Calvin J. Gooding, deceased, and on behalf of all
survivors and all legally entitled beneficiaries and family
members of Calvin J. Gooding

Lachanze Sapp-Gooding, individually, as surviving Spouse of
Calvin J. Gooding

Rachel W. Goodrich, as the Personal Representative of the Estate
of Peter Goodrich, deceased, and on behalf of all survivors and
all legally entitled beneficiaries and family members of Peter
Goodrich

Rachel W. Goodrich, individually, as surviving Spouse of Peter
Goodrich

Sharon Baker-Gual, individually, as surviving Sibling of Kerene
Gordon

Elmeda George, individually, as surviving Parent of Kerene
Gordon

St. Elmo Elmo George, individually, as surviving Sibling of
Kerene Gordon

David Dwight Nelson, individually, as surviving Child of Kerene
Gordon

Delroy Nelson, individually, as surviving Child of Kerene
Gordon

Sharon Baker-Gual & David Nelson, as the Personal
Representative of the Estate of Kerene Gordon, deceased, and on
behalf of all survivors and all legally entitled beneficiaries and
family members of Kerene Gordon

Kevin Phillips, individually, as surviving Sibling of Kerene
Gordon

Charles Greene, individually, as surviving Child of Donald
Greene

Claudette B. Greene, as the Personal Representative of the Estate
of Donald Greene, deceased, and on behalf of all survivors and
all legally entitled beneficiaries and family members of Donald
Greene


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Claudette B. Greene, individually, as surviving Spouse of Donald
Greene

Jody Greene, individually, as surviving Child of Donald Greene

Patricia Greenleaf, individually, as surviving Parent of James
Greenleaf

Peter Greenleaf, as the Personal Representative of the Estate of
James Greenleaf, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of James
Greenleaf

Peter Greenleaf, individually, as surviving Sibling of James
Greenleaf

John Gregory, as the Personal Representative of the Estate of
Florence Gregory, deceased, the late Parent of Florence M.
Gregory

John F. Gregory, as the Personal Representative of the Estate of
Florence M. Gregory, deceased, and on behalf of all survivors
and all legally entitled beneficiaries and family members of
Florence M. Gregory

John F. Gregory, individually, as surviving Sibling of Florence
M. Gregory

John Gregory, as the Personal Representative of the Estate of
John Gregory, deceased, the late Parent of Florence M. Gregory

Maureen Petronis, individually, as surviving Sibling of Florence
M. Gregory

Bobby Griffin, as the Personal Representative of the Estate of
Tawanna Griffin, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Tawanna
Griffin

Bobby Griffin, individually, as surviving Spouse of Tawanna
Griffin

Steven Grillo, as the Personal Representative of the Estate of
Joseph Francis Grillo, deceased, the late Parent of Joseph Grillo

Mary Jo Grillo, as the Personal Representative of the Estate of
Joseph Grillo, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Joseph
Grillo


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Mary Jo Grillo, individually, as surviving Spouse of Joseph
Grillo

Matthew Grillo, individually, as surviving Child of Joseph Grillo

Steven A. Grillo, individually, as surviving Sibling of Joseph
Grillo

Timothy Grillo, individually, as surviving Child of Joseph Grillo

Eva Mallery Gurian, individually, as surviving Child of Douglas
B. Gurian

Susan Mallery Gurian, as the Personal Representative of the
Estate of Douglas B. Gurian, deceased, and on behalf of all
survivors and all legally entitled beneficiaries and family
members of Douglas B. Gurian

Susan Mallery Gurian, individually, as surviving Spouse of
Douglas B. Gurian

Tyler Douglas Gurian, individually, as surviving Child of
Douglas B. Gurian

Kevin T. Haag, individually, as surviving Child of Gary Haag

Mary Haag, as the Personal Representative of the Estate of Gary
Haag, deceased, and on behalf of all survivors and all legally
entitled beneficiaries and family members of Gary Haag

Mary Haag, individually, as surviving Spouse of Gary Haag

Michael P. Haag, individually, as surviving Child of Gary Haag

Molly M. Haag, individually, as surviving Child of Gary Haag

Robert Haag, individually, as surviving Parent of Gary Haag

Lori Haag Herrmann, individually, as surviving Sibling of Gary
Haag

Gordon G. Haberman, as the Personal Representative of the
Estate of Andrea L. Haberman, deceased, and on behalf of all
survivors and all legally entitled beneficiaries and family
members of Andrea L. Haberman

Gordon G. Haberman, individually, as surviving Parent of
Andrea L. Haberman



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Kathleen Haberman, individually, as surviving Parent of Andrea
L. Haberman

Julie Ann Haberman Osmus, individually, as surviving Sibling of
Andrea L. Haberman

James Hagerty, individually, as surviving Sibling of Karen E.
Hagerty

Deborah Loeffler, individually, as surviving Sibling of Karen E.
Hagerty

J. Linzee Whittaker, individually, as surviving Stepparent of
Karen E. Hagerty

Lena Whittaker, as the Personal Representative of the Estate of
Karen E. Hagerty, deceased, and on behalf of all survivors and
all legally entitled beneficiaries and family members of Karen E.
Hagerty

Lena Whittaker, individually, as surviving Parent of Karen E.
Hagerty

Eric Jay Han, individually, as surviving Child of Frederic K. Han

Floyd Han, individually, as surviving Sibling of Frederic K. Han

Frank Han, individually, as surviving Sibling of Frederic K. Han

Frank Han, as the Personal Representative of the Estate of Kim
Han, deceased, the late Parent of Frederic K. Han

Patricia Han, as the Personal Representative of the Estate of
Frederic K. Han, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Frederic K.
Han

Patricia Han, individually, as surviving Spouse of Frederic K.
Han

Dennis J. Hannafin, individually, as surviving Sibling of Thomas
Hannafin

John Hannafin, individually, as surviving Sibling of Thomas
Hannafin

Kayla Hannafin, individually, as surviving Child of Thomas
Hannafin



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Kevin P. Hannafin, individually, as surviving Sibling of Thomas
Hannafin

Patrick Hannafin, individually, as surviving Sibling of Thomas
Hannafin

Peter Hannafin, individually, as surviving Sibling of Thomas
Hannafin

Rene B. Hannafin, as the Personal Representative of the Estate of
Thomas Hannafin, deceased, and on behalf of all survivors and
all legally entitled beneficiaries and family members of Thomas
Hannafin

Rene B. Hannafin, individually, as surviving Spouse of Thomas
Hannafin

Thomas Hannafin, individually, as surviving Child of Thomas
Hannafin

Carol Haran, as the Personal Representative of the Estate of
James Haran, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of James
Haran

Carol Haran, individually, as surviving Spouse of James Haran

Elyse R. Harrell, individually, as surviving Child of Harvey L.
Harrell

Marissa R. Harrell, individually, as surviving Child of Harvey L.
Harrell

Rachel R. Harrell, as the Personal Representative of the Estate of
Harvey L. Harrell, deceased, and on behalf of all survivors and
all legally entitled beneficiaries and family members of Harvey
L. Harrell

Rachel R. Harrell, individually, as surviving Spouse of Harvey L.
Harrell

Holly Rae Harrell, individually, as surviving Child of Stephen G.
Harrell

Margaret Harrell, as the Personal Representative of the Estate of
Stephen G. Harrell, deceased, and on behalf of all survivors and
all legally entitled beneficiaries and family members of Stephen
G. Harrell



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Margaret Harrell, individually, as surviving Spouse of Stephen
G. Harrell

Craig Harris, individually, as surviving Child of Stewart D.
Harris

Sheila Harris, as the Personal Representative of the Estate of
Stewart D. Harris, deceased, and on behalf of all survivors and
all legally entitled beneficiaries and family members of Stewart
D. Harris

Sheila Harris, individually, as surviving Spouse of Stewart D.
Harris

Elissa Harris Sacket, individually, as surviving Child of Stewart
D. Harris

Peapack-Gladstone Bank, as the Personal Representative of the
Estate of John C. Hartz, deceased, and on behalf of all survivors
and all legally entitled beneficiaries and family members of John
C. Hartz

Elinore Hartz, individually, as surviving Spouse of John C. Hartz

Michael Harvey, individually, as surviving Sibling of Emeric J.
Harvey

Virginia Harvey, individually, as surviving Sibling of Emeric J.
Harvey

Jennifer Harvey-Trainor, as the Personal Representative of the
Estate of Emeric J. Harvey, deceased, and on behalf of all
survivors and all legally entitled beneficiaries and family
members of Emeric J. Harvey

Jennifer Harvey-Trainor, individually, as surviving Spouse of
Emeric J. Harvey

Marie Ryan, individually, as surviving Sibling of Emeric J.
Harvey

Antoinette Steo, individually, as surviving Sibling of Emeric J.
Harvey

Joanne Hatton, as the Personal Representative of the Estate of
Leonard Hatton, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Leonard
Hatton



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Joanne Hatton, individually, as surviving Spouse of Leonard
Hatton

Delores Legree, as the Personal Representative of the Estate of
Anthony Hawkins, deceased, and on behalf of all survivors and
all legally entitled beneficiaries and family members of Anthony
Hawkins

Delores Legree, individually, as surviving Parent of Anthony
Hawkins

Hafeezah Legree, individually, as surviving Sibling of Anthony
Hawkins

Chaniqua Wynter, individually, as surviving Sibling of Anthony
Hawkins

Laura Froehlich, individually, as surviving Child of Philip T.
Hayes

Phillip Hayes, Jr. and Virginia McDermott, as the Personal
Representatives of the Estate of Virginia Hayes, deceased, the
late Spouse of Philip T. Hayes

Philip T. Hayes, Jr., individually, as surviving Child of Philip T.
Hayes

Philip Hayes, Jr. and Virginia McDermott, as the Personal
Representatives of the Estate of Philip T. Hayes, deceased, and
on behalf of all survivors and all legally entitled beneficiaries
and family members of Philip T. Hayes

Virginia McDermott, individually, as surviving Child of Philip T.
Hayes

Theresa O'Gara, individually, as surviving Child of Philip T.
Hayes

Ann R. Haynes, as the Personal Representative of the Estate of
William W. Haynes, deceased, and on behalf of all survivors and
all legally entitled beneficiaries and family members of William
W. Haynes

Ann R. Haynes, individually, as surviving Spouse of William W.
Haynes

Barbara Haynes, individually, as surviving Parent of William W.
Haynes



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Ann Haynes, as the Personal Representative of the Estate of
Elizabeth W. Haynes, deceased, the late Child of William W.
Haynes

Thomas John Haynes, individually, as surviving Sibling of
William W. Haynes

William W. Haynes, II, individually, as surviving Child of
William W. Haynes

Katherine Haynes-Pepe, individually, as surviving Sibling of
William W. Haynes

Terence M. Smith, Jr., individually, as surviving Stepchild of
William W. Haynes

Kathryn E. Healey, individually, as surviving Child of Michael
Healey

Matthew A. Healey, individually, as surviving Child of Michael
Healey

Michael J. Healey, individually, as surviving Child of Michael
Healey

Theresa Healey, as the Personal Representative of the Estate of
Michael Healey, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Michael
Healey

Theresa Healey, individually, as surviving Spouse of Michael
Healey

Doron Henderson, individually, as surviving Child of Ronnie
Lee Henderson

Hashim Henderson, individually, as surviving Child of Ronnie
Lee Henderson

Hashim and Shirley Henderson, as the Personal Representatives
of the Estate of Ronnie Lee Henderson, deceased, and on behalf
of all survivors and all legally entitled beneficiaries and family
members of Ronnie Lee Henderson

Shirley Henderson, individually, as surviving Partner of Ronnie
Lee Henderson

Marshall Ross, individually, as surviving Stepchild of Ronnie
Lee Henderson


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LaKimmie Smith, individually, as surviving Stepchild of Ronnie
Lee Henderson

Digna Hernandez, as the Personal Representative of the Estate of
Raul Hernandez, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Raul
Hernandez

Digna Hernandez, individually, as surviving Spouse of Raul
Hernandez

Daniel Hickey, individually, as surviving Child of Brian Hickey

Donna Hickey, as the Personal Representative of the Estate of
Dennis Hickey, deceased, the late Child of Brian Hickey

Donna Hickey, as the Personal Representative of the Estate of
Brian C. Hickey, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Brian C.
Hickey

Donna Hickey, individually, as surviving Spouse of Brian C.
Hickey

Kevin Hickey, individually, as surviving Child of Brian Hickey

Jaclyn LaBarbera, individually, as surviving Child of Brian
Hickey

Loretta Petronzi, individually, as surviving Sibling of Brian
Hickey

Mary Truelson, individually, as surviving Sibling of Brian
Hickey

Amanda Higley, individually, as surviving Child of Robert
Higley

Judith Higley, individually, as surviving Parent of Robert Higley

Robyn Higley, individually, as surviving Child of Robert Higley

Victoria Higley, as the Personal Representative of the Estate of
Robert Higley, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Robert
Higley

Victoria Higley, individually, as surviving Spouse of Robert
Higley


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Karen Greene, individually, as surviving Sibling of Neil Hinds

Coleen Hinds, individually, as surviving Sibling of Neil Hinds

Karen Greene, as the Personal Representative of the Estate of
Collin Hinds, deceased, the late Parent of Neil Hinds

Ethlyn Hinds, individually, as surviving Parent of Neil Hinds

Jameer Hinds, individually, as surviving Child of Neil Hinds

Karen Hinds, as the Personal Representative of the Estate of Neil
Hinds, deceased, and on behalf of all survivors and all legally
entitled beneficiaries and family members of Neil Hinds

Karen Hinds, individually, as surviving Spouse of Neil Hinds

Wade-Roy Hinds, individually, as surviving Sibling of Neil
Hinds

Dennis Hobbs, individually, as surviving Parent of Tara Y.
Hobbs

Dixie Hobbs, individually, as surviving Parent of Tara Y. Hobbs

Dixie and Dennis Hobbs, as the Personal Representatives of the
Estate of Tara Y. Hobbs, deceased, and on behalf of all survivors
and all legally entitled beneficiaries and family members of Tara
Y. Hobbs

Reginald Hobbs, individually, as surviving Sibling of Tara Y.
Hobbs

Sonya Hobbs Cuffee, individually, as surviving Sibling of Tara
Y. Hobbs

Tammy Hobbs Ginsberg, individually, as surviving Sibling of
Tara Y. Hobbs

Sherian Hobbs Lightfoot, individually, as surviving Sibling of
Tara Y. Hobbs

Allison Hobbs, as the Personal Representative of the Estate of
Thomas A. Hobbs, deceased, and on behalf of all survivors and
all legally entitled beneficiaries and family members of Thomas
A. Hobbs

Allison Hobbs, individually, as surviving Spouse of Thomas A.
Hobbs


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James S. Hoffman, as the Personal Representative of the Estate
of Marcia Hoffman, deceased, and on behalf of all survivors and
all legally entitled beneficiaries and family members of Marcia
Hoffman

James S. Hoffman, individually, as surviving Spouse of Marcia
Hoffman

Pamela L. Hohlweck, as the Personal Representative of the
Estate of Thomas W. Hohlweck, Jr., deceased, and on behalf of
all survivors and all legally entitled beneficiaries and family
members of Thomas W. Hohlweck, Jr.

Pamela L. Hohlweck, individually, as surviving Spouse of
Thomas W. Hohlweck, Jr.

Mary Judge, individually, as surviving Sibling of Thomas W.
Hohlweck, Jr.

Gregory A. Hohmann, individually, as surviving Child of
Jonathan Hohmann

Matthew D. Hohmann, individually, as surviving Child of
Jonathan Hohmann

Rosemarie Hohmann, as the Personal Representative of the
Estate of Jonathan Hohmann, deceased, and on behalf of all
survivors and all legally entitled beneficiaries and family
members of Jonathan Hohmann

Rosemarie Hohmann, individually, as surviving Spouse of
Jonathan Hohmann

Joseph Holland, IV, individually, as surviving Child of Joseph
Holland III

Brian Holland, individually, as surviving Sibling of Joseph
Holland III

Kathleen Holland, as the Personal Representative of the Estate of
Joseph Holland III, deceased, and on behalf of all survivors and
all legally entitled beneficiaries and family members of Joseph
Holland III

Kathleen Holland, individually, as surviving Spouse of Joseph
Holland III

Michele Holland McLin, individually, as surviving Sibling of
Joseph Holland III


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Caitlyn H. Holohan, individually, as surviving Child of Thomas
P. Holohan

Colleen M. Holohan, as the Personal Representative of the Estate
of Thomas P. Holohan, deceased, and on behalf of all survivors
and all legally entitled beneficiaries and family members of
Thomas P. Holohan

Colleen M. Holohan, individually, as surviving Spouse of
Thomas P. Holohan

Liam M. Holohan, individually, as surviving Child of Thomas P.
Holohan

Thomas P. Holohan, III, individually, as surviving Child of
Thomas P. Holohan

Dennis Hoorn, individually, as surviving Parent of Bradley
Hoorn

Kara Hoorn, individually, as surviving Sibling of Bradley Hoorn

Katherine Hoorn, individually, as surviving Parent of Bradley
Hoorn

Katherine and Dennis Hoorn, as the Personal Representatives of
the Estate of Bradley Hoorn, deceased, and on behalf of all
survivors and all legally entitled beneficiaries and family
members of Bradley Hoorn

Christopher Howard, individually, as surviving Child of George
G. Howard

Christopher Howard, as the Personal Representative of the Estate
of George G. Howard, deceased, and on behalf of all survivors
and all legally entitled beneficiaries and family members of
George G. Howard

Robert Howard, individually, as surviving Child of George G.
Howard

Anne Galizia, individually, as surviving Sibling of Joseph L.
Howard

JoAnn T. Howard, as the Personal Representative of the Estate of
Joseph L. Howard, deceased, and on behalf of all survivors and
all legally entitled beneficiaries and family members of Joseph L.
Howard



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JoAnn T. Howard, individually, as surviving Spouse of Joseph L.
Howard

Joseph Howard, individually, as surviving Child of Joseph L.
Howard

Janice Howard-Battaglia, individually, as surviving Child of
Joseph L. Howard

Susan Reidlinger, individually, as surviving Sibling of Joseph L.
Howard

Ana Arvelo, individually, as surviving Parent of Milagros
Hromada

Robin Arvelo, individually, as surviving Sibling of Milagros
Hromada

Mariano Arvelo, Jr., individually, as surviving Sibling of
Milagros Hromada

Awilda Breban, individually, as surviving Sibling of Milagros
Hromada

RoseMarie Delgado, individually, as surviving Sibling of
Milagros Hromada

Stephen Hromada, as the Personal Representative of the Estate of
Joseph Hromada, deceased, the late Spouse of Milagros
Hromada

Stephen Hromada, as the Personal Representative of the Estate of
Milagros Hromada, deceased, and on behalf of all survivors and
all legally entitled beneficiaries and family members of Milagros
Hromada

Doris Martinez, individually, as surviving Sibling of Milagros
Hromada

Brunilda Rodriguez, individually, as surviving Sibling of
Milagros Hromada

Christina Hughes, individually, as surviving Child of Timothy
Hughes

Karen Hughes, as the Personal Representative of the Estate of
Timothy Hughes, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Timothy
Hughes


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Karen Hughes, individually, as surviving Spouse of Timothy
Hughes

Kenneth Hughes, individually, as surviving Child of Timothy
Hughes

Timothy Hughes, individually, as surviving Child of Timothy
Hughes

Bridget Hunter, as the Personal Representative of the Estate of
Joseph G. Hunter, deceased, and on behalf of all survivors and
all legally entitled beneficiaries and family members of Joseph
G. Hunter

Bridget Hunter, individually, as surviving Parent of Joseph G.
Hunter

Bridget Hunter, as the Personal Representative of the Estate of
Joseph Hunter, deceased, the late Parent of Joseph G. Hunter

Sean Hunter, individually, as surviving Sibling of Joseph G.
Hunter

Teresa Labo, individually, as surviving Sibling of Joseph G.
Hunter

Kathryn J. Hussa, as the Personal Representative of the Estate of
Robert R. Hussa, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Robert R.
Hussa

Kathryn J. Hussa, individually, as surviving Spouse of Robert R.
Hussa

Robert Hussa, individually, as surviving Child of Robert R.
Hussa

Thomas Hussa, individually, as surviving Child of Robert R.
Hussa

Andrew Ielpi, individually, as surviving Child of Jonathan Ielpi

Austin Ielpi, individually, as surviving Child of Jonathan Ielpi

Lee Ielpi, individually, as surviving Parent of Jonathan Ielpi

Yesenia Ielpi Major, as the Personal Representative of the Estate
of Jonathan Ielpi, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Jonathan
Ielpi

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Yesenia Ielpi Major, individually, as surviving Spouse of
Jonathan Ielpi

Esther A. Romanoff, individually, as surviving Child of Daniel
Ilkanayev

Yelena Romanoff, as the Personal Representative of the Estate of
Daniel Ilkanayev, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Daniel
Ilkanayev

Yelena Romanoff, individually, as surviving Spouse of Daniel
Ilkanayev

Lauren Fregonese, individually, as surviving Child of Frederick
J. Ill, Jr.

Mary Ill, as the Personal Representative of the Estate of
Frederick J. Ill, Jr., deceased, and on behalf of all survivors and
all legally entitled beneficiaries and family members of Frederick
J. Ill, Jr.

Mary Ill, individually, as surviving Spouse of Frederick J. Ill, Jr.

Frederick Ill, III, individually, as surviving Child of Frederick J.
Ill, Jr.

Jennifer Kane, individually, as surviving Child of Frederick J. Ill,
Jr.

Chaim Ilowitz, individually, as surviving Child of Abraham
Ilowitz

David Ilowitz, individually, as surviving Child of Abraham
Ilowitz

Lillian Ilowitz, as the Personal Representative of the Estate of
Abraham Ilowitz, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Abraham
Ilowitz

Lillian Ilowitz, individually, as surviving Spouse of Abraham
Ilowitz

Malka Melamed, individually, as surviving Child of Abraham
Ilowitz

Faygee Piller, individually, as surviving Child of Abraham
Ilowitz


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Chaya Protovin, individually, as surviving Child of Abraham
Ilowitz

Addison J. Irby, individually, as surviving Sibling of Stephanie
Irby

Kenneth Irby, as the Personal Representative of the Estate of
Agnes Irby, deceased, the late Parent of Stephanie Irby

Kenneth Irby, as the Personal Representative of the Estate of
Frederick Irby, deceased, the late Parent of Stephanie Irby

Kenneth Irby, as the Personal Representative of the Estate of
Stephanie Irby, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Stephanie
Irby

Kenneth Irby, individually, as surviving Sibling of Stephanie
Irby

Pamela Melton, individually, as surviving Sibling of Stephanie
Irby

Joan O'Brien, as the Personal Representative of the Estate of
Carol Iskyan, deceased, the late Parent of John Iskyan

Carolynn Iskyan, individually, as surviving Child of John Iskyan

Laura Iskyan, individually, as surviving Sibling of John Iskyan

Margaret Iskyan, as the Personal Representative of the Estate of
John Iskyan, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of John Iskyan

Margaret Iskyan, individually, as surviving Spouse of John
Iskyan

Paul Iskyan, individually, as surviving Sibling of John Iskyan

Peter Iskyan, individually, as surviving Child of John Iskyan

Joan O'Brien, individually, as surviving Sibling of John Iskyan

Barbara Jackman, as the Personal Representative of the Estate of
Brooke A. Jackman, deceased, and on behalf of all survivors and
all legally entitled beneficiaries and family members of Brooke
A. Jackman

Barbara Jackman, individually, as surviving Parent of Brooke A.
Jackman

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Erin Jackman, individually, as surviving Sibling of Brooke A.
Jackman

Barbara Jackman, as the Personal Representative of the Estate of
Robert Jackman, deceased, the late Parent of Brooke A. Jackman

Ross Jackman, individually, as surviving Sibling of Brooke A.
Jackman

Gabriel Dick, individually, as surviving Child of Ariel L. Jacobs

Silvia Eiberman, individually, as surviving Parent of Ariel L.
Jacobs

Claudia Jacobs, individually, as surviving Sibling of Ariel L.
Jacobs

Matthew Jacobs, as the Personal Representative of the Estate of
Daniel Jacobs, deceased, the late Sibling of Ariel L. Jacobs

Jennifer Jacobs, as the Personal Representative of the Estate of
Ariel L. Jacobs, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Ariel L.
Jacobs

Jennifer Jacobs, individually, as surviving Spouse of Ariel L.
Jacobs

Claudia Jacobs, as the Personal Representative of the Estate of
Melvin Jacobs, deceased, the late Parent of Ariel L. Jacobs

Christopher Jakubiak, individually, as surviving Child of Maria
Jakubiak

Joanna Jakubiak, individually, as surviving Child of Maria
Jakubiak

Kazimierz Jakubiak, as the Personal Representative of the Estate
of Maria Jakubiak, deceased, and on behalf of all survivors and
all legally entitled beneficiaries and family members of Maria
Jakubiak

Kazimierz Jakubiak, individually, as surviving Spouse of Maria
Jakubiak

Pawel Jakubiak, individually, as surviving Child of Maria
Jakubiak

Diane Cuff, individually, as surviving Sibling of William
Johnston, Jr.

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Joy Johnston, as the Personal Representative of the Estate of
William Johnston, Jr., deceased, and on behalf of all survivors
and all legally entitled beneficiaries and family members of
William Johnston, Jr.

Joy Johnston, individually, as surviving Parent of William
Johnston, Jr.

Robert Johnston, individually, as surviving Sibling of William
Johnston, Jr.

William Johnston, individually, as surviving Parent of William
Johnston, Jr.

Christine Sciurba, individually, as surviving Sibling of William
Johnston, Jr.

Carol Francolini, as the Personal Representative of the Estate of
Arthur J. Jones III, deceased, and on behalf of all survivors and
all legally entitled beneficiaries and family members of Arthur J.
Jones III

Carol Francolini, individually, as surviving Spouse of Arthur J.
Jones III

Cary Jones, individually, as surviving Child of Arthur J. Jones III

Charlotte Jones, individually, as surviving Child of Arthur J.
Jones III

Joseph Jones, individually, as surviving Child of Arthur J. Jones
III

Julia Jones, individually, as surviving Child of Arthur J. Jones III

Peter Jones, individually, as surviving Sibling of Arthur J. Jones
III

Scott Jones, individually, as surviving Sibling of Arthur J. Jones
III

Marilyn Stufano, individually, as surviving Parent of Arthur J.
Jones III

Anne Jordan Stewart, individually, as surviving Parent of Robert
Thomas Jordan

Henri Joseph, individually, as surviving Parent of Karl H. Joseph



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Jacqueline Joseph, individually, as surviving Parent of Karl H.
Joseph

Leila M. Joseph, individually, as surviving Sibling of Karl H.
Joseph

Leila and Woodly M. Joseph, as the Personal Representatives of
the Estate of Karl H. Joseph, deceased, and on behalf of all
survivors and all legally entitled beneficiaries and family
members of Karl H. Joseph

Ted Joseph, individually, as surviving Sibling of Karl H. Joseph

Woodly Joseph, individually, as surviving Sibling of Karl H.
Joseph

Amber Miller, individually, as surviving Child of Karen Juday

Amber and Jamie Miller, as the Personal Representatives of the
Estate of Karen Juday, deceased, and on behalf of all survivors
and all legally entitled beneficiaries and family members of
Karen Juday

Jamie Miller, individually, as surviving Child of Karen Juday

Beatrice Kandell, individually, as surviving Parent of Shari
Kandell

Steven Kandell, as the Personal Representative of the Estate of
Jan Kandell, deceased, the late Parent of Shari Kandell

Steven Kandell, individually, as surviving Sibling of Shari
Kandell

Beatrice Kandell , as the Personal Representative of the Estate of
Shari Kandell, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Shari
Kandell

Daniel Henry Kates, individually, as surviving Child of Andrew
Kates

Hannah Kates, individually, as surviving Child of Andrew Kates

Lucy Kates, individually, as surviving Child of Andrew Kates

Emily Terry, as the Personal Representative of the Estate of
Andrew Kates, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Andrew
Kates

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Emily Terry, individually, as surviving Spouse of Andrew Kates

Anthoula Katsimatides, individually, as surviving Sibling of John
Katsimatides

Calliope Katsimatides, as the Personal Representative of the
Estate of Antonios Katsimatides, deceased, the late Parent of
John Katsimatides

Calliope Katsimatides, individually, as surviving Parent of John
Katsimatides

George Katsimatides, as the Personal Representative of the
Estate of John Katsimatides, deceased, and on behalf of all
survivors and all legally entitled beneficiaries and family
members of John Katsimatides

George Katsimatides, individually, as surviving Sibling of John
Katsimatides

Brandon Keller, individually, as surviving Sibling of Chandler R.
Keller

Gavin Keller, individually, as surviving Sibling of Chandler R.
Keller

Kathryn Keller, individually, as surviving Parent of Chandler R.
Keller

Richard Keller, individually, as surviving Parent of Chandler R.
Keller

Elizabeth H. Keller-Baker, as the Personal Representative of the
Estate of Chandler R. Keller, deceased, and on behalf of all
survivors and all legally entitled beneficiaries and family
members of Chandler R. Keller

Elizabeth H. Keller-Baker, individually, as surviving Spouse of
Chandler R. Keller

Pamela Kellerman Fox, as the Personal Representative of the
Estate of Joyce L. Gales, deceased, the late Parent of Peter R.
Kellerman

Elyssa Kellerman, individually, as surviving Sibling of Peter R.
Kellerman

Roberta Kellerman, as the Personal Representative of the Estate
of Peter R. Kellerman, deceased, and on behalf of all survivors


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and all legally entitled beneficiaries and family members of Peter
R. Kellerman

Roberta Kellerman, individually, as surviving Spouse of Peter R.
Kellerman

Pamela Kellerman Fox, individually, as surviving Sibling of
Peter R. Kellerman

Cameron Kellett, individually, as surviving Child of Joseph P.
Kellett

Julie Anne Kellett, individually, as surviving Child of Joseph P.
Kellett

Patricia Kellett, as the Personal Representative of the Estate of
Joseph P. Kellett, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Joseph P.
Kellett

Patricia Kellett, individually, as surviving Spouse of Joseph P.
Kellett

Joseph Callahan, as the Personal Representative of the Estate of
Anne Sullivan, deceased, the late Parent of Joseph P. Kellett

Caroline Kelly, individually, as surviving Child of Joseph A.
Kelly

Catherine Kelly, individually, as surviving Child of Joseph A.
Kelly

Christopher Kelly, individually, as surviving Child of Joseph A.
Kelly

Susan Kelly, as the Personal Representative of the Estate of
Joseph A. Kelly, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Joseph A.
Kelly

Susan Kelly, individually, as surviving Spouse of Joseph A.
Kelly

Thomas Kelly, individually, as surviving Child of Joseph A.
Kelly

Timothy Kelly, individually, as surviving Child of Joseph A.
Kelly




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Jean Farrell, individually, as surviving Sibling of Thomas R.
Kelly

James Kelly, as the Personal Representative of the Estate of
Emmet Kelly, deceased, the late Parent of Thomas R. Kelly

James Kelly, as the Personal Representative of the Estate of
Thomas R. Kelly, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Thomas R.
Kelly

James Kelly, individually, as surviving Sibling of Thomas R.
Kelly

Robert E. Kelly, individually, as surviving Sibling of Thomas R.
Kelly

James Kelly, as the Personal Representative of the Estate of
Suzanne Kelly, deceased, the late Parent of Thomas R. Kelly

Brian Kelly, individually, as surviving Sibling of Timothy C.
Kelly

Caroline E. Kelly, individually, as surviving Child of Timothy C.
Kelly

John Kelly, individually, as surviving Sibling of Timothy C.
Kelly

Kevin P. Kelly, individually, as surviving Child of Timothy C.
Kelly

Mary K. Kelly, individually, as surviving Child of Timothy C.
Kelly

Shawn P. Kelly, individually, as surviving Sibling of Timothy C.
Kelly

Christine Kelly Fabbri, individually, as surviving Sibling of
Timothy C. Kelly

Julie E. Kelly-McCormick, as the Personal Representative of the
Estate of Timothy C. Kelly, deceased, and on behalf of all
survivors and all legally entitled beneficiaries and family
members of Timothy C. Kelly

Julie E. Kelly-McCormick, individually, as surviving Spouse of
Timothy C. Kelly



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Maureen Kennedy, as the Personal Representative of the Estate
of Robert C. Kennedy, deceased, and on behalf of all survivors
and all legally entitled beneficiaries and family members of
Robert C. Kennedy

Maureen Kennedy, individually, as surviving Spouse of Robert
C. Kennedy

Leigh Kennedy, individually, as surviving Child of Yvonne
Kennedy

Leigh Kennedy, as the Personal Representative of the Estate of
Yvonne Kennedy, deceased, and on behalf of all survivors and
all legally entitled beneficiaries and family members of Yvonne
Kennedy

Simon Kennedy, individually, as surviving Child of Yvonne
Kennedy

Ella Khalif, as the Personal Representative of the Estate of Boris
Khalif, deceased, and on behalf of all survivors and all legally
entitled beneficiaries and family members of Boris Khalif

Ella Khalif, individually, as surviving Spouse of Boris Khalif

Steven Khalif, individually, as surviving Child of Boris Khalif

Lauren Kiefer, individually, as surviving Sibling of Michael
Vernon Kiefer

Kerri Viverito, individually, as surviving Sibling of Michael
Vernon Kiefer

Hwa Ock Lee Kim, individually, as surviving Parent of Andrew
Jay-Hoon Kim

Paul Pyoung-Kyoum Kim, as the Personal Representative of the
Estate of Andrew Jay-Hoon Kim, deceased, and on behalf of all
survivors and all legally entitled beneficiaries and family
members of Andrew Jay-Hoon Kim

Paul Pyoung-Kyoum Kim, individually, as surviving Parent of
Andrew Jay-Hoon Kim

William Jay Ho Kim, individually, as surviving Sibling of
Andrew Jay-Hoon Kim

Elizabeth A. King, individually, as surviving Child of Robert
King


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Stephen J. King, individually, as surviving Child of Robert King

Theresa King, as the Personal Representative of the Estate of
Robert King, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Robert King

Theresa King, individually, as surviving Spouse of Robert King

Thomas C. King, individually, as surviving Child of Robert King

Douglas Klares, individually, as surviving Child of Richard J.
Klares

Scott Klares, individually, as surviving Child of Richard J.
Klares

Veronica Klares, as the Personal Representative of the Estate of
Richard J. Klares, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Richard J.
Klares

Veronica Klares, individually, as surviving Spouse of Richard J.
Klares

Richard J. Klares, Jr., individually, as surviving Child of Richard
J. Klares

Donna Klitzman, individually, as surviving Sibling of Karen
Klitzman

Donna and Susan Klitzman, as the Personal Representatives of
the Estate of Karen Klitzman, deceased, and on behalf of all
survivors and all legally entitled beneficiaries and family
members of Karen Klitzman

Robert Klitzman, individually, as surviving Sibling of Karen
Klitzman

Susan Klitzman, individually, as surviving Sibling of Karen
Klitzman

Irina Dubenskaya, as the Personal Representative of the Estate of
Eugeni Kniazev, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Eugeni
Kniazev

Irina Dubenskaya, individually, as surviving Spouse of Eugeni
Kniazev



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Gregory Rakovsky, individually, as surviving Stepchild of
Eugeni Kniazev

Marion Knox, individually, as surviving Parent of Andrew Knox

Stuart John Knox, as the Personal Representative of the Estate of
Andrew Knox, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Andrew
Knox

Stuart John Knox , individually, as surviving Sibling of Andrew
Knox

Arsen Mayer, individually, as surviving Child of Irina
Kolpakova

Arsen Mayer, as the Personal Representative of the Estate of
Irina Kolpakova, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Irina
Kolpakova

Yun Yu E. Zheng, as the Personal Representative of the Estate of
Raymond Fai Kwok, deceased, and on behalf of all survivors and
all legally entitled beneficiaries and family members of
Raymond Fai Kwok

Yun Yu E. Zheng, individually, as surviving Spouse of Raymond
Fai Kwok

Joanne Fletcher, as the Personal Representative of the Estate of
Andrew La Corte, deceased, and on behalf of all survivors and
all legally entitled beneficiaries and family members of Andrew
La Corte

Joanne Fletcher, individually, as surviving Sibling of Andrew La
Corte

Joanne Fletcher, as the Personal Representative of the Estate of
Marie Hunchak, deceased, the late Sibling of Andrew La Corte

Peter La Corte, individually, as surviving Sibling of Andrew La
Corte

Elizabeth Ladley, individually, as surviving Child of James P.
Ladley

James Ladley, individually, as surviving Child of James P.
Ladley



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Sheri Anne Ladley-Calamusa, as the Personal Representative of
the Estate of James P. Ladley, deceased, and on behalf of all
survivors and all legally entitled beneficiaries and family
members of James P. Ladley

Sheri Anne Ladley-Calamusa, individually, as surviving Spouse
of James P. Ladley

Andrea LaForte, individually, as surviving Child of Michael P.
LaForte

Frances A. LaForte, as the Personal Representative of the Estate
of Michael P. LaForte, deceased, and on behalf of all survivors
and all legally entitled beneficiaries and family members of
Michael P. LaForte

Frances A. LaForte, individually, as surviving Spouse of Michael
P. LaForte

Michael LaForte, individually, as surviving Child of Michael P.
LaForte

Raymond M. LaForte, individually, as surviving Child of
Michael P. LaForte

Edlene C. LaFrance, as the Personal Representative of the Estate
of Alan LaFrance, deceased, and on behalf of all survivors and
all legally entitled beneficiaries and family members of Alan
LaFrance

Edlene C. LaFrance, individually, as surviving Spouse of Alan
LaFrance

Cynthia Hansen, individually, as surviving Child of Juan
Lafuente

Rose Maria Kazi, individually, as surviving Sibling of Juan
Lafuente

Catherine Lafuente, individually, as surviving Child of Juan
Lafuente

Christine Lafuente, individually, as surviving Child of Juan
Lafuente

Colette M. Lafuente, as the Personal Representative of the Estate
of Juan Lafuente, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Juan
Lafuente


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Colette M. Lafuente, individually, as surviving Spouse of Juan
Lafuente

Miriam Lafuente, as the Personal Representative of the Estate of
Jorge M. Lafuente, deceased, the late Sibling of Juan Lafuente

Joanna Allen, as the Personal Representative of the Estate of Jose
Esteban Lafuente, deceased, the late Sibling of Juan Lafuente

Ruth Lafuente Rockett, individually, as surviving Child of Juan
Lafuente

Anthony V. Laieta, individually, as surviving Sibling of Vincent
Laieta

Carol A. Laieta, as the Personal Representative of the Estate of
Vincent Laieta, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Vincent
Laieta

Carol A. Laieta, individually, as surviving Spouse of Vincent
Laieta

Josephine Laieta, individually, as surviving Parent of Vincent
Laieta

Kevin Laieta, individually, as surviving Child of Vincent Laieta

Josephine Laieta, as the Personal Representative of the Estate of
Vincent A. Laieta, deceased, the late Parent of Vincent Laieta

Emily LaMantia , individually, as surviving Child of Stephen
LaMantia

Kimberly S. LaMantia , as the Personal Representative of the
Estate of Stephen LaMantia, deceased, and on behalf of all
survivors and all legally entitled beneficiaries and family
members of Stephen LaMantia

Kimberly S. LaMantia , individually, as surviving Spouse of
Stephen LaMantia

Stephen Craig LaMantia , individually, as surviving Child of
Stephen LaMantia

Peggy Lamonsoff, as the Personal Representative of the Estate of
Morris D. Lamonsoff, deceased, the late Parent of Amy
Lamonsoff



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Steven Lamonsoff, individually, as surviving Sibling of Amy
Lamonsoff

Wendy McEneany and Steven Lamonsoff, as the Personal
Representatives of the Estate of Amy Lamonsoff, deceased, and
on behalf of all survivors and all legally entitled beneficiaries
and family members of Amy Lamonsoff

Wendy McEneany, individually, as surviving Sibling of Amy
Lamonsoff

Donna Caballero, individually, as surviving Sibling of Rosanne
Lang

Donald Lang, individually, as surviving Sibling of Rosanne Lang

Gary F. Lang, individually, as surviving Sibling of Rosanne
Lang

Gerard Lang, individually, as surviving Sibling of Rosanne Lang

James Lang, individually, as surviving Sibling of Rosanne Lang

Martin Lang, individually, as surviving Sibling of Rosanne Lang

Mary Lou Lang, individually, as surviving Sibling of Rosanne
Lang

Richard Lang, individually, as surviving Sibling of Rosanne
Lang

James Lang and Donna Caballero, as the Personal
Representatives of the Estate of Rose Lang, deceased, the late
Parent of Rosanne Lang

Timothy L. Lang, individually, as surviving Sibling of Rosanne
Lang

James Lang and Donna Caballero, as the Personal
Representatives of the Estate of William Lang, deceased, the late
Parent of Rosanne Lang

David J. Chazin, as the Personal Representative of the Estate of
Ruth Lapin, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Ruth Lapin

David J. Chazin, individually, as surviving Spouse of Ruth Lapin

David Lapin, individually, as surviving Sibling of Ruth Lapin


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David Lapin, as the Personal Representative of the Estate of Joan
Lopatin, deceased, the late Parent of Ruth Lapin

Douglas Schroeder, individually, as surviving Child of Ruth
Lapin

Harlene Larry, as the Personal Representative of the Estate of
Hamidou S. Larry, deceased, and on behalf of all survivors and
all legally entitled beneficiaries and family members of Hamidou
S. Larry

Harlene Larry, individually, as surviving Spouse of Hamidou S.
Larry

Rasheed Larry, individually, as surviving Child of Hamidou S.
Larry

Sheriffa Larry, individually, as surviving Child of Hamidou S.
Larry

Doreen Jurczyk, individually, as surviving Sibling of Gary E.
Lasko

Deborah Lasko, individually, as surviving Sibling of Gary E.
Lasko

Kim L. Lasko, as the Personal Representative of the Estate of
Gary E. Lasko, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Gary E.
Lasko

Kim L. Lasko, individually, as surviving Spouse of Gary E.
Lasko

Ellen Lassman, individually, as surviving Sibling of Nicholas
Lassman

Ira Lassman, individually, as surviving Parent of Nicholas
Lassman

Laura J. Lassman, as the Personal Representative of the Estate of
Nicholas Lassman, deceased, and on behalf of all survivors and
all legally entitled beneficiaries and family members of Nicholas
Lassman

Laura J. Lassman, individually, as surviving Parent of Nicholas
Lassman

Daniel Leahy, individually, as surviving Child of James P. Leahy


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John Leahy, individually, as surviving Child of James P. Leahy

Marcela Leahy, as the Personal Representative of the Estate of
James P. Leahy, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of James P.
Leahy

Marcela Leahy, individually, as surviving Spouse of James P.
Leahy

James Leahy, Jr., individually, as surviving Child of James P.
Leahy

Andrea N. LeBlanc, as the Personal Representative of the Estate
of Robert LeBlanc, deceased, and on behalf of all survivors and
all legally entitled beneficiaries and family members of Robert
LeBlanc

Andrea N. LeBlanc, individually, as surviving Spouse of Robert
LeBlanc

Carolyn LeBlanc, individually, as surviving Child of Robert
LeBlanc

John LeBlanc, individually, as surviving Child of Robert
LeBlanc

Carolyn LeBlanc, as the Personal Representative of the Estate of
Paul LeBlanc, deceased, the late Child of Robert LeBlanc

Kjell Youngren, individually, as surviving Stepchild of Robert
LeBlanc

Nissa Youngren, individually, as surviving Stepchild of Robert
LeBlanc

Nathan Leaflight, individually, as surviving Sibling of Alan J.
Lederman

Jean Lembo, individually, as surviving Sibling of Alan J.
Lederman

Roni Salkin, individually, as surviving Sibling of Alan J.
Lederman

Nancy Lynn Zuckerman, as the Personal Representative of the
Estate of Alan J. Lederman, deceased, and on behalf of all
survivors and all legally entitled beneficiaries and family
members of Alan J. Lederman


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Nancy Lynn Zuckerman, individually, as surviving Spouse of
Alan J. Lederman

Jin Hee Kim, as the Personal Representative of the Estate of
Hyun Joon Lee, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Hyun Joon
Lee

Jin Hee Kim, individually, as surviving Spouse of Hyun Joon
Lee

Karen E. Lee, as the Personal Representative of the Estate of
Richard Y. C. Lee, deceased, and on behalf of all survivors and
all legally entitled beneficiaries and family members of Richard
Y. C. Lee

Karen E. Lee, individually, as surviving Spouse of Richard Y. C.
Lee

Zachary C. Lee, individually, as surviving Child of Richard Y. C.
Lee

Ronald K. Lee, Jr., individually, as surviving Sibling of Richard
Y. C. Lee

Jiunn-Yih Eddie Lee, individually, as surviving Child of Yang
Der Lee

Mei Jy Lee, individually, as surviving Spouse of Yang Der Lee

Philip E. Lee, individually, as surviving Child of Yang Der Lee

Philip E. Lee, as the Personal Representative of the Estate of
Yang Der Lee, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Yang Der
Lee

Yi Yann Lee, individually, as surviving Child of Yang Der Lee

Jeanette Legro, individually, as surviving Sibling of Adriana
Legro

Maria Legro, as the Personal Representative of the Estate of
Adriana Legro, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Adriana
Legro

Maria Legro, individually, as surviving Sibling of Adriana Legro



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Juan Legro Diaz, individually, as surviving Sibling of Adriana
Legro

Brian Leistman, individually, as surviving Child of David R.
Leistman

Donald Leistman, as the Personal Representative of the Estate of
David R. Leistman, deceased, and on behalf of all survivors and
all legally entitled beneficiaries and family members of David R.
Leistman

Maryclair Leistman, individually, as surviving Spouse of David
R. Leistman

Katherine Uriguen, individually, as surviving Child of David R.
Leistman

Ingrid Lenihan, as the Personal Representative of the Estate of
Joseph A. Lenihan, deceased, and on behalf of all survivors and
all legally entitled beneficiaries and family members of Joseph
A. Lenihan

Ingrid Lenihan, individually, as surviving Spouse of Joseph A.
Lenihan

Andrew R. Lenoir, individually, as surviving Child of John
Robinson Lenoir

Courtney A. Lenoir, individually, as surviving Child of John
Robinson Lenoir

Susan Lenoir, as the Personal Representative of the Estate of
John Robinson Lenoir, deceased, and on behalf of all survivors
and all legally entitled beneficiaries and family members of John
Robinson Lenoir

Susan Lenoir, individually, as surviving Spouse of John
Robinson Lenoir

Elizabeth Ann Leonardi, individually, as surviving Child of
Jeffrey E. LeVeen

Andrew William LeVeen, individually, as surviving Child of
Jeffrey E. LeVeen

Christine LeVeen, as the Personal Representative of the Estate of
Jeffrey E. LeVeen, deceased, and on behalf of all survivors and
all legally entitled beneficiaries and family members of Jeffrey
E. LeVeen


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Christine LeVeen, individually, as surviving Spouse of Jeffrey E.
LeVeen

Kathryn Lee LeVeen, individually, as surviving Child of Jeffrey
E. LeVeen

Margaret L. LeVeen, individually, as surviving Child of Jeffrey
E. LeVeen

Jeffrey E. LeVeen, Jr., individually, as surviving Child of Jeffrey
E. LeVeen

Christy Ferer, as the Personal Representative of the Estate of
Neil D. Levin, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Neil D.
Levin

Christy Ferer, individually, as surviving Spouse of Neil D. Levin

Roberta J. Levine, as the Personal Representative of the Estate of
Robert M. Levine, deceased, and on behalf of all survivors and
all legally entitled beneficiaries and family members of Robert
M. Levine

Roberta J. Levine, individually, as surviving Spouse of Robert
M. Levine

John Lewis, individually, as surviving Child of Margaret Lewis

Melvin Lewis, individually, as surviving Child of Margaret
Lewis

Melvin and John Lewis, as the Personal Representatives of the
Estate of Margaret Lewis, deceased, and on behalf of all
survivors and all legally entitled beneficiaries and family
members of Margaret Lewis

Lula P. Parker, individually, as surviving Sibling of Margaret
Lewis

Haydee C. Lillo, as the Personal Representative of the Estate of
Carlos Lillo, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Carlos Lillo

Haydee C. Lillo, individually, as surviving Spouse of Carlos
Lillo

Lorraine H. Gardella, individually, as surviving Parent of Diane
T. Lipari


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Lorraine A. Gardella, individually, as surviving Sibling of Diane
T. Lipari

Susan Kraljic, individually, as surviving Sibling of Diane T.
Lipari

Joseph Lipari, individually, as surviving Sibling of Diane T.
Lipari

Michael Lipari, individually, as surviving Sibling of Diane T.
Lipari

Thomas E. Tighe, as the Personal Representative of the Estate of
Diane T. Lipari, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Diane T.
Lipari

Thomas E. Tighe, individually, as surviving Spouse of Diane T.
Lipari

Enrica Naccarato, as the Personal Representative of the Estate of
Lorraine Lisi, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Lorraine
Lisi

Enrica Naccarato, individually, as surviving Sibling of Lorraine
Lisi

Emily Vega-Faltas, as the Personal Representative of the Estate
of Harold Lizcano, deceased, and on behalf of all survivors and
all legally entitled beneficiaries and family members of Harold
Lizcano

Emily Vega-Faltas, individually, as surviving Spouse of Harold
Lizcano

Evan W. Lozier, individually, as surviving Child of Garry W.
Lozier

Karoline E. Lozier, individually, as surviving Child of Garry W.
Lozier

Kathleen K. Lozier, as the Personal Representative of the Estate
of Garry W. Lozier, deceased, and on behalf of all survivors and
all legally entitled beneficiaries and family members of Garry W.
Lozier

Kathleen K. Lozier, individually, as surviving Spouse of Garry
W. Lozier


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Olivia M. Lozier, individually, as surviving Child of Garry W.
Lozier

Maureen Kelly, as the Personal Representative of the Estate of
Mark Ludvigsen, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Mark
Ludvigsen

Maureen Kelly, individually, as surviving Spouse of Mark
Ludvigsen

Marie Lukas, as the Personal Representative of the Estate of
Marie Lukas, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Marie Lukas

Marie Lukas, individually, as surviving Parent of Marie Lukas

Mark Lunden, individually, as surviving Sibling of Michael P.
Lunden

Matthew Pegno, individually, as surviving Child of Michael P.
Lunden

Michelle Pegno, as the Personal Representative of the Estate of
Michael P. Lunden, deceased, and on behalf of all survivors and
all legally entitled beneficiaries and family members of Michael
P. Lunden

Michelle Pegno, individually, as surviving Spouse of Michael P.
Lunden

Jevon William Alexander Castrillo, individually, as surviving
Child of CeeCee Ross Lyles

Jerome Smith, individually, as surviving Child of CeeCee Ross
Lyles

Margaret Doyle, individually, as surviving Sibling of Terence M.
Lynch

Carol M. Lynch, individually, as surviving Sibling of Terence M.
Lynch

Cathleen L. Miller, individually, as surviving Sibling of Terence
M. Lynch

Mary Ann Prokop, individually, as surviving Sibling of Terence
M. Lynch



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Anne MacFarlane, as the Personal Representative of the Estate of
Marianne MacFarlane, deceased, and on behalf of all survivors
and all legally entitled beneficiaries and family members of
Marianne MacFarlane

Anne MacFarlane, individually, as surviving Parent of Marianne
MacFarlane

George MacFarlane, individually, as surviving Sibling of
Marianne MacFarlane

Joseph Macfarlane, individually, as surviving Sibling of
Marianne MacFarlane

Andrea Maffeo, as the Personal Representative of the Estate of
Jennieann Maffeo, deceased, and on behalf of all survivors and
all legally entitled beneficiaries and family members of
Jennieann Maffeo

Andrea Maffeo, individually, as surviving Sibling of Jennieann
Maffeo

Andrea Maffeo, as the Personal Representative of the Estate of
Frances Maffeo, deceased, the late Parent of Jennieann Maffeo

Joseph Maffeo, individually, as surviving Sibling of Jennieann
Maffeo

Andrea Maffeo, as the Personal Representative of the Estate of
Sam Maffeo, deceased, the late Parent of Jennieann Maffeo

Christopher Joseph Maggitti, individually, as surviving Child of
Joseph Maggitti

Pamela Ann Maggitti, as the Personal Representative of the
Estate of Joseph Maggitti, deceased, and on behalf of all
survivors and all legally entitled beneficiaries and family
members of Joseph Maggitti

Pamela Ann Maggitti, individually, as surviving Spouse of
Joseph Maggitti

Lauren Salbeck, individually, as surviving Child of Joseph
Maggitti

Sharri Maio, as the Personal Representative of the Estate of
Joseph Maio, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Joseph Maio

Sharri Maio, individually, as surviving Spouse of Joseph Maio

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Annette Mair, individually, as surviving Sibling of Linda C. Mair
Grayling

Lloyd C. Mair, individually, as surviving Sibling of Linda C.
Mair Grayling

Cheryl Sorrell, as the Personal Representative of the Estate of
Roger B. Mair, deceased, the late Sibling of Linda C. Mair
Grayling

Irene L. Mair Wells , individually, as surviving Sibling of Linda
C. Mair Grayling

Isa S. Martin, individually, as surviving Child of Linda C. Mair
Grayling

Yvonne D. Ramirez, as the Personal Representative of the Estate
of Linda C. Mair Grayling, deceased, and on behalf of all
survivors and all legally entitled beneficiaries and family
members of Linda C. Mair Grayling

Yvonne D. Ramirez, individually, as surviving Sibling of Linda
C. Mair Grayling

Chris Maldonado, individually, as surviving Child of Debora
Maldonado

Krystal Maldonado, individually, as surviving Child of Debora
Maldonado

Otelio Maldonado, Jr., as the Personal Representative of the
Estate of Debora Maldonado, deceased, and on behalf of all
survivors and all legally entitled beneficiaries and family
members of Debora Maldonado

Otelio Maldonado, Jr., individually, as surviving Spouse of
Debora Maldonado

Rebecca L. Marchand, as the Personal Representative of the
Estate of Alfred Marchand, deceased, and on behalf of all
survivors and all legally entitled beneficiaries and family
members of Alfred Marchand

Rebecca L. Marchand, individually, as surviving Spouse of
Alfred Marchand

John E. Martin, as the Personal Representative of the Estate of
Karen A. Martin, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Karen A.
Martin

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John E. Martin, individually, as surviving Sibling of Karen A.
Martin

Paul E. Martin, individually, as surviving Sibling of Karen A.
Martin

Susan E. Martin, individually, as surviving Sibling of Karen A.
Martin

Bettyann Martineau, as the Personal Representative of the Estate
of Brian E. Martineau, deceased, and on behalf of all survivors
and all legally entitled beneficiaries and family members of
Brian E. Martineau

Bettyann Martineau, individually, as surviving Spouse of Brian
E. Martineau

Kyle Danatos, as the Personal Representative of the Estate of
Cathleen Martineau, deceased, the late Sibling of Brian E.
Martineau

Chelsea E. Martineau, individually, as surviving Child of Brian
E. Martineau

Bettyann Martineau, as the Personal Representative of the Estate
of Ronnah J. Martineau, deceased, the late Parent of Brian E.
Martineau

Scott Martineau, individually, as surviving Child of Brian E.
Martineau

Bettyann Martineau, as the Personal Representative of the Estate
of Edward L. Martineau, Jr., deceased, the late Parent of Brian E.
Martineau

Juan Martinez, Sr., as the Personal Representative of the Estate
of Reinaldo Martinez, deceased, the late Sibling of Waleska
Martinez

Irma Martinez , individually, as surviving Parent of Waleska
Martinez

Juan Martinez, Jr., individually, as surviving Sibling of Waleska
Martinez

Juan Martinez, Sr., as the Personal Representative of the Estate
of Waleska Martinez, deceased, and on behalf of all survivors
and all legally entitled beneficiaries and family members of
Waleska Martinez


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Juan Martinez, Sr., individually, as surviving Parent of Waleska
Martinez

Christopher Mascali, individually, as surviving Child of Joseph
Mascali

Jennifer Mascali, individually, as surviving Child of Joseph
Mascali

Katelyn Mascali, individually, as surviving Child of Joseph
Mascali

Lori Mascali, as the Personal Representative of the Estate of
Joseph Mascali, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Joseph
Mascali

Lori Mascali, individually, as surviving Spouse of Joseph
Mascali

Jaclyn Mascarenhas, individually, as surviving Child of Bernard
Mascarenhas

Raynette Mascarenhas, as the Personal Representative of the
Estate of Bernard Mascarenhas, deceased, and on behalf of all
survivors and all legally entitled beneficiaries and family
members of Bernard Mascarenhas

Raynette Mascarenhas, individually, as surviving Spouse of
Bernard Mascarenhas

Sven Mascarenhas, individually, as surviving Child of Bernard
Mascarenhas

Dorothy Mauro-Jastremski, as the Personal Representative of the
Estate of Charles A. Mauro, deceased, and on behalf of all
survivors and all legally entitled beneficiaries and family
members of Charles A. Mauro

Dorothy Mauro-Jastremski, individually, as surviving Spouse of
Charles A. Mauro

Nancy Sparozic, individually, as surviving Sibling of Charles A.
Mauro

Kevin Maynard, individually, as surviving Sibling of Keithroy
Maynard

Pearl Maynard, as the Personal Representative of the Estate of
Keithroy Maynard, deceased, and on behalf of all survivors and

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all legally entitled beneficiaries and family members of Keithroy
Maynard

Pearl Maynard, individually, as surviving Parent of Keithroy
Maynard

Vernon Maynard, individually, as surviving Sibling of Keithroy
Maynard

Keithroy Maynard II, individually, as surviving Child of
Keithroy Maynard

Meryl Marshall, as the Personal Representative of the Estate of
Robert Mayo, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Robert
Mayo

Meryl Marshall, individually, as surviving Spouse of Robert
Mayo

Corbin Mayo, individually, as surviving Child of Robert Mayo

Karen Higdon, individually, as surviving Sibling of James
McAlary

Ann McAlary, individually, as surviving Parent of James
McAlary

Bryan McAlary, individually, as surviving Sibling of James
McAlary

James McAlary, individually, as surviving Child of James
McAlary

Jeanne McAlary, as the Personal Representative of the Estate of
James McAlary, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of James
McAlary

Jeanne McAlary, individually, as surviving Spouse of James
McAlary

Jillian McAlary, individually, as surviving Child of James
McAlary

John McAlary, individually, as surviving Sibling of James
McAlary

Joseph McAlary, individually, as surviving Child of James
McAlary


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Joanne Sullivan, individually, as surviving Sibling of James
McAlary

Betty Ann McCarthy, as the Personal Representative of the
Estate of Justin McCarthy, deceased, and on behalf of all
survivors and all legally entitled beneficiaries and family
members of Justin McCarthy

Betty Ann McCarthy, individually, as surviving Parent of Justin
McCarthy

Chris McCarthy, individually, as surviving Sibling of Justin
McCarthy

Dennis McCarthy, individually, as surviving Parent of Justin
McCarthy

Lauren McCarthy, individually, as surviving Sibling of Justin
McCarthy

Margaret Mary McCarthy, individually, as surviving Parent of
Michael McCarthy

William McCarthy, as the Personal Representative of the Estate
of Michael McCarthy, deceased, and on behalf of all survivors
and all legally entitled beneficiaries and family members of
Michael McCarthy

William McCarthy, individually, as surviving Parent of Michael
McCarthy

William James McCarthy, individually, as surviving Sibling of
Michael McCarthy

Ann McCarthy, as the Personal Representative of the Estate of
Robert G. McCarthy, deceased, and on behalf of all survivors
and all legally entitled beneficiaries and family members of
Robert G. McCarthy

Ann McCarthy, individually, as surviving Spouse of Robert G.
McCarthy

Shane McCarthy, individually, as surviving Child of Robert G.
McCarthy

Derek A. McCrann, individually, as surviving Child of Charles
A. McCrann

Maxine McCrann, individually, as surviving Child of Charles A.
McCrann

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Michelle McCrann, as the Personal Representative of the Estate
of Charles A. McCrann, deceased, and on behalf of all survivors
and all legally entitled beneficiaries and family members of
Charles A. McCrann

Michelle McCrann, individually, as surviving Spouse of Charles
A. McCrann

Susan McDermott, as the Personal Representative of the Estate
of Matthew T. Mcdermott, deceased, and on behalf of all
survivors and all legally entitled beneficiaries and family
members of Matthew T. Mcdermott

Susan McDermott, individually, as surviving Spouse of Matthew
T. Mcdermott

Patricia McDowell, as the Personal Representative of the Estate
of John F. McDowell, Jr., deceased, and on behalf of all
survivors and all legally entitled beneficiaries and family
members of John F. McDowell, Jr.

Patricia McDowell, individually, as surviving Parent of John F.
McDowell, Jr.

Mary Beth McErlean, as the Personal Representative of the
Estate of John T. Mcerlean, Jr., deceased, and on behalf of all
survivors and all legally entitled beneficiaries and family
members of John T. Mcerlean, Jr.

Mary Beth McErlean, individually, as surviving Spouse of John
T. Mcerlean, Jr.

Mary Kate McErlean, individually, as surviving Child of John T.
Mcerlean, Jr.

Ryan McErlean, individually, as surviving Child of John T.
Mcerlean, Jr.

Timothy McErlean, individually, as surviving Child of John T.
Mcerlean, Jr.

Allison McErlean Gerstenfeld , individually, as surviving Child
of John T. Mcerlean, Jr.

Anne McGinley, individually, as surviving Child of Daniel F.
McGinley

Constance McGinley, individually, as surviving Parent of Daniel
F. McGinley


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Dennis P. McGinley, individually, as surviving Sibling of Daniel
F. McGinley

Madeline McGinley, individually, as surviving Child of Daniel
F. McGinley

Margaret McGinley, as the Personal Representative of the Estate
of Daniel F. McGinley, deceased, and on behalf of all survivors
and all legally entitled beneficiaries and family members of
Daniel F. McGinley

Margaret McGinley, individually, as surviving Spouse of Daniel
F. McGinley

Martin McGinley, individually, as surviving Sibling of Daniel F.
McGinley

Michael A. McGinley, individually, as surviving Sibling of
Daniel F. McGinley

Patrick McGinley, individually, as surviving Child of Daniel F.
McGinley

Peter McGinley, individually, as surviving Child of Daniel F.
McGinley

Terence McGinley, individually, as surviving Child of Daniel F.
McGinley

Thomas M. McGinley, individually, as surviving Sibling of
Daniel F. McGinley

Iliana Guibert McGinnis, as the Personal Representative of the
Estate of Thomas H. McGinnis, deceased, and on behalf of all
survivors and all legally entitled beneficiaries and family
members of Thomas H. McGinnis

Iliana Guibert McGinnis, individually, as surviving Spouse of
Thomas H. McGinnis

Caitlin McGinnis, individually, as surviving Child of Thomas H.
McGinnis

James McGinnis, individually, as surviving Sibling of Thomas
H. McGinnis

Patricia McGinnis-Daly, individually, as surviving Parent of
Thomas H. McGinnis



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Cynthia F. McGinty, as the Personal Representative of the Estate
of Michael McGinty, deceased, and on behalf of all survivors
and all legally entitled beneficiaries and family members of
Michael McGinty

Cynthia F. McGinty, individually, as surviving Spouse of
Michael McGinty

Daniel McGinty, individually, as surviving Child of Michael
McGinty

David McGinty, individually, as surviving Child of Michael
McGinty

Erin McGinty James, as the Personal Representative of the Estate
of Sandra McGinty, deceased, the late Parent of Michael
McGinty

Erin McGinty James, individually, as surviving Sibling of
Michael McGinty

Elizabeth McGovern, individually, as surviving Child of Ann W.
McGovern

Lawrence McGovern, individually, as surviving Child of Ann W.
McGovern

Theresa McGovern, individually, as surviving Child of Ann W.
McGovern

Theresa McGovern, as the Personal Representative of the Estate
of Ann W. McGovern, deceased, and on behalf of all survivors
and all legally entitled beneficiaries and family members of Ann
W. McGovern

Tara Bayer, individually, as surviving Sibling of Scott M.
McGovern

Paul Kaufman, as the Personal Representative of the Estate of
Scott M. McGovern, deceased, and on behalf of all survivors and
all legally entitled beneficiaries and family members of Scott M.
McGovern

Alana McGovern, individually, as surviving Child of Scott M.
McGovern

Jill McGovern, individually, as surviving Spouse of Scott M.
McGovern



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Nicole McGovern, individually, as surviving Child of Scott M.
McGovern

Raymond Bayer, as the Personal Representative of the Estate of
Elisabeth Scott, deceased, the late Parent of Scott M. McGovern

Virginia Mckeon, as the Personal Representative of the Estate of
Barry Mckeon, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Barry
Mckeon

Virginia Mckeon, individually, as surviving Spouse of Barry
Mckeon

Katina Blanding Carroll, individually, as surviving Sibling of
Darryl L. Mckinney

Rubina Cox-Holloway, as the Personal Representative of the
Estate of Darryl L. Mckinney, deceased, and on behalf of all
survivors and all legally entitled beneficiaries and family
members of Darryl L. Mckinney

Rubina Cox-Holloway, individually, as surviving Parent of
Darryl L. Mckinney

Dallas McKinney, individually, as surviving Sibling of Darryl L.
Mckinney

Dallas McKinney, as the Personal Representative of the Estate of
Darryl S. McKinney, deceased, the late Parent of Darryl L.
Mckinney

Kathleen Gerbasio, individually, as surviving Sibling of George
P. McLaughlin, Jr.

Ann Marie Marcelliano, individually, as surviving Sibling of
George P. McLaughlin, Jr.

George McLaughlin, as the Personal Representative of the Estate
of Dorothy McLaughlin, deceased, the late Parent of George P.
McLaughlin, Jr.

George P. McLaughlin, as the Personal Representative of the
Estate of George P. McLaughlin, Jr., deceased, and on behalf of
all survivors and all legally entitled beneficiaries and family
members of George P. McLaughlin, Jr.

George P. McLaughlin, individually, as surviving Parent of
George P. McLaughlin, Jr.


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Linda McLaughlin, individually, as surviving Sibling of George
P. McLaughlin, Jr.

Sheri McLaughlin, individually, as surviving Sibling of George
P. McLaughlin, Jr.

Erin Eagers, individually, as surviving Sibling of Timothy
Patrick McSweeney

Patricia Friscia, individually, as surviving Sibling of Timothy
Patrick McSweeney

Ann McLaughlin, individually, as surviving Sibling of Timothy
Patrick McSweeney

Debra McSweeney, as the Personal Representative of the Estate
of Timothy Patrick McSweeney, deceased, and on behalf of all
survivors and all legally entitled beneficiaries and family
members of Timothy Patrick McSweeney

Debra McSweeney, individually, as surviving Spouse of Timothy
Patrick McSweeney

Dennis T. McSweeney, individually, as surviving Child of
Timothy Patrick McSweeney

Dennis C. McSweeney, individually, as surviving Parent of
Timothy Patrick McSweeney

Katherine McSweeney, individually, as surviving Stepparent of
Timothy Patrick McSweeney

Margaret M. McSweeney, individually, as surviving Child of
Timothy Patrick McSweeney

Patrick L. McSweeney, individually, as surviving Child of
Timothy Patrick McSweeney

Joann Meehan, as the Personal Representative of the Estate of
Damian Meehan, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Damian
Meehan

Joann Meehan, individually, as surviving Spouse of Damian
Meehan

Madison Meehan, individually, as surviving Child of Damian
Meehan



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Damian Meehan, Jr., individually, as surviving Child of Damian
Meehan

Anthony Mercado, individually, as surviving Sibling of Steve
Mercado

Austin Mercado, individually, as surviving Child of Steve
Mercado

Joviana Mercado, as the Personal Representative of the Estate of
Steve Mercado, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Steve
Mercado

Joviana Mercado, individually, as surviving Spouse of Steve
Mercado

Mary Mercado, individually, as surviving Parent of Steve
Mercado

Skylar Mercado, individually, as surviving Child of Steve
Mercado

Mary Mercado, as the Personal Representative of the Estate of
Louis Mercado, Jr., deceased, the late Sibling of Steve Mercado

Mary Mercado, as the Personal Representative of the Estate of
Louis Mercado, Sr., deceased, the late Parent of Steve Mercado

Olga Merino, as the Personal Representative of the Estate of
George L. Merino, deceased, and on behalf of all survivors and
all legally entitled beneficiaries and family members of George
L. Merino

Olga Merino, individually, as surviving Spouse of George L.
Merino

Tania Merino, individually, as surviving Child of George L.
Merino

Elizabeth Merkouris, individually, as surviving Child of George
Merkouris

Elizabeth Merkouris, individually, as surviving Parent of George
Merkouris

Jack Merkouris, individually, as surviving Child of George
Merkouris



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Anna Poulos, as the Personal Representative of the Estate of
Jacob Merkouris, deceased, the late Parent of George Merkouris

Koula Merkouris, as the Personal Representative of the Estate of
George Merkouris, deceased, and on behalf of all survivors and
all legally entitled beneficiaries and family members of George
Merkouris

Koula Merkouris, individually, as surviving Spouse of George
Merkouris

Steve Merkouris, individually, as surviving Child of George
Merkouris

Anna Poulos, individually, as surviving Sibling of George
Merkouris

Jim Vrachnas, as the Personal Representative of the Estate of
Cathy Vrachnas, deceased, the late Sibling of George Merkouris

Anne McNeil, as the Personal Representative of the Estate of
Martin Michelstein, deceased, and on behalf of all survivors and
all legally entitled beneficiaries and family members of Martin
Michelstein

Anne McNeil, individually, as surviving Spouse of Martin
Michelstein

Anna Milewska, individually, as surviving Parent of Lukasz
Milewski

Kamila P. Milewska-Podejma, individually, as surviving Sibling
of Lukasz Milewski

Frederyk Milewski, individually, as surviving Parent of Lukasz
Milewski

Frederyk and Anna Milewski, as the Personal Representatives of
the Estate of Lukasz Milewski, deceased, and on behalf of all
survivors and all legally entitled beneficiaries and family
members of Lukasz Milewski

Patricia Marzocchi, individually, as surviving Sibling of Sharon
Christina Millan

Christina Millan, individually, as surviving Parent of Sharon
Christina Millan

Mauricio Millan, individually, as surviving Parent of Sharon
Christina Millan

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Carlos Villa, individually, as surviving Sibling of Sharon
Christina Millan

Richard Villa, as the Personal Representative of the Estate of
Sharon Christina Millan, deceased, and on behalf of all survivors
and all legally entitled beneficiaries and family members of
Sharon Christina Millan

Richard Villa, individually, as surviving Sibling of Sharon
Christina Millan

Marjorie Miller, as the Personal Representative of the Estate of
Joel Miller, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Joel Miller

Marjorie Miller, individually, as surviving Spouse of Joel Miller

Justin Sivin, individually, as surviving Stepchild of Joel Miller

Maxwell Sivin, individually, as surviving Stepchild of Joel
Miller

Dina Miller, individually, as surviving Child of Robert Alan
Miller

Edward Miller, individually, as surviving Sibling of Robert Alan
Miller

Faith Miller, as the Personal Representative of the Estate of
Robert Alan Miller, deceased, and on behalf of all survivors and
all legally entitled beneficiaries and family members of Robert
Alan Miller

Faith Miller, individually, as surviving Spouse of Robert Alan
Miller

Scott Miller, as the Personal Representative of the Estate of
Steven Miller, deceased, the late Sibling of Robert Alan Miller

Melanie Pavelis, individually, as surviving Child of Robert Alan
Miller

Wayne Miller, as the Personal Representative of the Estate of
Beatrice Miller, deceased, the late Parent of Henry A. Miller, Jr.

Diane Miller, as the Personal Representative of the Estate of
Henry A. Miller, Jr., deceased, and on behalf of all survivors and
all legally entitled beneficiaries and family members of Henry A.
Miller, Jr.


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Diane Miller, individually, as surviving Spouse of Henry A.
Miller, Jr.

Wayne Miller, as the Personal Representative of the Estate of
Henry Miller, deceased, the late Parent of Henry A. Miller, Jr.

Wayne Miller, individually, as surviving Sibling of Henry A.
Miller, Jr.

Janice Testagrose, individually, as surviving Sibling of Henry A.
Miller, Jr.

Corrine Warnock, individually, as surviving Sibling of Henry A.
Miller, Jr.

Christine Minardi, individually, as surviving Child of William
Minardi

James Minardi, individually, as surviving Sibling of William
Minardi

Robert Minardi, individually, as surviving Child of William
Minardi

Stephanie Minardi, individually, as surviving Spouse of William
Minardi

William Minardi, individually, as surviving Child of William
Minardi

Joanne Pitino, individually, as surviving Sibling of William
Minardi

Richard A. Pitino, as the Personal Representative of the Estate of
William G. Minardi, deceased, and on behalf of all survivors and
all legally entitled beneficiaries and family members of William
G. Minardi

Mary Vogt, individually, as surviving Sibling of William
Minardi

Barbara Minervino, as the Personal Representative of the Estate
of Louis J. Minervino, deceased, and on behalf of all survivors
and all legally entitled beneficiaries and family members of
Louis J. Minervino

Barbara Minervino, individually, as surviving Spouse of Louis J.
Minervino



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Laina Minervino, individually, as surviving Child of Louis J.
Minervino

Marisa Minervino, individually, as surviving Child of Louis J.
Minervino

Amanda Mingione, individually, as surviving Child of Thomas
Mingione

Jennifer Mingione, as the Personal Representative of the Estate
of Thomas Mingione, deceased, and on behalf of all survivors
and all legally entitled beneficiaries and family members of
Thomas Mingione

Jennifer Mingione, individually, as surviving Spouse of Thomas
Mingione

Christine Baione, individually, as surviving Child of Louis J.
Modafferi

Joanne Modafferi, as the Personal Representative of the Estate of
Louis J. Modafferi, deceased, and on behalf of all survivors and
all legally entitled beneficiaries and family members of Louis J.
Modafferi

Joanne Modafferi, individually, as surviving Spouse of Louis J.
Modafferi

Joseph Modafferi, individually, as surviving Child of Louis J.
Modafferi

Michael Modafferi, individually, as surviving Child of Louis J.
Modafferi

Anna Mojica, as the Personal Representative of the Estate of
Manuel Mojica, Jr., deceased, and on behalf of all survivors and
all legally entitled beneficiaries and family members of Manuel
Mojica, Jr.

Anna Mojica, individually, as surviving Spouse of Manuel
Mojica, Jr.

Letty Mojica, individually, as surviving Sibling of Manuel
Mojica, Jr.

Manny Mojica, individually, as surviving Child of Manuel
Mojica, Jr.

Stephanie Mojica, individually, as surviving Child of Manuel
Mojica, Jr.

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Diane Monahan, as the Personal Representative of the Estate of
John G. Monahan, deceased, and on behalf of all survivors and
all legally entitled beneficiaries and family members of John G.
Monahan

Diane Monahan, individually, as surviving Spouse of John G.
Monahan

Christopher J. Monahan , individually, as surviving Child of
John G. Monahan

Terrence M. Monahan , individually, as surviving Child of John
G. Monahan

Anitha K. Moorthy, individually, as surviving Child of Krishna
Moorthy

Saradha Moorthy, as the Personal Representative of the Estate of
Krishna Moorthy, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Krishna
Moorthy

Saradha Moorthy, individually, as surviving Spouse of Krishna
Moorthy

Sriram K. Moorthy, individually, as surviving Child of Krishna
Moorthy

Mark A. Puopolo, individually, as surviving Child of Sonia
Morales-Puopolo

Sonia Puopolo, individually, as surviving Child of Sonia
Morales-Puopolo

Dominic J. Puopolo, Sr., as the Personal Representative of the
Estate of Sonia Morales-Puopolo, deceased, and on behalf of all
survivors and all legally entitled beneficiaries and family
members of Sonia Morales-Puopolo

Dominic J. Puopolo, Sr., individually, as surviving Spouse of
Sonia Morales-Puopolo

Nancy J. Doucette, individually, as surviving Child of George W.
Morell

Mary Jane Haggerty, individually, as surviving Sibling of
George W. Morell




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Patricia Lee, as the Personal Representative of the Estate of
Gaspar John Morell, Jr., deceased, the late Sibling of George W.
Morell

Alexandra Morell, as the Personal Representative of the Estate of
Anthony X. Morell, deceased, the late Sibling of George W.
Morell

Kelsey Jane Morell, individually, as surviving Child of George
W. Morell

Roberta Morell, as the Personal Representative of the Estate of
George W. Morell, deceased, and on behalf of all survivors and
all legally entitled beneficiaries and family members of George
W. Morell

Roberta Morell, individually, as surviving Spouse of George W.
Morell

Mark J. Morell , individually, as surviving Sibling of George W.
Morell

Rita Morell Shea, individually, as surviving Sibling of George
W. Morell

George W. Morell, Jr., individually, as surviving Child of
George W. Morell

Harrison O’Neil Morell, individually, as surviving Child of
George W. Morell

Catherine M. Raddatz, individually, as surviving Sibling of
George W. Morell

Cindy Itzkowitz, individually, as surviving Sibling of Nancy
Morgenstern

Harvey Morgenstern, individually, as surviving Parent of Nancy
Morgenstern

Howard Morgenstern, individually, as surviving Sibling of
Nancy Morgenstern

Jeffrey Morgenstern, individually, as surviving Sibling of Nancy
Morgenstern

Suri Morgenstern, as the Personal Representative of the Estate of
Nancy Morgenstern, deceased, and on behalf of all survivors and
all legally entitled beneficiaries and family members of Nancy
Morgenstern

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Suri Morgenstern, individually, as surviving Parent of Nancy
Morgenstern

Lori Shapiro, individually, as surviving Sibling of Nancy
Morgenstern

Brian Moroney, individually, as surviving Sibling of Dennis
Moroney

Elizabeth Moroney, individually, as surviving Child of Dennis
Moroney

Kevin Moroney, individually, as surviving Sibling of Dennis
Moroney

Michael Moroney, individually, as surviving Sibling of Dennis
Moroney

Nancy Moroney, as the Personal Representative of the Estate of
Dennis Moroney, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Dennis
Moroney

Nancy Moroney, individually, as surviving Spouse of Dennis
Moroney

Timothy Moroney, individually, as surviving Child of Dennis
Moroney

Christopher Motroni, individually, as surviving Child of Marco
Motroni

Emily Velez Motroni, as the Personal Representative of the
Estate of Marco Motroni, deceased, and on behalf of all
survivors and all legally entitled beneficiaries and family
members of Marco Motroni

Emily Velez Motroni, individually, as surviving Spouse of
Marco Motroni

Cathy Lynn Birch, as the Personal Representative of the Estate of
Marc A. Murolo, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Marc A.
Murolo

Cathy Lynn Birch, individually, as surviving Sibling of Marc A.
Murolo

Angela Murolo, individually, as surviving Parent of Marc A.
Murolo

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Angelo Murolo, individually, as surviving Sibling of Marc A.
Murolo

Dominick Murolo, individually, as surviving Parent of Marc A.
Murolo

Elizabeth Murphy, as the Personal Representative of the Estate
of Charles A. Murphy, deceased, and on behalf of all survivors
and all legally entitled beneficiaries and family members of
Charles A. Murphy

Elizabeth Murphy, individually, as surviving Parent of Charles
A. Murphy

Lori-Jean Murphy, individually, as surviving Sibling of Patrick
S. Murphy

Margaret Jane Murphy, individually, as surviving Child of
Patrick S. Murphy

Sean Timothy Murphy, individually, as surviving Child of
Patrick S. Murphy

Keri Murphy, as the Personal Representative of the Estate of
Thomas J. Murphy, deceased, the late Sibling of Patrick S.
Murphy

Elvira P. Murphy Trayner, as the Personal Representative of the
Estate of Patrick S. Murphy, deceased, and on behalf of all
survivors and all legally entitled beneficiaries and family
members of Patrick S. Murphy

Elvira P. Murphy Trayner, individually, as surviving Spouse of
Patrick S. Murphy

Gail S. Clark, as the Personal Representative of the Estate of
Richard T. Myhre, deceased, and on behalf of all survivors and
all legally entitled beneficiaries and family members of Richard
T. Myhre

Gail S. Clark, individually, as surviving Spouse of Richard T.
Myhre

Jonathan S. Myhre, individually, as surviving Child of Richard
T. Myhre

Richard B. Naiman, individually, as surviving Child of Mildred
R. Naiman



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Richard B. Naiman, as the Personal Representative of the Estate
of Mildred R. Naiman, deceased, and on behalf of all survivors
and all legally entitled beneficiaries and family members of
Mildred R. Naiman

Russell Naiman, individually, as surviving Child of Mildred R.
Naiman

Scott Naiman, as the Personal Representative of the Estate of
William Naiman, deceased, the late Child of Mildred R. Naiman

Edward Navarro, as the Personal Representative of the Estate of
Karen S. Navarro, deceased, and on behalf of all survivors and
all legally entitled beneficiaries and family members of Karen S.
Navarro

Edward Navarro, individually, as surviving Parent of Karen S.
Navarro

Elizabeth Navarro, individually, as surviving Parent of Karen S.
Navarro

Sharon Navarro, individually, as surviving Sibling of Karen S.
Navarro

John Caggiano, individually, as surviving Sibling of Theresa
Nelson-Risco

Joseph Caggiano, individually, as surviving Sibling of Theresa
Nelson-Risco

Richard Caggiano, individually, as surviving Sibling of Theresa
Nelson-Risco

Mary Caggiano Malfi, individually, as surviving Parent of
Theresa Nelson-Risco

William Nelson, as the Personal Representative of the Estate of
Theresa Nelson-Risco, deceased, and on behalf of all survivors
and all legally entitled beneficiaries and family members of
Theresa Nelson-Risco

William Nelson, individually, as surviving Spouse of Theresa
Nelson-Risco

Jaclyn Shapiro, individually, as surviving Child of Jody
Tepedino Nichilo

Anthony Tepedino, individually, as surviving Sibling of Jody
Tepedino Nichilo

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Evelyn Tepedino, as the Personal Representative of the Estate of
Jody Tepedino Nichilo, deceased, and on behalf of all survivors
and all legally entitled beneficiaries and family members of Jody
Tepedino Nichilo

Evelyn Tepedino, individually, as surviving Parent of Jody
Tepedino Nichilo

Marianne DeLuca, individually, as surviving Child of Kathleen
A. Nicosia

James Hawk, individually, as surviving Sibling of Kathleen A.
Nicosia

Larry Hawk, individually, as surviving Sibling of Kathleen A.
Nicosia

Larry Hawk, as the Personal Representative of the Estate of
Phyllis Hawk, deceased, the late Parent of Kathleen A. Nicosia

Kimberly Meyer, individually, as surviving Sibling of Kathleen
A. Nicosia

George Nicosia, as the Personal Representative of the Estate of
Kathleen A. Nicosia, deceased, and on behalf of all survivors and
all legally entitled beneficiaries and family members of Kathleen
A. Nicosia

George Nicosia, individually, as surviving Spouse of Kathleen A.
Nicosia

Allen J. Noeth, individually, as surviving Parent of Michael
Allen Noeth

Merrilly E. Noeth, as the Personal Representative of the Estate of
Michael Allen Noeth, deceased, and on behalf of all survivors
and all legally entitled beneficiaries and family members of
Michael Allen Noeth

Merrilly E. Noeth, individually, as surviving Parent of Michael
Allen Noeth

Anne C. Noonan, individually, as surviving Parent of Robert W.
Noonan

Ashley Noonan, individually, as surviving Sibling of Robert W.
Noonan

Charles Noonan, individually, as surviving Child of Robert W.
Noonan

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Dana McGowan Noonan, as the Personal Representative of the
Estate of Robert W. Noonan, deceased, and on behalf of all
survivors and all legally entitled beneficiaries and family
members of Robert W. Noonan

Dana McGowan Noonan, individually, as surviving Spouse of
Robert W. Noonan

Kelly Noonan, individually, as surviving Sibling of Robert W.
Noonan

Walter P. Noonan, individually, as surviving Parent of Robert W.
Noonan

Anne Wellington Noonan Robertson, individually, as surviving
Sibling of Robert W. Noonan

James Seymour, individually, as surviving Child of Jacqueline
Norton

Jason Seymour, individually, as surviving Child of Jacqueline
Norton

Jason Seymour, as the Personal Representative of the Estate of
Jacqueline Norton, deceased, and on behalf of all survivors and
all legally entitled beneficiaries and family members of
Jacqueline Norton

John Seymour, individually, as surviving Child of Jacqueline
Norton

Jason Seymour, as the Personal Representative of the Estate of
Robert G. Norton, deceased, and on behalf of all survivors and
all legally entitled beneficiaries and family members of Robert
G. Norton

Jeanne Lawler, individually, as surviving Sibling of Brian C.
Novotny

Daniel Novotny, individually, as surviving Sibling of Brian C.
Novotny

William and Michael Novotny, as the Personal Representatives
of the Estate of John B. Novotny, deceased, the late Sibling of
Brian C. Novotny

Kevin Novotny, individually, as surviving Sibling of Brian C.
Novotny



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Mary C. Novotny, individually, as surviving Parent of Brian C.
Novotny

Michael J. Novotny, individually, as surviving Sibling of Brian
C. Novotny

Robert Novotny, individually, as surviving Sibling of Brian C.
Novotny

William B. Novotny, individually, as surviving Sibling of Brian
C. Novotny

Mary Novotny, as the Personal Representative of the Estate of
William J. Novotny, deceased, the late Parent of Brian C.
Novotny

William and Michael B. Novotny, as the Personal
Representatives of the Estate of Brian C. Novotny, deceased, and
on behalf of all survivors and all legally entitled beneficiaries
and family members of Brian C. Novotny

Melissa Brunschwig, individually, as surviving Sibling of Jeffrey
Roger Nussbaum

Melissa Brunschwig and Craig Nussbaum, as the Personal
Representatives of the Estate of Arline Nussbaum, deceased, the
late Parent of Jeffrey Roger Nussbaum

Craig Nussbaum, individually, as surviving Sibling of Jeffrey
Roger Nussbaum

Melissa Brunschwig and Craig Nussbaum, as the Personal
Representatives of the Estate of Jeffrey Roger Nussbaum,
deceased, and on behalf of all survivors and all legally entitled
beneficiaries and family members of Jeffrey Roger Nussbaum

Kelly Hayes, as the Personal Representative of the Estate of
Scott J. O'Brien, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Scott J.
O'Brien

Kelly Hayes, individually, as surviving Spouse of Scott J.
O'Brien

Steven O'Brien, individually, as surviving Sibling of Scott J.
O'Brien

Lisanne Mackenzie, as the Personal Representative of the Estate
of James P. O'Brien, Jr., deceased, and on behalf of all survivors


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and all legally entitled beneficiaries and family members of
James P. O'Brien, Jr.

Lisanne Mackenzie, individually, as surviving Spouse of James
P. O'Brien, Jr.

Aiden O'Brien, individually, as surviving Child of James P.
O'Brien, Jr.

Amanda R. O'Connor, individually, as surviving Child of Diana
J. O'Connor

William J. O'Connor, as the Personal Representative of the
Estate of Diana J. O'Connor, deceased, and on behalf of all
survivors and all legally entitled beneficiaries and family
members of Diana J. O'Connor

William J. O'Connor, individually, as surviving Spouse of Diana
J. O'Connor

Lauren Lucchesi, individually, as surviving Child of Richard J.
O'Connor

Erin O'Connor, individually, as surviving Child of Richard J.
O'Connor

Lynne O'Connor, as the Personal Representative of the Estate of
Richard J. O'Connor, deceased, and on behalf of all survivors
and all legally entitled beneficiaries and family members of
Richard J. O'Connor

Lynne O'Connor, individually, as surviving Spouse of Richard J.
O'Connor

Matthew O'Connor, individually, as surviving Child of Richard
J. O'Connor

William O'Connor, individually, as surviving Sibling of Richard
J. O'Connor

Charlene O'Connor, individually, as surviving Parent of Dennis
J. O'Connor, Jr.

Christopher O'Connor, individually, as surviving Sibling of
Dennis J. O'Connor, Jr.

William O'Connor, individually, as surviving Sibling of Dennis
J. O'Connor, Jr.

Dennis J. O'Connor, Sr., as the Personal Representative of the
Estate of Dennis J. O'Connor, Jr., deceased, and on behalf of all

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survivors and all legally entitled beneficiaries and family
members of Dennis J. O'Connor, Jr.

Dennis J. O'Connor, Sr., individually, as surviving Parent of
Dennis J. O'Connor, Jr.

Geraldine Davie, as the Personal Representative of the Estate of
Amy O'Doherty, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Amy
O'Doherty

Geraldine Davie, individually, as surviving Parent of Amy
O'Doherty

Maura O'Doherty Lee, individually, as surviving Sibling of Amy
O'Doherty

James Wallace O'Grady, as the Personal Representative of the
Estate of James A. O'Grady, deceased, and on behalf of all
survivors and all legally entitled beneficiaries and family
members of James A. O'Grady

James Wallace O'Grady, individually, as surviving Parent of
James A. O'Grady

Sara O'Grady, individually, as surviving Parent of James A.
O'Grady

Kristin O'Grady Evans, individually, as surviving Sibling of
James A. O'Grady

Andrea O'Hagan, as the Personal Representative of the Estate of
Thomas G. O'Hagan, deceased, and on behalf of all survivors
and all legally entitled beneficiaries and family members of
Thomas G. O'Hagan

Andrea O'Hagan, individually, as surviving Spouse of Thomas
G. O'Hagan

Patrick O'Hagan, individually, as surviving Child of Thomas G.
O'Hagan

Pierce O'Hagan, individually, as surviving Child of Thomas G.
O'Hagan

Mary Jean McCarthy O'Leary, as the Personal Representative of
the Estate of Gerald Thomas O'Leary, deceased, and on behalf of
all survivors and all legally entitled beneficiaries and family
members of Gerald Thomas O'Leary



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Mary Jean McCarthy O'Leary, individually, as surviving Spouse
of Gerald Thomas O'Leary

Michael Patrick O'Leary, individually, as surviving Child of
Gerald Thomas O'Leary

Anthony Oliva, as the Personal Representative of the Estate of
Linda Oliva, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Linda Oliva

Anthony Oliva, individually, as surviving Sibling of Linda Oliva

Frank Oliva, individually, as surviving Sibling of Linda Oliva

Anthony Oliva, as the Personal Representative of the Estate of
Elizabeth Oliva Moss, deceased, the late Parent of Linda Oliva

Barbara Oliver, individually, as surviving Parent of Edward K.
Oliver

Donald K. Oliver, individually, as surviving Parent of Edward K.
Oliver

Donald Oliver, individually, as surviving Sibling of Edward K.
Oliver

Edward Oliver, individually, as surviving Child of Edward K.
Oliver

Emily Oliver, individually, as surviving Child of Edward K.
Oliver

James Oliver, individually, as surviving Sibling of Edward K.
Oliver

Sheryl Jane Oliver, as the Personal Representative of the Estate
of Edward K. Oliver, deceased, and on behalf of all survivors
and all legally entitled beneficiaries and family members of
Edward K. Oliver

Sheryl Jane Oliver, individually, as surviving Spouse of Edward
K. Oliver

Barbara Smith, individually, as surviving Sibling of Edward K.
Oliver

Dale J. Oliver, individually, as surviving Sibling of Leah E.
Oliver



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Daniel Oliver, individually, as surviving Sibling of Leah E.
Oliver

Theodore W. Oliver, individually, as surviving Sibling of Leah
E. Oliver

Walter S. Oliver, individually, as surviving Parent of Leah E.
Oliver

Janna Pulver, individually, as surviving Sibling of Leah E. Oliver

Elizabeth Rego, as the Personal Representative of the Estate of
Leah E. Oliver, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Leah E.
Oliver

Elizabeth Rego, individually, as surviving Parent of Leah E.
Oliver

Christopher Ake Olson, individually, as surviving Child of
Maureen Lyons Olson

John Eric Olson, as the Personal Representative of the Estate of
Maureen Lyons Olson, deceased, and on behalf of all survivors
and all legally entitled beneficiaries and family members of
Maureen Lyons Olson

John Eric Olson, individually, as surviving Spouse of Maureen
Lyons Olson

Maeve Elizabeth Olson, individually, as surviving Child of
Maureen Lyons Olson

Lauren Murphy Lewis, as the Personal Representative of the
Estate of Matthew T. O'Mahony, deceased, and on behalf of all
survivors and all legally entitled beneficiaries and family
members of Matthew T. O'Mahony

Lauren Murphy Lewis, individually, as surviving Spouse of
Matthew T. O'Mahony

Mary Doyle O'Neill, individually, as surviving Sibling of Sean
C. O'Neill

Katherine O'Neill Wilson, Mary Doyle O'Neill, and Brigid
O'Neill Lamon, as the Personal Representatives of the Estate of
Rosaleen Doyle O'Neill, deceased, the late Parent of Sean C.
O'Neill



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Holly O'Neill, as the Personal Representative of the Estate of
Sean C. O'Neill, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Sean C.
O'Neill

Holly O'Neill, individually, as surviving Spouse of Sean C.
O'Neill

Sean S. O'Neill, individually, as surviving Child of Sean C.
O'Neill

Brigid O'Neill Lamon, individually, as surviving Sibling of Sean
C. O'Neill

Katherine O'Neill Wilson, individually, as surviving Sibling of
Sean C. O'Neill

Catherine Ong, individually, as surviving Sibling of Betty Ann
Ong

Gloria Ong, individually, as surviving Sibling of Betty Ann Ong

Yee Gum Oy Ong, individually, as surviving Parent of Betty
Ann Ong

Harry Ong, Jr., as the Personal Representative of the Estate of
Betty Ann Ong, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Betty Ann
Ong

Harry Ong, Jr., individually, as surviving Sibling of Betty Ann
Ong

Harry Ong, Jr., as the Personal Representative of the Estate of
Harry Ong, Sr., deceased, the late Parent of Betty Ann Ong

Elizabeth Caggiano, individually, as surviving Child of Michael
Opperman

Deborah Opperman, as the Personal Representative of the Estate
of Michael Opperman, deceased, and on behalf of all survivors
and all legally entitled beneficiaries and family members of
Michael Opperman

Deborah Opperman, individually, as surviving Spouse of
Michael Opperman

Michael Opperman, Jr., individually, as surviving Child of
Michael Opperman


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Myles Ehrlich, individually, as surviving Child of Lisa Caren
Orfi-Ehrlich

Ryan Ehrlich, individually, as surviving Child of Lisa Caren
Orfi-Ehrlich

Andrew Weinstein, individually, as surviving Sibling of Lisa
Caren Orfi-Ehrlich

Stanley Weinstein, as the Personal Representative of the Estate
of Gloria Weinstein, deceased, the late Parent of Lisa Caren Orfi-
Ehrlich

Seth Weinstein, individually, as surviving Sibling of Lisa Caren
Orfi-Ehrlich

Stanley Weinstein, as the Personal Representative of the Estate
of Lisa Caren Orfi-Ehrlich, deceased, and on behalf of all
survivors and all legally entitled beneficiaries and family
members of Lisa Caren Orfi-Ehrlich

Stanley Weinstein, individually, as surviving Parent of Lisa
Caren Orfi-Ehrlich

Eduardo Ornedo, individually, as surviving Sibling of Ruben
Ornedo

Mario Ornedo, individually, as surviving Sibling of Ruben
Ornedo

Robin G. Ornedo, individually, as surviving Child of Ruben
Ornedo

Sheila Ornedo, as the Personal Representative of the Estate of
Ruben Ornedo, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Ruben
Ornedo

Sheila Ornedo, individually, as surviving Spouse of Ruben
Ornedo

Alfredo F. Ortiz, as the Personal Representative of the Estate of
Alexander Ortiz, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Alexander
Ortiz

Alfredo F. Ortiz, individually, as surviving Parent of Alexander
Ortiz



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Barbara Lynch, as the Personal Representative of the Estate of
Robert W. O'Shea, deceased, and on behalf of all survivors and
all legally entitled beneficiaries and family members of Robert
W. O'Shea

Barbara Lynch, individually, as surviving Spouse of Robert W.
O'Shea

John O'Shea, individually, as surviving Sibling of Robert W.
O'Shea

Feliciana Umanzor, as the Personal Representative of the Estate
of Elsy C. Osorio, deceased, and on behalf of all survivors and
all legally entitled beneficiaries and family members of Elsy C.
Osorio

Feliciana Umanzor, individually, as surviving Parent of Elsy C.
Osorio

Katherine Umanzor, individually, as surviving Sibling of Elsy C.
Osorio

Anthony Umanzor, Jr., individually, as surviving Sibling of Elsy
C. Osorio

Joanna Ostrowski, as the Personal Representative of the Estate of
James Ostrowski, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of James
Ostrowski

Joanna Ostrowski, individually, as surviving Spouse of James
Ostrowski

Jane Oswald, individually, as surviving Parent of Jason Oswald

Kenneth Oswald, as the Personal Representative of the Estate of
Jason Oswald, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Jason
Oswald

Kenneth Oswald, individually, as surviving Parent of Jason
Oswald

Jennifer Oswald-Chen, individually, as surviving Sibling of
Jason Oswald

Joy Ou, individually, as surviving Child of Michael C. Ou

Susan Ou, as the Personal Representative of the Estate of
Michael C. Ou, deceased, and on behalf of all survivors and all

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legally entitled beneficiaries and family members of Michael C.
Ou

Susan Ou, individually, as surviving Spouse of Michael C. Ou

Joseph Owens, individually, as surviving Child of Peter Owens,
Jr.

Kathleen Owens, as the Personal Representative of the Estate of
Peter Owens, Jr., deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Peter
Owens, Jr.

Kathleen Owens, individually, as surviving Spouse of Peter
Owens, Jr.

Maryellen Owens, individually, as surviving Child of Peter
Owens, Jr.

Thomas Owens, individually, as surviving Child of Peter Owens,
Jr.

Vanessa E. Pabon, individually, as surviving Child of Angel M.
Pabon, Jr.

Yvette Pabon, as the Personal Representative of the Estate of
Angel M. Pabon, Jr., deceased, and on behalf of all survivors and
all legally entitled beneficiaries and family members of Angel M.
Pabon, Jr.

Yvette Pabon, individually, as surviving Spouse of Angel M.
Pabon, Jr.

Angel M. Pabon, II, individually, as surviving Child of Angel M.
Pabon, Jr.

Sampath Pakkala, as the Personal Representative of the Estate of
Deepa Pakkala, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Deepa
Pakkala

Sampath Pakkala, individually, as surviving Spouse of Deepa
Pakkala

Irene Palazzo, individually, as surviving Parent of Jeffery M.
Palazzo

Lisa Palazzo, as the Personal Representative of the Estate of
Jeffery M. Palazzo, deceased, and on behalf of all survivors and



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all legally entitled beneficiaries and family members of Jeffery
M. Palazzo

Lisa Palazzo, individually, as surviving Spouse of Jeffery M.
Palazzo

Nicole Palazzo, individually, as surviving Child of Jeffery M.
Palazzo

Samantha Palazzo, individually, as surviving Child of Jeffery M.
Palazzo

Liza Sloan, individually, as surviving
Cousin/Godchild/Functional Equivalent of Sibling of Jeffery M.
Palazzo

Toni Maloney, individually, as surviving Sibling of Thomas A.
Palazzo

Keri Ann Palazzo, individually, as surviving Child of Thomas A.
Palazzo

Lisa Palazzo, as the Personal Representative of the Estate of
Thomas A. Palazzo, deceased, and on behalf of all survivors and
all legally entitled beneficiaries and family members of Thomas
A. Palazzo

Lisa Palazzo, individually, as surviving Spouse of Thomas A.
Palazzo

Philip Palazzo, individually, as surviving Sibling of Thomas A.
Palazzo

Richard Palazzo, individually, as surviving Sibling of Thomas A.
Palazzo

Robert Palazzo, individually, as surviving Sibling of Thomas A.
Palazzo

Bettina Palazzo Grunke, individually, as surviving Sibling of
Thomas A. Palazzo

Kristen Palazzo Libby, individually, as surviving Child of
Thomas A. Palazzo

Kaitlin Elizabeth Palazzo Namoury, individually, as surviving
Child of Thomas A. Palazzo

Barbara Palazzo Sulliman, individually, as surviving Sibling of
Thomas A. Palazzo


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Donna Paolillo, as the Personal Representative of the Estate of
John Paolillo, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of John
Paolillo

Donna Paolillo, individually, as surviving Spouse of John
Paolillo

Ella Paolillo, individually, as surviving Child of John Paolillo

Jake Paolillo, individually, as surviving Child of John Paolillo

Mary Lou Curran, as the Personal Representative of the Estate of
Ada E. Pascuma, deceased, the late Parent of Michael J.
Pascuma, Jr.

Christopher E. Pascuma, individually, as surviving Child of
Michael J. Pascuma, Jr.

Linda E. Pascuma, as the Personal Representative of the Estate
of Michael J. Pascuma, Jr., deceased, and on behalf of all
survivors and all legally entitled beneficiaries and family
members of Michael J. Pascuma, Jr.

Linda E. Pascuma, individually, as surviving Spouse of Michael
J. Pascuma, Jr.

Melissa E. Pascuma, individually, as surviving Child of Michael
J. Pascuma, Jr.

Michael E. Pascuma, individually, as surviving Child of Michael
J. Pascuma, Jr.

Mary Lou Curran, as the Personal Representative of the Estate of
Michael E. Pascuma, deceased, the late Parent of Michael J.
Pascuma, Jr.

Sean Passananti, as the Personal Representative of the Estate of
Marie E. Passananti, deceased, the late Parent of Horace
Passananti

Michael E. Passananti, individually, as surviving Child of Horace
Passananti

Sean E. Passananti, individually, as surviving Child of Horace
Passananti

Sean E. Passananti, as the Personal Representative of the Estate
of Horace Passananti, deceased, and on behalf of all survivors


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and all legally entitled beneficiaries and family members of
Horace Passananti

Irene Durbin, as the Personal Representative of the Estate of
Suzanne H. Passaro, deceased, and on behalf of all survivors and
all legally entitled beneficiaries and family members of Suzanne
H. Passaro

Irene Durbin, individually, as surviving Sibling of Suzanne H.
Passaro

Irene Durbin, as the Personal Representative of the Estate of
Anthony F. Passaro, deceased, the late Parent of Suzanne H.
Passaro

Irene Durbin, as the Personal Representative of the Estate of
Helene S. Passaro, deceased, the late Parent of Suzanne H.
Passaro

Ila Devani, individually, as surviving Sibling of Manish Patel

Kalpana Patel, individually, as surviving Sibling of Manish Patel

Kantilal Patel, as the Personal Representative of the Estate of
Manish Patel, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Manish
Patel

Kantilal Patel, individually, as surviving Parent of Manish Patel

Parul Patel, individually, as surviving Sibling of Manish Patel

Blanca Judith Gutierrez de Paz, individually, as surviving Parent
of Victor Hugo Paz Gutierrez

BNY Mellon, as the Personal Representative of the Estate of
Victor Hugo Paz Gutierrez, deceased, and on behalf of all
survivors and all legally entitled beneficiaries and family
members of Victor Hugo Paz Gutierrez

Ana Patricia Paz Gutierrez, individually, as surviving Sibling of
Victor Hugo Paz Gutierrez

Jose Cipriano Paz Gutierrez, individually, as surviving Sibling of
Victor Hugo Paz Gutierrez

Julia Amparo Paz Gutierrez, individually, as surviving Sibling of
Victor Hugo Paz Gutierrez

Nina Barnes, as the Personal Representative of the Estate of
Durrell V. Pearsall, Jr., deceased, and on behalf of all survivors

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and all legally entitled beneficiaries and family members of
Durrell V. Pearsall, Jr.

Kristina M. deJong, individually, as surviving Sibling of Michel
Pelletier

Daniel A. Pelletier, individually, as surviving Sibling of Michel
Pelletier

Lillian Pelletier, individually, as surviving Parent of Michel
Pelletier

Kristina DeJong, as the Personal Representative of the Estate of
Marcel O. Pelletier, deceased, the late Parent of Michel Pelletier

Ronald A. Pelletier, individually, as surviving Sibling of Michel
Pelletier

Nicolas Pelletier-Martinelli, individually, as surviving Child of
Michel Pelletier

Sophie Pelletier-Martinelli, as the Personal Representative of the
Estate of Michel Pelletier, deceased, and on behalf of all
survivors and all legally entitled beneficiaries and family
members of Michel Pelletier

Sophie Pelletier-Martinelli, individually, as surviving Spouse of
Michel Pelletier

Sydney Pelletier-Martinelli, individually, as surviving Child of
Michel Pelletier

Alexis Perez, individually, as surviving Child of Anthony Perez

Anthony Perez, individually, as surviving Child of Anthony
Perez

Mary Gola Perez, as the Personal Representative of the Estate of
Anthony Perez, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Anthony
Perez

Mary Gola Perez, individually, as surviving Spouse of Anthony
Perez

Debra Cassano, individually, as surviving Sibling of Joseph
Perroncino




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Stephen Perroncino, as the Personal Representative of the Estate
of Patricia Perroncino, deceased, the late Parent of Joseph
Perroncino

Stephen Perroncino, as the Personal Representative of the Estate
of Joseph Perroncino, deceased, and on behalf of all survivors
and all legally entitled beneficiaries and family members of
Joseph Perroncino

Stephen Perroncino, individually, as surviving Sibling of Joseph
Perroncino

Stephen Perroncino, as the Personal Representative of the Estate
of Joseph Perroncino, Sr., deceased, the late Parent of Joseph
Perroncino

Doreen Reith, individually, as surviving Sibling of Joseph
Perroncino

Josephine Perrotta, as the Personal Representative of the Estate
of Edward Perrotta, deceased, and on behalf of all survivors and
all legally entitled beneficiaries and family members of Edward
Perrotta

Josephine Perrotta, individually, as surviving Spouse of Edward
Perrotta

Frank K. Pezzuti, as the Personal Representative of the Estate of
Kaleen E. Pezzuti, deceased, and on behalf of all survivors and
all legally entitled beneficiaries and family members of Kaleen
E. Pezzuti

Frank K. Pezzuti, individually, as surviving Parent of Kaleen E.
Pezzuti

Frank J. Pezzuti, individually, as surviving Sibling of Kaleen E.
Pezzuti

Kathleen Pezzuti, individually, as surviving Parent of Kaleen E.
Pezzuti

Megan Pezzuti-Pelino, individually, as surviving Sibling of
Kaleen E. Pezzuti

Mary Ellen Machcinski , individually, as surviving Sibling of
Kevin Pfeifer

Helen Pfeifer, individually, as surviving Parent of Kevin Pfeifer



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Mary Ellen Machcinski and Joseph Pfeifer, as the Personal
Representatives of the Estate of Kevin Pfeifer, deceased, and on
behalf of all survivors and all legally entitled beneficiaries and
family members of Kevin Pfeifer

Helen Pfeifer, as the Personal Representative of the Estate of
William Pfeifer, deceased, the late Parent of Kevin Pfeifer

Joseph Pfeifer , individually, as surviving Sibling of Kevin
Pfeifer

David Pickford, individually, as surviving Sibling of Christopher
Pickford

Linda Pickford, as the Personal Representative of the Estate of
Christopher Pickford, deceased, and on behalf of all survivors
and all legally entitled beneficiaries and family members of
Christopher Pickford

Linda Pickford, individually, as surviving Parent of Christopher
Pickford

Linda Pickford, as the Personal Representative of the Estate of
Thomas Pickford, deceased, the late Parent of Christopher
Pickford

Linda Bodian, individually, as surviving Parent of Laurence
Polatsch

Bernard Polatsch, individually, as surviving Parent of Laurence
Polatsch

Daniel Polatsch, as the Personal Representative of the Estate of
Laurence Polatsch, deceased, and on behalf of all survivors and
all legally entitled beneficiaries and family members of Laurence
Polatsch

Daniel Polatsch, individually, as surviving Sibling of Laurence
Polatsch

Jean Oslyn Powell, as the Personal Representative of the Estate
of Shawn E. Powell, deceased, and on behalf of all survivors and
all legally entitled beneficiaries and family members of Shawn E.
Powell

Jean Oslyn Powell, individually, as surviving Spouse of Shawn
E. Powell

Joshua Powell, individually, as surviving Child of Shawn E.
Powell

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Bernadette Princiotta, as the Personal Representative of the
Estate of Anita Princiotta, deceased, the late Parent of Vincent
Princiotta

Bernadette Teresa Princiotta, individually, as surviving Sibling
of Vincent Princiotta

Christina M. Princiotta, individually, as surviving Child of
Vincent Princiotta

Karen Princiotta, as the Personal Representative of the Estate of
Vincent Princiotta, deceased, and on behalf of all survivors and
all legally entitled beneficiaries and family members of Vincent
Princiotta

Karen Princiotta, individually, as surviving Spouse of Vincent
Princiotta

Michele A. Yaniz, individually, as surviving Sibling of Vincent
Princiotta

Christopher Prunty, individually, as surviving Child of Richard
Prunty

Susan Prunty, as the Personal Representative of the Estate of
Richard Prunty, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Richard
Prunty

Susan Prunty, individually, as surviving Spouse of Richard
Prunty

Lisa Prunty Aram, individually, as surviving Child of Richard
Prunty

Leah Quigley, individually, as surviving Child of Patrick J.
Quigley

Patricia Quigley, as the Personal Representative of the Estate of
Patrick J. Quigley, deceased, and on behalf of all survivors and
all legally entitled beneficiaries and family members of Patrick J.
Quigley

Patricia Quigley, individually, as surviving Spouse of Patrick J.
Quigley

Rachel Quigley, individually, as surviving Child of Patrick J.
Quigley



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Francine Raggio, as the Personal Representative of the Estate of
Eugene J. Raggio, deceased, and on behalf of all survivors and
all legally entitled beneficiaries and family members of Eugene
J. Raggio

Francine Raggio, individually, as surviving Spouse of Eugene J.
Raggio

Melissa Raggio-Granato, individually, as surviving Child of
Eugene J. Raggio

Martin Rambousek, as the Personal Representative of the Estate
of Jindra Rambousek, deceased, the late Parent of Lukas
Rambousek

Martin Rambousek, as the Personal Representative of the Estate
of Lukas Rambousek, deceased, and on behalf of all survivors
and all legally entitled beneficiaries and family members of
Lukas Rambousek

Martin Rambousek, individually, as surviving Sibling of Lukas
Rambousek

Martin Rambousek, as the Personal Representative of the Estate
of Michael Rambousek, deceased, the late Parent of Lukas
Rambousek

Deborah Basham, as the Personal Representative of the Estate of
Alfred Todd Rancke, deceased, and on behalf of all survivors
and all legally entitled beneficiaries and family members of
Alfred Todd Rancke

Deborah Basham, individually, as surviving Spouse of Alfred
Todd Rancke

Brittany Barbara Rancke, individually, as surviving Child of
Alfred Todd Rancke

Christina Joann Rancke, individually, as surviving Child of
Alfred Todd Rancke

Alfred Todd Rancke, II, individually, as surviving Child of
Alfred Todd Rancke

James Rand, individually, as surviving Sibling of Adam D. Rand

Mary Ann Rand, as the Personal Representative of the Estate of
James Rand, deceased, the late Parent of Adam D. Rand

Lisa Rand, individually, as surviving Sibling of Adam D. Rand

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Mary Ann Rand, as the Personal Representative of the Estate of
Adam D. Rand, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Adam D.
Rand

Mary Ann Rand, individually, as surviving Parent of Adam D.
Rand

Aneesa Rasool, individually, as surviving Child of Amenia
Rasool

Aseefa Rasool, individually, as surviving Child of Amenia
Rasool

Farhaad N. Rasool, individually, as surviving Child of Amenia
Rasool

Sadiq Rasool, as the Personal Representative of the Estate of
Amenia Rasool, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Amenia
Rasool

Sadiq Rasool, individually, as surviving Spouse of Amenia
Rasool

Saeed N. Rasool, individually, as surviving Child of Amenia
Rasool

Susan Bauer, as the Personal Representative of the Estate of
Roger Mark Rasweiler, deceased, and on behalf of all survivors
and all legally entitled beneficiaries and family members of
Roger Mark Rasweiler

Susan Bauer, individually, as surviving Spouse of Roger Mark
Rasweiler

Lindsey Anne Murdock, individually, as surviving Child of
Roger Mark Rasweiler

Susan Bauer, as the Personal Representative of the Estate of
Michael John Rasweiler, deceased, the late Child of Roger Mark
Rasweiler

Beth Ann Rasweiler-Griffin, individually, as surviving Sibling of
Roger Mark Rasweiler

Caryn Beth Wiley, individually, as surviving Child of Roger
Mark Rasweiler



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Natalya Loginova, as the Personal Representative of the Estate of
Alexey Razuvaev, deceased, and on behalf of all survivors and
all legally entitled beneficiaries and family members of Alexey
Razuvaev

Natalya Loginova, individually, as surviving Spouse of Alexey
Razuvaev

Christopher Reda, individually, as surviving Sibling of Gregory
Reda

Frank M. Reda, individually, as surviving Parent of Gregory
Reda

John M. Reda, individually, as surviving Sibling of Gregory
Reda

Matthew A. Reda, individually, as surviving Child of Gregory
Reda

Nicholas G. Reda, individually, as surviving Child of Gregory
Reda

Nicole Reda, as the Personal Representative of the Estate of
Gregory Reda, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Gregory
Reda

Nicole Reda, individually, as surviving Spouse of Gregory Reda

Sharlene Beckwith, as the Personal Representative of the Estate
of Michele Reed, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Michele
Reed

Sharlene Beckwith, individually, as surviving Parent of Michele
Reed

James A. Reed, individually, as surviving Parent of Michele
Reed

James Regan, individually, as surviving Child of Donald J.
Regan

Jill Regan, individually, as surviving Child of Donald J. Regan

Peter Regan, individually, as surviving Child of Donald J. Regan

Shane Regan, individually, as surviving Child of Donald J.
Regan

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Theresa Regan, as the Personal Representative of the Estate of
Donald J. Regan, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Donald J.
Regan

Theresa Regan, individually, as surviving Spouse of Donald J.
Regan

Albert O. Regenhard, individually, as surviving Parent of
Christian M. O. Regenhard

Catherine T. Regenhard, as the Personal Representative of the
Estate of Christian M. O. Regenhard, deceased, and on behalf of
all survivors and all legally entitled beneficiaries and family
members of Christian M. O. Regenhard

Catherine T. Regenhard, individually, as surviving Parent of
Christian M. O. Regenhard

Christina Regenhard, individually, as surviving Sibling of
Christian M. O. Regenhard

Jeanne Kennedy, individually, as surviving Sibling of James B.
Reilly

Christine Reilly, individually, as surviving Sibling of James B.
Reilly

Thomas E. Reilly, individually, as surviving Sibling of James B.
Reilly

William F. Reilly, as the Personal Representative of the Estate of
James B. Reilly, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of James B.
Reilly

William F. Reilly, individually, as surviving Parent of James B.
Reilly

William John Reilly, individually, as surviving Sibling of James
B. Reilly

Jennifer Reilly, as the Personal Representative of the Estate of
Kevin O. Reilly, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Kevin O.
Reilly

Jennifer Reilly, individually, as surviving Spouse of Kevin O.
Reilly


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Kristin Maguire, individually, as surviving Sibling of John A.
Reo

Meghan Metzemaekers, individually, as surviving Sibling of
John A. Reo

Armand J. Reo, as the Personal Representative of the Estate of
John A. Reo, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of John A. Reo

Armand J. Reo, individually, as surviving Parent of John A. Reo

Judith Reo, individually, as surviving Parent of John A. Reo

Mark Reo, individually, as surviving Sibling of John A. Reo

Suzanne Swaine, individually, as surviving Sibling of John A.
Reo

Vivian Reuben, as the Personal Representative of the Estate of
Todd Reuben, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Todd
Reuben

Vivian Reuben, individually, as surviving Spouse of Todd
Reuben

Maria Cruz, as the Personal Representative of the Estate of
Eduvigis Reyes, Jr., deceased, and on behalf of all survivors and
all legally entitled beneficiaries and family members of Eduvigis
Reyes, Jr.

Maria Cruz, individually, as surviving Sibling of Eduvigis Reyes,
Jr.

Ida Holder, individually, as surviving Sibling of Eduvigis Reyes,
Jr.

Armando Reyes, individually, as surviving Sibling of Eduvigis
Reyes, Jr.

Isabel Reyes, as the Personal Representative of the Estate of
Clementina Reyes, deceased, the late Parent of Eduvigis Reyes,
Jr.

Enoel Reyes, individually, as surviving Sibling of Eduvigis
Reyes, Jr.

Isabel Reyes, individually, as surviving Sibling of Eduvigis
Reyes, Jr.

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Kimberly Reyes, individually, as surviving Child of Eduvigis
Reyes, Jr.

Luz Reyes, individually, as surviving Sibling of Eduvigis Reyes,
Jr.

Nemesio Reyes, individually, as surviving Sibling of Eduvigis
Reyes, Jr.

Tiffany Reyes, individually, as surviving Child of Eduvigis
Reyes, Jr.

Aidaline Reyes Concepcion, individually, as surviving Sibling of
Eduvigis Reyes, Jr.

Nydia Reyes Rodriguez, individually, as surviving Sibling of
Eduvigis Reyes, Jr.

Stephanie Villarin, individually, as surviving Child of Eduvigis
Reyes, Jr.

Carol J. Richards, individually, as surviving Parent of Gregory
D. Richards

Paul Richards, individually, as surviving Sibling of Gregory D.
Richards

Asher Richards Frankel, individually, as surviving Child of
Gregory D. Richards

Erin P. Richards Frankel, as the Personal Representative of the
Estate of Gregory D. Richards, deceased, and on behalf of all
survivors and all legally entitled beneficiaries and family
members of Gregory D. Richards

Erin P. Richards Frankel, individually, as surviving Spouse of
Gregory D. Richards

Lisa Richards Keston, individually, as surviving Sibling of
Gregory D. Richards

Karen Connors, individually, as surviving Sibling of Frederick
Rimmele III

Marilyn Rimmele, individually, as surviving Parent of Frederick
Rimmele III

Marilyn Rimmele, as the Personal Representative of the Estate of
Frederick Rimmele, Jr., deceased, the late Parent of Frederick
Rimmele III

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Kimberly Trudel, as the Personal Representative of the Estate of
Frederick Rimmele III, deceased, and on behalf of all survivors
and all legally entitled beneficiaries and family members of
Frederick Rimmele III

Kimberly Trudel, individually, as surviving Spouse of Frederick
Rimmele III

Ricky Vider, as the Personal Representative of the Estate of
David E. Rivers, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of David E.
Rivers

Ricky Vider, individually, as surviving Spouse of David E.
Rivers

James Vider Rivers, individually, as surviving Child of David E.
Rivers

Danielle Riverso, individually, as surviving Child of Joseph R.
Riverso

Jodi Riverso, as the Personal Representative of the Estate of
Joseph R. Riverso, deceased, and on behalf of all survivors and
all legally entitled beneficiaries and family members of Joseph
R. Riverso

Rodney Callum, as the Personal Representative of the Estate of
Chester Callum, deceased, the late Parent of Michell L.
Robotham

Rodney Callum, as the Personal Representative of the Estate of
Michell L. Robotham, deceased, and on behalf of all survivors
and all legally entitled beneficiaries and family members of
Michell L. Robotham

Rodney Callum, individually, as surviving Sibling of Michell L.
Robotham

Travis Callum, individually, as surviving Sibling of Michell L.
Robotham

Rodney Callum, as the Personal Representative of the Estate of
Linda Hanson Callum, deceased, the late Parent of Michell L.
Robotham

Alexandra Robotham, individually, as surviving Child of Michell
L. Robotham



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Geoffrey Robson, individually, as surviving Child of Donald
Robson

Katherine Robson, as the Personal Representative of the Estate
of Donald Robson, deceased, and on behalf of all survivors and
all legally entitled beneficiaries and family members of Donald
Robson

Katherine Robson, individually, as surviving Spouse of Donald
Robson

Scott Robson, individually, as surviving Child of Donald Robson

Desiree Okseniuk, individually, as surviving Sibling of Anthony
Rodriguez

Brunilda Rodriguez, individually, as surviving Parent of Anthony
Rodriguez

Derek Rodriguez, individually, as surviving Child of Anthony
Rodriguez

Evelyn Rodriguez, as the Personal Representative of the Estate
of Anthony Rodriguez, deceased, and on behalf of all survivors
and all legally entitled beneficiaries and family members of
Anthony Rodriguez

Evelyn Rodriguez, individually, as surviving Spouse of Anthony
Rodriguez

Lauren Rodriguez, individually, as surviving Child of Anthony
Rodriguez

Lynnette Rodriguez, individually, as surviving Child of Anthony
Rodriguez

Morgan Rodriguez, individually, as surviving Child of Anthony
Rodriguez

Pedro Rodriguez, individually, as surviving Parent of Anthony
Rodriguez

Peter Rodriguez, individually, as surviving Sibling of Anthony
Rodriguez

Angelic Suarez, individually, as surviving Sibling of Anthony
Rodriguez

Mary Lynn Padilla, individually, as surviving Child of Carmen
M. Rodriguez

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Mary Lynn Padilla, as the Personal Representative of the Estate
of Carmen M. Rodriguez, deceased, and on behalf of all
survivors and all legally entitled beneficiaries and family
members of Carmen M. Rodriguez

Carlos Santos, individually, as surviving Child of Carmen M.
Rodriguez

Margarita Vazquez, individually, as surviving Parent of Carmen
M. Rodriguez

Katherine Rohner, as the Personal Representative of the Estate of
Scott W. Rohner, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Scott W.
Rohner

Katherine Rohner, individually, as surviving Parent of Scott W.
Rohner

Katherine Rohner, as the Personal Representative of the Estate of
Ronald R. Rohner, deceased, the late Parent of Scott W. Rohner

Edith Cruz, as the Personal Representative of the Estate of
Angela Rosario, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Angela
Rosario

Edith Cruz, individually, as surviving Parent of Angela Rosario

Aaron Pagan, individually, as surviving Nephew of Angela
Rosario

Ticey Rosario, individually, as surviving Sibling of Angela
Rosario

Fern Rosenbaum, as the Personal Representative of the Estate of
Brooke D. Rosenbaum, deceased, and on behalf of all survivors
and all legally entitled beneficiaries and family members of
Brooke D. Rosenbaum

Fern Rosenbaum, individually, as surviving Stepparent of
Brooke D. Rosenbaum

Fern Rosenbaum, as the Personal Representative of the Estate of
Martin Rosenbaum, deceased, the late Parent of Brooke D.
Rosenbaum

Alyssa Rosenberg, individually, as surviving Child of Lloyd D.
Rosenberg


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Glenna Rosenberg, as the Personal Representative of the Estate
of Lloyd D. Rosenberg, deceased, and on behalf of all survivors
and all legally entitled beneficiaries and family members of
Lloyd D. Rosenberg

Glenna Rosenberg, individually, as surviving Spouse of Lloyd D.
Rosenberg

Kaylee Rosenberg, individually, as surviving Child of Lloyd D.
Rosenberg

Samantha Rosenberg, individually, as surviving Child of Lloyd
D. Rosenberg

Sheila Ornstein, individually, as surviving Sibling of Andrew I.
Rosenblum

Adam Rosenblum, individually, as surviving Sibling of Andrew
I. Rosenblum

Sheila Ornstein, as the Personal Representative of the Estate of
Barbara Rosenblum, deceased, the late Parent of Andrew I.
Rosenblum

Sheila Ornstein, as the Personal Representative of the Estate of
Jason Rosenblum, deceased, the late Parent of Andrew I.
Rosenblum

Jill Rosenblum, as the Personal Representative of the Estate of
Andrew I. Rosenblum, deceased, and on behalf of all survivors
and all legally entitled beneficiaries and family members of
Andrew I. Rosenblum

Jill Rosenblum, individually, as surviving Spouse of Andrew I.
Rosenblum

Jordan Rosenblum, individually, as surviving Child of Andrew I.
Rosenblum

Kyle Rosenblum, individually, as surviving Child of Andrew I.
Rosenblum

Richard Rosenblum, individually, as surviving Sibling of
Andrew I. Rosenblum

Allan Rosenzweig, individually, as surviving Sibling of Phillip
Rosenzweig

Max Rosenzweig, individually, as surviving Child of Phillip
Rosenzweig

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Lauren Rosenzweig Morton, as the Personal Representative of
the Estate of Phillip Rosenzweig, deceased, and on behalf of all
survivors and all legally entitled beneficiaries and family
members of Phillip Rosenzweig

Lauren Rosenzweig Morton, individually, as surviving Spouse of
Phillip Rosenzweig

Rochelle Gordon, individually, as surviving Sibling of Richard
Ross

Alison Ross, individually, as surviving Child of Richard Ross

Franklin Ross, individually, as surviving Child of Richard Ross

Irene Ross, individually, as surviving Sibling of Richard Ross

Judi A. Ross, as the Personal Representative of the Estate of
Richard Ross, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Richard
Ross

Judi A. Ross, individually, as surviving Spouse of Richard Ross

Abigail Ross Goodman, individually, as surviving Child of
Richard Ross

Susan Rossinow, as the Personal Representative of the Estate of
Norman Rossinow, deceased, and on behalf of all survivors and
all legally entitled beneficiaries and family members of Norman
Rossinow

Susan Rossinow, individually, as surviving Spouse of Norman
Rossinow

Barbara Scaramuzzino, as the Personal Representative of the
Estate of Nicholas Rossomando, deceased, and on behalf of all
survivors and all legally entitled beneficiaries and family
members of Nicholas Rossomando

Barbara Scaramuzzino, individually, as surviving Parent of
Nicholas Rossomando

Frank Ruggiere, individually, as surviving Parent of Bart
Ruggiere

Mark Ruggiere, individually, as surviving Sibling of Bart
Ruggiere



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Kathleen Ruggiere De Paris, individually, as surviving Sibling of
Bart Ruggiere

Claudia Ruggiere Donovan, as the Personal Representative of the
Estate of Bart Ruggiere, deceased, and on behalf of all survivors
and all legally entitled beneficiaries and family members of Bart
Ruggiere

Claudia Ruggiere Donovan, individually, as surviving Spouse of
Bart Ruggiere

Patricia Ruggiere Scavuzzo, individually, as surviving Parent of
Bart Ruggiere

Frank Ruggiere, Jr., individually, as surviving Sibling of Bart
Ruggiere

Rafaela Ruiz, individually, as surviving Child of Gilbert Ruiz

Gilbert Ruiz, Jr., individually, as surviving Child of Gilbert Ruiz

Gilbert Ruiz, Jr., as the Personal Representative of the Estate of
Gilbert Ruiz, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Gilbert Ruiz

Alec Russin, individually, as surviving Child of Steven Russin

Andrea Russin, as the Personal Representative of the Estate of
Steven Russin, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Steven
Russin

Andrea Russin, individually, as surviving Spouse of Steven
Russin

Ariella Russin, individually, as surviving Child of Steven Russin

Olivia Russin, individually, as surviving Child of Steven Russin

Patricia Antonelle, individually, as surviving Sibling of Edward
Ryan

Diane Ryan, as the Personal Representative of the Estate of
Edward Ryan, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Edward
Ryan

Diane Ryan, individually, as surviving Spouse of Edward Ryan

Edward Ryan, individually, as surviving Child of Edward Ryan

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Joseph Ryan, individually, as surviving Child of Edward Ryan

Kelly Ryan, individually, as surviving Child of Edward Ryan

Megan Ryan, individually, as surviving Child of Edward Ryan

Robert Ryan, as the Personal Representative of the Estate of
Patricia Ryan, deceased, the late Parent of Edward Ryan

Paul Ryan, individually, as surviving Sibling of Edward Ryan

Robert P. Ryan, individually, as surviving Sibling of Edward
Ryan

William Ryan, individually, as surviving Sibling of Edward
Ryan

Autumn Ryan, individually, as surviving Child of Jonathan S.
Ryan

Colin M. Ryan, individually, as surviving Child of Jonathan S.
Ryan

Deena Ryan, individually, as surviving Parent of Jonathan S.
Ryan

James Ryan, individually, as surviving Sibling of Jonathan S.
Ryan

Robert j. Ryan, individually, as surviving Parent of Jonathan S.
Ryan

Scott Ryan, individually, as surviving Sibling of Jonathan S.
Ryan

Maria L. Ryan-Baldwin, as the Personal Representative of the
Estate of Jonathan S. Ryan, deceased, and on behalf of all
survivors and all legally entitled beneficiaries and family
members of Jonathan S. Ryan

Maria L. Ryan-Baldwin, individually, as surviving Spouse of
Jonathan S. Ryan

Joyce Quinn, individually, as surviving Child of Matthew L.
Ryan

Francis Ryan, individually, as surviving Sibling of Matthew L.
Ryan



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Margaret Ryan, as the Personal Representative of the Estate of
Matthew L. Ryan, deceased, and on behalf of all survivors and
all legally entitled beneficiaries and family members of Matthew
L. Ryan

Margaret Ryan, individually, as surviving Spouse of Matthew L.
Ryan

Meaghan Ryan, individually, as surviving Child of Matthew L.
Ryan

Matthew L. Ryan, Jr., individually, as surviving Child of
Matthew L. Ryan

Vasiliy Rijov, as the Personal Representative of the Estate of
Tatiana Ryjova, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Tatiana
Ryjova

Vasiliy Rijov, individually, as surviving Spouse of Tatiana
Ryjova

Alex Ryjov, individually, as surviving Child of Tatiana Ryjova

Daniel Ryjov , individually, as surviving Child of Tatiana Ryjova

Dae Jin Ryook, as the Personal Representative of the Estate of
Christina S. Ryook, deceased, and on behalf of all survivors and
all legally entitled beneficiaries and family members of Christina
S. Ryook

Dae Jin Ryook, individually, as surviving Parent of Christina S.
Ryook

Lior Saada, individually, as surviving Child of Thierry Saada

Delphine Saada Samuel, as the Personal Representative of the
Estate of Thierry Saada, deceased, and on behalf of all survivors
and all legally entitled beneficiaries and family members of
Thierry Saada

Delphine Saada Samuel, individually, as surviving Spouse of
Thierry Saada

Aaron Sand, individually, as surviving Child of Eric Sand

Michele Sand, as the Personal Representative of the Estate of
Eric Sand, deceased, and on behalf of all survivors and all legally
entitled beneficiaries and family members of Eric Sand


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Michele Sand, individually, as surviving Spouse of Eric Sand

Christine Lopez, as the Personal Representative of the Estate of
Susan Santo, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Susan Santo

Christine Ann Lopez , individually, as surviving Child of Susan
Santo

Jeffrey W. Santo, individually, as surviving Sibling of Susan
Santo

Michael Santo, as the Personal Representative of the Estate of
Joseph Santo, deceased, the late Parent of Susan Santo

Michael Santo, individually, as surviving Sibling of Susan Santo

John Paul Sarle, individually, as surviving Child of Paul F. Sarle

Leeann Sarle, individually, as surviving Child of Paul F. Sarle

Linda Sarle, as the Personal Representative of the Estate of Paul
F. Sarle, deceased, and on behalf of all survivors and all legally
entitled beneficiaries and family members of Paul F. Sarle

Linda Sarle, individually, as surviving Spouse of Paul F. Sarle

Norma A. Sarle, individually, as surviving Parent of Paul F.
Sarle

Paul J. Sarle, individually, as surviving Child of Paul F. Sarle

Narasimha Sattaluri, as the Personal Representative of the Estate
of Deepika Sattaluri, deceased, and on behalf of all survivors and
all legally entitled beneficiaries and family members of Deepika
Sattaluri

Narasimha Sattaluri, individually, as surviving Spouse of
Deepika Sattaluri

Stephen Saucedo, as the Personal Representative of the Estate of
Gregory Saucedo, deceased, and on behalf of all survivors and
all legally entitled beneficiaries and family members of Gregory
Saucedo

Stephen Saucedo, individually, as surviving Sibling of Gregory
Saucedo

Darcie Bailey-Scauso, individually, as surviving Stepchild of
Dennis Scauso

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Dianne Hagerty, individually, as surviving Sibling of Dennis
Scauso

Donald Scauso, individually, as surviving Stepchild of Dennis
Scauso

Gabrielle S. Scauso, individually, as surviving Child of Dennis
Scauso

Janlyn Scauso, as the Personal Representative of the Estate of
Dennis Scauso, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Dennis
Scauso

Janlyn Scauso, individually, as surviving Spouse of Dennis
Scauso

Juliette L. Scauso, individually, as surviving Child of Dennis
Scauso

Salvatore Scauso, individually, as surviving Parent of Dennis
Scauso

Nancy Shakouri, individually, as surviving Sibling of Dennis
Scauso

Elena Sweeney, individually, as surviving Sibling of Dennis
Scauso

Brandon Schielke, individually, as surviving Sibling of Sean
Schielke

Kenneth Schielke, as the Personal Representative of the Estate of
Sean Schielke, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Sean
Schielke

Kenneth Schielke, individually, as surviving Parent of Sean
Schielke

Patricia Schielke, individually, as surviving Parent of Sean
Schielke

Kenneth Schielke, Jr., individually, as surviving Sibling of Sean
Schielke

Janice Hart, individually, as surviving Sibling of Jeffrey Schreier

Janice Hart, as the Personal Representative of the Estate of Mark
Schreier, deceased, the late Parent of Jeffrey Schreier

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Phyllis Schreier, as the Personal Representative of the Estate of
Jeffrey Schreier, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Jeffrey
Schreier

Phyllis Schreier, individually, as surviving Spouse of Jeffrey
Schreier

Janice Hart, as the Personal Representative of the Estate of
Stephanie Schreier, deceased, the late Parent of Jeffrey Schreier

Gabriella Scibetta, individually, as surviving Child of Adrianne
Scibetta

Caterina Venuto, individually, as surviving Parent of Adrianne
Scibetta

Salvatore Venuto, individually, as surviving Sibling of Adrianne
Scibetta

Margaret McInnes, individually, as surviving Sibling of Arthur
Scullin

Catherine Scullin, as the Personal Representative of the Estate of
Arthur Scullin, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Arthur
Scullin

Catherine Scullin, individually, as surviving Spouse of Arthur
Scullin

James W. Scullin, individually, as surviving Child of Arthur
Scullin

James G. Scullin, individually, as surviving Sibling of Arthur
Scullin

Nora M. Scullin, individually, as surviving Child of Arthur
Scullin

Arthur W. Scullin, Jr., individually, as surviving Child of Arthur
Scullin

Natalie Makshanov, as the Personal Representative of the Estate
of Jason M. Sekzer, deceased, and on behalf of all survivors and
all legally entitled beneficiaries and family members of Jason M.
Sekzer

Natalie Makshanov, individually, as surviving Spouse of Jason
M. Sekzer

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Evelyn Sekzer, individually, as surviving Parent of Jason M.
Sekzer

Marc Sekzer, individually, as surviving Sibling of Jason M.
Sekzer

Evelyn Sekzer, as the Personal Representative of the Estate of
Wilton Sekzer, deceased, the late Parent of Jason M. Sekzer

Nancy Picone, as the Personal Representative of the Estate of
Arturo Sereno, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Arturo
Sereno

Nancy Picone, individually, as surviving Sibling of Arturo
Sereno

Anna Sereno, individually, as surviving Parent of Arturo Sereno

Nancy Picone, as the Personal Representative of the Estate of
Tommaso Sereno, deceased, the late Parent of Arturo Sereno

Jyothi J. Shah, as the Personal Representative of the Estate of
Jayesh Shah, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Jayesh Shah

Jyothi J. Shah, individually, as surviving Spouse of Jayesh Shah

Niloy Shah, individually, as surviving Sibling of Jayesh Shah

Kevin Jayesh Shah , individually, as surviving Child of Jayesh
Shah

Nikita Shah , individually, as surviving Child of Jayesh Shah

Sonia Shah , individually, as surviving Child of Jayesh Shah

Leonor Shahid, as the Personal Representative of the Estate of
Khalid Shahid, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Khalid
Shahid

Leonor Shahid, individually, as surviving Parent of Khalid
Shahid

Syed Shahid, individually, as surviving Parent of Khalid Shahid

Beniamin Shamay, as the Personal Representative of the Estate
of Gary Shamay, deceased, and on behalf of all survivors and all


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legally entitled beneficiaries and family members of Gary
Shamay

Beniamin Shamay, individually, as surviving Parent of Gary
Shamay

Gabriel Shamay, individually, as surviving Sibling of Gary
Shamay

Simon Shamay, individually, as surviving Sibling of Gary
Shamay

Stacy Lee Chmil, individually, as surviving Child of Earl
Shanahan

Eileen A. Shanahan, as the Personal Representative of the Estate
of Earl Shanahan, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Earl
Shanahan

Eileen A. Shanahan, individually, as surviving Spouse of Earl
Shanahan

Gregory Earl Shanahan, individually, as surviving Child of Earl
Shanahan

Abigail R. Shea, individually, as surviving Child of Daniel J.
Shea

Colin M. Shea, individually, as surviving Child of Daniel J. Shea

Ellen Shea, as the Personal Representative of the Estate of Daniel
J. Shea, deceased, and on behalf of all survivors and all legally
entitled beneficiaries and family members of Daniel J. Shea

Ellen Shea, individually, as surviving Spouse of Daniel J. Shea

Margaret J. Shea, individually, as surviving Child of Daniel J.
Shea

Nancy Raeside Shea, as the Personal Representative of the Estate
of Joseph P. Shea, deceased, and on behalf of all survivors and
all legally entitled beneficiaries and family members of Joseph P.
Shea

Nancy Raeside Shea, individually, as surviving Spouse of Joseph
P. Shea

Peter Raeside Shea, individually, as surviving Child of Joseph P.
Shea


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Catherine Ellen Shea, individually, as surviving Child of Joseph
P. Shea

Daniel Francis Shea, individually, as surviving Child of Joseph
P. Shea

Patrick J. Shea, individually, as surviving Child of Joseph P.
Shea

Karrie Castro, individually, as surviving Child of Mary Kathleen
Shearer

Mary Nicholson, individually, as surviving Child of Mary
Kathleen Shearer

Mary Nicholson, as the Personal Representative of the Estate of
Mary Kathleen Shearer, deceased, and on behalf of all survivors
and all legally entitled beneficiaries and family members of Mary
Kathleen Shearer

Karrie Castro, individually, as surviving Child of Robert Shearer

Mary Nicholson, individually, as surviving Child of Robert
Shearer

Mary Nicholson, as the Personal Representative of the Estate of
Robert Shearer, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Robert
Shearer

Melissa Pescatore, individually, as surviving Child of Mark
Shulman

Evelyn Shulman, individually, as surviving Parent of Mark
Shulman

Jamie Shulman, individually, as surviving Child of Mark
Shulman

Lawrence Shulman, individually, as surviving Sibling of Mark
Shulman

Lori Shulman, as the Personal Representative of the Estate of
Mark Shulman, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Mark
Shulman

Lori Shulman, individually, as surviving Spouse of Mark
Shulman


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William Robbins, as the Personal Representative of the Estate of
Clarin Siegel Schwartz, deceased, and on behalf of all survivors
and all legally entitled beneficiaries and family members of
Clarin Siegel Schwartz

Danielle Silver, individually, as surviving Child of David Silver

Holli Silver, as the Personal Representative of the Estate of
David Silver, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of David Silver

Holli Silver, individually, as surviving Spouse of David Silver

Rachel Silver, individually, as surviving Child of David Silver

Christine Coates, individually, as surviving Sibling of Michael J.
Simon

Brittany Ryan, individually, as surviving Child of Michael J.
Simon

Eileen Simon, as the Personal Representative of the Estate of
Michael J. Simon, deceased, and on behalf of all survivors and
all legally entitled beneficiaries and family members of Michael
J. Simon

Eileen Simon, individually, as surviving Spouse of Michael J.
Simon

Kathleen Simon, individually, as surviving Sibling of Michael J.
Simon

Michael Simon, individually, as surviving Child of Michael J.
Simon

Patricia Simon, individually, as surviving Sibling of Michael J.
Simon

Tyler Simon, individually, as surviving Child of Michael J.
Simon

Neilawattie Mangal, as the Personal Representative of the Estate
of Dhanraj Singh, deceased, the late Parent of Khamladai and
Roshan Singh

Cathy Carilli-Sinton, as the Personal Representative of the Estate
of Thomas E. Sinton III, deceased, and on behalf of all survivors
and all legally entitled beneficiaries and family members of
Thomas E. Sinton III


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Cathy Carilli-Sinton, individually, as surviving Spouse of
Thomas E. Sinton III

Alexandra Sinton, individually, as surviving Child of Thomas E.
Sinton III

Donna Neary Krinsky, individually, as surviving Child of Muriel
Siskopoulos

Laura Morrison, individually, as surviving Child of Muriel
Siskopoulos

Thomas Neary, III, individually, as surviving Child of Muriel
Siskopoulos

Thomas J. Neary, III, as the Personal Representative of the Estate
of Muriel Siskopoulos, deceased, and on behalf of all survivors
and all legally entitled beneficiaries and family members of
Muriel Siskopoulos

Annalee Rosenblatt, as the Personal Representative of the Estate
of Philip Rosenblatt, deceased, the late Sibling of Muriel
Siskopoulos

Donna Krinsky, as the Personal Representative of the Estate of
Anne Rosenblatt Klein, deceased, the late Parent of Muriel
Siskopoulos

Laura Morrison, as the Personal Representative of the Estate of
Mark Siskopoulos, deceased, the late Spouse of Muriel
Siskopoulos

Terri Sondak, individually, as surviving Child of Muriel
Siskopoulos

Jason Sherman, as the Personal Representative of the Estate of
Toyena C. Skinner, deceased, and on behalf of all survivors and
all legally entitled beneficiaries and family members of Toyena
C. Skinner

Jason Sherman, individually, as surviving Partner of Toyena C.
Skinner

Matthew Sherman, individually, as surviving Child of Toyena C.
Skinner

Alexa Smagala, individually, as surviving Child of Stanley S.
Smagala, Jr.



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Andrew Smagala, individually, as surviving Sibling of Stanley S.
Smagala, Jr.

Dena Smagala, as the Personal Representative of the Estate of
Stanley S. Smagala, Jr., deceased, and on behalf of all survivors
and all legally entitled beneficiaries and family members of
Stanley S. Smagala, Jr.

Dena Smagala, individually, as surviving Spouse of Stanley S.
Smagala, Jr.

Gary Smagala, individually, as surviving Sibling of Stanley S.
Smagala, Jr.

James Smagala, individually, as surviving Sibling of Stanley S.
Smagala, Jr.

Robert Smagala, individually, as surviving Sibling of Stanley S.
Smagala, Jr.

Linda Smagala Kuzmiskas, individually, as surviving Sibling of
Stanley S. Smagala, Jr.

Caroline Smith, individually, as surviving Child of James G.
Smith

Kristen Smith, individually, as surviving Child of James G.
Smith

Robert Smith, individually, as surviving Child of James G. Smith

William Smith, individually, as surviving Child of James G.
Smith

Donna Smith Yule, as the Personal Representative of the Estate
of James G. Smith, deceased, and on behalf of all survivors and
all legally entitled beneficiaries and family members of James G.
Smith

Donna Smith Yule, individually, as surviving Spouse of James
G. Smith

Margaret Brown, individually, as surviving Sibling of Kevin J.
Smith

Catherine Kross, individually, as surviving Sibling of Kevin J.
Smith

Marianne Panicola, individually, as surviving Sibling of Kevin J.
Smith

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Nichole A. Scochemaro, individually, as surviving Stepchild of
Kevin J. Smith

Brian K. Smith, individually, as surviving Child of Kevin J.
Smith

Brian Smith, individually, as surviving Sibling of Kevin J. Smith

Christopher F. Smith, individually, as surviving Child of Kevin J.
Smith

Catherine Kross, as the Personal Representative of the Estate of
Harry Smith, deceased, the late Parent of Kevin J. Smith

Jerri Smith, as the Personal Representative of the Estate of Kevin
J. Smith, deceased, and on behalf of all survivors and all legally
entitled beneficiaries and family members of Kevin J. Smith

Jerri Smith, individually, as surviving Spouse of Kevin J. Smith

Josephine M. Smith, individually, as surviving Child of Kevin J.
Smith

Stephen Smith, individually, as surviving Sibling of Kevin J.
Smith

Thomas H. Smith, individually, as surviving Child of Kevin J.
Smith

Jennifer M. Smith Riggs, individually, as surviving Child of
Kevin J. Smith

Anthony J. Viola, individually, as surviving Stepchild of Kevin J.
Smith

Vincent Viola, Jr., individually, as surviving Stepchild of Kevin
J. Smith

Rosemary Kempton, individually, as surviving Child of
Rosemary A. Smith

Rosemary Kempton, as the Personal Representative of the Estate
of Rosemary A. Smith, deceased, and on behalf of all survivors
and all legally entitled beneficiaries and family members of
Rosemary A. Smith

Kathleen Kinne, individually, as surviving Sibling of Leonard J.
Snyder, Jr.



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Christopher Snyder, individually, as surviving Sibling of
Leonard J. Snyder, Jr.

Darren Snyder, individually, as surviving Sibling of Leonard J.
Snyder, Jr.

Jason Arthur Snyder, individually, as surviving Child of Leonard
J. Snyder, Jr.

Lauren Kathleen Snyder, individually, as surviving Child of
Leonard J. Snyder, Jr.

Matthew Leonard Snyder, individually, as surviving Child of
Leonard J. Snyder, Jr.

Nancy Snyder, individually, as surviving Sibling of Leonard J.
Snyder, Jr.

Mary Snyder Coolican, individually, as surviving Sibling of
Leonard J. Snyder, Jr.

Janine Snyder Oldenhage, as the Personal Representative of the
Estate of Leonard J. Snyder, Jr., deceased, and on behalf of all
survivors and all legally entitled beneficiaries and family
members of Leonard J. Snyder, Jr.

Janine Snyder Oldenhage, individually, as surviving Spouse of
Leonard J. Snyder, Jr.

Barbara Sohan, as the Personal Representative of the Estate of
Astrid Sohan, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Astrid
Sohan

Barbara Sohan, individually, as surviving Parent of Astrid Sohan

Barbara Sohan, as the Personal Representative of the Estate of
Clive Sohan, deceased, the late Parent of Astrid Sohan

David Spampinato, individually, as surviving Child of Donald F.
Spampinato, Jr.

Donald Spampinato, individually, as surviving Child of Donald
F. Spampinato, Jr.

Laurie Spampinato, as the Personal Representative of the Estate
of Donald F. Spampinato, Jr., deceased, and on behalf of all
survivors and all legally entitled beneficiaries and family
members of Donald F. Spampinato, Jr.


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Laurie Spampinato, individually, as surviving Spouse of Donald
F. Spampinato, Jr.

Peter Spampinato, individually, as surviving Child of Donald F.
Spampinato, Jr.

Lawan Srinuan, as the Personal Representative of the Estate of
Chaleramcha Srinuan, deceased, the late Parent of Saranya
Srinuan

Lawan Srinuan, as the Personal Representative of the Estate of
Saranya Srinuan, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Saranya
Srinuan

Lawan Srinuan, individually, as surviving Parent of Saranya
Srinuan

Vatchpol Srinuan, individually, as surviving Sibling of Saranya
Srinuan

Brian Stack, individually, as surviving Child of Lawrence T.
Stack

Dennis Stack, individually, as surviving Sibling of Lawrence T.
Stack

Kevin Stack, individually, as surviving Sibling of Lawrence T.
Stack

Michael Stack, individually, as surviving Child of Lawrence T.
Stack

Theresa Stack, as the Personal Representative of the Estate of
Lawrence T. Stack, deceased, and on behalf of all survivors and
all legally entitled beneficiaries and family members of
Lawrence T. Stack

Theresa Stack, individually, as surviving Spouse of Lawrence T.
Stack

Thomas Stack, individually, as surviving Sibling of Lawrence T.
Stack

Daniel Stan, as the Personal Representative of the Estate of
Constantin Stan, deceased, the late Parent of Alexandru Stan

Daniel Tiberiu Stan, as the Personal Representative of the Estate
of Alexandru Stan, deceased, and on behalf of all survivors and


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all legally entitled beneficiaries and family members of
Alexandru Stan

Daniel Tiberiu Stan, individually, as surviving Sibling of
Alexandru Stan

Daniel Stan, as the Personal Representative of the Estate of
Elisabeta Stan, deceased, the late Parent of Alexandru Stan

Jason Starita, individually, as surviving Child of Anthony Starita

Kaila Starita, individually, as surviving Child of Anthony Starita

Diane Starita Renzulli, as the Personal Representative of the
Estate of Anthony Starita, deceased, and on behalf of all
survivors and all legally entitled beneficiaries and family
members of Anthony Starita

Diane Starita Renzulli, individually, as surviving Spouse of
Anthony Starita

Derek C. Statkevicus, individually, as surviving Child of Derek
J. Statkevicus

Kimberly Statkevicus, as the Personal Representative of the
Estate of Derek J. Statkevicus, deceased, and on behalf of all
survivors and all legally entitled beneficiaries and family
members of Derek J. Statkevicus

Kimberly Statkevicus, individually, as surviving Spouse of
Derek J. Statkevicus

Tyler Statkevicus, individually, as surviving Child of Derek J.
Statkevicus

Tracy O'Keefe, as the Personal Representative of the Estate of
Alexander Steinman, deceased, and on behalf of all survivors and
all legally entitled beneficiaries and family members of
Alexander Steinman

Tracy O'Keefe, individually, as surviving Spouse of Alexander
Steinman

Jason Schoenholtz, individually, as surviving Stepsibling of
Alexander Steinman

Jessica Schoenholtz Murphy, individually, as surviving
Stepsibling of Alexander Steinman




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Irwin Steinman, individually, as surviving Parent of Alexander
Steinman

Laura Steinman, individually, as surviving Sibling of Alexander
Steinman

Linda Steinman, individually, as surviving Stepparent of
Alexander Steinman

Susan Rachel Steinman Kelleher, individually, as surviving
Sibling of Alexander Steinman

Kristin Galusha-Wild, as the Personal Representative of the
Estate of Michael J. Stewart, deceased, and on behalf of all
survivors and all legally entitled beneficiaries and family
members of Michael J. Stewart

Kristin Galusha-Wild, individually, as surviving Partner of
Michael J. Stewart

Liam Stewart, individually, as surviving Child of Michael J.
Stewart

Carmen Suarez, as the Personal Representative of the Estate of
Ramon Suarez, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Ramon
Suarez

Carmen Suarez, individually, as surviving Spouse of Ramon
Suarez

Jillian Suarez, individually, as surviving Child of Ramon Suarez

Sophia Suarez , individually, as surviving Child of Ramon
Suarez

Ramon Suarez, Jr., individually, as surviving Child of Ramon
Suarez

Dianne Crowe, individually, as surviving Sibling of John F.
Swaine

Susan Dolan, individually, as surviving Sibling of John F.
Swaine

Mary Doyle, individually, as surviving Sibling of John F. Swaine

Emily Swaine, individually, as surviving Child of John F.
Swaine


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Francis Swaine, individually, as surviving Parent of John F.
Swaine

Hannah Swaine, individually, as surviving Child of John F.
Swaine

Francis Swaine, as the Personal Representative of the Estate of
Maryanne Swaine, deceased, the late Parent of John F. Swaine

Sarah Swaine, individually, as surviving Child of John F. Swaine

Suzanne Swaine, as the Personal Representative of the Estate of
John F. Swaine, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of John F.
Swaine

Suzanne Swaine, individually, as surviving Spouse of John F.
Swaine

Edward Sweeney, as the Personal Representative of the Estate of
Brian E. Sweeney, deceased, and on behalf of all survivors and
all legally entitled beneficiaries and family members of Brian E.
Sweeney

Edward Sweeney, individually, as surviving Parent of Brian E.
Sweeney

Mary Ann Sweeney, individually, as surviving Parent of Brian E.
Sweeney

Matthew Sweeney, individually, as surviving Sibling of Brian E.
Sweeney

Lynn Wright, individually, as surviving Sibling of Brian E.
Sweeney

Alexandria Catalano, individually, as surviving Grandchild of
Harry Taback

Cheryl Taback, individually, as surviving Child of Harry Taback

Lori Taback, individually, as surviving Child of Harry Taback

Tracy Ann Taback Catalano, individually, as surviving Child of
Harry Taback

Tracy Ann Taback Catalano, as the Personal Representative of
the Estate of Harry Taback, deceased, and on behalf of all
survivors and all legally entitled beneficiaries and family
members of Harry Taback

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Mary Taddei, as the Personal Representative of the Estate of
Elvira Conti, deceased, the late Parent of Norma C. Taddei

Andrew Taddei, individually, as surviving Child of Norma C.
Taddei

Mary Taddei, as the Personal Representative of the Estate of
Fermo Taddei, deceased, the late Spouse of Norma C. Taddei

Loretta Taddei, individually, as surviving Child of Norma C.
Taddei

Mary E. Taddei, individually, as surviving Child of Norma C.
Taddei

Mary E. Taddei, as the Personal Representative of the Estate of
Norma C. Taddei, deceased, and on behalf of all survivors and
all legally entitled beneficiaries and family members of Norma
C. Taddei

Akiko Baugin, individually, as surviving Child of Keiichiro
Takahashi

Harumi Takahashi, as the Personal Representative of the Estate
of Keiichiro Takahashi, deceased, and on behalf of all survivors
and all legally entitled beneficiaries and family members of
Keiichiro Takahashi

Harumi Takahashi, individually, as surviving Spouse of
Keiichiro Takahashi

Hiroyuki Takahashi, individually, as surviving Child of Keiichiro
Takahashi

Marie Takahashi, individually, as surviving Child of Keiji
Takahashi

Midori Takahashi, as the Personal Representative of the Estate of
Keiji Takahashi, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Keiji
Takahashi

Midori Takahashi, individually, as surviving Spouse of Keiji
Takahashi

Shusaku Takahashi, individually, as surviving Child of Keiji
Takahashi

Eileen Tallon, as the Personal Representative of the Estate of
Sean Patrick Tallon, deceased, and on behalf of all survivors and

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all legally entitled beneficiaries and family members of Sean
Patrick Tallon

Eileen Tallon, individually, as surviving Parent of Sean Patrick
Tallon

Eileen Tallon, as the Personal Representative of the Estate of
Patrick Tallon, deceased, the late Parent of Sean Patrick Tallon

Rosaleen Tallon-Daros, individually, as surviving Sibling of
Sean Patrick Tallon

Jason A. Bruno, individually, as surviving Child of Rachel
Tamares

Juan B. Bruno, as the Personal Representative of the Estate of
Rachel Tamares, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Rachel
Tamares

Juan B. Bruno, individually, as surviving Spouse of Rachel
Tamares

Robert J. Bruno, individually, as surviving Child of Rachel
Tamares

Jenny M. Lopez , individually, as surviving Sibling of Rachel
Tamares

Maria Paulino, individually, as surviving Parent of Rachel
Tamares

Allan Tarasiewicz, individually, as surviving Child of Allan
Tarasiewicz

Melissa Tarasiewicz, individually, as surviving Child of Allan
Tarasiewicz

Patricia Tarasiewicz, as the Personal Representative of the Estate
of Allan Tarasiewicz, deceased, and on behalf of all survivors
and all legally entitled beneficiaries and family members of
Allan Tarasiewicz

Patricia Tarasiewicz, individually, as surviving Spouse of Allan
Tarasiewicz

Jill Tarrou, as the Personal Representative of the Estate of
Michael Tarrou, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Michael
Tarrou


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Cyann Ceylon Taylor, individually, as surviving Child of Lorisa
C. Taylor

Frank Taylor, as the Personal Representative of the Estate of
Lorisa C. Taylor, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Lorisa C.
Taylor

Frank Taylor, individually, as surviving Spouse of Lorisa C.
Taylor

Imani Jasmine Taylor, individually, as surviving Child of Lorisa
C. Taylor

Samantha Taylor, individually, as surviving Child of Sandra C.
Taylor

Samantha and Thomas Taylor, as the Personal Representatives of
the Estate of Sandra C. Taylor, deceased, and on behalf of all
survivors and all legally entitled beneficiaries and family
members of Sandra C. Taylor

Connie Crawford, individually, as surviving Sibling of Lisa
Terry

Wanda Ferguson, individually, as surviving Sibling of Lisa Terry

Gregory Stevens, as the Personal Representative of the Estate of
Lisa Terry, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Lisa Terry

Leland Dale Terry, individually, as surviving Sibling of Lisa
Terry

Tania Terry, individually, as surviving Parent of Lisa Terry

Raj Thackurdeen, as the Personal Representative of the Estate of
Goumatie Thackurdeen, deceased, and on behalf of all survivors
and all legally entitled beneficiaries and family members of
Goumatie Thackurdeen

Raj Thackurdeen, individually, as surviving Sibling of Goumatie
Thackurdeen

Raj Thackurdeen, as the Personal Representative of the Estate of
Rambascia Thackurdeen, deceased, the late Parent of Goumatie
Thackurdeen




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Christendai Thackurdeen, as the Personal Representative of the
Estate of Sat Thackurdeen, deceased, the late Sibling of
Goumatie Thackurdeen

Vijay Thackurdeen, individually, as surviving Sibling of
Goumatie Thackurdeen

Bissondai Tilkaren, individually, as surviving Sibling of
Goumatie Thackurdeen

Barbara Joan Theurkauf, individually, as surviving Sibling of
Thomas F. Theurkauf, Jr.

Charles H. Theurkauf, individually, as surviving Child of
Thomas F. Theurkauf, Jr.

Edward Theurkauf, individually, as surviving Child of Thomas
F. Theurkauf, Jr.

Barbara and Patricia Theurkauf, as the Personal Representatives
of the Estate of Helen C. Theurkauf, deceased, the late Parent of
Thomas F. Theurkauf, Jr.

Patricia Ann Theurkauf, individually, as surviving Sibling of
Thomas F. Theurkauf, Jr.

Thomas Theurkauf, III, as the Personal Representative of the
Estate of Robin Siegel Theurkauf, deceased, the late Spouse of
Thomas F. Theurkauf, Jr.

William Theurkauf, individually, as surviving Sibling of Thomas
F. Theurkauf, Jr.

Thomas Francis Theurkauf, III, individually, as surviving Child
of Thomas F. Theurkauf, Jr.

Thomas Francis Theurkauf, III, as the Personal Representative of
the Estate of Thomas F. Theurkauf, Jr., deceased, and on behalf
of all survivors and all legally entitled beneficiaries and family
members of Thomas F. Theurkauf, Jr.

Barbara and Patricia Theurkauf, as the Personal Representatives
of the Estate of Thomas Francis Theurkauf, Sr., deceased, the
late Parent of Thomas F. Theurkauf, Jr.

Joseph O'Keefe, as the Personal Representative of the Estate of
Lesley A. Thomas, deceased, and on behalf of all survivors and
all legally entitled beneficiaries and family members of Lesley
A. Thomas


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Joseph O'Keefe, individually, as surviving Spouse of Lesley A.
Thomas

Rosana E. Thompson, as the Personal Representative of the
Estate of Nigel B. Thompson, deceased, and on behalf of all
survivors and all legally entitled beneficiaries and family
members of Nigel B. Thompson

Rosana E. Thompson, individually, as surviving Spouse of Nigel
B. Thompson

Joseph Tiesi, as the Personal Representative of the Estate of
Ellen Tiesi, deceased, the late Parent of Mary E. Tiesi

Joseph A. Tiesi, as the Personal Representative of the Estate of
Mary E. Tiesi, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Mary E.
Tiesi

Joseph A. Tiesi, individually, as surviving Sibling of Mary E.
Tiesi

Theresa Vesnesky, individually, as surviving Sibling of Mary E.
Tiesi

Stella Lombardo, individually, as surviving Parent of Robert
Tipaldi

Lauren Saraniti, individually, as surviving Sibling of Robert
Tipaldi

Richard Tipaldi, individually, as surviving Sibling of Robert
Tipaldi

Barbara Tirado, as the Personal Representative of the Estate of
David L. Tirado, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of David L.
Tirado

Barbara Tirado, individually, as surviving Parent of David L.
Tirado

Rafael Tirado, individually, as surviving Parent of David L.
Tirado

Richard Tirado, individually, as surviving Sibling of David L.
Tirado

Andrija Tomasevic, individually, as surviving Parent of Vladimir
Tomasevic

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Radmila Tomasevic, individually, as surviving Parent of
Vladimir Tomasevic

Jelena Watkins, individually, as surviving Sibling of Vladimir
Tomasevic

Alissa Rosenberg-Torres, as the Personal Representative of the
Estate of Luis E. Torres, deceased, and on behalf of all survivors
and all legally entitled beneficiaries and family members of Luis
E. Torres

Alissa Rosenberg-Torres, individually, as surviving Spouse of
Luis E. Torres

Joshua Eduardo Torres, individually, as surviving Child of Luis
E. Torres

Kevin Torres, individually, as surviving Child of Luis E. Torres

Nicholas Torres, individually, as surviving Child of Luis E.
Torres

Felice Marrow, individually, as surviving Sibling of Celeste
Torres-Victoria

Alphonso Rodgers, Jr., individually, as surviving Sibling of
Celeste Torres-Victoria

Damali Rogers, as the Personal Representative of the Estate of
Dale Rogers, deceased, the late Sibling of Celeste Torres-
Victoria

Dean Torres, individually, as surviving Sibling of Celeste
Torres-Victoria

Denise Torres, individually, as surviving Sibling of Celeste
Torres-Victoria

Richard Torres, individually, as surviving Sibling of Celeste
Torres-Victoria

Dawn Torres-Brown, individually, as surviving Sibling of
Celeste Torres-Victoria

Dawn Torres-Brown and Jasmine Victoria, as the Personal
Representatives of the Estate of Celeste Torres-Victoria,
deceased, and on behalf of all survivors and all legally entitled
beneficiaries and family members of Celeste Torres-Victoria



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Jasmine Victoria, individually, as surviving Child of Celeste
Torres-Victoria

Sheila M. Inserra, individually, as surviving Sibling of Daniel
Trant

Patricia A. Madamas, individually, as surviving Sibling of Daniel
Trant

Alexander W. Trant, individually, as surviving Child of Daniel
Trant

Daniel J. Trant, individually, as surviving Child of Daniel Trant

Jessica Trant, individually, as surviving Child of Daniel Trant

Kathleen Trant, as the Personal Representative of the Estate of
Daniel Trant, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Daniel Trant

Kathleen Trant, individually, as surviving Spouse of Daniel
Trant

Kevin J. Trant, individually, as surviving Sibling of Daniel Trant

Matthew J. Trant, individually, as surviving Sibling of Daniel
Trant

Maureen A. Trant, individually, as surviving Sibling of Daniel
Trant

Sally A. Trant, individually, as surviving Sibling of Daniel Trant

Timothy P. Trant, individually, as surviving Sibling of Daniel
Trant

Matthew Trant, as the Personal Representative of the Estate of
Mary C. Trant , deceased, the late Parent of Daniel Trant

Bernice Barletta, individually, as surviving Sibling of James A.
Trentini

Theresa McDonald, as the Personal Representative of the Estate
of Lorraine Egan, deceased, the late Sibling of James A. Trentini

Lucille Keefe, as the Personal Representative of the Estate of
Mary M. Luciano, deceased, the late Sibling of James A. Trentini

Patricia Malatesta, individually, as surviving Sibling of James A.
Trentini

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Della-Ann Spadafora, individually, as surviving Sibling of James
A. Trentini

Robert Spadafora, as the Personal Representative of the Estate of
James A. Trentini, deceased, and on behalf of all survivors and
all legally entitled beneficiaries and family members of James A.
Trentini

Pamela B. Trentini, individually, as surviving Child of James A.
Trentini

Patti J. Trentini, individually, as surviving Child of James A.
Trentini

James A. Trentini, II, individually, as surviving Child of James
A. Trentini

Mary P. Vatalaro, individually, as surviving Child of James A.
Trentini

Robert Spadafora, as the Personal Representative of the Estate of
Mary Trentini, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Mary
Trentini

Pamela B. Trentini, individually, as surviving Child of Mary
Trentini

Patti J. Trentini, individually, as surviving Child of Mary
Trentini

James A. Trentini, II, individually, as surviving Child of Mary
Trentini

Mary P. Vatalaro, individually, as surviving Child of Mary
Trentini

Mary Tselepis, as the Personal Representative of the Estate of
William P. Tselepis, Jr., deceased, and on behalf of all survivors
and all legally entitled beneficiaries and family members of
William P. Tselepis, Jr.

Mary Tselepis, individually, as surviving Spouse of William P.
Tselepis, Jr.

Calvin Tull, individually, as surviving Child of Pauline Tull-
Francis

Jennifer Tull, individually, as surviving Child of Pauline Tull-
Francis

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Jennifer Tull, as the Personal Representative of the Estate of
Pauline Tull-Francis, deceased, and on behalf of all survivors and
all legally entitled beneficiaries and family members of Pauline
Tull-Francis

Francine Tull-Lindo, individually, as surviving Child of Pauline
Tull-Francis

Debbie Williams, individually, as surviving Child of Pauline
Tull-Francis

Caroline Tumulty, individually, as surviving Child of Lance
Tumulty

James Tumulty, individually, as surviving Sibling of Lance
Tumulty

Sara Tumulty, individually, as surviving Child of Lance Tumulty

Shawn Tumulty, individually, as surviving Sibling of Lance
Tumulty

Cynthia Tumulty-Ollermar, as the Personal Representative of the
Estate of Lance Tumulty, deceased, and on behalf of all
survivors and all legally entitled beneficiaries and family
members of Lance Tumulty

Cynthia Tumulty-Ollermar, individually, as surviving Spouse of
Lance Tumulty

Frederick Searby, as the Personal Representative of the Estate of
Diane Tumulty-Searby, deceased, the late Parent of Lance
Tumulty

James Borsare, as the Personal Representative of the Estate of
Mary A. Davis, deceased, the late Sibling of Robert T. Twomey

Marie Ryan, as the Personal Representative of the Estate of
Robert T. Twomey, deceased, and on behalf of all survivors and
all legally entitled beneficiaries and family members of Robert T.
Twomey

Marie Ryan, individually, as surviving Spouse of Robert T.
Twomey

Emeric R. Twomey, individually, as surviving Child of Robert T.
Twomey

Vincent Twomey, as the Personal Representative of the Estate of
James Twomey, deceased, the late Sibling of Robert T. Twomey

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Marianne Twomey, as the Personal Representative of the Estate
of John Twomey, deceased, the late Sibling of Robert T.
Twomey

Theresa Twomey, as the Personal Representative of the Estate of
Richard Twomey, deceased, the late Sibling of Robert T.
Twomey

Robert Twomey, individually, as surviving Child of Robert T.
Twomey

Denis Twomey, as the Personal Representative of the Estate of
William Twomey, deceased, the late Sibling of Robert T.
Twomey

Diane Ugolyn, individually, as surviving Parent of Tyler Ugolyn

Trevor Ugolyn, individually, as surviving Sibling of Tyler
Ugolyn

Victor Ugolyn, as the Personal Representative of the Estate of
Tyler Ugolyn, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Tyler
Ugolyn

Victor Ugolyn, individually, as surviving Parent of Tyler Ugolyn

Alexander T. Uman, individually, as surviving Child of Jonathan
Uman

Anna I. Uman, individually, as surviving Child of Jonathan
Uman

Julie Uman, as the Personal Representative of the Estate of
Jonathan Uman, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Jonathan
Uman

Julie Uman, individually, as surviving Spouse of Jonathan Uman

Michael Uman, individually, as surviving Sibling of Jonathan
Uman

Virginia L. Rossiter Valvo, as the Personal Representative of the
Estate of Carlton F. Valvo II, deceased, and on behalf of all
survivors and all legally entitled beneficiaries and family
members of Carlton F. Valvo II

Virginia L. Rossiter Valvo, individually, as surviving Spouse of
Carlton F. Valvo II

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Brandon Valvo, individually, as surviving Sibling of Carlton F.
Valvo II

Carlton F. Valvo, individually, as surviving Parent of Carlton F.
Valvo II

Dante G. Valvo, individually, as surviving Child of Carlton F.
Valvo II

Carlton Valvo, as the Personal Representative of the Estate of
Nicoletta Bernadette Valvo, deceased, the late Parent of Carlton
F. Valvo II

Trenton Valvo, individually, as surviving Sibling of Carlton F.
Valvo II

Nadadur S. Kumar, as the Personal Representative of the Estate
of Prasanna Kalahasthi, deceased, the late Spouse of Pendyala
Vamsikrishna

Nadadur S. Kumar, as the Personal Representative of the Estate
of Pendyala Vamsikrishna, deceased, and on behalf of all
survivors and all legally entitled beneficiaries and family
members of Pendyala Vamsikrishna

Elizabeth Anne Vandevander, as the Personal Representative of
the Estate of Jon C. Vandevander, deceased, and on behalf of all
survivors and all legally entitled beneficiaries and family
members of Jon C. Vandevander

Elizabeth Anne Vandevander, individually, as surviving Spouse
of Jon C. Vandevander

Jane A. Vandevander, individually, as surviving Child of Jon C.
Vandevander

Jon C. Vandevander, individually, as surviving Child of Jon C.
Vandevander

Mary E. Vandevander, individually, as surviving Child of Jon C.
Vandevander

Regan Grice, as the Personal Representative of the Estate of
Peter Vega, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Peter Vega

Regan Grice, individually, as surviving Spouse of Peter Vega

David Rosenberg, individually, as surviving Sibling of Peter
Vega

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Ruby Vega, individually, as surviving Child of Peter Vega

Consuelo Velazquez, as the Personal Representative of the Estate
of Jorge Velazquez, deceased, and on behalf of all survivors and
all legally entitled beneficiaries and family members of Jorge
Velazquez

Consuelo Velazquez, individually, as surviving Spouse of Jorge
Velazquez

Marilyn Velazquez, individually, as surviving Child of Jorge
Velazquez

Steven Velazquez, individually, as surviving Child of Jorge
Velazquez

Jorge Velazquez, Jr., individually, as surviving Child of Jorge
Velazquez

Matthew Vilardo, individually, as surviving Child of Joseph
Vilardo

Nicole Vilardo, individually, as surviving Child of Joseph
Vilardo

Patricia Vilardo, as the Personal Representative of the Estate of
Joseph Vilardo, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Joseph
Vilardo

Patricia Vilardo, individually, as surviving Spouse of Joseph
Vilardo

Anthony Vincelli, as the Personal Representative of the Estate of
Chantal Vincelli, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Chantal
Vincelli

Anthony Vincelli, individually, as surviving Sibling of Chantal
Vincelli

Antonio Vincelli, individually, as surviving Parent of Chantal
Vincelli

Antonia Micko, individually, as surviving Sibling of Lawrence J.
Virgilio

Thomas Virgilio, as the Personal Representative of the Estate of
Lucy Virgilio, deceased, the late Parent of Lawrence J. Virgilio


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Thomas Virgilio, as the Personal Representative of the Estate of
Lawrence J. Virgilio, deceased, and on behalf of all survivors
and all legally entitled beneficiaries and family members of
Lawrence J. Virgilio

Thomas Virgilio, individually, as surviving Sibling of Lawrence
J. Virgilio

Esther E. Heymann, individually, as surviving Stepparent of
Honor Elizabeth Wainio

Benhardt R. Wainio, individually, as surviving Parent of Honor
Elizabeth Wainio

Mary White and Benhardt R. Wainio, as the Personal
Representatives of the Estate of Honor Elizabeth Wainio,
deceased, and on behalf of all survivors and all legally entitled
beneficiaries and family members of Honor Elizabeth Wainio

Sarah R. Wainio, individually, as surviving Sibling of Honor
Elizabeth Wainio

Thomas F. Wainio, individually, as surviving Sibling of Honor
Elizabeth Wainio

Diane Ammirati, individually, as surviving Sibling of Glen Wall

Lynn Baumgarten, individually, as surviving Sibling of Glen
Wall

Avery Wall, individually, as surviving Child of Glen Wall

Brian Wall, individually, as surviving Sibling of Glen Wall

Diane Wall, as the Personal Representative of the Estate of Glen
Wall, deceased, and on behalf of all survivors and all legally
entitled beneficiaries and family members of Glen Wall

Diane Wall, individually, as surviving Spouse of Glen Wall

Gary Wall, individually, as surviving Sibling of Glen Wall

Jean Wall, individually, as surviving Parent of Glen Wall

Kevin Wall, individually, as surviving Sibling of Glen Wall

Payton Wall, individually, as surviving Child of Glen Wall




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Paul Kiefer, as the Personal Representative of the Estate of Brian
Warner, deceased, and on behalf of all survivors and all legally
entitled beneficiaries and family members of Brian Warner

Jason Tucker, individually, as surviving Stepsibling of Brian
Warner

Karen E. Tucker, individually, as surviving Parent of Brian
Warner

Allen L. Warner, individually, as surviving Child of Brian
Warner

Gerald L. Warner, individually, as surviving Parent of Brian
Warner

Kathryn E. Warner, individually, as surviving Child of Brian
Warner

Patricia A. Warner-Proctor, individually, as surviving Spouse of
Brian Warner

Dawn E. Yamashiro, individually, as surviving Sibling of Brian
Warner

Evelyn Siew-Sim Yeow, as the Personal Representative of the
Estate of Michael H. Waye, deceased, and on behalf of all
survivors and all legally entitled beneficiaries and family
members of Michael H. Waye

Evelyn Siew-Sim Yeow, individually, as surviving Spouse of
Michael H. Waye

Amy L. Weaver Achilles, as the Personal Representative of the
Estate of Todd C. Weaver, deceased, and on behalf of all
survivors and all legally entitled beneficiaries and family
members of Todd C. Weaver

Amy L. Weaver Achilles, individually, as surviving Spouse of
Todd C. Weaver

Judith Weil , as the Personal Representative of the Estate of
Floyd Weil, deceased, the late Parent of Joanne F. Weil

Judith Weil, individually, as surviving Parent of Joanne F. Weil

Judith Weil , as the Personal Representative of the Estate of
Joanne F. Weil, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Joanne F.
Weil

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Jason Weinberg, individually, as surviving Child of Steven
Weinberg

Laurie Weinberg, as the Personal Representative of the Estate of
Steven Weinberg, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Steven
Weinberg

Laurie Weinberg, individually, as surviving Spouse of Steven
Weinberg

Lindsay Weinberg, individually, as surviving Child of Steven
Weinberg

Samuel Weinberg, individually, as surviving Child of Steven
Weinberg

Rema Waiser, as the Personal Representative of the Estate of
Simon V. Weiser, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Simon V.
Weiser

Rema Waiser, individually, as surviving Spouse of Simon V.
Weiser

Anatoly S. Weiser, individually, as surviving Child of Simon V.
Weiser

Melinda Nugent, individually, as surviving Sibling of Timothy
M. Welty

Christopher Welty, individually, as surviving Sibling of Timothy
M. Welty

Darren M. Welty, individually, as surviving Sibling of Timothy
M. Welty

Delia Welty, as the Personal Representative of the Estate of
Timothy M. Welty, deceased, and on behalf of all survivors and
all legally entitled beneficiaries and family members of Timothy
M. Welty

Delia Welty, individually, as surviving Spouse of Timothy M.
Welty

Jake Welty, individually, as surviving Child of Timothy M.
Welty

Julia A. Welty, individually, as surviving Child of Timothy M.
Welty

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William Welty, individually, as surviving Parent of Timothy M.
Welty

Daniel Wik, individually, as surviving Child of William J. Wik

Kathleen Wik, individually, as surviving Child of William J. Wik

Kathleen M. Wik, as the Personal Representative of the Estate of
William J. Wik, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of William J.
Wik

Kathleen M. Wik, individually, as surviving Spouse of William
J. Wik

Patricia Wik Farese, individually, as surviving Child of William
J. Wik

Tara Blessing, individually, as surviving Sibling of Brian P.
Williams

Andrew Williams, individually, as surviving Sibling of Brian P.
Williams

Kathleen Williams, individually, as surviving Parent of Brian P.
Williams

Kenneth Williams, as the Personal Representative of the Estate
of Brian P. Williams, deceased, and on behalf of all survivors
and all legally entitled beneficiaries and family members of
Brian P. Williams

Kenneth Williams, individually, as surviving Parent of Brian P.
Williams

Darren Williams, as the Personal Representative of the Estate of
Debbie L. Williams, deceased, and on behalf of all survivors and
all legally entitled beneficiaries and family members of Debbie
L. Williams

Darren Williams, individually, as surviving Spouse of Debbie L.
Williams

Payton Williams, individually, as surviving Child of Debbie L.
Williams

Karen Perez, individually, as surviving Sibling of Louis C.
Williams III



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Craig M. Williams, individually, as surviving Child of Louis C.
Williams III

Janice C. Williams, as the Personal Representative of the Estate
of Louis C. Williams III, deceased, and on behalf of all survivors
and all legally entitled beneficiaries and family members of
Louis C. Williams III

Janice C. Williams, individually, as surviving Spouse of Louis C.
Williams III

Scott M. Williams, individually, as surviving Child of Louis C.
Williams III

Barbara O'Gorman, individually, as surviving Sibling of David
Wiswall

Christine Rothschild, individually, as surviving Sibling of David
Wiswall

Keith Wiswall, individually, as surviving Child of David
Wiswall

Patricia Wiswall, as the Personal Representative of the Estate of
David Wiswall, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of David
Wiswall

Patricia Wiswall, individually, as surviving Spouse of David
Wiswall

Tracy Wiswall and Tonya Neumeyer Wiswall, as the Personal
Representatives of the Estate of Robert Wiswall, deceased, the
late Sibling of David Wiswall

Amy Wiswall Edgington, individually, as surviving Child of
David Wiswall

Mariellen DeLellis, individually, as surviving Sibling of
Christopher Wodenshek

Anne Wodenshek, as the Personal Representative of the Estate of
Christopher Wodenshek, deceased, and on behalf of all survivors
and all legally entitled beneficiaries and family members of
Christopher Wodenshek

Anne Wodenshek, individually, as surviving Spouse of
Christopher Wodenshek



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Raymond Wodenshek, as the Personal Representative of the
Estate of Florence Wodenshek, deceased, the late Parent of
Christopher Wodenshek

Haley Wodenshek, individually, as surviving Child of
Christopher Wodenshek

Mollie Wodenshek, individually, as surviving Child of
Christopher Wodenshek

Patricia Wodenshek, individually, as surviving Sibling of
Christopher Wodenshek

Raymond Wodenshek, individually, as surviving Sibling of
Christopher Wodenshek

William Wodenshek, individually, as surviving Child of
Christopher Wodenshek

Zachary Wodenshek, individually, as surviving Child of
Christopher Wodenshek

Florence Wodenshek Garrett, individually, as surviving Sibling
of Christopher Wodenshek

Sarah Wodenshek Marqueling, individually, as surviving Child
of Christopher Wodenshek

Paul Remenschneider, as the Personal Representative of the
Estate of Linda Wodenshek Remenschneider, deceased, the late
Sibling of Christopher Wodenshek

Priscilla Stumm, individually, as surviving Sibling of Martin
Wohlforth

Elizabeth Tatsuno, individually, as surviving Sibling of Martin
Wohlforth

Elizabeth Chloe Wohlforth, individually, as surviving Child of
Martin Wohlforth

Susan Wohlforth, as the Personal Representative of the Estate of
Martin Wohlforth, deceased, and on behalf of all survivors and
all legally entitled beneficiaries and family members of Martin
Wohlforth

Susan Wohlforth, individually, as surviving Spouse of Martin
Wohlforth

Alan James, individually, as surviving Sibling of Katherine Wolf

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Alan James, as the Personal Representative of the Estate of
Howard Rhys James, deceased, the late Parent of Katherine Wolf

Alan James, as the Personal Representative of the Estate of
Valerie James, deceased, the late Parent of Katherine Wolf

Charles G. Wolf, as the Personal Representative of the Estate of
Katherine Wolf, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Katherine
Wolf

Charles G. Wolf, individually, as surviving Spouse of Katherine
Wolf

William Dreier, as the Personal Representative of the Estate of
Neil Wright, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Neil Wright

Daniel Wright, individually, as surviving Child of Neil Wright

Jack Colin Wright, individually, as surviving Child of Neil
Wright

Mary Wright, individually, as surviving Parent of Neil Wright

Cella Woo-Yuen, as the Personal Representative of the Estate of
Elkin Yuen, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Elkin Yuen

Cella Woo-Yuen, individually, as surviving Spouse of Elkin
Yuen

Billy Yuen, individually, as surviving Sibling of Elkin Yuen

Gilma Yuen, individually, as surviving Parent of Elkin Yuen

Nicole Yuen, individually, as surviving Child of Elkin Yuen

Anthony Zaccoli, individually, as surviving Sibling of Joseph
Zaccoli

Bret Zaccoli, individually, as surviving Sibling of Joseph Zaccoli

Helen Zaccoli, as the Personal Representative of the Estate of
Joseph Zaccoli, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Joseph
Zaccoli

Helen Zaccoli, individually, as surviving Spouse of Joseph
Zaccoli

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James Zaccoli, individually, as surviving Child of Joseph Zaccoli

Joseph Zaccoli, individually, as surviving Child of Joseph
Zaccoli

Regina Zaccoli, individually, as surviving Child of Joseph
Zaccoli

Santo Zaccoli, individually, as surviving Parent of Joseph
Zaccoli

Bette Zaccoli Cozy, individually, as surviving Parent of Joseph
Zaccoli

Lori Zaccoli Davies, individually, as surviving Sibling of Joseph
Zaccoli

Zhanna Galperina, as the Personal Representative of the Estate of
Arkady Zaltsman, deceased, and on behalf of all survivors and
all legally entitled beneficiaries and family members of Arkady
Zaltsman

Zhanna Galperina, individually, as surviving Spouse of Arkady
Zaltsman

Laura Khait, individually, as surviving Child of Arkady
Zaltsman

Zhanna Galperina, as the Personal Representative of the Estate of
Alexander Zaltsman, deceased, the late Parent of Arkady
Zaltsman

Zhanna Galperina, as the Personal Representative of the Estate of
Faina Zaltsman, deceased, the late Parent of Arkady Zaltsman

Celina E. Rodriguez, individually, as surviving Parent of Ivelin
Ziminski

Ivan E. Rodriguez, individually, as surviving Parent of Ivelin
Ziminski

Janet E. Rodriguez, individually, as surviving Sibling of Ivelin
Ziminski

David E. Ziminski, as the Personal Representative of the Estate
of Ivelin Ziminski, deceased, and on behalf of all survivors and
all legally entitled beneficiaries and family members of Ivelin
Ziminski



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David E. Ziminski, individually, as surviving Spouse of Ivelin
Ziminski

Madeline Placek Zinzi, individually, as surviving Parent of
Michael Zinzi

Dean Zinzi, individually, as surviving Child of Michael Zinzi

Dyan Zinzi, as the Personal Representative of the Estate of
Michael Zinzi, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Michael
Zinzi

Dyan Zinzi, individually, as surviving Spouse of Michael Zinzi

Carole Zion, as the Personal Representative of the Estate of
Charles A. Zion, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Charles A.
Zion

Carole Zion, individually, as surviving Spouse of Charles A.
Zion

Barbara Zion Green, as the Personal Representative of the Estate
of Jane Zion, deceased, the late Parent of Charles A. Zion

Barbara Zion Green, as the Personal Representative of the Estate
of Martin Zion, deceased, the late Parent of Charles A. Zion

Zachary Zion, individually, as surviving Child of Charles A.
Zion

Barbara Zion Green, individually, as surviving Sibling of Charles
A. Zion

Jason Klein, individually, as surviving Child of Julie Lynne
Zipper

Richard Klein, as the Personal Representative of the Estate of
Julie Lynne Zipper, deceased, and on behalf of all survivors and
all legally entitled beneficiaries and family members of Julie
Lynne Zipper

Richard Klein, individually, as surviving Spouse of Julie Lynne
Zipper

Nicole Klein Girouard, individually, as surviving Child of Julie
Lynne Zipper



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Dorota E. Zois, as the Personal Representative of the Estate of
Prokopios Zois, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Prokopios
Zois

Dorota E. Zois, individually, as surviving Spouse of Prokopios
Zois

Theofanis Zois, individually, as surviving Child of Prokopios
Zois

Stefania Zois-Goel, individually, as surviving Child of Prokopios
Zois

Tina Cammarata, individually, as surviving Sibling of Joseph J.
Zuccala

Theresa Paterson, individually, as surviving Sibling of Joseph J.
Zuccala

Jolaine J . Zuccala, individually, as surviving Child of Joseph J.
Zuccala

Madeleine A. Zuccala, as the Personal Representative of the
Estate of Joseph J. Zuccala, deceased, and on behalf of all
survivors and all legally entitled beneficiaries and family
members of Joseph J. Zuccala

Madeleine A. Zuccala, individually, as surviving Spouse of
Joseph J. Zuccala

Sandra Zuccala, individually, as surviving Sibling of Joseph J.
Zuccala

Kaylene E. Zuccala-Sams, individually, as surviving Child of
Joseph J. Zuccala

Jason A. Zucker, individually, as surviving Child of Andrew S.
Zucker

Erica Zucker Heisler, as the Personal Representative of the
Estate of Andrew S. Zucker, deceased, and on behalf of all
survivors and all legally entitled beneficiaries and family
members of Andrew S. Zucker

Erica Zucker Heisler, individually, as surviving Spouse of
Andrew S. Zucker
SPEISER KRAUSE



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Sheri G. Burlingame, individually, as surviving Spouse of
Charles Frank Burlingame, III

Sheri G. Burlingame, as the Personal Representative of the Estate
of Charles Frank Burlingame, III, deceased, on behalf of the
Estate, and on behalf of all survivors and all legally entitled
beneficiaries and family members of Charles Frank Burlingame,
III

Rudy Abad, individually, as surviving Spouse of Marie Rose
Abad

Rudy Abad, as the Personal Representative of the Estate of Marie
Rose Abad, deceased, on behalf of the Estate, and on behalf of
all survivors and all legally entitled beneficiaries and family
members of Marie Rose Abad

Cynthia Lynn Barkway, individually, as surviving Spouse of
David Michael Barkway

Cynthia Lynn Barkway, as the Personal Representative of the
Estate of David Michael Barkway, deceased, on behalf of the
Estate, and on behalf of all survivors and all legally entitled
beneficiaries and family members of David Michael Barkway

David Michael Barkway, individually, as surviving Child of
David Michael Barkway

James Michael Barkway, individually, as surviving Child of
David Michael Barkway

Ernst Buck, individually, as surviving Parent of Gregory J. Buck

Josephine Buck, individually, as surviving Parent of Gregory J.
Buck

Ernst Buck and Josephine Buck, as the Personal Representatives
of the Estate of Gregory J. Buck, deceased, on behalf of the
Estate, and on behalf of all survivors and all legally entitled
beneficiaries and family members of Gregory J. Buck

Debra Lavender, individually, as surviving Sibling of Michael
Bocchino

Debra Lavender, as the Personal Representative of the Estate of
Michael Bocchino, deceased, on behalf of the Estate, and on

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behalf of all survivors and all legally entitled beneficiaries and
family members of Michael Bocchino

Debra Lavender, as the Personal Representative of the Estate of
Michael Bocchino, deceased, the late Parent of Michael
Bocchino

Debra Lavender, as the Personal Representative of the Estate of
Lucy Bocchino, deceased, the late Parent of Michael Bocchino

Mary Ann Falzone, as the Personal Representative of the Estate
of Thomas Bocchino, deceased, the late Sibling of Michael
Bocchino

Irene Boehm, individually, as surviving Spouse of Bruce Boehm

Irene Boehm, as the Personal Representative of the Estate of
Bruce Boehm, deceased, on behalf of the Estate, and on behalf of
all survivors and all legally entitled beneficiaries and family
members of Bruce Boehm

Stacey Boehm, individually, as surviving Child of Bruce Boehm

Brittany Weber, individually, as surviving Child of Bruce Boehm

Jeffrey Boehm, individually, as surviving Sibling of Bruce
Boehm

Jeffrey Boehm, as the Personal Representative of the Estate of
Dorothy Boehm, deceased, the late Parent of Bruce Boehm

Nancy Kimbell, individually, as surviving Sibling of Mary Jane
Booth

Nancy Kimbell, as the Personal Representative of the Estate of
Mary Jane Booth, deceased, on behalf of the Estate, and on
behalf of all survivors and all legally entitled beneficiaries and
family members of Mary Jane Booth

Erma Bourdier, individually, as surviving Spouse of Francisco
Bourdier

Erma Bourdier, as the Personal Representative of the Estate of
Francisco Bourdier, deceased, on behalf of the Estate, and on



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behalf of all survivors and all legally entitled beneficiaries and
family members of Francisco Bourdier

Francesca Bourdier, individually, as surviving Child of Francisco
Bourdier

Magdalena Bourdier, individually, as surviving Parent of
Francisco Bourdier

Manuel Bourdier, individually, as surviving Sibling of Francisco
Bourdier

Manuel Bourdier, as the Personal Representative of the Estate of
Francisco Bourdier, deceased, the late Parent of Francisco
Bourdier

Erica Brennan, individually, as surviving Spouse of Peter
Brennan

Erica Brennan, as the Personal Representative of the Estate of
Peter Brennan, deceased, on behalf of the Estate, and on behalf
of all survivors and all legally entitled beneficiaries and family
members of Peter Brennan

Anna Brennan, individually, as surviving Child of Peter Brennan

Connor Brennan, individually, as surviving Child of Peter
Brennan

Ecaterini Brennan, individually, as surviving Parent of Peter
Brennan

Ecaterini Brennan and Nancy Poulis, as the Personal
Representatives of the Estate of Vincent Brennan, deceased, the
late Parent of Peter Brennan

Nancy Poulis, individually, as surviving Sibling of Peter Brennan

Kathy Ezzo-Talbott, individually, as surviving Sibling of Peter
Brennan

Gary Brennan, individually, as surviving Sibling of Peter
Brennan




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Kathleen Brunton, individually, as surviving Spouse of Vincent
Brunton

Kathleen Brunton, as the Personal Representative of the Estate of
Vincent Brunton, deceased, on behalf of the Estate, and on behalf
of all survivors and all legally entitled beneficiaries and family
members of Vincent Brunton

Kelly Pearn, individually, as surviving Child of Vincent Brunton

Thomas Brunton, individually, as surviving Child of Vincent
Brunton

Michael Brunton, individually, as surviving Sibling of Vincent
Brunton

Maryann DeLuise, individually, as surviving Sibling of Vincent
Brunton

Thomas P. Brunton, individually, as surviving Sibling of Vincent
Brunton

Elaine M. Chevalier, individually, as surviving Parent of Swede
Chevalier

Elaine M. Chevalier, as the Personal Representative of the Estate
of Swede Chevalier, deceased, on behalf of the Estate, and on
behalf of all survivors and all legally entitled beneficiaries and
family members of Swede Chevalier

Tylia Chevalier Furgal, individually, as surviving Sibling of
Swede Chevalier

Brittany Chevalier, individually, as surviving Sibling of Swede
Chevalier

Steven Chu, individually, as surviving Sibling of Pamela Chu

Steven Chu, as the Personal Representative of the Estate of
Pamela Chu, deceased, on behalf of the Estate, and on behalf of
all survivors and all legally entitled beneficiaries and family
members of Pamela Chu

Gloria Chu, individually, as surviving Parent of Pamela Chu



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Steven Chu, as the Personal Representative of the Estate of
Kenneth Chu, deceased, the late Parent of Pamela Chu

Deborah Razzano, individually, as surviving Spouse of Anthony
Coladonato

Deborah Razzano, as the Personal Representative of the Estate of
Anthony Coladonato, deceased, on behalf of the Estate, and on
behalf of all survivors and all legally entitled beneficiaries and
family members of Anthony Coladonato

Anthony Coladonato, individually, as surviving Child of
Anthony Coladonato

Alex Coladonato, individually, as surviving Child of Anthony
Coladonato

Salvatore Coladonato, individually, as surviving Sibling of
Anthony Coladonato

Melinda Cooper-Savage, individually, as surviving Spouse of
Julian Cooper

Melinda Cooper-Savage, as the Personal Representative of the
Estate of Julian Cooper, deceased, on behalf of the Estate, and on
behalf of all survivors and all legally entitled beneficiaries and
family members of Julian Cooper

Julianah Cooper, individually, as surviving Child of Julian
Cooper

Marie Annette Dory, individually, as surviving Sibling of Julian
Cooper

Darlene Cooper-Canady, individually, as surviving Sibling of
Julian Cooper

Marie Annette Dory, as the Personal Representative of the Estate
of Rosa Marie Cooper, deceased, the late Parent of Julian Cooper

Marie Annette Dory, as the Personal Representative of the Estate
of Delman Phillip Cooper, deceased, the late Sibling of Julian
Cooper




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Theresa Cove, individually, as surviving Spouse of James E.
Cove

Theresa Cove, as the Personal Representative of the Estate of
James E. Cove, deceased, on behalf of the Estate, and on behalf
of all survivors and all legally entitled beneficiaries and family
members of James E. Cove

Gregory Cove, individually, as surviving Child of James E. Cove

Michael Cove, individually, as surviving Child of James E. Cove

Ryan Cove, individually, as surviving Child of James E. Cove

James Cudmore, individually, as surviving Parent of Neil
Cudmore

James Cudmore, as the Personal Representative of the Estate of
Neil Cudmore, deceased, on behalf of the Estate, and on behalf
of all survivors and all legally entitled beneficiaries and family
members of Neil Cudmore

Sheila Morgan, individually, as surviving Parent of Neil
Cudmore

Susan Nolan, individually, as surviving Spouse of Thomas
Cullen

Susan Nolan, as the Personal Representative of the Estate of
Thomas Cullen, deceased, on behalf of the Estate, and on behalf
of all survivors and all legally entitled beneficiaries and family
members of Thomas Cullen

Thomas Patrick Cullen Nolan, individually, as surviving Child of
Thomas Cullen

Amy Waters-Davidson, as the Personal Representative of the
Estate of Scott Davidson, deceased, on behalf of the Estate, and
on behalf of all survivors and all legally entitled beneficiaries
and family members of Scott Davidson

Peter Davidson, individually, as surviving Child of Scott
Davidson




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Casey Davidson, individually, as surviving Child of Scott
Davidson

Stephen Davidson, individually, as surviving Parent of Scott
Davidson

Lorraine Delapenha Fichera, individually, as surviving Spouse of
Donald A. Delapenha

Lorraine Delapenha Fichera, as the Personal Representative of
the Estate of Donald A. Delapenha, deceased, on behalf of the
Estate, and on behalf of all survivors and all legally entitled
beneficiaries and family members of Donald A. Delapenha

Samantha Delapenha, individually, as surviving Child of Donald
A. Delapenha

Robert Delapenha, individually, as surviving Child of Donald A.
Delapenha

Madison Delapenha, individually, as surviving Child of Donald
A. Delapenha

Terry Stella, individually, as surviving Sibling of Donald A.
Delapenha

Terry Stella, as the Personal Representative of the Estate of
Judith Butterly, deceased, the late Parent of Donald A.
Delapenha

Kathryn R. Dennis, individually, as surviving Spouse of Thomas
F. Dennis

Kathryn R. Dennis, as the Personal Representative of the Estate
of Thomas F. Dennis, deceased, on behalf of the Estate, and on
behalf of all survivors and all legally entitled beneficiaries and
family members of Thomas F. Dennis

Lauren Dennis, individually, as surviving Child of Thomas F.
Dennis

Thomas Dennis, individually, as surviving Child of Thomas F.
Dennis




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Rosemary Dillard, individually, as surviving Spouse of Eddie
Dillard

Rosemary Dillard, as the Personal Representative of the Estate of
Eddie Dillard, deceased, on behalf of the Estate, and on behalf of
all survivors and all legally entitled beneficiaries and family
members of Eddie Dillard

Andy Dillard, individually, as surviving Sibling of Eddie Dillard

Major Dillard, individually, as surviving Sibling of Eddie Dillard

Leslie Dimmling, individually, as surviving Spouse of William
Dimmling

Leslie Dimmling, as the Personal Representative of the Estate of
William Dimmling, deceased, on behalf of the Estate, and on
behalf of all survivors and all legally entitled beneficiaries and
family members of William Dimmling

Gregory Dimmling, individually, as surviving Child of William
Dimmling

Nicholas Dimmling, individually, as surviving Child of William
Dimmling

Rudy Dimmling, individually, as surviving Sibling of William
Dimmling

Rudy Dimmling, as the Personal Representative of the Estate of
Charlotte Dimmling, deceased, the late Parent of William
Dimmling

Lisa Newton and Sekou Agard, as the Personal Representatives
of the Estate of Elaine Dimmling, deceased, the late Sibling of
William Dimmling

Marguerita Domanico, individually, as surviving Spouse of
James Domanico

Marguerita Domanico, as the Personal Representative of the
Estate of James Domanico, deceased, on behalf of the Estate, and
on behalf of all survivors and all legally entitled beneficiaries
and family members of James Domanico



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Christina Kurinzi, individually, as surviving Child of James
Domanico

Maureen S. Dominguez, individually, as surviving Spouse of
Carlos Dominguez

Maureen S. Dominguez, as the Personal Representative of the
Estate of Carlos Dominguez, deceased, on behalf of the Estate,
and on behalf of all survivors and all legally entitled
beneficiaries and family members of Carlos Dominguez

Amanda Rose Dominguez, individually, as surviving Child of
Carlos Dominguez

Maria Dominguez, individually, as surviving Child of Carlos
Dominguez

Michelle Dominguez, individually, as surviving Child of Carlos
Dominguez

Rosaleen Shea, as the Personal Representative of the Estate of
Mary Yolanda Dowling, deceased, on behalf of the Estate, and
on behalf of all survivors and all legally entitled beneficiaries
and family members of Mary Yolanda Dowling

Rosaleen Shea, as the Personal Representative of the Estate of
Christopher Dowling, deceased, the late Parent of Mary Yolanda
Dowling

Andrew Dowling, individually, as surviving Sibling of Mary
Yolanda Dowling

Cynthia M. Droz, individually, as surviving Spouse of Charles
Droz

Cynthia M. Droz, as the Personal Representative of the Estate of
Charles Droz, deceased, on behalf of the Estate, and on behalf of
all survivors and all legally entitled beneficiaries and family
members of Charles Droz

Shannon R. Droz, individually, as surviving Child of Charles
Droz

Corinne Evans and Charles Evans, as the Personal
Representatives of the Estate of Eric Thomas Evans, deceased,
on behalf of the Estate, and on behalf of all survivors and all

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legally entitled beneficiaries and family members of Eric
Thomas Evans

Corinne Evans, individually, as surviving Parent of Eric Thomas
Evans

Charles Evans, individually, as surviving Parent of Eric Thomas
Evans

Catherine Ann Faughnan, individually, as surviving Spouse of
Christopher Faughnan

Catherine Ann Faughnan, as the Personal Representative of the
Estate of Christopher Faughnan, deceased, on behalf of the
Estate, and on behalf of all survivors and all legally entitled
beneficiaries and family members of Christopher Faughnan

Siena Faughnan, individually, as surviving Child of Christopher
Faughnan

Juliet Faughnan, individually, as surviving Child of Christopher
Faughnan

Liam Faughnan, individually, as surviving Child of Christopher
Faughnan

Thomas Faughnan, individually, as surviving Parent of
Christopher Faughnan

Joan Faughnan, individually, as surviving Parent of Christopher
Faughnan

Diane Barnes, individually, as surviving Sibling of Christopher
Faughnan

Lynn Faughnan Lee, individually, as surviving Sibling of
Christopher Faughnan

Maureen Stines, individually, as surviving Sibling of Christopher
Faughnan

Ellen Sleevi, individually, as surviving Sibling of Christopher
Faughnan




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Michael Faughnan, individually, as surviving Sibling of
Christopher Faughnan

Thomas Faughnan, individually, as surviving Sibling of
Christopher Faughnan

Kerri Hecox, individually, as surviving Sibling of Christopher
Faughnan

Marco Calle, as the Personal Representative of the Estate of
Henry Homero Fernandez, deceased, on behalf of the Estate, and
on behalf of all survivors and all legally entitled beneficiaries
and family members of Henry Homero Fernandez

Mary Fetchet, individually, as surviving Parent of Bradley
Fetchet

Frank Fetchet, individually, as surviving Parent of Bradley
Fetchet

Frank Fetchet, as the Personal Representative of the Estate of
Bradley Fetchet, deceased, on behalf of the Estate, and on behalf
of all survivors and all legally entitled beneficiaries and family
members of Bradley Fetchet

Christopher Fetchet, individually, as surviving Sibling of Bradley
Fetchet

Wesley Fetchet, individually, as surviving Sibling of Bradley
Fetchet

Erin Finnegan, individually, as surviving Spouse of Michael
Finnegan

Erin Finnegan, as the Personal Representative of the Estate of
Michael Finnegan, deceased, on behalf of the Estate, and on
behalf of all survivors and all legally entitled beneficiaries and
family members of Michael Finnegan

Bridget Finnegan, individually, as surviving Child of Michael
Finnegan

Michael Finnegan, individually, as surviving Child of Michael
Finnegan



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Francis Finnegan, individually, as surviving Child of Michael
Finnegan

Beverly J. Finnegan, individually, as surviving Parent of Michael
Finnegan

Frank Finnegan, individually, as surviving Parent of Michael
Finnegan

Katherine Finnegan, individually, as surviving Sibling of
Michael Finnegan

Patricia Fitzsimons, individually, as surviving Spouse of Richard
Fitzsimons

Patricia Fitzsimons, as the Personal Representative of the Estate
of Richard Fitzsimons, deceased, on behalf of the Estate, and on
behalf of all survivors and all legally entitled beneficiaries and
family members of Richard Fitzsimons

Sean Fitzsimons, individually, as surviving Child of Richard
Fitzsimons

Colleen Fitzsimons, individually, as surviving Child of Richard
Fitzsimons

Patrick Fitzsimons, individually, as surviving Sibling of Richard
Fitzsimons

Robert Fitzsimons, individually, as surviving Sibling of Richard
Fitzsimons

Chava Furman, individually, as surviving Spouse of Steven
Furman

Chava Furman and Andrew Furman, as the Personal
Representatives of the Estate of Steven Furman, deceased, on
behalf of the Estate, and on behalf of all survivors and all legally
entitled beneficiaries and family members of Steven Furman

Andrew Furman, individually, as surviving Sibling of Steven
Furman

Nisan Furman, individually, as surviving Child of Steven
Furman


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Sara Rachel Furman, individually, as surviving Child of Steven
Furman

Menashe Furman, individually, as surviving Child of Steven
Furman

Marvin Furman, individually, as surviving Parent of Steven
Furman

Jayne Furman, individually, as surviving Sibling of Steven
Furman

Michael Furman, individually, as surviving Sibling of Steven
Furman

Jayne Furman and Michael Furman, as the Personal
Representatives of the Estate of Joyce Lilie, deceased, the late
Parent of Steven Furman

Janis Lilie, as the Personal Representative of the Estate of Harold
Lilie, deceased, the late Stepparent of Steven Furman

Carlos Gamboa, individually, as surviving Parent of Giann
F.Gamboa

Carlos Gamboa, as the Personal Representative of the Estate of
Giann F.Gamboa, deceased, on behalf of the Estate, and on
behalf of all survivors and all legally entitled beneficiaries and
family members of Giann F.Gamboa

Peter Victor Genco, individually, as surviving Parent of Peter
Victor Genco

Barbara Genco, individually, as surviving Parent of Peter Victor
Genco

Jennifer Genco Harrington, individually, as surviving Sibling of
Peter Victor Genco

Harrison Scott Brown and Kyle Peter Brown, as the Personal
Representatives of the Estate of Christina Tanis Genco,
deceased, the late Sibling of Peter Victor Genco

Cathy Geyer, individually, as surviving Spouse of James G.
Geyer


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Cathy Geyer, as the Personal Representative of the Estate of
James G. Geyer, deceased, on behalf of the Estate, and on behalf
of all survivors and all legally entitled beneficiaries and family
members of James G. Geyer

Michelle Geyer Meo, individually, as surviving Child of James
G. Geyer

Matthew Geyer, individually, as surviving Child of James G.
Geyer

Laura Geyer, individually, as surviving Child of James G. Geyer

Phyllis Gilly, individually, as surviving Parent of Laura Gilly

Joseph Gilly, individually, as surviving Parent of Laura Gilly

Phyllis Gilly and Joseph Gilly, as the Personal Representatives of
the Estate of Laura Gilly, deceased, on behalf of the Estate, and
on behalf of all survivors and all legally entitled beneficiaries
and family members of Laura Gilly

Paul Gilly, individually, as surviving Sibling of Laura Gilly

Gerald Golkin, individually, as surviving Parent of Andrew H.
Golkin

Janet Golkin, individually, as surviving Parent of Andrew H.
Golkin

Gerald Golkin, as the Personal Representative of the Estate of
Andrew H. Golkin, deceased, on behalf of the Estate, and on
behalf of all survivors and all legally entitled beneficiaries and
family members of Andrew H. Golkin

Susan Golkin, individually, as surviving Sibling of Andrew H.
Golkin

Teresa Gomez, individually, as surviving Spouse of Enrique A.
Gomez

Teresa Gomez, as the Personal Representative of the Estate of
Enrique A. Gomez, deceased, on behalf of the Estate, and on
behalf of all survivors and all legally entitled beneficiaries and
family members of Enrique A. Gomez


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Jeannette Gomez, individually, as surviving Child of Enrique A.
Gomez

Angeline Gomez, individually, as surviving Child of Enrique A.
Gomez

Enrique Gomez, individually, as surviving Child of Enrique A.
Gomez

Blanca Gomez, individually, as surviving Spouse of Jose B.
Gomez

Blanca Gomez, as the Personal Representative of the Estate of
Jose B. Gomez, deceased, on behalf of the Estate, and on behalf
of all survivors and all legally entitled beneficiaries and family
members of Jose B. Gomez

Melissa Gomez, individually, as surviving Child of Jose B.
Gomez

Joann Soto, individually, as surviving Child of Jose B. Gomez

Joanna Tirone, individually, as surviving Child of Jose B. Gomez

Sandra Munro, individually, as surviving Sibling of Elvira
Granitto

Sandra Munro, as the Personal Representative of the Estate of
Elvira Granitto, deceased, on behalf of the Estate, and on behalf
of all survivors and all legally entitled beneficiaries and family
members of Elvira Granitto

Anne Earthman Salonia, individually, as surviving Child of
Elvira Granitto

Damien Earthman, individually, as surviving Child of Elvira
Granitto

Cosimo Granitto, individually, as surviving Parent of Elvira
Granitto

Cosimo Granitto, as the Personal Representative of the Estate of
Anna Granitto, deceased, the late Parent of Elvira Granitto




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Mario Granitto, individually, as surviving Sibling of Elvira
Granitto

Filippa Granitto, individually, as surviving Sibling of Elvira
Granitto

Raymond Habib, individually, as surviving Spouse of Barbara
Habib

Raymond Habib, as the Personal Representative of the Estate of
Barbara Habib, deceased, on behalf of the Estate, and on behalf
of all survivors and all legally entitled beneficiaries and family
members of Barbara Habib

Thomas Heidenberger, individually, as surviving Spouse of
Michele Heidenberger

Thomas Heidenberger, as the Personal Representative of the
Estate of Michele Heidenberger, deceased, on behalf of the
Estate, and on behalf of all survivors and all legally entitled
beneficiaries and family members of Michele Heidenberger

Alison Heidenberger Coffey, individually, as surviving Child of
Michele Heidenberger

Thomas Heidenberger, individually, as surviving Child of
Michele Heidenberger

Diane Johnson, individually, as surviving Sibling of Michele
Heidenberger

Karen Denino, individually, as surviving Sibling of Michele
Heidenberger

Suzanne Bennett, individually, as surviving Sibling of Michele
Heidenberger

Suzanne Bennett and Karen Denino, as the Personal
Representatives of the Estate of Mary MacDonald, deceased, the
late Parent of Michele Heidenberger

Mary Jean Heller, individually, as surviving Spouse of H. Joseph
Heller

Mary Jean Heller, as the Personal Representative of the Estate of
H. Joseph Heller, deceased, on behalf of the Estate, and on behalf

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of all survivors and all legally entitled beneficiaries and family
members of H. Joseph Heller

John Heller, individually, as surviving Child of H. Joseph Heller

Grace Heller, individually, as surviving Child of H. Joseph
Heller

Catherine Heller, individually, as surviving Child of H. Joseph
Heller

Michael Heller, individually, as surviving Child of H. Joseph
Heller

Roberta Heller, individually, as surviving Parent of H. Joseph
Heller

Roberta Heller, as the Personal Representative of the Estate of
Howard Heller, deceased, the late Parent of H. Joseph Heller

Colleen Rastovich, individually, as surviving Sibling of H.
Joseph Heller

Robert Heller, individually, as surviving Sibling of H. Joseph
Heller

Mary Beth Luedtke, individually, as surviving Sibling of H.
Joseph Heller

Edward Henry and Alice Henry, as the Personal Representatives
of the Estate of Joseph Patrick Henry, deceased, on behalf of the
Estate, and on behalf of all survivors and all legally entitled
beneficiaries and family members of Joseph Patrick Henry

Edward Henry, individually, as surviving Parent of Joseph
Patrick Henry

Alice Henry, individually, as surviving Parent of Joseph Patrick
Henry

Tennyson Huie, individually, as surviving Parent of Susan Huie

Tennyson Huie, as the Personal Representative of the Estate of
Susan Huie, deceased, on behalf of the Estate, and on behalf of



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all survivors and all legally entitled beneficiaries and family
members of Susan Huie

Sheri Ann Iskenderian, individually, as surviving Spouse of
Aram Iskenderian

Sheri Ann Iskenderian, as the Personal Representative of the
Estate of Aram Iskenderian, deceased, on behalf of the Estate,
and on behalf of all survivors and all legally entitled
beneficiaries and family members of Aram Iskenderian

Meryl Iskenderian, individually, as surviving Child of Aram
Iskenderian

Kara Iskenderian, individually, as surviving Child of Aram
Iskenderian

Alex Iskenderian, individually, as surviving Child of Aram
Iskenderian

Jason Iskenderian, individually, as surviving Child of Aram
Iskenderian

Jennifer Jardim, individually, as surviving Spouse of Mark S.
Jardim

Jennifer Jardim, as the Personal Representative of the Estate of
Mark S. Jardim, deceased, on behalf of the Estate, and on behalf
of all survivors and all legally entitled beneficiaries and family
members of Mark S. Jardim

Christine Jean-Pierre, individually, as surviving Spouse of
Francois Jean-Pierre

Christine Jean-Pierre, as the Personal Representative of the
Estate of Francois Jean-Pierre, deceased, on behalf of the Estate,
and on behalf of all survivors and all legally entitled
beneficiaries and family members of Francois Jean-Pierre

Jean Henold Jean-Pierre, individually, as surviving Child of
Francois Jean-Pierre

Shirley Jean-Pierre, individually, as surviving Child of Francois
Jean-Pierre



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Roody Jean-Pierre a/k/a Roudy Jean-Pierre, individually, as
surviving Child of Francois Jean-Pierre

Elizabeth Jordan, individually, as surviving Spouse of Robert
Jordan

Elizabeth Jordan, as the Personal Representative of the Estate of
Robert Jordan, deceased, on behalf of the Estate, and on behalf
of all survivors and all legally entitled beneficiaries and family
members of Robert Jordan

Geoffrey Judge, individually, as surviving Spouse of Ann Judge

Geoffrey Judge, as the Personal Representative of the Estate of
Ann Judge, deceased, on behalf of the Estate, and on behalf of all
survivors and all legally entitled beneficiaries and family
members of Ann Judge

Dohee Kang, individually, as Surviving Spouse of Joon Koo
Kang

Dohee Kang, as the Personal Representative of the Estate of Joon
Koo Kang, deceased, on behalf of the Estate, and on behalf of all
survivors and all legally entitled beneficiaries and family
members of Joon Koo Kang

Joon Hee Kang, individually, as Surviving Child of Joon Koo
Kang

Jee Won Kang, individually, as Surviving Child of Joon Koo
Kang

Janet Kelley, individually, as surviving Spouse of Frederick
Kelley

Janet Kelley, as the Personal Representative of the Estate of
Frederick Kelley, deceased, on behalf of the Estate, and on
behalf of all survivors and all legally entitled beneficiaries and
family members of Frederick Kelley

Frederick Kelley, individually, as surviving Child of Frederick
Kelley

Katherine Kelley Van Kirk, individually, as surviving Child of
Frederick Kelley


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Kristen Roberts, individually, as surviving Child of Frederick
Kelley

Sean Kelley, individually, as surviving Child of Frederick Kelley

Sean Kelley, as the Personal Representative of the Estate of
Mary Kelley, deceased, the late Parent of Frederick Kelley

Alison Kinney Lewandowski, individually, as surviving Spouse
of Brian Kinney

Alison Kinney Lewandowski, as the Personal Representative of
the Estate of Brian Kinney, deceased, on behalf of the Estate, and
on behalf of all survivors and all legally entitled beneficiaries
and family members of Brian Kinney

Paul Kolpak, individually, as surviving Parent of Vanessa
Kolpak

Vivian Kolpak, individually, as surviving Parent of Vanessa
Kolpak

Paul Kolpak, as the Personal Representative of the Estate of
Vanessa Kolpak, deceased, on behalf of the Estate, and on behalf
of all survivors and all legally entitled beneficiaries and family
members of Vanessa Kolpak

Thaddeus Kolpak, individually, as surviving Sibling of Vanessa
Kolpak

Alexis Kolpak, individually, as surviving Sibling of Vanessa
Kolpak

Elizabeth Kovalcin, individually, as surviving Spouse of David
P. Kovalcin

Elizabeth Kovalcin, as the Personal Representative of the Estate
of David P. Kovalcin, deceased, on behalf of the Estate, and on
behalf of all survivors and all legally entitled beneficiaries and
family members of David P. Kovalcin

Rebecca Kovalcin, individually, as surviving Child of David P.
Kovalcin




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Marina Kovalcin, individually, as surviving Child of David P.
Kovalcin

Anna M. Kren, individually, as surviving Spouse of John J. Kren

Anna Kren, as the Personal Representative of the Estate of John
J. Kren, deceased, on behalf of the Estate, and on behalf of all
survivors and all legally entitled beneficiaries and family
members of John J. Kren

Andrea Sassone, individually, as surviving Child of John J. Kren

Janine Wentworth, individually, as surviving Child of John J.
Kren

Anna M. Kren, as the Personal Representative of the Estate of
Marian Kren, deceased, the late Parent of John J. Kren

Sandra Lang Pangborn, individually, as surviving Spouse of
Brendan Lang

Sandra Lang Pangborn, as the Personal Representative of the
Estate of Brendan Lang, deceased, on behalf of the Estate, and
on behalf of all survivors and all legally entitled beneficiaries
and family members of Brendan Lang

Paula Lang, as the Personal Representative of the Estate of
William M. Lang, III, deceased, the late Parent of Brendan Lang

Paula Lang, individually, as surviving Parent of Brendan Lang

Sean Lang, individually, as surviving Sibling of Brendan Lang

Shanna Lewis, individually, as surviving Sibling of Brendan
Lang

Meghan Deming, individually, as surviving Sibling of Brendan
Lang

Stephen Massell, as the Personal Representative of the Estate of
Rosanne Lang, deceased, on behalf of the Estate, and on behalf
of all survivors and all legally entitled beneficiaries and family
members of Rosanne Lang




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Michael Rogers, individually, as surviving Child of Rosanne
Lang

Paula Lang, as the Personal Representative of the Estate of
William M. Lang, III, deceased, the late Sibling of Rosanne Lang

Carolann Larsen, individually, as surviving Spouse of Scott
Larsen

Carolann Larsen, as the Personal Representative of the Estate of
Scott Larsen, deceased, on behalf of the Estate, and on behalf of
all survivors and all legally entitled beneficiaries and family
members of Scott Larsen

Marisa Larsen, individually, as surviving Child of Scott Larsen

Brenda Larsen, individually, as surviving Child of Scott Larsen

Scott Larsen, individually, as surviving Child of Scott Larsen

August Larsen, individually, as surviving Child of Scott Larsen

Dennis Levi, individually, as surviving Child of John Levi

Jennifer Levi-Longyear, individually, as surviving Child of John
Levi

Dennis Levi and Jennifer Levi-Longyear, as the Personal
Representatives of the Estate of John Levi, deceased, on behalf
of the Estate, and on behalf of all survivors and all legally
entitled beneficiaries and family members of John Levi

Joseph J. Reitano, as the Personal Representative of the Estate of
Vincent Litto, deceased, on behalf of the Estate, and on behalf of
all survivors and all legally entitled beneficiaries and family
members of Vincent Litto

Linda Litto, individually, as surviving Spouse of Vincent Litto

Catherine Litto-Petras, individually, as surviving Child of
Vincent Litto

Kristen Serra, individually, as surviving Child of Vincent Litto

Kimberly Rex, individually, as surviving Child of Vincent Litto


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Joseph J. Reitano, as the Personal Representative of the Estate of
Michael Litto, deceased, the late Parent of Vincent Litto

Joseph J. Reitano, as the Personal Representative of the Estate of
Marie Litto, deceased, the late Parent of Vincent

Elizabeth Davila-Lopez, individually, as surviving Spouse of
Daniel Lopez

Elizabeth Davila-Lopez, as the Personal Representative of the
Estate of Daniel Lopez, deceased, on behalf of the Estate, and on
behalf of all survivors and all legally entitled beneficiaries and
family members of Daniel Lopez

Brittany Lopez, individually, as surviving Child of Daniel Lopez

Daniel Lopez, individually, as surviving Child of Daniel Lopez

Rosetta Lynch, individually, as surviving Parent of Farrell Lynch

Ellen Lynch, individually, as surviving Sibling of Farrell Lynch

Kieran Lynch, individually, as surviving Sibling of Farrell Lynch

Brian Lynch, individually, as surviving Sibling of Farrell Lynch

Christina Lynch-Burgdorf, individually, as surviving Spouse of
Richard D. Lynch

Christina Lynch-Burgdorf, as the Personal Representative of the
Estate of Richard D. Lynch, deceased, on behalf of the Estate,
and on behalf of all survivors and all legally entitled
beneficiaries and family members of Richard D. Lynch

Olivia Lynch, individually, as surviving Child of Richard D.
Lynch

Lorraine Lynch, individually, as surviving Spouse of Sean Lynch

Lorraine Lynch, as the Personal Representative of the Estate of
Sean Lynch, deceased, on behalf of the Estate, and on behalf of
all survivors and all legally entitled beneficiaries and family
members of Sean Lynch

Grace Lynch, individually, as surviving Child of Sean Lynch


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Mary Rose Lynch, individually, as surviving Child of Sean
Lynch

Sean Lynch, Jr., individually, as surviving Child of Sean Lynch

Rosetta Lynch, individually, as surviving Parent of Sean Lynch

Ellen Lynch, individually, as surviving Sibling of Sean Lynch

Kieran Lynch, individually, as surviving Sibling of Sean Lynch

Brian Lynch, individually, as surviving Sibling of Sean Lynch

Valerie Magee, individually, as surviving Spouse of Brian
Magee

Valerie Magee, as the Personal Representative of the Estate of
Brian Magee, deceased, on behalf of the Estate, and on behalf of
all survivors and all legally entitled beneficiaries and family
members of Brian Magee

Kevin Magee, individually, as surviving Sibling of Brian Magee

Kevin Magee and Shane Magee, as the Personal Representatives
of the Estate of Edith Magee, deceased, the late Parent of Brian
Magee

Mary Alice Magee, individually, as surviving Sibling of Brian
Magee

Maryann Magee, as the Personal Representative of the Estate of
Blane Magee, deceased, the late Sibling of Brian Magee

Shane Magee, individually, as surviving Sibling of Brian Magee

Kerry Magee, individually, as surviving Sibling of Brian Magee

William Dowdell, individually, as surviving Stepchild of Brian
Magee

Christopher Dowdell, individually, as surviving Stepchild of
Brian Magee

Matthew Dowdell, individually, as surviving Stepchild of Brian
Magee


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Brinley Maloney, individually, as surviving Spouse of Edward F.
Maloney, III

Brinley Maloney, as the Personal Representative of the Estate of
Edward F. Maloney, III, deceased, on behalf of the Estate, and
on behalf of all survivors and all legally entitled beneficiaries
and family members of Edward F. Maloney, III

Teddy Maloney, individually, as surviving Child of Edward F.
Maloney, III

Mason Maloney, individually, as surviving Child of Edward F.
Maloney, III

Sally Maloney, individually, as surviving Parent of Edward F.
Maloney, III

Edward F. Maloney, II, individually, as surviving Parent of
Edward F. Maloney, III

Sara a/k/a Sally Maloney Duval, individually, as surviving
Sibling of Edward F. Maloney, III

Mark T. Maloney, individually, as surviving Sibling of Edward
F. Maloney, III

Megan Manning, individually, as surviving Spouse of Terence
John Manning

Megan Manning, as the Personal Representative of the Estate of
Terence John Manning, deceased, on behalf of the Estate, and on
behalf of all survivors and all legally entitled beneficiaries and
family members of Terence John Manning

Mairead Manning, individually, as surviving Child of Terence
John Manning

Trinity Manning, individually, as surviving Child of Terence
John Manning

Philip V. Manning, individually, as surviving Sibling of Terence
John Manning

Sean Manning, individually, as surviving Sibling of Terence
John Manning


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Philip V. Manning and Sean Manning, as the Personal
Representatives of the Estate of Gertrude Manning, deceased, the
late Parent of Terence John Manning

Catherine Manning, as the Personal Representative of the Estate
of Philip V. Manning, deceased, the late Parent of Terence John
Manning

Mary Jane Maounis, individually, as surviving Sibling of James
Maounis

Mary Jane Maounis, as the Personal Representative of the Estate
of James Maounis, deceased, on behalf of the Estate, and on
behalf of all survivors and all legally entitled beneficiaries and
family members of James Maounis

Mary Jane Maounis, as the Personal Representative of the Estate
of Nicholas Maounis, deceased, the late Parent of James Maounis

Mary Jane Maounis and William Maounis, as the Personal
Representatives of the Estate of Constance Maounis, deceased,
the late Parent of James Maounis

William Maounis, individually, as surviving Sibling of James
Maounis

Sheila Martello, individually, as surviving Spouse of James
Martello

Sheila Martello, as the Personal Representative of the Estate of
James Martello, deceased, on behalf of the Estate, and on behalf
of all survivors and all legally entitled beneficiaries and family
members of James Martello

James Martello, Jr., individually, as surviving Child of James
Martello

Thomas Martello, individually, as surviving Child of James
Martello

Margaret Mathers, individually, as surviving Spouse of Charles
Mathers

Margaret Mathers, as the Personal Representative of the Estate of
Charles Mathers, deceased, on behalf of the Estate, and on behalf


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of all survivors and all legally entitled beneficiaries and family
members of Charles Mathers

Marjorie Kane, individually, as surviving Child of Charles
Mathers

Elizabeth Mathers, individually, as surviving Child of Charles
Mathers

Charles Mathers, individually, as surviving Child of Charles
Mathers

Taryn McHale, individually, as surviving Spouse of Thomas
McHale

Taryn McHale, as the Personal Representative of the Estate of
Thomas McHale, deceased, on behalf of the Estate, and on behalf
of all survivors and all legally entitled beneficiaries and family
members of Thomas McHale

Collin McHale, individually, as surviving Child of Thomas
McHale

Elizabeth McLaughlin O’Brien, individually, as surviving
Spouse of Robert McLaughlin

Elizabeth McLaughlin O’Brien, as the Personal Representative
of the Estate of Robert McLaughlin, deceased, on behalf of the
Estate, and on behalf of all survivors and all legally entitled
beneficiaries and family members of Robert McLaughlin

Nicholas McLaughlin, individually, as surviving Child of Robert
McLaughlin

Michael McLaughlin, individually, as surviving Sibling of
Robert McLaughlin

Elizabeth McNally, individually, as surviving Spouse of Edmund
McNally

Elizabeth McNally, as the Personal Representative of the Estate
of Edmund McNally, deceased, on behalf of the Estate, and on
behalf of all survivors and all legally entitled beneficiaries and
family members of Edmund McNally



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Erin Day, individually, as surviving Child of Edmund McNally

Brienne McNally, individually, as surviving Child of Edmund
McNally

Shannon McNally, individually, as surviving Child of Edmund
McNally

Joseph Richard Mickley, individually, as surviving Spouse of
Patricia E. Mickley

Joseph Richard Mickley, as the Personal Representative of the
Estate of Patricia E. Mickley, deceased, on behalf of the Estate,
and on behalf of all survivors and all legally entitled
beneficiaries and family members of Patricia E. Mickley

Marie Mickley, individually, as surviving Child of Patricia E.
Mickley

Arjan Mirpuri, individually, as surviving Parent of Rajesh
Mirpuri

Arjan Mirpuri, as the Personal Representative of the Estate of
Rajesh Mirpuri, deceased, on behalf of the Estate, and on behalf
of all survivors and all legally entitled beneficiaries and family
members of Rajesh Mirpuri

Indra Mirpuri, individually, as surviving Parent of Rajesh
Mirpuri

Susanne Mladenik, individually, as surviving Spouse of Jeffrey
Mladenik

Susanne Mladenik, as the Personal Representative of the Estate
of Jeffrey Mladenik, deceased, on behalf of the Estate, and on
behalf of all survivors and all legally entitled beneficiaries and
family members of Jeffrey Mladenik

Kelly Mladenik, individually, as surviving Child of Jeffrey
Mladenik

Grace Mladenik, individually, as surviving Child of Jeffrey
Mladenik




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Joshua Mladenik, individually, as surviving Child of Jeffrey
Mladenik

Daniel Mladenik, individually, as surviving Child of Jeffrey
Mladenik

Mark Morabito, individually, as surviving Spouse of Laura Lee
Morabito

Mark Morabito, as the Personal Representative of the Estate of
Laura Lee Morabito, deceased, on behalf of the Estate, and on
behalf of all survivors and all legally entitled beneficiaries and
family members of Laura Lee Morabito

Beverly DeFazio, individually, as surviving Parent of Laura Lee
Morabito

Lawrence DeFazio, individually, as surviving Parent of Laura
Lee Morabito

Craig DeFazio, individually, as surviving Sibling of Laura Lee
Morabito

Jefferey DeFazio, individually, as surviving Sibling of Laura Lee
Morabito

Agnes Moran, individually, as surviving Sibling of Kathleen
Moran

Agnes Moran, as the Personal Representative of the Estate of
Kathleen Moran, deceased, on behalf of the Estate, and on behalf
of all survivors and all legally entitled beneficiaries and family
members of Kathleen Moran

Agnes Moran, as the Personal Representative of the Estate of
Catherine Moran, deceased, the late Parent of Kathleen Moran

Kimberly A. Martone, individually, as surviving Spouse of
Christopher M. Morrison

Kimberly A. Martone, as the Personal Representative of the
Estate of Christopher M. Morrison, deceased, on behalf of the
Estate, and on behalf of all survivors and all legally entitled
beneficiaries and family members of Christopher M. Morrison



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Maureen Morrison, individually, as surviving Parent of
Christopher M. Morrison

Joseph Morrison, individually, as surviving Parent of Christopher
M. Morrison

Marianne Merritt, individually, as surviving Sibling of
Christopher M. Morrison

Madeline Lew Moy, individually, as Surviving Spouse of
Teddington Moy

Madeline Lew Moy, as the Personal Representative of the Estate
of Teddington Moy, deceased, on behalf of the Estate, and on
behalf of all survivors and all legally entitled beneficiaries and
family members of Teddington Moy

Jessica Moy, individually, as Surviving Child of Teddington
Moy

Daniel Moy, individually, as Surviving Child of Teddington Moy

Patrick Mullan, individually, as surviving Sibling of Michael D.
Mullan

Patrick Mullan, as the Personal Representative of the Estate of
Michael D. Mullan, deceased, on behalf of the Estate, and on
behalf of all survivors and all legally entitled beneficiaries and
family members of Michael D. Mullan

Patrick Mullan, as the Personal Representative of the Estate of
Patrick Mullan, deceased, the late Parent of Michael D. Mullan

Patrick Mullan, as the Personal Representative of the Estate of
Theresa Mullan, deceased, the late Parent of Michael D. Mullan

Kelly-Ann Mullan, individually, as surviving Sibling of Michael
D. Mullan

Amy Nacke-Martinez, individually, as surviving Spouse of Louis
Nacke

Amy Nacke-Martinez, as the Personal Representative of the
Estate of Louis Nacke, deceased, on behalf of the Estate, and on



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behalf of all survivors and all legally entitled beneficiaries and
family members of Louis Nacke

Haidje a/k/a Heidi Naples, individually, as surviving Spouse of
Frank J. Naples

Haidje a/k/a Heidi Naples, as the Personal Representative of the
Estate of Frank J. Naples, deceased, on behalf of the Estate, and
on behalf of all survivors and all legally entitled beneficiaries
and family members of Frank J. Naples

Barbara Naples, individually, as surviving Parent of Frank J.
Naples

Amy Newton, individually, as surviving Spouse of Christopher
Newton

Amy Newton, as the Personal Representative of the Estate of
Christopher Newton, deceased, on behalf of the Estate, and on
behalf of all survivors and all legally entitled beneficiaries and
family members of Christopher Newton

Michael L. Newton, individually, as surviving Child of
Christopher Newton

Sarah Newton, individually, as surviving Child of Christopher
Newton

Barbara Newton, individually, as surviving Parent of Christopher
Newton

Michael S. Newton, individually, as surviving Parent of
Christopher Newton

Ann-Elizabeth Rueppel, individually, as surviving Sibling of
Christopher Newton

Stephen A. Newton, individually, as surviving Sibling of
Christopher Newton

Susan Newton-Carter, individually, as surviving Spouse of
Christopher Newton-Carter

Susan Newton-Carter, as the Personal Representative of the
Estate of Christopher Newton-Carter, deceased, on behalf of the


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Estate, and on behalf of all survivors and all legally entitled
beneficiaries and family members of Christopher Newton-Carter

Teresa Danko, individually, as surviving Sibling of Christopher
Newton-Carter

Mark Newton-Carter, individually, as surviving Sibling of
Christopher Newton-Carter

Christine O’Berg Connolly, individually, as surviving Spouse of
Dennis O’Berg

Christine O’Berg Connolly, as the Personal Representative of the
Estate of Dennis O’Berg, deceased, on behalf of the Estate, and
on behalf of all survivors and all legally entitled beneficiaries
and family members of Dennis O’Berg

Dennis O’Berg, individually, as surviving Parent of Dennis
O’Berg

Dorothy O’Berg, individually, as surviving Parent of Dennis
O’Berg

Patricia Ferguson, individually, as surviving Sibling of Dennis
O’Berg

Antoinette Ognibene, individually, as surviving Parent of Phillip
Paul Ognibene

Antoinette Ognibene, as the Personal Representative of the
Estate of Phillip Paul Ognibene, deceased, on behalf of the
Estate, and on behalf of all survivors and all legally entitled
beneficiaries and family members of Phillip Paul Ognibene

Mary Duff, as the Personal Representative of the Estate of Peter
Keith Ortale, deceased, on behalf of the Estate, and on behalf of
all survivors and all legally entitled beneficiaries and family
members of Peter Keith Ortale

Mary Duff, individually, as surviving Spouse of Peter Keith
Ortale

Catherine Grimes, individually, as surviving Sibling of Peter
Keith Ortale



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Mary Malitas, individually, as surviving Sibling of Peter Keith
Ortale

Julia Ortale, individually, as surviving Sibling of Peter Keith
Ortale

Gilbert Ortale, individually, as surviving Sibling of Peter Keith
Ortale

Catherine Grimes, as the Personal Representative of the Estate of
Mary Ortale, deceased, the late Parent of Peter Keith Ortale

Michelle Orth Ankenman, as the Personal Representative of the
Estate of Jane Marie Orth, deceased, on behalf of the Estate, and
on behalf of all survivors and all legally entitled beneficiaries
and family members of Jane Marie Orth

Michelle Orth Ankenman, individually, as surviving Child of
Jane Marie Orth

Daniel Orth, individually, as surviving Child of Jane Marie Orth

Elizabeth Orth, individually, as surviving Child of Jane Marie
Orth

Wanda Garcia-Ortiz, as the Personal Representative of the Estate
of Emilio Ortiz, deceased, on behalf of the Estate, and on behalf
of all survivors and all legally entitled beneficiaries and family
members of Emilio Ortiz

Wanda Garcia-Ortiz, individually, as surviving Spouse of Emilio
Ortiz

Alexandra M. Ortiz Reszka, as the Personal Representative of the
Estate of Sonia Ortiz, deceased, on behalf of the Estate, and on
behalf of all survivors and all legally entitled beneficiaries and
family members of Sonia Ortiz

Alexandra M. Ortiz Reszka, individually, as surviving Child of
Sonia Ortiz

Luis Ortiz, individually, as surviving Child of Sonia Ortiz

Victor Ortiz, individually, as surviving Child of Sonia Ortiz



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Joseph Palombo, as the Personal Representative of the Estate of
Frank Palombo, deceased, on behalf of the Estate, and on behalf
of all survivors and all legally entitled beneficiaries and family
members of Frank Palombo Palombo

Joseph Palombo, individually, as surviving Child of Frank
Palombo

John Hogan, as the Personal Representative of the Estate of Jean
Palombo, deceased, the late Spouse of Frank Palombo

Maria Palombo Suazo, individually, as surviving Child of Frank
Palombo

Anthony Palombo, individually, as surviving Child of Frank
Palombo

Daniel Palombo, individually, as surviving Child of Frank
Palombo

Frank Palombo, individually, as surviving Child of Frank
Palombo

John Palombo, individually, as surviving Child of Frank
Palombo

Margaret Palombo, individually, as surviving Child of Frank
Palombo

Stephen Palombo, individually, as surviving Child of Frank
Palombo

Thomas Palombo, individually, as surviving Child of Frank
Palombo

Patrick Palombo, individually, as surviving Child of Frank
Palombo

Carolyn Panatier, as the Personal Representative of the Estate of
Christopher M. Panatier, deceased, on behalf of the Estate, and
on behalf of all survivors and all legally entitled beneficiaries
and family members of Christopher M. Panatier

Carolyn Panatier, individually, as surviving Spouse of
Christopher M. Panatier


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Annie Panatier, individually, as surviving Child of Christopher
M. Panatier

Christopher Panatier, individually, as surviving Child of
Christopher M. Panatier

James Panatier, individually, as surviving Sibling of Christopher
M. Panatier

Irene Gilmore, individually, as surviving Sibling of Christopher
M. Panatier

Patricia Panatier, individually, as surviving Sibling of
Christopher M. Panatier

Dorothy O’Neill, individually, as surviving Sibling of
Christopher M. Panatier

Patricia Panatier, as the Personal Representative of the Estate of
Irene Panatier, deceased, the late Parent of Christopher M.
Panatier

Navila Patterson, as the Personal Representative of the Estate of
Bernard Patterson, deceased, on behalf of the Estate, and on
behalf of all survivors and all legally entitled beneficiaries and
family members of Bernard Patterson

Navila Patterson, individually, as surviving Spouse of Bernard
Patterson

Kevin Patterson, individually, as surviving Child of Bernard
Patterson

Scott Patterson, individually, as surviving Child of Bernard
Patterson

Anna Patterson, individually, as surviving Child of Bernard
Patterson

Kevin Patterson, as the Personal Representative of the Estate of
Kevin Patterson, deceased, the late Sibling of Bernard Patterson

Kevin Patterson, as the Personal Representative of the Estate of
Owen Patterson, deceased, the late Sibling of Bernard Patterson



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Megan P. Pelino, as the Personal Representative of the Estate of
Todd Douglas Pelino, deceased, on behalf of the Estate, and on
behalf of all survivors and all legally entitled beneficiaries and
family members of Todd Douglas Pelino

Megan P. Pelino, individually, as surviving Spouse of Todd
Douglas Pelino

Anne Pelino, individually, as surviving Child of Todd Douglas
Pelino

Bennett Pelino, individually, as surviving Child of Todd Douglas
Pelino

Douglas Pelino, individually, as surviving Parent of Todd
Douglas Pelino

Maureen Pelino, individually, as surviving Parent of Todd
Douglas Pelino

Terrence Pelino, individually, as surviving Sibling of Todd
Douglas Pelino

Matthew Pelino, individually, as surviving Sibling of Todd
Douglas Pelino

Vicki Tureski, as the Personal Representative of the Estate of
Steve Pollicino, deceased, on behalf of the Estate, and on behalf
of all survivors and all legally entitled beneficiaries and family
members of Steve Pollicino

Vicki Tureski, as the Personal Representative of the Estate of
Jane Pollicino, deceased, the late Spouse of Steve Pollicino

Steven Pollicino, individually, as surviving Child of Steve
Pollicino

Celeste Rose, individually, as surviving Child of Steve Pollicino

Douglas Pollicino, individually, as surviving Sibling of Steve
Pollicino

Douglas Pollicino, as the Personal Representative of the Estate of
Nicholas Pollicino, deceased, the late Parent of Steve Pollicino



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Douglas Pollicino, as the Personal Representative of the Estate of
Antoinette Pollicino, deceased, the late Parent of Steve Pollicino

Elaine Miller and Corinne Krachtus, as the Personal
Representatives of the Estate of Daphne Pouletsos, deceased, on
behalf of the Estate, and on behalf of all survivors and all legally
entitled beneficiaries and family members of Daphne Pouletsos

Elaine Miller, individually, as surviving Sibling of Daphne
Pouletsos

Corinne Krachtus, individually, as surviving Sibling of Daphne
Pouletsos

Elaine Miller and Corinne Krachtus, as the Personal
Representatives of the Estate of Irene Pouletsos, deceased, the
late Parent of Daphne Pouletsos

Elaine Miller and Corinne Krachtus, as the Personal
Representatives of the Estate of James Pouletsos, deceased, the
late Parent of Daphne Pouletsos

Janice K. Punches, as the Personal Representative of the Estate
of Capt. Jack D. Punches, deceased, on behalf of the Estate, and
on behalf of all survivors and all legally entitled beneficiaries
and family members of Capt. Jack D. Punches

Janice K. Punches, individually, as surviving Spouse of Capt.
Jack D. Punches

Jennifer Punches Botta, individually, as surviving Child of Capt.
Jack D. Punches

Jeremy Punches, individually, as surviving Child of Capt. Jack
D. Punches

Ruth Godwin, individually, as surviving Parent of Capt. Jack D.
Punches

Debra Godwin, individually, as surviving Sibling of Capt. Jack
D. Punches

Janet Berns, individually, as surviving Sibling of Capt. Jack D.
Punches



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Marcy Ilena Godwin, individually, as surviving Sibling of Capt.
Jack D. Punches

Michael Quinn, as the Personal Representative of the Estate of
James Quinn, deceased, on behalf of the Estate, and on behalf of
all survivors and all legally entitled beneficiaries and family
members of James Quinn

Michael Quinn, individually, as surviving Parent of James Quinn

Noreen Quinn, individually, as surviving Parent of James Quinn

Michael Quinn, individually, as surviving Sibling of James
Quinn

Joseph Quinn, individually, as surviving Sibling of James Quinn

Nancy Holzhauer, as the Personal Representative of the Estate of
Gerard Rauzi, deceased, on behalf of the Estate, and on behalf of
all survivors and all legally entitled beneficiaries and family
members of Gerard Rauzi

Nancy Holzhauer, individually, as surviving Sibling of Gerard
Rauzi

Nancy Holzhauer, as the Personal Representative of the Estate of
Silvia Rauzi, deceased, the late Parent of Gerard Rauzi

Sharon L. Reich, as the Personal Representative of the Estate of
Howard Reich, deceased, on behalf of the Estate, and on behalf
of all survivors and all legally entitled beneficiaries and family
members of Howard Reich

Sharon L. Reich, individually, as surviving Sibling of Howard
Reich

Jason Hochman, as the Personal Representative of the Estate of
Marilyn Reich, deceased, the late Spouse of Howard Reich

James J. Riches, as the Personal Representative of the Estate of
James C. Riches, deceased, on behalf of the Estate, and on behalf
of all survivors and all legally entitled beneficiaries and family
members of James C. Riches




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James J. Riches, individually, as surviving Parent of James C.
Riches

Rita Riches, individually, as surviving Parent of James C. Riches

Timothy Riches, individually, as surviving Sibling of James C.
Riches

Daniel Riches, individually, as surviving Sibling of James C.
Riches

Thomas Riches, individually, as surviving Sibling of James C.
Riches

Barbara Ropiteau-Galloway, as the Personal Representative of
the Estate of Eric Thomas Ropiteau, deceased, on behalf of the
Estate, and on behalf of all survivors and all legally entitled
beneficiaries and family members of Eric Thomas Ropiteau

Barbara Ropiteau-Galloway, individually, as surviving Parent of
Eric Thomas Ropiteau

Jean-Marc Ropiteau, individually, as surviving Sibling of Eric
Thomas Ropiteau

Lara Ropiteau Davis, individually, as surviving Sibling of Eric
Thomas Ropiteau

Brendan Ryan, as the Personal Representative of the Estate of
Kristin Irvine Ryan, deceased, on behalf of the Estate, and on
behalf of all survivors and all legally entitled beneficiaries and
family members of Kristin Irvine Ryan

Brendan Ryan, individually, as surviving Spouse of Kristin
Irvine Ryan

Stuart Irvine, individually, as surviving Parent of Kristin Irvine
Ryan

Kara Marie Irvine, individually, as surviving Sibling of Kristin
Irvine Ryan

Wendy Irvine Toomey, individually, as surviving Sibling of
Kristin Irvine Ryan



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Michelle Schleider, individually, as surviving Sibling of Kristin
Irvine Ryan

Tracy Janess, individually, as surviving Sibling of Kristin Irvine
Ryan

Bernard Salamone, as the Personal Representative of the Estate
of Marjorie Salamone, deceased, on behalf of the Estate, and on
behalf of all survivors and all legally entitled beneficiaries and
family members of Marjorie Salamone

Bernard Salamone, individually, as surviving Spouse of Marjorie
Salamone

Amanda Olcott, individually, as surviving Child of Marjorie
Salamone

Ann Marie Santillo, individually, as surviving Child of Marjorie
Salamone

Richard Champion, individually, as surviving Sibling of Marjorie
Salamone

Richard Champion, as the Personal Representative of the Estate
of Hubert Champion, deceased, the late Parent of Marjorie
Salamone

Richard Champion, as the Personal Representative of the Estate
of Lillian Champion, deceased, the late Parent of Marjorie
Salamone

Danielle Salerno, as the Personal Representative of the Estate of
John Salerno, deceased, on behalf of the Estate, and on behalf of
all survivors and all legally entitled beneficiaries and family
members of John Salerno

Danielle Salerno, individually, as surviving Spouse of John
Salerno

John P. Salerno, individually, as surviving Child of John Salerno

Jo Ann Cohn, individually, as surviving Parent of John Salerno

Michael Cohn, individually, as surviving Sibling of John Salerno



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Dina Connelly, individually, as surviving Sibling of John Salerno

Sally Calvin, as the Personal Representative of the Estate of
Frank Salvaterra, deceased, on behalf of the Estate, and on behalf
of all survivors and all legally entitled beneficiaries and family
members of Frank Salvaterra

Sally Calvin, individually, as surviving Spouse of Frank
Salvaterra

Christian Salvaterra, individually, as surviving Child of Frank
Salvaterra

Gabrielle Salvaterra, individually, as surviving Child of Frank
Salvaterra

Isabelle Salvaterra, individually, as surviving Child of Frank
Salvaterra

Carmen Salvaterra, individually, as surviving Sibling of Frank
Salvaterra

Carmen Salvaterra, as the Personal Representative of the Estate
of Antoinetta Salvaterra, deceased, the late Parent of Frank
Salvaterra

Eugenia Bogado, as the Personal Representative of the Estate of
Carlos Samaniego, deceased, on behalf of the Estate, and on
behalf of all survivors and all legally entitled beneficiaries and
family members of Carlos Samaniego

Eugenia Bogado, individually, as surviving Parent of Carlos
Samaniego

Luis Samaniego, individually, as surviving Sibling of Carlos
Samaniego

Lynne San Phillip, as the Personal Representative of the Estate of
Michael San Phillip, deceased, on behalf of the Estate, and on
behalf of all survivors and all legally entitled beneficiaries and
family members of Michael San Phillip

Lynne San Phillip, individually, as surviving Spouse of Michael
San Phillip



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Carrie Spero, individually, as surviving Child of Michael San
Phillip

Jill Abbott, individually, as surviving Child of Michael San
Phillip

Carolyn San Phillip Nanfeldt, individually, as surviving Sibling
of Michael San Phillip

Maria Silverstein-Verhoog, as the Personal Representative of the
Estate of Craig Silverstein, deceased, on behalf of the Estate, and
on behalf of all survivors and all legally entitled beneficiaries
and family members of Craig Silverstein

Maria Silverstein-Verhoog, individually, as surviving Spouse of
Craig Silverstein

Gabrielle Silverstein, individually, as surviving Child of Craig
Silverstein

Cameron Silverstein, individually, as surviving Child of Craig
Silverstein

Laurie Simowitz, as the Personal Representative of the Estate of
Barry Simowitz, deceased, on behalf of the Estate, and on behalf
of all survivors and all legally entitled beneficiaries and family
members of Barry Simowitz

Laurie Simowitz, individually, as surviving Sibling of Barry
Simowitz

Laurie Simowitz, as the Personal Representative of the Estate of
Mollie Simowitz, deceased, the late Parent of Barry Simowitz

Ellen Brotman and Susan Brotman, as the Personal
Representatives of the Estate of Renee Brotman, deceased, the
late Sibling of Barry Simowitz

James P. Slattery, as the Personal Representative of the Estate of
Christopher Paul Slattery, deceased, on behalf of the Estate, and
on behalf of all survivors and all legally entitled beneficiaries
and family members of Christopher Paul Slattery

James P. Slattery, individually, as surviving Parent of
Christopher Paul Slattery


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Linda Slattery, individually, as surviving Parent of Christopher
Paul Slattery

Daniel Slattery, individually, as surviving Sibling of Christopher
Paul Slattery

Erin Slattery-Appelle, individually, as surviving Sibling of
Christopher Paul Slattery

Michael T. Jammen, as the Personal Representative of the Estate
of Heather Smith, deceased, on behalf of the Estate, and on
behalf of all survivors and all legally entitled beneficiaries and
family members of Heather Smith

George Smith, individually, as surviving Parent of Heather Smith

Judy Smith, individually, as surviving Parent of Heather Smith

Chad Michael Smith, individually, as surviving Sibling of
Heather Smith

Yongjin L. Song and Hyungshin K. Song, as the Personal
Representatives of the Estate of Daniel W. Song a/k/a Won-
Hyeong Song, deceased, on behalf of the Estate, and on behalf of
all survivors and all legally entitled beneficiaries and family
members of Daniel W. Song a/k/a Won-Hyeong Song

Yongjin L. Song, individually, as surviving Parent of Daniel W.
Song a/k/a Won-Hyeong Song

Hyungshin K. Song, individually, as surviving Parent of Daniel
W. Song a/k/a Won-Hyeong Song

Frank Song, individually, as surviving Sibling of Daniel W. Song
a/k/a Won-Hyeong Song

Julie Song, individually, as surviving Sibling of Daniel W. Song
a/k/a Won-Hyeong Song

Christina L. Kminek, as the Personal Representative of the Estate
of Mari-Rae Sopper, deceased, on behalf of the Estate, and on
behalf of all survivors and all legally entitled beneficiaries and
family members of Mari-Rae Sopper




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Christina L. Kminek, individually, as surviving Stepsibling of
Mari-Rae Sopper

Frank Kminek, Sr., individually, as surviving Stepparent of
Mari-Rae Sopper

Frank Kminek, Jr., individually, as surviving Stepsibling of
Mari-Rae Sopper

Christopher Kminek, individually, as surviving Stepsibling of
Mari-Rae Sopper

Stacy Lupcho, individually, as surviving Sibling of Mari-Rae
Sopper

Christine Spencer, as the Personal Representative of the Estate of
Robert A. Spencer, deceased, on behalf of the Estate, and on
behalf of all survivors and all legally entitled beneficiaries and
family members of Robert A. Spencer

Christine Spencer, individually, as surviving Spouse of Robert A.
Spencer

Kathryn Spencer, individually, as surviving Child of Robert A.
Spencer

Addison Spencer, individually, as surviving Child of Robert A.
Spencer

Robert Spencer, individually, as surviving Child of Robert A.
Spencer

Robert Spencer, individually, as surviving Parent of Robert A.
Spencer

Elizabeth Richardson, individually, as surviving Sibling of
Robert A. Spencer

Susan Spencer-Craig, individually, as surviving Sibling of
Robert A. Spencer

Jennifer Fosburgh, individually, as surviving Sibling of Robert
A. Spencer




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Michael Spencer, individually, as surviving Sibling of Robert A.
Spencer

Michael Spencer and Jennifer Fosburgh, as the Personal
Representatives of the Estate of Kathryn Hayes, deceased, the
late Sibling of Robert A. Spencer

Hans Ulrich Sutter, as the Personal Representative of the Estate
of Seline Sutter, deceased, on behalf of the Estate, and on behalf
of all survivors and all legally entitled beneficiaries and family
members of Seline Sutter

Hans Ulrich Sutter, individually, as surviving Sibling of Seline
Sutter

Hans Ulrich Sutter, as the Personal Representative of the Estate
of Selina Sutter Derrer, deceased, the late Parent of Seline Sutter

Lorraine Szocik Milazzo, as the Personal Representative of the
Estate of Kevin Szocik, deceased, on behalf of the Estate, and on
behalf of all survivors and all legally entitled beneficiaries and
family members of Kevin Szocik

Lorraine Szocik Milazzo, individually, as surviving Spouse of
Kevin Szocik

Marc Taddonio, as the Personal Representative of the Estate of
Michael Taddonio, deceased, on behalf of the Estate, and on
behalf of all survivors and all legally entitled beneficiaries and
family members of Michael Taddonio

Marc Taddonio, individually, as surviving Sibling of Michael
Taddonio

Danielle Taddonio Miscioscia, individually, as surviving Child
of Michael Taddonio

Nicole Taddonio, individually, as surviving Child of Michael
Taddonio

Michael Taddonio, Jr., individually, as surviving Child of
Michael Taddonio

Richard Taddonio, individually, as surviving Sibling of Michael
Taddonio


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Teresa Martin, individually, as surviving Sibling of Michael
Taddonio

Lisa Crowe, individually, as surviving Sibling of Michael
Taddonio

Marc Taddonio, as the Personal Representative of the Estate of
Josephine Taddonio, deceased, the late Parent of Michael
Taddonio

Marc Taddonio and Richard Taddonio, as the Personal
Representatives of the Estate of Richard Taddonio, deceased, the
late Parent of Michael Taddonio

Jane Terrenzi-Spring, as the Personal Representative of the
Estate of Brian Terrenzi, deceased, on behalf of the Estate, and
on behalf of all survivors and all legally entitled beneficiaries
and family members of Brian Terrenzi

Jane Terrenzi-Spring, individually, as surviving Spouse of Brian
Terrenzi

Elizabeth Terrenzi Spring, individually, as surviving Child of
Brian Terrenzi

Norman Thompson, individually, as surviving Parent of Nigel
Thompson

Patricia Thompson, individually, as surviving Parent of Nigel
Thompson

Mark Thompson, individually, as surviving Sibling of Nigel
Thompson

Neal Thompson, individually, as surviving Sibling of Nigel
Thompson

Basil Thorpe and Valda Binns, as the Personal Representatives
of the Estate of Nichola Angela Thorpe, deceased, on behalf of
the Estate, and on behalf of all survivors and all legally entitled
beneficiaries and family members of Nichola Angela Thorpe

Basil Thorpe, individually, as surviving Parent of Nichola
Angela Thorpe



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Valda Binns, individually, as surviving Parent of Nichola Angela
Thorpe

Sharon Thorpe Hanson, individually, as surviving Sibling of
Nichola Angela Thorpe

Anne Todisco, as the Personal Representative of the Estate of
Richard Todisco, deceased, on behalf of the Estate, and on behalf
of all survivors and all legally entitled beneficiaries and family
members of Richard Todisco

Anne Todisco, individually, as surviving Spouse of Richard
Todisco

Gregory Todisco, individually, as surviving Child of Richard
Todisco

Lisa DeBarbrie, individually, as surviving Child of Richard
Todisco

Tanja Tomasevic Vulin, as the Personal Representative of the
Estate of Vladimir Tomasevic, deceased, on behalf of the Estate,
and on behalf of all survivors and all legally entitled
beneficiaries and family members of Vladimir Tomasevic

Tanja Tomasevic Vulin, individually, as surviving Spouse of
Vladimir Tomasevic

Dorothy Groh-Tompsett, as the Personal Representative of the
Estate of Stephen Tompsett, deceased, on behalf of the Estate,
and on behalf of all survivors and all legally entitled
beneficiaries and family members of Stephen Tompsett

Dorothy Groh-Tompsett, individually, as surviving Spouse of
Stephen Tompsett

Emily Tompsett, individually, as surviving Child of Stephen
Tompsett

Mary Elizabeth Tucker Wadbrook, as the Personal
Representative of the Estate of Michael Tucker, deceased, on
behalf of the Estate, and on behalf of all survivors and all legally
entitled beneficiaries and family members of Michael Tucker




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Mary Elizabeth Tucker Wadbrook, individually, as surviving
Spouse of Michael Tucker

Taylor Tucker, individually, as surviving Child of Michael
Tucker

Gaffney Tucker, individually, as surviving Child of Michael
Tucker

Morgan Tucker, individually, as surviving Child of Michael
Tucker

Alexandra Tucker, individually, as surviving Child of Michael
Tucker

Joan Tucker, individually, as surviving Parent of Michael Tucker

Thomas Tucker, individually, as surviving Parent of Michael
Tucker

Christopher Tucker, individually, as surviving Sibling of Michael
Tucker

John Tucker, individually, as surviving Sibling of Michael
Tucker

Maureen OMalley, individually, as surviving Sibling of Michael
Tucker

Susan Jenkins, individually, as surviving Sibling of Michael
Tucker

Cathy Guba, individually, as surviving Sibling of Michael
Tucker

Jennifer Vauk, as the Personal Representative of the Estate of
Ronald Vauk, deceased, on behalf of the Estate, and on behalf of
all survivors and all legally entitled beneficiaries and family
members of Ronald Vauk

Jennifer Vauk, individually, as surviving Spouse of Ronald Vauk

Meaghan Vauk, individually, as surviving Child of Ronald Vauk

Liam Vauk, individually, as surviving Child of Ronald Vauk


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Dennis Vauk, individually, as surviving Sibling of Ronald Vauk

Lynne Caba, individually, as surviving Sibling of Ronald Vauk

Teresa Masterson, individually, as surviving Sibling of Ronald
Vauk

Patricia Vauk, individually, as surviving Sibling of Ronald Vauk

Charles Vauk, individually, as surviving Sibling of Ronald Vauk

Dennis Vianna and Marilynda Vianna, as the Personal
Representatives of the Estate of Matthew Vianna, deceased, on
behalf of the Estate, and on behalf of all survivors and all legally
entitled beneficiaries and family members of Matthew Vianna

Marilynda Vianna, individually, as surviving Parent of Matthew
Vianna

Dennis Vianna, individually, as surviving Parent of Matthew
Vianna

Christina Vianna Tenaglia, individually, as surviving Sibling of
Matthew Vianna

Nayda Voskerijian, as the Personal Representative of the Estate
of Garo Voskerijian, deceased, on behalf of the Estate, and on
behalf of all survivors and all legally entitled beneficiaries and
family members of Garo Voskerijian

Nayda Voskerijian, individually, as surviving Spouse of Garo
Voskerijian

Shont Voskerijian, individually, as surviving Child of Garo
Voskerijian

Isabelle Voskerijian, individually, as surviving Child of Garo
Voskerijian

Aleene Voskerijian, individually, as surviving Child of Garo
Voskerijian

Zaree Voskerijian, individually, as surviving Sibling of Garo
Voskerijian



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Zaree Voskerijian, as the Personal Representative of the Estate of
Zabel Voskerijian, deceased, the late Parent of Garo Voskerijian

Carol Waldie, as the Personal Representative of the Estate of
Kenneth Waldie, deceased, on behalf of the Estate, and on behalf
of all survivors and all legally entitled beneficiaries and family
members of Kenneth Waldie

Carol Waldie, individually, as surviving Spouse of Kenneth
Waldie

Jonathan Waldie, individually, as surviving Child of Kenneth
Waldie

Meredith Waldie Witherspoon, individually, as surviving Child
of Kenneth Waldie

Andrew Petisce, individually, as surviving Stepchild of Kenneth
Waldie

Jeffrey Waldie, individually, as surviving Child of Kenneth
Waldie

Jane Waldie Wrenshall, individually, as surviving Sibling of
Kenneth Waldie

Mary Louise Waldie Klimm, individually, as surviving Sibling
of Kenneth Waldie

Jack Waldie, individually, as surviving Sibling of Kenneth
Waldie

Grace McGroarty, individually, as surviving Sibling of Kenneth
Waldie

Philip Nicholas Webster, as the Personal Representative of the
Estate of Dinah Webster, deceased, on behalf of the Estate, and
on behalf of all survivors and all legally entitled beneficiaries
and family members of Dinah Webster

Zoe Webster Ghirarduzzi, individually, as surviving Child of
Dinah Webster

Clive Hopwood, as the Personal Representative of the Estate of
Peter Hopwood, deceased, the late Parent of Dinah Webster


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Clive Hopwood, as the Personal Representative of the Estate of
Sonia Hopwood, deceased, the late Parent of Dinah Webster

Marcia Weiss, as the Personal Representative of the Estate of
David T. Weiss, deceased, on behalf of the Estate, and on behalf
of all survivors and all legally entitled beneficiaries and family
members of David T. Weiss

Marcia Weiss, individually, as surviving Spouse of David T.
Weiss

Marcia Weiss, as the Personal Representative of the Estate of
Gina Weiss, deceased, the late Child of David T. Weiss

Patrick Welsh, individually, as surviving Spouse of Deborah
Welsh

Patrick Welsh, as the Personal Representative of the Estate of
Deborah Welsh, deceased, on behalf of the Estate, and on behalf
of all survivors and all legally entitled beneficiaries and family
members of Deborah Welsh

Elizabeth Ann Payne, individually, as surviving Spouse of
William Wilson

Elizabeth Ann Payne, as the Personal Representative of the
Estate of William Wilson, deceased, on behalf of the Estate, and
on behalf of all survivors and all legally entitled beneficiaries
and family members of William Wilson

Benjamin Wong, individually, as surviving Parent of Jennifer
Wong

Benjamin Wong, as the Personal Representative of the Estate of
Jennifer Wong, deceased, on behalf of the Estate, and on behalf
of all survivors and all legally entitled beneficiaries and family
members of Jennifer Wong

Pamela Works, individually, as surviving Spouse of John
Bentley Works

Pamela Works, as the Personal Representative of the Estate of
John Bentley Works, deceased, on behalf of the Estate, and on
behalf of all survivors and all legally entitled beneficiaries and
family members of John Bentley Works


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Allison Noble Works, individually, as surviving Child of John
Bentley Works

Patricia Greene-Wotton, as the Personal Representative of the
Estate of Rodney Wotton, deceased, on behalf of the Estate, and
on behalf of all survivors and all legally entitled beneficiaries
and family members of Rodney Wotton

Patricia Greene-Wotton, individually, as surviving Spouse of
Rodney Wotton

Dorothea Wotton, individually, as surviving Child of Rodney
Wotton

Rodney Wotton, individually, as surviving Child of Rodney
Wotton

Brian E. Wotton, individually, as surviving Sibling of Rodney
Wotton

David Stewart Wotton, individually, as surviving Sibling of
Rodney Wotton

Brian E. Wotton, as the Personal Representative of the Estate of
Jean Wotton, deceased, the late Parent of Rodney Wotton

Brian E. Wotton, as the Personal Representative of the Estate of
Stewart Wotton, deceased, the late Parent of Rodney Wotton

William Wren and Christopher Wren, as the Personal
Representatives of the Estate of William Wren, deceased, on
behalf of the Estate, and on behalf of all survivors and all legally
entitled beneficiaries and family members of William Wren

William Wren and Christopher Wren, as the Personal
Representatives of the Estate of Patricia Wren, deceased, the late
Spouse of William Wren

William Wren, individually, as surviving Child of William Wren

Christopher Wren, individually, as surviving Child of William
Wren

Judith Dalton, individually, as surviving Sibling of William
Wren


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Tricia Marsala, as the Personal Representative of the Estate of
Kathleen Demme, deceased, the late Sibling of William Wren

Kathy A. Cordero, individually

Patricia Cubas-Bielfeld, individually

Virginia DiChiara, individually

Robert Eichele, individually

Kevin Farrell, individually

Michael Henry, individually

James B. Leach, individually

Eric Levine, individually

James McCaffrey, individually

Edward Nicholls, individually

Valecia L. Parker, individually

Kevin Ward, individually

Ling N. Young, individually

BRODER REITER

Cheryl Schneider, as the Executrix of the Estate of Ian
Schnedier, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Ian
Schneider

Cheryl Schneider, individually, as surviving Spouse of Ian
Schneider

Rachel Schneider, individually, as surviving Child of Ian
Schneider

Jacob Schneider, individually, as surviving Child of Ian
Schneider

Sophie Schneider, individually, as surviving Child of Ian


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Schneider

Nancy Dimino, as the Executrix of the Estate of Stephen Dimino,
deceased, and on behalf of all survivors and all legally entitled
beneficiaries and family members of Stephen Dimino

Nancy Dimino, individually, as the surviving Spouse of Stephen
Dimino

Sabrina Dimino, individually, as the surviving Child of Stephen
Dimino

Gigi Dimino-Ebert, invidividually, as the surviving Sibling of
Stephen Dimino

Jonathan T. Connors, as the Executor of the Estate of Jonathan
M. Connors, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Jonathan M.
Connors

Jonathan T. Connors, individually as surviving Child of Jonathan
M. Connors

Jonathan T. Connors, as the Executor of the Estate of Susan
Connors, deceased, who was the surviving Spouse of Jonathan
M. Connors

James Connors, individually as surviving Child of Jonathan M.
Connors

Matilde Salcedo, as the Personal Representative of the Estate of
Esmerlin Salcedo deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Esmerlin
Salcedo

Matilde Salcedo, individually as surviving Spouse of Esmerlin
Salcedo

Amber Salcedo, individually as surviving Child of Esmerlin
Salcedo

Kayla Salcedo, individually as surviving Child of Esmerlin
Salcedo

Markos Salcedo, individually as surviving Child of Esmerlin


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Salcedo

Melody Ann Salcedo, individually as surviving Child of
Esmerlin Salcedo

SCHUTTY

Irene Dickey, as the Personal Representative of the Estate of
Joseph D. Dickey, deceased, and on behalf of all survivors and
all legally entitled beneficiaries and family members of Joseph
D. Dickey

Irene Dickey, individually, as surviving Spouse of Joseph D.
Dickey

Elizabeth Dickey, as surviving Child of Joseph D. Dickey

Joseph Dickey III, as surviving Child of Joseph D. Dickey

Jacqueline Eaton-Garland, as the Personal Representative of the
Estate of Robert E. Eaton, deceased, and on behalf of all
survivors and all legally entitled beneficiaries and family
members of Robert E. Eaton

Jacqueline Eaton-Garland, individually, as surviving Spouse of
Robert E. Eaton

Joanne Kelly, as the Personal Representative of the Estate of
James J. Kelly, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of James J.
Kelly

Joanne Kelly, individually, as surviving Spouse of James J. Kelly

Erin Kelly, as surviving Child of James J. Kelly

Kaitlyn Kelly, as surviving Child of James J. Kelly

Colleen Kelly, as surviving Child of James J. Kelly

Brianne Kelly, as surviving Child of James J. Kelly

Eileen Lynch, as the Personal Representative of the Estate of
Farrell P. Lynch, deceased, and on behalf of all survivors and all



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legally entitled beneficiaries and family members of Farrell P.
Lynch

Eileen Lynch, individually, as surviving Spouse of Farrell P.
Lynch

Kathleen Lynch, as surviving Child of Farrell P. Lynch

Anne Lynch, as surviving Child of Farrell P. Lynch

Meghan Lynch, as surviving Child of Farrell P. Lynch

Lisa O'Brien, as the Personal Representative of the Estate of
Timothy M. O'Brien, deceased, and on behalf of all survivors
and all legally entitled beneficiaries and family members of
Timothy M. O'Brien

Lisa O'Brien, individually, as surviving Spouse of Timothy M.
O'Brien

Jacqueline O'Brien, as surviving Child of Timothy M. O'Brien

John O'Brien, as surviving Child of Timothy M. O'Brien

Madeline O'Brien, as surviving Child of Timothy M. O'Brien

Dara Seaman, as the Personal Representative of the Estate of
Michael H. Seaman, deceased, and on behalf of all survivors and
all legally entitled beneficiaries and family members of Michael
H. Seaman

Dara Seaman, individually, as surviving Spouse of Michael H.
Seaman

Edward Seaman, as surviving Child of Michael H. Seaman

Michaella Belford, as surviving Child of Michael H. Seaman

Mary Fortin, as surviving Child of Michael H. Seaman

Susan Sliwak, as the Personal Representative of the Estate of
Robert F. Sliwak, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Robert F.
Sliwak



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Susan Sliwak, individually, as surviving Spouse of Robert F.
Sliwak

Ryan Sliwak, as surviving Child of Robert F. Sliwak

Nicole Sliwak, as surviving Child of Robert F. Sliwak

Kyle Sliwak, as surviving Child of Robert F. Sliwak

Allison Wallice, as the Personal Representative of the Estate of
John Wallice, Jr., deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of John
Wallice, Jr.

Allison Wallice, individually, as surviving Spouse of John
Wallice, Jr.

Christian Wallice, as surviving Child of John Wallice, Jr.

Patrick Wallice, as surviving Child of John Wallice, Jr.

John Wallice III, as surviving Child of John Wallice, Jr.

Patricia Ryan, as the Personal Representative of the Estate of
John J. Ryan, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of John J.
Ryan

Patricia Ryan, individually, as surviving Spouse of John J. Ryan

Laura Ryan, as surviving Child of John J. Ryan

Colin Ryan, as surviving Child of John J. Ryan

Kristen Breitweiser, as the Personal Representative of the Estate
of Ronald M. Breitwesier, deceased, and on behalf of all
survivors and all legally entitled beneficiaries and family
members of Ronald M. Breitwesier

Kristen Breitweiser, individually, as surviving Spouse of Ronald
M. Breitwesier

Caroline Breitweiser, as surviving Child of Ronald M.
Breitwesier



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BAUMEISTER

Virginia Bauer, as the Personal Representative of the Estate of
W. David Bauer, Jr., deceased, and on behalf of all survivors and
all legally entitled beneficiaries and family members of W.
David Bauer, Jr.

Virginia Bauer, individually, as the surviving Spouse of W.
David Bauer, Jr.

W. David Bauer, III, individually, as the surviving Child of W.
David Bauer, Jr.

Stephen Bauer, individually, as the surviving Child of W. David
Bauer, Jr.

Jacqueline Bauer, individually, as the surviving Child of W.
David Bauer, Jr.

Heidi Bauer-Pollard, as the Personal Representative of the Estate
of Walter D. Bauer, Sr., deceased, as the late surviving Parent of
W. David Bauer, Jr.

Heidi Bauer-Pollard, as the Personal Representative of the Estate
of Dorothy Bauer, deceased, as the late surviving Parent of W.
David Bauer, Jr.

Heidi Bauer-Pollard, individually, as the surviving Sibling of W.
David Bauer, Jr.

Gretchen Abernathy individually, as the surviving Sibling of W.
David Bauer, Jr.

Rosemary Bauer, as the Personal Representative of the Estate of
Robert G. Bauer, deceased, as the late surviving Sibling of W.
David Bauer, Jr.

Lisa Beamer, as the Personal Representative of the Estate of
Todd M. Beamer, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Todd M.
Beamer

Lisa Beamer, individually, as the surviving Spouse of Todd M.
Beamer

David P. Beamer, individually, as the surviving Child of Todd

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M. Beamer

Andrew T. Beamer, individually, as the surviving Child of Todd
M. Beamer

Morgan K. Beamer, individually, as the surviving Child of Todd
M. Beamer

David Beamer, individually, as the surviving Parent of Todd M.
Beamer

Margaret Beamer, individually, as the surviving Parent of Todd
M. Beamer

Melissa Wilson, individually, as the surviving Sibling of Todd
M. Beamer

Michele Beamer-Sorensen, individually, as the surviving Sibling
of Todd M. Beamer

Susan Beatini, as the Personal Representative of the Estate of
Paul F. Beatini, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Paul F.
Beatini

Susan Beatini, individually, as the surviving Spouse of Paul F.
Beatini

Julia Beatini, individually, as the surviving Child of Paul F.
Beatini

Daria Beatini, individually, as the surviving Child of Paul F.
Beatini

Mark Beatini, as the Personal Representative of the Estate of
Michael C. Beatini, deceased, as the late surviving Parent of Paul
F. Beatini

Mark Beatini, as the Personal Representative of the Estate of
Doris Beatini, deceased, as the late surviving Parent of Paul F.
Beatini

Nanda Beatini, as the Personal Representative of the Estate of
Michael L. Beatini, deceased, as the late surviving Sibling of
Paul F. Beatini


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Jeffery P. Pickett, as the Personal Representative of the Estate of
Thomas Beatini, deceased, as the late surviving Sibling of Paul
F. Beatini

Mark Beatini, individually, as the surviving Sibling of Paul F.
Beatini

Nanda Beatini, individually, as the surviving Sibling of Paul F.
Beatini

Pandora Po Bharvaney, as the Personal Representative of the
Estate of Anil T. Bharvaney, deceased, and on behalf of all
survivors and all legally entitled beneficiaries and family
members of Anil T. Bharvaney

Pandora Po Bharvaney, individually, as the surviving Spouse of
Anil T. Bharvaney

Kishore Bharvaney, as the Personal Representative of the Estate
of Govind Bharvaney, deceased, as the late surviving Parent of
Anil T. Bharvaney

Savitri Bharvaney, individually, as the surviving Parent of Anil
T. Bharvaney

Kishore Bharvaney, individually, as the surviving Sibling of Anil
T. Bharvaney

Cathyann Bonnett, as the Personal Representative of the Estate
of Colin Bonnett, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Colin
Bonnett

Cathyann Bonnett, individually, as the surviving Spouse of Colin
Bonnett

Kody Bonnett, individually, as the surviving Child of Colin
Bonnett

Aubrey Parris, individually, as the surviving Parent of Colin
Bonnett

Julia Bonnett, individually, as the surviving Parent of Colin
Bonnett

Heather Bonnett, individually, as the surviving Sibling of Colin

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Bonnett

Deborah Bowden, as the Personal Representative of the Estate of
Thomas H. Bowden, Jr. deceased, and on behalf of all survivors
and all legally entitled beneficiaries and family members of
Thomas H. Bowden, Jr.

Deborah Bowden, individually, as the surviving Spouse of
Thomas H. Bowden, Jr.

Alyson V. Bowden-Hart, individually, as the surviving Child of
Thomas H. Bowden, Jr.

Sara J. Bowden-Hart, individually, as the surviving Child of
Thomas H. Bowden, Jr.

James F. Bowden, individually, as the surviving Sibling of
Thomas H. Bowden, Jr.

Jennifer Henry, as the Personal Representative of the Estate of
Shawn E. Bowman, Jr., deceased, and on behalf of all survivors
and all legally entitled beneficiaries and family members of
Shawn E. Bowman, Jr.

Jennifer Henry, individually, as the surviving Spouse of Shawn
E. Bowman, Jr.

Liam Bowman Henry, individually, as the surviving Child of
Shawn E. Bowman, Jr.

Jack Bowman Henry, individually, as the surviving Child of
Shawn E. Bowman, Jr.

Shawn E. Bowman, Sr., individually, as the surviving Parent of
Shawn E. Bowman, Jr.

Carol A. Bowman, individually, as the surviving Parent of
Shawn E. Bowman, Jr.

James E. Bowman, individually, as the surviving Sibling of
Shawn E. Bowman, Jr.

Jennifer Brennan Waterhouse, as the Personal Representative of
the Estate of Thomas M. Brennan, and on behalf of all survivors
and all legally entitled beneficiaries and family members of


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Thomas M. Brennan

Jennifer Brennan Waterhouse, individually as the surviving
Spouse of Thomas M. Brennan

Catherine Brennan, individually as the surviving Child of
Thomas M. Brennan

Thomas M. Brennan, II, individually as the surviving Child of
Thomas M. Brennan

John O. Brennan and Mary Beth Magee, as the Co-Personal
Representatives of the Estate of Anita Brennan, deceased, as the
late surviving Parent of Thomas M. Brennan

John V. Brennan, individually, as the surviving Parent of
Thomas M. Brennan

John O. Brennan, individually, as the surviving Sibling of
Thomas M. Brennan

Paul Brennan, individually, as the surviving Sibling of Thomas
M. Brennan

Michael Brennan, individually, as the surviving Sibling of
Thomas M. Brennan

Mary Beth Magee, individually, as the surviving Sibling of
Thomas M. Brennan

Laura S. Bustillo, as the Personal Representative of the Estate of
Milton Bustillo, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Milton
Bustillo

Laura S. Bustillo, individually, as the surviving Spouse of Milton
Bustillo

Alessandra Bustillo, individually, as the surviving Child of
Milton Bustillo

Dayna Spordone, individually, as the surviving Stepchild of
Milton Bustillo

Dissa Bustillo, as the Personal Representative of the Estate of
Gilberto Bustillo, Sr., deceased, as the late surviving Parent of

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Milton Bustillo

Margarita Better, individually, as the surviving Parent of Milton
Bustillo

Dissa Bustillo, individually, as the surviving Sibling of Milton
Bustillo

Mirna Bustillo, individually, as the surviving Sibling of Milton
Bustillo

Henry Bustillo, individually, as the surviving Sibling of Milton
Bustillo

Gilberto Bustillo, Jr., individually, as the surviving Sibling of
Milton Bustillo

Elizabeth Candela, as the Personal Representative of the Estate
of John A. Candela, deceased, and on behalf of all survivors and
all legally entitled beneficiaries and family members of John A.
Candela

Elizabeth Candela, individually, as the surviving Spouse of John
A. Candela

John Arthur Candela, individually, as the surviving Child of John
A. Candela

Juliette Candela, individually, as the surviving Child of John A.
Candela

Joseph G. Candela, as the Personal Representative of the Estate
of John C. Candela, deceased, as the late surviving Parent of
John A. Candela

Joseph G. Candela, as the Personal Representative of the Estate
of Phyllis Candela, deceased, as the late surviving Parent of John
A. Candela

Joseph G. Candela, individually, as the surviving Sibling of John
A. Candela

Joan Brady, individually, as the surviving Sibling of John A.
Candela

Valerie Speller, individually, as the surviving Sibling of John A.

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Candela

Thomas Mee, as the Personal Representative of the Estate of
Karen Ann Mee, deceased, as the late surviving Sibling John A.
Candela

Heidi Seelbach, Dutchess County Public Administrator, as the
Personal Representative of the Estate of Edward Carlino,
deceased, and on behalf of all survivors and all legally entitled
beneficiaries and family members of Edward Carlino

Heidi Seelbach, Dutchess County Public Administrator, as the
Personal Representative of the Estate of Marie Carlino, deceased,
as the late surviving Spouse of Edward Carlino

Lisa Torres, individually, as the surviving Child of Edward
Carlino

Leonard Di Vittorio, as the Personal Representative of the Estate
of Mary Carlino, deceased, as the late surviving Parent of
Edward Carlino

Leonard Di Vittorio, as the Personal Representative of the Estate
of Salvatore Carlino, deceased, as the late surviving Parent of
Edward Carlino

Teresa Cunningham, as the Personal Representative of the Estate
of Michael J. Cunningham, deceased, and on behalf of all
survivors and all legally entitled beneficiaries and family
members of Michael J. Cunningham

Teresa Cunningham, individually, as the surviving Spouse of
Michael J. Cunningham

William M. Cunningham, individually, as the surviving Child of
Michael J. Cunningham

Julieanne Cunningham, individually, as the surviving Sibling of
Michael J. Cunningham

Andrew Cunningham, individually, as the surviving Sibling of
Michael J. Cunningham

Paul Cunningham, individually, as the surviving Sibling of
Michael J. Cunningham


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Sean Cunningham, individually, as the surviving Sibling of
Michael J. Cunningham

Bernadette T. Hayes, individually, as the surviving Sibling of
Michael J. Cunningham

Karen D’Ambrosi, as the Personal Representative of the Estate
of Jack L. D’Ambrosi, Jr., deceased, and on behalf of all
survivors and all legally entitled beneficiaries and family
members of Jack L. D’Ambrosi, Jr.

Karen D’Ambrosi, individually, as the surviving Spouse of Jack
L. D’Ambrosi, Jr.

Emily D’Ambrosi, individually, as the surviving Child of Jack L.
D’Ambrosi, Jr.

Jacqueline Scales, individually, as the surviving Child of Jack L.
D’Ambrosi, Jr.

Tina D’Ambrosi, as the Personal Representative of the Estate of
Jack L. D’Ambrosi, Sr., deceased, as the late surviving Parent of
Jack L. D’Ambrosi, Jr.

Denise Bonoli, individually, as the surviving Sibling of Jack L.
D’Ambrosi, Jr.

Dean D’Ambrosi, individually, as the surviving Sibling of Jack
L. D’Ambrosi, Jr.

Mary Danahy, as the Personal Representative of the Estate of
Patrick W. Danahy, deceased, and on behalf of all survivors and
all legally entitled beneficiaries and family members of Patrick
W. Danahy

Mary Danahy, individually, as the surviving Spouse of Patrick
W. Danahy

Alison M. Danahy, individually, as the surviving Child of Patrick
W. Danahy

Kathleen T. Danahy, individually, as the surviving Child of
Patrick W. Danahy

Grace A. Danahy, individually, as the surviving Child of Patrick


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W. Danahy

John DiMeglio, as the Personal Representative of the Estate of
David DiMeglio, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of David
DiMeglio

John DiMeglio, individually, as the surviving Parent of David
DiMeglio

Patti DiMeglio, individually, as the surviving Parent of David
DiMeglio

Daniel DiMeglio, individually, as the surviving Sibling of David
DiMeglio

Sandra V. Felt, as the Personal Representative of the Estate of
Edward P. Felt, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Edward P.
Felt

Sandra V. Felt, individually, as the surviving Spouse of Edward
P. Felt

Adrienne P. Felt, individually, as the surviving Child of Edward
P. Felt

Kathryn Felt, individually, as the surviving Child of Edward P.
Felt

Shirley A. Felt, individually, as the surviving Parent of Edward
P. Felt

Gordon Felt, individually, as the surviving Sibling of Edward P.
Felt

Lawrence Felt, individually, as the surviving Sibling of Edward
P. Felt

Nancy Foster, as the Personal Representative of the Estate of
Noel Foster, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Noel Foster

Nancy Foster, individually, as the surviving Spouse of Noel
Foster


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Megan Foster, an incapacitated adult, as the surviving Child of
Noel Foster, by her mother and legal guardian, Nancy Foster

Nicole Foster, as the surviving Child of Noel Foster

Barbara Gallucci, as the Personal Representative of the Estate of
Vincenzo Gallucci, deceased, and on behalf of all survivors and
all legally entitled beneficiaries and family members of Vincenzo
Gallucci

Barbara Gallucci, individually, as the surviving Spouse of
Vincenzo Gallucci

Alyssa Gallucci, individually, as the surviving Child of Vincenzo
Gallucci

Joseph D. Gallucci, individually, as the surviving Child of
Vincenzo Gallucci

Angela Gallucci, as the Personal Representative of the Estate of
Joseph Gallucci, deceased, as the late surviving Parent of
Vincenzo Gallucci

Angela Gallucci, individually, as the surviving Parent of
Vincenzo Gallucci

Filomena G. Santorelli, individually, as the surviving Sibling of
Vincenzo Gallucci

Michael Giordano, as the Personal Representative of the Estate
of Donna Giordano, deceased, and on behalf of all survivors and
all legally entitled beneficiaries and family members of Donna
Giordano

Michael Giordano, individually, as the surviving Child of Donna
Giordano

Domenick D’Ambola, as the Personal Representative of the
Estate of Jessamine D’Ambola, deceased, as the late surviving
Parent of Donna Giordano

Domenick D’Ambola, individually, as the surviving Parent of
Donna Giordano

Elaine Barrett, individually, as the surviving Sibling of Donna


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Giordano

Lyzbeth Best, as the Personal Representative of the Estate of
Jeremy Glick, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Jeremy
Glick

Lyzbeth Best, individually, as the surviving Spouse of Jeremy
Glick

Emerson Glick, individually, as the surviving Child of Jeremy
Glick

Lloyd Glick, individually, as the surviving Parent of Jeremy
Glick

Joan Glick, individually, as the surviving Parent of Jeremy Glick

Jennifer Glick, individually, as the surviving Sibling of Jeremy
Glick

Jed Glick, individually, as the surviving Sibling of Jeremy Glick

Joanna Danino, individually, as the surviving Sibling of Jeremy
Glick

Jared Glick, individually, as the surviving Sibling of Jeremy
Glick

Jonah Glick, individually, as the surviving Sibling of Jeremy
Glick

Jill Goldstein, as the Personal Representative of the Estate of
Steven Goldstein, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Steven
Goldstein

Jill Goldstein, individually, as the surviving Spouse of Steven
Goldstein

Hanna Goldstein, individually, as the surviving Child of Steven
Goldstein

Harris Goldstein, individually, as the surviving Child of Steven
Goldstein


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Elsa G. Strong, as the Personal Representative of the Estate of
Linda K. Gronlund, deceased, and on behalf of all survivors and
all legally entitled beneficiaries and family members of Linda K.
Gronlund

Elsa G. Strong, as the Personal Representative of the Estate of
Doris Gronlund, deceased, as the late surviving Parent of Linda
K. Gronlund

Marguerite Glidden, as the Personal Representative of the Estate
of Arthur G. Gronlund, deceased, as the late surviving Parent of
Linda K. Gronlund

Elsa G. Strong, individually, as the surviving Sibling of Linda K.
Gronlund

Eileen Hannaford, as the Personal Representative of the Estate of
Kevin J. Hannaford, deceased, and on behalf of all survivors and
all legally entitled beneficiaries and family members of Kevin J.
Hannaford

Eileen Hannaford, individually, as the surviving Spouse of Kevin
J. Hannaford

Kevin J. Hannaford, Jr., individually, as the surviving Child of
Kevin J. Hannaford

Patrick J. Hannaford, individually, as the surviving Child of
Kevin J. Hannaford

Barbara Rachko, as the Personal Representative of the Estate of
Bryan C. Jack, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Bryan C.
Jack

Barbara Rachko, individually, as the surviving Spouse of Bryan
C. Jack

James T. Jack, as the Personal Representative of the Estate of
James H. Jack, deceased, as the late surviving Parent of Bryan C.
Jack

James T. Jack, as the Personal Representative of the Estate of
Helen M. Jack, deceased, as the late surviving Parent of Bryan C.
Jack


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James T. Jack, individually, as the surviving Sibling of Bryan C.
Jack

Thomas S. Johnson, as the Personal Representative of the Estate
of Scott Johnson, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Scott
Johnson

Thomas S. Johnson, individually, as the surviving Parent of Scott
Johnson

Margaret A. Johnson, individually, as the surviving Parent of
Scott Johnson

Margaret Wager, individually, as the surviving Sibling of Scott
Johnson

Margaret Wager, as the Personal Representative of the Estate of
Thomas P. Johnson, deceased, as the late surviving Sibling of
Scott Johnson

Michele Ferrell, as the Personal Representative of the Estate of
Donald T. Jones, II, deceased, and on behalf of all survivors and
all legally entitled beneficiaries and family members of Donald
T. Jones, II

Michele Ferrell, individually, as the surviving Spouse of Donald
T. Jones, II

Donald T. Jones, III, individually, as the surviving Child of
Donald T. Jones, II

Taylor N. Jones, individually, as the surviving Child of Donald
T. Jones, II

Judith Jones, as the Personal Representative of the Estate of
Donald T. Jones, Sr., deceased, as the late surviving Parent of
Donald T. Jones, II

Judith Jones, individually, as the surviving Parent of Donald T.
Jones, II

William B. Jones, individually, as the surviving Sibling of
Donald T. Jones, II

Lori Kane, as the Personal Representative of the Estate of

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Howard Kane, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Howard
Kane

Lori Kane, individually, as the surviving Spouse of Howard
Kane

Jason B. Kane, individually, as the surviving Child of Howard
Kane

Adam Kane, as the Personal Representative of the Estate of
Bruce Kane, deceased, as the late surviving Parent of Howard
Kane

Rochelle Kane, individually, as the surviving Parent of Howard
Kane

Adam Kane, individually, as the surviving Sibling of Howard
Kane

Holly A. Tanz, individually, as the surviving Sibling of Howard
Kane

Rose Keller, as the Personal Representative of the Estate of
Joseph J. Keller, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Joesph J.
Keller

Rose Keller, individually, as the surviving Spouse of Joseph J.
Keller

Joseph D. Keller, individually, as the surviving Child of Joseph
J. Keller

Sydnie Keller, individually, as the surviving Child of Joseph J.
Keller

June Saslow, individually, as the surviving Parent of Joseph J.
Keller

Jennifer Lutz, individually, as the surviving Sibling of Joseph J.
Keller

H. Michael Keden, as the Personal Representative of the Estate
of Adam Lewis, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Adam

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Lewis

Patricia Lewis, individually, as the surviving Spouse of Adam
Lewis

Arthur S. Lewis, individually, as the surviving Child of Adam
Lewis

Caroline Lewis, individually, as the surviving Child of Adam
Lewis

Reilly Lewis, individually, as the surviving Child of Adam Lewis

Sophia Lewis, individually, as the surviving Child of Adam
Lewis

Geraldine Lewis, individually, as the surviving Parent of Adam
Lewis

Kathryn Hebert, individually, as the surviving Sibling of Adam
Lewis

Pamela Passaretta, individually, as the surviving Sibling of
Adam Lewis

Cameron F. MacRae, III, as the Personal Representative of the
Estate of Catherine F. MacRae, deceased, and on behalf of all
survivors and all legally entitled beneficiaries and family
members of Catherine F. MacRae

Cameron F. MacRae, III, individually, as the surviving Parent of
Catherine F. MacRae

Ann B. MacRae, individually, as the surviving Parent of
Catherine F. MacRae

Ann C. MacRae, individually, as the surviving Sibling of
Catherine F. MacRae

Audrey Magnuson, as the Personal Representative of the Estate
of Ronald Magnuson, deceased, and on behalf of all survivors
and all legally entitled beneficiaries and family members of
Ronald Magnuson

Audrey Magnuson, individually, as the surviving Spouse of


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Ronald Magnuson

Jeffrey Magnuson, individually, as the surviving Child of Ronald
Magnuson

Sheryl Magnuson, individually, as the surviving Child of Ronald
Magnuson

Knut Magnuson, individually, as the surviving Sibling of Ronald
Magnuson

James Maher, as the Personal Representative of the Estate of
Jeanne Maher, deceased, as the late surviving Parent of Daniel L.
Maher

Christina Maher, as the Personal Representative of the Estate of
Raymond Maher, deceased, as the late surviving Sibling of
Daniel L. Maher

James Maher, individually, as the surviving Sibling of Daniel L.
Maher

Jeanne Brandofino, individually, as the surviving Sibling of
Daniel L. Maher

Margaret Meyer, as the Personal Representative of the Estate of
David R. Meyer, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of David R.
Meyer

Margaret Meyer, individually, as the surviving Spouse of David
R. Meyer

Dawn Meyer-Fuchs, individually, as the surviving Child of
David R. Meyer

Heidi Menonna, individually, as the surviving Child of David R.
Meyer

Heather Vulpone, individually, as the surviving Child of David
R. Meyer

Kristine Meyer, individually, as the surviving Sibling of David
R. Meyer

Charles Meyer, individually, as the surviving Sibling of David R.

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Meyer

Ellen Robb, as the Personal Representative of the Estate of
Kristen Montanaro, deceased, and on behalf of all survivors and
all legally entitled beneficiaries and family members of Kristen
Montanaro

Ellen Robb, individually, as the surviving Parent of Kristen
Montanaro

Jamie Montanaro and Karen Montanaro, as Co-Personal
Representatives of the Estate of Frank Montanaro, deceased, as
the late surviving Parent of Kristen Montanaro

Jamie Montanaro, as the surviving Sibling of Kristen Montanaro

Karen Montanaro, as the surviving Sibling of Kristen Montanaro

Beth K. Murphy, as the Personal Representative of the Estate of
Kevin Murphy, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Kevin
Murphy

Beth K. Murphy, individually, as the surviving Spouse of Kevin
Murphy

Caitlyn B. Murphy, individually, as the surviving Child of Kevin
Murphy

Connor J. Murphy, individually, as the surviving Child of Kevin
Murphy

Sally Ryan, as the Personal Representative of the Estate of
Timothy F. Murphy, Jr., deceased, as the late surviving Parent of
Kevin Murphy

Sally Ryan, individually, as the surviving Parent of Kevin
Murphy

Michael J. Murphy, individually, as the surviving Sibling of
Kevin Murphy

Mary Beth Dougherty, individually, as the surviving Sibling of
Kevin Murphy

Timothy P. Murphy, individually, as the surviving Sibling of

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Kevin Murphy

John F. Murphy, individually, as the surviving Sibling of Kevin
Murphy

Arlene Orsini, as the Personal Representative of the Estate of
Ronald Orsini, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Ronald
Orsini

Arlene Orsini, individually, as the surviving Spouse of Ronald
Orsini

Danielle Pandolfi, individually, as the surviving Child of Ronald
Orsini

Barbara Stang, individually, as the surviving Sibling of Ronald
Orsini

Pauline Orsini, as the Personal Representative of the Estate of
Robert Orsini, deceased, as the late surviving Sibling of Ronald
Orsini

Joan Parker, as the Personal Representative of the Estate of
Philip L. Parker, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Philip L.
Parker

Joan Parker, individually, as the surviving Spouse of Philip L.
Parker

Stephanie Parker, as the surviving Child of Philip L. Parker

Jennifer Price-Salkever, as the Personal Representative of the
Estate of Jean H. Peterson, deceased, and on behalf of all
survivors and all legally entitled beneficiaries and family
members of Jean H. Peterson

Jennifer Price-Salkever, individually, as the surviving Child of
Jean H. Peterson

Catherine A. Stover, individually, as the surviving Child of Jean
H. Peterson

Grace P. Sherwood, individually, as the surviving Child of Jean


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H. Peterson

Jennifer Price-Salkever, as the Personal Representative of the
Estate of Walter Hoadley, deceased, as the late surviving Parent
of Jean H. Peterson

Jennifer Price-Salkever, as the Personal Representative of the
Estate of Virginia Hoadley, deceased, as the late surviving Parent
of Jean H. Peterson

Nancy Hoadley, as the Personal Representative of the Estate of
Richard Hoadley, deceased, as the late surviving Sibling of Jean
H. Peterson

Margaret Eckert, as the Personal Representative of the Estate of
Sean Rooney, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Sean
Rooney

Margaret Eckert, as the Personal Representative of the Estate of
Beverly Eckert, deceased, as the late surviving Spouse of Sean
Rooney

Cynthia Blest, as the Personal Representative of the Estate of
Rosemary Rooney, deceased, as the late surviving Parent of Sean
Rooney

Cynthia Blest, individually, as the surviving Sibling of Sean
Rooney

Maura Rooney, individually, as the surviving Sibling of Sean
Rooney

Sheila Rooney, individually, as the surviving Sibling of Sean
Rooney

Brendan Rooney, individually, as the surviving Sibling of Sean
Rooney

Brian Rooney, individually, as the surviving Sibling of Sean
Rooney

John Sanders, as the Personal Representative of the Estate of
Stacey Sanders, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Stacey


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Sanders

John Sanders, individually, as the surviving Parent of Stacey
Sanders

Martha Sanders, individually, as the surviving Parent of Stacey
Sanders

Laura Wyatt, individually, as the surviving Sibling of Stacey
Sanders

Tomoko Schlag, as the Personal Representative of the Estate of
Steven Schlag, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Steven
Schlag

Tomoko Schlag, individually, as the surviving Spouse of Steven
Schlag

Dakota Schlag, individually, as the surviving Child of Steven
Schlag

Garrett Schlag, individually, as the surviving Child of Steven
Schlag

Sierra Schlag, individually, as the surviving Child of Steven
Schlag

Patricia Schlag, as the Personal Representative of the Estate of
Donald Schlag, deceased, as the late surviving Parent of Steven
Schlag

Patricia Schlag, individually, as the surviving Parent of Steven
Schlag

Jean Nebbia, individually, as the surviving Sibling of Steven
Schlag

Ellen Hughes, individually, as the surviving Sibling of Steven
Schlag

Suzanne Penavic, as the Personal Representative of the Estate of
Joseph Sisolak, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Joseph
Sisolak


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Suzanne Penavic, individually, as the surviving Spouse of Joseph
Sisolak

Teresa Reller, as the Personal Representative of the Estate of
Anna Powell, deceased, as the late surviving Parent of Joseph
Sisolak

Charles McQuade, as the Personal Representative of the Estate
of Paul Sisolak, deceased, as the late surviving Parent of Joseph
Sisolak

Teresa Reller, individually, as the surviving Sibling of Joseph
Sisolak

Yvonne Sisolak, as the Personal Representative of the Estate of
Thomas Sisolak, deceased, as the late surviving Sibling of Joseph
Sisolak

Mary Smith, as the Personal Representative of the Estate of
Daniel Smith, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Daniel
Smith

Mary Smith, individually, as the surviving Spouse of Daniel
Smith

Elizabeth Smith, individually, as the surviving Child of Daniel
Smith

Michael Smith, individually, as the surviving Child of Daniel
Smith

McCarthy Smith, individually, as the surviving Sibling of Daniel
Smith

Sean P. Smith, individually, as the surviving Sibling of Daniel
Smith

Susan Hicks, individually, as the surviving Sibling of Daniel
Smith

Carol A. Suarez and Manuel T. Suarez, as Co- Personal
Representative of the Estate of David S. Suarez, deceased, and
on behalf of all survivors and all legally entitled beneficiaries
and family members of David S. Suarez


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Carol A. Suarez, individually, as the surviving Parent of David S.
Suarez

Manuel T. Suarez, individually, as the surviving Parent of David
S. Suarez

Bryan A. Suarez, individually, as the surviving Sibling of David
S. Suarez

Kristen M. Carpenter, individually, as the surviving Sibling of
David S. Suarez

Michele Tanner, as the Personal Representative of the Estate of
Michael Tanner, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Michael
Tanner

Michele Tanner, individually, as the surviving Spouse of
Michael Tanner

Gianna Tanner, individually, as the surviving Child of Michael
Tanner

Sasha Butler, individually, as the surviving Child of Michael
Tanner

Renee Abbate, as the Personal Representative of the Estate of
Mary Tanner, deceased, as the late surviving Parent of Michael
Tanner

Renee Abbate, individually, as the surviving Sibling of Michael
Tanner

Kenneth C. Tanner, individually, as the surviving Sibling of
Michael Tanner

Nicole Tanner-D’Ambrosio, individually, as the surviving
Sibling of Michael Tanner

Maria Marasciulo, individually, as the surviving Sibling of
Michael Tanner

Jennifer Tarantino, as the Personal Representative of the Estate
of Kenneth J. Tarantino, deceased, and on behalf of all survivors
and all legally entitled beneficiaries and family members of


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Kenneth J. Tarantino

Jennifer Tarantino, individually, as the surviving Spouse of
Kenneth J. Tarantino

Kenneth James Tarantino, individually, as the surviving Child of
Kenneth J. Tarantino

Jason J. Tarantino, individually, as the surviving Child of
Kenneth J. Tarantino

Amy C. Vasel, as the Personal Representative of the Estate of
Scott Vasel, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Scott Vasel

Amy C. Vasel, individually, as the surviving Spouse of Scott
Vasel

Matthew Vasel, individually, as the surviving Child of Scott
Vasel

Ryan Vasel, individually, as the surviving Child of Scott Vasel

Janyne V. Dembicki, as the Personal Representative of the Estate
of Charles Vasel, deceased, as the late surviving Parent of Scott
Vasel

Janyne V. Dembicki, as the Personal Representative of the Estate
of Mynda Vasel, deceased, as the late surviving Parent of Scott
Vasel

Janyne V. Dembicki, individually, as the surviving Sibling of
Scott Vasel

Kathleen Wisniewski, as the Personal Representative of the
Estate of Alan Wisniewski, deceased, and on behalf of all
survivors and all legally entitled beneficiaries and family
members of Alan Wisniewski

Kathleen Wisniewski, individually, as the surviving Spouse of
Alan Wisniewski

Erica Wisniewski, individually, as the surviving Child of Alan
Wisniewski

Jessica Wisniewski, individually, as the surviving Child of Alan

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Wisniewski

Matthew Wisniewski, individually, as the surviving Child of
Alan Wisniewski

Thomas Warenkiewicz, as Personal Representative of the Estate
of Muriel Wisniewski, deceased, as the late surviving Parent of
Alan Wisniewski

Chiemi York, as the Personal Representative of the Estate of
Kevin York, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Kevin York

Chiemi York, individually, as the surviving Spouse of Kevin
York

Aidan York, individually, as the surviving Child of Kevin York

Connor York, individually, as the surviving Child of Kevin York

Dolores York, as Personal Representative of the Estate of John
York, deceased, as the late surviving Parent of Kevin York

Timothy York, individually, as the surviving Sibling of Kevin
York

Roseann Zisa, as the Personal Representative of the Estate of
Salvatore Zisa, deceased, and on behalf of all survivors and all
legally entitled beneficiaries and family members of Salvatore
Zisa

Roseann Zisa, individually, as the surviving Spouse of Salvatore
Zisa

Christina Zisa, individually, as the surviving Child of Salvatore
Zisa

Joseph S. Zisa, individually, as the surviving Child of Salvatore
Zisa

Rosemarie Martie, as Personal Representative of the Estate of
Joseph Zisa, deceased, as the late surviving Parent of Salvatore
Zisa

Rosemarie Martie, as Personal Representative of the Estate of
Josephine Zisa, deceased, as the late surviving Parent of

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Salvatore Zisa

Anthony Zisa, individually, as the surviving Sibling of Salvatore
Zisa

Jane Z. Presto, individually, as the surviving Sibling of Salvatore
Zisa

Phyllis Kelly, individually, as the surviving Sibling of Salvatore
Zisa

John Does 1-5000,

                              Plaintiffs,
                   v.


AL BARAKAAT EXCHANGE LLC, a/k/a AL BARAKAAT
BANK

DUBAI ISLAMIC BANK

NADA INTERNATIONAL ANSTALT a/k/a YOUSSEF M
NADA & CO GESELLSCHAFT MBH a/k/a YOUSSEF M.
NADA ESTABLISHMENT

TRIPLE-B TRADING COMPANY GmbH

TATEX TRADING GMBHT a/k/a TATEX TRADING GmbH

YOUSSEF M NADA & CO. a/k/a YOUSSEF M NADA & CO
GESELLSCHAFT MBH a/k/a YOUSSEF M. NADA
ESTABLISHMENT

ALBERT FRIEDRICH ARMAND HUBER,
a/k/a AHMED HUBER a/k/a ALBERT HUBER
a/k/a Armand Albert Friedric a/k/a
ARMAND HUBER a/k/a/ AHMAD HUBER-EL BIALI
c/o Nada Management Organization
Viale Stefano Franscini 22,
Lugano CH-6900 TI
Switzerland

ALI GHALEB HIMMAT
Via Posero 2, Campione d’Italia CH-6911,
Switzerland



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AL TAQWA BANK a/k/a BANK AL TAQWA,
a/k/a BANK AL TAQWA LIMITED a/k/a
BANK OF TAQWA LIMITED,
c/o Arthur D. Hanna & Company
10 Deveaux Street
P.O. Box N-4877
Nassau, Bahamas

AL TAQWA TRADE, PROPERTY AND INDUSTRY,
LTD. a/k/a AL TAQWA TRADE, PROPERTY AND
INDUSTRY COMPANY LIMITED, a/k/a
AL TAQWA TRADE, PROPERTY AND
INDUSTRY ESTABLISHMENT a/k/a HIMMAT
ESTABLISHMENT a/k/a HOCHBURG a/k/a
WALDENBURG a/k/a AL TAQWA TRADE,
PROPERTY AND INDUSTRY LIMITED
c/o Asat Trust Reg.,
Altenbach 8
Baduz 9490
Liechtenstein

AKIDA BANK PRIVATE LIMITED

AKIDA INVESTMENT CO. LTD

NADA MANAGEMENT ORGANIZATION, S.A.
Viale Stefano Franscini 22,
Lugano CH-6900 TI
Switzerland

YOUSSEF M. NADA a/k/a YOUSSEFF MUSTAFA
nada a/k/a YOUSSEF NADA
Via Arogno 32
Campione d’Italia 6911 Switzerland

YOUSSEF M. NADA & CO. GESELLSCHAFT,
M.B.H.
c/o Youssef M. Nada
Via Riasc 4
Campione d’Italia 6911 Switzerland

NADA INTERNATIONAL ANSTALT

YOUSSEF M. NADA & CO.

NASCO BUSINESS RESIDENCE

NASCO NASREDDIN HOLDING A.S.

NASCOSERVICE S.R. L.

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NASCOTEX S.A.


NASREDDIN COMPANY NASCO SAS

DI AHMED IDRIS NASREDDIN EC

NASREDDIN FOUNDATION

NASREDDIN GROUP
INTERNATIONAL HOLDING LIMITED

NASREDDIN INTERNATIONAL GROUP LIMITED
HOLDING

AHMAD I. NASREDDIN a/k/a HADJ AHMED
NASREDDIN a/k/a AHMED IDRISS NASREDDIN AND
NASREDDIN GROUP INTERNATIONAL LIMITED
HOLDINGS a/k/a NASREDDIN INTERNATIONAL
GROUP HOLDINGS LIMITED a/k/a NASREDDIN
INTERNATIONAL GROUP LTD.
c/o Rechta Treuhand-Anstalt
Kirkstrasse 39
9490 Vaduz, Liechtenstein

INTERNATIONAL ISLAMIC RELIEF
ORGANIZATION a/k/a ISLAMIC RELIEF
ORGANIZATION a/k/a INTERNATIONAL RELIEF
ORGANIZATION AND INTERNATIONAL ISLAMIC
RELIEF ORGANIZATION (Saudi Arabia) AND
INTERNATIONAL ISLAMIC RELIEF
ORGANIZATION BRANCH OFFICES IN AFRICA
ASIA, EUROPE, CANADA, LATIN AMERICA,
THE CARIBBEAN AND THE UNITED STATES

MUSLIM WORLD LEAGUE,
a/k/a RABITA AL-ALAM AL-ISLAMI a/k/a
ISLAMIC WORLD LEAGUE AND MUSLIM WORLD
LEAGUE OF SAUDI ARABIA AND MUSLIM
WORLD LEAGUE (BUENOS AIRES, ARGENTINA)
AND MUSLIM WORLD LEAGUE (PRESTON,
AUSTRALIA) AND MUSLIM WORLD LEAGUE
(VIENNA, AUSTRIA) AND MUSLIM WORLD
(DHAKA, BANGLADESH) AND MUSLIM WORLD
LEAGUE BUJUMBURA, BURUNDI) AND MUSLIM
WORLD LEAGUE (ETOBICOKE, CANADA) AND
MUSLIM WORLD LEAGUE (MORONI, COMORES)
 AND MUSLIM WORLD LEAGUE (BRAZZAVILLE,
CONGO) AND MUSLIM WORLD LEAGUE
(KOBENHAVEN, DENMARK) AND MUSLIM

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WORLD LEAGUE (MANTES LA JOILE, FRANCE)
AND MUSLIM WORLD LEAGUE (LIBREVILLE,
GABON) AND MUSLIM WORLD LEAGUE
(JAKARTA, INDONESIA) AND MUSLIM WORLD
LEAGUE (ROME, ITALY) AND MUSLIM WORLD
LEAGUE (AMMAN, JORDAN) AND MUSLIM
WORLD LEAGUE (NAIROBI, KENYA) AND
MUSLIM WORLD LEAGUE (KUALA LUMPUR,
MALAYSIA) AND MUSLIM WORLD LEAGUE
(NOUAKCHOTT, MAURITANIA) AND MUSLIM
WORLD LEAGUE (MAURITIUS, MAURITIUS)
AND MUSLIM WORLD LEAGUE (MAPUTO,
MOZAMBIQUE) AND MUSLIM WORLD LEAGUE
(WUSE ABUJA, NIGERIA) AND MUSLIM
WORLD LEAGUE (ISLAMABAD, PAKISTAN)
AND MUSLIM WORLD LEAGUE (MAKATI
CITY, PHILIPPINES) AND MUSLIM WORLD
LEAGUE (MALE, REPUBLIC OF MALDIVES)
AND MUSLIM WORLD LEAGUE (MOSCOW,
RUSSIA) AND MUSLIM WORLD LEAGUE
(MAKKAH, SAUDI ARAB AND
MUSLIM WORLD LEAGUE (DAKAR, SENEGAL)
AND MUSLIM WORLD LEAGUE (DJIBOUTI,
SOMALIA) AND MUSLIM WORLD LEAGUE
(GAUTENG, SOUTH AFRIC AND) MUSLIM
WORLD LEAGUE (KHARTOUM, SUDAN) AND
MUSLIM WORLD LEAGUE (DAR ES
SALAAM, TANZANIA) AND MUSLIM WORLD
LEAGUE (BANGKOK, THAILAND) AND
MUSLIM WORLD LEAGUE (LOME, TOGO)
AND MUSLIM WORLD LEAGUE (PORT OF
SPAIN, TRINIDAD) AND MUSLIM WORLD
LEAGUE (LONDON, U.K.) AND MUSLIM WORLD
LEAGUE (KAMPALA, UGANDA) AND MUSLIM
WORLD LEAGUE (NEW YORK, U.S.A.) AND
MUSLIM WORLD LEAGUE (FALLS CHURCH,
U.S.A.)

SAAR FOUNDATION

RABITA TRUST

AL-HARAMAIN ISLAMIC FOUNDATION,
INC., a/k/a AL-HARAMAIN ISLAMIC FOUNDATION,
a/k/a ISLAMIC AL-HARAMAIN AND
AL HARAMAIN ISLAMIC FOUNDATION
(SAUDI ARABIA) a/k/a AL HARAMAIN
FOUNDATION OF SAUDI ARABIA AND
AL HARAMAIN ISLAMIC FOUNDATION
(AFGHANISTAN) AND AL HARAMAIN
ISLAMIC FOUNDATION (ALBANIA) AND

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AL HARAMAIN ISLAMIC FOUNDATION
(BANGLADESH) AND AL HARAMAIN
ISLAMIC FOUNDATION (BOSNIA
HERZEGOVINA)- AND AL HARAMAIN ISLAMIC
FOUNDATION (ETHIOPIA) AND AL HARAMAIN
ISLAMIC FOUNDATION (INDONESIA) AND
AL HARAMAIN ISLAMIC FOUNDATION
(KENYA) AND AL HARAMAIN ISLAMIC
FOUNDATION (NETHERLANDS) AND AL
HARAMAIN ISLAMIC FOUNDATION
 (PAKISTAN) AND AL HARAMAIN ISLAMIC
FOUNDATION (SOMALIA) AND AL
HARAMAIN ISLAMIC FOUNDATION
(TANZANIA) AND AL HARAMAIN ISLAMIC
FOUNDATION a/k/a AL HARAMAIN ISLAMIC
FOUNDATION, INC. (UNITED STATES)

BENEVOLENCE INTERNATIONAL
FOUNDATION, a/k/a AL BIR AL DAWALIA,
a/k/a AL BIR SOCIETY ORGANIZATION a/k/a
BENEVOLENCE INTERNATIONAL FUND AND
BENEVOLENCE INTERNATIONAL FOUNDATION
CANADA AND BENEVOLENCE INTERNATIONAL
FOUNDATION USA AND BENEVOLENCE
INTERNATIONAL FOUNDATION, INC. AND
BENEVOLENCE INTERNATIONAL FOUNDATION
( SAUDI ARABIA) AND BENVOLENCE
INTERNATIONAL FOUNDATION (BOSNIA-
HERZEGOVINA)

WORLD ASSEMBLY OF MUSLIM YOUTH,
a/k/a WAMY INTERNATIONAL, INC., a/k/a WORLD
ASSOCIATION FOR MUSLIM YOUTH AND WORLD
ASSEMBLY OF MUSLIM YOUTH OF SAUDI
ARABIA AND WORLD ASSEMBLY OF MUSLIM
YOUTH (Riyadh, Saudi Arabia) AND WORLD
ASSEMBLY OF MUSLIM YOUTH (Jeddah, Saudi
Arabia) AND WORLD ASSEMBLY OF MUSLIM
YOUTH (London, United Kingdom) AND WORLD
ASSEMBLY OF MUSLIM YOUTH (Falls Church,
Virginia, USA)

MUWAFFAQ FOUNDATION a/k/a BLESSED RELIEF
FOUNDATION a/k/a BLESSED RELIEF

MAZIN M.H. BAHARETH

HASSAN BAHTZALLAH a/k/a HASSAN A. A.
HAHFZALLAH



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HAMEL AL BARAKATI

YOUSSEF M. NADA a/k/a YOUSSEF NADA a/k/a
YOUSSEF MUSTAFA NADA

ENAAM MAHMOUD ARNAOUT,
a/k/a ABDEL SAMIL, a/k/a ABU MAHMOUD,
a/k/a AMU MAHMOUD AL SURI, a/k/a ABU
MAHMOUD AL HAMAWI

YASSIN ABDULLAH AL QADI a/k/a YASSIN
AL-QADI, a/k/a YASSIN AL-KADI a/k/a
YASIN AL-QADI

                      Defendants.




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PLAINTIFFS’ AMENDED CONSOLIDATED COMPLAINT CONTAINING
    ADDITIONAL ALLEGATIONS FILED PURSUANT TO CMO 2,
                     PARAGRAPH 131
        1.         On September 11, 2001, approximately 2,977 individuals were murdered and

many individuals were injured when nineteen terrorists perpetrated an attack on the United States

that was unprecedented in history. The nineteen terrorists (hereinafter referred to as the "al

Qaeda hijackers" or the "hijackers") were members of a terrorist network known as "al Qaeda."

In a coordinated attack, they hijacked four passenger jet airliners, causing two jets to crash into

the World Trade Center Towers in New York, and a third to crash into the Pentagon Building in

Arlington County, Virginia. The fourth airliner crashed into a field near the town of Shanksville,

Pennsylvania, after innocent passengers challenged the hijackers and prevented them from

reaching their apparent destination in Washington, D.C.

        2.         The attacks of September 11, 2001, were not isolated incidents, but rather a

coordinated effort by the al Qaeda terrorist organization, planned for years by an extensive

network of Islamic militants with the support, aid and assistance of banks, governments, and

individuals. The leader of al Qaeda, Osama bin Laden, has admitted his responsibility for

planning and carrying out the September 11 attacks. The al Qaeda organization, with the aid and

assistance of various individuals, organizations and governments, sponsored, trained, funded,

and supported the hijackers.




1
 This pleading shall not be construed to add any additional allegations or parties against any
dismissed defendants (except additional parties named asserting claims against Dubai Islamic
Bank as set forth in Appendices 1 and 3).

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        3.         Original Plaintiffs,2 through their undersigned attorneys, do hereby bring this

Complaint seeking damages as descendants and as Executor of the Estate of John P. O'Neill,

deceased, against the Defendants arising out of those terrorist attacks. New Plaintiffs, through

their undersigned attorneys, do hereby bring this Complaint seeking damages on behalf of those

estates, family members, and injured persons set forth in Appendices 1, 2, 3, and 4, attached

hereto and incorporated herein by reference, arising out of those same terrorist attacks. Original

Plaintiffs demand judgment against the Defendants jointly and severally, and New Plaintiffs

demand judgment against the Defendants jointly and severally as detailed in the appendices, and,

through their undersigned attorneys, do hereby bring this Complaint seeking damages arising out

of those terrorist attacks, and state as follows:

        4.         Original Plaintiffs are the Estate and immediate family of John P. O'Neill Sr.,

former head of the counterterrorism division of the Federal Bureau of Investigation (“F.B.I.”),

former Special Agent In Charge of the National Security Division of the New York Office of the

FBI and the world's foremost expert on Islamic terrorism and Osama Bin Laden's terror network.

John P. O'Neill, Sr., was killed in the attacks on the World Trade Center ("WTC").

        5.         John P. O'Neill, Sr., became Chief of Security for the World Trade Center less

than two weeks prior to the September 11th attacks. On the morning of September 11, 2001, John


2
  The term “Original Plaintiffs” refers to the Estate of John P. O’Neill, Sr., C. I. O’Neill, J. P.
O’Neill, C. O’Neill, and D. A. O’Neill, the original plaintiffs in this matter. On January 22, 2021
(ECF No. 6601), Judge Netburn recommended substituting Christine O’Neill as the personal
representative for the estate of D. A. O’Neill as a party for D. A. O’Neill and adding the Estate
of John F. O’Neill as a party. On July 31, 2023, Judge Daniels adopted Judge Netburn’s report
(ECF No. 9243). The term “New Plaintiffs” refers to Plaintiffs being added as new parties
through this Amended Consolidated Complaint, dated March 20, 2024. The Estate of John F.
O’Neill is included as a New Plaintiff. The term “Plaintiffs” refers collectively to Original
Plaintiffs and New Plaintiffs.

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P. O'Neill, Sr., was in his office in the WTC South Tower at the time the first plane hit the North

Tower. He immediately left his office and headed to the lobby of the North Tower to determine

what had happened and to assess the damage. A command post was set up in the lobby of the

North Tower from which he was able to direct the rescue efforts of the first emergency

responders. When the second plane hit the South Tower, he returned there to coordinate the

rescue efforts in that building. John P. O'Neill, Sr., was killed when that the South Tower

collapsed.

        6.         On the morning of September 11, 2001, al Qaeda hijackers Mohammed Atta,

Abdul Alomari, Wail al-Shehri, Waleed al-Shehri, and Satam al-Suqami hijacked American

Airlines flight 11, bound from Boston to Los Angeles, and crashed it into the North Tower

(Tower One) of the World Trade Center in New York.

        7.         On the morning of September 11, 2001, al Qaeda hijackers Marwan al-Shehhi,

Fayez Ahmed a/k/a/ Bamihammad Fayez, Ahmed al-Ghamdi, Hazma al- Ghamdi, and Molahd

al-Shehri hijacked United Airlines Flight 175, bound from Boston to Los Angeles, and crashed it

into the South Tower (Tower Two) of the World Trade Center in New York City.

        8.         On the morning of September 11, 2001, al Qaeda hijackers Khalid al-Midhar,

Nawalf al-Hazmi, Salem al-Hazmi, Hani Hanjour, and Majed Moqued hijacked American

Airlines Flight 77, bound from Dulles Airport in Sterling, Virginia, to Los Angeles, California,

and crashed it into the Pentagon in Arlington, Virginia.

        9.         On September 11, 2001, al Qaeda hijackers Zihad Jarrah, Ahmed Al-Haznawi,

Saeed Al-Ghamdi, and Ahmed al-Nami hijacked United Airlines Flight 93, bound from Newark,

New Jersey to San Francisco, California, with the intention of crashing that plane into either the


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United States Capitol building or the White House in Washington, D.C. In a heroic act of

defiance and courage, the passengers of Flight 93 overtook the hijackers, and the plane crashed

near Shanksville, Pennsylvania, prior to reaching its target in Washington, D.C.

        10.        All nineteen (19) hijackers were members of Osama Bin Laden's al Qaeda

network. All of the hijackers received sponsorship, funding, training, and other support through

the al Qaeda network.

                                   JURISDICTION AND VENUE

        11.        Jurisdiction arises pursuant to 28 U.S.C. §§1330(a), 1331 and 1332(a)(2) and 18

U.S.C. §2388. Jurisdiction also arises based on the Named Defendants' violations within the

meaning of 28 U.S.C. §§1605(a)(2), (a)(5) and (a)(7) (the Foreign Sovereign Immunities Act),

28 U.S.C. §1350 ("Alien Tort Act"), the Torture Victim Protection Act, PL 102-256, 106 Stat. 73

(reprinted at 28 U.S.C.A. §1350 note (West 1993)), and 18 U.S.C. §2333. Plaintiffs allege that

both personal and federal question jurisdiction exists and arise pursuant to these laws and

statutes.

        12.        Venue is proper in this District pursuant to 28 U.S.C. §§1391(b)(2), 1391(d),

1391(f)(l), and 1391(f)(3).

                                             PLAINTIFFS

                                      ORIGINAL PLAINTIFFS

        13.        Decedent John P. O'Neill, Sr. was a United States citizen and a resident of the

State of New Jersey. He was killed in the terrorist attack on the World Trade Center Towers in

New York City on September 11, 2001.




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        14.        The Estate of John P. O'Neill, Sr. is the legal entity created to recover damages

on behalf of John P. O'Neill, Sr., deceased, and his heirs-at-law arising from the September 11,

2001 terrorist attack on the World Trade Center. C. I. O'Neill is executor of the Estate of John P.

O'Neill Sr., deceased.

        15.        J. P. O'Neill, Jr., is a United States citizen and a resident of the State of

Maryland. He is the surviving son of John P. O'Neill, Sr., who was killed in the terrorist attack

on the World Trade Center Towers in New York City on September 11, 2001.

        16.        C. I. O'Neill is a United States citizen and a resident of the State of New Jersey.

She is the surviving widow of John P. O'Neill, Sr., who was killed in the terrorist attack on the

World Trade Center Towers in New York City on September 11, 2001.

        17.        C. O'Neill is a United States citizen and a resident of the State of Pennsylvania.

She is the surviving daughter of John P. O'Neill, Sr., who was killed in the terrorist attack on

the World Trade Center Towers in New York City on September 11, 2001.

        18.        D. A. O'Neill was a United States citizen and a resident of the State of New

Jersey. She was the surviving mother of John P. O'Neill, Sr., who was killed in the terrorist

attack on the World Trade Center Towers in New York City on September 11, 2001.

        19.        The Estate of D. A. O’Neill is the legal entity created to recover damages on

behalf of D. A. O’Neill, deceased, and her heirs-at-law arising from the September 11, 2001

terrorist attack on the World Trade Center. C. I. O'Neill is the executor of the Estate of D. A.

O’Neill, deceased.

                                               NEW PLAINTIFFS




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        20.        As indicated at Appendices 1, 2, 3, and 4, each new plaintiff belongs to one or

more of the following groups: (i) the estate representatives or surviving immediate family

members of someone who died at the World Trade Center in New York, NY, the Pentagon

Building in Arlington County, Virginia, or the airliner crash in Shanksville, Pennsylvania, as a

result of the September 11, 2001 Terrorist Attacks that have not previously brought claims

against Defendant Dubai Islamic Bank; (ii) the estate representatives or surviving immediate

family members of someone who died at the World Trade Center in New York, NY, the

Pentagon Building in Arlington County, Virginia, or the airliner crash in Shanksville,

Pennsylvania, as a result of the September 11, 2001 Terrorist Attacks that have not previously

brought claims against Defendants International Islamic Relief Organization, Muslim World

League, World Assembly of Muslim Youth and World Assembly of Muslim Youth International,

and Yassin Kadi; (iii) individuals who suffered non-fatal injuries as a result of the September 11,

2001 Terrorist Attacks who have not previously brought claims against certain Defendants as

indicated in the appendix and thus seek to be added as plaintiffs asserting claims against certain

Defendants as indicated in Appendix 3; and (iv) estate representatives or surviving immediate

family members of someone who died at the World Trade Center in New York, NY, the

Pentagon Building in Arlington County, Virginia, or the airliner crash in Shanksville,

Pennsylvania, as a result of the September 11, 2001 Terrorist attacks or who otherwise suffered

a non-fatal injury as a result of the terrorist attacks who seek to be added as parties against the

defaulted defendants.

        21.        The name, relationship to the injured and/or deceased September 11 victim,

residency, and the general nature of the claim for each plaintiff is listed in the attached


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Appendices 1, 2, 3, and 4 and are incorporated herein as allegations. New Plaintiffs named in

Appendix 1 and 3 include all New Plaintiffs. These plaintiffs assert claims herein against Dubai

Islamic Bank (“DIB”).

        22.        New Plaintiffs named in Appendix 2 are a subset of New Plaintiffs listed in

Appendix 1 and, along with certain New Plaintiffs listed in Appendix 3, include New Plaintiffs

who are also asserting claims herein against Muslim World League (“MWL”), World Assembly

of Muslim Youth and World Assembly of Muslim Youth International (“WAMY”), International

Islamic Relief Organization (“IIRO”), and Yassin Kadi (“Kadi”).

        23.        New Plaintiffs named in Appendix 4 are a subset of New Plaintiffs listed in

Appendix 1, who are Anderson Kill clients, who are also asserting claims against all other

defendants in this action who have not previously been dismissed. This pleading shall not be

construed to add any additional allegations or parties against any dismissed defendant (except

DIB).

                                            DEFENDANTS

        24.        Defendants Al Barakaat Exchange LLC a/k/a al Barakaat Bank, Tatex Trading

GmbH, Triple-B Trading GmbH, Dubai Islamic Bank, Nada International Anstalt a/k/a Yousef

M. Nada & Co Gesellschaft MBH a/k/a Youssef M. Nada Establishment, Youssef M Nada &

Co. Yousef M. Nada & Co Gesellschaft MBH a/k/a Youssef M. Nada Establishment, Albert

Friedrich Armand Huber, a/k/a Ahmed Huber a/k/a Albert Huber a/k/a Armand Albert Friedric

a/k/a Armand Huber a/k/a/ Ahmad Huber-el Biali, Ali Ghaleb Himmat, al Taqwa bank a/k/a

Bank Al Taqwa, a/k/a Bank al Taqwa Limited a/k/a Bank of Taqwa Limited, al Taqwa Trade,

Property and Industry, Ltd. a/k/a al Taqwa Trade, Property and Industry Company Limited, a/k/a


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al Taqwa Trade, Property and Industry Establishment a/k/a Himmat Establishment a/k/a

Hochburg a/k/a Waldenburg a/k/a Al Taqwa Trade, Property and Industry Limited, Akida Bank

Private Limited, Akida Investment Co. Ltd, NADA Management Organization, S.A., Youssef M.

Nada a/k/a Yousseff Mustafa Nada a/k/a Youssef Nada, Youssef M. Nada & CO. Gesekkscgaft,

M.B.H., Nada International Anstalt, Youssef M. Nada & Co., Nasco Business Residence, Nasco

Nasreddin Holding A.S., Nascoservice S.R. L., Nascotex S.A., Nasreddin Company Nasco SAS

DI Ahmed Idris Nasreddin EC, Nasreddin Foundation, Nasreddin Group, International Holding

Limited, Nasreddin International Group Limited Holding, Ahmad I. Nasreddin a/k/a Hadj

Ahmed Nasreddin a/k/a Ahmed Idriss Nasreddin AND Nasreddin Group International Limited

Holdings a/k/a Nasreddin International Group Holdings Limited a/k/a Nasreddin International

Group Ltd., are banks, financial organizations, and companies located all over the world who

have conspired with Osama bin Laden and al Qaeda to raise, launder, transfer, distribute, and

hide funds for Osama bin Laden and al Qaeda in order to support and finance their terrorist

activities including, but not limited to, the September 11th attacks.

        25.        Defendants Mazin M.H. Bahareth, Hassan Bahfzallah a/k/a Hassan A.A.

Hahfzallah, Hamed al- Barakati, Yassin Abdullah al Qadi a/k/a Yassin Al-Qadi a/k/a Yassin al

Kadi a/k/a Yasin al-Qadi, Youssef M. Nada a/k/a Youssef Nada a/k/a Youssef Mustafa Nada,

and Enaam Mahmoud Arnaout a/k/a Abdel Samil a/k/a Abu Mahmoud a/k/a Amu Mahmoud Al

Suri a/k/a Abu Mahmoud Al Hamawi, are all businessmen, bankers, financiers, organizations,

and operatives who have conspired with Osama bin Laden and al Qaeda to raise, launder,

transfer, distribute, and hide funds for Osama bin Laden and al Qaeda in order to support and




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finance their terrorist activities including, but not limited to, the September 11th attacks or

otherwise assisted them in their terrorist activities.

        26.        Defendants International Islamic Relief Organization a/k/a Islamic Relief

Organization a/ka International Relief Organization, (including International Islamic Relief

Organization of Saudi Arabia, as well as any and all subsidiary, affiliate, related and/or branch

offices thereof, including, without limitation, all of the following, each of whom is identified as a

defendant herein International Islamic Relief Organization (Saudi Arabia), and International

Islamic Relief Organization branch/affiliate/subsidiary/related offices in Africa, Asia, Europe,

Canada, the United States of America, Latin America, and the Caribbean) (collectively

“International Islamic Relief Organization” and/or “IIRO”) Muslim World League a/k/a Rabita

Al-Alam Al-Islami a/k/a Islamic World League (including the Muslim World League of Saudi

Arabia, as well as any subsidiary, affiliate, related and/or branch offices thereof, including

without limitation, all of the following, each of whom has been and is identified as a defendant

herein Muslim World League (Buenos Aires, Argentina) AND Muslim World League (Preston,

Australia) AND Muslim World League (Vienna, Austria) AND Muslim World League (Dhaka,

Bangladesh) AND Muslim World League (Bujumbura, Burundi) AND Muslim World League

(Etobicoke, Canada) AND Muslim World League (Moroni, Comores) AND Muslim World

League (Brazzaville, Congo) AND Muslim World League (Kobenhaven, Denmark) AND Muslim

World League (Mantes la Joile, France) AND Muslim World League (Libreville, Gabon) AND

Muslim World League (Jakarta, Indonesia) AND Muslim World League (Rome, Italy) AND

Muslim World League (Amman, Jordan) AND Muslim World League (Nairobi, Kenya) AND

Muslim World League (Kuala Lumpur, Malaysia) AND Muslim World League (Nouakchott,


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Mauritania) AND Muslim World League (Mauritius, Mauritius) AND Muslim World League

(Maputo, Mozambique) AND Muslim World League (Wuse Abuja, Nigeria) AND Muslim World

League (Islamabad, Pakistan) AND Muslim World League (Makati City, Philippines) AND

Muslim World League (Male, Republic of Maldives) AND Muslim World League (Moscow,

Russia) AND Muslim World League (Makkah, Saudi Arab AND ia) Muslim World League

(Dakar, Senegal) AND Muslim World League (Djibouti, Somalia) AND Muslim World League

(Gauteng, South Afric AND) Muslim World League (Khartoum, Sudan) AND Muslim World

League (Dar Es Salaam, Tanzania) AND Muslim World League (Bangkok, ThailAND) AND

Muslim World League (Lome, Togo) AND Muslim World League (Port of Spain, Trinidad) AND

Muslim World League (London, U.K.) AND Muslim World League (Kampala, UgANDa) AND

Muslim World League (New York, U.S.A.) AND Muslim World League (Falls Church, U.S.A.)

(collectively “Muslim World League”)), Saar Foundation, Rabita Trust, Al-Haramain Islamic

Foundation, Inc. a/k/a Al-Haramain Islamic Foundation a/k/a Islamic Al-Haramain (including Al

Haramain Foundation of Saudi Arabia as well as any and all subsidiary, affiliate, related, and/or

branch offices thereof, including, without limitations, all of the following, each of whom is

identified as a defendant herein Al Haramain Islamic Foundation (Saudi Arabia) AND Al

Haramain Islamic Foundation (Afghanistan) AND Al Haramain Islamic Foundation (Albania)

AND Al Haramain Islamic Foundation (Bangladesh) AND Al Haramain Islamic Foundation

(Bosnia-Herzegovina) AND Al Haramain Islamic Foundation (Ethiopia) AND Al Haramain

Islamic Foundation (Indonesia) AND Al Haramain Islamic Foundation (Kenya) AND Al

Haramain Islamic Foundation (Netherlands) AND Al Haramain Islamic Foundation (Pakistan)

AND Al Haramain Islamic Foundation (Somalia) AND Al Haramain Islamic Foundation


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(Tanzania) AND Al Haramain Islamic Foundation a/k/a Al Haramain Islamic Foundation, Inc.

(United States) (collectively “Al Haramain”)), Benevolence International Foundation a/k/a Al

Bir Al Dawalia a/k/a Al Bir Society Organization a/k/a Benevolence International Fund AND

Benevolence International Foundation (Canada) AND Benevolence International Foundation

(USA) AND Benevolence International Foundation, Inc. AND Benevolence International

Foundation (Bosnia-Herzegovina) AND Benevolence International Foundation (Saudi Arabia),

World Assembly of Muslim Youth a/k/a WAMY International, Inc. a/k/a World Association For

Muslim Youth (including World Assembly of Muslim Youth of Saudi Arabia, as well as any and

all subsidiary, affiliate, related and/or branch offices thereof, including without limitation, World

Assembly of Muslim Youth (Riyadh, Saudi Arabia), World Assembly of Muslim Youth (Jeddah,

Saudi Arabia), World Assembly of Muslim Youth (London, United Kingdom) and World

Assembly of Muslim Youth (Falls Church, Virginia, USA) (collectively “World Assembly of

Muslim Youth” or “WAMY”)), and Muwaffaq Foundation a/k/a Blessed Relief Foundation a/k/a

Blessed Relief are all charities and charitable foundations which are used as terrorist fronts to

mask money transfers and provide cover for terrorist operatives and operations.

        27.        These Defendants, located all over the world, conspired with Osama bin Laden, al

Qaeda, Iraq, and the Taliban to raise, launder, transfer, distribute, and hide funds for Osama bin

Laden and al Qaeda in order to support and finance their terrorist activities including but not

limited to, the September 11th attacks. Some of the banks, companies, and charities operate

legitimately but also maintain a secret dual role as al Qaeda front organizations and actively

support its terrorist activities and goals. Some of those organizations are purely a sham front for

al Qaeda.


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        28.        In a similar fashion, some of the individual Defendants operate apparently

legitimate charities, while maintaining a secret dual role as Al Qaeda operatives, and others are

full-fledged members of Al Qaeda who operate openly.



                                     FACTUAL ALLEGATIONS

                             Al Baraka Investment and Development Corporation

        29.        Al Baraka Investment & Development Corporation (or "al Baraka"), a wholly

owned subsidiary of Dallah Albaraka Group LLC, is based in Jeddah, Saudi Arabia. Its

investments include 43 subsidiaries, mainly banks in Arab and Islamic countries. Most of them

are known as or registered as "al Baraka Bank." United States assets include al Baraka Bancorp

Inc. in Chicago, Illinois, and al Baraka Bancorp Inc. in Houston, Texas.

        30.        Dallah Albaraka Group LLC (or "Dallah Albaraka"), a diversified conglomerate

based in Jeddah, Saudi Arabia, is involved in various industries, services and financial activities.

The group includes twenty-three banks in Arab and Islamic countries, in addition to several

investment and financial companies.

        31.        Al Baraka and Dallah Albaraka have played direct roles in funding al Qaeda, in

part, through Defendant al-Haramain, and another terrorist organization, HAMAS.

        32.        The al Baraka Bank provided Osama bin Laden with financial infrastructures in

the Sudan beginning in 1983.

                                          National Commercial Bank

        33.        National Commercial Bank (or "NCB") was founded in 1950. The largest bank in

the Kingdom of Saudi Arabia, Defendant NCB also has several wholly-owned subsidiaries,


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including SNCB Corporate Finance Ltd. in London, SNCB Securities Ltd. in London, and SNCB

Securities Ltd. in New York City through which it operates an international banking enterprise.

        34.        As used herein, National Commercial Bank includes National Commercial Bank

a/k/a National Commercial Bank of Saudi Arabia and SNCB Corporate Finance Ltd and SNCB

Securities Limited.

        35.        Khalid bin Mahfouz was President and CEO of the National Commercial Bank

and remained in that position until 1999. He was also the largest shareholder on NCB. Khalid bin

Salim bin Mahfouz was previously Chief Operating Officer of the Bank of Credit and Commerce

International ("BCCI") from 1986 to 1990.

        36.        NCB has been used by Osama bin Laden and al Qaeda as a financial arm and a

conduit for al Qaeda operations. A 1998 bank audit revealed that, over a ten year period, NCB

funneled $74 million to the Defendant International Islamic Relief Organization. The audit also

revealed a $3 million transfer to Defendant Muwaffaq Foundation, a charity founded by Khalid

bin Salim Mahfouz which supports Osama bin Laden. Former Central Intelligence Agency

Director James Woolsey testified before the Senate Judiciary Committee that bin Mahfouz was

Osama bin Laden's brother-in-law by marriage. Khalid bin Salim Mahfouz has set up various

charity organizations around the world since 1991, many of which are linked to al Qaeda and are

involved in financing Osama bin Laden's al Qaeda operations.

                                     Faisal Islamic Bank - Sudan

        37.        Faisal Islamic Bank was one of the five main founders of al Shamal Islamic Bank.

Mohammed al Faisal al Saud is heavily involved in the sponsorship of terror through Faisal

Islamic Bank - Sudan.


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         38.       Faisal Islamic Bank was implicated in the management of al Qaeda operatives'

bank accounts by the testimony of a former finance manager of al Qaeda during the trial on the

1998 U.S. embassy bombings in Africa.

                                Al-Rajhi Banking and Investment Corporation

         39.       Al-Rajhi Banking & Investment Corporation has a network of nearly 400 branch

offices throughout Saudi Arabia and manages seventeen subsidiaries across the world.

         40.       Al-Rajhi Banking & Investment Corporation is the primary bank for a number of

charities that serve as al Qaeda fronts, including Defendants Al-Haramain Islamic Foundation,

the Muslim World League, and Defendant the International Islamic Relief Organization.

         41.       Sulaiman Abdul Aziz al-Rajhi has a history of financially supporting al Qaeda

terrorists. Upon information and belief, co-conspirators, agents, aiders and abettors of the al-

Rajhi banking scheme to fund or otherwise materially support terrorism include Sulaiman Abdul

Aziz al-Rajhi, and Khalid Sulaiman al-Rajhi. All of these individuals do business in and have a

significant business presence in the United States and are also material sponsors of international

terrorism.

                                     Al Barakaat Exchange LLC

         42.       Defendant Al Barakaat Exchange LLC (or "al Barakaat") is an international

banking enterprise based in Dubai, United Arab Emirates. The United States government

designated al Barakaat and its branches as terrorist entities on November 7, 2001, and froze the

organization's assets. High officials of the U.S. government have testified that the al Barakaat

companies are a principal source of funding, intelligence, and money transfers for Osama bin

Laden.


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                                         Dar al Maal al Islami

        43.        Dar al Maal al Islami (or "House of Islamic Money" or "DMI") is the registered

name for DMI Administrative Services SA and is headquartered in Cointrin, Switzerland. On

October 17, 1983, Prince Mohamed al Faisal al Saud became CEO of DMI.

        44.        As used herein, “Dar Al Maal Islami a/k/a Dar-Al-Mall Al Islami a/k/a Dar Al-

Maal Al-Islami (DMI)” refers to and includes Dar al Maal Administrative Services SA a/k/a

DMI Administrative Services SA and Dar Al Maal Al Islami Trust.

        45.        Under Mohammed al Faisal al Saud's chairmanship, DMI developed banking,

investment and insurance activities in approximately twenty offices around the world.

        46.        His actions and breach of duty have aided, abetted, and provided material

sponsorship of the spread of international terrorism and al Qaeda. DMI has involved itself in al

Qaeda financing through several of its subsidiaries, including but not limited to, Islamic

Investment Bank of the Gulf, Faisal Islamic Bank, Tadamon Islamic Bank, and Al Shamal

Islamic Bank.

        47.        Al Shamal Islamic Bank’s Connection to Saudi Charities and al QaedaAl Shamal

Islamic Bank was formed in the Republic of the Sudan in April 1983, and started operations on

January 2, 1990, in part with a capital contribution of some $50 million by Osama bin Laden. In

or about 1984, Osama bin Laden moved several of his Saudi businesses and assets, or extended

the reach of those businesses and assets, into the Sudan.

        48.        Osama bin Laden and other al Qaeda operatives had bank accounts with al

Shamal Islamic Bank and used al Shamal to fund terrorist activities.




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        49.        In April 1984, al Shamal Islamic Bank issued shares to major shareholders,

among others, al Baraka Investment and Development Corporation and Faisal Islamic Bank.

        50.        The chairman and a major shareholder of al Shamal Islamic Bank is Adel Abdul

Jalil Batterjee, who is also chairman of al-Bir Saudi Organization, whose U.S. Branch,

Benevolence International Foundation is also a front for al Qaeda sponsorship.

        51.        Batterjee was also chairman of a Saudi charity, the World Assembly of Youth

("WAMY"), which is the subject of an F.B.I, investigation for terrorist activities.

                                        Tadamon Islamic Bank

        52.        Tadamon Islamic Bank was formed in Khartoum, Sudan on November 28, 1981.

It has twenty-one different establishments and has several subsidiaries in the Sudan.

        53.        Tadamon Islamic Bank has facilitated, materially sponsored, aided and abetted,

and/or conspired with al Qaeda. According to testimony in the 2001 trial of the 1998 U.S.

embassy bombings in Africa, Tadamon Islamic Bank managed the financial accounts of al Qaeda

operatives.

        54.        Tadamon Islamic Bank is also a shareholder of al Shamal Islamic Bank which is

used extensively to support and finance al Qaeda operations.

                                         Dubai Islamic Bank

        55.        Defendant Dubai Islamic Bank, headquartered in the United Arab Emirates, and is

a shareholder of Baraka Islamic Bank EC, an affiliate of Al Baraka Bank, and is also a

shareholder of Tadamon Islamic Bank of the Sudan.

        56.        Defendant Dubai Islamic Bank has a history of money laundering, including for

Osama bin Laden.



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        57.        Defendant Dubai Islamic Bank is involved in providing financial facilities and

support to terrorists, including those involved in the September 11, 2001 attacks. U.S. authorities

have identified at least $500,000 that flowed from Mustafa Ahmed al-Hisawi's accounts at the

Dubai Islamic Bank to several of the hijackers, including Mohammed Atta and Marwan al-

Shehhi. They used the money to pay for their flight training at two airports and for other

expenses related to the attacks.

                                        Bank al-Taqwa Limited

        58.        Defendant Bank al-Taqwa Limited ("al-Taqwa"), established during the spring of

1988 in Nassau, Bahamas, has been shrouded in secrecy. The actual number and locations of its

branches are unclear, although it is reported to have a presence in some thirty countries.

        59.        Defendant Bank al-Taqwa Limited was founded by members of the Muslim

Brotherhood, including Defendant Youssef Nada, a member of the Egyptian Muslim

Brotherhood for fifty years, and a member of Jamaa al-Islamiye, which is directly tied to al

Qaeda through Dr. Ayman al-Zawahiri, second in command to Osama bin Laden.

        60.        On November 7, 2001, Bank al-Taqwa, its affiliated businesses, and its key

executives were designated as financial supporters of al Qaeda by President George W. Bush.

The President explained that Bank al-Taqwa has helped raise money for, and has shifted money

around the world, for al Qaeda. It also provides terrorists with internet connections, telephone

communications, and shipment of weapons. The President also stated that Bank al-Taqwa skims

money off of transactions and transfers the money to al Qaeda.

        61.        On August 29, 2002, fourteen additional organizations affiliated with Bank al-

Taqwa had their assets frozen for financially aiding and supporting al Qaeda.


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        62.        Defendant Nada International Anstalt is an instrumentality of Defendant al-Taqwa

and is used to aid and abet al Qaeda terror operations.

        63.        Defendant Youssef Nada is or was an executive of Defendant al-Taqwa who is

involved in supporting, aiding and abetting al Qaeda terrorist activities.

                                           Arab Bank, PLC

        64.        Arab Bank, PLC, with branch offices in the U.S., and across the world, operates

an international banking system used regularly by al Qaeda's Spanish cell for transfers of cash to

al Qaeda operatives in many countries.

        65.        Arab Bank, PLC, has materially supported, aided, abetted, and financed al Qaeda.

                                            Saudi American Bank

        66.        Saudi American Bank, based in Riyadh, Saudi Arabia, was formed by royal

decree in 1980, and is the second largest bank in the country. It has U.S. offices in New York.

        67.        Saudi American Bank serves as the bank for the Dallah al Baraka Group, which is

chaired by Saleh Abdullah Kamel, who also has undertaken financial transactions through

Defendant al-Taqwa Bank.

        68.        In 2000, Saudi American Bank participated in the fund raising campaign in Saudi

Arabia for collecting donations to the "heroes of the Al Quds uprising" (Intifada) by providing a

bank account and facilities to receive donations for a committee of charity organizations

including Defendants WAMY, IIRO and the al Haramain Foundation.

                                 Triple-B Trading Gmbh ofRethwisch

        69.        Defendant Triple-B Trading Gmbh of Rethwisch, Germany ("Triple-B"), is

owned by Defendant Abdul-Matin Tatari, who also owns the Hamburg, Germany, firm Tatex



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Trading Gmbh, together with other major shareholders Shahir Abdulraoof Batterjee and

Defendants Mazin M.H. Bahareth and Hassan Bahtzallah. All of these wealthy Saudis are linked

to Defendant Enaam Mahmoud Arnaout.

        70.        Defendant Arnaout, the current Chief Executive Officer of Defendant

Benevolence International Foundation ("BIF"), was criminally indicted for his role in sponsoring

al Qaeda through diversion of charitable funds.

        71.        Defendant BIF and Defendant Arnaout facilitated the travel of an influential

founding member of the al Qaeda network, Mamdouh Mahmud Salim (a/k/a Abu Hajer al Iraqi),

to Bosnia-Herzegovina by indicating that Salim was a director of BIF in or about May 1998.

Salim, arrested in Munich, Germany in February 1999, was associated with Mamoun

Darkanzanli, a former employee of Defendant Tatex Trading GmbH. Darkanzanli has appeared

in a video with several September 11th hijackers made at the wedding of accused September 11th

co-conspirator Said Bahaji, a former friend and fellow student of Mohammed Hady Tatari.

        72.        Defendant Triple-B has hired a number of persons associated with the September

11th hijackers. Hijacker Mohammed Atta was employed by Defendant Tatari for a period of time.

Defendant Tatari is a member of the Syrian Brotherhood.

        73.        Defendant Triple-B and its principal shareholders and associates have materially

supported, aided, abetted, and financed al Qaeda.

                                         Tatex Trading Gmbh

        74.        Defendant Tatex Trading Gmbh, a Hamburg, Germany company, is owned by

Defendant Abdul-Matin Tatari.




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        75.        Among Tatex Trading's principal shareholders are Mohammed Majed Said, a

member of the Syrian National Security Council and a former Director of the Syrian intelligence

service, and Hamed al Barakati of Mecca, Saudi Arabia.

        76.        Defendant Tatex Trading and its principal shareholders and associates have

materially supported, aided, abetted, and financed al Qaeda.

           Youssef M. Nada & Co. and other Financial Organizations and Financiers

        77.        Defendant Youssef M. Nada & Co., a co-conspirator of Defendant Bank al-Taqwa

Limited, has aided, abetted, and materially sponsored and al Qaeda and international terrorism.

Schreiber & Zindel, Dr. Frank Zindel, Engelbert Schreiber, Engelbert Schreiber, Jr., Martin

Wachter, Erwin Wachter, Sercor Treuhand Anstalt, Albert Friedrich Armand Huber, a/k/a

Ahmed Huber a/k/a Albert Huber a/k/a Armand Albert Friedric a/k/a Armand Huber a/k/a/

Ahmad Huber-el Biali, Ali Ghaleb Himmat, al Taqwa bank a/k/a Bank Al Taqwa, a/k/a Bank al

Taqwa Limited a/k/a Bank of Taqwa Limited, al Taqwa Trade, Property and Industry, Ltd. a/k/a

al Taqwa Trade, Property and Industry Company Limited, a/k/a al Taqwa Trade, Property and

Industry Establishment a/k/a Himmat Establishment a/k/a Hochburg a/k/a Waldenburg a/k/a Al

Taqwa Trade, Property and Industry Limited, Akida Bank Private Limited, Akida Investment

Co. Ltd, NADA Management Organization, S.A., Youssef M. Nada a/k/a Yousseff Mustafa

Nada a/k/a Youssef Nada, Youssef M. Nada & CO. Gesekkscgaft, M.B.H., Nada International

Anstalt, Youssef M. Nada & Co., Nasco Business Residence, CenterSAS DI Nasreddin Ahmed

Idris EC, Nasco Nasreddin Holding A.S., Nascoservice S.R. L., Nascotex S.A., BARZAN E-

TIKRITI a/k/a/ Barzan Ibrahim Hasan a/k/a Barzan Ibrahim Hasan al-Tikriti, METALOR a/k/a

La Groupe Metalor a/k/a La Groue Metalor Technologies a/k/a Metalor Group a/k/a Metalor


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Technologies SA, Babca Dek Gottardo a/k/a Banca Del’Gottardo, Nasreddin Company Nasco

SAS DI Ahmed Idris Nasreddin EC, Nasreddin Foundation, Nasreddin Group, International

Holding Limited, Nasreddin International Group Limited Holding, Ahmad I. Nasreddin a/k/a

Hadj Ahmed Nasreddin a/k/a Ahmed Idriss Nasreddin AND Nasreddin Group International

Limited Holdings a/k/a Nasreddin International Group Holdings Limited a/k/a Nasreddin

International Group Ltd., Asat Trust Reg., have aided, abetted, and materially sponsored and al

Qaeda and international terrorism.

        78.        Some of the businesses, banks and charities operate legitimately but also

maintain a secret dual role as Al Qaeda front organizations and actively support its terrorist

activities. Some of those organizations are purely a sham front for Al Qaeda.

        79.        Defendants Al Taqwa and Nada Management Organization are banks who had

their origin in the late 1980’s, during which time the leaders of the Muslim Brotherhood formed

financial management firms and banks called “Al Taqwa” (“Fear of God”), that were dedicated

to the overthrow of Western nations, and the creation of a worldwide Islamic government.

Headquartered in Lugano, Switzerland, with branches in Italy, Algeria, Liechtenstein, Malta,

Panama and the Bahamas, they consist of the Al Taqwa Bank, Al Taqwa Management

Organization SA, Al Taqwa Trade, Property and Industry, Ltd. and The Asat Trust.

        80.        Upon information and belief, the Al Taqwa Defendants have financed and

laundered money for Arab and Islamic political and militant groups including the Algerian

Armed Islamic Group (GIA) and the Egyptian Gala’a al-Islamiya, Islamic terrorist groups with

links to Bin Laden and his Al Qaeda organization. Additionally, international investigations

indicate that Al-Taqwa facilitated the movement of Bin Laden’s money around the world in the


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late 1990’s, a task made easier because its complex structure was designed to prevent scrutiny of

its operations.

         81.       The Al Taqwa Defendants were founded by Defendant Yousef M. Nada, and its

other principals are Defendants Ali G. Himmat, Ahmed Huber and Mohamed Mansour.

Defendants Huber and Mansour are senior members of the Muslim Brotherhood.

         82.       Defendant Al Taqwa Bank is part of Defendant Al Taqwa Trade, Property and

Industry Company which is located in Vaduz, Liechtenstein. This entity is also known as

Himmat Establishment, run by a partner of Nada who, like Nada, is a member of the Egyptian

Islamic Brotherhood. Although Egyptian-born, Mr. Nada is a naturalized citizen of Italy. Mr.

Nada also is a member of Jamaa al-Islamiya, which is directly allied to Al Qaeda through Dr.

Ayman al Zawahiri, second in command to Osama Bin Laden.

         83.       Shortly after dual U.S. Embassy bombings in Kenya and Tanzania by Al Qaeda in

1998, U.S. intelligence agencies tracked telephone contact between Al Taqwa, members of Bin

Laden’s inner circle, and Albert “Ahmed” Huber, a convert to Islam in the 1960’s who has

publicly expressed support for Al Qaeda. Huber has acknowledged that Ahmad I. Nasreddin,

a/k/a Hadj Ahmed Nasreddin, a/k/a Ahmed Idriss Nasreddin, is, in fact, an Al Taqwa founding

member and bank shareholder who was very active in financing and operating the Islamic

Cultural Institute of Milan, which follows the violent teachings of convicted terrorist Omar

Abdul Rahman. The Institute was frequently visited by known Al Qaeda terrorists. Upon

information and belief, the Institute is known in Western intelligence communities as one of the

main Al Qaeda stations in Europe and was used to move weapons, men, and money around the

world.


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        84.        After September 11, 2001, Al Taqwa changed its name to the Nada Management

Organization SA in an attempt to avoid scrutiny. Al Taqwa and the Nada group, as well as their

four principals – Nada, Himmat, Huber, and Mansour, have had their assets frozen and are

believed by the U.S. Department of Justice to be co-conspirators of Al Qaeda.

        85.        A direct link between Iran and the joint activities of Hezbollah and Al Qaeda is

the Al-Taqwa bank of Switzerland and Liechtenstein. The link primarily is through Ahmad

Huber-El Biali (aka Ahmed Huber). Huber is a principal shareholder of Al-Taqwa bank which

was sanctioned by the U.S. government for helping to finance Al Qaeda. Since 1983, Huber has

repeatedly visited Iran. In 1988, Huber first met Youssef Nada in Iran. Nada, an Egyptian

belongs to the Muslim Brotherhood. Like Nada, Huber embraced the Muslim Brotherhood. At a

conference in Iran in 1988, Nada asked Huber to participate in the founding of al-Taqwa.Al-

Taqwa bank has been been a funding source for activities involving Hamas, which has received

direct funding from Iran. Hamas, an outgrowth of Palestinian Muslim Brotherhood founder

Abdullah Azzam, is closely associated with Hezbollah. Azzam, along with Osama bin Laden,

were cofounders of the Maktab al-Khidamir (MAK), a precursor to Al Qaeda. Iran is known to

have appointed Hezbollah’s terrorist chief, Imad Mughniyeh as coordinator of Iran’s activities

with the Hamas and the Palestinian Islamic Jihad in Lebanon.

        86.        Asat Trust Reg. of Baduz, Liechtenstein, is another money laundering

organization whose assets were frozen after the events of September 11, 2001. Defendant Yousef

M. Nada founded and operated Asat Trust Reg.




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         COUNCIL ON AMERICAN ISLAMIC RELATIONS (CAIR) and CAIR CANADA

        87.        Council on American Islamic Relations and CAIR Canada (collectively, CAIR),

have aided, abetted, and materially sponsored and al Qaeda and international terrorism. CAIR is

an outgrowth of the Hamas front group the Islamic Association of Palestine. The FBI's former

associate director in charge of Investigative and Counter-Intelligence Operations described the

Islamic Association of Palestine as an organization that has directly supported Hamas military

goals and is a front organization for Hamas that engages in propaganda for Islamic militants. It

has produced videotapes that are very hate-filled, full of vehement propaganda. It is an

organization that has supported direct confrontation.

        88.        CAIR and CAIR-Canada have, since their inception, been part of the criminal

conspiracy of radical Islamic terrorism. These organizations play a unique role in the terrorist

network. They emanate from the notorious HAMAS terrorist organization and like so many of

the terrorism facilitating charities named and indicted by the United States government they are

engaged in fund raising under the guise of assisting humanitarian causes they are, in reality, a

key player in international terrorism. The unique role played by CAIR and CAIR-Canada is to

manipulate the legal systems of the United States and Canada in a manner that allows them to

silence critics, analysts, commentators, media organizations, and government officials by

leveling false charges of discrimination, libel, slander and defamation. In addition, both

organizations have actively sought to hamper governmental anti-terrorism efforts by direct

propaganda activities aimed at police, first-responders, and intelligence agencies through so-

called sensitivity training. Their goal is to create as much self-doubt, hesitation, fear of name-




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calling, and litigation within police departments and intelligence agencies as possible so as to

render such authorities ineffective in pursuing international and domestic terrorist entities.

        89.        The role of CAIR and CAIR-Canada is to wage PSYOPS (psychological warfare)

and disinformation activities on behalf of Whabbi-based Islamic terrorists throughout North

America. They are the intellectual “shock troops” of Islamic terrorism. In the years and months

leading up to the terrorist attacks on September 11, 2001 these organizations were very effective

in helping to ensure that North American law enforcement and intelligence officials were

sufficiently deaf, dumb, and blind to help pave the way for the attacks on the United States. The

role played by these entities is an absolutely essential part of the mix of forces arrayed against

the United States as they help soften-up targeted countries so as to facilitate and enhance the

likelihood for a successful attack.

                               International Islamic Relief Organization

        90.        The International Islamic Relief Organization (“IIRO”) a/k/a Islamic Relief

Organization a/k/a International Relief Organization refers to and includes the International

Islamic Relief Organization of Saudi Arabia, as well as any and all subsidiary, affiliate, related

and/or branch offices thereof, including, without limitation, all of the following, each of whom

has been and is identified as a defendant herein International Islamic Relief Organization (Saudi

Arabia) and International Islamic Relief Organization branch offices and/or subsidiaries or

affiliates or related parties, in Africa, Asia, Europe, Canada, the United States of America, Latin

America and the Caribbean.

        91.        Defendant International Islamic Relief Organization ("IIRO") has materially

supporter terror around the globe, including Osama bin Laden and al Qaeda. IIRO's office in the


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Philippines is headed by Osama bin Laden's brother-in-law and has acted as a center of terrorist

financing and training activity worldwide. IIRO was involved in funding the 1993 WTC

bombing and the 1998 embassy bombings in East Africa, as well as plots to destroy the Lincoln

Tunnel and the Brooklyn Bridge, to assassinate President Bill Clinton and Pope John Paul II, and

to blow up twelve American airplanes simultaneously.

        92.        ERG sister organizations, the International Relief Organization ("IRO") and the

Success Foundation, circulate money with the ERG in the course of funding terror operations.

The Secretary of the Success Foundation, Abdurahman Alamoudi, has openly supported

HAMAS and Hezbollah, both designated Foreign Terrorist Organizations.

        93.        Defendant IIRO's parent organization, Defendant Muslim World League, has

been infiltrated by Osama bin Laden and al Qaeda associates.

        94.        Defendant IIRO's major financing comes from Saudi Arabia, King Fahd, and the

royal family.

        95.        Defendant IIRO works in concert with other charities, including Defendants BIF

and WAMY, to fund and support al Qaeda.

        96.        Defendant IIRO also supported and funded the Taliban in Afghanistan, which in

turn provided sanctuary to Osama bin Laden and al Qaeda.

                                        Muslim World League

        97.        As referred to herein, Defendant “Muslim World League a/k/a Rabita Al-Alam

Al-Islami a/k/a Islamic World League” (“MWL”) refers to and include the Muslim World

League of Saudi Arabia, as well as any subsidiary, affiliate, related and/or branch offices thereof,

including without limitation, all of the following, each of whom has been and is identified as a


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defendant herein Muslim World League (Buenos Aires, Argentina) AND Muslim World League

(Preston, Australia) AND Muslim World League (Vienna, Austria) AND Muslim World League

(Dhaka, Bangladesh) AND Muslim World League (Bujumbura, Burundi) AND Muslim World

League (Etobicoke, Canada) AND Muslim World League (Moroni, Comores) AND Muslim

World League (Brazzaville, Congo) AND Muslim World League (Kobenhaven, Denmark) AND

Muslim World League (Mantes la Joile, France) AND Muslim World League (Libreville, Gabon)

AND Muslim World League (Jakarta, Indonesia) AND Muslim World League (Rome, Italy) AND

Muslim World League (Amman, Jordan) AND Muslim World League (Nairobi, Kenya) AND

Muslim World League (Kuala Lumpur, Malaysia) AND Muslim World League (Nouakchott,

Mauritania) AND Muslim World League (Mauritius, Mauritius) AND Muslim World League

(Maputo, Mozambique) AND Muslim World League (Wuse Abuja, Nigeria) AND Muslim World

League (Islamabad, Pakistan) AND Muslim World League (Makati City, Philippines) AND

Muslim World League (Male, Republic of Maldives) AND Muslim World League (Moscow,

Russia) AND Muslim World League (Makkah, Saudi Arab AND ia) Muslim World League

(Dakar, Senegal) AND Muslim World League (Djibouti, Somalia) AND Muslim World League

(Gauteng, South Afric AND) Muslim World League (Khartoum, Sudan) AND Muslim World

League (Dar Es Salaam, Tanzania) AND Muslim World League (Bangkok, ThailAND) AND

Muslim World League (Lome, Togo) AND Muslim World League (Port of Spain, Trinidad) AND

Muslim World League (London, U.K.) AND Muslim World League (Kampala, Ugandaa) AND

Muslim World League (New York, U.S.A.) AND Muslim World League (Falls Church, U.S.A.)

(collectively “Muslim World League”).




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        98.        Defendant Muslim World League, founded in 1962 in Saudi Arabia, is the parent

organization of Defendant IIRO, and it uses the DRO as an operational arm.

        99.        Defendant MWL is funded, supported, financed, and controlled by government of

Saudi Arabia.

        100.       Defendant MWL has numerous connections to al Qaeda operatives. Osama bin

Laden's brother-in-law, Jamal Khalifa, opened a MWL office in Pakistan for the purpose of

providing an umbrella under which al Qaeda could operate there freely. Wa'el Jalaidan, named

by the U.S. Treasury Department as one of the founders of al Qaeda, headed the MWL office is

Peshawar, Pakistan, and also served as the Secretary-General of the Defendant Rabita Trust.

Wadih el-Hage, convicted for his role in the 1998 U.S. Embassy bombings in Africa, stated at his

trial that he also worked for MWL in Peshawar. Diab Ali, another al Qaeda operative, now in a

U.S. prison, and who played a major role in the U.S. Embassy bombings and who piloted Osama

bin Laden's personal jet, also worked for the MWL.

                                         SAAR Foundation

        101.       Defendant SAAR Foundation ("SAAR") was formed in the 1970' s by a group of

Muslim scholars and scientists from the Middle East and Asia. Incorporated in Herndon,

Virginia, a suburb of Washington, D.C., as a 501c (3) non-profit organization on July 29, 1983, it

was dissolved as of December 28, 2000.

        102.       The SAAR Foundation reported revenues of over $1.7 billion in 1998, more than

any U.S. charity has ever generated. Yet SAAR does not reach out publicly to potential donors,

keeping a low public profile.




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        103.       SAAR was a long-time financially supporter of terrorism. According to the

Virginia Secretary of State Corporate Records, there are more than one hundred affiliated

organizations registered or doing business at just one of SAAR's addresses in Herndon, Virginia.

Most of these organizations do not maintain a physical presence there, or anywhere. The SAAR

network is a sophisticated arrangement of front groups for fundamentalist Islamic terrorist

organizations. After September 11, 2001, the SAAR network was raided under a search warrant

by the U.S. Treasury Department's Operation Greenquest looking for "potential money

laundering and tax evasion activities and their ties to terrorist groups such as ... al Qaeda as well

as individual terrorists . . . (including) Osama bin Laden."

        104.       Two SAAR executives were former executives at Defendant Bank al-Taqwa .

Two others worked for Defendant Youssef M. Nada, the head of al-Taqwa, whose assets were

frozen along with al-Taqwa. Other SAAR associates were implicated in the 1998 U.S. Embassy

bombins in East Africa.

        105.       The SAAR network is closely intertwined with Defendants IIRO, MWL, and

other related charities.

                                              Rabita Trust

        106.       Defendant Rabita Trust is a charitable organization created in 1988 jointly by the

government of Pakistan and the Defendant MWL to organize the repatriation and rehabilitation

of stranded Pakistanis (Biharis) from Bangladesh. During its 15-year existence it has managed to

relocate only a few hundred Biharis.




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         107.      Defendant Rabita Trust is a front for al Qaeda, and its head, Wa'el Jalaidan, is one

of the founders of al Qaeda and its logistics chief. He is a long-time associate of Osama bin

Laden.

         108.      A subsidiary of the MWL, Defendant Rabita Trust is connected to the SAAR

Network through its officers.

         109.      Defendant Rabita Trust was designated by President George W. Bush as a

"Specially Designated Global Terrorist Entity, and its assets have been frozen by the U.S.

Treasury Department.

                                Al-Haramain Islamic Foundation, Inc.

         110.      Referred to herein, defendant “Al-Haramain Islamic Foundation, Inc. a/k/a Al-

Haramain Islamic Foundation a/k/a Islamic Al-Haramain” refers to and includes the Al

Haramain Foundation of Saudi Arabia, as well as any and all subsidiary, affiliate, related and/or

branch offices thereof, including without limitation, all of the following, each of whom has been

and is identified as a defendant herein Al Haramain Islamic Foundation (Saudi Arabia) AND Al

Haramain Islamic Foundation (Afghanistan) AND Al Haramain Islamic Foundation (Albania)

AND Al Haramain Islamic Foundation (Bangladesh) AND Al Haramain Islamic Foundation

(Bosnia-Herzegovina) AND Al Haramain Islamic Foundation (Ethiopia) AND Al Haramain

Islamic Foundation (Indonesia) AND Al Haramain Islamic Foundation (Kenya) AND Al

Haramain Islamic Foundation (NetherlANDs) AND Al Haramain Islamic Foundation (Pakistan)

AND Al Haramain Islamic Foundation (Somalia) AND Al Haramain Islamic Foundation

(Tanzania) AND Al Haramain Islamic Foundation a/k/a Al Haramain Islamic Foundation, Inc.

(United States) (collectively “Al Haramain”).


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        111.       Defendant al-Haramain Islamic Foundation, Inc. ("al-Haramain"), based in

Riyadh, Saudi Arabia, is a private charitable organization that is supposed to provide a variety of

humanitarian services to Muslims worldwide. It has a vast network of offices and representatives

spanning fifty nations. Defendant al-Haramain raises most of its funds in Saudi Arabia, and it is

controlled from its Riyadh headquarters.

        112.       Defendant al-Haramain is a charity front for al Qaeda and Osama bin Laden and

provides direct material support to al Qaeda. In December 1999, al-Haramain conducted a joint

fundraising event with Defendants ERG and WAMY in Riyadh.

        113.       Defendant al-Haramain's branch in Ashland, Oregon, is specifically linked to al

Qaeda operations.

        114.       The U.S. government has designated two al-Haramain branches, in Bosnia and

Somalia, as terrorist entities and has frozen the assets of both because they are clearly linked to

terrorist financing. Both branches are controlled, including their funding, management, and

direction, by the central al-Haramain headquarters in Riyadh, Saudi Arabia.

        115.       Defendant al-Haramain's branch in Jakarta, Indonesia, is the main financial

mechanism for funding terrorist operations in the region, including those of al Qaeda affiliate

Jemaah Islamiye, and has played a role in terrorist attacks in that country.

        116.       Defendant al-Haramain was banned from Kenya after the 1998 U.S. Embassy

bombings. Osama bin Laden and al Qaeda were indicted and convicted in the United States for

plotting and executing these dual attacks in East Africa.




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        117.       Defendant al-Haramain uses its humanitarian mission to disguise its financing of

terrorist operations. It disguises the terrorist funds as, among other things, money for projects

such as orphanage or Islamic school projects and mosque construction.

                                Benevolence International Foundation

        118.       As referred to herein, defendant “Benevolence International Foundation” (“BIF”)

a/k/a Al Bir Al Dawalia a/k/a Al Bir Society Organization a/k/a Benevolence International Fund,

also refers to and includes Benevolence International Foundation of Saudi Arabia, as well as any

and all subsidiary, affiliate, related and/or branch offices thereof, including without limitation, all

of the following, Benevolence International Foundation (Bosnia-Herzegovina). Benevolence

International Foundation (Canada), Benevolence International Foundation (Saudi Arabia), and

Benevolence International Foundation (United States)

        119.       Defendant Benevolence International Foundation ("BIF"), was originally founded

in the 1980's by a wealthy Saudi Arabian, Adel Abdul Jalil Batterjee, an associate of Osama bin

Laden. It is headquartered in Palos Hills, Illinois, and has offices in numerous Asian countries. It

purports to be an international charity, but is actually an al Qaeda affiliate engaged in support of

terrorist activities.

        120.       One of BIF's directors is Defendant Adel Abdul Jalil Batterjee; Defendant Enaam

Arnaout, a known associate of Osama bin Laden's, has also been affiliated with BIF.

        121.       Defendant BIF is tightly connected with Defendant WAMY, sharing the same

leadership and working together on many projects, including support for al Qaeda and its

terrorist operations. One such project was the publication of a biography of Osama bin Laden

and the origins of the al Qaeda network.


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        122.       Defendant BIF has been deeply involved in financing, supporting, and facilitating

al Qaeda terror operations through provision of money, equipment, and information, and by

concealing and fabricating information and evidence concerning same.

        123.       Defendant BIF's involvement in support and financing for al Qaeda terrorist

operations is disguised as charitable activities.

                                   World Assembly of Muslim Youth

        124.       As referred to herein, World Assembly of Muslim Youth a/k/a WAMY

International, Inc. a/k/a World Association For Muslim Youth includes World Assembly of

Muslim Youth of Saudi Arabia, as well as any and all subsidiary, affiliate, related and/or branch

offices thereof, including without limitation, World Assembly of Muslim Youth (Riyadh, Saudi

Arabia), World Assembly of Muslim Youth (Jeddah, Saudi Arabia), World Assembly of Muslim

Youth (London, United Kingdom) and World Assembly of Muslim Youth (Falls Church,

Virginia, USA) (collectively “World Assembly of Muslim Youth” or “WAMY”),

        125.       Defendant World Assembly of Muslim Youth ("WAMY") is tightly connected

with Defendant BIF, sharing the same leadership and working together on many projects,

including support for al Qaeda and its terrorist operations. One such project was the publication

of a biography of Osama bin Laden and the origins of the al Qaeda network.

        126.       Defendant WAMY is an al Qaeda front. In particular, it is involved in the

production and/or distribution of al Qaeda training manuals, propaganda, and hate literature

aimed against Americans, Christians, and Jews.




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                                         Muwaffaq Foundation

        127.       Defendant Muwaffaq Foundation, or "Blessed Relief," is a nominally charitable

organization which is, in fact, a supporter of Osama bin Laden and al Qaeda. Muwaffaq

Foundation was founded by Khalid bin Salim bin Mahfouz, who was dismissed from National

Commercial Bank after a bank audit revealed a $53 million transfer to Muwaffaq Foundation.

Upon information and belief, such funds were channeled to al Qaeda.

        128.       Attached hereto as Exhibits and incorporated herein as if set forth at length are the

following More Definite Statements/Additional Allegations

                   A)     More Definite Statement/Additional Allegations - Victims List

                   B)     More Definite Statement/Additional Allegations- International Islamic

                          Relief Organization

                   C)     More Definite Statement/Additional Allegations – Muslim World League

                   D)     More Definite Statement/Additional Allegations – Saleh Abdullah Kamel

                   E)     More Definite Statement/Additional Allegations- Asat Trust Reg.

                   F)     More Definite Statement/Additional Allegations - Arab Bank, PLC

                   G)     More Definite Statement/Additional Allegations- National Commercial

                          Bank, et al.

                   H)     More Definite Statement/Additional Allegations- Council on American –

                          Islamic Relations (CAIR) and CAIR- Canada

                   I)     More Definite Statement/Additional Allegations- Al Haramain Islamic

                          Foundation, Inc. et al.

                   J)     More Definite Statement/Additional Allegations- Dubai Islamic Bank


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                   K)   More Definite Statement/Additional Allegations- Erwin Wachter

                   L)   More Definite Statement/Additional Allegations- Martin Wachter

                   M)   More Definite Statement/Additional Allegations- Schreiber & Zindel,

                        Frank Zindel, Engelbert Schreiber, and Engelbert Schreiber, Jr.

                   N)   More Definite Statement/Additional Allegations- Sercor Trehand Anstalt

                   O)   More Definite Statement/Additional Allegations - Banca Del Gottardo

                   P)   More Definite Statement/Additional Allegations- Dar Al Maal Al Islami et

                        al.

                   Q)   More Definite Statement/Additional Allegations- Abdularaoof Batterjee

                   R)   More Definite Statement/Additional Allegations -Abdul Matin Tatari

                   S)   More Definite Statement/Additional Allegations- Triple – B Trading Co

                        GmbH

                   T)   More Definite Statement/Additional Allegations- Al Baraka Investment &

                        Development Corp. et al.

                   U)   More Definite Statement/Additional Allegations- Rabita Trust

                   V)   More Definite Statement/Additional Allegations- Saudi American Bank

                   W)   More Definite Statement/Additional Allegations -Tatex Trading GMBT

                   X)   More Definite Statement/Additional Allegations- Akida Investment Co,

                        Limited

                   Y)   More Definite Statement/Additional Allegations- World Assembly of

                        Muslim Youth (WAMY)

                   Z)   More Definite Statement/Additional Allegations- Hamed Al Barakati


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                   AA)    More Definite Statement/Additional Allegations- Akida Private Bank

                          Limited

                   AB)    More Definite Statement/Additional Allegations- Sulaiman Abdul Aziz

                          AL Rajhi

                   AC)    More Definite Statement/Additional Allegations- Yassin Abdullah Al-

                          Qadi

                   AD)    More Definite Statement/Additional Allegations- Faisal Islamic Bank

                   AE)    More Definite Statement/Additional Allegations- Khalid Bin Mahfouz

                   AF)    More Definite Statement/Additional Allegations Applicable to Al Rajhi

                          Banking and Investment Corporation of December, 2004

                   AG)    More Definite Statement/Additional Allegations Applicable to

                          Mohammed Al Faisal Al Saud of March, 2005

                                                CLAIMS

                                             COUNT ONE

                               TORTURE VICTIM PROTECTION ACT

        129.       Plaintiffs incorporate herein by reference the averments contained in the

preceding paragraphs as though fully set forth at length.

        130.       The actions of the Defendants, as described above, subjected the Decedents and

injured persons to torture and/or extrajudicial killing within the meaning of the Torture Victim

Protection Act, Pub.L. 102-256, 106 Stat. 73 (reprinted at 28 U.S.C.A. §1350 note (West 1993)).




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        131.       In carrying out the extrajudicial torture and killings of the Decedents and/or

injured persons, the actions of each Defendant were conducted under actual or apparent

authority, or under color of law.

        132.       As a result of the Defendants' violation of the Torture Victim Protection Act,

Plaintiffs suffered damages as fully set forth in the paragraphs above which are incorporated

herein by reference.

                   WHEREFORE, Plaintiffs demand judgment in their favor against all Defendants

that Plaintiffs are asserting claims against herein, jointly, severally, and/or individually, in an

amount in excess of Four-Hundred Billion Dollars ($400,000,000,000) plus interest, costs, and

such other monetary and equitable relief as this Honorable Court deems appropriate to prevent

the Defendants from ever again committing the terrorist acts of September 11, 2001, or similar

acts.

                                             COUNT TWO

                                      ALIEN TORT CLAIMS ACT

        133.       Plaintiffs incorporate herein by reference the averments contained in the

preceding paragraphs as though fully set forth at length.

        134.       As set forth above, the Defendants, jointly and severally, caused the deaths of

each of the Decedents and caused injuries through and by reason of acts of international

terrorism. These terrorist activities constitute violations of the law of nations, including those

international legal norms prohibiting torture, genocide, air piracy, terrorism, and mass murder.




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        135.       As a result of the Defendants' violation of the law of nations, all Plaintiffs

suffered damages as fully set forth in the paragraphs above which are incorporated herein by

reference.

        136.       Pursuant to 28 U.S.C. §1350, the estates, survivors, and heirs of Decedents who

were aliens at the time of their deaths, and injured persons are entitled to recover damages they

have sustained by reason of the Defendants' actions.

                   WHEREFORE, Plaintiffs who are estates, survivors and heirs of alien Decedents

and injured persons demand judgment in their favor against all Defendants that Plaintiffs are

asserting claims against herein, jointly, severally, and/or individually, in excess of Four-Hundred

Billion Dollars ($400,000,000,000), plus interest, costs, and such other monetary and equitable

relief as this Honorable Court deems appropriate to prevent the Defendants from ever again

committing the terrorist acts of September 11, 2001, or similar acts.

                                            COUNT THREE

                                          WRONGFUL DEATH

        137.       Plaintiffs incorporate by reference the averments in the preceding paragraphs as

though fully set forth at length.

        138.       Decedents are survived by family members entitled to recover damages from all

Defendants for wrongful death. These Plaintiffs are entitled to damages deemed as a fair and just

compensation for the injuries resulting from the deaths of the Decedents.

        139.       The injuries and damages suffered by the Plaintiffs by virtue of the death of the

Decedents, and the consequences resulting therefrom, were proximately caused by the




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intentional and reckless acts, omissions, and other tortuous conduct of all Defendants as

described herein.

        140.       As a direct and proximate result of the deaths of the Decedents, their heirs have

been deprived of future aid, assistance, services, comfort, and financial support.

        141.       As a direct and proximate result of the Defendants' intentional, willful, and

malicious killing of the Decedents, including barbaric and outrageous acts of murder, the heirs of

the Decedents will forever grieve the deaths of the Decedents, and the Plaintiffs have suffered

severe and permanent injuries, damages, and losses, including

                   a.     Economic damages, including but not limited to pecuniary losses, past and

        future wage losses, loss of support, loss of prospective inheritance; and

                   b.     Non-economic damages, including but not limited to the loss of

        consortium, solatium, society, companionship, care, comfort, love, mental anguish,

        bereavement and grief.

        142.       As a further result of the intentional and reckless acts, omissions, and other

tortuous conduct of the Defendants, the Plaintiffs have been caused to expend various sums to

administer the estates of Decedents and have incurred other expenses for which they are entitled

to recover.

                   WHEREFORE, Plaintiffs demand judgment in their favor against all Defendants

that Plaintiffs are asserting claims against herein, jointly, severally, and/or individually, in an

amount in excess of Four-Hundred Billion Dollars ($400,000,000,000) plus interest, costs, and

such other monetary and equitable relief as this Honorable Court deems appropriate to prevent




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the Defendants from ever again committing the terrorist acts of September 11, 2001, or similar

acts.

                                            COUNT FOUR

                                              SURVIVAL

        143.       Plaintiffs incorporate herein by reference the averments contained in the

preceding paragraphs as though fully set forth at length.

        144.       Plaintiffs bring this action for damages suffered by the Decedents and caused by

the Defendants’ conduct. As a result of the intentional and negligent acts of the Defendants, as

described above, the Decedents suffered conscious pain and suffering and fear of their

impending deaths, were placed in apprehension of harmful and offensive bodily contact (assault),

suffered offensive and harmful bodily contact (battery), suffered extreme fear, anxiety, emotional

and psychological distress (intentional/negligent infliction of emotional distress), and were

mentally and physically harmed, trapped, and falsely imprisoned (false imprisonment) prior to

their deaths.

        145.       As a result of the Defendants’ murderous conduct, the Decedents and injured

persons suffered damages including pain and suffering, trauma, emotional distress, loss of life

and life’s pleasures, loss of earnings and earning capacity, loss of accretion to their estates and

other items of damages, as fully set forth in the paragraphs above which are incorporated herein

by reference.

                   WHEREFORE, Plaintiffs demand judgment in their favor against all Defendants

that Plaintiffs are asserting claims against herein, jointly, severally, and/or individually, in an

amount in excess of Four-Hundred Billion Dollars ($400,000,000,000) plus interest, costs, and



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such other monetary and equitable relief as this Honorable Court deems appropriate to prevent

the Defendants from ever again committing the terrorist acts of September 11, 2001, or similar

acts.

                                             COUNT FIVE

    NEGLIGENT AND/OR INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS

        146.       Plaintiffs incorporate herein by reference the averments contained in the

preceding paragraphs as though fully set forth at length.

        147.       All Defendants knew or should have known that their actions in furtherance of the

conspiracy to commit acts of international terrorism against the United States, its nationals and

allies, including the September 11, 2001, attacks, would result in the murder of and injury to

innocent persons, leaving family members with severe and permanent physical, psychological,

and emotional injuries.

        148.       The actions of the Defendants in furtherance of the conspiracy to commit acts of

international terrorism against the United States, its nationals and allies, including the September

11, 2001, attacks, were intentional, malicious, willful, unconscionable, reckless, and/or

negligent.

        149.       As a direct and proximate result of Defendants’ intentional, malicious, willful,

unconscionable, reckless, and/or negligent conduct, Plaintiffs have suffered and will forever in

the future suffer severe and permanent psychiatric disorders, emotional distress and anxiety,

permanent psychological distress, and permanent mental impairment requiring ongoing and

long-term expenses for medical services, care, and counseling, as well as other economic losses.




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        150.       The Defendants, by engaging in this unlawful conduct, negligently and/or

intentionally inflicted emotional distress upon Plaintiffs.

                   WHEREFORE, Plaintiffs demand judgment in their favor against all Defendants

that Plaintiffs are asserting claims against herein, jointly, severally, and/or individually, in an

amount in excess of Four-Hundred Billion Dollars ($400,000,000,000) plus interest, costs, and

such other monetary and equitable relief as this Honorable Court deems appropriate to prevent

the Defendants from ever again committing the terrorist acts of September 11, 2001, or similar

acts.

                                               COUNT SIX

                                             CONSPIRACY

        151.       Plaintiffs incorporate herein by reference the averments contained in the

preceding paragraphs as though fully set forth at length.

        152.       As set forth more fully above, all Defendants conspired to commit acts of

international terrorism against the United States, its nationals and allies, which conspiracy

included the provision of material support and resources to al Qaeda, Osama bin Laden, the

hijackers, and affiliated foreign states, FTO’s, persons, organizations, commercial entities and

other parties.

        153.       As set forth above, all Defendants engaged in concerted efforts and activities

designed to attack the United States and inflict harm on U.S. citizens and property.

        154.       As set forth above, the Defendants’ conspiracy resulted in the September 11th

terrorist attacks that killed the Decedents.




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        155.       The September 11th attack was a direct, foreseeable, and intended product of the

conspiracy among the Defendants, as set forth above, to commit acts of international terrorism

against the United States, its nationals and allies.

        156.       As a result of the Defendants’ conspiracy, as set forth above, Plaintiffs have

suffered damages as fully set forth in the paragraphs above which are incorporated herein by

reference.

                   WHEREFORE, Plaintiffs demand judgment in their favor against all Defendants

that Plaintiffs are asserting claims against herein, jointly, severally, and/or individually, in an

amount in excess of Four-Hundred Billion Dollars ($400,000,000,000) plus interest, costs, and

such other monetary and equitable relief as this Honorable Court deems appropriate to prevent

the Defendants from ever again committing the terrorist acts of September 11, 2001, or similar

acts.

                                            COUNT SEVEN

                                        AIDING & ABETTING

        157.       Through the material support and resources provided to al Qaeda, the Defendants

aided and abetted al Qaeda, Osama bin Laden, and the hijackers in their campaign to commit acts

of international terrorism against the United States, its nationals, and allies.

        158.       The September 11, 2001 attack was a direct, intended and foreseeable product of

the aiding and abetting of al Qaeda, Osama bin Laden, and the hijackers by the Defendants.

        159.       The damages suffered by the Plaintiffs, as described in greater detail herein, were

the direct and proximate result of the aforesaid aiding and abetting of al Qaeda.




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        160.       Osama bin Laden, and the hijackers by the Defendants, acting individually and in

concert with one another and other co-conspirators.

                   WHEREFORE, Plaintiffs demand judgment in their favor against all Defendants

that Plaintiffs are asserting claims against herein, jointly, severally, and/or individually, in an

amount in excess of Four-Hundred Billion Dollars ($400,000,000,000) plus interest, costs, and

such other monetary and equitable relief as this Honorable Court deems appropriate to prevent

the Defendants from ever again committing the terrorist acts of September 11, 2001 or similar

acts.

                                            COUNT EIGHT

                                             NEGLIGENCE

        161.       Plaintiffs incorporate herein by reference the averments contained in the

preceding paragraphs as though fully set forth at length.

        162.       As set forth above, the September 11, 2001 attack was a direct, intended and

foreseeable product of a larger conspiracy among the Defendants to commit acts of international

terrorism against the United States, its nationals and allies.

        163.       The conspiracy among the Defendants to commit acts of international terrorism

against the United States, its nationals and allies, included the provision of material support and

resources to al Qaeda, Osama bin Ladin, the hijackers, affiliated foreign states, foreign terrorist

organizations, persons, organizations, commercial entities, and other parties.

        164.       By virtue of their participation in the conspiracy to commit acts of international

terrorism against the United States, its nationals and allies, including the September 11, 2001




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attack, the Defendants negligently, intentionally, recklessly, willfully and wantonly breached

duties of care owed to the Plaintiffs and Decedents.

        165.       The damages suffered by Plaintiffs and Decedents, as described herein, were the

direct and proximate result of the aforesaid breaches of care by the Defendants.

                   WHEREFORE, Plaintiffs demand judgment in their favor against all Defendants

that Plaintiffs are asserting claims against herein, jointly, severally, and/or individually, in an

amount in excess of Four-Hundred Billion Dollars ($400,000,000,000) plus interest, costs, and

such other monetary and equitable relief as this Honorable Court deems appropriate to prevent

the Defendants from ever again committing the terrorist acts of September 11, 2001 or similar

acts.

                                             COUNT NINE

                              18 U.S.C. §2333 (ANTI-TERRORISM ACT)

        166.       Plaintiffs incorporate herein by reference the averments contained in the

preceding paragraphs as though fully set forth at length.

        167.       The September 11th attack constitutes an act of international terrorism within the

meaning of 18 U.S.C. §2331.

        168.       As set forth above, the Defendants, jointly and severally, caused the deaths of

each of the Decedents and caused injury to injured persons through and by reason of acts of

international terrorism.

        169.       As a result of the Defendants’ acts of international terrorism, Plaintiffs suffered

damages as fully set forth in the paragraphs above which are incorporated herein by reference.




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        170.       Pursuant to 18 U.S.C. §2333, the estates, survivors, and heirs of the Decedents

and the injured persons who are nationals of the United States are entitled to recover threefold

the damages they have sustained and the cost of suit, including attorneys’ fees.

                   WHEREFORE, Plaintiffs who are nationals of the United States demand

judgment in their favor against all Defendants that Plaintiffs are asserting claims against herein,

jointly, severally, and/or individually, and demand treble damages in excess of Four-Hundred

Billion Dollars ($400,000,000,000), plus interest, costs, and such other monetary and equitable

relief as this Honorable Court deems appropriate to prevent the Defendants from ever again

committing the terrorist acts of September 11, 2001, or similar acts.

                                             COUNT TEN

                                   18 U.S.C. §1962(a) – CIVIL RICO

        171.       Plaintiffs incorporate herein by reference the averments contained in the

preceding paragraphs as though fully set forth at length.

        172.       In furtherance of their conspiracy to commit acts of international terrorism against

the United States, its nationals and allies, the Defendants engaged in a pattern of racketeering

activity which included, without limitation acts of murder, kidnapping, arson, robbery, and

extortion; dealings in controlled substances and listed chemicals; the falsification of

identification documents; the unlawful procurement, reproduction, sale and use of naturalization

and citizenship papers, passports and visas; the obstruction of federal and state criminal

investigations; and financial institution and mail fraud.

        173.       The Defendants intended to cause damage to business and property.

        174.       The Plaintiffs suffered damage to business and property.



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        175.       The damages suffered by the Plaintiffs, as described herein, were the direct and

proximate result of the aforesaid pattern of racketeering activity by the Defendants, acting

individually and in concert with one another.

                   WHEREFORE, Plaintiffs demand judgment in their favor against all Defendants

that Plaintiffs are asserting claims against herein, jointly, severally, and/or individually, and

demand treble damages in excess of Four-Hundred Billion Dollars ($400,000,000,000), plus

interest, costs, and such other monetary and equitable relief as this Honorable Court deems

appropriate to prevent the Defendants from ever again committing the terrorist acts of September

11, 2001, or similar acts.

                                           COUNT ELEVEN

                                        PUNITIVE DAMAGES

        176.       Plaintiffs incorporate herein by reference the averments contained in the

preceding paragraphs as though fully set forth at length.

        177.       The actions of all Defendants, acting in concert to carry out their unlawful

objectives, were malicious, outrageous and in willful, wanton, and reckless disregard of the

rights of all Plaintiffs and Decedents. The Defendants, acting individually and jointly, intended

to carry out actions that would end the lives of the Decedents and injure persons.

        178.       As a result of their intentional, malicious, outrageous, willful and wanton conduct,

all Defendants are jointly and severally liable to all Plaintiffs for punitive damages.

                   WHEREFORE, Plaintiffs, demand judgment in their favor against all

Defendants that Plaintiffs are asserting claims against herein, jointly, severally, and/or

individually, in an amount in excess of Four Trillion Dollars ($4,000,000,000,000) plus interest,



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costs, and such other monetary and equitable relief as this Honorable Court deems appropriate to

prevent the Defendants from ever again committing the terrorist acts of September 11, 2001, or

similar acts.

                                          COUNT TWELVE

                                        PUNITIVE DAMAGES

                   FOREIGN STATE AGENCIES AND INSTRUMENTALITIES

        179.       Plaintiffs incorporate herein by reference the averments contained in the

preceding paragraphs as though fully set forth at length.

        180.       As Agencies and Instrumentalities of foreign states, Defendants directly or

indirectly caused, contributed to, supported, aided, and abetted the commission of the terrorist

acts that resulted in the deaths of the Decedents and injure persons as described above.

        181.       The actions of the Defendants, acting as Agencies and Instrumentalities of foreign

states, acting individually and in concert to carry out their unlawful objectives, were malicious,

outrageous and in willful, wanton, and reckless disregard of the rights of the Plaintiffs and the

Decedents. These Defendants, as Agencies and Instrumentalities of foreign states, acting

individually and jointly, specifically intended to carry out actions that would end the lives of the

Decedents and injure persons.

        182.       Pursuant to 28 U.S.C.A. §1606, which specifically authorizes a claim for punitive

damages arising from state-sponsored terrorist acts actionable under 28 U.S.C. §1605 (a)(7), and

for the reasons stated above, the Defendants, as Agencies and Instrumentalities of foreign states,

are jointly and severally liable to all Plaintiffs for punitive damages.




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                   WHEREFORE, Plaintiffs demand judgment in their favor against the

Defendants as Agencies and Instrumentalities of foreign states that Plaintiffs are asserting claims

against herein, jointly and severally, in an amount in excess of Four Trillion Dollars

($4,000,000,000,000) plus interest, costs, and such other monetary and equitable relief as this

Honorable Court deems appropriate to prevent the Defendants from ever again committing the

terrorist acts of September 11, 2001 or similar acts.

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                                       PRAYER FOR RELIEF

        183.       Plaintiffs request that this Honorable Court grant judgment in their favor and

against Defendants that Plaintiffs are asserting claims against herein on Counts One through

Twelve, and grant Plaintiffs:

                   a.     Compensatory Damages against Defendants, for each cause of action in

        the amount described above, plus economic damages in an amount to be determined at

        trial for the Decedent’s Estate and for injured persons;

                   b.     Punitive damages against Defendants in the amount of FOUR TRILLION

        DOLLARS ($4,000,000,000,000.00);

                   c.     Reasonable costs and expenses;

                   d.     Reasonable attorneys' fees; and

                   e.     Such other and further relief that the Court may determine to be just and

        equitable under the circumstances.

March 20, 2024
                                              Respectfully submitted

                                              /s/ Jerry S. Goldman
                                              Jerry S. Goldman, Esquire
                                              Bruce Strong, Esquire
                                              Hon. Ethan Greenberg (ret.)
                                              Alexander Greene, Esquire
                                              ANDERSON KILL P.C.
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                                              Attorneys for the Plaintiffs

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                         UNITED STATES DISTRICT COURT
                    SOUTHERN DISTRICT OF NEW YORK NEW YORK

                                                      x
In re Terrorist Attacks on September 11, 2001                           03 MDL 1570
                                                      x
This filing applies to the Estate of John P. O’Neill, Sr., et al. v. Al Baraka Investment and
Development Corporation, et. al., 04 CV 01923 (GBD) (SN)

                                                      :
ESTATE OF JOHN P. O’NEILL, et al.,
                                                      :
                       Plaintiffs,                                2004 CV 1923 (GBD)(SN)
                                                      :
v.                                                    :
                                                      :
                                                      :                 DEMAND
AL BARAKA INVESTMENT AND                              :              FOR JURY TRIAL
DEVELOPMENT CORPORATION, et al.,                      :
                   Defendants.                        :
                                                      :

         Plaintiffs hereby demands trial by jury pursuant to the Federal Rules of Civil Procedure,

Rule 38(b) on all issues properly heard by a jury.



 Dated      March 20, 2024



                                               By /s/ Jerry S. Goldman
                                                  Jerry S. Goldman, Esquire
                                                  ANDERSON KILL P.C.
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                                                     Attorneys for the Plaintiffs




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PLAINTIFFS’ MORE DEFINITE STATEMENT AS TO ALL O’NEILL DEFENDANTS
                           VICTIMS LIST

    1. The name of the defendants to whom this Statement pertains is all Defendants.3

    2. The names of each victim (“Victims List”) are as set forth in Exhibit A, which is attached
       hereto and incorporated herein.

    3. Given the extraordinarily complex nature of the conspiracy and other wrongdoing that led
       to the events of September 11, 2001, much information is presently unavailable to
       plaintiffs, absent discovery. Plaintiffs therefore reserve the right to amend this Statement
       as information is learned and verified through discovery and otherwise.



    Date: March 20, 2024




                                    BY:       /s/ Jerry S. Goldman
                                               Jerry S. Goldman, Esquire
                                               ANDERSON KILL P.C.
                                               1251 Avenue of the Americas
                                               New York, New York 10020
                                               Telephone: 212-278-1000
                                               jgoldman@andersonkill.com

                                              Attorneys for the Plaintiffs




3
 The instant pleading shall not apply to any defendant who has been dismissed in the instant action (besides
DIB), without further leave of the Court.

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